              Case 17-11348-1-rel                 Doc 1    Filed 07/21/17 Entered 07/21/17 12:04:14                                Desc Main
                                                          Document     Page 1 of 1123

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Vellano Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7 Hemlock drive
                                  Latham, NY 12110
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Albany                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.vellano.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    The Vellano Corporation                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   The Vellano Corporation                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    The Vellano Corporation                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 18, 2017
                                                  MM / DD / YYYY


                             X   /s/ Paul Vellano                                                         Paul Vellano
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Richard H. Weiskopf, Esq.                                             Date July 18, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard H. Weiskopf, Esq.
                                 Printed name

                                 The DeLorenzo Law Firm, LLP.
                                 Firm name

                                 670 Franklin St., Suite 100
                                 Schenectady, NY 12305
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (518) 374-8450                Email address      Rweiskopf@delolaw.com

                                 102805
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 18, 2017                           X /s/ Paul Vellano
                                                                       Signature of individual signing on behalf of debtor

                                                                       Paul Vellano
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name The Vellano Corporation
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADIRONDACK                                                                                                                                                               $67,698.00
 TRUST INSURANC
 P.O. BOX 13326
 ALBANY, NY
 12212-3326
 AIS, LLC                                                                                                                                                                 $72,995.00
 P.O. BOX 161
 BON AIR, AL 35032
 AJ VEL LTD D/B/A                                                                                                                                                         $76,021.05
 VELLANO
 TECHNOLOGIES
 7 HEMLOCK
 STREET
 LATHAM, NY 12110
 AMERICAN                                                                                                                                                               $114,276.80
 EXPRESS 9-31004
 P.O. BOX 1270
 NEWARK, NJ
 07101-1270
 BAUGHMAN TILE                                                                                                                                                            $91,220.98
 CO.
 8516 TOWNSHIP
 ROAD 137
 PAULDING, OH
 45879
 FARRELLY                                                                                                                                                               $110,564.91
 COMPANY; JACK
 97 OLD
 POQUONOCK
 ROAD
 BLOOMFIELD, CT
 06002
 GENERAL                                                                                                                                                                $210,847.36
 FOUNDRIES INC.
 1 PROGRESS ROAD
 NORTH
 BRUNSWICK, NJ
 08902

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    The Vellano Corporation                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 KENNEDY VALVE                                                                                                                                                          $173,828.90
 12527
 COLLECTIONS
 CENTER DRIVE
 CHICAGO, IL 60693
 LANE                                                                                                                                                                   $473,444.56
 ENTERPRISES, INC.
 3905 HARTZDALE
 DR.,SUITE 514
 CAMP HILL, PA
 17011
 M & H VALVE                                                                                                                                                            $182,546.60
 COMPANY
 P.O. BOX 848363
 DALLAS, TX
 75284-8363
 M&T Bank                                                        All property not                              $10,500,000.00              $6,000,000.00              $4,500,000.00
 Acct.No.XXX-1000                                                separtely liened
 PO Box 900
 Millsboro, DE 19966
 McWANE DUCTILE                                                                                                                                                         $365,417.55
 CHICAGO Lbx#
 12524-0032-7838-51
 19
 12524
 COLLECTIONS
 CENTER DRIVE
 CHICAGO, IL 60693
 McWANE DUCTILE                                                                                                                                                           $63,336.02
 12524
 COLLECTIONS
 CENTER DRIVE
 CHICAGO, IL 60693
 MUELLER                                                                                                                                                                $321,081.76
 COMPANY
 23418 NETWORK
 PLACE
 CHICAGO, IL
 60673-1234
 NATIONAL PIPE CO.                                                                                                                                                      $308,089.99
 P.O. BOX 62232
 BALTIMORE, MD
 21264
 SIGMA                                                                                                                                                                  $256,711.66
 CORPORATION
 1805 SOLUTIONS
 CENTER
 CHICAGO, IL
 60677-1008
 SOUTHEAST                                                                                                                                                              $121,022.59
 CULVERT, INC
 PO BOX 999
 AUBURN, GA 30011

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    The Vellano Corporation                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 STAR PIPE                                                                                                                                                                $55,386.75
 PRODUCTS, LTD.
 4018 WEST
 HOLLOW
 PARKWAY
 HOUSTON, TX
 77082
 U.S. PIPE &                                                                                                                                                            $112,144.27
 FOUNDRY CO.,
 P.O. BOX 935445
 ATLANTA, GA
 31193-5445
 VEL., LTD.; A.J.                                                                                                                                                         $74,601.45
 8 NORTHWAY LANE
 NORTH
 LATHAM, NY 12110




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            The Vellano Corporation

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        5,818,020.74

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        5,818,020.74


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       10,637,047.41


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,015,117.59


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         15,652,165.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     M&T                                                     Checking                                                                $25,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $25,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page      1
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 Debtor         The Vellano Corporation                                                           Case number (If known)
                Name


           11a. 90 days old or less:                                  -574.95   -                                0.00 = ....              $-574.95
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   82.60    -                                0.00 = ....                 $82.60
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   95.04    -                                0.00 = ....                 $95.04
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 4,868.91   -                                0.00 = ....             $4,868.91
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  141.76    -                                0.00 = ....               $141.76
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  190.00    -                                0.00 = ....               $190.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,049.50   -                                0.00 = ....             $1,049.50
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,224.60   -                                0.00 = ....             $1,224.60
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,053.02   -                                0.00 = ....             $1,053.02
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,242.27   -                                0.00 = ....             $1,242.27
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  169.00    -                                0.00 = ....               $169.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,230.39   -                                0.00 = ....             $1,230.39
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  663.03    -                                0.00 = ....               $663.03
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 3,941.13   -                                0.00 = ....             $3,941.13
                                              face amount                           doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page      2
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 Debtor         The Vellano Corporation                                                            Case number (If known)
                Name




           11a. 90 days old or less:                                   416.54    -                                0.00 = ....               $416.54
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,644.48   -                                0.00 = ....           $10,644.48
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,975.00   -                                0.00 = ....             $4,975.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   129.60    -                                0.00 = ....               $129.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,848.31   -                                0.00 = ....             $3,848.31
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -148.04   -                                0.00 = ....              $-148.04
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   350.72    -                                0.00 = ....               $350.72
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,002.81   -                                0.00 = ....             $4,002.81
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,577.50   -                                0.00 = ....             $1,577.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    82.54    -                                0.00 = ....                 $82.54
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,192.52   -                                0.00 = ....             $4,192.52
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   668.75    -                                0.00 = ....               $668.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  8,951.55   -                                0.00 = ....             $8,951.55
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      3
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           11a. 90 days old or less:                            183,369.94       -                                0.00 = ....         $183,369.94
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,085.96   -                                0.00 = ....             $3,085.96
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -261.21   -                                0.00 = ....              $-261.21
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   646.38    -                                0.00 = ....               $646.38
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,559.24   -                                0.00 = ....             $5,559.24
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   257.40    -                                0.00 = ....               $257.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   515.10    -                                0.00 = ....               $515.10
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -3,082.42   -                                0.00 = ....            $-3,082.42
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   275.50    -                                0.00 = ....               $275.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,815.50   -                                0.00 = ....           $10,815.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,130.91   -                                0.00 = ....             $1,130.91
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -3,123.97   -                                0.00 = ....            $-3,123.97
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    59.40    -                                0.00 = ....                 $59.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,410.28   -                                0.00 = ....             $3,410.28
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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           11a. 90 days old or less:                                   95.69    -                                0.00 = ....                 $95.69
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -373.33   -                                0.00 = ....              $-373.33
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  260.90    -                                0.00 = ....               $260.90
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   67.99    -                                0.00 = ....                 $67.99
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -429.26   -                                0.00 = ....              $-429.26
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 4,337.05   -                                0.00 = ....             $4,337.05
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -133.32   -                                0.00 = ....              $-133.32
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 5,236.89   -                                0.00 = ....             $5,236.89
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -14.86   -                                0.00 = ....                $-14.86
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,157.10   -                                0.00 = ....             $2,157.10
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,348.46   -                                0.00 = ....             $2,348.46
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  337.40    -                                0.00 = ....               $337.40
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 4,287.04   -                                0.00 = ....             $4,287.04
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page      5
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           11a. 90 days old or less:                                   786.99    -                                0.00 = ....               $786.99
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 23,449.28   -                                0.00 = ....           $23,449.28
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    89.21    -                                0.00 = ....                 $89.21
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   157.00    -                                0.00 = ....               $157.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,196.00   -                                0.00 = ....             $1,196.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -216.00   -                                0.00 = ....              $-216.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 62,618.14   -                                0.00 = ....           $62,618.14
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                     -2.11   -                                0.00 = ....                  $-2.11
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -503.35   -                                0.00 = ....              $-503.35
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -1,708.23   -                                0.00 = ....            $-1,708.23
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    -14.61   -                                0.00 = ....                $-14.61
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   321.84    -                                0.00 = ....               $321.84
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -176.05   -                                0.00 = ....              $-176.05
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    90.00    -                                0.00 = ....                 $90.00
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      6
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           11a. 90 days old or less:                                   267.89    -                                0.00 = ....               $267.89
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   660.12    -                                0.00 = ....               $660.12
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   476.65    -                                0.00 = ....               $476.65
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   677.54    -                                0.00 = ....               $677.54
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,380.00   -                                0.00 = ....             $7,380.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,782.08   -                                0.00 = ....             $2,782.08
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 14,120.02   -                                0.00 = ....           $14,120.02
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   162.50    -                                0.00 = ....               $162.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                      0.00   -                                0.00 = ....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   180.91    -                                0.00 = ....               $180.91
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,516.63   -                                0.00 = ....             $2,516.63
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,184.94   -                                0.00 = ....             $1,184.94
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 12,051.00   -                                0.00 = ....           $12,051.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      7
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           11a. 90 days old or less:                                   712.00    -                                0.00 = ....               $712.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 6,787.86    -                                0.00 = ....             $6,787.86
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,669.12    -                                0.00 = ....             $1,669.12
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   400.68    -                                0.00 = ....               $400.68
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,460.50    -                                0.00 = ....             $1,460.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   294.20    -                                0.00 = ....               $294.20
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,073.81    -                                0.00 = ....             $1,073.81
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   692.79    -                                0.00 = ....               $692.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    78.56    -                                0.00 = ....                 $78.56
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   801.79    -                                0.00 = ....               $801.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    75.33    -                                0.00 = ....                 $75.33
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -1,862.72   -                                0.00 = ....            $-1,862.72
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -2,339.82   -                                0.00 = ....            $-2,339.82
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 6,952.62    -                                0.00 = ....             $6,952.62
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      8
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           11a. 90 days old or less:                                  1,009.42   -                                0.00 = ....             $1,009.42
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,178.18   -                                0.00 = ....             $3,178.18
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   965.49    -                                0.00 = ....               $965.49
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,525.42   -                                0.00 = ....             $1,525.42
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,407.25   -                                0.00 = ....             $7,407.25
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,158.44   -                                0.00 = ....             $1,158.44
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    39.08    -                                0.00 = ....                 $39.08
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,341.89   -                                0.00 = ....             $5,341.89
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   568.73    -                                0.00 = ....               $568.73
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,013.61   -                                0.00 = ....             $2,013.61
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,942.04   -                                0.00 = ....           $21,942.04
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    29.16    -                                0.00 = ....                 $29.16
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                             -83,840.00      -                                0.00 = ....          $-83,840.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page      9
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           11a. 90 days old or less:                                 1,013.15   -                                0.00 = ....             $1,013.15
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  183.52    -                                0.00 = ....               $183.52
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,325.00   -                                0.00 = ....             $1,325.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  428.76    -                                0.00 = ....               $428.76
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -88.94   -                                0.00 = ....                $-88.94
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -530.97   -                                0.00 = ....              $-530.97
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,628.70   -                                0.00 = ....             $1,628.70
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -142.91   -                                0.00 = ....              $-142.91
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  315.10    -                                0.00 = ....               $315.10
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  173.61    -                                0.00 = ....               $173.61
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  136.00    -                                0.00 = ....               $136.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 5,829.00   -                                0.00 = ....             $5,829.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,954.27   -                                0.00 = ....             $1,954.27
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  110.00    -                                0.00 = ....               $110.00
                                              face amount                           doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 10
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           11a. 90 days old or less:                                   151.20    -                                0.00 = ....               $151.20
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   320.10    -                                0.00 = ....               $320.10
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   298.00    -                                0.00 = ....               $298.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,180.80   -                                0.00 = ....             $2,180.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -1,162.80   -                                0.00 = ....            $-1,162.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,236.72   -                                0.00 = ....             $1,236.72
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   169.27    -                                0.00 = ....               $169.27
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,267.86   -                                0.00 = ....           $21,267.86
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   329.00    -                                0.00 = ....               $329.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,794.38   -                                0.00 = ....             $4,794.38
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  4,820.26   -                                0.00 = ....             $4,820.26
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   241.00    -                                0.00 = ....               $241.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,642.99   -                                0.00 = ....             $1,642.99
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 11
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           11a. 90 days old or less:                                  2,134.66   -                                0.00 = ....             $2,134.66
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   228.96    -                                0.00 = ....               $228.96
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 20,919.19   -                                0.00 = ....           $20,919.19
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 15,319.87   -                                0.00 = ....           $15,319.87
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    -98.49   -                                0.00 = ....                $-98.49
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   220.27    -                                0.00 = ....               $220.27
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,001.95   -                                0.00 = ....             $1,001.95
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,992.51   -                                0.00 = ....             $1,992.51
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,186.00   -                                0.00 = ....             $2,186.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   819.48    -                                0.00 = ....               $819.48
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    93.40    -                                0.00 = ....                 $93.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 12,493.30   -                                0.00 = ....           $12,493.30
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,187.70   -                                0.00 = ....             $2,187.70
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    92.05    -                                0.00 = ....                 $92.05
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 12
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           11a. 90 days old or less:                                   -879.62   -                                0.00 = ....              $-879.62
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,765.13   -                                0.00 = ....             $2,765.13
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 19,591.93   -                                0.00 = ....           $19,591.93
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,681.72   -                                0.00 = ....             $7,681.72
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   199.10    -                                0.00 = ....               $199.10
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,472.78   -                                0.00 = ....           $10,472.78
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   835.50    -                                0.00 = ....               $835.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   675.85    -                                0.00 = ....               $675.85
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -344.63   -                                0.00 = ....              $-344.63
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   333.33    -                                0.00 = ....               $333.33
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   118.14    -                                0.00 = ....               $118.14
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                      0.91   -                                0.00 = ....                   $0.91
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    39.31    -                                0.00 = ....                 $39.31
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 13
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           11a. 90 days old or less:                                  1,109.32   -                                0.00 = ....             $1,109.32
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,064.08   -                                0.00 = ....           $10,064.08
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    30.00    -                                0.00 = ....                 $30.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    -14.71   -                                0.00 = ....                $-14.71
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,300.81   -                                0.00 = ....             $1,300.81
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -146.26   -                                0.00 = ....              $-146.26
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    38.88    -                                0.00 = ....                 $38.88
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   767.23    -                                0.00 = ....               $767.23
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 14,964.18   -                                0.00 = ....           $14,964.18
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   284.00    -                                0.00 = ....               $284.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   631.26    -                                0.00 = ....               $631.26
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,757.02   -                                0.00 = ....             $2,757.02
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,680.00   -                                0.00 = ....             $2,680.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    45.90    -                                0.00 = ....                 $45.90
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 14
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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                Name




           11a. 90 days old or less:                                  178.03    -                                0.00 = ....               $178.03
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  177.00    -                                0.00 = ....               $177.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 8,049.29   -                                0.00 = ....             $8,049.29
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   16.74    -                                0.00 = ....                 $16.74
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,982.30   -                                0.00 = ....             $2,982.30
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,765.00   -                                0.00 = ....             $1,765.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  301.75    -                                0.00 = ....               $301.75
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 7,047.28   -                                0.00 = ....             $7,047.28
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  316.70    -                                0.00 = ....               $316.70
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,181.72   -                                0.00 = ....             $1,181.72
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  401.25    -                                0.00 = ....               $401.25
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 3,809.97   -                                0.00 = ....             $3,809.97
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   84.89    -                                0.00 = ....                 $84.89
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 15
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           11a. 90 days old or less:                             -10,929.27     -                                0.00 = ....          $-10,929.27
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   42.50    -                                0.00 = ....                 $42.50
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -142.50   -                                0.00 = ....              $-142.50
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   72.58    -                                0.00 = ....                 $72.58
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  625.00    -                                0.00 = ....               $625.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,831.00   -                                0.00 = ....             $2,831.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  258.00    -                                0.00 = ....               $258.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  616.78    -                                0.00 = ....               $616.78
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  253.69    -                                0.00 = ....               $253.69
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -10.00   -                                0.00 = ....                $-10.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  223.05    -                                0.00 = ....               $223.05
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  550.78    -                                0.00 = ....               $550.78
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  418.38    -                                0.00 = ....               $418.38
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 9,940.86   -                                0.00 = ....             $9,940.86
                                              face amount                           doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 16
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           11a. 90 days old or less:                                   413.00    -                                0.00 = ....               $413.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   387.00    -                                0.00 = ....               $387.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  6,609.48   -                                0.00 = ....             $6,609.48
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,159.00   -                                0.00 = ....             $2,159.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   532.40    -                                0.00 = ....               $532.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 18,100.14   -                                0.00 = ....           $18,100.14
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 10,615.15   -                                0.00 = ....           $10,615.15
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,789.90   -                                0.00 = ....             $7,789.90
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 45,495.87   -                                0.00 = ....           $45,495.87
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,074.60   -                                0.00 = ....             $1,074.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 27,499.41   -                                0.00 = ....           $27,499.41
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -375.00   -                                0.00 = ....              $-375.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   707.30    -                                0.00 = ....               $707.30
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 17
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           11a. 90 days old or less:                                    -24.93   -                                0.00 = ....                $-24.93
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,605.96   -                                0.00 = ....             $1,605.96
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   113.99    -                                0.00 = ....               $113.99
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   502.80    -                                0.00 = ....               $502.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,378.89   -                                0.00 = ....             $3,378.89
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   524.86    -                                0.00 = ....               $524.86
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    19.99    -                                0.00 = ....                 $19.99
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,974.00   -                                0.00 = ....             $1,974.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  6,746.63   -                                0.00 = ....             $6,746.63
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   922.82    -                                0.00 = ....               $922.82
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    49.41    -                                0.00 = ....                 $49.41
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   448.54    -                                0.00 = ....               $448.54
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    30.22    -                                0.00 = ....                 $30.22
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,952.73   -                                0.00 = ....           $21,952.73
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 18
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           11a. 90 days old or less:                                 1,269.10    -                                0.00 = ....             $1,269.10
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   236.50    -                                0.00 = ....               $236.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   342.21    -                                0.00 = ....               $342.21
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 6,283.92    -                                0.00 = ....             $6,283.92
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   125.28    -                                0.00 = ....               $125.28
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,725.00    -                                0.00 = ....             $1,725.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -3,725.78   -                                0.00 = ....            $-3,725.78
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   179.44    -                                0.00 = ....               $179.44
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 9,027.80    -                                0.00 = ....             $9,027.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,584.07    -                                0.00 = ....             $2,584.07
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 9,985.15    -                                0.00 = ....             $9,985.15
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,247.57    -                                0.00 = ....             $2,247.57
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   371.92    -                                0.00 = ....               $371.92
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 19
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           11a. 90 days old or less:                                   -16.30    -                                0.00 = ....                $-16.30
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,006.15    -                                0.00 = ....             $1,006.15
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 7,815.23    -                                0.00 = ....             $7,815.23
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   257.47    -                                0.00 = ....               $257.47
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   174.60    -                                0.00 = ....               $174.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   552.15    -                                0.00 = ....               $552.15
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,521.60    -                                0.00 = ....             $1,521.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -2,635.00   -                                0.00 = ....            $-2,635.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,221.00    -                                0.00 = ....             $1,221.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   797.90    -                                0.00 = ....               $797.90
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -1,026.83   -                                0.00 = ....            $-1,026.83
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,828.40    -                                0.00 = ....             $2,828.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -272.75    -                                0.00 = ....              $-272.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   113.39    -                                0.00 = ....               $113.39
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 20
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           11a. 90 days old or less:                                   570.00    -                                0.00 = ....               $570.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   599.40    -                                0.00 = ....               $599.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,519.86   -                                0.00 = ....             $1,519.86
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   435.00    -                                0.00 = ....               $435.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   198.72    -                                0.00 = ....               $198.72
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   253.53    -                                0.00 = ....               $253.53
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -774.00   -                                0.00 = ....              $-774.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   968.09    -                                0.00 = ....               $968.09
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,920.91   -                                0.00 = ....             $2,920.91
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,326.00   -                                0.00 = ....             $1,326.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    -26.16   -                                0.00 = ....                $-26.16
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    47.50    -                                0.00 = ....                 $47.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 29,111.09   -                                0.00 = ....           $29,111.09
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 21
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           11a. 90 days old or less:                                 -2,379.01   -                                0.00 = ....            $-2,379.01
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -3,373.87   -                                0.00 = ....            $-3,373.87
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   394.60    -                                0.00 = ....               $394.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,050.00    -                                0.00 = ....             $1,050.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,349.95    -                                0.00 = ....             $1,349.95
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   161.30    -                                0.00 = ....               $161.30
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,605.70    -                                0.00 = ....             $1,605.70
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -3,049.50   -                                0.00 = ....            $-3,049.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,658.31    -                                0.00 = ....             $2,658.31
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,191.00    -                                0.00 = ....             $1,191.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 6,971.55    -                                0.00 = ....             $6,971.55
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,166.51    -                                0.00 = ....             $1,166.51
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 5,703.27    -                                0.00 = ....             $5,703.27
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    27.92    -                                0.00 = ....                 $27.92
                                              face amount                            doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 22
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           11a. 90 days old or less:                                    54.80    -                                0.00 = ....                 $54.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    98.28    -                                0.00 = ....                 $98.28
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,038.54   -                                0.00 = ....             $1,038.54
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   134.89    -                                0.00 = ....               $134.89
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   319.90    -                                0.00 = ....               $319.90
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    69.04    -                                0.00 = ....                 $69.04
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    64.00    -                                0.00 = ....                 $64.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   997.40    -                                0.00 = ....               $997.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -2,515.21   -                                0.00 = ....            $-2,515.21
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,108.08   -                                0.00 = ....             $1,108.08
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    17.80    -                                0.00 = ....                 $17.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 60,041.99   -                                0.00 = ....           $60,041.99
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  7,897.85   -                                0.00 = ....             $7,897.85
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 23
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            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                           Desc Main
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 Debtor         The Vellano Corporation                                                            Case number (If known)
                Name


           11a. 90 days old or less:                                  8,100.40   -                                0.00 = ....             $8,100.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -243.31   -                                0.00 = ....              $-243.31
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   552.79    -                                0.00 = ....               $552.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 -1,091.75   -                                0.00 = ....            $-1,091.75
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 21,296.35   -                                0.00 = ....           $21,296.35
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    47.62    -                                0.00 = ....                 $47.62
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   390.50    -                                0.00 = ....               $390.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   398.20    -                                0.00 = ....               $398.20
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   208.66    -                                0.00 = ....               $208.66
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   701.14    -                                0.00 = ....               $701.14
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   795.66    -                                0.00 = ....               $795.66
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   537.01    -                                0.00 = ....               $537.01
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   894.00    -                                0.00 = ....               $894.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 42,372.33   -                                0.00 = ....           $42,372.33
                                              face amount                            doubtful or uncollectible accounts

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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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                Name




           11a. 90 days old or less:                                  1,194.40   -                                0.00 = ....             $1,194.40
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   561.50    -                                0.00 = ....               $561.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,771.83   -                                0.00 = ....             $2,771.83
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   141.74    -                                0.00 = ....               $141.74
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,158.80   -                                0.00 = ....             $1,158.80
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -276.29   -                                0.00 = ....              $-276.29
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   313.38    -                                0.00 = ....               $313.38
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 53,998.59   -                                0.00 = ....           $53,998.59
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,686.37   -                                0.00 = ....             $1,686.37
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   853.20    -                                0.00 = ....               $853.20
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   304.95    -                                0.00 = ....               $304.95
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    56.60    -                                0.00 = ....                 $56.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   285.90    -                                0.00 = ....               $285.90
                                              face amount                            doubtful or uncollectible accounts




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           11a. 90 days old or less:                                   977.78    -                                0.00 = ....               $977.78
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  5,455.77   -                                0.00 = ....             $5,455.77
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,001.77   -                                0.00 = ....             $1,001.77
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    -24.46   -                                0.00 = ....                $-24.46
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 75,095.90   -                                0.00 = ....           $75,095.90
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   542.04    -                                0.00 = ....               $542.04
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   -841.50   -                                0.00 = ....              $-841.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   404.60    -                                0.00 = ....               $404.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   635.87    -                                0.00 = ....               $635.87
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   543.85    -                                0.00 = ....               $543.85
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   278.10    -                                0.00 = ....               $278.10
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   195.28    -                                0.00 = ....               $195.28
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  3,378.02   -                                0.00 = ....             $3,378.02
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 29,992.93   -                                0.00 = ....           $29,992.93
                                              face amount                            doubtful or uncollectible accounts

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           11a. 90 days old or less:                                  2,685.50   -                                0.00 = ....             $2,685.50
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   714.00    -                                0.00 = ....               $714.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    40.25    -                                0.00 = ....                 $40.25
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   399.00    -                                0.00 = ....               $399.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   587.25    -                                0.00 = ....               $587.25
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 30,573.49   -                                0.00 = ....           $30,573.49
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  6,775.57   -                                0.00 = ....             $6,775.57
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   375.00    -                                0.00 = ....               $375.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   335.60    -                                0.00 = ....               $335.60
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   909.79    -                                0.00 = ....               $909.79
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  1,892.45   -                                0.00 = ....             $1,892.45
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,868.11   -                                0.00 = ....             $2,868.11
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                    50.00    -                                0.00 = ....                 $50.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 27
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
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           11a. 90 days old or less:                                    -0.01   -                                0.00 = ....                  $-0.01
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                     0.66   -                                0.00 = ....                   $0.66
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 5,385.00   -                                0.00 = ....             $5,385.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  362.45    -                                0.00 = ....               $362.45
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,410.97   -                                0.00 = ....             $1,410.97
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   70.48    -                                0.00 = ....                 $70.48
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   31.70    -                                0.00 = ....                 $31.70
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  139.19    -                                0.00 = ....               $139.19
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  338.20    -                                0.00 = ....               $338.20
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  553.50    -                                0.00 = ....               $553.50
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  -951.89   -                                0.00 = ....              $-951.89
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,799.90   -                                0.00 = ....             $2,799.90
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,025.52   -                                0.00 = ....             $1,025.52
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  501.94    -                                0.00 = ....               $501.94
                                              face amount                           doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 28
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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 12.       Total of Part 3.                                                                                                     $1,235,584.53
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           BRY075 3/4" BRASS
           THREADED WYE                                                                     $0.00                                            $15.60


           MMTURBSTD6GAL 6"
           MMT TURBINE MASTE                                                                $0.00                                        $1,467.90


           MM3GTRANSCEIVER
           MASTER METER DIALO                                                               $0.00                                          $742.50


           B21-444 1" Ford Flare x
           FIP Ball Cu                                                                      $0.00                                            $22.87


           C38-23-1.625 3/4" Meter
           Coupling, S                                                                      $0.00                                            $35.75


           HHS38-323 FORD DUAL
           CHECK VALVES                                                                     $0.00                                              $8.00


           WATTS6001 SERIES 600
           1" SILENT CHEC                                                                   $0.00                                            $27.66


           CLAVAL33450J
           CLA-VAL PN 334505 X                                                              $0.00                                            $36.00


           TAILPC050 1/2" METER
           TAIL PIECE C38                                                                   $0.00                                            $14.77




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 29
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                     $6.78


           H15053-200 2" COPPER
           GASKET FLARE,                                                                    $0.00                                   $11.30


           H15430-100 1"
           MUELLER COPPER
           FLARE                                                                            $0.00                                   $51.25


           H15071-125 1-1/4"
           MUELLER CST X COM                                                                $0.00                                 $318.31


           MCD10J23 5/8 X 3/4" TO
           3/4" METER A                                                                     $0.00                                   $22.56


           MCD4758-22-55-075 3/4"
           COMPRESSION                                                                      $0.00                                   $20.48


           H10003-125 1 1/4
           MUELLER CC X INC M                                                               $0.00                                 $731.69


           H10284-100 1"
           MUELLER FIP CURB
           W/DR                                                                             $0.00                                 $163.85


           H10284-150 1 1/2
           MUELLER FIP CURB W                                                               $0.00                                   $91.68


           H1412-058x075
           MUELLER H1412 5/8" x                                                             $0.00                                   $58.85


           H14200-058X075X075 -
           5/8 X 3/4, 3/4                                                                   $0.00                                   $42.00


           H14244-058 x 075 x 075
           Mueller Angl                                                                     $0.00                                   $20.50


           H15009-075 3/4"
           MUELLER CC X IPS CO                                                              $0.00                                   $25.24


           H15076-075 3/4"
           MUELLER H15076 90 B                                                              $0.00                                 $271.62


           H15150-100 1"
           MUELLER FLARE CURB
           IN                                                                               $0.00                                 $622.66




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 30
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           H15200-100 1"
           MUELLER FLARE CURB
           IN                                                                               $0.00                               $1,008.99


           H15214-075 3/4"
           MUELLER FLARE CURB                                                               $0.00                                 $228.98


           H15214-100 1"
           MUELLER FLARE CURB
           W/                                                                               $0.00                                 $378.17


           H15380-075 X 050 3/4 X
           1/2 MUELLER                                                                      $0.00                                   $27.30


           H15381-100X075 1" X 1"
           X 3/4" MUELL                                                                     $0.00                                   $29.63


           H15509-075 Mueller 3/4"
           XS Lead Fla                                                                      $0.00                                   $38.90


           H15071-100X075 1" X
           3/4" MUELLER CS                                                                  $0.00                                   $13.66


           H15405-100 1"
           MUELLER 2-PART
           FLARE                                                                            $0.00                                 $203.76


           H15425-050 1/2"
           MUELLER FLARE X MIP                                                              $0.00                                   $77.09


           H15425-050X075 1/2" X
           3/4" MUELLER                                                                     $0.00                                 $101.66


           H15428-050X075 1/2"
           MUELLER Compres                                                                  $0.00                                   $89.78


           H15430-125 1-1/4
           MUELLER COPPER FLA                                                               $0.00                                   $44.89


           H15430-200 2"
           MUELLER COPPER
           FLARE                                                                            $0.00                                   $24.23


           H15450-050 1/2"
           MUELLER FLARE X FIP                                                              $0.00                                   $12.93


           H15450-100X075 1 X 3/4
           MUELLER FLAR                                                                     $0.00                                   $36.99



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 31
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           H15457-075 3/4"
           MUELLER FIP X INSTA                                                              $0.00                                   $48.45


           H15486-075 3/4"
           MUELLER 1/8 BEND SW                                                              $0.00                                   $90.57


           H15505-050X075 1/2 X
           3/4 MUELLER XS                                                                   $0.00                                 $172.98


           H15505-100 1" Mueller
           Straight Coup                                                                    $0.00                                   $40.21


           H15515-075 3/4" Mueller
           1/8th Bend                                                                       $0.00                                 $260.47


           H-15457-100 MUELLER
           INSTA-TITE 1" P                                                                  $0.00                                   $58.41


           H15505-050 1/2"
           MUELLER XS LEAD X                                                                $0.00                                   $40.11


           H15486-050X075 1/2" X
           3/4" 1/8 BEND                                                                    $0.00                                 $409.22


           117-H3F3 CAMBRIDGE
           BRASS 3/4" COMP                                                                  $0.00                                   $78.83


           MCD47541-22-100X075
           MCDONALD 1" X 3                                                                  $0.00                                 $107.93


           MCD4753-33-100
           MCDONALD 1" MALE
           IRO                                                                              $0.00                                   $41.90


           MCD4758-22-075x050
           MCDONALD 3/4"x1                                                                  $0.00                                   $57.47


           MCD4758-22-68-100X058
           MCDONALD 1" X                                                                    $0.00                                 $106.85


           202-H3F3 CAMBRIDGE
           BRASS 3/4" COMP                                                                  $0.00                                   $30.96


           H14244A-058X075X075
           MUELLER H-14244                                                                  $0.00                                   $18.89


           302-A4H4 CAMBRIDGE
           BRASS 1" CC X CO                                                                 $0.00                                   $26.97


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           224-H3H3 3/4"
           COMPRESSION CURB
           STOP                                                                             $0.00                                   $29.77


           302-A5C5 CAMBRIDGE
           BRASS 1-1/4" CC                                                                  $0.00                                   $35.00


           301-A6H6 CAMBRIDGE
           BRASS 1-1/2" CC                                                                  $0.00                                   $69.41


           302-M4H4 CAMBRIDGE
           BRASS 1" MIP X C                                                                 $0.00                                   $29.67


           MCD4701-22-125
           MCDONALD 1-1/4" CC X                                                             $0.00                               $3,275.68


           MCD41-3--QN
           MCDONALD 41-3 W/ 3/4
           AN                                                                               $0.00                                 $161.10


           C28-11 FORD 1/2"
           FLARE X MIP ADAPTE                                                               $0.00                                   $33.81


           MCD470112CCX075CC
           McDONALD AWWA x A                                                                $0.00                                   $61.52


           MCD470112CCX1CC
           McDONALD AWWA x
           AWW                                                                              $0.00                                   $62.94


           MCD47011075CCX050C
           C MCDONALD AWWA X                                                                $0.00                                   $12.60


           301-M4H4 CAMBRIDGE
           BRASS 1" CORP MI                                                                 $0.00                                 $125.24


           H14200 MUELLER 5/8"
           METER X 3/4" FL                                                                  $0.00                                   $43.23


           MCD4700-T-075 3/4"
           McDonald T-Type                                                                  $0.00                                   $44.86


           MCD11-3LE-33 "K"
           THREAD x FIP Inlin                                                               $0.00                               $1,033.83


           MCD4704B-33 1-1/2"
           BALL CORPORATION                                                                 $0.00                                 $115.18



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           MCD4758-68-058
           MCDONALD 5/8 XXS X X                                                             $0.00                                 $178.06


           MCD47541-22-050X075
           MCDONALD 1/2" X                                                                  $0.00                                   $91.10


           MCD4758-22-67-075
           MCDONALD 3/4" 3 P                                                                $0.00                                 $222.00


           MCD4758-22-67
           MCDONALD 1", 3 PC
           UNI                                                                              $0.00                                   $83.11


           MCD41-2 McDONALD #2
           CORNERHORN 3/4"                                                                  $0.00                                   $71.37


           MCD47541-22-075
           McDONALD 3/4" CTS P                                                              $0.00                                   $34.80


           MCD47541-55-075
           MCDONALD 3/4" IP PA                                                              $0.00                               $1,304.50


           MCD3743 3/4 X 2
           MCDONALD 4-BRANCH
           F                                                                                $0.00                                 $156.59


           L04-77 FORD 2" CORP
           STOP QUARTER BE                                                                  $0.00                                 $257.70


           FB600-7 2" FORD
           CCXFLR CORP STOP                                                                 $0.00                                 $706.25


           GT-1 1/2" FORD P J
           GASKET                                                                           $0.00                                   $10.90


           PH-1 5/8" Ford
           Pretzelhorn, Less Pi                                                             $0.00                                 $251.58


           WT800M4QT-200
           WATTS 2" 800-MQ PRES                                                             $0.00                                 $223.69


           WT710U2-075 1" X 3/4"
           WATTS #7 DUAL                                                                    $0.00                                   $16.29


           WTGV-1-100 1" WATTS
           BRASS GATE VALV                                                                  $0.00                                   $39.44




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 34
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                Name

           WT909M1QT-S-075 3/4"
           WATTS 909 RPZ                                                                    $0.00                               $1,033.34


           B6080-075 3/4" WATTS
           BRONZE FULL PO                                                                   $0.00                                   $69.60


           WATTSB6300-075 3/4"
           WATTS B6300 THR                                                                  $0.00                                 $108.20


           TAILPC075 3/4" TAIL
           PIECE 192210WH                                                                   $0.00                                     $3.95


           MCD4753-22-050x075
           MCDONALD 1/2" TU                                                                 $0.00                                 $486.82


           M100050 1/2" IP
           BRONZE BALL VALVE                                                                $0.00                                   $18.65


           H15486-058X075 1/8
           BEND SWIVEL NUT                                                                  $0.00                                   $69.50


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                     $6.78


           H15430-150 1 1/2
           MUELLER COPPER FLA                                                               $0.00                                   $28.51


           H10033-150 1 1/2" CC
           MUELLER PLUG S                                                                   $0.00                                   $12.86


           H15029-100 1"
           MUELLER
           COMPRESSION C                                                                    $0.00                                   $79.24


           H15275-100 1"MUELLER
           FLARE X FIP CU                                                                   $0.00                                   $40.24


           H15072-100 1"
           MUELLER IPS X INSIDE                                                             $0.00                                   $19.82


           H15405-100 1"
           MUELLER 2-PART
           FLARE                                                                            $0.00                                   $12.74


           H15425-075 3/4"
           MUELLER FLARE X MIP                                                              $0.00                                     $7.89




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 35
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MCFLCORP1.25
           MCDONALD 1-1/4" CC X
           F                                                                                $0.00                                   $93.60


           WTU5B-075 3/4 WATTS
           WATER PRESSURE                                                                   $0.00                                 $123.54


           H15000-150 1 1/2
           MUELLER FLARE CORP                                                               $0.00                                 $157.94


           H15430-150 1 1/2
           MUELLER COPPER FLA                                                               $0.00                                   $14.26


           H15430-100 1"
           MUELLER COPPER
           FLARE                                                                            $0.00                                 $276.75


           H15430-075 3/4"
           MUELLER COPPER
           FLAR                                                                             $0.00                                     $8.12


           B25204-150 1-1/2"
           FLARED CURB STOP                                                                 $0.00                                 $616.96


           H10284-100 1"
           MUELLER FIP CURB
           W/DR                                                                             $0.00                                 $109.23


           H14200-100 - 1"
           MUELLER METER
           COUPL                                                                            $0.00                                 $135.00


           H15000-050 1/2"
           MUELLER CC X FLARE                                                               $0.00                                   $35.71


           H15000-100 MUELLER
           1" FLARE CORPORA                                                                 $0.00                                 $110.44


           H1502-2-075 3/4"
           MUELLER FLARE CURB                                                               $0.00                                 $396.98


           H1502-2-100 1"
           MUELLER FLARE CURB                                                               $0.00                                 $896.38


           H15204-075 3/4"
           MUELLER FLARE CURB                                                               $0.00                                 $321.86


           H15204-200 2"
           MUELLER FLARE CURB                                                               $0.00                               $1,211.84


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 36
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           H15214-075 3/4"
           MUELLER FLARE CURB                                                               $0.00                                 $267.15


           H15214-100 1"
           MUELLER FLARE CURB
           W/                                                                               $0.00                                 $315.15


           H15380-200X100 2 X 2 X
           1 MUELLER FL                                                                     $0.00                                 $113.04


           H15451-075X100 3/4" X
           1" MUELLER CO                                                                    $0.00                                   $22.25


           H15509-075 Mueller 3/4"
           XS Lead Fla                                                                      $0.00                                   $38.90


           H15063-100 1"
           MUELLER 1/8 BEND
           CST                                                                              $0.00                                   $97.28


           H15063-150 1 1/2
           MUELLER 1/8 BEND C                                                               $0.00                                 $140.75


           H15063-200 2"
           MUELLER 1/8 BEND
           CST                                                                              $0.00                                 $173.42


           H15064-075 3/4"
           MUELLER 1/8 BEND SW                                                              $0.00                                   $70.33


           H15064-100 1"
           MUELLER 1/8 BEND
           SWIV                                                                             $0.00                                 $525.08


           H15068-075 3/4"
           MUELLER 1/4 BEND CS                                                              $0.00                                   $15.85


           H15068-200 2"
           MUELLER 1/4 BEND
           CST                                                                              $0.00                                 $304.36


           H15425-100X075 1" X
           3/4" MUELLER FL                                                                  $0.00                                   $48.28


           H15430-125 1-1/4
           MUELLER COPPER FLA                                                               $0.00                                     $7.48




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 37
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           H15450-075 3/4"
           MUELLER FLARE X FIP                                                              $0.00                                   $31.31


           H15450-100X075 1 X 3/4
           MUELLER FLAR                                                                     $0.00                                   $24.66


           H15450-150 1 1/2
           MUELLER FLARE X FI                                                               $0.00                                   $87.72


           H15455-075 3/4"
           MUELLER 1/8 BEND FI                                                              $0.00                                   $64.46


           H15505-058X075 5/8 X
           3/4 MUELLER XS                                                                   $0.00                                   $24.71


           H15505-075X100 3/4 X 1
           MUELLER XS L                                                                     $0.00                                   $20.10


           H15525-100 1"
           MUELLER 1/4 BEND
           FLAR                                                                             $0.00                                   $60.08


           H15525-200 2"
           MUELLER 1/4 BEND
           FLAR                                                                             $0.00                                   $94.01


           H15540-150 1 1/2
           MUELLER CST BRASS                                                                $0.00                                 $224.98


           H-1447--2A 5/8" HORZ.
           MUE. METER RE                                                                    $0.00                               $1,506.82


           302-A4C4 CAMBRIDGE
           BRASS 1" CC X FL                                                                 $0.00                                 $253.40


           MCD4758C-68 1" Copper
           Flare x 1" XX                                                                    $0.00                                   $29.58


           MCD6100-200 2" BALL
           CURB STOP FLAR                                                                   $0.00                                 $181.20


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                     $6.78


           H10284-100 1"
           MUELLER FIP CURB
           W/DR                                                                             $0.00                                 $491.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 38
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           H15204-200 2"
           MUELLER FLARE CURB                                                               $0.00                                 $201.97


           H15381-150X100 1 1/2" X
           1" MUELLER                                                                       $0.00                                 $105.36


           H15451-075 3/4"
           MUELLER
           COMPRESSION                                                                      $0.00                                     $9.52


           H15451-100 1"
           MUELLER
           COMPRESSION X                                                                    $0.00                                   $27.23


           H14244A-058X075X075
           MUELLER H-14244                                                                  $0.00                                   $18.89


           MCD2100M-075 3/4" X
           3/4" CTS X MIP                                                                   $0.00                                 $172.64


           MCD2100F-075 3/4" CTS
           X FIPT ADAPTE                                                                    $0.00                                   $81.84


           MCD2100-075X050 3/4"
           X 1/2" PUSH-FI                                                                   $0.00                                   $65.00


           MCD2100RT050 1/2"
           PUSH-FIT RELEASE                                                                 $0.00                                     $0.33


           MCD4754-22-100X075
           MCDONALD 1" X 3/                                                                 $0.00                                   $13.49


           MCD44-2 MCDONALD
           SERIES 44 "PU" STY                                                               $0.00                                 $163.93


           NEPTUNE 5/8" X 3/4"
           T-10 PRO READ I                                                                  $0.00                                 $202.00


           MCD4753-22-050x075
           MCDONALD 1/2" TU                                                                 $0.00                                   $10.58


           MCD4638-22-3/4 3/4"
           STR METER CPLG                                                                   $0.00                                   $35.19


           C44-88 2 1/2" FORD
           COMPRESSION COUP                                                                 $0.00                                 $178.90




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 39
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRCPLG-100X050 1" X
           1/2" BRASS COUP                                                                  $0.00                                   $12.05


           BRCPLG-150X125 1-1/2"
           X 1-1/4" BRAS                                                                    $0.00                                   $10.52


           BRCPLG-200X075 2" X
           3/4" BRASS COUP                                                                  $0.00                                   $13.71


           BRCPLG-200X150 2" X 1
           1/2" BRASS CO                                                                    $0.00                                   $12.17


           BRPLG-075 3/4" BRASS
           PLUG THREADED                                                                    $0.00                                     $5.81


           BRPLG-100 1" BRASS
           PLUG THREADED IM                                                                 $0.00                                   $13.54


           BRPLG-150 1 1/2"
           BRASS PLUG THREADE                                                               $0.00                                   $63.44


           BRT-100 1" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                   $10.84


           BRT-100X075X075 1" X
           3/4" BRASS RED                                                                   $0.00                                   $12.19


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                   $20.33


           MCD4758-55-075
           MCDONALD 3/4 X 3/4                                                               $0.00                                   $20.39


           H10201-050 1/2"
           MUELLER CURB STOP
           F                                                                                $0.00                                   $53.52


           H14255-058 X 075 X 100
           Mueller Angl                                                                     $0.00                                 $144.16


           H15380-075100 3/4 X 3/4
           X 1 MUELLER                                                                      $0.00                                   $31.25


           H1404 MUELLER
           HORIZONTAL BAR
           METER                                                                            $0.00                                 $283.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 40
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                Name

           H15425-050X075 1/2" X
           3/4" MUELLER                                                                     $0.00                                   $76.25


           MCD4701-22-125
           MCDONALD 1-1/4" CC X                                                             $0.00                                 $105.67


           WTGV-1-100 1" WATTS
           BRASS GATE VALV                                                                  $0.00                                   $59.16


           H15430-150 1 1/2
           MUELLER COPPER FLA                                                               $0.00                                   $28.51


           253NL-H6H6
           CAMBRIDGE BRASS
           1-1/2" C                                                                         $0.00                                 $299.05


           H15509-075 Mueller 3/4"
           XS Lead Fla                                                                      $0.00                                   $12.97


           203-B3B3 CAMBRIDGE
           3/4" CAMPAK COMP                                                                 $0.00                                 $148.71


           253-H3H3 3/4"
           CAMBRIDGE BRASS
           CURB                                                                             $0.00                                 $455.76


           253-H4H4 CAMBRIDGE
           BRASS 1" BALL CU                                                                 $0.00                                   $68.38


           HAMMOND-IB645-1
           HAMMOND VALVE 1" G                                                               $0.00                                   $76.65


           MUE36571 MUELLER
           BRASS PLUG ONLY FO                                                               $0.00                                   $45.57


           253NL-H6H6
           CAMBRIDGE BRASS
           1-1/2" C                                                                         $0.00                               $1,794.30


           MCD4753-67 1/2 X
           STRONG X 3/4 MIP M                                                               $0.00                                   $45.57


           MCD4753-66-058X075
           5/8" STRONG x 3/                                                                 $0.00                               $5,869.32


           B24258-01-058x075x100
           Mueller 300 A                                                                    $0.00                                 $173.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 41
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           H14258-100 1"
           MUELLER
           COMPRESSION A                                                                    $0.00                               $2,242.75


           H15071-100 1"
           MUELLER CST X FLARE
           A                                                                                $0.00                                   $89.14


           H15530-100 1"
           MUELLER 1/4 BEND MIP                                                             $0.00                                 $307.58


           311-A4F4 CAMBRIDGE
           BRASS 1" BALL CO                                                                 $0.00                                 $231.99


           MCD4758-22-68-100X058
           MCDONALD 1" X                                                                    $0.00                               $1,538.64


           252-H5H5 CAMBRIDGE
           BRASS 1-1/4 BALL                                                                 $0.00                                 $250.23


           253-F4F4 CAMBRIDGE
           BRASS1" FIPXFIP                                                                  $0.00                                 $985.41


           253-H7H7 CAMBRIDGE
           BRASS 2"CURB STO                                                                 $0.00                               $2,202.80


           MCD6130CC
           McDONALD 6130CC 3/4
           FEM                                                                              $0.00                                 $137.32


           MCD4754-22-100X075
           MCDONALD 1" X 3/                                                                 $0.00                               $1,956.20


           MCD4758-22-67 1"X 3/4"
           3 PC UNION C                                                                     $0.00                               $1,480.58


           MCD4758-22-67-075
           MCDONALD 3/4" 3 P                                                                $0.00                                   $27.75


           MCD4758-22-68-100X075
           MCDONALD 1" C                                                                    $0.00                                 $179.66


           FJQ34-14 5/8S X 1"
           COPPER ADAPTER                                                                   $0.00                                 $972.00


           C14-44G 1" FORD
           C14-44G COMPRESSION                                                              $0.00                                   $49.92




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 42
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           C14-77G 2" FORD
           C14-77G COMPRESSION                                                              $0.00                                 $118.40


           B24265-058X075X075
           MUELLER B-24265                                                                  $0.00                                 $908.82


           203-F4F4 CAMBRIDGE
           BRASS 1" BALL CU                                                                 $0.00                                 $468.80


           311-A4M4 CAMBRIDGE
           BRASS 1" CORPORA                                                                 $0.00                                 $476.71


           202-B6B6 CAMBRIDGE
           BRASS 1-1/2" CAM                                                                 $0.00                                   $94.68


           202-H3F3 CAMBRIDGE
           BRASS 3/4" COMP                                                                  $0.00                                 $123.84


           253-H3H3 3/4"
           CAMBRIDGE BRASS
           CURB                                                                             $0.00                                   $50.64


           311-A7M7 CAMBRIDGE
           2" BALL VALVE                                                                    $0.00                                 $127.44


           B22-333 3/4" FORD FL X
           FL B22-333 C                                                                     $0.00                                 $273.80


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                   $54.22


           F1000-4 1" CC X COMP
           CORP                                                                             $0.00                                   $63.01


           105-H4M4 CAMBRIDGE
           BRASS 1" COMP X                                                                  $0.00                                   $58.16


           117-C4F4 CAMBRIDGE
           BRASS 1" FLARE                                                                   $0.00                                   $21.46


           117-C6F6 CAMBRIDGE
           BRASS 1-1/2" FLA                                                                 $0.00                                   $52.63


           117-H3F3 CAMBRIDGE
           BRASS 3/4" COMP                                                                  $0.00                                   $11.26


           212-H4F4 1" CB METER
           VALVE FULL POR                                                                   $0.00                                 $217.04


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 43
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           212-H4T4R
           CAMBRIDGE BRASS
           COMP X M                                                                         $0.00                                 $110.48


           302-A5H5 CAMBRIDGE
           BRASS 1-1/4" CC                                                                  $0.00                                   $70.00


           302-A4B4 CAMBRIDGE
           BRASS 1" CC X CA                                                                 $0.00                                 $215.76


           302-A3C3 CAMBRIDGE
           BRASS 3/4" CC X                                                                  $0.00                                   $49.74


           301-A4C4 CAMBRIDGE
           BRASS 1" CC X FL                                                                 $0.00                                 $128.26


           301-A7C7 CAMBRIDGE
           BRASS 2" CC X FL                                                                 $0.00                                 $242.48


           405-T3M3 CAMBRIDGE
           BRASS 3/4" METER                                                                 $0.00                                   $91.38


           UC14-33 3/4" UFB FIP X
           COMP ADAPTER                                                                     $0.00                                 $156.00


           UC84-33 3/4" UFB MIP X
           COMP ADAPTER                                                                     $0.00                                     $9.75


           UB44-444 1" UFB COMP
           CURB STOP                                                                        $0.00                                 $374.76


           UC84-44 1" UFB MIP X
           COMP ADAPTER                                                                     $0.00                                 $130.92


           224-C3T3 3/4 COPPER
           FLARE X METER                                                                    $0.00                                 $101.11


           T3000GAL8 8" KENT
           T3000 TURBINE MET                                                                $0.00                               $6,113.98


           T3000GAL150 1 1/2"
           KENT T3000 TURBI                                                                 $0.00                               $1,352.48


           3" brz strainer                                                                  $0.00                                 $185.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 44
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           6011-2N1N1-VQ
           CAMBRIDGE BRASS
           LOW                                                                              $0.00                               $2,016.90


           WT007150 WATTS 007 1
           1/2" BACKFLOW                                                                    $0.00                                 $152.00


           SENSUS-SRHDRG4 4"
           SENSUS SRH COMPOU                                                                $0.00                               $4,800.00


           UC44-44 1" UFB COMP
           UNION                                                                            $0.00                                   $82.24


           HAMMOND-IB645-15
           HAMMOND GATE VAL                                                                 $0.00                                   $27.17


           HAMMOND-IB645-1
           HAMMOND VALVE 1" G                                                               $0.00                                 $321.93


           WT710U3 1" X 3/4"
           WATTS #7 DUAL CHE                                                                $0.00                                 $160.90


           B25166-3-100 1"
           MUELLER METER
           VALVE                                                                            $0.00                                 $160.54


           212-F4T4 CAMBRIDGE
           BRASS 1" FIP X M                                                                 $0.00                                   $41.78


           M100050 1/2" IP
           BRONZE BALL VALVE                                                                $0.00                                   $18.65


           HHA31-323 3/4" X 3/4"
           ANGLE CASCADI                                                                    $0.00                                 $371.21


           B41444WG 1" FIPT X
           COMPRESSION G NU                                                                 $0.00                                 $701.40


           B25172-200 2" Mueller
           Ball Curb Val                                                                    $0.00                                 $445.14


           B25209R-075 3/4"
           MUELLER BALL CURB                                                                $0.00                                 $171.91


           H14255-058 X 075 5/8 X
           3/4 Mueller                                                                      $0.00                                 $108.16




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           117-B4M4 CAMBRIDGE
           BRASS 1" CAMPAK                                                                  $0.00                                     $9.46


           151-H7F4 CAMBRIDGE
           BRASS 2" TEE, CB                                                                 $0.00                                   $57.62


           212-H3F3 3/4"
           CAMBRIDGE BRASS
           METER                                                                            $0.00                                   $43.89


           212-H4F4 1" CB METER
           VALVE FULL POR                                                                   $0.00                                 $108.52


           224-H3T3 CAMBRIDGE
           BRASS 3/4" COMP                                                                  $0.00                                   $96.59


           301-A6H6 CAMBRIDGE
           BRASS 1-1/2" CC                                                                  $0.00                                 $277.62


           6020-207F3F3-UQ
           CAMBRIDGE BRASS 5/8                                                              $0.00                                 $315.00


           301-A6F6 1 1/2" CC X
           FIP BALL CORP                                                                    $0.00                                   $40.75


           6020-212H3H3-VO 5/8"
           X 3/4" CAMBRI                                                                    $0.00                                 $300.72


           WT919M1QT-S-075 3/4"
           WATTS 919 RPZ                                                                    $0.00                                 $204.28


           117-PJ4M4 CAMBRIDGE
           BRASS 1" IPS PE                                                                  $0.00                                 $145.12


           117-H6M4 CAMBRIDGE
           BRASS 1 X 1-1/2                                                                  $0.00                                 $141.12


           MCD4758-22-075 3/4"
           CTS COMP X CTS                                                                   $0.00                                   $57.35


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                   $13.56


           117-C3F3 CAMBRIDGE
           BRASS 3/4" FLARE                                                                 $0.00                                     $9.58


           117-C3M3 CAMBRIDGE
           BRASS 3/4" FLARE                                                                 $0.00                                   $35.48


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           117-C6M6 CAMBRIDGE
           BRASS 1-1/2" FLA                                                                 $0.00                                   $57.16


           117-C7F7 CAMBRIDGE
           BRASS 2" FLARE X                                                                 $0.00                                   $99.11


           118-C3C3 CAMBRIDGE
           BRASS 3/4" FLARE                                                                 $0.00                                 $358.40


           118-C4C4 CAMBRIDGE
           BRASS 1" FLARE U                                                                 $0.00                                 $408.20


           202-C3C3 CAMBRIDGE
           BRASS 3/4" FLARE                                                                 $0.00                                 $250.11


           202-C6C6 CAMBRIDGE
           BRASS 1-1/2" FLA                                                                 $0.00                                 $189.00


           202-C7C7 CAMBRIDGE
           BRASS 2" FLARE X                                                                 $0.00                                 $139.01


           204-C3C3 CAMBRIDGE
           BRASS 3/4" FLARE                                                                 $0.00                                   $86.22


           212-H3F3 3/4"
           CAMBRIDGE BRASS
           METER                                                                            $0.00                                   $21.95


           212-H4F4 1" CB METER
           VALVE FULL POR                                                                   $0.00                               $1,844.84


           302-A4H4 CAMBRIDGE
           BRASS 1" CC X CO                                                                 $0.00                                   $53.94


           302-A4C4 CAMBRIDGE
           BRASS 1" CC X FL                                                                 $0.00                                 $329.42


           302-A4F4 CAMBRIDGE
           BRASS 1" CC X FI                                                                 $0.00                                 $103.74


           301-A6C6 CAMBRIDGE
           BRASS 1-1/2" CC                                                                  $0.00                                 $138.81


           301-M6F6 CAMBRIDGE
           BRASS 1-1/2" CB                                                                  $0.00                                   $73.87




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 47
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MCD4642BY-22
           3/4"X5/8"X02 ANGLE
           BAL                                                                              $0.00                                 $631.14


           V-25056-100 1" CC X
           PVC PACK JOINT                                                                   $0.00                                   $68.12


           105-C3M3 3/4"
           QUARTER BEND FL X
           MIP                                                                              $0.00                                   $21.65


           105-C4M4 1" QUARTER
           BEND FL X MIP                                                                    $0.00                                   $38.30


           105-C7M7 2" QUARTER
           BEND FL X MIP                                                                    $0.00                                   $85.50


           H1404 5/8" X 3/4"
           METER 7" RISE 234                                                                $0.00                                 $396.08


           MCD61001 1"
           MCDONALD COPPER
           FLARE X                                                                          $0.00                                 $210.42


           B25166-3-100 1"
           MUELLER METER
           VALVE                                                                            $0.00                               $4,495.09


           6010-207N2N2-VQ
           CAMBRIDGE BRASS ME                                                               $0.00                                   $51.54


           6010-212N2N2-VQ
           CAMBRIDGE BRASS ME                                                               $0.00                                   $52.91


           6020-212H3H3-VO 5/8"
           X 3/4" CAMBRI                                                                    $0.00                                 $701.68


           6020-212M3M3-VO 12"
           TALL 5/8" X 3/4                                                                  $0.00                                 $522.48


           WKNS350-150 1 1/2"
           WILKINS MODEL 35                                                                 $0.00                                 $176.00


           301-A3C3 CAMBRIDGE
           BRASS 3/4" CC X                                                                  $0.00                                   $97.30


           H15505-100 1" Mueller
           Straight Coup                                                                    $0.00                                   $20.10



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           H15513-100 1" Mueller
           1/4 Bend Coup                                                                    $0.00                                   $89.90


           MCD4758-22-075x050
           MCDONALD 3/4"x1                                                                  $0.00                                 $143.68


           FLGGSKT8FF2 2"
           FULL-FACE 1/8" THICK                                                             $0.00                                     $3.12


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $41.48


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $33.20


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $74.50


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                 $192.50


           FLGGSKT8FF10 10" X
           1/8" FULL FACED,                                                                 $0.00                                   $92.40


           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                 $124.80


           FLGGSKT8FF14 14" X
           1/8" FULL FACED,                                                                 $0.00                                   $34.00


           FLGGSKT8FF16 16" FLG
           1/8" RED FF RU                                                                   $0.00                                   $37.52


           FLGGSKT8FF250 2-1/2"
           X 1/8" FULL FA                                                                   $0.00                                   $18.62


           FLGGSKT8R2 2" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $3.12


           FLGGSKT8R3 3" X 1/8"
           RING, RED RUBB                                                                   $0.00                                    $-1.20


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $3.84


           FLGGSKT8R6 6" X 1/8"
           RING, RED RUBB                                                                   $0.00                                    $-1.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 49
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                Name

           FLGGSKT8R8 8" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $1.78


           FLGGSKT8R10 10" X
           1/8" RING, RED RU                                                                $0.00                                     $7.38


           FLGGSKT8R20 20" X
           1/8" RED RUBBER,                                                                 $0.00                                     $6.14


           FLGGSKT16FF6 6" X
           1/16" FULLFACE, R                                                                $0.00                                     $6.60


           FLGGSKT16R3 3" X
           1/16" RING, RED RU                                                               $0.00                                     $6.00


           FLGGSKT16R4 4" X
           1/16" RING, RED RU                                                               $0.00                                     $9.60


           FLGGSKT16R12 12" X
           1/16" RING, RED                                                                  $0.00                                     $4.77


           420-010 TEE CROSS 1"                                                             $0.00                                     $8.96


           FLTWSH038 3/8" USS
           FLAT WASHER                                                                      $0.00                                     $0.41


           FLTWSH050 1/2" USS
           FLAT WASHER                                                                      $0.00                                     $0.36


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $3.40


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $22.82


           FLTWSH078 7/8" USS
           FLAT WASHER                                                                      $0.00                                     $1.53


           HXBLT058175 5/8" X
           1-3/4" HEX BOLT,                                                                 $0.00                                     $0.90


           HXBLT058250 5/8" X
           2-1/2" HEX BOLT,                                                                 $0.00                                     $0.90


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                   $90.72




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 50
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                Name

           HXBLT058400 5/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                     $6.29


           HXBLT075350 3/4" X
           3-1/2" HEX BOLT,                                                                 $0.00                                 $503.20


           HXBLT075400 3/4" X 4"
           HEX BOLT, GRA                                                                    $0.00                                     $7.20


           HXBLT078225 7/8" X
           2-1/4" HEX BOLT,                                                                 $0.00                                   $31.85


           HXBLT078400 7/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                   $10.08


           HXBLT100400 1" X 4"
           HEX BOLT, GRADE                                                                  $0.00                                   $19.60


           HXBLT100450 1" X
           4-1/2" HEX BOLT, G                                                               $0.00                                   $68.85


           HXBLT118500 1-1/8" X
           5" HEX BOLT, G                                                                   $0.00                                   $28.86


           HXBLT118850 1 1/8" X 8
           1/2" HEX BOL                                                                     $0.00                                     $1.25


           HXBLT125550 1-1/4" X
           5-1/2" HEX BOL                                                                   $0.00                                 $155.12


           HXBLT125650 1-1/4" X
           6-1/2" HEX BOL                                                                   $0.00                                   $30.00


           HXBLT150700 1 1/2" X
           7" HEX BOLT                                                                      $0.00                                 $768.00


           HXNUT050 1/2" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $2.07


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $71.57


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $84.00


           HXNUT075F 3/4"
           FLUORO CARBON
           COATED                                                                           $0.00                                     $8.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 51
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $17.05


           HXNUT100 1" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $36.30


           HXNUT118 1-1/8"
           HEAVY DUTY HEX NUT                                                               $0.00                                   $16.59


           HXNUT125 1-1/4"
           HEAVY DUTY HEX NUT                                                               $0.00                                     $9.24


           HXNUT150 1-1/2"
           HEAVY DUTY HEX NUT                                                               $0.00                                   $97.34


           HXNUTF058 5/8" HEAVY
           HEX NUT FLOURO                                                                   $0.00                                     $3.75


           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                   $93.00


           FLTWSH075SS 3/4"
           FLAT WASHER, STAIN                                                               $0.00                                   $29.65


           HXBLT078400SS 7/8" X
           4" STAINLESS S                                                                   $0.00                                 $160.65


           HXBLT058300SS 5/8" X
           3" STAINLESS S                                                                   $0.00                                 $160.65


           HXNUT058SS 5/8"
           STAINLESS STEEL HEA                                                              $0.00                                   $48.00


           HXNUT078SS 7/8"
           STAINLESS STEEL HEA                                                              $0.00                                 $107.25


           HXBLT075350P 3/4" X
           3-1/2" ZINC PLA                                                                  $0.00                                   $21.00


           HXBLT075350SS 3/4" X
           3-1/2" STAINLE                                                                   $0.00                                 $354.24


           HXNUT075ZP 3/4" ZINC
           PLATED HEAVY H                                                                   $0.00                                     $1.74


           HXNUT050SS 1/2"
           STAINLESS STEEL HEX                                                              $0.00                                     $4.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 52
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           FLTWSH100 1" USS
           FLAT WASHER                                                                      $0.00                                     $7.93


           HXNUT058ZP 5/8" ZINC
           PLATED HEAVY H                                                                   $0.00                                   $11.03


           HXNUTSS100 1 SS HEX
           NUT                                                                              $0.00                                 $121.60


           HXNUT100SS 1" HEAVY
           HEX NUT STAINLE                                                                  $0.00                                   $45.60


           HXBLTSS100450 - 1" X
           4-1/2" HEX BOL                                                                   $0.00                                   $43.40


           FLTWSH058SS 5/8"
           FLAT WASHER STAINL                                                               $0.00                                   $30.10


           HXBLT058250SS 5/8 X
           2-1/2 STAINLESS                                                                  $0.00                                     $3.26


           HXBLT058300Z 5/8 X 3"
           ZINC PLATED G                                                                    $0.00                                   $24.00


           HXBLT100750 - 1" X
           7-1/2" HEX BOLT                                                                  $0.00                                   $23.40


           HXBLT118400 1 1/8" X
           4" HEX BOLT                                                                      $0.00                                     $7.20


           HXBLT118500SS 1-1/8"
           X 5" HEX BOLT                                                                    $0.00                                   $31.90


           HXBLT118900 1 1/8"
           HEX BOLT                                                                         $0.00                                 $100.00


           HXBLTSS125550 1.25"
           X 5.50 SS HEX                                                                    $0.00                                 $512.00


           HXNUT100P 1" HEX NUT
           ZINC PLATED                                                                      $0.00                                   $37.74


           HXBLT075200P 3/4" X 2"
           HEX BOLT ZIN                                                                     $0.00                                   $13.07


           MJGSKT2 2" MJ
           GASKET                                                                           $0.00                                   $13.02


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 53
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $11.63


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                   $67.43


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                   $67.43


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                 $119.97


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                 $115.32


           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $66.50


           MJGSKT14 14" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJGSKT20 20" MJ
           GASKET                                                                           $0.00                                   $53.48


           MJGSKT24 24" MJ
           GASKET                                                                           $0.00                                 $156.24


           MJGSKT36 36" MJ
           GASKET                                                                           $0.00                                   $36.27


           MJSDRTG4 4" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $92.70


           MJSDRTG6 6" MJ x
           SDR35 TRANSITION G                                                               $0.00                                   $11.33


           MJSDRTG8 8" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $24.72


           MJSDRTG10 10" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $43.26


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $30.90


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                   $36.05


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 54
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                   $27.81


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $25.24


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $51.50


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                     $7.21


           TBLT075600 3/4" X 6"
           T-BOLT & NUT                                                                     $0.00                                   $30.90


           8" MJ VITON GASKET                                                               $0.00                                   $50.00


           BW BRASS WEDGES                                                                  $0.00                                 $223.75


           MJGLD3 3" MJ GLAND                                                               $0.00                                   $27.90


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $30.69


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $78.59


           MJGLD8 8" MJ GLAND                                                               $0.00                                   $29.76


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                 $232.50


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                 $120.90


           MJGLD16 16" MJ
           GLAND                                                                            $0.00                                   $79.98


           MJGLD24 24" MJ
           GLAND                                                                            $0.00                                   $72.54


           MJKIT2 2" MJ
           ACCESSORY KIT                                                                    $0.00                                   $64.89


           MJGLD20 20" MJ
           GLAND                                                                            $0.00                                 $341.78




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 55
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                Name

           TBLT058300 5/8" X 3"
           T-BOLT & NUT                                                                     $0.00                                   $11.00


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $63.75


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                 $366.52


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                 $221.99


           TBLT075500 3/4" X 5"
           T-BOLT & NUT                                                                     $0.00                                 $136.80


           TBLT075550 3/4" X
           5-1/2" T-BOLT & N                                                                $0.00                                 $256.80


           TBLT075900 3/4" X 9"
           T-BOLT & NUT                                                                     $0.00                                     $8.24


           TBLTF075350 3/4" X
           3-1/2" T-BOLT AN                                                                 $0.00                                   $17.60


           TBLTF075400 3/4" X 4"
           T-BOLT AND NU                                                                    $0.00                                   $94.40


           TBLTF075450 3/4" X
           4-1/2" T-BOLT AN                                                                 $0.00                                 $588.00


           TBLTF075500 3/4" X 5"
           T-BOLT AND NU                                                                    $0.00                                   $11.90


           TBLTSS075400 3/4" x 4"
           GRADE 304 ST                                                                     $0.00                                   $16.40


           TBLT100600 1" X 6"
           T-BOLT & NUT                                                                     $0.00                                   $42.00


           TBLT100650 1"X 6 1/2"
           T-BOLT & NUT                                                                     $0.00                                 $372.50


           TBLTF075600 3/4" x 6"
           LONG TEE BOLT                                                                    $0.00                                     $2.00


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $91.62



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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $532.63


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $54.80


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $161.70


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $34.09


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $112.45


           MGP12T 12" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                   $89.95


           MGP16 16" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $162.00


           MGP3T 3" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                   $95.45


           MGP4F 4" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                   $13.96


           MGP6F 6" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                  $-31.53


           MGP8F 8" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $975.44


           MGP10F 10" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $546.48


           MGP12F 12" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $190.68


           MGP16F 16" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                   $99.24




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 57
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MGP20 20" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $165.83


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $91.00


           MJP10 10" STANDARD
           MJ ACC KIT INCLU                                                                 $0.00                                   $75.71


           TYGSKT20 20" TYTON
           GASKET PLAIN (SB                                                                 $0.00                               $4,332.96


           TYGSKT18 18" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $371.00


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                               $5,388.52


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                               $3,990.24


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                               $1,069.84


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $424.16


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $839.80


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                               $1,607.40


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                               $6,214.78


           TYGSKT14 14" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $361.20


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $534.08


           TYG6N 6" TYTON
           NITRILE GASKET                                                                   $0.00                                 $125.84


           TYG4N 4" TYTON
           NITRILE GASKET                                                                   $0.00                                   $10.04



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 58
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FLG4 4" FIELD LOK
           GASKET, GG4                                                                      $0.00                                   $73.16


           FLG8 8" FIELD LOK
           GASKETS #17080/M                                                                 $0.00                                 $703.00


           FLG10 10" FIELD LOK
           GASKET                                                                           $0.00                                 $428.00


           FLG12 12" FIELD LOCK
           GASKET GRIPPER                                                                   $0.00                                 $868.00


           FLG14 14" FIELD LOCK
           GASKETS FOR TY                                                                   $0.00                                 $514.00


           FLG20 20" FIELD LOK
           GASKETS (WEDGE                                                                   $0.00                               $4,620.00


           FLG24 24" FIELD LOCK
           GASKETS FOR TY                                                                   $0.00                                 $580.00


           MJG6N 6" MECHANICAL
           JOINT NITRILE G                                                                  $0.00                                   $20.12


           FLG3 3" FIELD-LOK
           GASKET                                                                           $0.00                                 $269.53


           MCSSG16 16" SURE
           STOP LOCKING GASKE                                                               $0.00                                 $304.64


           MCSSG8 8" SURE STOP
           LOCKING GASKET                                                                   $0.00                              $-1,537.97


           MCSSG6 6" SURE STOP
           GASKET ATR06SSX                                                                  $0.00                                   $66.79


           MCSSG10 McWANE 10"
           SURE STOP GASKET                                                                 $0.00                                 $568.70


           MCSSG12 MCWANE 12"
           SURE STOP GASKET                                                                 $0.00                                 $131.39


           VITONTY8 VITON
           TYTON GASKET 8"                                                                  $0.00                                 $875.00


           H-15524-075 3/4" RED
           FIBER GSKT XXS                                                                   $0.00                                     $4.91



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 59
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           MCSSG24 24" SURE
           STOP LOCKING GASKE                                                               $0.00                               $1,772.52


           CARBLT050600 1/2 X 6
           GALV CARRIAGE                                                                    $0.00                                   $23.85


           HXBLT058350SS 5/8 X 3
           1/2" STAINLES                                                                    $0.00                                     $4.44


           10FA 10" FOSTER
           ADAPTER ONLY LESS A                                                              $0.00                                 $367.92


           10FA-BC 10" FOSTER
           ADAPTOR WITH MJ                                                                  $0.00                                 $339.90


           4FA-BC 4" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $447.65


           4FA-PAK 4" FOSTER
           ADAPTOR ACC PAK O                                                                $0.00                                   $43.90


           6FA-BC 6" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $719.55


           8FA-BC 8" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $347.85


           8FA-PAK 8" FOSTER
           ADAPTOR ACC PAK O                                                                $0.00                                   $67.90


           8R218480 ROMAC 4"
           GASKET ONLY 4.80                                                                 $0.00                                   $98.14


           EBA1012 12" EBAA SET
           SCREW EZ FLANG                                                                   $0.00                                 $222.34


           EBA1103 3" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $153.46


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $173.21


           EBA1106OS 6"
           OVERSIZE MEGALUG
           (7.20                                                                            $0.00                                 $100.65


           EBA1106SD 6" SPLIT
           MEGALUG SERIES 1                                                                 $0.00                                   $49.66


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 60
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           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                               $1,174.84


           EBA1108OS 8"
           OVERSIZE MEGALUG
           (9.4)                                                                            $0.00                                   $46.43


           EBA1108SX 8"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                   $76.31


           EBA1110 10" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $304.30


           EBA1110OS 10"
           OVERSIZED DI
           MEGALUG                                                                          $0.00                                 $231.33


           EBA1116 16" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $346.06


           EBA1506 6" EBAA PVC
           RESTRAINT 1500                                                                   $0.00                                 $242.87


           EBA1508 8" EBAA PVC
           RESTRAINT FOR C                                                                  $0.00                                 $393.88


           EBA1512 12"
           RESTRAINT FOR C900
           PVC,                                                                             $0.00                               $1,609.77


           EBA1604Y EBAA 4"
           SERIES 1600 SERRAT                                                               $0.00                                   $76.31


           EBA1706Y 6" JOINT
           RESTRAINT KIT FOR                                                                $0.00                                 $194.84


           EBA1708Y 8" BELL
           RESTRAINT HARNESS                                                                $0.00                                 $160.34


           EBA1712Y- 12" EBAA DI
           MEGALUG BELL                                                                     $0.00                                 $623.75


           EBA2003PV EBAA 3"
           2000PV MEGALUG                                                                   $0.00                                 $483.86


           EBA2004PV 4" 2000PV
           MEGALUG EBAA                                                                     $0.00                                   $40.15


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 61
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           EBA2006SV 6" SERIES
           2000SV SPLIT ME                                                                  $0.00                                 $291.46


           EBA2008PV 8" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $252.04


           EBA2010PV 10" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $340.43


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                               $3,148.20


           EBA2014PV EBAA 14"
           2000PV MEGALUG F                                                                 $0.00                                 $455.97


           EBA2016PV 16" EBAA
           2000PV MEGALUG                                                                   $0.00                                 $153.17


           EBA2018PV 18"
           MEGALUG FOR PVC
           EBAA                                                                             $0.00                                 $759.95


           EBA2103 3"
           MEGA-FLANGE FOR
           C900 OR                                                                          $0.00                                   $47.88


           EBA2106 6" MEGA
           FLANGE ADAPTER FOR                                                               $0.00                                   $90.00


           EBA2110 EBAA 10"
           IRON 2100 SERIES M                                                               $0.00                                 $201.75


           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                               $1,551.88


           GR-DI10 10" ROMAC DI
           GRIPRING GLAND                                                                   $0.00                                   $61.55


           GR-DI4 4" GRIPRING
           GLAND AND RING F                                                                 $0.00                                   $46.69


           GR-DI8 8" ROMAC
           GRIPRING GLAND AND                                                               $0.00                                 $122.78


           GRAP-IP-6 6" ROMAC
           GRIP RING ACCY.                                                                  $0.00                                 $144.86




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 62
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           GRAP-IP-8 8" ROMAC
           GRIP RING ACCY.                                                                  $0.00                                 $203.23


           MJFLK6DI 6" MJ FIELD
           LOK ACCESSORY                                                                    $0.00                                   $50.64


           MJRGLD10 10" MJ
           RETAINER GLAND                                                                   $0.00                                 $612.85


           MJRGLD12 12" MJ
           RETAINER GLAND                                                                   $0.00                                   $51.50


           MJRGLD14 14" MJ
           RETAINER GLAND                                                                   $0.00                                 $193.13


           MJRGLD3 3" MJ
           RETAINER GLAND                                                                   $0.00                                 $173.04


           NACIPGRIP4DI 4" MJ
           WEDGE ACTION RES                                                                 $0.00                                   $28.20


           NACIPGRIP6DI 6" MJ
           WEDGE ACTION RES                                                                 $0.00                               $1,237.50


           NACIPGRIP8DI 8" MJ
           WEDGE ACTION RES                                                                 $0.00                                 $821.70


           PVMS8 8" PV LOCK
           RESTRAINER FOR STE                                                               $0.00                                   $57.94


           PVP-C12 RESTRAINER
           FOR PVC PIPE DI                                                                  $0.00                               $1,050.60


           RG-D12 12" DUCTILE
           IRON ROMAGRIP RE                                                                 $0.00                                 $878.37


           RG-D4 4" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                 $135.70


           RG-D6 6" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                 $179.17


           RG-D8 8" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                 $190.43


           RG-PV6 6" PVC
           RESTRAINT ROMAGRIP
           24                                                                               $0.00                                   $92.64


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 63
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           SGD4 4" STARGRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $44.76


           SGD8 8" STARGRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $52.74


           SLC4 4" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $108.42


           SLCP16 16" SIGMA
           ONE-LOK RESTRAINT                                                                $0.00                               $2,452.10


           SLD10 10" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $234.49


           SLD12 12" RESTRAINT
           FOR DUCTILE IRO                                                                  $0.00                                 $227.78


           SLD20 20" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $365.61


           SLD4 4" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $59.68


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $52.63


           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $527.38


           SLDP6 6" SIGMA
           ONE-LOK ACCESSORY
           KI                                                                               $0.00                                   $86.05


           DSLDE4DOM 4" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                 $155.77


           DSLDE6DOM 6" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                   $91.62


           DSLDE8DOM 8" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                 $559.22


           DSLDE10DOM 10" ONE
           LOC FOR DUCTILE                                                                  $0.00                                   $82.77




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 64
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           DSLCE10DOM 10" ONE
           LOK FOR PVC PIPE                                                                 $0.00                                 $194.40


           DSLCE12DOM 12" ONE
           LOK FOR PVC PIPE                                                                 $0.00                               $1,029.14


           202U-9.05X3/4CC 8" X
           3/4"CC SERVICE                                                                   $0.00                                   $31.07


           EBA1110SX 10"
           OVERSIZED SPLIT
           MEGAL                                                                            $0.00                                 $111.94


           EBA1104SX 4"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                 $199.16


           MACROHP-7.60 6"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $832.83


           MACROHP-5.60 4"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $157.77


           EZD08 8" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                               $1,052.11


           EZD10 10" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $487.31


           EZD04 4" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $173.60


           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $58.33


           EZPVC04 4" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $300.40


           EZPVC08 8" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $323.84


           EZPVC06 6" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $109.52


           EZD03 3" MJ
           RESTRAINT FOR
           DUCTILE I                                                                        $0.00                                   $23.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 65
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           MACROHP-3.63 3"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $148.96


           MACROHP-4.13 3" XL
           MACRO COUPLING H                                                                 $0.00                                 $595.82


           GRAP-IP-12 12" ROMAC
           GRIP RING ACC                                                                    $0.00                               $2,744.63


           EBA2024PV 24" EBAA
           MEGA-LUG FOR PVC                                                                 $0.00                                 $489.44


           EBA2036PEC EBBA 36"
           PVC MEGA-LUG KI                                                                  $0.00                                 $965.09


           GR-IP-10 10" ROMAC
           GRIP RING & GLAN                                                                 $0.00                                   $96.51


           PVM-S10 PV LOK
           RETAINER GLAND                                                                   $0.00                                 $194.00


           PVM-S6 PV LOK
           RETAINER GLAND                                                                   $0.00                                   $88.20


           EBA1100HD8 8"
           MEGALUG RESTRAINT
           HAR                                                                              $0.00                                 $442.44


           EBA1116HV EBAA 16"
           1100HV SPLIT R                                                                   $0.00                               $1,638.00


           NACIPGRIP10DI 10"
           WEDGE ACTION REST                                                                $0.00                                 $135.00


           NACIPGRIP10PVC 10"
           WEDGE ACTION RES                                                                 $0.00                                 $551.30


           NACIPGRIP12DI 12"
           WEDGE ACTION REST                                                                $0.00                               $4,868.80


           pvm-s4 sigma 4" pvm
           lock for steel                                                                   $0.00                                   $84.00


           DUCLUGS DUC LUGS                                                                 $0.00                                 $597.52


           IBLT058 5/8" EYE BOLT                                                            $0.00                                   $24.22


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 66
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           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $80.00


           IBLT100x550 1"x5 1/2"
           EYE BOLT FOR                                                                     $0.00                                   $93.12


           RODCPLG050 1/2" ROD
           COUPLING                                                                         $0.00                                     $1.29


           RODCPLG058 5/8 ROD
           COUPLING                                                                         $0.00                                   $69.31


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                   $50.84


           RODCPLG100 1" ROD
           COUPLINGS                                                                        $0.00                                   $25.61


           GRIPS8 8" FIG #137
           PIPE SUPPORT                                                                     $0.00                                   $41.84


           WMC24 24"
           WATERMAIN CLAMP
           450B-0192                                                                        $0.00                               $2,300.00


           GRIPS12 12" FIG #137
           PIPE SUPPORT                                                                     $0.00                                 $125.00


           PS-200S ADJUSTABLE
           PIPE SUPPORT WIT                                                                 $0.00                                 $150.00


           PS-100-S ADJUSTABLE
           PIPE SUPPORT (1                                                                  $0.00                                 $286.50


           428KT6 6" HDG
           ADJUSTABLE PIPE
           SUPPO                                                                            $0.00                                   $71.90


           NPH260G ADJUSTABLE
           TWO ROD ROLLER H                                                                 $0.00                                 $187.20


           PS-200S-G 200S PIPE
           SUPPORT GALVAN                                                                   $0.00                                   $87.00


           DOGS1 1" WATERMAIN
           CLAMP WASHER NEW                                                                 $0.00                                     $4.10




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 67
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           WMC3 3" WATERMAIN
           CLAMPS 450B-0024                                                                 $0.00                                 $103.40


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                 $149.60


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                 $261.60


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                 $631.36


           WMC10 10"
           WATERMAIN CLAMPS
           450B-008                                                                         $0.00                                   $62.40


           WMC12 12"
           WATERMAIN CLAMPS
           450B-009                                                                         $0.00                                 $186.75


           WMC16 16"
           WATERMAIN CLAMP
           450B-0128                                                                        $0.00                                 $130.46


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $90.00


           PIPETONG14 14"
           CRESCENT MODEL HF
           AL                                                                               $0.00                               $1,212.00


           SSSTRAP51 51"
           STAINLESS STEEL
           STRAP                                                                            $0.00                                 $229.25


           SSSTRAP36 36"
           STAINLESS STEEL
           STRAP                                                                            $0.00                                 $878.50


           SSSTRAP54 54"
           STAINLESS STEEL
           STRA                                                                             $0.00                                 $271.95


           BHA358 3/4" MALE
           GARDEN HOSE X 3/4"                                                               $0.00                                     $8.64


           BHA369 2-1/2" FNST X
           3/4" GARDEN HO                                                                   $0.00                                   $18.30




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 68
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           BHA369 2-1/2" FNST X
           1" MIP BRASS A                                                                   $0.00                                     $9.00


           BHA358 2-1/2" MNST X
           2" MIP BRASS A                                                                   $0.00                                   $46.80


           BHA357 3/4" FEMALE
           GARDEN HOSE x 3/                                                                 $0.00                                   $29.90


           3/4" BRASS MALE
           THREAD X BARBED INS                                                              $0.00                                     $3.50


           BHA369 2-1/2" HIGBY
           (3.12-6-2) BI X                                                                  $0.00                                   $25.88


           STORZ 4.5" FEMALE
           NST X 4" STORZ CO                                                                $0.00                                 $158.00


           DOUBLE FEMALE HOSE
           AFSW251-251 FOR                                                                  $0.00                                   $70.57


           HA2520T 2.5"NSTF X
           2"NPTM HYDRANT A                                                                 $0.00                                   $11.62


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-11.00


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-43.56


           FAP12FF 12" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $24.95


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                    $-4.50


           FAP4FFSS 4" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $72.00


           FK8FF18 18" FLANGE
           KIT WITH 1/8" FU                                                                 $0.00                                   $63.00


           FAP3FFZINC 3" FLANGE
           ACCESSORY PACK                                                                   $0.00                                   $11.96


           FAP6FFZINC 6" FLANGE
           ACCESSORY PACK                                                                   $0.00                                     $6.92



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 69
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FAP8FFZINC 8" FLANGE
           ACCESSORY PACK                                                                   $0.00                                   $39.70


           CIVICCPLG6 6" #31 CI
           VIC CPLG                                                                         $0.00                                   $82.62


           2" VIC #40 MALE IP X
           VICTAULIC GROO                                                                   $0.00                                   $27.88


           VIC341FA6 6" 341
           AWWA FLANGE
           ADAPTE                                                                           $0.00                                 $241.16


           VIC31CPLG4 4" 31
           AWWA COUPLING VICT                                                               $0.00                                 $176.99


           VICBN58314 VICTAULIC
           BOLT/NUT SET                                                                     $0.00                                   $81.00


           VICCPLG3 3" #77
           STANDARD VICTAULIC                                                               $0.00                                    $-4.60


           VIC31CPLG8 8"
           VICTAULIC 31 AWWA
           COU                                                                              $0.00                                 $174.74


           VIC60C8T1 VICTAULIC
           8" CAP W/1" IPT                                                                  $0.00                                 $972.05


           A8G1-126 12" X 6" PSI
           CASING SPACE                                                                     $0.00                               $1,009.10


           GALVNIP-075X200 3/4"
           X 2" NIPPLE GA                                                                   $0.00                                     $0.87


           GALVCAP-200 2"
           GALVANIZED
           THREADED                                                                         $0.00                                     $4.23


           GALVCPLG-200 2"
           COUPLING
           GALVANIZED                                                                       $0.00                                   $33.49


           GALV90-250 2 1/2"
           GALVANIZED 90 DEG                                                                $0.00                                   $86.12


           GALVCPLG-100 1"
           GALVANIZED
           COUPLING                                                                         $0.00                                   $10.14


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           GALVCPLG-125 1 1/4"
           GALVANIZED COU                                                                   $0.00                                     $2.79


           GALVCAP-400 4"
           GALVANIZED
           THREADED                                                                         $0.00                                     $9.53


           GALVT-075 3/4"
           GALVANIZED TEE                                                                   $0.00                                     $7.78


           BRNIP-100X4800 1" X
           48" BRASS NIPPL                                                                  $0.00                                 $188.75


           BRNIP-025X250 1/4" X 2
           1/2" BRASS N                                                                     $0.00                                     $4.08


           BRNIP-025X300 1/4" X 3"
           BRASS NIPPL                                                                      $0.00                                     $7.17


           BRNIP-025X500 1/4" X 5"
           BRASS NIPPL                                                                      $0.00                                     $1.81


           BRNIP-050X300 1/2" X 3"
           BRASS NIPPL                                                                      $0.00                                     $5.65


           BRNIP-050X400 1/2" X 4"
           BRASS NIPPL                                                                      $0.00                                     $4.93


           BRNIP-050XCLS 1/2" X
           CLS BRASS NIPP                                                                   $0.00                                     $3.97


           BRNIP-075X200 3/4" X 2"
           BRASS NIPPL                                                                      $0.00                                     $7.20


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                   $31.11


           BRNIP-075X400 3/4" X 4"
           BRASS NIPPL                                                                      $0.00                                   $28.40


           BRNIP-075X500 3/4" X 5"
           BRASS NIPPL                                                                      $0.00                                     $7.54


           BRNIP-075X600 3/4" X 6"
           BRASS NIPPL                                                                      $0.00                                   $49.81




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 71
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRNIP-075XCLS 3/4" X
           CLOSE BRASS NI                                                                   $0.00                                   $23.27


           BRNIP-100X1800 1"X 18"
           BRASS NIPPLE                                                                     $0.00                                 $230.65


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $37.92


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                 $127.30


           BRNIP-100XCLS 1" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $13.35


           BRNIP-125X300 1-1/4" X
           3" BRASS NIP                                                                     $0.00                                   $21.99


           BRNIP-125X500 1 1/4" X
           5" BRASS NIP                                                                     $0.00                                   $46.91


           BRNIP-125X600 1-1/4" X
           6" BRASS NIP                                                                     $0.00                                 $140.12


           BRNIP-125XCLS 1-1/4" X
           CLOSE BRASS                                                                      $0.00                                     $3.18


           BRNIP-150X200 1-1/2" X
           2" BRASS NIP                                                                     $0.00                                     $8.90


           BRNIP-150X300 1-1/2" X
           3" BRASS NIP                                                                     $0.00                                 $110.86


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                   $57.76


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                 $106.67


           BRNIP-150XCLS 1-1/2" X
           CLS BRASS NI                                                                     $0.00                                   $16.54


           BRNIP-200X300 2" X 3"
           BRASS NIPPLE                                                                     $0.00                                 $163.30


           BRNIP-200X400 2" X 4"
           BRASS NIPPLE                                                                     $0.00                                   $27.87



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 72
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $80.84


           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $25.19


           BRNIP-250XCLS 2 1/2" X
           CLS BRASS NI                                                                     $0.00                                   $16.63


           BRNIP-050X200 1/2" X 2"
           BRASS NIPPL                                                                      $0.00                                     $5.40


           BRNIP-050X600 1/2" X 6"
           BRASS NIPPL                                                                      $0.00                                   $35.86


           BRNIP-200X4200 2" X
           42" BRASS NIPPL                                                                  $0.00                                 $217.88


           BRNIP-200X4800 2" X
           48" BRASS NIPPL                                                                  $0.00                                 $517.92


           BRNIP-200X1800 2" X
           18" BRASS NIPPL                                                                  $0.00                                   $55.09


           BRNIP-075X600DOM
           3/4" X 6" BRASS N                                                                $0.00                                   $13.76


           BRNIP-100X800 1" X 8"
           BRASS NIPPLE                                                                     $0.00                                 $126.28


           BRNIP-300XCLS 3" X
           CLOSE BRASS NIPP                                                                 $0.00                                   $22.61


           BRNIP-075XCLSDOM
           3/4" X CLOSE BRASS                                                               $0.00                                     $1.43


           BRNIP-125X3600 1 1/4"
           X 36" BRASS N                                                                    $0.00                                   $85.00


           BRNIP-150X250 1 1/2" X
           2 1/2" BRASS                                                                     $0.00                                     $5.43


           BRNIP-300X300 3" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $23.49


           BR45-100 1" BRASS 45
           BEND THREADED                                                                    $0.00                                   $41.90



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 73
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BR45-150 1 1/2" BRASS
           45 BEND THREA                                                                    $0.00                                   $33.60


           BR45-075 3/4" BRASS
           45 BEND THREADE                                                                  $0.00                                   $17.39


           BR90-050 1/2" BRASS
           90 BEND THREADE                                                                  $0.00                                     $7.37


           BR90-075 3/4" BRASS
           90 BEND THREADE                                                                  $0.00                                   $14.90


           BR90-100 1" BRASS 90
           BEND THREADED                                                                    $0.00                                    $-7.66


           BR90-125 1 1/4" BRASS
           90 BEND THREA                                                                    $0.00                                     $6.09


           BR90-150 1 1/2" BRASS
           90 BEND THREA                                                                    $0.00                                   $22.82


           BR90-250 2 1/2" BRASS
           90 BEND THREA                                                                    $0.00                                   $24.29


           BRASS PIPE PLUG
           W/HALL CORP MALE TH                                                              $0.00                                 $689.04


           BRBSH-075X050 3/4" X
           1/2" BRASS BUS                                                                   $0.00                                     $1.33


           BRBSH-125X075 1-1/4"
           X 3/4" BRASS B                                                                   $0.00                                     $3.43


           BRBSH-200X075 2" X
           3/4" BRASS BUSHI                                                                 $0.00                                   $23.42


           BRBSH-050X038 1/2" X
           3/8" BRASS BUS                                                                   $0.00                                     $3.85


           BRCAP-075 3/4" BRASS
           THREADED CAP I                                                                   $0.00                                     $6.41


           BRCAP-100 1" BRASS
           CAP THREADED IMP                                                                 $0.00                                     $5.02


           BRCAP-150 1 1/2"
           BRASS CAP THREADED                                                               $0.00                                   $15.47



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 74
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BRCPLG-075 3/4"
           BRASS COUPLING
           THRE                                                                             $0.00                                   $10.05


           BRCPLG-100X075 1" X
           3/4" BRASS COUP                                                                  $0.00                                     $8.03


           BRCPLG-125 1 1/4"
           BRASS COUPLING TH                                                                $0.00                                     $4.77


           BRCPLG-150X125 1-1/2"
           X 1-1/4" BRAS                                                                    $0.00                                   $21.03


           BRCPLG-200 2" BRASS
           COUPLING THREAD                                                                  $0.00                                   $41.10


           BRCPLG-200X075 2" X
           3/4" BRASS COUP                                                                  $0.00                                   $27.43


           BRCPLG-050 1/2"
           BRASS COUPLING
           THRE                                                                             $0.00                                   $12.18


           BRCPLG-300 3" BRASS
           COUPLING THREAD                                                                  $0.00                                   $49.01


           BRT-050 1/2" BRASS
           TEE THREADED B74                                                                 $0.00                                     $8.49


           BRT-075X050 3/4" X 1/2"
           BRASS TEE T                                                                      $0.00                                   $14.59


           BRT-100 1" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                     $5.42


           BRT-100X075 1" X 3/4"
           BRASS TEE THR                                                                    $0.00                                   $20.00


           BRT-200X100 2" X 1"
           BRASS TEE THREA                                                                  $0.00                                  $-37.66


           BRUNION-300 3" BRASS
           UNION THREADED                                                                   $0.00                                   $69.44


           BRUNION-150 1 1/2"
           BRASS UNION THRE                                                                 $0.00                                   $14.84




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 75
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           CV150 1-1/2" BRASS
           SWING CHECK FIP,                                                                 $0.00                                   $64.28


           BRBSH-075X038 3/4" X
           3/8" BRASS BUS                                                                   $0.00                                     $1.13


           BR90-300 3" BRASS 90
           BEND THREADED                                                                    $0.00                                   $74.51


           BRCAP-250 2 1/2"
           BRASS CAP THREADE                                                                $0.00                                   $38.30


           BRCPLG-300X200 3" X
           2" BRASS REDUCI                                                                  $0.00                                   $73.39


           BRPLG-250 2 1/2"
           BRASS PLUG THREADE                                                               $0.00                                   $24.28


           BRT-025 1/4" BRASS
           TEE THREADED                                                                     $0.00                                     $1.72


           BRCAP-200DNL 2"
           DOMESTIC LOW LEAD                                                                $0.00                                 $190.13


           BR90-075NL 3/4" 90
           BEND THREADED LO                                                                 $0.00                                   $11.18


           BR45-100NL 1" 45 BEND
           THREADED B740                                                                    $0.00                                   $32.29


           BR45-075NL 3/4" BRASS
           45 BEND LOW L                                                                    $0.00                                   $28.04


           BR90-050NL 1/2" 90
           BEND, THREADED,                                                                  $0.00                                   $17.17


           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                   $38.70


           BR90-100SNL 1"
           STREET 90 BEND, THRE                                                             $0.00                                   $41.21


           BR90-125NL 1-1/4" 90
           BEND, THREADED                                                                   $0.00                                   $70.40


           BR90-150NL 1-1/2" 90
           BEND THREADED                                                                    $0.00                                   $42.78



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 76
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $13.93


           BRBSH-050X025NL 1/2"
           X 1/4" REDUCER                                                                   $0.00                                     $8.65


           BRBSH-075X025NL 3/4"
           X 1/4" LOW LE                                                                    $0.00                                     $4.12


           BRBSH-075X050NL 3/4"
           X 1/2" REDUCER                                                                   $0.00                                     $1.70


           BRBSH-100X050NL 1" X
           1/2" REDUCER B                                                                   $0.00                                   $26.88


           BRBSH-125X075NL
           1-1/4" X 3/4" REDUC                                                              $0.00                                   $46.22


           BRBSH-125X100NL
           1-1/4" X 1" REDUCER                                                              $0.00                                     $3.85


           BRBSH-150X075NL
           1-1/2" X 3/4" REDUC                                                              $0.00                                   $36.11


           BRBSH-150X100NL
           1-1/2" X 1" REDUCER                                                              $0.00                                   $55.27


           BRBSH-150X125NL
           1-1/2" X 1-1/4" RED                                                              $0.00                                   $29.53


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                   $43.92


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $52.70


           BRBSH-200X125NL 2" X
           1-1/4" REDUCER                                                                   $0.00                                 $108.17


           BRBSH-200X150NL 2" X
           1-1/2" REDUCER                                                                   $0.00                                   $16.64


           BRCAP-075NL 3/4" CAP
           THREADED B7418                                                                   $0.00                                   $12.35


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                   $80.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 77
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRCAP-125NL 1-1/4"
           BRASS CAP THREAD                                                                 $0.00                                   $14.71


           BRCPLG-075NL 3/4"
           COUPLING,THREADED                                                                $0.00                                   $31.63


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                   $30.91


           BRCPLG-100X075NL 1"
           X 3/4" REDUCER                                                                   $0.00                                   $25.78


           BRCPLG-125NL 1-1/4"
           COUPLING, THREA                                                                  $0.00                                   $37.55


           BRCPLG-125X075NL
           1-1/4" X 3/4" BRAS                                                               $0.00                                   $10.00


           BRCPLG-125X100NL
           1-1/4" X 1" REDUCE                                                               $0.00                                   $33.28


           BRCPLG-150NL 1-1/2"
           COUPLING THREAD                                                                  $0.00                                   $83.21


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $94.73


           BRCPLG-150X100NL
           1-1/2" X 1" REDUCE                                                               $0.00                                   $31.55


           BRCPLG-150X125NL
           1-1/2" X 1-1/4" RE                                                               $0.00                                 $105.15


           BRCPLG-200NL 2"
           COUPLING, THREADED                                                               $0.00                                   $36.00


           BRCPLG-200X125NL 2"
           X 1 1/4" BRASS                                                                   $0.00                                 $136.52


           BRCPLG-200X150NL 2"
           X 1-1/2" REDUCE                                                                  $0.00                                 $125.02


           BRCPLG-075X050NL
           3/4" X 1/2" REDUCE                                                               $0.00                                   $24.80




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 78
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                Name

           BRPLG-050NL 1/2"
           PLUG THREADED LOW                                                                $0.00                                   $17.47


           BRPLG-075NL 3/4"
           PLUG, THREADED B74                                                               $0.00                                   $20.52


           BRPLG-100NL 1" PLUG
           THREADED, LOW L                                                                  $0.00                                   $36.89


           BRPLG-125NL 1-1/4"
           PLUG THREADED B7                                                                 $0.00                                   $32.07


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                   $93.32


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                   $37.77


           BRT-075X050NL 3/4" X
           1/2" BRASS RED                                                                   $0.00                                   $13.96


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $30.50


           BRT-100X075NL 1" X
           3/4" REDUCING TE                                                                 $0.00                                   $25.73


           BRT-125NL 1-1/4" TEE
           THREADED B7408                                                                   $0.00                                   $68.36


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                 $117.69


           BRT-200X150NL 2" X
           1-1/2" LOW LEAD                                                                  $0.00                                 $217.54


           BRT-250NL 2 1/2"
           BRASS TEE LOW LEAD                                                               $0.00                                   $69.44


           BRUNION-100NL 1"
           UNION, THREADED B7                                                               $0.00                                   $29.55


           BRUNION-075NL 3/4"
           BRASS UNION LOW                                                                  $0.00                                   $55.81


           BRUNION-200NL 2"
           UNION, THREADED B7                                                               $0.00                                   $58.66



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 79
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BR45-200NL 2" 45
           BEND, THREADED 24                                                                $0.00                                 $122.43


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                 $462.86


           BRT-200X075NL 2" X
           3/4" TEE THREADE                                                                 $0.00                                   $23.82


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                   $39.38


           BRCPLG-200X100NL 2"
           X 1" REDUCER CO                                                                  $0.00                                 $140.88


           BRT-300NL 3" BRASS
           TEE LOW LEAD THR                                                                 $0.00                                   $21.26


           BRBSH-300X250NL 3" X
           2-1/2" LOW LEA                                                                   $0.00                                   $67.50


           BRT150X100NL 1-1/2" X
           1" TEE THREAD                                                                    $0.00                                 $133.12


           BRPLG-200NL 2"
           SQUARE HEAD CORED
           PL                                                                               $0.00                                   $32.24


           BRCAP150NL 1-1/2"
           LOW LEAD BRASS CA                                                                $0.00                                   $92.68


           BRCPLG-200X075NL 2"
           X 3/4" COUPLING                                                                  $0.00                                   $35.22


           MAT205TM4NL MATCO
           3/4" LOW LEAD BOI                                                                $0.00                                   $14.00


           BR45-200SNL 2"
           STREET 45 BEND, THR                                                              $0.00                                   $25.00


           BLKCAP-400 4" BLACK
           CAP MALLEABLE                                                                    $0.00                                   $20.17


           BLKPLG-400 4" BLACK
           PLUG MALLEABLE                                                                   $0.00                                   $28.08




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 80
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BLKBSH-600X500 6" X
           5" BLACK BUSHI                                                                   $0.00                                   $15.86


           TEAMIV4L 4" OL TEAM
           INDUSTRIAL INS                                                                   $0.00                               $2,660.00


           101-0905-7 JCM101
           (8.99-9.39) X 7 1                                                                $0.00                                   $92.07


           201-010501 JCM201 3/4"
           (1.05) X 5"                                                                      $0.00                                   $77.00


           201-013201 JCM201
           (1.315) X 5" LONG                                                                $0.00                                 $199.10


           GA5178HW 8" FLANGED
           PLUG VALVE WITH                                                                  $0.00                                 $810.00


           CRISPIN USL20B 2"
           COMBINATION SEWER                                                                $0.00                               $1,296.00


           CRISPIN S20SB 2"
           SHORT BODY SEWAGE                                                                $0.00                                 $930.00


           D-025 ARI 2" AIR
           RELEASE VALVE REIN                                                               $0.00                                 $890.00


           2" VAL-MATIC SEWAGE
           COMBINATION AIR                                                                  $0.00                               $1,258.00


           EB-45UNL 3/4"
           PRESSURE REDUCING
           VAL                                                                              $0.00                                 $107.20


           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                   $58.85


           DGT6 6" X 1000'
           DETECTABLE GAS
           TAPE                                                                             $0.00                                   $57.00


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                 $220.35


           DST6 6" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $34.50



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 81
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                 $185.00


           FLORTAPE 1" X 150'
           FLUORESCENT ORAN                                                                 $0.00                                     $5.44


           NDST6 6" X 1000' NON
           DETECTALBE SEW                                                                   $0.00                                   $14.95


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                   $14.55


           DFMT6 6" X 1000'
           DETECTABLE SAFETY                                                                $0.00                                   $32.50


           DSTORMT6 6" X 1000'
           DETECTABLE STOR                                                                  $0.00                                   $34.50


           DTT6 6" X 1000'
           DETECTABLE TELEPH                                                                $0.00                                   $66.00


           POWRWRAP1 1"
           POR-WRAP
           FIBERGLASS PI                                                                    $0.00                                   $38.64


           POWRWRAP3 3"
           POW-R-WRAP
           FIBERGLASS                                                                       $0.00                                 $121.68


           POWRWRAP6 6"
           POW-R-WRAP
           FIBERGLASS                                                                       $0.00                                 $176.09


           REFMARKTAPE1X30Y
           1" X 30' YELLOW R                                                                $0.00                                   $15.50


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                 $430.32


           LS275C STANDARD
           LINK SEAL                                                                        $0.00                                 $170.03


           LS300C STANDARD
           LINK SEAL                                                                        $0.00                                   $18.90


           LS300S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                     $6.33



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 82
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           LS315C STANDARD
           LINK SEAL                                                                        $0.00                                 $311.61


           LS325C STANDARD
           LINK SEAL                                                                        $0.00                                 $192.14


           LS400C STANDARD
           LINK SEAL                                                                        $0.00                                 $250.53


           LS425C STANDARD
           LINK SEAL                                                                        $0.00                               $1,479.32


           LS475C STANDARD
           LINK SEAL                                                                        $0.00                                   $71.58


           LS500C STANDARD
           LINK SEAL                                                                        $0.00                                 $344.54


           LS525C STANDARD
           LINK SEAL                                                                        $0.00                                 $312.30


           LS410C STANDARD
           LINK SEAL                                                                        $0.00                                 $309.50


           LS340C STANDARD
           LINK SEAL                                                                        $0.00                                 $436.92


           LS410S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                   $50.37


           LS425S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                   $16.79


           LS325S STAINLESS
           STEEL LINK SEAL PN                                                               $0.00                                   $30.96


           AME200WCUT CUT PC
           AME200W WOVEN GEO                                                                $0.00                                 $321.00


           AME480CUT CUT PCS
           AME480-15 NON-WOV                                                                $0.00                                   $96.12


           AME480HS-15
           AEF480HS NON-WOVEN
           GEOT                                                                             $0.00                                 $307.00


           STAPLE STAPLES
           BOX-1000                                                                         $0.00                                 $147.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 83
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           STAPLESEACH
           STAPLES EACH                                                                     $0.00                                 $170.51


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                 $780.00


           VBI315-12 BELTECH
           CCM315 BELTON IND                                                                $0.00                                 $725.00


           ECS-1 EAST COAST
           SINGLE NET STRAW E                                                               $0.00                                   $32.80


           AME1280-12-100 12.5'x
           100' NON-WOVE                                                                    $0.00                               $1,002.00


           ECSC-3 EAST COAST
           STRAW/COCONUT TU                                                                 $0.00                                 $433.00


           FPM 6' METAL FENCE
           POST                                                                             $0.00                                 $127.20


           AMEXDNS C131
           AMERICAN EXCELSIOR
           PRE                                                                              $0.00                               $1,835.40


           AMEXSNS C130
           AMERICAN EXCELSIOR
           PRE                                                                              $0.00                                 $374.00


           C320 WIRE BACK SILT
           FENCE, 100' ROL                                                                  $0.00                                 $695.00


           WINFAB600N-15 15' X
           300' DRAINAGE G                                                                  $0.00                                 $700.00


           WATTLE925 9" X 25'
           STRAW WATTLE                                                                     $0.00                                   $55.00


           WINFAB200W-12 12.5' X
           432' WOVEN GE                                                                    $0.00                                 $222.00


           IVIFILTERBAG1215 12' x
           15' FILTERBA                                                                     $0.00                                   $85.00


           AMEXSC AMERICAN
           EXCELSIOR STRAW
           COC                                                                              $0.00                               $2,070.00



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                Name

           WINFAB2119-12
           WILLACOOCHIE 2119
           WO                                                                               $0.00                               $9,690.00


           ECC-2-100 DOUBLE
           NET COCONUT BLANK                                                                $0.00                                   $66.20


           WINFAB315W-17 17.5' X
           258' WINFAB 3                                                                    $0.00                               $3,408.00


           WINFAB200W-17 17.5' X
           308' WOVEN GE                                                                    $0.00                               $2,052.00


           AEF 36" x 24"
           ENVIROMENTAL SILT
           SAC                                                                              $0.00                                 $800.00


           VBI200W-15 BELTECH
           980 BELTON INDUS                                                                 $0.00                                 $231.00


           WINFAB450-12 12.6' X
           360' 4.5OZ WIN                                                                   $0.00                                $-225.00


           WINFAB450-15 15' X
           360' 4.5OZ NONWO                                                                 $0.00                                 $270.00


           WINFAB450-4 4' X 360'
           WINFAB NONWOV                                                                    $0.00                                   $85.00


           6 X 3 X 3 GABION
           BASKETS GALVANIZED                                                               $0.00                                 $761.75


           RIPLEY'S DAM FOR 8"
           PVC SDR 35 PIPE                                                                  $0.00                               $1,300.00


           WINFAB1600-15 16oz
           NON WOVEN 15' X                                                                  $0.00                                 $400.00


           AME1680CUT 16OZ
           AME1680 NONWOVEN G                                                               $0.00                                 $226.00


           FX-45HS-12 CARTHAGE
           MILLS FX-45HS N                                                                  $0.00                                 $265.00


           CARTHAGE MILLS
           FX-55 17.5' X 309' W                                                             $0.00                               $1,652.25




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 85
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                Name

           GLOVES WORK
           GLOVES P/N 120T                                                                  $0.00                                   $35.34


           HHY HARD HATS
           YELLOW 19952                                                                     $0.00                                     $6.69


           HHO HARD HATS
           ORANGE OMEGA II 6PT
           R                                                                                $0.00                                   $45.28


           HHW HARD HATS
           WHITE 19971                                                                      $0.00                                   $73.59


           HHB HARD HATS BLUE
           19956                                                                            $0.00                                   $79.25


           HHG HARD HATS
           GREEN OMEGA II 6PT
           RA                                                                               $0.00                                   $82.20


           CHEMGLOVES
           CHEMICAL
           PROTECTION GLOV                                                                  $0.00                                     $9.80


           HHP HARD HAT
           REPLACEMENT BROW
           PAD M                                                                            $0.00                                     $1.06


           HHRS HARD HAT
           REFLECTIVE STRIP
           ORAN                                                                             $0.00                                     $1.71


           HHRS HARD HAT
           REFLECTIVE STRIP
           LIME                                                                             $0.00                                   $24.42


           GLOVES WORK
           GLOVES WITH
           INSULATED L                                                                      $0.00                                   $29.44


           GLOVESDP WORK
           GLOVES WITH DOUBLE
           T                                                                                $0.00                                   $16.72


           LEATHERGLOVEL
           UNLINED LARGE
           ROUGH                                                                            $0.00                                     $6.16


           LEATHERGLOVEXL
           UNLINED XTRA LARGE                                                               $0.00                                    $-6.16


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 86
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           LEATHERGLOVEXXL
           UNLINED XXL ROUGH                                                                $0.00                                   $98.56


           GLOVES14PVC 82R 14"
           BLACK PVC ROUGH                                                                  $0.00                                   $12.93


           GLOVES13XL 19875XL
           13" 15MIL UNLIN                                                                  $0.00                                   $11.94


           PVCGLOVESR 18" PVC
           ROUGH FINISH BLA                                                                 $0.00                                   $37.38


           BT12 SLUSH BOOTS
           SIZE 12                                                                          $0.00                                   $25.90


           BT13 SLUSH BOOTS
           SIZE 13                                                                          $0.00                                   $12.95


           BT14 SLUSH BOOTS
           SIZE 14                                                                          $0.00                                   $38.85


           BT15 SLUSH BOOTS
           SIZE 15                                                                          $0.00                                   $12.95


           BT16 SLUSH BOOTS
           SIZE 16                                                                          $0.00                                   $25.90


           BT17 SLUSH BOOTS
           SIZE 17                                                                          $0.00                                   $53.80


           BT18 SLUSH BOOTS
           SIZE 18                                                                          $0.00                                   $26.90


           RGH RAIN GEAR
           HOODS                                                                            $0.00                                   $70.70


           RGPXXL RAIN GEAR
           PANTS CLASS E,BIB                                                                $0.00                                   $84.75


           RGPXXXL RAIN GEAR
           PANTS XXXL                                                                       $0.00                                   $19.81


           9DL05 TECHNICHE
           EVAPORATIVE
           COOLING                                                                          $0.00                                 $237.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 87
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           9AHJ6 TECHNICHE
           EVAPORATIVE
           COOLING                                                                          $0.00                                 $189.60


           8MU28 TECHNICHE
           EVAPORATIVE
           COOLING                                                                          $0.00                                   $94.80


           SF4X100 4' X 100'
           ORANGE SAFETY FEN                                                                $0.00                                   $87.00


           HSM48REBAR 48"
           REBAR HYDRANT
           SAFETY                                                                           $0.00                                   $29.25


           TC28 28" TRAFFIC
           CONES 0100355 NEW                                                                $0.00                                   $16.44


           LA-36 36" LONG 1/2" X 1
           5/8" LATH S                                                                      $0.00                                 $107.75


           TIEDOWN900 KEEPER
           13' RATCHET TIE-D                                                                $0.00                                   $25.60


           TIEDOWN5000 KEEPER
           RATCHET 15' TIE-                                                                 $0.00                                 $133.56


           GR-36 36" LONG 1" X 1
           3/4" HARDWOOD                                                                    $0.00                                   $47.50


           HU-18 18"LONG 1 5/8" X
           1 5/8" HUB                                                                       $0.00                                   $31.00


           SC18 18"
           STRETCHCORD #6192                                                                $0.00                                     $8.10


           SC24 24"
           STRETCHCORD #6180                                                                $0.00                                   $13.68


           SC32 32"
           STRETCHCORD #6182                                                                $0.00                                     $3.82


           SC40 40"
           STRETCHCORD #6185                                                                $0.00                                    $-2.11


           SANDBAGS 14" x 26"
           POLYPROPYLENE SA                                                                 $0.00                                   $98.82




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 88
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           4.5O HYDRA-SIGN "OUT
           OF SERVICE" OR                                                                   $0.00                                     $6.80


           HSM60RODON 60" FIG
           A HYDRAFINDER HY                                                                 $0.00                                 $261.00


           RODON MINI FLAG FOR
           HYDRANT MARKERS                                                                  $0.00                                   $44.55


           TC28WDOT JACKSON
           SAFETY W SERIES OR                                                               $0.00                               $1,675.00


           Q4STDE STANDARD
           CHAMBER END CAPS, I                                                              $0.00                                 $137.50


           HSGN-2.5
           HYDROSHIELD 2-1/2"
           OUT OF                                                                           $0.00                                     $8.80


           6' J-HOOK STYLE
           ORANGE REBAR
           HYDRAN                                                                           $0.00                                 $302.04


           CBM209602 96" Yellow
           carsonite comp                                                                   $0.00                                 $141.10


           RHINOP69212 RHINO
           BLUE FIBERCURVE                                                                  $0.00                                 $100.80


           RHINOFC62W 62"
           RHINO VALVE
           MARKERS                                                                          $0.00                                   $54.20


           SV SAFETY VESTS,
           ORANGE WITH LIME R                                                               $0.00                                     $7.36


           SAFETY RED FLAGS
           24" X 24" WITH 36"                                                               $0.00                                   $30.51


           6VB 6V BATTERIES                                                                 $0.00                                 $193.50


           MPL2000 PORTABLE
           LIGHT PACK                                                                       $0.00                                 $190.08


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                     $5.90




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 89
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MARKING FLAG 2-1/2" X
           3-1/2" WHITE                                                                     $0.00                                     $5.90


           SVDOT 3012877
           DELUXE SAFETY VEST
           2                                                                                $0.00                                   $20.06


           3012878 2-TONE LIME
           MESH DELUXE VES                                                                  $0.00                                   $38.70


           CTK CHLORINE TEST
           KIT MICRO ESSENTI                                                                $0.00                                   $54.00


           NOBURST1 NOBURST 1
           GALLON, HYDRANT                                                                  $0.00                                 $104.50


           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                 $301.71


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                 $140.98


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $61.18


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                 $215.46


           FOXTCRD
           INVERT-A-CAP RED
           SPRAY PAIN                                                                       $0.00                                   $54.72


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                 $172.90


           FOXTCYE
           INVERT-A-CAP YELLOW
           SPRAY P                                                                          $0.00                                 $173.16


           GALVSPRAY AERVOE
           COLD APPLY GALVANI                                                               $0.00                                   $50.29


           GREENDYE 1# PYLAM
           PYLA-TEL GREEN DY                                                                $0.00                                 $154.56



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 90
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           HORNETSPRAY
           AERVOE 20oz 862
           AEROSO                                                                           $0.00                                     $9.30


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                   $31.38


           LUBEPT LUBRICANT 1
           PT CANS                                                                          $0.00                                     $2.75


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $30.14


           MARKINGSTICK
           AERVOE PAINT
           MARKING S                                                                        $0.00                                   $41.13


           ORANGEDYE 1# PYLAM
           PYLA-TEL ORANGE                                                                  $0.00                                 $206.08


           PVCCAWPT PVC ALL
           WEATHER CEMENT PIN                                                               $0.00                                 $164.45


           PVCCAWQT PVC ALL
           WEATHER CEMENT 311                                                               $0.00                                 $101.00


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                   $74.75


           PVCCEMENTQT PVC
           CEMENT QUART GRAY
           M                                                                                $0.00                                   $99.50


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                   $55.84


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                 $193.80


           SLIKSTYX16 16 OZ
           SPRAY LUBE                                                                       $0.00                                   $61.38


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                               $1,794.00


           TUBE BUTYL SEALANT                                                               $0.00                                   $60.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 91
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           YELLOWDYE 1# PYLAM
           PYLA-TEL YELLOW                                                                  $0.00                                 $103.04


           FOXTCPK
           INVERT-A-CAP PINK
           SPRAY PAI                                                                        $0.00                                   $10.64


           LUBESWAB PIPE LUBE
           SWAB ITEM# GLSA                                                                  $0.00                                     $4.20


           MSPLUGF HYDRAULIC
           CEMENT FAST SET "                                                                $0.00                                 $123.00


           FOXTCPU PURPLE
           MARKING PAINT FOR
           DR                                                                               $0.00                                 $141.12


           PASSONNO27834
           BRIGHT YELLOW
           HYDRAN                                                                           $0.00                                   $83.96


           LUBEBRUSH LUBE
           BRUSH                                                                            $0.00                                     $2.00


           LUBEQTBLUE QUART
           OF BLUE LUBE GLP32                                                               $0.00                                   $40.80


           ST2 CAN STORZ
           THREAD LUBRICANT
           KOC                                                                              $0.00                                   $44.32


           SCT-0100 SILICON
           TUBE SEALANT FOR                                                                 $0.00                                   $92.34


           MET1100 Metrotech
           1100 Speakerphone                                                                $0.00                                   $69.75


           P679 POLLARD
           SONOSCOPE/WATERPH
           ONE                                                                              $0.00                                   $14.24


           MET10091 Metrotech
           ARROW Locator pa                                                                 $0.00                                 $665.00


           ZCORR4 ITRON FLOW
           METRIX ZCORR LEA                                                                 $0.00                             $10,620.75


           RIDGIDST305 RIDGID
           ST305 LINE TRAN                                                                  $0.00                                 $668.22


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           RIDGIDST33Q RIDGID
           ST33Q LINE TRAN                                                                  $0.00                               $2,114.24


           RIDGIDCLAMP RIDGID
           INDUCTION SIGNA                                                                  $0.00                                 $740.36


           RIDGIDSR60 RIDGID
           SR60 LOCATOR 22                                                                  $0.00                               $2,318.73


           RD7000 RADIO
           DETECTION 7KDL
           LOCATOR                                                                          $0.00                               $2,496.00


           FAK25 FIRST AID KIT
           ERB PN 17134 25                                                                  $0.00                                   $22.50


           PAK60 TWISTED JUTE
           DRY 50# BOX 100                                                                  $0.00                                 $170.00


           HYDRASTOP12CI 12"
           HYDRA-STOP LINES                                                                 $0.00                               $1,732.00


           HYDRASTOP4CI 4"
           HYDRA-STOP
           LINESTOP                                                                         $0.00                                 $660.00


           HYDRASTOP8CI 8"
           HYDRA-STOP LINESTO                                                               $0.00                                 $947.10


           S106-16AWP-EX 16" x
           12" MANHOLE BOO                                                                  $0.00                                 $211.20


           S106-16B 16" HOLE
           PIPE RANGE 9 1/2                                                                 $0.00                                 $352.00


           S106-20BWP-EX 20" X
           15" MANHOLE BO                                                                   $0.00                                 $276.30


           S106-7MWS 7" X
           1.5-4.8" MANHOLE BO                                                              $0.00                                   $94.50


           S106-7WS 7" X 4"
           MANHOLE BOOT KOR-                                                                $0.00                                   $42.80


           S406-12AWP-EX 12" X
           8" MANHOLE BOOT                                                                  $0.00                                 $154.50




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                Name

           S406-12CWP-EX 12" X
           6" MANHOLE BOOT                                                                  $0.00                                   $51.50


           S406-12WP-EX 12" X 10"
           MANHOLE BOOT                                                                     $0.00                                 $103.00


           A10AP 18X20"AP
           PILLOWS(Pack of 10)                                                              $0.00                                   $38.00


           GOGGLES STING-RAYS
           BLACK FRAME WITH                                                                 $0.00                                     $2.90


           FOAM EARPLUGS IN
           PILLOW PACK 14380                                                                $0.00                                   $23.04


           GOGGLES- STANDARD
           SAFETY GOGGLES FO                                                                $0.00                                   $27.00


           GOGGLES HI VOLTAGE
           AMBER LENS WITH                                                                  $0.00                                     $1.85


           GOGGLES PIRANA
           GRAY LENS & BLACK
           FR                                                                               $0.00                                     $4.16


           GOGGLES FLASH FIRE
           BLUE LENS WITH S                                                                 $0.00                                   $44.16


           GOGGLES ZENON Z13
           AMBER LENS & TEMP                                                                $0.00                                     $5.70


           GOGGLES
           TRANZMISSION GRAY
           LENS & BL                                                                        $0.00                                   $25.76


           INFHC20 INFILTRATOR
           HIGH CAP H20                                                                     $0.00                                 $115.00


           Q4EQ36E END CAPS
           FOR Q4EQ36, INFILT                                                               $0.00                                 $245.30


           Q4EQ24HD QUICK 4
           EQUALIZER CHAMBER                                                                $0.00                                   $61.25


           Q4EQ24E INFILTRATOR
           QUICK 4 EQUALIZ                                                                  $0.00                                   $18.20




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           EQ24E INFILTRATOR
           END CAPS                                                                         $0.00                                 $218.40


           Q4STD34 34" X 53" X
           12" STANDARD CH                                                                  $0.00                               $1,270.00


           H20HCC INFILTRATOR
           HIGH CAPACITY H2                                                                 $0.00                                 $287.50


           MFY6 6" X 6"
           MULTIFLOW WYE #
           06005                                                                            $0.00                                 $101.46


           MFINSP6 6"
           MULTIFLOW
           INSPECTION COU                                                                   $0.00                                   $17.60


           MFC12 12" MULTIFLOW
           CAP # 12001                                                                      $0.00                                   $21.90


           MFCPLG12 12"
           MULTIFLOW COUPLING                                                               $0.00                                   $33.16


           MFSO12 12"
           MULTIFLOW SIDE
           OUTLET #1                                                                        $0.00                                   $16.59


           MFEO12 12"
           MULTIFLOW END
           OUTLET # 1                                                                       $0.00                                 $190.67


           MFY12 12" X 12"
           MULTIFLOW WYE # 120                                                              $0.00                                   $44.75


           MFDY12 12" X 12" X 12"
           MULTIFLOW DO                                                                     $0.00                                   $57.07


           MFT12 12" X 12"
           MULTIFLOW TEE # 120                                                              $0.00                                   $74.59


           MFCR12 12" X 12" X 12"
           MULTIFLOW CR                                                                     $0.00                                   $38.05


           MFINSP12 12"
           MULTIFLOW
           INSPECTION C                                                                     $0.00                                   $18.58




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           MFCPLG18 18"
           MULTIFLOW COUPLING
           #1                                                                               $0.00                                   $10.17


           MFSO18 18"
           MULTIFLOW SIDE
           OUTLET #                                                                         $0.00                                   $91.49


           MFY18 18"X 18"
           MULTIFLOW WYE #
           1800                                                                             $0.00                                   $77.59


           MFDY18 18" X 18" X 18"
           MULTIFLOW DO                                                                     $0.00                                   $71.60


           MFT18 18" X 18"
           MULTIFLOW TEE # 180                                                              $0.00                                   $38.79


           MFCR18 18" X 18"
           MULTIFLOW CROSS #                                                                $0.00                                   $95.47


           MFINSP18 18"
           MULTIFLOW
           INSPECTION C                                                                     $0.00                                   $87.96


           MF12 12" MULTIFLOW
           (12" X 150') #12                                                                 $0.00                                 $573.90


           MMFAMMJ2G5834GAL
           5/8" X 3/4" FLEX                                                                 $0.00                                 $754.20


           MM2GTOP MASTER
           METER 2G PIT LID MO                                                              $0.00                                   $11.25


           MM2GBOTTOM
           MASTER METER 2G PIT
           LID                                                                              $0.00                                     $9.00


           MMBLMJSTD58GAL
           5/8" BOTTOM LOAD MU                                                              $0.00                                   $67.64


           912-002-FPW MASTER
           METER FROST PLUG                                                                 $0.00                                     $0.00


           MMFAM3G5834CF 5/8"
           x 3/4" FLEXIBLE                                                                  $0.00                               $1,008.40


           MM25281109 MASTER
           METER POLYMER PL                                                                 $0.00                                   $24.14


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           MM20606409 MASTER
           METER O-RINGS                                                                    $0.00                                     $8.10


           975-106-45 MASTER
           METER INTERPERTER                                                                $0.00                                   $15.30


           MMTLMJEB3G15CFFLG
           1-1/2" CUBIC FEET                                                                $0.00                                     $0.00


           MM13940096 MASTER
           METER 4" "OCTAVE                                                                 $0.00                               $1,237.50


           MM21330519 MASTER
           METER 2" MJ PART                                                                 $0.00                                   $40.23


           MM6D 2" MASTER
           METER TOP LOAD
           MULT                                                                             $0.00                                 $212.18


           MMBLMJ3G1GCI 1"
           BOTTOM LOAD MULTIJ                                                               $0.00                                 $173.52


           MMANTENNA MASTER
           METER MAGNETIC MO                                                                $0.00                                 $168.75


           MMMJ343GLEADFREEC
           IGAL MASTER METER                                                                $0.00                               $1,326.06


           MMLCDINTERNEPT1990
           0604 MASTER METE                                                                 $0.00                                 $405.00


           MMPIN MASTER
           METER ACCULINX
           STOPPE                                                                           $0.00                                   $47.25


           BL06-1MD-FAA-2
           MASTER METER
           BOTTOM                                                                           $0.00                                 $967.98


           MMJETTCHARGER
           MASTER METER JETT
           CE                                                                               $0.00                                   $70.88


           MMBLMJEB3G1GALCI
           1" GALLON BOTTOM L                                                               $0.00                               $1,036.50


           MMBLMJEB3G1CFCI 1"
           CUBIC FEET BOTTO                                                                 $0.00                               $1,658.40


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           BL07-2TD-FAA-2
           MASTER METER 3/4" X                                                              $0.00                                 $356.42


           MMBLMJEB3G34CFCI
           MASTER METER BOTT                                                                $0.00                                 $869.40


           KMVL9REMOTE KEMP
           MEEK VL9 REMOTE LC                                                               $0.00                                 $402.00


           MMBLMJEBSTD5834GCI
           5/8" X 3/4" GALL                                                                 $0.00                                 $101.07


           MMXTR19912211
           MASTER METER
           EXTREN                                                                           $0.00                               $1,265.63


           965-010-16 MASTER
           METER ENCODER MOD                                                                $0.00                                 $315.00


           MMOCTAVE4ENCODER
           CI 4" MASTER METER                                                               $0.00                               $1,870.31


           MMTUREBSTDGAL
           MASTER METER
           ENVIROBR                                                                         $0.00                                 $876.16


           MM24572210 MASTER
           METER SEAL WIRE W                                                                $0.00                                   $48.60


           MMACCUREGHOUSING
           MASTER METER PLAS                                                                $0.00                                   $26.78


           MM1SHROUD25825109
           MASTER METER REGI                                                                $0.00                                   $33.08


           MM94201315 MASTER
           METER METAL ROLL                                                                 $0.00                                   $20.30


           MMOCTAVE232MODULE
           MASTER METER OCT                                                                 $0.00                                 $151.20


           MMFAM34STDCF
           MASTER METER
           FELXIBLE                                                                         $0.00                                   $63.00


           MMGPS Master Meter
           GPS Receiver fo                                                                  $0.00                                 $150.00



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           MMOCTAVEMODULEDU
           AL OCTAVE METER
           CON                                                                              $0.00                                 $400.00


           MMINTERPRETERIIBAD
           GER INTERPRETER I                                                                $0.00                                 $405.00


           B16-A21-B05-0118A-1
           MASTER METER 1"                                                                  $0.00                                 $315.66


           402-250 SPEARS 2" x
           1-1/4' SCHED 40                                                                  $0.00                                     $9.65


           T0400891 CLOW M-11
           SAFETY COUPLING                                                                  $0.00                                     $9.99


           3" #413 SMITH BLAIR
           COUPLING #413-0                                                                  $0.00                                 $109.34


           HQCAP30 30" HI-Q
           END CAP                                                                          $0.00                                 $116.99


           839-249 2" MIP x 1" FIP
           BUSHING SC                                                                       $0.00                                   $22.02


           402-249 2X2X1"
           SXSXFIP SCHEDULE 40                                                              $0.00                                     $6.90


           SDR359010SW 10" 90
           BEND, SOLVENT WE                                                                 $0.00                                   $36.31


           CM12GAS60 60" CM 12
           GAUGE, CORRUGAT                                                                  $0.00                               $3,300.00


           #12 .016 ALUMINUM
           LOCK-ON JACKET                                                                   $0.00                                   $56.00


           FLGGSKT8R18 18"
           FLANGED RING GASKE                                                               $0.00                                     $4.83


           18" END SECTION
           STRAPS FOR HDPE
           END                                                                              $0.00                                   $14.00


           24"STRAP ONLY FOR
           HDPE END SECTION                                                                 $0.00                                   $23.00




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MUE61990 7/8" DRILL
           FOR E-5 OR D-5                                                                   $0.00                                   $79.09


           829-100F 10" PVC
           SCH80 COUPLING SPE                                                               $0.00                                   $45.72


           K-8103-L K81A DIRT
           SHIELD TO FIT OP                                                                 $0.00                                   $15.53


           K-8104 K81 STEM LOCK
           NUT 3185944, K                                                                   $0.00                                   $42.00


           K1104 KENNEDY
           O-RING WEATHER
           SEAL F                                                                           $0.00                                 $147.00


           HXNUT038 3/8" HEX
           NUTS                                                                             $0.00                                     $6.50


           MUE185684 Mueller
           H-103 Open Right                                                                 $0.00                                   $55.11


           3879 - 1/2" LOCK
           WASHER, 504091                                                                   $0.00                                     $4.94


           C900CPLG6 6" C900 pvc
           couplings                                                                        $0.00                                   $14.40


           T2401012 6" RW NECK
           FLANGE O-RING (                                                                  $0.00                                   $10.07


           HXBLT075500SS 3/4 X 5
           HEX BOLT STAI                                                                    $0.00                                   $82.56


           838-422 4X3" PVC 80
           SPIGXFIPT RED B                                                                  $0.00                                   $30.98


           CLEVIS16 16" CLEVIS
           HANGER                                                                           $0.00                                 $141.80


           DWVDY44 4" X 4" PVC
           DWV DOUBLE WYE                                                                   $0.00                                  $-21.72


           M0800114 CLOW
           OPERATING NUT FOR
           10"                                                                              $0.00                                   $39.48




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 100
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           837-292 2 1/2" X 2"
           PVC80 REDUCER B                                                                  $0.00                                   $19.68


           405-007 3/4" PVC
           Schedule 40 FIP X                                                                $0.00                                     $0.81


           402-248 2X2X3/4"
           SXSXFIP TEE SCHEDU                                                               $0.00                                     $3.84


           MUE33274 MUELLER 1
           3/8"DRILL FOR A                                                                  $0.00                                 $225.37


           MUE HYD EXTENSION
           ROD 6 INCH FOR 6                                                                 $0.00                                     $0.00


           12" X 1'0" PXCXP FOR
           8" DIPS THRU 1                                                                   $0.00                                 $345.68


           95E COVER ONLY                                                                   $0.00                                     $1.00


           NEPTUNE 6"
           COMPOUND REGISTER
           SET -                                                                            $0.00                                 $150.00


           BLADEMETAL121 12" X
           1" SAW BLADE F                                                                   $0.00                                   $21.00


           MUE290233 WASHER
           FOR AQUAGRIP                                                                     $0.00                                     $0.98


           MUE40203 WASHER,
           MUELLER                                                                          $0.00                                     $2.30


           MUE40195 ARM,
           MUELLER                                                                          $0.00                                   $51.64


           MUE40197 WASHER,
           MUELLER                                                                          $0.00                                   $27.29


           M2400166 8" STUFFING
           BOX PLATE, CLO                                                                   $0.00                                   $41.30


           H-14200N-058X075
           MUELLER METER COUP                                                               $0.00                                   $55.33


           SLD36 36" ONE-LOK
           RESTRAINT SIGMA                                                                  $0.00                               $1,499.22



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 101
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                Name

           FL2210 10" FLANGE DI
           22 1/2 BEND                                                                      $0.00                                 $389.12


           ECLIPSE #1 IRON
           HANDLE PART# 134                                                                 $0.00                                   $13.28


           ECLIPSE #1 IRON CAP
           PART# 125                                                                        $0.00                                   $24.21


           MUE148726 SAFETY
           FLANGE GASKET 4-1/                                                               $0.00                                     $8.44


           42017047601 SPACER                                                               $0.00                                     $6.00


           FP250F 2-1/2"NST
           BRASS HOSE PLUG W                                                                $0.00                                   $23.82


           KEN3281852 R-5
           STUFFING BOX FOR C-5                                                             $0.00                                   $39.20


           usa 900 flange adapter
           4" for dr1                                                                       $0.00                                 $166.25


           830-020 2" PVC SCH80
           THRDxTHRD COU                                                                    $0.00                                   $29.06


           MUE174909 H-87
           IMPROVED SEAT RING
           4                                                                                $0.00                                 $151.80


           DR18Y86 8" X 6" DR 18
           WYES 301-0806                                                                    $0.00                                 $460.68


           KEN3169622 KEY FOR
           10"/12" 106 LW C                                                                 $0.00                                     $6.72


           806-020LSF SPEARS 2"
           SCH 80 LONG SW                                                                   $0.00                                   $59.72


           CAM2F QUICK
           DISCONNECT 2" MALE
           X 2"                                                                             $0.00                                   $15.90


           US24010 THE
           "BEVELER" BY U.S.
           SAWS                                                                             $0.00                                 $198.75




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 102
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           SLDM8 8" OVERSIZED
           ONE-LOC                                                                          $0.00                                 $254.52


           2200-0303-0433-260 2" X
           3" COUPLING                                                                      $0.00                                 $256.00


           MUE528156 1 7/8
           ARBOR FOR E-5 MACHI                                                              $0.00                                   $34.77


           36" FASTITE GASKET                                                               $0.00                                   $90.00


           M-26 WEATHER CAP
           11/4" M-080-0597                                                                 $0.00                                   $12.04


           HXNUT125P PLATED
           1-1/4" HEAVY DUTY                                                                $0.00                                   $11.27


           806-010LSF SPEARS 1"
           SCH80 LONG SWE                                                                   $0.00                                   $32.26


           6" x 4" THICK FLANGE
           FILLER PIECE                                                                     $0.00                                 $135.20


           MUE185029 H-83 4-1/2"
           UPPER VALVE P                                                                    $0.00                                 $223.04


           KV106-6-6 KENNEDY
           HINGE PIN FOR 6"                                                                 $0.00                                   $63.07


           LANESADT24X6 24 X 6
           LANE SADDLE TEE                                                                  $0.00                                 $390.00


           MUE195271 MUELLER
           HOLD DOWN NUT O-R                                                                $0.00                                     $4.16


           MLW-1 METER WRENCH                                                               $0.00                                   $11.55


           080-300 STAINLESS
           STEEL CLAMP 4" PL                                                                $0.00                                     $3.92


           096-300 STAINLESS
           STEEL CLAMP                                                                      $0.00                                   $17.52


           HDPEXMJADAP8I 8" MJ
           X HDPE ADAPTER                                                                   $0.00                                 $154.10




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           FLO710-12 1 1/4" PVC
           INSERT COUPLIN                                                                   $0.00                                   $23.76


           2" YELOMINE CPLG
           W/SPLINE #705021                                                                 $0.00                                   $80.61


           #19 3' ALUMINUM LOCK
           ON JACKET FOR                                                                    $0.00                                     $3.50


           #327 LOWER STEM
           GASKET FOR DRESSER                                                               $0.00                                     $7.00


           #39 ALUMINUM
           JACKETING FOR 4" 45
           BE                                                                               $0.00                                   $16.10


           0620-1320-10-1 12" X
           10" STAINLESS                                                                    $0.00                                 $562.75


           1" BRONZE STRAINER
           THREADED                                                                         $0.00                                   $28.00


           MUE191449 10" G-32
           #191449 FIBER GA                                                                 $0.00                                   $10.23


           16FA-OX 16" FOSTER
           ADAPTOR WITH MJ                                                                  $0.00                                 $334.95


           172984-1 MUELLER OP.
           WRENCH                                                                           $0.00                                   $34.74


           21" VITRIFIED CLAY
           PIPE                                                                             $0.00                                   $36.00


           2229-010 1" PVC80
           BALL VALVE                                                                       $0.00                                   $35.62


           2239-005 1/2" PVC
           SCH80 TRUE UNION                                                                 $0.00                                   $17.42


           2329-012 1-1/4" PVC
           TRU UNION BALL                                                                   $0.00                                 $100.40


           2339-005 1/2" PVC
           SCH80 TRUE UNION                                                                 $0.00                                   $18.40


           FLTWSH075Z 3/4" Zinc
           Plated Large F                                                                   $0.00                                     $6.25


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           3145254 O/L WRENCH
           NUT FOR USE ON A                                                                 $0.00                                   $42.50


           3200512 HOSE CAP
           11/8" C/O ELMIRA S                                                               $0.00                                 $727.94


           4" SCH40 CONDUIT
           LONG SWEEP 90 BEND                                                               $0.00                                   $14.00


           436-131 1 X 3/4 MALE
           ADAPTER                                                                          $0.00                                   $11.00


           436-169 PVC SCH 40
           1-1/4" MIP X 1 1                                                                 $0.00                                     $5.55


           448-010 FIPT CAP PVC
           40                                                                               $0.00                                     $6.30


           449-007 3/4" PVC 40
           SLIP PLUG                                                                        $0.00                                     $0.49


           5/8" meter by 1/2" mip
           tail pc                                                                          $0.00                                   $41.80


           500B520 GROUND
           STAKE                                                                            $0.00                                   $30.00


           CHE271-691 6"
           MONITOR WELL
           LOCKING                                                                          $0.00                                   $73.34


           6" FLG FLAP VALVE                                                                $0.00                                   $90.00


           DWVCR64 6" X 4" DWV
           CROSS SPEARS PN                                                                  $0.00                                 $295.32


           MUE194556 G-49 STEM
           O-RING MUELLER                                                                   $0.00                                   $12.28


           801-130 SPEARS 1" X
           1/2" PVC80 TEE                                                                   $0.00                                     $1.52


           805-005 1/2" SCH.80
           PVC TEE FIPT                                                                     $0.00                                     $1.30


           806-025 2 1/2" SCH. 80
           90 BEND                                                                          $0.00                                     $4.20


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           815-040F 4" sch80 pvc
           30 degree ell                                                                    $0.00                                   $42.25


           816-020 2" PVC SCH80
           22-1/2 DEGREE                                                                    $0.00                                   $11.02


           816-030F 3" PVC
           Schedule 80 Fabrica                                                              $0.00                                   $38.23


           829-130 SPEARS SCH 80
           1" x 1/2" RED                                                                    $0.00                                     $1.12


           829-292 SCH80
           REDUCER 2.5" X 2"                                                                $0.00                                     $0.00


           8335-012 BRASS
           RETAINING REGISTER S                                                             $0.00                                     $2.50


           835-025 2-1/2" PVC
           SCH80 SOC X FIPT                                                                 $0.00                                   $33.90


           837-212 SPEARS PVC
           SCH80 1-1/2" X 1                                                                 $0.00                                     $1.99


           837-291 2 1/2" x 1 1/2"
           sch-80 sxs                                                                       $0.00                                     $4.92


           837-335 SPEARS 3 x 1
           PVC SCH 80 BUS                                                                   $0.00                                     $8.58


           837-585 PVC 80 8X6
           BUSH                                                                             $0.00                                   $34.70


           838-250 2" x 1-1/4" Spig
           x FIP PVC8                                                                       $0.00                                   $11.00


           838-338 3" x 2" Spig x
           FIPT PVC80 R                                                                     $0.00                                   $34.02


           839-130 1"x1/2" PVC
           Schedule 80 Thr                                                                  $0.00                                   $17.08


           848-012 1 1/4" sch80
           pvc thrd cap                                                                     $0.00                                     $3.62


           854-007 3/4" SCH 80
           VAN STONE FLAN                                                                   $0.00                                     $3.64


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           875-012 1-1/4" WYE
           SCH80 PVC SPEARS                                                                 $0.00                                   $11.88


           887-041 rubber rebuild
           kit for a 2"                                                                     $0.00                                     $6.92


           ASSEMBLY TOOL FOR
           CASING SPACERS RA                                                                $0.00                                   $90.00


           B50B 4 1/2" X 24" BASE
           EXTENSION FO                                                                     $0.00                                 $143.84


           B62BEXT18 AMERICAN
           DARLING 18" HYDR                                                                 $0.00                                 $331.20


           C780012-1560 3/4"
           TUBING FOR METE                                                                  $0.00                                 $126.87


           CARPENTER &
           PATTERSON 12" FIG.
           #142                                                                             $0.00                                   $30.60


           CMRRCPLG5738 57" X
           38" CM ARCH COUP                                                                 $0.00                                   $67.30


           CT250K20 2-1/2" TYPE K
           COPPER 20'                                                                       $0.00                                   $85.60


           DWVCR33 DWV SCH 40
           3" CROSS                                                                         $0.00                                     $5.60


           FLGGSKT8RF10 10"
           FIBER, NON-ASBESTO                                                               $0.00                                     $6.55


           FLGGSKT8FF5 5" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $2.50


           FLO1001-15 1 1/2"
           SPRING CHECK VALV                                                                $0.00                                   $32.70


           FLTWSH125 1-1/4" FLAT
           WASHER 130PG-                                                                    $0.00                                     $4.44


           GALVNIP-300xCLS 3" x
           Close Galvaniz                                                                   $0.00                                     $4.39




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           H-94 SET SCREW
           190113                                                                           $0.00                                     $1.96


           H10298-075 BRASS
           HANDLE, SCREW AND                                                                $0.00                                   $42.36


           H13442-100 8" X 1"
           MUELLER H13442 B                                                                 $0.00                                   $40.65


           H13442-200 MUELLER
           8" X 2" H13442 B                                                                 $0.00                                 $332.80


           H15053-050 1/2"
           COPPER GASKET                                                                    $0.00                                     $3.40


           HANSADT188 HANCOR
           18 X 8 SADDLE TEE                                                                $0.00                                   $22.63


           184-300 FERNCO
           HAS184 STAINLESS
           STE                                                                              $0.00                                   $19.05


           HXBLT050125SS
           1/2"X1-1/4" STAINLESS                                                            $0.00                                     $2.69


           HXBLT050275SS 1/2 X 2
           3/4 SS HEX BO                                                                    $0.00                                     $9.00


           HXBLT058500SS 5/8" X
           5" STAINLESS S                                                                   $0.00                                   $16.88


           HXBLT075400SS 3/4" X
           4" HEX BOLT ST                                                                   $0.00                                 $164.16


           HXBLT075600SS 3/4"x6"
           Stainless Ste                                                                    $0.00                                   $13.65


           HXBLT516150 5/16" X
           1-1/2" HEX BOLT                                                                  $0.00                                     $0.94


           K1128 - LOWER STEM
           FOR 5' BURY KENN                                                                 $0.00                                 $181.44


           K8115 K81D 5-1/4"
           UPPER BARREL PAIN                                                                $0.00                               $1,154.34


           K8132 KENNEDY K-81
           5-1/4" BOTTOM PL                                                                 $0.00                                   $66.43


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           K8134 - 6" MJ K81D
           HYDRANT ELBOW (S                                                                 $0.00                                 $379.04


           K8148-2.5 2-1/2"
           NOZZLE REMOVING WR                                                               $0.00                                   $83.44


           KEN106LW20AB5
           LEVER FOR 5"
           KENNEDY                                                                          $0.00                                   $56.24


           KS-T5 #632004
           5'ADJUSTABLE CURB
           KEY                                                                              $0.00                                   $44.06


           KUP561 Drain Leather
           for Kupferle #                                                                   $0.00                                     $7.35


           LS525S LINK SEALS
           STAINLESS STEEL                                                                  $0.00                                 $146.32


           M0800811 CLOW M-26
           WEATHER CAP "A"                                                                  $0.00                                 $109.98


           M3 OP NUT 1 1/2                                                                  $0.00                                   $39.41


           MJG42 - 42" MJ
           GASKET                                                                           $0.00                                   $65.24


           MOON 358 3" MALE NPT
           X 3" MALE HOSE                                                                   $0.00                                   $35.40


           MUE190939 NUT FOR
           WRENCH NUT,4"-12"                                                                $0.00                                     $5.90


           MUE192328 5 1/4"
           MUELLER SAFETY FL                                                                $0.00                                   $11.28


           MUE192344 MUELLER
           4" NOZZLE GASKET                                                                 $0.00                                     $6.52


           MUE192345 H-68
           PUMPER CAP GASKET                                                                $0.00                                   $11.82


           MUE192416 Mueller H-84
           Shoe Gasket                                                                      $0.00                                   $99.99




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           MUE302846 MUELLER
           DRIVE SHAFT SEAL                                                                 $0.00                                     $6.45


           MUE40013 #40013
           SCREWS, MUELLER                                                                  $0.00                                     $1.15


           MUE40189 CAP GASKET                                                              $0.00                                   $14.06


           MUE40198 A-3 SEAT
           WASHER PART# 48,                                                                 $0.00                                   $15.58


           MUE40200 A-3 SEAT
           WASHER SCREW, PAR                                                                $0.00                                     $5.38


           MUE40202 A-3 GATE TO
           ARM SCREW, PAR                                                                   $0.00                                     $8.03


           MUE46389 8" Mueller
           O-Ring FOR CL-1                                                                  $0.00                                   $48.14


           MUEA24-5 5-1/4" VO
           Mueller Upper Ba                                                                 $0.00                               $1,257.84


           MUELLER STUFFING
           BOX NUT #190939                                                                  $0.00                                   $18.20


           MUR-75-10 Murdock
           Valve Packing Rin                                                                $0.00                                     $3.75


           MUR-75-12 Murdock
           Seat Washer for M                                                                $0.00                                     $2.50


           NDS990 9" X 9" NDS
           GREEN GRATE                                                                      $0.00                                   $49.08


           NEP8340-034 Neptune
           T-10 Bottom Cap                                                                  $0.00                                   $11.25


           NEPT10PULCFREG-058
           5/8" NEPTUNE T10                                                                 $0.00                               $1,120.00


           NHCPLG43                                                                         $0.00                                   $37.44


           PIPE LUBE                                                                        $0.00                                   $34.00


           PVC40LS906 6" PVC
           SCH40 CONDUIT LO                                                                 $0.00                                   $60.00


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           QT-400 FERNCO 4"
           QWIK TEE                                                                         $0.00                                   $22.78


           KEN442762P 8" COVER
           O-RING NRS,RW G                                                                  $0.00                                   $11.00


           R2100084 PART#25 5-1/4
           SEAT RING, C                                                                     $0.00                                   $53.10


           REE2RBHD REED
           CUTTER WHEEL FOR
           2-4W                                                                             $0.00                                   $41.74


           SDR3545BXP18 18"
           SDR35 45 BEND BELL                                                               $0.00                                 $121.87


           SDR35Y1818 18X18
           SDR35 WYE L3018                                                                  $0.00                                 $627.00


           SIGMA 94E 24" CURB
           BOX TOP SECTION                                                                  $0.00                                   $36.00


           STAINLESS STEEL
           HOOD HOOKS                                                                       $0.00                                   $24.00


           T0400072 NUT NECK
           FLANGE NUTS ITEM#                                                                $0.00                                     $4.77


           T0400959 6"-12" Clow
           Shaft Key for                                                                    $0.00                                     $1.84


           TAILPC125100 1 1/4" X
           1" TAIL PIECE                                                                    $0.00                                   $20.00


           TYGSKT30 30" TYTON
           GASKET                                                                           $0.00                                 $470.00


           W8300-MF WADE CAST
           IRON HOUSING WIT                                                                 $0.00                                   $55.04


           WATTS 887141
           RK909M1RV RELIEF
           VALVE                                                                            $0.00                                   $21.00


           TCO2X-150 1 1 1/2" 2
           PIECE 316 ST                                                                     $0.00                                   $73.72




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                Name

           WT777-150 WATTS 1
           1/2" BRONZE STRAI                                                                $0.00                                   $20.29


           ZURN1360KEY 1"ZURN
           #1360 FLUSH HYD                                                                  $0.00                                   $18.75


           fg8ff150 1 1/2"x 1/8" red
           rubber 1                                                                         $0.00                                     $0.39


           NDS930 9x9 LOW
           PROFILE ADAPTOR                                                                  $0.00                                   $35.25


           straps for end sections                                                          $0.00                                 $234.00


           K8124 KENNEDY K81
           5-1/4 LOWER BARRE                                                                $0.00                                 $353.31


           2 ROD ROLLER
           HANGERS ELECTRO
           GALVAN                                                                           $0.00                                 $246.88


           MUE83849 FEED NUT
           AND YOKE FOR MUEL                                                                $0.00                                 $128.41


           ferdonut2x150 fernco
           donut 22UX-13                                                                    $0.00                                     $3.41


           Murdock M-150-2
           Hydrant Screw for                                                                $0.00                                   $39.75


           RITEHITE18 5 1/4
           RITEHITE 18" LONG                                                                $0.00                                   $20.00


           VB268 3 PC SCREW
           TYPE VALVE BOX 74"                                                               $0.00                                $-148.00


           C060 JUTE MESH ROLL
           SIZE 4'X 225' 1                                                                  $0.00                                 $225.00


           MCD4620G-150
           McDONALD 1-1/2"
           ROUND                                                                            $0.00                                   $15.20


           MCD4136-139
           MCDONALD SERIES
           19-1 M                                                                           $0.00                                   $30.06




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           T0400340 S.S. NUT FOR
           BONNET BOLT F                                                                    $0.00                                     $0.69


           WOODPLUG1 1"
           WOODEN PLUG,
           STEP-TAP                                                                         $0.00                                 $127.50


           MUE63670 BRASS PENT
           NUT ONLY FOR MU                                                                  $0.00                                     $7.11


           HXBLT100800SS : 1" X
           8" STAINLESS H                                                                   $0.00                                 $194.25


           WTWBVC-075 3/4"
           WATTS WBVC STD
           PORT                                                                             $0.00                                   $30.69


           AT-O ORING FOR AQUA
           TAP                                                                              $0.00                                     $2.00


           13995 6" 45 X 36"
           RADIUS SCH 80 CON                                                                $0.00                                   $55.00


           CAMPBELL9301G
           CAMPBELL #9301 24"
           SQ                                                                               $0.00                                 $114.00


           CLO2640114 PUMPER
           NOZZLE, NISKAYUNA                                                                $0.00                                   $62.11


           CAM3DP 3" CAM DUST
           PLUG                                                                             $0.00                                   $27.06


           18" KENNEDY POST
           INDICATOR EXTENSIO                                                               $0.00                                 $288.49


           CAM2B 2" CAMLOCK
           PART B MIP X MALE                                                                $0.00                                   $12.30


           KV79508L 8" OPEN
           LEFT TAPPING VALV                                                                $0.00                                 $754.48


           VB2622 5 1/4"x
           24"SCREW TYPE VALVE                                                              $0.00                                   $65.50


           ANTIFREEZE RV TYPE
           GALLON CAMCO EAS                                                                 $0.00                                     $9.96




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           eftapsad6dipx2ip 6"
           DIPS x 2" IPS                                                                    $0.00                                 $258.00


           TYGSKT48 48" FASTITE
           GASKET A7023                                                                     $0.00                                 $184.50


           MMREEDSWITCHBLUE
           90601719 REED SWI                                                                $0.00                                   $14.00


           LANECPLG48 48" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $106.55


           LS360C STANDARD
           LINK SEAL                                                                        $0.00                                   $74.25


           K8144SCH 4 1/2"
           PUMPER NOZZLE CAP
           C                                                                                $0.00                                   $79.00


           NDS880X243 FLAPPER
           O-RING                                                                           $0.00                                     $0.47


           MARKFLAG 3X3
           ORANGE MARKING
           FLAG W                                                                           $0.00                                     $0.18


           MARKFLAG 3X3
           YELLOW MARKING
           FLAG WI                                                                          $0.00                                     $0.11


           MHEXT32150 32 X 1.5"
           STEEL EXTENSIO                                                                   $0.00                                   $95.00


           LANEG10.830 30" 10.8
           GASKET FOR LAN                                                                   $0.00                                 $300.00


           WHE700160 POWER
           DRIVE ADAPTER # 700                                                              $0.00                                     $7.50


           DONUT GASKET FOR 4"
           PVC TO 4" CLAY                                                                   $0.00                                     $0.00


           GR18PG 18"
           AGRIDRAIN GRATE FOR
           COR                                                                              $0.00                                   $42.29


           DR11WA12IPS 12" DR11
           IPS HDPE WALL                                                                    $0.00                                 $446.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 114
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           KEN460243P 3"
           STAINLESS STEEL
           BOLT                                                                             $0.00                                   $13.44


           KEN442642P R-6 STEM
           O-RING FOR 8" N                                                                  $0.00                                   $11.76


           FLTWSH038SS 3/8"
           STAINLESS STEEL FL                                                               $0.00                                     $2.70


           BC-14217 1 1/2"
           POLYCARBONATE
           HOSE                                                                             $0.00                                   $18.63


           KEN442644P K8111
           O-RING (CAP) K81                                                                 $0.00                                   $10.08


           raci casing spacer
           1p120,2q120 8" d                                                                 $0.00                                 $719.04


           DWVY124 12 X 4 DWV
           SCH40 WYE                                                                        $0.00                                     $0.00


           MUE148757 SUPPORT
           FOR A359-00 14875                                                                $0.00                                   $30.34


           BINGHAM & TAYLOR
           5-1/4" WATER VALVE                                                               $0.00                                   $13.22


           MUE195083 MUELLER
           SEAT RING TOP O-R                                                                $0.00                                     $3.75


           T0600561 16" TAPPING
           VALVE GASKET,                                                                    $0.00                                   $36.58


           CSTMM12T CST
           MM-12T rolatape (10th                                                            $0.00                                   $29.50


           mue159750 4" mueller
           plain check v                                                                    $0.00                                   $65.42


           mue198912 4" mueller
           plain check v                                                                    $0.00                                     $1.63


           DMH2525F 2-1/2" NPT
           MALE X 2-1/2" N                                                                  $0.00                                   $21.98




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           geocplg125 1 1/4" hdpe
           ips geother                                                                      $0.00                                     $9.56


           10800105 6"OPERATING
           NUT OPEN LEFT                                                                    $0.00                                   $48.96


           MUE543649 MUELLER
           G-211 BONNET O-RI                                                                $0.00                                     $8.98


           MUE543651 G-211
           BONNET 3 O-RING KIT                                                              $0.00                                   $19.10


           S13441-075 6" X 3/4"CC
           BRONZE SADDL                                                                     $0.00                                   $77.28


           SDR35906LS LONG
           SWEEP 6" 90 BEND SD                                                              $0.00                                     $0.00


           T2401263 CLOW
           FOLLOWER PLATE
           O-RING                                                                           $0.00                                     $2.08


           RG15 15" RAT GUARD
           ZINC COATED                                                                      $0.00                                   $26.32


           GF39009 GENERAL
           FOUNDRIES 4-1/4" RO                                                              $0.00                                 $192.00


           4" MIP x 4-1/2" MALE
           NATIONAL HOSE                                                                    $0.00                                 $369.00


           H14244N-058X075X075
           5/8 X 3/4 X 3/4                                                                  $0.00                                   $52.46


           SC9592C 15"
           SYRACUSE CASTINGS
           9590                                                                             $0.00                                   $40.00


           CMRRCPLG15P 15" CM
           REROLLED COUPLI                                                                  $0.00                                   $27.00


           722311-040 SPEARS
           BUTTERFLY VALVE 4                                                                $0.00                                 $181.85


           REP1420 14" DI 8 MIL
           BLACK POLYWRAP                                                                   $0.00                                 $776.00




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           FM25F25T HYDRANT
           ADAPTER 2.5"MNPT X                                                               $0.00                                   $38.80


           PHILMAC 1-1/4" IPS
           COUPLING, 75-308                                                                 $0.00                                   $10.41


           FG8FF10250 10" 250lb
           FULL FACE 1/8                                                                    $0.00                                   $14.16


           FG8FF12250 12" 250lb
           FULL FACE 1/8                                                                    $0.00                                   $21.75


           DR18456S 6" DR18 45
           BEND NON PRESS                                                                   $0.00                                 $128.94


           DR18622S 6" DR18 22
           BEND NON PRESS                                                                   $0.00                                   $64.47


           DR18CPLG6S 6" DR18
           COUPLING REPAIR                                                                  $0.00                                   $50.07


           817-100F 10" PVC80 45
           BEND FABRICAT                                                                    $0.00                                 $209.04


           LS340S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                   $23.24


           75-33288 2" PHILMAC
           3G IPS OD FEMAL                                                                  $0.00                                   $47.34


           INSERTA TEE
           12IPS30LN 12.75" HUB
           OU                                                                               $0.00                                 $295.00


           INSERTA TEE 4IPS18LN
           4.5" ID HUB TO                                                                   $0.00                                 $110.00


           INSERTA TEE 4IPS12LN
           4.5" ID HUB TO                                                                   $0.00                                   $55.00


           R1278HS INSERTA TEE
           12.875" HOLE SA                                                                  $0.00                                 $295.00


           AMCOPITTP AMCO
           METER PIT MOUNTED T                                                              $0.00                                   $32.84


           INFACTCP358 INFACT
           8" COMBO PIPE P                                                                  $0.00                                   $19.90


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           117NL-H4F4 1" COMP X
           FIP ADAPTER LO                                                                   $0.00                                   $64.12


           DR96DIPSNS 6" DR9
           DIPS HDPE FUSION                                                                 $0.00                                 $200.00


           WS-4-12 4" X 12" WALL
           SLEEVE WITH W                                                                    $0.00                                 $265.04


           DWVTYLS44 4" DWV
           SCH40 LONG RADIUS                                                                $0.00                                    $-8.09


           WWTCLA-4 1" X 4'
           SERVICE BOX CLEANI                                                               $0.00                                   $42.28


           DWVCOA8S 8" PVC
           DWV CLEANOUT
           ADAPTE                                                                           $0.00                                   $42.73


           CBPCOV2 A806 CURB
           BOX LID FOR 2" UP                                                                $0.00                                   $63.68


           LANERED4815 48" x
           15" LANE HDPE EC                                                                 $0.00                                 $475.00


           75-33055 TLC 1-1/4" PP
           MIP X IPS CO                                                                     $0.00                                   $12.50


           HXBLT058.350Z 5/8" x
           3-1/2" Zinc Pl                                                                   $0.00                                   $25.20


           75-6963 PHILMAC 3/4"
           COMPRESSION CT                                                                   $0.00                                   $15.17


           H15505N-050X075 1/2" X
           3/4", XS LEA                                                                     $0.00                                   $31.62


           3B-50 RACI CASING
           SPACER FOR 3" DIP                                                                $0.00                                 $234.00


           428KTHDG0800 PIPE
           SUPPORT FOR 8" DI                                                                $0.00                                 $463.80


           442766P R-14 BONNET
           O-RING KENNEDY                                                                   $0.00                                   $34.98




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           NDS212BCBW 10" NDS
           ROUND VALVE BOX                                                                  $0.00                                   $44.68


           25824239 SHROUD FOR
           ACCULINX                                                                         $0.00                                   $54.60


           F202-1438-CC6 12" X 1
           1/2" CC TAP                                                                      $0.00                                   $58.53


           HYDRO601015FV 15"
           HYDRO GATE SERIE                                                                 $0.00                               $1,472.00


           TBLTF100550 1" X 5-1/2"
           SC1 FLUOROC                                                                      $0.00                                  $-48.00


           END SECTION BOLT
           1/2" x 8" LONG                                                                   $0.00                                     $1.30


           3501LB-16B 16"
           POWERSEAL LONG
           BARRE                                                                            $0.00                                 $990.80


           MUE280007 MUELLER
           5-1/4" BONNET BOL                                                                $0.00                                  $-43.55


           428KTHDG0400 PIPE
           SUPPORT FOR 4" DU                                                                $0.00                                 $131.82


           SBX-11 SYNTEC
           BIAXIAL GEOGRID 13.1'                                                            $0.00                                 $386.64


           TELESCO 1 1/4"MIP X IP                                                           $0.00                                   $49.06


           FX-40HS-12 FX-40HS
           NON WOVEN GEOTEX                                                                 $0.00                                 $227.50


           DR11 4"IPS X 2"IPS
           REDUCER ELECTROF                                                                 $0.00                                 $124.92


           801-212 SPEARS PVC80
           SOCKET REDUCIN                                                                   $0.00                                     $8.56


           94-3012 HARRINGTON
           12" ROUND FRAME                                                                  $0.00                                 $178.10


           SFAD12 12" SIGMA
           FLANGE ADAPTER                                                                   $0.00                                 $645.12



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           8" EMPIRE 95SSCI8 OFF
           SET STAINLESS                                                                    $0.00                                 $118.00


           809-040 4" PVC80 90
           DEGREE STREET B                                                                  $0.00                                   $12.54


           GA942BF-2X2 2"X2" GA
           942 COMB AIR V                                                                   $0.00                                 $980.64


           AERVOE1192 1192 3
           PACK COLLAPSIBLE                                                                 $0.00                                   $45.45


           FB1000-3NL 3/4" CORP
           CC X COMP, LOW                                                                   $0.00                                 $725.36


           FB1000-4NL 1" CORP
           CC X COMP, LOW L                                                                 $0.00                                 $150.62


           DR916DIPSGS 16" DR9
           DIPS HDPE GREE                                                                   $0.00                               $1,000.00


           200W11W 4" C509 RW
           FLANGED GATE VAL                                                                 $0.00                                 $203.56


           SDR35XDWVADAPT6 6"
           DWV SPIGOT TO 6                                                                  $0.00                                 $189.62


           SDR35XDWVADAPT10
           10" DWV SPIGOT TO                                                                $0.00                                 $190.46


           SHCS 3/8"x1-1/2" 3/8"
           SOCKET HEAD C                                                                    $0.00                                 $197.88


           COPPERHEAD 14" LITE
           DUTY TRACER WIR                                                                  $0.00                                   $59.37


           C45-45-NL 1" CTS
           COPPER
           COMPRESSION                                                                      $0.00                                   $53.56


           428KTHDG0600 6" GALV
           ADJUSTABLE PIP                                                                   $0.00                                   $71.90


           MOON5912A MOON 2"
           FEMALE CAM X MIP                                                                 $0.00                                     $6.42


           MOON5934A MOON 4"
           FEMALE CAM X FIP                                                                 $0.00                                     $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 120
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           117NL-B3M3 3/4"
           CAMPAK X 3/4" MIP A                                                              $0.00                                   $30.00


           861-005 PVC80 MIP 1/2"                                                           $0.00                                     $1.12


           3629-005 SPEARS 1/2"
           TRUE UNION BAL                                                                   $0.00                                   $15.90


           3629-010 SPEARS 1"
           TRUE UNION BALL                                                                  $0.00                                   $44.80


           H15214N-075 MUELLER
           3/4" LOW LEAD F                                                                  $0.00                                 $195.40


           FX35HS-4 FX35HS NON
           WOVEN GEOTEXTIL                                                                  $0.00                                 $225.60


           MOON595A4 4"
           ALUMINUM MALE CAM
           X MA                                                                             $0.00                                   $22.44


           MOON598A2 2"
           ALUMINUM DUST PLUG                                                               $0.00                                     $2.43


           P102-422 SPEARS 4" X
           3" DWV INCREAS                                                                   $0.00                                     $5.35


           AT-BK AQUA-TAP
           COUPON RETAINING
           PIL                                                                              $0.00                                 $275.00


           806-030LSF SPEARS
           PVC80 3" LONG SWE                                                                $0.00                                   $55.95


           HXBLTSS058X600
           316SS HEX BOLT 5/8"                                                              $0.00                                   $90.00


           429KTUHDG0800 8"
           ADJUSTABLE PIPE SU                                                               $0.00                                     $0.00


           F-110694 7/8" X 6" SS
           WEDGE ANCHOR                                                                     $0.00                                   $72.90


           137495 REHAU 3/4" - 1"
           MUNICIPEX CU                                                                     $0.00                                   $22.56




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 121
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           8" X 1/2" NPT TAPPED
           SERVICE SADDLE                                                                   $0.00                                   $61.02


           FLFL6-450 6" X 0'4-1/2"
           FLANGE X FL                                                                      $0.00                                 $272.76


           4" SOCK WRAP X 110'                                                              $0.00                                   $18.00


           BRT150X075NL 1-1/2" X
           3/4" LOW LEAD                                                                    $0.00                                   $33.28


           4" CI X SDR35
           ADAPTER HUB x HUB
           (P7                                                                              $0.00                                   $48.15


           4" HDPE x SDR35
           ADAPTER (P674)                                                                   $0.00                                   $77.99


           BR45-125NL 1-1/4"
           BRASS 45 BEND LOW                                                                $0.00                                   $17.22


           BR45150NL 1-1/2" 45
           BEND LOW LEAD B                                                                  $0.00                                   $21.58


           311NL-A6H7
           CAMBRIDGE BRASS
           1-1/2" C                                                                         $0.00                                 $157.27


           117NL-H3F3 3/4" FIP X
           CTS COMPRESSI                                                                    $0.00                                 $118.15


           H10033N-125 MUELLER
           LOW LEAD 1-1/4                                                                   $0.00                                   $53.39


           M0800113 CLOW 6"
           OPERATING NUT FOR                                                                $0.00                                   $28.00


           ACF ENVIROMENTAL
           SILT SACK 36" x 36                                                               $0.00                                   $42.00


           F1000-4NL 1" CORP,
           FORD LOW LEAD                                                                    $0.00                                   $78.11


           1.25" IPS DR11 X 1.25"
           PVC SCH 40 T                                                                     $0.00                                   $85.08


           MCD76104Q-075 3/4"
           LOW LEAD MCDONAL                                                                 $0.00                                   $67.23


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           252NL-H4H4 1" OPEN
           RIGHT BALL CURB                                                                  $0.00                                 $968.00


           FLO8852-10 1" PVC
           INSERT STIFFENER                                                                 $0.00                                     $2.92


           MCD76101Q-150 1/1-2"
           MCDONALD BALL                                                                    $0.00                               $1,674.53


           HXBLT078500SS 7/8" X
           5" HEX BOLT ST                                                                   $0.00                                 $142.80


           WTLF007QT1NL WATTS
           1" LOW LEAD LF00                                                                 $0.00                                 $100.46


           252NL-B4B4
           1"CAMBRIDGE
           CAMPAK X CAM                                                                     $0.00                                 $100.00


           ELECTROF90100 1" IPS
           DR11 90 DEGREE                                                                   $0.00                                   $18.70


           PEIPS1X100IDR9 1" X
           100' IDR DR 9 H                                                                  $0.00                                   $66.00


           MCD74753Q-125NL
           1-1/4" Q-CTS COMPR                                                               $0.00                                   $31.56


           75-112333 PHILMAC 3/4"
           3G CTS TEE                                                                       $0.00                                   $18.12


           351112BXB 12" SDR35
           11.25 DEGREE BE                                                                  $0.00                                   $76.71


           F1720-12 SPEARS 1-1/4"
           PVC WHITE SO                                                                     $0.00                                   $19.30


           C45-66NL FORD 1-1/2"
           LOW LEAD IPS X                                                                   $0.00                                     $0.00


           MCD717-204WC
           MCDONALD LOW LEAD
           STYL                                                                             $0.00                                 $514.68


           HAND25BAN 2.5"
           HANDWHEEL FOR
           HYDRAN                                                                           $0.00                                     $8.92



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                Name

           MCD74701B-22-200 2"
           CTS CORP STOP 4                                                                  $0.00                                 $219.22


           H15528N-100 MUELLER
           1" LOW LEAD BRA                                                                  $0.00                                   $37.67


           3121AS-4BX20 4"
           REPAIR CLAMP, ALL S                                                              $0.00                                   $85.74


           PHILMAC901CTS
           PHILMAC 1" CTS 90
           COM                                                                              $0.00                                     $5.43


           838-248 SPEARS 2" X
           3/4" SPIG X FIP                                                                  $0.00                                     $2.75


           252NL-H3H3 3/4" BALL
           CURB STOP, OPE                                                                   $0.00                                 $545.43


           NGDPPK06 6"
           NACIPGRIP
           MECHANICAL JO                                                                    $0.00                                 $195.51


           FL904DOM 4" FLANGE
           90 BEND DUCTILE                                                                  $0.00                                 $247.98


           301NL-M6H6
           CAMBRIDGE BRASS
           1-1/2" L                                                                         $0.00                                 $534.40


           BRCAPNST2.5 2.5" NST
           BRASS CAP AND                                                                    $0.00                                 $122.70


           TOTAL ECLIPSE #36-
           5'6" BURY, LOCKA                                                                 $0.00                                 $539.03


           DPCSS0800SDR35 8"
           DROP PIPE CLAMP F                                                                $0.00                                   $57.00


           TROY A25406/04 4"
           FLANGED FLAP VALV                                                                $0.00                                 $228.00


           PHIL75-617EC 1.54-1.69
           X 1.06-1.34                                                                      $0.00                                   $21.06


           MHEXT29150PE 29" X 1
           1/2" MANHOLE E                                                                   $0.00                                   $90.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 124
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                Name

           MHEXT292PE 29" X 2"
           MANHOLE EXTENSI                                                                  $0.00                                 $180.00


           471-00000480-203 SMITH
           BLAIR 4" PIP                                                                     $0.00                                   $96.54


           H15029N-100 MUELLER
           1" MIP X IPS CO                                                                  $0.00                                 $101.43


           K81HYDEXT605
           KENNEDY 60" K81
           HYDRAN                                                                           $0.00                                 $921.88


           CAM2F-SS 2"
           STAINLESS STEEL
           QUICK D                                                                          $0.00                                   $31.39


           CNL104 48" YARD
           HYDRANT WITH 1" FIP                                                              $0.00                                   $49.40


           CL52TRF12 12" CLASS
           52 TR FLEX REST                                                                  $0.00                               $3,813.81


           PRATTWAR10100531615
           0 1" AIR RELEASE                                                                 $0.00                               $1,350.00


           3413 DOUBLE STRAP
           SERVICE SADDLE 6"                                                                $0.00                                   $26.84


           BFT5X2 5 X 2 TAPPED
           BLIND FLANGE                                                                     $0.00                                 $250.00


           MUE529116 1-1/2"
           INSERTS FOR IPS PI                                                               $0.00                                     $6.18


           T0400178 110 NECK
           FLANGE BOLT ITEM#                                                                $0.00                                     $7.41


           210-0690SS 6"
           STRAIGHT COUPLING
           (6.                                                                              $0.00                                 $250.66


           210-0905SS 8"
           STRAIGHT COUPLING
           (9.                                                                              $0.00                                 $310.72


           MCD747541-22-1X075 1"
           CTS X 3/4"FEM                                                                    $0.00                                 $448.38



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 125
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                Name

           PHIL75-11888 2" CTS 90
           BEND PHILMAC                                                                     $0.00                                   $38.39


           PJD79A-500 1/4 X 500'
           ROLL TUBING M                                                                    $0.00                                 $300.00


           MCD5601LR4 4' 2-HOLE
           CURB BOX LESS                                                                    $0.00                                   $27.20


           MCD56045 LARGE
           BOTTOM ARCH CURB
           BOX                                                                              $0.00                               $1,030.80


           6" DWV MALE X HUB
           LP109-060                                                                        $0.00                                 $119.21


           MCD6138-125 1-1/4"
           STAINLESS STEEL                                                                  $0.00                                   $90.08


           MCD3892 2" X 3/4"
           HINGED SADDLES FN                                                                $0.00                                   $18.41


           2010MM-180L 8" MJ
           AWWA GATE VALVE,                                                                 $0.00                               $1,212.14


           B44-333-OR-QNL 3/4"
           OPEN RIGHT BALL                                                                  $0.00                                 $396.09


           B44-333-ORNL 3/4"
           OPEN RIGHT BALL S                                                                $0.00                                 $220.05


           FX45HS-15 15' X 360'
           FX45HS NON WOV                                                                   $0.00                                 $318.00


           200M14W8L 8" MJ RW
           GATE VALVE OPEN                                                                  $0.00                               $1,640.28


           MUE287166 A423 5-1/4"
           NON-DRAINING                                                                     $0.00                                 $312.58


           MULTI FIT 2"-16" VALVE
           BOX ADAPTOR,                                                                     $0.00                                   $21.00


           T0600124 GASKET FOR
           A EDDY HYDRANT,                                                                  $0.00                                     $3.26


           GALVBSH-200X075 2" x
           3/4" BUSHING G                                                                   $0.00                                   $16.58


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 126
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           RH412112 3/4" X 1"
           COMP CPLGS RED H                                                                 $0.00                                   $77.64


           317-00051406-000 4" x
           3/4" NPT SADD                                                                    $0.00                                   $46.46


           10RS08N 2" THREADED
           GATE VALVE, MAT                                                                  $0.00                                 $122.50


           SLC24 24" SIGMA PVC
           RESTRAINT                                                                        $0.00                                 $886.16


           FJC85-44NL 1" MIP X 1"
           IPPJ ADAPTER                                                                     $0.00                                   $62.14


           301NL-M4H4 1" MIP X
           COMPRESSION BAL                                                                  $0.00                               $1,049.09


           665-090504MJ-000 8" X
           4" MJ TAPPING                                                                    $0.00                                 $386.38


           AT-HA AQUA TAP HOLE
           SAW ADAPTER FOR                                                                  $0.00                                   $10.00


           DR11XSDR354ADAPT 4"
           DR11 DIPS HDPE                                                                   $0.00                                   $45.00


           MFSJ1ENCGAL
           METRON FARNIER
           SINGLE J                                                                         $0.00                                 $265.00


           CBROD3358 33" X 5/8"
           CURB BOX ROD S                                                                   $0.00                                 $954.48


           FAP14FFZINC 14"
           FLANGE ACCESSORY
           PA                                                                               $0.00                                 $160.00


           PXX14125C US SAWS
           PREMIUM DOS SEGGI                                                                $0.00                                 $129.50


           S13440-4 4" X 3/4" CC
           BRONZE SADDLE                                                                    $0.00                                   $56.58


           SIDR9125x100 1-1/4"
           SIDR9 POLY TUBI                                                                  $0.00                                   $59.50




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           HRPB62BHYDEXT512
           5-1/4" X 12" HYDRA                                                               $0.00                                 $262.20


           253NL-H4H4
           CAMBRIDGE BRASS 1"
           BALL                                                                             $0.00                                   $62.91


           BC44-444SW-OR-Q-NL
           1" BALL STYLE CU                                                                 $0.00                               $1,335.48


           AFC2500MRV12L 12"
           RW GATE VALVE OPE                                                                $0.00                               $1,548.43


           K10 K11 OR K12 LOCK
           NUT WITH ALLEN                                                                   $0.00                                     $5.90


           FB1000-7-Q-NL FORD 2"
           CC X COMP BAL                                                                    $0.00                                 $186.21


           TLD-4 4" TYLER UNION
           TUFGRIP REST                                                                     $0.00                                   $16.35


           MHEXT27.5X1.5PE
           27-1/2" X 1-1/2" PO                                                              $0.00                                 $425.00


           HXBLT078500Z 7/8" X
           5" HEX BOLT ZI                                                                   $0.00                                     $0.00


           TELSCO 2" MIP X IP
           COMPRESSION ADAP                                                                 $0.00                                     $0.00


           PASSONNO27824
           SAFETY FIRE HYDRANT                                                              $0.00                                   $42.98


           AER5021 AERVOE
           HAND-Y-CLEANING
           TOWE                                                                             $0.00                                   $19.35


           3121-10CX12
           POWERSEAL 10" (11.01-
           -                                                                                $0.00                                 $191.57


           3121-10CX16
           10"(11.04-11.44) X 16"                                                           $0.00                                 $220.14


           3121-12CX12
           POWERSEAL 12" (13.10-
           1                                                                                $0.00                                 $444.06



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           3121-12CX16
           12"(13.10-13.50) X 16"                                                           $0.00                                 $251.06


           3121-6Cx24 6" X 24"
           REPAIR CLAMP (6                                                                  $0.00                                 $261.41


           3121-6Cx8 6"(6.84-7.24)x
           8" REPAIR                                                                        $0.00                                   $85.50


           3121-8CX12 8" x 12"
           REPAIR CLAMP, (                                                                  $0.00                                 $882.36


           3121-8CX8 8"X
           8"(8.99-9.39) POWERSE                                                            $0.00                                   $67.50


           3121-8Cx16 8" x 16"
           REPAIR CLAMP (8                                                                  $0.00                                 $504.09


           3121AS-12CX12 12"
           (13.10-13.50) X 1                                                                $0.00                                 $393.02


           3121AS-4BX30 4"
           4.74-5.14" x 30" P                                                               $0.00                                 $192.00


           3121AS-6BX12
           POWERSEAL 6"
           6.56-6.96                                                                        $0.00                                 $266.40


           3121AS-6CX12 6"
           REPAIR CLAMP (6.84-                                                              $0.00                                 $532.80


           3121AS-8CX16 8"
           REPAIR CLAMP (8.99                                                               $0.00                                 $537.70


           3121AS-8Cx12 8"
           REPAIR CLAMP (8.99-                                                              $0.00                                 $627.46


           3121AS10CX12 10"
           (11.04-11.44) X 12                                                               $0.00                                 $613.01


           3121AS10CX16 10"
           (11.04 X 11.44) X                                                                $0.00                                 $234.82


           3121AS10CX24
           POWERSEAL 10"
           REPAIR C                                                                         $0.00                               $1,168.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 129
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           3121AS12CX16 12"
           (13.10-13.50) X 16                                                               $0.00                                 $535.58


           3131-4Bx12-100CC 4"
           REPAIR CLAMP (4                                                                  $0.00                                 $126.54


           3151W-.84x6PS 1/2" x 6"
           PATCH CLAMP                                                                      $0.00                                 $128.04


           3151W1.66X6PS 1 1/4
           (1.66) X 6" PO                                                                   $0.00                                   $81.00


           3153010030WA-PS
           1"(1.32) X 3" POWE                                                               $0.00                                   $45.02


           3232-6-C900 6"
           (7.17-7.35) POWERSEA                                                             $0.00                                 $178.72


           3401-8X2NPT 8" X
           2"NPT (8.63) POWER                                                               $0.00                                 $251.04


           3480MJCS-12CX6
           12"(13.20-13.60) X 6                                                             $0.00                                 $848.40


           349008F080AS
           POWERSEAL 8 X 8 ALL
           ST                                                                               $0.00                                 $335.52


           349016BX16 16" X 16"
           3490 ALL STAIN                                                                   $0.00                               $2,493.60


           3490ASMJ4C 4"
           (4.80-5.00) POWERSEAL                                                            $0.00                                 $474.24


           3501-3B 3" 3501
           COUPLING (3.80- 3.9                                                              $0.00                                 $126.00


           3501-4B 4" (4.80-5.10)
           POWERSEAL CA                                                                     $0.00                                 $131.58


           3501-6B 6" CAST
           COUPLIING (6.90- 7.                                                              $0.00                                   $84.38


           3501-8B 8" (9.05-9.45)
           POWERSEAL CA                                                                     $0.00                                 $213.30


           3506-4A POWERSEAL
           4" POWERMAX COUPL                                                                $0.00                                 $203.22


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           XXX-XX-XXXX 4"" (4.74) X
           12 REPAIR                                                                        $0.00                                   $80.59


           CL1-9.40 X 12 CL1
           REPAIR CLAMP (9.0                                                                $0.00                               $1,235.00


           6" INSERT-A-VALVE
           (VALVE INSERTION                                                                 $0.00                               $2,530.11


           ROM50116 16" ROMAC
           501 COUPLING                                                                     $0.00                                 $277.50


           3403040075HB 4" X
           3/4"CC BRONZE SAD                                                                $0.00                                     $0.00


           3403080075HB 8" X
           3/4"CC BRONZE SA                                                                 $0.00                                     $0.00


           34030801000HD 8" X
           1"CC BRONZE SAD                                                                  $0.00                                     $0.00


           DRE0118-308-009 1 1/2"
           X 3 DRESSER                                                                      $0.00                                   $75.31


           2000-0213-260 1-1/2"
           HYMAX COUPLING                                                                   $0.00                                 $216.51


           2000-0563-260 4"
           HYMAX COUPLING RAN                                                               $0.00                                 $514.52


           2000-0768-260 6"
           HYMAX WIDE RANGE C                                                               $0.00                                 $340.70


           2000-0984-260 8"
           HYMAX COUPLING RAN                                                               $0.00                                 $576.99


           DRE91-1138-001
           DRESSER 8" DIP X 1/2                                                             $0.00                                   $68.13


           2000-0433-260 3"
           HYMAX COUPLING LOW                                                               $0.00                                 $602.31


           6000-0840-150 1/2"
           COMPRESSION COUP                                                                 $0.00                                   $19.05


           6100-1050-150 TPS 3/4"
           COMP IP x MI                                                                     $0.00                                   $43.50


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           2200-0433-0563-260 3" X
           4" HYMAX RE                                                                      $0.00                                 $159.78


           2200-0563-0638-260
           KRAUSZ 4-5" HYMA                                                                 $0.00                                 $334.41


           RH414012 1" x 3/4" RH
           CPLG GRIP X F                                                                    $0.00                                 $179.08


           421-06560760-031 6"
           COUPLING, WIDE                                                                   $0.00                                 $490.14


           2200-0768-0984-260 8" X
           6" HYMAX CO                                                                      $0.00                                 $261.10


           hydro-flex 3000
           coupling 2.24"-2.5                                                               $0.00                                   $51.00


           REE1-2PVCWHEEL
           REED 1-2PVC CUTTER
           W                                                                                $0.00                                   $39.05


           REECUTWHEELLRG
           REED LARGE CUTTER
           WH                                                                               $0.00                                     $0.00


           REEDS36 44" PIPE
           SCRAPER, FOR 12"-                                                                $0.00                                 $130.31


           REED04391 T100 DRILL
           TAP, 1"CC THRE                                                                   $0.00                                 $150.96


           REEDT75 DRILL TAP,
           3/4"CC THREAD, #                                                                 $0.00                                 $227.42


           TRU364-9982 RWDS
           DUAL SIDED SOCKET                                                                $0.00                                   $46.00


           REELONGSPRING1Q
           REED LONG SPRING FO                                                              $0.00                                     $2.20


           REELONGSPRING2Q
           REED LONG SPRING FO                                                              $0.00                                     $4.10


           REEMC2 MC2 MINI
           CUTTER, 1/8"-15/16"                                                              $0.00                                   $23.62




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 132
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                   $10.04


           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                 $106.05


           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                   $26.31


           REEROLLERSQ REED
           ROLLERS FOR TC1Q                                                                 $0.00                                     $0.00


           REEROLLERSQP REED
           ROLLERS FOR TC 1Q                                                                $0.00                                     $0.00


           REERR3/4 REED RR3/4
           REROUNDING TOOL                                                                  $0.00                                   $26.94


           REERW12 12" PIPE
           WRENCH,HEAVY DUTY,                                                               $0.00                                   $20.55


           REERW14 14" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $46.06


           REESFPE1 REED POLY
           FLARE TOOL 1", #                                                                 $0.00                                   $93.55


           REESLIDEBAR REED
           SLIDING BAR FOR TC                                                               $0.00                                     $0.00


           REESM-LAROLLERS2Q
           REED SMALL & LARG                                                                $0.00                                     $0.00


           REESM-LAROLLERS3Q
           REED SMALL & LARG                                                                $0.00                                     $0.00


           REET20 T20 TUBING
           CUTTER, 5/8"- 2-1                                                                $0.00                                   $47.70


           REETC2Q 1/4" - 2-5/8"
           CUTTER QUICK                                                                     $0.00                                 $174.06


           REETC4Q REED
           CUTTER, QUICK
           RELEASE                                                                          $0.00                                 $178.12




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 133
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           REEUMW20P 12"
           UTILITY METER
           WRENCH                                                                           $0.00                                   $47.70


           REEZIPNUT1Q REED
           ZIP NUT FOR TC 1Q,                                                               $0.00                                     $0.00


           REEZIPNUT2Q REED
           ZIP NUT FOR 2Q, QP                                                               $0.00                                     $0.00


           REECSR2-R REED CSR2
           CRIMSTRATE STRA                                                                  $0.00                                 $354.21


           REEMH26 26"
           MANHOLE HOOKS,
           02301 RE                                                                         $0.00                                   $38.28


           REEMH36 36"
           MANHOLE HOOKS,
           #02303 R                                                                         $0.00                                  $-24.52


           REETC1SL REED 1" C
           AUTOMATIC CUTTER                                                                 $0.00                                   $21.22


           WWT18002 45" PIPE
           SCRAPER, FOR 13"                                                                 $0.00                                 $165.30


           REEHF2 REED 2"
           FLARING TOOL PN 0607                                                             $0.00                                   $73.37


           ALTHRD0756 3/4" X 6'
           ALL THREADED R                                                                   $0.00                                 $144.00


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                 $218.40


           ALTHRD1006 1" X 6'
           ALL THREADED ROD                                                                 $0.00                                   $56.34


           ALTHRD0756P 3/4" X 6'
           ALL THREADED                                                                     $0.00                                 $136.50


           SDR26/354 4" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                  $-14.52


           SDR26/356 6" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                $-278.46




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 134
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           SDR26/358 8" SDR26/35
           HEAVY WALL SE                                                                    $0.00                               $1,976.56


           SDR26/3510 10"
           SDR26/35 HEAVY WALL                                                              $0.00                               $2,537.50


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                 $151.90


           SDR354P 4" PVC SDR35
           PERFORATED SEW                                                                   $0.00                                 $303.80


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $630.13


           SDR356P 6" PVC SDR35
           PERFORATED SEW                                                                   $0.00                                 $116.69


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                               $1,925.56


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                               $1,838.48


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                               $1,319.08


           SDR3515 15" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $140.21


           SDR3518 18" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                               $1,346.52


           SDR3524 24" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $826.56


           SDR358P 8" SDR35
           PERF SEWER PIPE                                                                  $0.00                                 $125.58


           SDR35SW6P 6"
           SOLVENT WELD PERF
           PIPE                                                                             $0.00                                 $182.27




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 135
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                Name

           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                               $1,063.35


           SDR35SW6 6" PVC
           SDR35 BE 10' PIPE S                                                              $0.00                                   $16.57


           SDR35SW6PW WHITE 6"
           SDR35 SOLVENT W                                                                  $0.00                               $1,391.88


           DWVT88 8" X 8" DWV
           SCH40 TEE, D108                                                                  $0.00                                   $52.15


           PVCRECCOP4 4" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $36.71


           PVCRECCOP6 6" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $94.45


           PVCWATERSTOP10 10"
           PVC WATERSTOP VE                                                                 $0.00                                   $10.55


           PVCWATERSTOP12 12"
           PVC SDR35 WATERS                                                                 $0.00                                   $34.58


           PVCWATERSTOP4 4"
           PVC WATERSTOP VERT                                                               $0.00                                     $2.24


           PVCWATERSTOP6 6"
           PVC SDR35 WATERSTO                                                               $0.00                                   $12.42


           PVCWATERSTOP8 8"
           PVC SDR 35 WATERST                                                               $0.00                                   $25.80


           SDR26/35226BXB 6" 22
           DEGREE BEND HE                                                                   $0.00                                 $143.05


           SDR26/35454BXB 4" 45
           DEGREE BEND HE                                                                   $0.00                                   $19.05


           SDR26/35454BXP 4"
           SDR26/35 45 DEGRE                                                                $0.00                                 $158.33


           SDR26/35456BXB 6" 45
           DEGREE BEND HE                                                                   $0.00                                   $36.57


           SDR26/35456P 6"
           SDR26/35 45 BEND BE                                                              $0.00                                 $193.77



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 136
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                Name

           SDR26/35906BXB 6"
           SDR26/35 90 DEGRE                                                                $0.00                                 $131.73


           SDR26/3590BXB8 8"
           PVC SDR26/35 90 B                                                                $0.00                                 $316.02


           SDR26/35C8 8" SDR
           26/35 CAP HEAVY W                                                                $0.00                                   $29.49


           SDR26/35TY66 6"
           SDR26/35 TEE WYE HE                                                              $0.00                                 $161.02


           SDR26/35Y126 12" X 6"
           SDR26/35 WYE                                                                     $0.00                                 $138.77


           SDR26/35Y84 8" x 4"
           WYE HEAVY WALL                                                                   $0.00                                   $87.37


           SDR26/35Y86 8" x 6"
           WYE HEAVY WALL                                                                   $0.00                                 $682.22


           SDR3522BXB10 10" PVC
           SDR35 22-1/2 B                                                                   $0.00                                   $77.80


           SDR3522BXB12 12" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $101.45


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                 $252.55


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                 $195.12


           SDR3522BXB8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                 $170.50


           SDR3522BXP12 12" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $297.92


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                 $150.75


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                 $333.40


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $89.11



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 137
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                Name

           SDR3545BXB10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                 $219.31


           SDR3545BXB12 12" PVC
           SDR35 45 BEND                                                                    $0.00                                 $212.31


           SDR3545BXB15 15" PVC
           SDR35 45 BEND                                                                    $0.00                                 $237.70


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $109.08


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                 $332.15


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $253.53


           SDR3545BXP10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                 $144.06


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                     $4.46


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $535.08


           SDR3545BXP8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $269.10


           SDR354XSCH40DWV4
           4" PVC SDR35 SPIGO                                                               $0.00                                   $63.84


           SDR354XSCH40DWV4G
           G 4" BELL ADAPTER                                                                $0.00                                 $224.43


           SDR356XSCH40DWV4
           6" SDR35 SPIGOT X                                                                $0.00                                  $-40.96


           SDR356XSCH40DWV4G
           G 6" SDR35 x 4" D                                                                $0.00                                   $96.80


           SDR356XSCH40DWV6
           6" PVC SDR 35 SOCK                                                               $0.00                                 $146.27


           SDR356XSCH40DWV6G
           G 6" BELL ADAPTER                                                                $0.00                                 $329.53



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 138
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                Name

           SDR35900A6 6" SDR35
           X C900 ADAPTER                                                                   $0.00                                   $35.02


           SDR3590BXB10 10" PVC
           SDR35 90 BEND                                                                    $0.00                                 $106.77


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $31.21


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $252.52


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $158.73


           SDR3590BXP10 10" PVC
           SDR35 90 BEND                                                                    $0.00                                 $112.11


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $120.50


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $643.05


           SDR3590BXP8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $98.28


           SDR35CAP10 10" PVC
           SDR35 CAP G16010                                                                 $0.00                                 $101.31


           SDR35CAP12 12" PVC
           SDR35 CAP,G16012                                                                 $0.00                                 $152.20


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                 $176.17


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                 $143.98


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                 $178.13


           PVCCOP8 8" RAISED
           CLEAN-OUT PLUG, S                                                                $0.00                                 $198.27


           SDR35JCTBX2H 2
           HOLED PVC SEWER
           JUNC                                                                             $0.00                                   $65.17


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 139
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SDR35JCTBX4H 4 HOLE
           PVC SEWER JUNCT                                                                  $0.00                                 $102.42


           SDR35JCTBXLS SOLID
           LIDS FOR 2 & 4 H                                                                 $0.00                                   $52.37


           SDR35JCTBXLG
           SQUARE GRATE FOR 2
           &4                                                                               $0.00                                   $59.31


           SDR35PLG10 10" PVC
           SDR35 PLUG G1161                                                                 $0.00                                   $87.54


           SDR35PLG12 12" PVC
           SDR35 PLUG G1161                                                                 $0.00                                 $104.62


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                   $43.47


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $59.26


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                 $170.81


           SDR35R106 10" X 6"
           PVC SDR35 REDUCE                                                                 $0.00                                   $89.84


           SDR35R108 10" X 8"
           SDR35 REDUCER L1                                                                 $0.00                                 $176.90


           SDR35R126 12 X 6 PVC
           SDR35 REDUCER                                                                    $0.00                                 $182.78


           SDR35R128 12" X 8"
           REDUCER PVC SDR3                                                                 $0.00                                 $104.78


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                   $18.73


           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                   $51.13


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                 $200.52




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 140
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                Name

           SDR35REPCPLG10 10"
           SDR35 REPAIR COU                                                                 $0.00                                   $92.23


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                 $133.94


           SDR35REPCPLG4 4"
           SDR35 REPAIR COUPL                                                               $0.00                                 $134.79


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $61.18


           SDR35REPCPLG8 8"
           SDR35 REPAIR COUPL                                                               $0.00                                  $-62.34


           SDR35SCPLG4 4"
           SDR35 STOP COUPLING                                                              $0.00                                 $189.94


           SDR35SCPLG6 6"
           SDR35 STOP COUPLING                                                              $0.00                                 $452.70


           SDR35SCPLG8 8"
           SDR35 STOP COUPLING                                                              $0.00                                 $124.68


           SDR35T106 10" X 6"
           PVC SDR35 TEE G1                                                                 $0.00                                   $85.93


           SDR35T1212 12" X 12"
           PVC SDR35 TEE                                                                    $0.00                                 $601.65


           SDR35T124 12" X 4"
           PVC SDR35 TEE G1                                                                 $0.00                                 $103.32


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $48.18


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                 $101.02


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                   $98.74


           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                 $154.41


           SDR35T86 8" X 6" PVC
           SDR35 TEE G108                                                                   $0.00                                   $26.91



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 141
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                Name

           SDR35T88 8" X 8" PVC
           SDR35 TEE G108                                                                   $0.00                                   $76.37


           SDR35TY106 10" X 6"
           TEE- WYE SDR35                                                                   $0.00                                 $129.30


           SDR35TY124 12" X 4"
           DR35 TEE WYE L1                                                                  $0.00                                 $121.33


           SDR35TY126 12" X 6"
           SDR35 TEE-WYE L                                                                  $0.00                               $1,344.23


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                 $448.52


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                 $165.24


           SDR35TY66 6" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                  $-72.26


           SDR35TY84 8" X 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                 $136.46


           SDR35TY86 8" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                 $130.18


           SDR35Y106 10" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                   $79.99


           SDR35Y126 12" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $116.83


           SDR35Y154 15" X 4"
           PVCSDR35 WYE L30                                                                 $0.00                                 $170.91


           SDR35Y156 15" X 6"
           PVC SDR35 WYE L3                                                                 $0.00                                 $204.70


           SDR35Y2415 24X15
           SDR35 WYE                                                                        $0.00                                 $850.74


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                 $188.06


           SDR35Y64 6" X 4" PVC
           SDR35 WYE G306                                                                   $0.00                                   $69.35



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                Name

           SDR35Y66 6" X 6" PVC
           SDR35 WYE G306                                                                   $0.00                                 $117.79


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                 $232.81


           SDR35Y86 8" X 6" PVC
           SDR35 WYE G308                                                                   $0.00                                 $154.25


           SDR35Y88 8" X 8" PVC
           SDR35 WYE G308                                                                   $0.00                                   $53.79


           SWEET AIR STRAIGHT
           MUSHROOM CAP                                                                     $0.00                                   $37.82


           PVCCOA4S 4" SDR35
           CLEANOUT ADAPTER                                                                 $0.00                                   $70.85


           351112BXS 12" SDR35
           11.25 DEGREE BE                                                                  $0.00                                 $202.90


           SDR352WCOT6 6" SDR
           35 2-WAY CLEANOU                                                                 $0.00                                 $108.46


           SDR35116BXP SDR35 6"
           11-1/4 BEND BX                                                                   $0.00                                 $229.40


           SDR3511BXB6 SDR35 6"
           11-1/4 BEND BX                                                                   $0.00                                 $194.11


           SDR35SW4512 12"
           SDR35 45 B X B SOLV                                                              $0.00                                   $85.98


           SDR35906SWEEP 6"
           SDR35 90 DEGREE SW                                                               $0.00                                 $143.78


           SDR26Y86NP 8" X 6"
           SDR26 WYE NON P                                                                  $0.00                                 $106.55


           sfcb2-hrs 15"x58"
           specified fittin                                                                 $0.00                                 $336.00


           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                 $904.80




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           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                 $330.60


           NOR6P 6"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                   $44.00


           NOR6S 6" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                 $233.70


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $5.91


           6" DWV SPIGOT X 6"
           SDR35 SOCKET ADA                                                                 $0.00                                   $78.55


           NORTY6 6" X 6"
           TEE-WYE SOLVENT
           WEL                                                                              $0.00                                   $26.21


           P1948 4x6x6
           DOWNSPOUT ADAPTER
           CORRU                                                                            $0.00                                 $124.86


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $90.44


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                 $191.08


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $62.05


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                 $116.19


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                   $11.97


           V-106 6" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                   $61.14




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           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                   $23.25


           V-1104 4" PVC TEE WYE
           SEWER AND DRA                                                                    $0.00                                   $11.46


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $21.99


           V-1704 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                  $-12.23


           V-1806 6" PVC DRAIN
           GRATE SEWER AND                                                                  $0.00                                   $55.64


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                   $75.21


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $69.60


           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                   $31.55


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                     $1.81


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $42.69


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                   $35.71


           V-706 6" 22 DEGREE
           BEND SEWER AND D                                                                 $0.00                                   $34.78


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $10.47


           V-806 6" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $41.05


           V-8064 6" X 4" PVC TEE
           SEWER AND DR                                                                     $0.00                                   $19.40


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $27.72



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           V-906 6" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $42.02


           V-1714 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                     $8.39


           SV904 4" SOIL PIPE 90
           BEND                                                                             $0.00                                   $30.02


           SVBP250 2 1/2"BRASS
           CLEANOUT PLUG                                                                    $0.00                                 $361.70


           SVBP3 3" BRASS
           CLEANOUT PLUG                                                                    $0.00                                   $35.19


           SVBP4 4" BRASS
           CLEANOUT PLUG                                                                    $0.00                                   $12.92


           SVBP6 6" BRASS
           CLEANOUT PLUG ONLY
           J                                                                                $0.00                                   $59.96


           SVBPC350 3 1/2 BP
           COUNTER SUNK HEAD                                                                $0.00                                   $41.57


           SVCOF10 10" SV
           FERRULE W/ PLUG                                                                  $0.00                                 $556.36


           SVCOF3 3" SV CI
           CLEAN-OUT WITH BRA                                                               $0.00                                   $78.17


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                 $165.75


           SVF4 4" FERRULE
           ONLY                                                                             $0.00                                   $17.00


           SVG10 10" SV GASKET                                                              $0.00                                   $56.47


           SVG12 12" SV GASKET                                                              $0.00                                   $12.02


           SVG2 2" SV GASKET                                                                $0.00                                     $3.14


           SVG3 3" SV GASKET                                                                $0.00                                   $20.58


           SVG4 4" SV GASKETS                                                               $0.00                                     $7.74


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           SVG5 5" SV GASKETS                                                               $0.00                                   $10.80


           SVPTRAP4 4" SV
           P-TRAP                                                                           $0.00                                 $150.11


           SVY66 6" X 6" SOIL PIPE
           WYE                                                                              $0.00                                 $317.82


           BRP6R BRASS
           CLEANOUT,PLUG
           ONLY, REC                                                                        $0.00                                 $120.96


           NHCPLG10 10" NO HUB
           CPLG                                                                             $0.00                                   $15.65


           NHCPLG150 1 1/2"
           NO-HUB COUPLING                                                                  $0.00                                 $600.89


           NHCPLG32 3 X 2
           NO-HUB COUPLING                                                                  $0.00                                   $70.03


           NHCPLG5 5" NO HUB
           COUPLING                                                                         $0.00                                   $79.95


           NHCPLG8 8" NO HUB
           SOIL CPLG                                                                        $0.00                                 $154.08


           DWV1804 4" PVC DWV
           BEND 180 P/N 780                                                                 $0.00                                   $42.26


           DWV221.5 1 1/2 PVC
           DWV SCH 40 22 1/                                                                 $0.00                                     $0.97


           DWV223 3" PVC DWV 22
           BEND BXB P/N 7                                                                   $0.00                                     $8.91


           DWV224 4" DWV SCH40
           22.5 BEND,BELL                                                                   $0.00                                   $11.74


           DWV226 6" PVC DWV 22
           BEND, B X B P/                                                                   $0.00                                   $13.56


           DWV451.5 1-1/2" PVC
           DWV 45 BEND P/N                                                                  $0.00                                     $0.36


           DWV455 5" PVC DWV 45
           BEND BXB                                                                         $0.00                                     $0.00


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           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                   $51.36


           DWV458 8" PVC DWV 45
           BEND,P/N D508S                                                                   $0.00                                   $26.90


           DWV45BXP1.5 1 1/2"
           PVC DWV 45 BEND                                                                  $0.00                                     $3.40


           DWV45BXP6 6" PVC
           DWV 45 BEND B X S                                                                $0.00                                   $36.50


           DWV45BXS4 4" PVC
           DWV SCH40 45 BEND,                                                               $0.00                                   $29.36


           DWV901.25 1 1/4" PVC
           DWV 90 BEND P/                                                                   $0.00                                     $6.37


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                   $29.89


           DWVC6 6" PVC DWV
           SCH40 CAP, D1606                                                                 $0.00                                   $34.83


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $46.89


           DWVCOA4 4" PVC DWV
           CLEANOUT ADAPTER                                                                 $0.00                                   $14.69


           DWVCOP4 4" PVC DWV
           CLEANOUT PLUG 71                                                                 $0.00                                   $36.28


           DWVCOP6 6"
           CLEANOUT PLUG DWV
           PART#                                                                            $0.00                                     $5.79


           DWVCPLG3 3" PVC
           DWV COUPLINGS P/N 7                                                              $0.00                                     $0.82


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                   $18.02


           DWVCPLG6 6" PVC
           DWV SCH40 COUPLING                                                               $0.00                                  $-35.01




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           DWVFA4 4" PVC DWV
           SCH40 FEMALE ADAP                                                                $0.00                                   $40.15


           DWVFA6 6" PVC DWV
           ADAPTER FEMALE X                                                                 $0.00                                   $12.34


           DWVLTTY33 3" DWV
           LONG TURN TEE WYE                                                                $0.00                                     $7.19


           DWVLTY44 4" X 4" PVC
           DWV LONG TURN                                                                    $0.00                                 $178.84


           DWVMA2 2" PVC DWV
           MALE ADAPTER P/N                                                                 $0.00                                     $0.44


           DWVRED64 6" X 4" PVC
           DWV REDUCER P/                                                                   $0.00                                   $38.83


           DWVT2.5 2 1/2" PVC
           DWV TEE                                                                          $0.00                                   $20.78


           DWVT2150 2 X 1 1/2"
           PVC DWV TEE P/N                                                                  $0.00                                   $17.46


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $38.78


           DWVT66 6" X 6" PVC
           DWV TEE,P/N D106                                                                 $0.00                                   $31.06


           DWVTY22 2" PVC DWV
           TEE-WYE, P/N 725                                                                 $0.00                                     $0.93


           DWVTY32 3"X 2" PVC
           DWV TEE WYE P/N                                                                  $0.00                                   $20.32


           DWVTY33 3" PVC DWV
           TEE-WYE P/N 7253                                                                 $0.00                                     $2.46


           DWVTY44 4" PVC DWV
           TEE-WYE SCH40 D1                                                                 $0.00                                    $-4.51


           DWVY1.51.5 1-1/2" PVC
           DWV WYE P/N 7                                                                    $0.00                                   $17.42


           DWVY22 2" PVC DWV
           WYE,P/N 71020                                                                    $0.00                                     $1.14



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           DWVY44 4" PVC DWV
           SCH40 WYE, 71040,                                                                $0.00                                   $44.64


           DWVY64 6" X 4" SCH40
           PVC DWV WYE 71                                                                   $0.00                                   $24.62


           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                   $64.80


           G318-0004 GPK 4" DWV
           22 DEGREE BEND                                                                   $0.00                                 $184.85


           DWVBSH64 6 X 4 PVC
           DWV REDUCER BUSH                                                                 $0.00                                     $9.71


           DWV1806 6" PVC DWV
           180 DEGREE BEND                                                                  $0.00                                   $45.40


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                   $44.90


           D278 8" DWV STREET
           90 BEND                                                                          $0.00                                 $113.28


           DWV454LS 4" DWV 45
           BEND, BELL X BEL                                                                 $0.00                                   $47.17


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $212.00


           HWY6S 6" X 100' SOLID
           CORRUGATED HD                                                                    $0.00                                 $424.00


           HDLT000620S0 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $480.00


           HDLT000820S0 8"
           SOLID LOKTITE HDPE                                                               $0.00                                 $124.00


           HDLT001020SO 10"
           SOLID LOKTITE HDPE                                                               $0.00                                 $704.00


           HDLT004820S0 48"
           SOLID LOKTITE HDPE                                                               $0.00                                 $953.00


           HWY4S250 4" x 250'
           SOLID CORRUGATED                                                                 $0.00                                   $97.50


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           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                               $1,350.00


           HDLT000420S0 4"
           SMOOTH WALL SOLID
           H                                                                                $0.00                                 $192.00


           MARMAC30 30"
           MARMAC COUPLING                                                                  $0.00                                 $144.50


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                                 $740.80


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                               $5,058.54


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                               $1,567.80


           HDLT001820S0R 18"
           SOLID LOKTITE HDP                                                                $0.00                               $1,136.20


           HDLT000420S0R 4"
           SOLID LOKTITE PIPE                                                               $0.00                                   $22.00


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $781.20


           HDLT000820S0R 8"
           SOLID HDPE LOKTITE                                                               $0.00                                   $57.60


           HDLT001020SOR 10"
           SOLID LOKTITE HDP                                                                $0.00                                 $163.60


           HDLT003020S0R 30"
           SOLID LOKTITE HDP                                                                $0.00                               $3,780.00


           HDLT000620SPR 6"
           PERFORATED LOKTITE                                                               $0.00                                 $148.80


           JMEC15 15" JM EAGLE
           CORR SMOOTH INT                                                                  $0.00                                 $121.40


           JMEC30 30" CORR
           SMOOTH INTERIOR
           COR                                                                              $0.00                               $1,209.60




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           JMEC24R 24" CORR
           SOLID CORRUGATED D                                                               $0.00                                 $281.20


           JMEC15R 15" CORR
           SOLID CORRUGATED D                                                               $0.00                                 $121.40


           HWY6PSR 6" X 100'
           PERF WITH SOCK CO                                                                $0.00                                 $127.00


           HWY4PSR 4" X 250'
           PERFORATED WITH S                                                                $0.00                                 $137.50


           RG08 8" RAT GUARD
           ZINC COATED                                                                      $0.00                                     $6.92


           HWY4PR 4" X 250'
           PERFORATED F405 CO                                                               $0.00                                 $555.00


           HWY4SR 4" X 250'
           SOLID CORRUGATED H                                                               $0.00                                 $277.50


           HWY6PR 6" x 100"
           PERFORATED F2648 C                                                               $0.00                                   $99.00


           RG12 12" RAT GUARD
           ZINC COATED                                                                      $0.00                                   $28.62


           HANHCEPO HANCOR
           HIGH CAPACITY ENVIR                                                              $0.00                                   $14.84


           HANHCEPC HANCOR
           HIGH CAPACITY ENVIR                                                              $0.00                                 $163.24


           HANHC20 HANCOR
           HIGH CAPACITY H20 EN                                                             $0.00                                   $34.98


           HANSTDEPO HANCOR
           STD ENVIROCHAMBER                                                                $0.00                                 $203.52


           4" SPEED LEVELERS                                                                $0.00                                   $13.93


           HWYSCPLG8 8" HDPE
           SNAP COUPLING                                                                    $0.00                                   $24.05


           LANET126 12" X 6"
           HDPE REDUCER TEE                                                                 $0.00                                   $78.60




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           LANET86 8" X 6"
           REDUCER TEE HDPE                                                                 $0.00                                   $44.80


           LANEY64 6" X 4" HDPE
           REDUCER WYE LA                                                                   $0.00                                   $62.80


           LANE456 6" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $25.96


           LANE4512 12" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $98.56


           LANE454 4" HDPE 45
           DEGREE BEND                                                                      $0.00                                     $7.70


           LANE4530 LANE 30"
           HDPE 45 BEND                                                                     $0.00                                 $575.92


           LANESADT124 12" X 4"
           HDPE SADDLE TE                                                                   $0.00                                   $34.44


           LANESADT156 LANE
           15" X 6" HDPE SADD                                                               $0.00                                 $100.20


           LANECR2418 LANE 24"
           X 18" HDPE CROS                                                                  $0.00                                 $338.66


           LANECR2412 LANE 24"
           X 12" HDPE CROS                                                                  $0.00                                 $334.38


           LANECPLG24 24" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $118.00


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $72.80


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $115.50


           LANECPLG36 36" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $159.90


           HWYICPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                     $3.34


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                   $63.56


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           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $59.60


           HWYT64 6" X 4" HDPE
           MOLDED SINGLE W                                                                  $0.00                                   $64.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $39.24


           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                   $40.00


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                   $31.23


           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                   $78.10


           LANET88 8" HDPE TEE                                                              $0.00                                   $73.35


           HWY904 4" HDPE
           MOLDED SINGLE WALL
           H                                                                                $0.00                                   $34.72


           HWYBT6 6" HDPE
           MOLDED SINGLE WALL
           B                                                                                $0.00                                   $16.36


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $51.26


           LANECPLG10 10" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $49.32


           ADSES24 24" END
           SECTION                                                                          $0.00                                 $357.00


           LANEY6 6" X 6" HDPE
           WYE                                                                              $0.00                                   $49.83


           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                    $-3.80


           ADSES18 18" END
           SECTION                                                                          $0.00                                 $417.00




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           HWYCAP8 8" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $29.20


           ADSES30/36 30" AND
           36" END SECTION                                                                  $0.00                               $2,640.00


           LANEY44 4" HDPE WYE
           LANE                                                                             $0.00                                   $27.30


           LANE2210 LANE 10"
           HDPE 22-1/2 BEND                                                                 $0.00                                 $142.80


           LANE9010 10" 90 BEND
           HDPE                                                                             $0.00                                   $37.75


           LANES18 LANE 18"
           HDPE END SECTION                                                                 $0.00                                 $417.00


           LANE228 LANE 8" HDPE
           22-1/2 BEND                                                                      $0.00                                   $50.31


           LANERED124 12" X 4"
           HDPE REDUCER                                                                     $0.00                                   $44.66


           LANE226 6" HDPE
           22-1/2 BEND                                                                      $0.00                                   $57.40


           LANE904 4" HDPE 90
           BEND DOUBLE WALL                                                                 $0.00                                     $8.09


           HWYCAP10 10" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $57.34


           HWYY64 6x6,5 OR 4
           HDPE MOLDED SINGL                                                                $0.00                                  $-28.59


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                    $-6.30


           HWY454 4" SINGLE
           WALL 45 BEND                                                                     $0.00                                   $15.40


           LANEDSA34 3" X 4" X 4"
           DOWNSPOUT AD                                                                     $0.00                                   $18.00


           LANE4548 48" LANE
           HDPE 45 BEND                                                                     $0.00                                 $805.04



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           LANEY246 24" X 6"
           LANE HDPE REDUCE                                                                 $0.00                                 $181.88


           LANEY3024 LANE 30" X
           24" HDPE CPP R                                                                   $0.00                                 $639.60


           LANECAP6 6" HDPE
           END CAP                                                                          $0.00                                   $11.60


           CRIMPTOOL CRIMPING
           TOOL FOR MAR-MA                                                                  $0.00                                 $300.00


           Q4EQ36 QUICK 4
           EQUALIZER 36
           CHAMBER                                                                          $0.00                                 $105.60


           TW-RISER6 24" X 6"
           HIGH RISER FOR                                                                   $0.00                                   $16.80


           TW-RISER12 24" X 12"
           HIGH RISER FO                                                                    $0.00                                 $139.40


           TW-RISER18 24" X 18"
           HIGH RISER FO                                                                    $0.00                                   $33.66


           Q4+EQ36LP
           INFILTRATOR QUICK4
           PLUS E                                                                           $0.00                                 $881.84


           Q4+A1E INFILTRATOR
           QUICK 4 PLUS ALL                                                                 $0.00                                 $119.84


           LANEDSA234 2" X 3" X
           4" DOWNSPOUT A                                                                   $0.00                                 $210.00


           MARMAC6 6" MARMAC
           COUPLING                                                                         $0.00                                   $88.05


           IM1060-2P 1060 GAL
           SEPTIC TANK 2 C                                                                  $0.00                                 $665.00


           MARMAC48 48"
           MARMAC COUPLING                                                                  $0.00                                 $112.63


           9329212-12-HAN 12X12
           INLINE DRAIN                                                                     $0.00                                 $246.40




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           SECRED128 12" x 8"
           HDPE REDUCER SOU                                                                 $0.00                                   $41.00


           LANESTRAP 30"-36"
           END SECTION STRAP                                                                $0.00                                   $87.50


           SFINLINE12G 12"
           INLINE DRAIN WITH                                                                $0.00                                 $250.00


           specified fittings 12"
           catch basin                                                                      $0.00                                 $260.00


           LANE4524 24" HDPE 45
           DEGREE BEND                                                                      $0.00                                 $184.32


           AL18GAP6 6"
           ALUMINUM PIPE PERF
           18GA                                                                             $0.00                               $3,841.92


           AL14GAS15 15"
           ALUMINUM PIPE SOLID
           1                                                                                $0.00                                 $440.68


           AL14GAS24 24"
           ALUMINUM PIPE SOLID
           1                                                                                $0.00                                 $637.00


           ALCPLG24 24" ALUM
           SPIRAL COUPLING                                                                  $0.00                                   $36.35


           ALRRCPLG12 12"
           ALUMINUM REROLLED
           CO                                                                               $0.00                                   $18.66


           ALRRCPLG15 15" AL
           REROLLED COUPLING                                                                $0.00                                   $34.11


           ALRRCPLG18 18" AL
           REROLLED COUPLING                                                                $0.00                                 $105.76


           ALRRCPLG24 24" AL
           REROLLED COUPLING                                                                $0.00                                   $63.70


           ALRRCPLG30 30" AL
           REROLLED COUPLING                                                                $0.00                                 $351.45


           ALRRCPLG21 21" AL
           REROLLED COUPLING                                                                $0.00                                   $67.65



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           ALRRCPLG36 36" AL
           REROLLED COUPLING                                                                $0.00                                 $139.86


           ALRRCPLG48 48" 8ga
           Corrugated Alumi                                                                 $0.00                                 $225.00


           ALUMINUMES18 18" AL
           END SECTION                                                                      $0.00                                 $320.00


           CM16GAS15 15" 16
           GAUGE CORRUGATED
           M                                                                                $0.00                                 $217.00


           CM16GAS18 18" 16
           GAUGE, CORRUGATED                                                                $0.00                               $1,305.00


           CM16GAP24 24" 16GA
           PERF CMP                                                                         $0.00                                 $315.00


           CMRRCPLGC30 30"
           CORRUGATED
           RE-ROLLE                                                                         $0.00                                     $0.00


           CMSCPLG10 10"
           CORRUGATED DIMPLE
           COU                                                                              $0.00                                     $9.05


           CMRRCPLG12 12"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $28.50


           CMRRCPLG15 15"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $84.00


           CMRRCPLG36 36"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $63.00


           CMDIMCPLG15 15"
           CORRUGATED DIMPLE
           C                                                                                $0.00                                   $24.00


           CMSPLITCPLG10 10"
           CORRUGATED SPLIT                                                                 $0.00                                 $668.25


           CMSLIPCPLG8 8"
           CORRUGATED SLIP ON
           C                                                                                $0.00                                   $14.50



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 158
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                Name

           CMRRCPLGC12 12"
           CORR RE-ROLLED
           COUP                                                                             $0.00                                     $0.00


           CMRRCPLGC15 15"
           CORRUGATED
           RE-ROLLE                                                                         $0.00                                     $0.00


           CMRRCPLGC24 24"
           CORRUGATED
           RE-ROLLE                                                                         $0.00                                     $0.00


           CMSLIPCPLG10 10"
           CORRUGATED SLIP CO                                                               $0.00                                   $18.10


           CMDIMCPLG42 42"
           CORRUGATED DIMPLE
           C                                                                                $0.00                                   $67.60


           CMDIMCPLG48 48"
           DIMPLE COUPLING                                                                  $0.00                                 $134.20


           CMRRCPLGC42 42" CM
           REROLLED COATED                                                                  $0.00                                 $103.36


           CMRRCPLG54 - 54"
           CMP REROLLED COUPL                                                               $0.00                                   $36.19


           CMES12 12"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                   $41.50


           CMES42 42" 12GA END
           SECTION CORR                                                                     $0.00                               $1,800.00


           CMES54 54" 12 GA
           GALVANIZED
           CORRUGA                                                                          $0.00                               $1,211.00


           CMSTRAP12 12"END
           SECTION STRAP                                                                    $0.00                                 $116.10


           CMSTRAP15 15"
           STRAP FOR CMES15                                                                 $0.00                                 $179.08


           CMSTRAP18 18" STRAP
           FOR METAL END S                                                                  $0.00                                   $78.32




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 159
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           SAFETY SLOPE END
           SECTION 18" 1:6                                                                  $0.00                                 $460.00


           CMPY86 8 X 6 CMP WYE                                                             $0.00                                   $82.00


           CMRED86 8X6 CORR.
           METAL RED.                                                                       $0.00                                   $25.00


           15" cmp hood                                                                     $0.00                                 $386.00


           RCP125 12" CL5
           CONCRETE PIPE                                                                    $0.00                                 $580.00


           RCP155 15" CL5
           CONCRETE PIPE                                                                    $0.00                                 $219.44


           CLAY44 4" CLAY
           O-RING 4 FT LENGTHS                                                              $0.00                               $1,020.00


           CLAY126 12" CLAY
           O-RING 6 FT LENGTH                                                               $0.00                                 $124.20


           CLAY42 4" X 2' CLAY
           PIPE                                                                             $0.00                                 $180.00


           01-44 4X4 CLAY/CLAY
           COUPLING                                                                         $0.00                                   $29.62


           01-66 6" X 6"
           CLAY/CLAY COUPLING                                                               $0.00                                   $15.83


           01-86 8 X 6 CLAY/CLAY
           COUPLING                                                                         $0.00                                   $27.23


           01-88 8" X 8"
           CLAY/CLAY COUPLING                                                               $0.00                                   $48.72


           01-1010 10 X 10
           CLAY/CLAY COUPLING                                                               $0.00                                   $16.93


           01-1212 12" X 12"
           CLAY/CLAY COUPLIN                                                                $0.00                                   $79.04


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $81.38




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 160
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           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $61.61


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $51.64


           02-65 6X5 CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $55.43


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $241.09


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $54.46


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $154.50


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $92.80


           02-1210 12" CLAY TO
           10" CI OR PVC R                                                                  $0.00                                   $24.86


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $54.15


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                 $225.79


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                 $142.79


           02-2121 21 X 21 CLAY/CI
           PLAS COUPLI                                                                      $0.00                                 $418.08


           02-2424 24" X 24"
           CLAY/CI,PLAS COUP                                                                $0.00                                 $383.20


           03-44 4 X 4 CLAY/AC,DI
           COUPLING                                                                         $0.00                                     $7.40


           03-66 6 X 6 CLAY/AC,DI
           COUPLING                                                                         $0.00                                   $22.57


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 161
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           03-88 8" CLAY/DI
           RUBBER COUPLING                                                                  $0.00                                   $24.36


           04-1212 12 X 12
           CONC/CONC COUPLING                                                               $0.00                                 $130.74


           06-88 8 X 8
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $36.54


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $92.55


           51-64 6 X 4
           AC,DI/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.61


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                     $7.94


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                 $158.33


           51-1010 10"
           AC-DI/CI-PLAS
           COUPLING                                                                         $0.00                                 $118.50


           55-44 4" X 4"
           AC,DI/AC,DI COUPLING                                                             $0.00                                   $37.02


           55-66 6" AC,DI TO AC,DI
           COUPLING                                                                         $0.00                                     $8.31


           55-88 8" X 8"
           AC,DI/AC,DI COUPLING                                                             $0.00                                   $25.58


           55-1010 10" X 10"
           AC,DI/AC,DI COUPL                                                                $0.00                                   $17.34


           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $12.16


           56-32 3" X 2"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $20.25


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $57.65


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 162
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           56-42 4" X 2" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $23.90


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $44.30


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                 $128.33


           56-55 5" X 5"
           CI,PVC/CI,PVC COUPLIN                                                            $0.00                                   $17.41


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $47.16


           56-65 6X5
           CI,PLAS/CI,PLAS
           COUPLING                                                                         $0.00                                     $9.11


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                 $200.91


           56-84 8 X 4
           CI,PLAS/CI,PLAS
           COUPLIN                                                                          $0.00                                 $115.03


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $81.89


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                 $103.03


           56-108 10" X 8"
           CI,PLAS/CI,PLAS CO                                                               $0.00                                   $37.08


           56-125 1-1/4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $8.82


           56-150 1.5 X 1.5
           CI,PLAS/CI,PLAS CO                                                               $0.00                                   $44.90


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                 $170.14


           56-1210 12" X 10"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $43.77


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 163
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           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $108.30


           56-1515 15" X 15"
           CI,PLAS/CI,PLAS C                                                                $0.00                                 $161.28


           56-1818 18" X 18"
           CI,PLAS/CI,PLAS C                                                                $0.00                                 $285.58


           56-2424 24" X 24"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $383.20


           1002-54 5" CLAY X 4"
           PVC/CI RUBBER                                                                    $0.00                                   $19.35


           1070-44 4" X 4"
           CORRUGATED HDPE X
           P                                                                                $0.00                                   $78.32


           1070-66 6" X 6"
           CORRUGATED HDPE X
           P                                                                                $0.00                                   $27.92


           1070-88 8" X 8"
           CORRUGATED HDPE X
           P                                                                                $0.00                                   $85.83


           FERDSC43 4" X 3"
           DOWN SPOUT
           CONNECT                                                                          $0.00                                     $6.69


           QC2 2" RUBBER SEAL
           CAPS (QUICK CAP                                                                  $0.00                                     $9.56


           QC-103 3" RUBBER
           SEAL CAPS (QUICK C                                                               $0.00                                   $12.11


           QC4 4" RUBBER SEAL
           CAPS(QUICK CAPS)                                                                 $0.00                                   $15.50


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                   $56.76


           QC-108 8" RUBBER
           SEAL CAP (QUICK CA                                                               $0.00                                   $43.01


           51-1515 15" A/C or DI X
           15" PVC RUB                                                                      $0.00                                 $230.42


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           06-1818 18" CONCRETE
           TO CI/SDR35 RU                                                                   $0.00                                   $71.40


           55-65 6" AC,DI TO 5"
           AC,DI COUPLING                                                                   $0.00                                   $30.15


           1056-66RC 6"
           CI/PLASTIC x 6" CI/ PL                                                           $0.00                                   $32.53


           FP-P46 MULTI SURFACE
           REPAIR KIT                                                                       $0.00                                   $18.00


           1056-44RC 4"
           CI/PLASTIC x 4" CI/ PL                                                           $0.00                                   $17.08


           1002-44RC 4" STRONG
           BACK COUPLING                                                                    $0.00                                   $50.07


           1056-88RC 8"
           STRONGBACK RC
           COUPLING                                                                         $0.00                                   $96.60


           1056-44SR 4" X 4" PVC x
           PVC COUPLIN                                                                      $0.00                                 $114.65


           1056-66SR 6" x 6" PVC x
           PVC COUPLIN                                                                      $0.00                                 $112.65


           1056-88SR 8" X 8"
           CI/PLAS X CI/PLAS                                                                $0.00                                   $71.82


           1002-44SR 4" x 4"
           CLAY/PVC, C.I COU                                                                $0.00                                 $169.82


           1002-66SR 6" x 6"
           CI/PVC-CLAY COUPL                                                                $0.00                                   $56.30


           QL-300 3" QWIK 90
           BEND                                                                             $0.00                                   $26.14


           QL-400 4" QWIK 90
           BEND                                                                             $0.00                                   $19.51


           QT-200 2" QWIK TEE                                                               $0.00                                   $11.21


           1056-64SR 6" X 4"
           PVC/CI X PVC/CI W                                                                $0.00                                   $19.68


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           QL-200 2" QUIK 90
           DEGREE ELBOW                                                                     $0.00                                     $8.80


           44U-405 4" FERNCO
           DONUT PVC X SV                                                                   $0.00                                     $9.83


           1002-88SR 8" x 8"
           CLAY-PVC RUBBER C                                                                $0.00                                   $24.28


           56-3150 3" X 1 1/2"
           CI,PLAS/CI, PLA                                                                  $0.00                                   $10.70


           MARMAC10 10"
           MARMAC COUPLING                                                                  $0.00                                 $144.60


           MARMACSPECIAL 24.5 -
           21.90 SPECIAL                                                                    $0.00                                 $145.70


           WNTP3 3" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                     $5.38


           WNTP4 4" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $58.00


           WNTP6 6" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $53.50


           WNTP8 8" WING NUT
           TEST PLUG A-080                                                                  $0.00                                   $26.41


           WNTP12 12" WING NUT
           TEST PLUG A-120                                                                  $0.00                                   $94.30


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $61.75


           CHE262-080 8"
           MUNI-BALL WITH WITH
           B                                                                                $0.00                                 $138.60


           CHE041-386 8" TEST
           BALL PLUG CHERNE                                                                 $0.00                                 $208.60


           CHE270-067 6" TEST
           BALL PLUG CHERNE                                                                 $0.00                                 $238.48




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           CHE262-064 6"
           MUNI-BALL WITH BY
           PAS                                                                              $0.00                                 $221.20


           CHE270-040 4" TEST
           BALL PLUG CHERNE                                                                 $0.00                                   $23.88


           CHE270-288 8" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                   $70.50


           CHE262-129 12"
           MUNI-BALL PLUG WITH                                                              $0.00                                 $516.60


           CHE262-110 10"
           MUNI-BALL WITH BP CH                                                             $0.00                                 $183.40


           CHE262-048 4"
           MUNI-BALL WITH
           BRASS                                                                            $0.00                                   $93.80


           CHE041-394 10" TEST
           BALL PLUG, CHER                                                                  $0.00                                 $169.40


           TCTP6 6" T-CONE TEST
           PLUG ST-601Y                                                                     $0.00                                   $32.20


           CHE270-229 CHERNE 2"
           INSIDE GRIPPER                                                                   $0.00                                     $5.52


           SSBANDING12 1 1/4" X
           .044 STAINLES                                                                    $0.00                                   $72.18


           SSBANDING24 1 1/4" X
           .044 STAINLES                                                                    $0.00                                  $-18.80


           SSBANDING30 1 1/4" X
           .044 STAINLES                                                                    $0.00                                   $72.00


           SSBANDING18 1 1/4" X
           .044 STAINLESS                                                                   $0.00                                   $57.20


           SSANCHOR 1/2" DROP
           IN ANCHOR SYSTEM                                                                 $0.00                                  $-16.00


           NPL NON-POP LIDS
           NPR600                                                                           $0.00                                 $480.00




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           SG019 SEALGUARD
           STATIC MIXER SG-MXP                                                              $0.00                                   $46.50


           602-04 LANSAS 4"
           INSIDE GRIPPER PLU                                                               $0.00                                   $64.68


           SSBANDING125 1 1/4"
           X .044 STAINLE                                                                   $0.00                                   $35.00


           MF-4 PIPE
           CONNECTOR- FOR TR1
           TUF-TI                                                                           $0.00                                   $10.45


           NDS101 6" ROUND
           CATCH BASIN WITH SI                                                              $0.00                                   $10.34


           NDS1050 10" ROUND
           GRATE GREEN FOR 8                                                                $0.00                                   $24.03


           NDS111BCS NDS 10"
           ROUND BOX, BLACK                                                                 $0.00                                   $66.63


           NDS1211 12" SQUARE
           GRATE, PLASTIC,                                                                  $0.00                                 $137.23


           NDS1213 12" x 12"
           CAST IRON GRATE N                                                                $0.00                                 $161.50


           NDS1216 NDS 12" x 12"
           x 6" CATCH BA                                                                    $0.00                                   $44.19


           NDS1230 12 X 12 LOW
           PROFILE ADAPTOR                                                                  $0.00                                   $35.48


           NDS1243 4" GRATE
           OUTLET (UNIVERSAL                                                                $0.00                                     $7.47


           NDS1245 3"-4" OFFSET,
           UNIVERSAL LOC                                                                    $0.00                                   $16.00


           NDS1266 6" UNIVERSAL
           ADAPTER NDS                                                                      $0.00                                     $8.96


           NDS13 4" ROUND
           GREEN GRATE, NDS                                                                 $0.00                                   $10.92


           NDS1800 18" #1800
           EXPANDABLE CATCH                                                                 $0.00                                 $330.97


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           NDS1811 18" #1811
           BLACK GRATE, NDS                                                                 $0.00                                 $178.07


           NDS1816 NDS 6"
           EXTENSION RISER FOR                                                              $0.00                                 $450.32


           NDS1888 NDS 8"
           UNIVERSAL LOCKING
           OU                                                                               $0.00                                   $65.27


           NDS229 STAINLESS
           STEEL SCREWS FH, #                                                               $0.00                               $1,871.10


           NDS234 SPEE-D 3" & 4"
           SEWER & DRAIN                                                                    $0.00                                 $114.52


           NDS243 SPEE-D
           CHANNEL GRATE,
           BLACK,                                                                           $0.00                                 $248.62


           NDS247 SPEE-D END
           CAP GREY                                                                         $0.00                                   $52.70


           NDS248 SPEE-D
           CHANNEL COUPLING
           GREY                                                                             $0.00                                 $119.80


           NDS249 3"& 4" OFFSET
           END OUTLET                                                                       $0.00                                   $10.38


           NDS400CD #400 NDS
           SPEE-D CHANNEL DR                                                                $0.00                                 $212.22


           NDS475P 4" PVC
           BACKWATER VALVE
           D010                                                                             $0.00                                   $32.78


           NDS50 6" ROUND
           GRATE GREEN FOR 6"
           S                                                                                $0.00                                   $60.62


           NDS675P 6" PVC
           BACKWATER VALVE,
           NDS                                                                              $0.00                                 $141.14


           NDS918B NDS 6"
           ROUND BRASS GRATE                                                                $0.00                                 $699.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 169
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           POLDBOX POLYLOCK
           DBOX 3017 DISTRIB                                                                $0.00                                   $30.00


           POLYCOVER24 24"
           HEAVY DUTY COVER, 3                                                              $0.00                                   $28.85


           POLYGRATE12 12"
           POLYLOK GRATE                                                                    $0.00                                  $-23.00


           TR1-D4 MALE END
           DRAIN FOR TR1 TRENC                                                              $0.00                                     $7.50


           TR1-GCF TUF-TITE
           GENDER CHANGER, M                                                                $0.00                                   $12.00


           TR1-GCM TUF-TITE
           GENDER CHANGER, F                                                                $0.00                                     $6.00


           NDS500 NDS 6' MINI
           SPEE-D CHANNEL D                                                                 $0.00                                 $150.75


           12LN6LN 12" HDPE
           DUAL WALL X 6" HDP                                                               $0.00                                 $204.04


           12P3530P925 12" inserta
           tee sdr-35                                                                       $0.00                                 $236.00


           DFW-4TC 4" FLEXIBLE
           SADDLE TEE WITH                                                                  $0.00                                 $181.30


           DFW-4YC 4" FLEXIBLE
           SEWER SADDLE WY                                                                  $0.00                                   $68.50


           DFW-6TC 6" FLEXIBLE
           SEWER SADDLE TE                                                                  $0.00                                   $41.09


           DFW-6YC 6" FLEXIBLE
           SADDLE WYE TSW-                                                                  $0.00                                   $95.52


           GENECOSAD424 4X24
           GENECO SADDLE                                                                    $0.00                                 $593.86


           INSERTATEE486 48"
           LANE TO 6" LANE I                                                                $0.00                                 $404.10


           ROMACSADDLE4L
           4X14-24 ROMAC
           SADDLE                                                                           $0.00                                 $676.72


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 170
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           ROMACSADDLE6L
           ROMAC 6 X 14-24
           SADDL                                                                            $0.00                                 $425.56


           ROMACSADDLE6S
           ROMAC 6 X 8-12
           SADDLE                                                                           $0.00                                 $267.30


           ROMACSTRAPL 14-24"
           ROMAC STRAP ONLY                                                                 $0.00                                   $34.25


           ROMACSTRAPS
           STRAPS FOR ROMAC
           SADDLE                                                                           $0.00                                   $25.43


           ROMGSKT4.215 4.215
           ROMAC GASKET ONL                                                                 $0.00                                 $106.69


           LV2548 LEBARON
           LV2548 CURB INLET                                                                $0.00                                 $309.75


           LK121F LEBARON
           LKI21 4 FLANGE FRAM                                                              $0.00                                 $109.00


           LK121G LEBARON
           LK121 GRATE ONLY                                                                 $0.00                                 $125.00


           1396FGHD 1396 HEAVY
           DUTY FRAME & GR                                                                  $0.00                               $2,310.00


           GF23408 GENERAL
           FOUNDRIES 30" X 48"                                                              $0.00                                 $356.00


           GF132SC 32" MH
           COVER ONLY MARKED
           SE                                                                               $0.00                                 $445.50


           GF33024 GENERAL
           FOUNDRIES VALVE BO                                                               $0.00                                   $32.00


           IND1032FLTGRT 1032
           24" FLAT GRATE                                                                   $0.00                                   $69.25


           IND1032FRM 1032 24" X
           7" ROUND FRAM                                                                    $0.00                                 $757.80


           IND1032PLNCOV 1032
           24" UNVENTED PLA                                                                 $0.00                                   $83.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 171
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           IND1396F 1396 26"
           SQUARE FRAME ONLY                                                                $0.00                                 $625.00


           GF22617-6 30" X 48" 6"
           CURB INLET F                                                                     $0.00                               $6,766.00


           MH918F 24" x 8" ROUND
           FRAME ONLY 12                                                                    $0.00                                 $222.00


           GF12441F 24" X 4"
           ROUND FRAME ONLY                                                                 $0.00                                 $552.00


           GF12461F 24" X 6"
           ROUND FRAME ONLY                                                                 $0.00                                 $417.00


           GF22532 24" X 24"
           FRAME AND SQUARE                                                                 $0.00                                 $568.00


           GF22532G 24" X 24"
           SQUARE HOLE GRAT                                                                 $0.00                                   $95.00


           GF22633-6 30" X 36" 6"
           CURB INLET F                                                                     $0.00                                 $576.00


           GF24940 2" EXTENSION
           FOR 30" X 48"                                                                    $0.00                                 $520.00


           SIGMA VB2607-S
           PHOENIX CLEANOUT
           MAR                                                                              $0.00                                   $29.25


           GF11081 8" CLEAN
           OUT, GENERAL FOUND                                                               $0.00                                 $180.00


           GF36701 2-1/2" INSIDE
           REPAIR LID                                                                       $0.00                                   $10.00


           GF12641F 26" x 4"
           FRAME ONLY                                                                       $0.00                                 $179.00


           MHEXT242 24" X 2"
           CAST IRON MANHOLE                                                                $0.00                                 $570.00


           MHEXT261 26" x 1"
           MANHOLE EXTENSION                                                                $0.00                                  $-65.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 172
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                Name

           MHEXT26150 26" X
           1-1/2" CAST IRON M                                                               $0.00                                 $225.00


           MHEXT24150PE 24" X
           1-1/2" HIGH POLY                                                                 $0.00                               $1,275.00


           MHEXT242PE 24" X 2"
           HIGH POLYETHYLE                                                                  $0.00                                 $375.00


           MHEXT24150 24" X
           1-1/2" MANHOLE EXT                                                               $0.00                                 $160.00


           MHEXT261PE 26" X 1"
           HIGH POLYETHYLE                                                                  $0.00                                   $75.00


           MHEXT262PE 26" X 2"
           HIGH POLYETHYLE                                                                  $0.00                                   $75.00


           MHEXT241 24" X 1"
           MANHOLE RISER STE                                                                $0.00                               $1,100.00


           MHEXT291PE 29" X 1"
           HIGH POLYETHYEN                                                                  $0.00                                 $160.00


           2501000 3 PIECE CURB
           INLET COMPLETE                                                                   $0.00                                 $795.00


           TREEGRATE60 60"2-PC
           SQUARE TREE GRA                                                                  $0.00                                 $220.00


           FABRICATED MANHOLE
           COVER 23.25" X 1                                                                 $0.00                                 $200.00


           SC1007AF SC1007A 3"
           SYRACUSE CASTIN                                                                  $0.00                                   $94.00


           SC1009-4F SC1009 4"
           SYRACUSE CASTIN                                                                  $0.00                                 $126.00


           SC1009ALBST
           SYRACUSE CASTINGS
           1009                                                                             $0.00                                 $184.00


           SC1009BETHCOV 1009
           BETHLEHEM SEWER                                                                  $0.00                                 $276.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 173
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                Name

           SC1009COLCOV
           SYRACUSE CASTINGS
           1009                                                                             $0.00                               $1,062.00


           SC1009FG 26"
           1009/1203 FLAT GRATE
           1                                                                                $0.00                                 $350.55


           SC1009GREENPORTCO
           V SC1009 SYRACUSE                                                                $0.00                                 $368.00


           SC1009GUILDCOV
           SYRACUSE CASTINGS
           GU                                                                               $0.00                                 $472.00


           SC1009NISKCOV 1009
           NISKAYUNA SEWER                                                                  $0.00                                 $184.00


           SC1009PCU PLAIN
           COVER UNVENTED 1204                                                              $0.00                                $-168.00


           SC1009PCV 1009 PLAIN
           VENTED COVER                                                                     $0.00                                 $276.00


           SC1009SCU SYRACUSE
           CASTINGS 1203 SE                                                                 $0.00                                   $88.00


           SC1009SCV 1009
           SEWER COVER VENTED
           1                                                                                $0.00                                 $158.00


           SC1009STSC
           SYRACUSE CASTINGS
           1009                                                                             $0.00                                 $176.40


           SC1012AF 1012A
           ROUND FRAME, 32" X 6                                                             $0.00                                 $308.00


           SC1012BF SYRACUSE
           CASTINGS 1012B RO                                                                $0.00                                 $560.00


           SC1012SARCOV
           SYRACUSE CASTINGS
           1012                                                                             $0.00                                 $504.00


           SC1012SCU SYRACUSE
           CASTINGS 1012 CO                                                                 $0.00                                 $336.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 174
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                Name

           SC1032SCU SYRACUSE
           CASTINGS 1032 CO                                                                 $0.00                                   $92.00


           SC22G #22 SYRACUSE
           CASTINGS GALVINI                                                                 $0.00                                 $217.00


           SC2816BBP 2816B
           SYRACUSE CASTINGS
           F                                                                                $0.00                                $-271.95


           SC2816BF SYRACUSE
           CASTINGS 2816B SQ                                                                $0.00                                 $324.00


           SC2915LFG #2915L
           SYRACUSE CASTINGS                                                                $0.00                                 $876.00


           SC3015 SYRACUSE
           CASTINGS 3015 SEWER                                                              $0.00                                 $948.00


           SC3015-3F SYRACUSE
           CASTINGS 3015 FR                                                                 $0.00                                 $316.00


           SC4155 CLEANOUT
           FRAME & COVER 4155                                                               $0.00                                 $320.00


           SC1396F SYRACUSE
           CASTINGS 1396 FRAM                                                               $0.00                                 $102.00


           SC3015-4 SYR
           CASTINGS 3015 24 X 4 S                                                           $0.00                               $1,580.00


           SC4155F CLEANOUT
           FRAME ONLY 4155                                                                  $0.00                                   $40.00


           SC4155SC 4155 SEWER
           CLEANOUT COVER                                                                   $0.00                                   $20.00


           SC2531 CURB INLET
           FRAME AND GRATE                                                                  $0.00                               $1,076.00


           SC3072A 3072A
           TRAFFIC SIGNAL BOX                                                               $0.00                                 $110.00


           sc1009hudson syracuse
           castings 1009                                                                    $0.00                                 $438.00


           EJ7010 EAST JORDAN
           7010 CURB INLET                                                                  $0.00                                 $415.00


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           HANICPLG8 8" HANCOR
           INTERNAL CPLG                                                                    $0.00                                   $27.27


           BAU4 4" SOLID
           SMOOTH BELL END
           HDPE                                                                             $0.00                                 $344.40


           BAU10 10" BAUGHMAN
           SMOOTH,SOLID,BEL                                                                 $0.00                                 $220.20


           BAU24 24" SMOOTH,
           SOLID BELL END, H                                                                $0.00                                 $589.20


           BAU24P 24"
           BAUGHMAN
           PERFORATED BELL                                                                  $0.00                                 $294.60


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $46.68


           RBLHP LONGHANDLE
           POINTED SHOVEL UNI                                                               $0.00                                 $283.50


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $93.36


           RBTRAC TRACK SPADE
           UNI 47103                                                                        $0.00                                   $95.08


           UNI1160100 60" PINCH
           POINT CROW BAR                                                                   $0.00                                 $119.96


           UNI62-217 Union WH45
           Weed/Soybean H                                                                   $0.00                                   $12.55


           UNI63-122 16 TOOTH
           ROAD/STONE RAKE                                                                  $0.00                                   $40.19


           UNI63-125 ASPHALT
           RAKE 15 1/2 X 4                                                                  $0.00                                 $325.78


           UNI90-312 RAKE
           HANDLE                                                                           $0.00                                   $24.23


           UNI2594500 14GA
           FIBERGLASS SHOVEL R                                                              $0.00                                 $138.95




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                Name

           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $59.98


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $71.12


           000-00038420-069 1/2"
           CTS X IPS ADA                                                                    $0.00                                   $18.41


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                     $9.50


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $46.16


           000-00038423-069 1-1/4
           CTS X IPS AD                                                                     $0.00                                   $11.40


           226-00037512-000 3" X
           12-1/2" REPAI                                                                    $0.00                                   $78.03


           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                 $340.56


           226-00048015-000 4" X
           15" REPAIR CL                                                                    $0.00                                 $102.71


           226-00066312-000 6" X
           12-1/2" REPAI                                                                    $0.00                                 $193.32


           226-00069007-000 6" X
           7" REPAIR CLA                                                                    $0.00                                 $122.60


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                               $1,139.70


           226-00069015-001 6" X
           15" REPAIR CL                                                                    $0.00                                 $145.24


           226-00086312-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $113.98


           226-00090507-000 8" X
           7" REPAIR CLA                                                                    $0.00                                 $146.72


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $587.30



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 177
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           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $419.91


           226-00090520-000 8" X
           20" REPAIR CL                                                                    $0.00                                 $193.90


           226-00111012-000 10" X
           12-1/2" REPA                                                                     $0.00                                 $416.04


           226-00132007-000 12" x
           7-1/2" REPAI                                                                     $0.00                                 $216.89


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $324.12


           226-00132015-000 12" X
           15" REPAIR C                                                                     $0.00                                 $201.38


           238-069012-007 6" X
           12-1/2" X 3/4"                                                                   $0.00                                 $132.35


           238-069012-009 6" X 12-
           1/2" X 1"CC                                                                      $0.00                                 $132.35


           238-069015-009 6" X 15"
           X 1"CC REPA                                                                      $0.00                                 $298.94


           238-090512-007 8" X
           12-1/2" X 3/4"C                                                                  $0.00                                 $153.23


           238-111012-007 SMITH
           BLAIR 10" x 12                                                                   $0.00                                 $176.08


           244-00010503-000 SMITH
           BLAIR 3/4" X                                                                     $0.00                                   $18.67


           244-00013203-000 1" X
           3" (1.32)OD S                                                                    $0.00                                   $19.75


           244-00019006-000 1-1/2"
           X 6" REPAIR                                                                      $0.00                                  $-41.03


           244-00023806-000 2" X
           6" REPAIR CLA                                                                    $0.00                                 $126.28


           245-00008403-000 1/2" X
           3" 0.84 OD                                                                       $0.00                                   $10.66



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           245-00008406-000 1/2" X
           6" (0.84)OD                                                                      $0.00                                 $127.82


           245-00010503-000 3/4" X
           3" 1.05 OD                                                                       $0.00                                   $27.16


           245-00010506-000 SMITH
           BLAIR 3/4" X                                                                     $0.00                                   $81.04


           245-00013203-000 SMITH
           BLAIR 1" X 3                                                                     $0.00                                   $23.74


           245-00013206-000 1" X
           6" 1.32 OD RE                                                                    $0.00                                   $43.16


           245-00016606-000 1 1/4"
           X 6" 1.66 O                                                                      $0.00                                   $90.95


           245-00019003-000 SMITH
           BLAIR 1-1/2"                                                                     $0.00                                   $13.10


           261-00023807-000 2" x
           7-1/2" REPAIR                                                                    $0.00                                   $92.20


           261-00048012-000 4" X
           12-1/2" REPAI                                                                    $0.00                                 $272.04


           261-00066312-000 6" x
           12-1/2" REPAI                                                                    $0.00                                 $109.45


           261-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $331.32


           261-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $364.77


           261-00090512-000 8" X
           12-1/2"REPAIR                                                                    $0.00                                 $772.14


           261-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $295.89


           261-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $397.52


           264-69012-007 6" X
           12-1/2" X 3/4"CC                                                                 $0.00                                 $145.93



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           264-90512-009 8" X
           12-1/2" X 1"CC (                                                                 $0.00                                 $165.59


           274-00000380-000
           274-1023 SMITH BLA                                                               $0.00                                 $106.92


           274-00000480-000 4"
           CLAMP, 274-1031                                                                  $0.00                                 $110.09


           274-00000690-000
           274-1049 6" CLAMP                                                                $0.00                                 $363.72


           274-00000905-000 8"
           BELL JOINT LEAK                                                                  $0.00                                 $502.58


           274-00001110-000 10"
           BELL JOINT LEA                                                                   $0.00                                 $210.50


           313-8632CC RW313
           7.75-8.63 2"CC                                                                   $0.00                                 $103.84


           313-00076007-000 SMITH
           BLAIR 6" X 3                                                                     $0.00                                   $56.02


           313-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                   $28.01


           313-00076014-000 SMITH
           BLAIR 6" X 2                                                                     $0.00                                   $72.53


           313-00101009-000 8" X
           1"CC SADDLE (                                                                    $0.00                                 $128.47


           313-00101015-000 8" X
           2"CC SADDLE (                                                                    $0.00                                   $40.06


           313-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                   $60.33


           317-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                 $107.04


           317-00076013-000 6" X
           1-1/2"CC SADD                                                                    $0.00                                 $174.36


           317-00076015-000 6" X
           2" CC SADDLE                                                                     $0.00                                 $128.28



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 180
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           317-00101007-000 8" X
           3/4"CC SADDLE                                                                    $0.00                                 $316.15


           317-00101009-000 8" X
           1"CC SADDLE (                                                                    $0.00                                 $632.30


           317-00101015-000 8" X
           2"CC SADDLE (                                                                    $0.00                                 $223.95


           317-00121207-000 10" X
           3/4"CC SADDL                                                                     $0.00                                 $150.30


           317-00143213-000 12" X
           1-1/2"CC SAD                                                                     $0.00                                   $93.67


           323-096112-000 323-1537
           8"x1-1/2"IP                                                                      $0.00                                 $196.68


           331-00053207-000 4" X
           3/4"CC (4.79-                                                                    $0.00                                 $101.51


           411-00008401-003 1/2"
           .84 OD STEEL                                                                     $0.00                                   $18.85


           411-00010501-003 3/4"
           1.05 OD STEEL                                                                    $0.00                                   $89.22


           411-90086301-003 8"
           8.63 OD STEEL C                                                                  $0.00                                 $103.09


           411-90107501-003 SMITH
           BLAIR 10" 10                                                                     $0.00                                 $126.54


           413-19921950-703 18"
           (19.82-20.00)                                                                    $0.00                               $1,047.69


           413-26322580-703 24"
           26.22-26.40 X                                                                    $0.00                                 $671.01


           441-00000510-900 4"
           COUPLING (4.80-                                                                  $0.00                                 $401.17


           441-00000722-900 6"
           COUPLING (6.90-                                                                  $0.00                                 $220.50


           441-00000945-900 8"
           COUPLING (9.05-                                                                  $0.00                               $1,022.01



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 181
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           441-00001350-900 12"
           COUPLING (13.2                                                                   $0.00                                 $310.64


           441-00001780-900 16"
           COUPLING (17.4                                                                   $0.00                                 $694.98


           441-21369-045 SMITH
           BLAIR 3" 441-21                                                                  $0.00                                   $98.93


           441-33830-069 RW441
           (3.80-3.96) GAS                                                                  $0.00                                 $153.63


           441-33832-069 16"
           SMITH-BLAIR 441 B                                                                $0.00                                   $46.54


           441-05100450-900
           TRANS 4" 4.80-5.10                                                               $0.00                                 $561.83


           441-07220510-900 6" X
           4" REDUCING C                                                                    $0.00                                 $236.68


           441-09450722-900 8" X
           6"(9.05-9.45)                                                                    $0.00                                 $301.17


           441-09850945-900 8"
           (9.46-9.85) X (                                                                  $0.00                                   $91.09


           482-00051006-900 4"
           END CAP COUPLIN                                                                  $0.00                                 $405.91


           482-00072206-900 6"
           END CAP COUPLIN                                                                  $0.00                                 $539.43


           525-00008400-003 SMITH
           BLAIR 1/2" .                                                                     $0.00                                   $19.79


           525-00013200-003 1"
           COMPRESSION COU                                                                  $0.00                                   $38.99


           525-00019000-003 1-1/2"
           COMPRESSION                                                                      $0.00                                   $19.12


           525-00023800-003 2"
           COMPRESSION COU                                                                  $0.00                                   $23.72


           662-11101000-200 10 X
           10" (11.03-11                                                                    $0.00                                 $778.18



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 182
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           663-06900600-200 6" X
           6" TAPPING SL                                                                    $0.00                                 $415.49


           663-09050600-000 8" X
           6" TAPPING SL                                                                    $0.00                                 $433.06


           663-13200800-000 12" X
           8" TAPPING S                                                                     $0.00                                 $718.89


           663-21601200-000 SMITH
           BLAIR 20 x 1                                                                     $0.00                               $1,752.80


           912-90069006-000 SMITH
           BLAIR 6" (6.                                                                     $0.00                                 $152.65


           912-90091108-000 8"
           SMITH BLAIR (8.                                                                  $0.00                                 $209.53


           21345-245 482-21345 8"
           482 END CAP                                                                      $0.00                                 $165.45


           21347-245 482-21347 6"
           482 END CAP                                                                      $0.00                                   $37.30


           21348-045 SMITH BLAIR
           441-21348 6"                                                                     $0.00                                 $131.23


           21349-045 441-21349 6"
           RW441 (7.25)                                                                     $0.00                                   $43.74


           21350-045 SMITH BLAIR
           441-21350 8"                                                                     $0.00                                 $142.12


           21351-045 441-21351 8"
           RW441 (9.46)                                                                     $0.00                                   $28.42


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                 $212.72


           21355-045 441-21355
           RW441(10.75) 10                                                                  $0.00                                   $17.02


           21356-045 SMITH BLAIR
           441-21356 10"                                                                    $0.00                                 $153.22


           21357-045 441-21357 10"
           RW441 (11.6                                                                      $0.00                                   $34.05



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 183
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           21359-045 441-21359
           RW441(12.75) GL                                                                  $0.00                                   $22.99


           21360-045 SMITH BLAIR
           441-21360 12"                                                                    $0.00                                 $213.53


           21361-045 441-21361 12"
           GLAND, GRAY                                                                      $0.00                                   $12.63


           21368-045 441-21368
           SMITH BLAIR 3"                                                                   $0.00                                     $7.10


           21371-045 SMITH BLAIR
           441-21371 16"                                                                    $0.00                                   $22.79


           22393-045 SMITH BLAIR
           441-22393 6"                                                                     $0.00                                   $21.87


           22394-045 441-22394
           RW441(8.63) GLA                                                                  $0.00                                   $56.85


           SMB33412-069 20" 413
           GASKET, OD RA                                                                    $0.00                                     $8.65


           33801-069 441-33801
           RW441(6.00) GAS                                                                  $0.00                                 $122.49


           33803-069 441-33803 6"
           RW441(6.90)                                                                      $0.00                                   $22.27


           33804-069 441-33804 6"
           RW441 (7.25)                                                                     $0.00                                   $59.95


           33806-069 SMITH BLAIR
           441-33806 RW4                                                                    $0.00                                   $35.75


           33808-069 441-33808 8"
           GASKET GRAY                                                                      $0.00                                   $83.43


           33811-069 441-33811
           SMITH BLAIR RW4                                                                  $0.00                                 $144.87


           33812-069 SMITH BLAIR
           441-33812 4"                                                                     $0.00                                   $18.36


           33813-069 441-33813
           RW441(10.75) 10                                                                  $0.00                                   $16.33



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 184
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           33814-069 441-33814 10"
           RW441 (11.                                                                       $0.00                                 $130.66


           33815-069 SMITH BLAIR
           441-33815 10"                                                                    $0.00                                   $49.00


           33817-069 441-33817
           12" RW441(12.7                                                                   $0.00                                   $19.61


           33818-069 441-33818 12"
           GASKET GRAY                                                                      $0.00                                   $39.22


           33820-069 441-33820
           SMITH BLAIR RW4                                                                  $0.00                                   $18.21


           33831-069 441-33831
           RW441(3.97) GAS                                                                  $0.00                                   $17.73


           33833-060 Smith Blair
           413 Gasket On                                                                    $0.00                                   $49.46


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                   $83.43


           34028-069 18" Smith
           Blair Gaskets f                                                                  $0.00                                 $171.48


           34038-060 18"
           SMITH-BLAIR 413 GASK                                                             $0.00                                   $20.69


           55073-045 441-55130 8"
           441 ROCKWELL                                                                     $0.00                                   $63.71


           70079-090 1NPTX3/4NPT
           ROC PLASTIC R                                                                    $0.00                                   $76.20


           SMB90275-005 SMITH
           BLAIR 441-90275                                                                  $0.00                                     $9.21


           90276-002 437-90276
           RW437 5/8 X 13                                                                   $0.00                                   $13.43


           90281-000 SMITH-BLAIR
           441 5/8X8 STA                                                                    $0.00                                   $22.43


           90281-005 441-90281
           RW441 5/8X8 BOL                                                                  $0.00                                   $45.25



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 185
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           90413-005 5/8"x6"
           Smith-Blair Oval                                                                 $0.00                                   $62.61


           313-00090507-000 8" X
           3/4"CC SADDLE                                                                    $0.00                                   $30.26


           317-00076014-000 6" X
           2" NPT SADDLE                                                                    $0.00                                  $-64.14


           662-09050400-000 8" X
           4" TAPPING SL                                                                    $0.00                                 $313.35


           317-00101013-000 8" X
           1-1/2"CC SADD                                                                    $0.00                                 $136.84


           317-00143207-000 12" X
           3/4"CC SADDL                                                                     $0.00                                 $262.38


           317-00143208-000 SMITH
           BLAIR 12" X                                                                      $0.00                                   $87.46


           317-00101014-000 8" X
           2" NPT SADDLE                                                                    $0.00                                   $74.65


           317-00051414-000 4" X
           2" SADDLE NPT                                                                    $0.00                                 $112.20


           317-00101011-000 SMITH
           BLAIR 8" X 1                                                                     $0.00                                   $71.85


           317-00121209-000 10" X
           1"CC SADDLE                                                                      $0.00                                   $75.15


           317-00121214-000 10" X
           2"NPT SADDLE                                                                     $0.00                                 $174.34


           90281-205 5/8" X 8"
           FLUOROCARBON BO                                                                  $0.00                                     $5.76


           317-00051413-000 4" X
           1-1/2"CC SADD                                                                    $0.00                                 $152.10


           150115-002 5/8" SPRING
           WASHER, STAI                                                                     $0.00                                 $306.74


           244-00008406-000 SMITH
           BLAIR 1/2" X                                                                     $0.00                                 $314.10



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 186
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           238-069007-009 SMITH
           BLAIR 6" X 7"X                                                                   $0.00                                   $92.76


           622-09050800-203 8" X
           8" TAPPING SL                                                                    $0.00                                 $380.42


           622-32001200-003 30 X
           12" 622 SMITH                                                                    $0.00                                 $867.37


           622-06900600-203 SMITH
           BLAIR 6" X 6                                                                     $0.00                                 $298.97


           317-00069009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                   $53.52


           226-086315-001 8" X 15"
           REPAIR CLAM                                                                      $0.00                                 $168.39


           228-20178215-000
           SMITH-BLAIR 228 16                                                               $0.00                                 $458.16


           238-132015-007 SMITH
           BLAIR 12" X 15                                                                   $0.00                                 $487.22


           238-090507-009 8" x
           7-1/2" X 1"CC R                                                                  $0.00                                 $105.73


           238-066312-014
           6"X12-1/2"X2"NPT(6.5                                                             $0.00                                 $148.21


           238-132012-009 SMITH
           BLAIR 12" X 12                                                                   $0.00                                 $201.26


           244-00008806-001 3/4" X
           6" REPAIR C                                                                      $0.00                                 $190.40


           261-111015-000 SMITH
           BLAIR 10"X 15"                                                                   $0.00                                 $205.17


           262-00066315-000
           6"X15"(6.62-7.42)O                                                               $0.00                                 $212.08


           411-00055601-003
           5"(5.56)OD STEEL C                                                               $0.00                                 $171.02


           441-55152 8" 441 BODY
           ONLY                                                                             $0.00                                   $12.85



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 187
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           442-08630800-400
           68"(8.40-8.63)X(8.                                                               $0.00                                 $224.36


           442-10751000-400
           10"(10.50-10.75)X(                                                               $0.00                                 $257.04


           461-12751440-000
           12"(12.75-14.40)OD                                                               $0.00                                 $333.06


           313-00048008-000 SMITH
           BLAIR 4" X 1                                                                     $0.00                                   $22.97


           313-00216013-000 20" X
           1-1/2" CC (2                                                                     $0.00                                 $132.84


           313-045011-000
           4"X1-1/4"CC(4.40-4.5                                                             $0.00                                   $27.96


           663-11101000-200
           10"X10"(11.05-11.4                                                               $0.00                               $1,021.82


           663-13820600-000 12" X
           6" TAPPING S                                                                     $0.00                                 $586.96


           317-00048006-000 4" X
           3/4" NPT SADD                                                                    $0.00                                   $93.16


           317-00048007-000 4" x
           3/4"CC SADDLE                                                                    $0.00                                   $93.15


           317-00048014-000 4" x
           2" NPT SADDLE                                                                    $0.00                                 $112.20


           912-90039603-000 3"
           DUCTILE FLANGE                                                                   $0.00                                   $95.74


           912-90069606-031
           6"(6.56-6.96)OD DU                                                               $0.00                                 $241.38


           912-90116010-000 912
           10" SMITH BLAI                                                                   $0.00                                 $379.32


           913-04500400-003
           4"(4.44-4.56)OD ST                                                               $0.00                                 $192.73


           913-15301400-003 14"
           STEEL FLANGE C                                                                   $0.00                               $2,265.38



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 188
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           913-21602000-003 20"
           STEEL FLANGE C                                                                   $0.00                               $1,979.24


           33823-069 441
           15.56-15.80" GASKET F                                                            $0.00                                   $90.74


           317-00101015-004
           SMITH-BLAIR 8" X 2                                                               $0.00                                   $78.39


           245-00019006-000 1-1/2"
           X 6" (1.90)                                                                      $0.00                                   $24.69


           441-12201075-000 10"
           TRANSITION COU                                                                   $0.00                                 $112.24


           SBLINESTOP10DI 10"
           DI/CI LINESTOP                                                                   $0.00                               $2,870.00


           SBLINESTOP6DI 6"
           DI/CI LINESTOP SM                                                                $0.00                               $1,390.00


           SBLINESTOP8DI 8"
           DI/CI LINESTOP SM                                                                $0.00                               $1,678.00


           415-12751110-003 10"
           (11.10) - 12"                                                                    $0.00                                 $372.00


           411-00383007-043 36"
           SMITH BLAIR CO                                                                   $0.00                               $2,602.08


           31745-069 20"
           SMITH-BLAIR 413 COUP                                                             $0.00                                   $36.42


           622-1101000-203 SMITH
           BLAIR 10 x 10                                                                    $0.00                                 $515.00


           622-19501200-003 SMITH
           BLAIR 18 x 1                                                                     $0.00                                 $726.39


           372-00174015-000 16"
           smith blair 37                                                                   $0.00                                   $86.32


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                               $2,220.36


           421-04460560-031 4"
           COUPLING, TOP B                                                                  $0.00                                 $989.92



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 189
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           413-03800275-103 3" x
           2-1/2" Coupli                                                                    $0.00                                   $75.00


           317-00101010-000 8"X1
           1/4NPT 8.54-1                                                                    $0.00                                     $0.00


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                 $146.16


           AT-1-H AQUATAP 1"
           HOLE CUTTER                                                                      $0.00                                   $28.00


           AT-150-H AQUATAP
           1-1/2" HOLE SAW                                                                  $0.00                                  $-34.00


           AT-2-H AQUATAP 2"
           CARBIDE TIPED HOL                                                                $0.00                                 $160.00


           AT-3/4-H AQUATAP 3/4"
           HOLE CUTTER F                                                                    $0.00                                   $44.00


           AT-K-R Aqua Tap
           complete kit w/8 ad                                                              $0.00                               $3,390.00


           AT-MAGNET MAGNET
           FOR AQUA TAP MACHI                                                               $0.00                                     $6.00


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           BFD960-5P10 WASHER
           (10 PER PACK) FO                                                                 $0.00                                     $9.00


           BROOMHANDLE60 60"
           WOODEN STREET BR                                                                 $0.00                                     $0.00


           BROOMS STREET
           BROOM W/HANDLES
           BROOM                                                                            $0.00                                 $162.40


           BUCKETFORK2000 2000
           LB. BUCKET (POR                                                                  $0.00                               $3,500.00


           COVER CLAW ONE
           HAND VALVE BOX
           COVER                                                                            $0.00                                   $53.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 190
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           CST54-200B 20X
           TRANSIT LEVEL CST
           HO                                                                               $0.00                                 $253.01


           H10048 MUELLER
           CORPORATION
           WRENCH                                                                           $0.00                                   $13.20


           H18000-075 3/4"
           FLARING TOOL
           MUELLE                                                                           $0.00                                   $20.77


           H18000-100 1" FLARING
           TOOL MUELLER                                                                     $0.00                                   $26.41


           H18000-200 2" FLARING
           TOOL MUELLER                                                                     $0.00                                   $76.69


           KRVCW10408 8" POINT
           CHISEL STRAIGHT                                                                  $0.00                                   $62.72


           KS-3 4",5" STORZ X
           UNIVERSAL SPANNE                                                                 $0.00                                   $93.66


           LOW23-09904-9900
           EXTENDED REACH SOC                                                               $0.00                                   $53.00


           LOWKIT LOWELL
           VALVE KEY SOCKET
           SET                                                                              $0.00                                 $131.25


           MACC100-01 MAGIKIST
           DE-ICER OIL (1                                                                   $0.00                                   $79.75


           MG-65203 2" HEAVY
           DUTY PIPE PULLER                                                                 $0.00                                 $142.95


           MUEA316-2.5 NOZZLE
           WRENCH 143129, M                                                                 $0.00                                   $76.63


           MUEA359 MUELLER
           5-1/4" MAIN VALVE S                                                              $0.00                                 $722.85


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                               $2,250.00


           OMNILIFT OMNI LIFT
           MANHOLE FRAME SE                                                                 $0.00                                 $975.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 191
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           P52502 #2 SPOONS
           W/LINKS AND RIVETS                                                               $0.00                                   $76.50


           PJDX-C
           MAGIKIST,PULSE JET
           DE-ICER C                                                                        $0.00                               $5,672.00


           QWPCW-1 16" SERVICE
           BOX CROSS WRENC                                                                  $0.00                                   $41.76


           SPIRSAW 12 7/8"
           SPIROLITE HOLE SAW                                                               $0.00                                 $352.50


           TRU364-9980 RATCHET
           BOX WRENCH DOUB                                                                  $0.00                                   $30.00


           TRU367-9103
           TRUMBULL VALVE BOX
           AUGE                                                                             $0.00                                   $52.00


           TRU368-9040 CRIMPING
           SHUT OFF TOOL                                                                    $0.00                                 $259.00


           US24801 THE
           "BEVELLER"
           ASSEMBLY KIT                                                                     $0.00                                 $198.00


           USS26550 DEWALT
           SEWER BUDDY ASSY
           PA                                                                               $0.00                               $1,102.50


           VB70P VALVE BOSS
           PORTABLE VALVE EX                                                                $0.00                               $2,471.25


           VBLIFTER MAGNETIC
           VALVE BOX LIFTER                                                                 $0.00                                 $172.50


           WHE979 7/8" HEAVY
           DUTY DEEP SOCKET                                                                 $0.00                                   $55.42


           WWT10003
           WATERWORKS TOOL 4'
           T-HANDL                                                                          $0.00                                   $23.99


           WWT10010 4' ROD END
           WRENCH                                                                           $0.00                                   $19.99




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           WWT11004 6'
           STANDARD GATE
           WRENCH WI                                                                        $0.00                                 $161.28


           WWT13001
           WATERWORKS TOOL
           SBWEP CURB                                                                       $0.00                                   $17.70


           WWT13002 CURB KEY 2
           HOLE END ONLY,                                                                   $0.00                                     $8.54


           WWT13003
           WATERWORKS TOOL
           SBWER CURB                                                                       $0.00                                   $22.12


           WWT13004
           WATERWORKS TOOL
           SERVICE BO                                                                       $0.00                                   $30.08


           WWT18001 PIPE
           DESCALER 3"-12" PC-33                                                            $0.00                                   $78.04


           WWT20001 SMALL
           HANDLE WRENCH, 16"
           S                                                                                $0.00                                   $37.48


           WWT40013 SLIDING
           WEDGE VALVE KEY AT                                                               $0.00                                 $188.52


           X687 MAGIKIST
           DE-ICER PLUNGER                                                                  $0.00                                   $12.00


           LOW21-8C4Q1-0000 4 IN
           1 HEAVY DUTY                                                                     $0.00                                 $152.00


           MUE502028 MUELLER
           OPERATING SCREW F                                                                $0.00                                     $3.75


           MUE61165 3/4"
           MUELLER CC ADAPTER                                                               $0.00                                   $93.06


           MUE72627 MUELLER
           B101 VALVE GATE SP                                                               $0.00                                   $20.02


           MUE77375 1" MUELLER
           CC ADAPTER                                                                       $0.00                                   $82.53


           H10895-100 MUELLER
           1" ADAPTER GASKE                                                                 $0.00                                     $0.56


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           H15053-125 MUELLER
           1-1/4" COPPER FL                                                                 $0.00                                     $5.97


           MUE190703 MUELLER
           MACHINE SCREW OR                                                                 $0.00                                     $4.68


           MUE33537 MUELLER
           1-1/2" DRILL, FOR                                                                $0.00                                 $161.02


           MUE36037-R MUELLER
           11/16" DRILL, (C                                                                 $0.00                                 $109.73


           MUE36056-R MUELLER
           1-7/16" DRILL (C                                                                 $0.00                                 $215.19


           MUE36069-R MUELLER
           1-7/8" DRILL (CE                                                                 $0.00                                 $329.14


           MUE36998-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $161.55


           MUE37032 DRILL
           HOLDER FOR 7/8" AND                                                              $0.00                                 $147.58


           MUE37032-R MUELLER
           D-5 DRILL HOLDER                                                                 $0.00                                 $147.58


           MUE681493-R MUELLER
           COMBINATION DRI                                                                  $0.00                                 $326.91


           MUE37691 MUELLER
           1-1/2" SHELL CUTTE                                                               $0.00                                 $433.35


           MUE37903 ADAPTER
           NIPPLE, 1" COPPER                                                                $0.00                                   $99.82


           MUE37903-R MUELLER
           ADAPTER NIPPLE,                                                                  $0.00                                   $99.82


           MUE682259 REPLACES
           PART MUE37904 MU                                                                 $0.00                                   $92.24


           MUE40021 MUELLER
           LEATHER WASHER, FO                                                               $0.00                                     $5.48




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           MUE40066 SMALL
           SADDLE GASKET,FOR
           B-                                                                               $0.00                                   $13.12


           MUE40067 LARGE
           SADDLE GASKET FOR
           B-                                                                               $0.00                                   $51.64


           MUE40074 MUELLER
           SADDLE, W/ 10.00"-                                                               $0.00                                   $35.16


           MUE40229 MUELLER
           SMALL SADDLE GASKE                                                               $0.00                                 $405.81


           MUE40230 MUELLER
           LARGE SADDLE GASKE                                                               $0.00                                   $39.91


           MUE48130 ROLL PIN
           FOR B-101 & A-3 D                                                                $0.00                                     $1.15


           MUE500671 VALVE
           GATE FOR B-101 DRIL                                                              $0.00                                   $21.73


           MUE500672 VALVE
           GATE ARM, FOR B101                                                               $0.00                                   $31.17


           MUE500673 RUBBER
           GATE WASHER FOR B-                                                               $0.00                                     $9.38


           MUE500674 STEM FOR
           B-101 DRILLING &                                                                 $0.00                                   $32.43


           MUE500675 LOCK
           SCREW FOR FOR B-101                                                              $0.00                                     $1.83


           MUE500676 LOCKNUT
           B101 DRILLING & T                                                                $0.00                                     $7.16


           MUE500683 MUELLER
           CHAIN YOKE FOR B                                                                 $0.00                               $1,086.46


           MUE041435 MUELLER
           MACHINE OIL PLUG                                                                 $0.00                                     $1.02


           MUE500691 BEARING
           SLEEVE FOR B-101                                                                 $0.00                                   $36.92




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           MUE500693 MUELLER
           KNOCK OUT PIN FOR                                                                $0.00                                   $17.50


           MUE500694 RETAINING
           SCREW FOR B-101                                                                  $0.00                                     $5.49


           MUE501154 SEAL FOR
           CC-25 DRILLING M                                                                 $0.00                                     $2.30


           MUE537126 YOKE
           RETAINING WASHER
           FOR                                                                              $0.00                                     $8.86


           MUE502027 MUELLER
           ROLL PIN FOR B-10                                                                $0.00                                     $0.97


           MUE505130 MUELLER
           1" ADAPTER FOR PL                                                                $0.00                                   $31.93


           MUE507630-R MUELLER
           ADAPTER, 3/4" M                                                                  $0.00                                   $41.60


           MUE51458 1-1/2"
           O-RING FOR D-5 DRIL                                                              $0.00                                     $2.09


           MUE53627 MUELLER 2"
           SHELL CUTTER FO                                                                  $0.00                                 $295.02


           MUE53906 MUELLER
           PILOT DRILL                                                                      $0.00                                 $174.79


           MUE580949 MUELLER
           5-1/6" DRILL & HO                                                                $0.00                                 $170.24


           MUE581286 BORING
           BAR (COMPLETE) FOR                                                               $0.00                                 $534.61


           MUE581646 BLOW OFF
           VALVE FOR B-101                                                                  $0.00                                   $26.97


           MUE581765 MUELLER
           EXTRACTING TOOL                                                                  $0.00                                 $338.25


           MUE61981-R DRILL
           HOLDER (FOR 5/8" &                                                               $0.00                                   $57.75


           MUE680540-R MUELLER
           COMBINATION DRI                                                                  $0.00                                $-189.28


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           MUE680600-R MUELLER
           INSERTING TOOL                                                                   $0.00                                 $238.23


           MUE74878 MUELLER
           1-3/16" DRILL (FOR                                                               $0.00                                 $217.54


           MUE75812 SADDLE
           (FOR DUCTILE IRON &                                                              $0.00                                   $70.31


           MUE75821-R MUELLER
           SADDLE (FOR DUCT                                                                 $0.00                                   $35.16


           MUE75835 MUELLER
           SADDLE FOR DUCTILE                                                               $0.00                                   $35.16


           MUE78833 MUELLER
           GASKET FOR B-101 D                                                               $0.00                                     $2.68


           MUE79745 MUELLER
           YOKE RETAINING SCR                                                               $0.00                                     $7.06


           MUE75817 SADDLE
           (FOR DUCTILE IRON &                                                              $0.00                                   $35.16


           MUE501061 MUELLER
           HANDLE SCREW FOR                                                                 $0.00                                   $31.75


           MUE528088 - 1-3/4"
           MUELLER D5 SHELL                                                                 $0.00                                 $199.04


           MUE80516 2" MUELLER
           SHELL CUTTER CO                                                                  $0.00                                 $621.05


           TP-R TEST PUMP
           (RENTAL UNIT)                                                                    $0.00                                 $962.50


           MUEB-101-R MUELLER
           B-101 DRILLING &                                                                 $0.00                               $2,309.99


           P52601 VALVE BOX
           CLEANER BLADES                                                                   $0.00                                 $119.85


           H10321-4 MUELLER
           H10321 4'SHUTOFF R                                                               $0.00                                   $70.50


           TELEKEY610 6'-10'
           ADJUSTABLE VALVE                                                                 $0.00                                 $468.75


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           P53301 4' ADJUSTABLE
           CURB KEY, POLL                                                                   $0.00                                   $45.05


           P53302 5' ADJUSTABLE
           CURB KEY, POLL                                                                   $0.00                                  $-46.75


           P52617-STD POLLARD
           BLADE REPAIR KIT                                                                 $0.00                                   $44.00


           P668 SWIVEL POWER
           HYDRANT SETTER                                                                   $0.00                                 $251.20


           QWP63198 KS-T4 ROD X
           2-HOLE 4FT ADJ                                                                   $0.00                                 $213.82


           QWP63192 SLIDE CURB
           WRENCH 4' PENT                                                                   $0.00                                 $106.72


           MIGHTY PROBE
           REPLACEMENT TIP,
           TIPS                                                                             $0.00                                   $29.84


           P53003 LONG HANDLE
           VALVE BOX COVER                                                                  $0.00                                 $174.76


           QWP63203-5 QWP 6'
           CURB END x PENT                                                                  $0.00                                   $45.69


           WWT26002
           WATERWORKS TOOL
           CEZ-2 3/4"                                                                       $0.00                                 $199.68


           TRU367-9100
           VALVE-CURB-KEY
           COMBO VA                                                                         $0.00                                 $174.00


           TRU367-9102
           TRUMBULL 2 HOLE LID
           ADA                                                                              $0.00                                   $32.00


           QWP63201 KS-T6 6FT
           ADJUSTABLE CURB                                                                  $0.00                                   $55.58


           BLADEDI1220 12" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                   $39.84


           BLADEDI121 12" X 1/8"
           X 1" DUCTILE                                                                     $0.00                                 $110.50


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           BLADECONC1220 12" X
           1/8" X 20MM CON                                                                  $0.00                                   $80.55


           BLADECONC121 12" X
           1/8" X 1" CONCRE                                                                 $0.00                                 $105.00


           BLADECONC1420 - 14"
           X 1/8" X 20MM C                                                                  $0.00                                   $85.00


           BLADECONC141 14" x
           1/8" x 1" Concre                                                                 $0.00                                   $26.00


           BLADEDI1620
           16"X1/8"X20MM DI
           BLADE                                                                            $0.00                                   $16.00


           BLADEDIDIA12 US
           SAWS 12" X 20MM/1"                                                               $0.00                                 $135.50


           BLADECONCDIA12 US
           SAWS 12"X 20MM/1"                                                                $0.00                                 $206.00


           BLADEASPDIA12 US
           SAWS 12" X 20MM/1"                                                               $0.00                                 $232.00


           BLADEGPDIA12 US
           SAWS 12" X 20MM/1"                                                               $0.00                                 $115.00


           BLADEGPDIA14 14" X
           20MM/1" PREMIUM                                                                  $0.00                                 $140.50


           BLADEDIDIA12EPB US
           SAWS 12" X 20MM                                                                  $0.00                                 $135.50


           BLADEDI14PHIRANA
           14"x20MM/1" US SA                                                                $0.00                                $-162.50


           GPL14125 "THE
           LEUITENANT" 14"
           GENER                                                                            $0.00                                 $362.50


           DXX14125 14" X 1"
           20MM ALL PURPOSE                                                                 $0.00                                 $117.00


           BLADEAPBDIA12 US
           SAWS 12" x 20mm/1"                                                               $0.00                                 $149.00




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           US30178 US SAWS
           BREAK 'N TAKE THRE                                                               $0.00                                 $337.50


           PXX14125 PREMIUM
           DOS SEGGIE DIAMOND                                                               $0.00                                 $129.50


           PXX16125 16" SUPER
           DOS SEGGIE SAW B                                                                 $0.00                                 $351.00


           PXX12125 12"X 125 X
           1-20MM PREMIUM                                                                   $0.00                                 $119.00


           CST11-731 CHICAGO
           STEEL TAPE NYLON                                                                 $0.00                                   $11.41


           CST11-745 CHICAGO
           STEEL TAPE MEASUR                                                                $0.00                                     $5.41


           B-3250-250 2-1/2" UL/FM
           WAFER BUTTE                                                                      $0.00                             $25,200.00


           P47172984 OPERATING
           WRENCH 172984-1                                                                  $0.00                                   $31.46


           MUEA1998-OL 8" KIT TO
           CHANGE 8" RW                                                                     $0.00                                 $423.66


           A1998LN 6" POST
           INDICATOR KIT FOR A                                                              $0.00                                   $77.67


           F613610L 10" CLOW
           OSY RW VALVE O/L                                                                 $0.00                               $1,895.50


           VJMS12 12" VIKING
           JOHNSON MAXISTEP                                                                 $0.00                                 $146.28


           VJMS4 4" VIKING
           JOHNSON MAXISTEP
           NY                                                                               $0.00                                 $157.67


           BT5664SDOM 2-PC
           VALVE BOX, DOMESTIC                                                              $0.00                               $4,377.10


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                 $109.20


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                 $588.00


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           VBRIS4 4" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                 $336.00


           VBRIS24 24" VALVE
           BOX RISER LESS CO                                                                $0.00                                   $86.40


           VBSCT3 5-1/4 3PC
           SCREW TYPE VALVE B                                                               $0.00                                 $368.00


           VBSLT2BS36 5-1/4 X 36
           SLT 2PC VALVE                                                                    $0.00                                 $672.00


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                  $-88.00


           VBCAPS VALVE BOX
           CAP, MARKED SEWER                                                                $0.00                                   $64.00


           VBCAPR VALVE BOX
           CAP MARKED O/R                                                                   $0.00                                   $56.00


           VBCAPG VALVE BOX
           CAP MARKED GAS                                                                   $0.00                                   $12.00


           VBCAPL VALVE BOX
           CAP MARKED OPEN LE                                                               $0.00                                     $9.64


           VBCAPLOC VALVE BOX
           CAP LOCKING                                                                      $0.00                                     $8.00


           VBRIS18 18" VALVE
           BOX RISER LESS CA                                                                $0.00                                   $58.00


           VBSLT2 2PIECE SLIDE
           TYPE VALVE BOX                                                                   $0.00                               $2,749.45


           VBSLTTS26 5-1/4 X 26"
           SLIDE TYPE VA                                                                    $0.00                                 $264.00


           VBSCT2BS36 5 1/4 X 36
           SCT 2PC VB BO                                                                    $0.00                                   $38.00


           VBRIS6 6" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                  $-13.20


           GFS10EXT GENERAL
           FOUNDRY 6" EXTENSI                                                               $0.00                                   $32.00


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           GFS20EXT 6"
           EXTENSION WITH CAP
           FOR                                                                              $0.00                                   $15.00


           VBSLTTS26NE 2PC
           SLIDE TYPE VALVE BO                                                              $0.00                                   $62.00


           MUDPLUG VALVE BOX
           DEBRIS GUARD INFA                                                                $0.00                                   $13.47


           VBSLT2NE 2PC SLIDE
           TYPE VALVE BOX N                                                                 $0.00                                 $350.00


           VBRIS150PE 1-1/2"
           POLYETHYLENE VALV                                                                $0.00                                   $11.00


           VBRIS2PE 2" HIGH
           POLYETHYLENE VALVE                                                               $0.00                                 $209.00


           VBRIS1PE 1" VALVE
           BOX RISER POLYETH                                                                $0.00                                   $40.00


           S11COVER WATER
           COVER ONLY FOR S11                                                               $0.00                                   $10.00


           VBCAPF VALVE BOX
           CAP FOR 5-1/4" VAL                                                               $0.00                                   $80.00


           VPLUG-5X4 4-1/4 X 4
           MUDPLUG FOR ROA                                                                  $0.00                                   $13.47


           CAM2DC 2" DUST CAP
           ALUM.                                                                            $0.00                                     $0.00


           VBSLTTS16 16" LONG
           TOP SECTION SLID                                                                 $0.00                                 $306.00


           BT5664SDOMNE 39" -
           60" 2 PIECE NEW                                                                  $0.00                                 $773.15


           BRASS BOLTS FOR 94E
           LIDS                                                                             $0.00                                   $75.20


           GRE5LWRDOM 5-1/4"
           VALVE BOX COVER M                                                                $0.00                                 $436.10




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           GRE5B64SDOM 36"
           VALVE BOX BOTTOM
           SE                                                                               $0.00                                 $280.02


           DEBRISCAP6L 6"
           DEBRIS CAP WITH
           LOCK                                                                             $0.00                                 $534.00


           MULTI-FIT ADAPTOR
           FOR 3 - 12" VALVE                                                                $0.00                                 $147.00


           BTSCVB2-22DOM
           39"-60" VALVE BOX, SC                                                            $0.00                                 $630.00


           VBC PLAIN VALVE BOX
           CAP PLAIN                                                                        $0.00                                   $36.00


           BRASS COTTER PINS
           FOR CURB BOX RODS                                                                $0.00                                 $599.92


           A728 5'6" CURB BOX
           WITH 1" UPPER SE                                                                 $0.00                                 $141.10


           CBCOV1S 1" TWO HOLE
           CURB BOX COVER                                                                   $0.00                                   $83.00


           CBEXT10012 1" X 12"
           CURB BOX EXTENS                                                                  $0.00                                 $380.47


           CBEXT10018 1" X 18"
           CURB BOX EXTENS                                                                  $0.00                                 $152.06


           CBEXT10024 1" X 24"
           CURB BOX EXTENS                                                                  $0.00                                 $413.17


           CBEXT1003 1" X 3"
           CURB BOX EXTENSIO                                                                $0.00                                 $288.84


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                 $356.75


           CBEXT1256 1-1/4" X 6"
           CURB BOX EXTE                                                                    $0.00                                   $83.00


           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                 $249.00




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           CBPCOV1-PC PLUG
           ONLY FOR 1" PLUG TY                                                              $0.00                                   $29.53


           CBPCOV125S 1-1/4"
           CURB BOX COVER WI                                                                $0.00                                 $279.38


           CBROD16 16" CURB
           BOX ROD 9/16" MUEL                                                               $0.00                                 $219.16


           CBROD21 21" CURB
           BOX ROD 9/16" MUE0                                                               $0.00                                   $73.44


           CBROD24 24" CURB
           BOX ROD 9/16"                                                                    $0.00                                 $139.32


           CBROD35 35" CURB
           BOX ROD 9/16" GENE                                                               $0.00                               $1,202.67


           CBROD36SS 36"
           STAINLESS STEEL
           CURB                                                                             $0.00                                 $132.57


           CBROD45 45" CURB
           BOX ROD 9/16"                                                                    $0.00                                 $167.73


           CBROD48SS 48" CURB
           BOX ROD 5/8" DIA                                                                 $0.00                                 $492.03


           CBROD48SS050 48"
           CURB BOX ROD 1/2"                                                                $0.00                                 $228.25


           H10342 CURB BOX
           SLEEVE, MUELLER                                                                  $0.00                                   $14.33


           H10373-250 2-1/2"
           INSIDE REPAIR LID                                                                $0.00                                   $17.27


           H10374-250 2-1/2"
           OUTSIDE REPAIR LI                                                                $0.00                                   $51.80


           MUE36571 MUELLER
           BRASS PLUG ONLY FO                                                               $0.00                                   $54.68


           TRU367-4283 3"
           OUTSIDE REPAIR LID                                                               $0.00                                   $49.80


           SB BRASS BOLT FOR
           1" ERIE BOX LIDS                                                                 $0.00                                     $8.30


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 204
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           MUE84176 5/8" X 33
           MUELLER ROD 841                                                                  $0.00                                 $292.63


           BTCBROD39DOM 39"
           CURB BOX ROD, MAD                                                                $0.00                               $2,184.04


           BTCB56 5'6" CURB BOX
           FOR 3/4" - 1"                                                                    $0.00                                $-543.82


           BTCB6 6' CURB BOX
           FOR 3/4-1" SERVIC                                                                $0.00                                 $435.75


           BTCBEB56 5'6"
           ENLARGED BASE CURB
           BO                                                                               $0.00                               $4,179.05


           GF36700 2-1/2"
           OUTSIDE REPAIR LID                                                               $0.00                                   $74.70


           BTCB5LR 5' CURB BOX
           LESS ROD BINGH                                                                   $0.00                                 $152.72


           GF42072 GF 6' 2-HOLE
           ERIE CURB BOX                                                                    $0.00                                   $99.60


           BTCBEBP ENLARGED
           BASE PIECE FOR E-1                                                               $0.00                                 $149.40


           BTCBEB56LR 5'6"
           CURB BOX WITH
           ENLAR                                                                            $0.00                               $6,059.00


           BTCB7LR 7' CURB BOX
           WITH 2 HOLE LID                                                                  $0.00                                 $190.90


           BTCB6LR 6' CURB BOX
           WITH 2 HOLE LID                                                                  $0.00                                $-338.64


           SWL-61-LS 6" CRISPIN
           LEVER & SPRING                                                                   $0.00                               $2,529.00


           MATCO120W-6 6"
           FLANGED PLAIN SWING                                                              $0.00                                 $575.72


           B-3250-2 2" MUELLER
           UL WAFER BUT VA                                                                  $0.00                                 $276.53




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 205
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           7000L-8-HL 8" American
           Valve Lug St                                                                     $0.00                                 $120.00


           APOLLOBFV8LG 8" LUG
           STYLE BUTTERFLY                                                                  $0.00                                 $219.33


           BF10DI 10" BLIND
           FLANGE, DUCTILE IR                                                               $0.00                                 $118.11


           BF3DI 3" BLIND
           FLANGE DUCTILE IRON                                                              $0.00                                   $53.01


           BF4DI 4" BLIND
           FLANGE,DUCTILE IRON                                                              $0.00                                 $122.76


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                 $140.90


           BF8DI 8" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                 $471.51


           BFT3X2DI 3" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $158.10


           BFT6X1DI 6" X 1"
           TAPPED BLIND FLANG                                                               $0.00                                   $80.00


           BFT6X2DI 6" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $121.83


           FL1114 14" FLANGE 11
           1/4 BEND CAST                                                                    $0.00                                 $460.93


           FL2212 12" FLANGE 22
           1/2 BEND CAST                                                                    $0.00                                 $336.81


           FL4510DI 10" FLANGED
           45 BEND, DUCTI                                                                   $0.00                                 $454.77


           FL453DI 3" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                 $132.06


           FL454DI 4" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                 $119.04


           FL456DI 6" FLANGED 45
           BEND, DUCTILE                                                                    $0.00                                   $91.61



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 206
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FL458DI 8" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                 $280.86


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $267.84


           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $207.39


           FL908DI 8" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $510.57


           FLB908CI 8" FLANGE
           BASE 90, CAST IR                                                                 $0.00                                 $336.20


           FLCONR126DI 12 X 6 DI
           FLANGED CONC                                                                     $0.00                                 $225.53


           FLCONR128DI 12" x 8"
           FLANGED CONCEN                                                                   $0.00                                 $252.50


           FLCONR166 16" X 6"
           FLANGED CONCENTR                                                                 $0.00                                 $355.26


           FLCONR32DI 3" X 2"
           FLANGED CONCENTR                                                                 $0.00                                   $90.68


           FLCONR62 6" X 2"
           FLANGED CONCENTRIC                                                               $0.00                                   $65.57


           FLCONR63DI 6" X 3"
           FLANGED CONCENTR                                                                 $0.00                                 $149.73


           FLCONR64DI 6" X 4"
           FLANGED CONCENTR                                                                 $0.00                                 $142.29


           FLCONR86DI 8" x 6"
           FLANGED CONCENTR                                                                 $0.00                                 $116.72


           FLECCR86DI 8" x 6"
           FLANGE ECCENTRIC                                                                 $0.00                                 $280.86


           FLT128DI 12" X 8"
           FLANGED TEE, DUCT                                                                $0.00                                 $467.33


           FLT12DI 12" x 12"
           FLANGE TEE, DUCT                                                                 $0.00                                 $562.65



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 207
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FLT3DI 3" FLANGED
           125# TEE DUCTILE                                                                 $0.00                                 $736.56


           FLT42.5CI 4" X 2-1/2"
           FLANGE TEE CA                                                                    $0.00                                   $65.92


           FLT43DI 4" x 3"
           FLANGED TEE, DUCTIL                                                              $0.00                                 $337.59


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $244.59


           FLT64DI 6" X 4"
           FLANGED TEE DUCTILE                                                              $0.00                                 $168.33


           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $152.52


           FLT86DI 8 X 6"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $219.95


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $508.71


           FLT8DI-250 8X8"
           FLANGE DUCTILE IRO                                                               $0.00                                 $309.00


           FLY4DI 4" FLANGED
           125# WYE DUCTILE                                                                 $0.00                                 $338.99


           FLY66DI 6" X 6"
           FLANGED
           WYE,DUCTILE                                                                      $0.00                                 $181.35


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $67.98


           TCFC8 8" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $99.91


           TCFS2.5 2-1/2" STEEL
           COMPANION FLAN                                                                   $0.00                                   $26.78


           BF12DI 12" BLIND
           FLANGE, DUCTILE IR                                                               $0.00                                 $159.03




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 208
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           TCFC64 6' X 4"
           THREADED REDUCER
           CO                                                                               $0.00                                   $36.47


           FL4512DI 12" FLANGED
           45 BEND, DUCTI                                                                   $0.00                                 $298.07


           FL908DSO 8" FL 90
           WITH SIDE OUTLET                                                                 $0.00                                 $396.09


           FL9086LR 8" X6" FLG CI
           LR 90 BEND                                                                       $0.00                                 $226.46


           FLCR64D 6" x 4"
           FLANGE CROSS, DUCTI                                                              $0.00                                 $216.82


           FLECCRED128D 12X8"
           FLG ECC REDUCER                                                                  $0.00                                 $667.86


           FLCR88DI 8" FLANGE
           CROSS, DUCTILE I                                                                 $0.00                                 $267.63


           FLT124DI 12' X 4"
           FLANGED TEE, DUCT                                                                $0.00                                 $468.28


           FLT126DI 12" x 6"
           FLANGE REDUCING T                                                                $0.00                                 $399.52


           FLTY4 4" FLANGED
           TRUE WYE DI                                                                      $0.00                                   $76.86


           FF3x375 3" x 3-3/4" filler
           flange                                                                           $0.00                                   $95.00


           FLFL101-6 10" X 1'6" FL
           X FL DIP                                                                         $0.00                                 $487.92


           FLFL121 12" X 1'0"
           FLANGE X FLANGE                                                                  $0.00                                 $938.40


           FLFL62 6" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $149.20


           FLFL61 6" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $370.80


           FLFL82 8" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $651.60


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 209
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           FLPE1010 10" X 10'
           FLANGE X PLAIN E                                                                 $0.00                               $1,659.60


           FLPE104 10" X 4' FL X
           PE DIP                                                                           $0.00                                 $274.80


           FLPE12-6 12" X 6" FL X
           PE DIP                                                                           $0.00                                 $128.82


           FLPE124 12" X 4'
           FLANGE X PLAIN END                                                               $0.00                               $2,136.00


           FLPE126 12" X 6'
           FLANGE X PLAIN END                                                               $0.00                               $1,418.40


           FLPE312 3" X 12'
           FLANGE X PLAIN END                                                               $0.00                                 $540.74


           FLPE36 3" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                               $1,997.66


           FLPE38 3" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $370.50


           FLPE410 4" X 10'
           FLANGE X PLAIN END                                                               $0.00                                 $490.40


           FLPE412 4" X 12'
           FLANGE X PLAIN END                                                               $0.00                                 $860.40


           FLPE42 4" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $157.60


           FLPE43 4" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                   $99.60


           FLPE44 4" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $361.20


           FLPE45 4" X 5' FLANGE
           X PLAIN END D                                                                    $0.00                                 $141.20


           FLPE46 4" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $162.00


           FLPE48 4" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $610.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 210
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           FLPE61 6" x 1' FLANGE
           X PLAIN END D                                                                    $0.00                                   $72.40


           FLPE612 6" X 12'
           FLANGE X PLAIN END                                                               $0.00                                 $354.00


           FLPE62 6" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $392.00


           FLPE63 6" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                 $370.80


           FLPE64 6" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $298.40


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $601.20


           FLPE65 6" X 5' FLANGE
           X PLAIN END D                                                                    $0.00                                 $162.00


           FLPE68 6" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                               $1,509.60


           FLPE81 8" X 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $105.20


           FLPE810 8" X 10'0"
           FLANGE X PLAIN E                                                                 $0.00                               $1,266.00


           FLPE812 8" X 12'
           FLANGE X PLAIN END                                                               $0.00                                 $492.40


           FLPE82 8" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $842.40


           FLPE84 8" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $210.80


           FLPE88 8" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                               $1,758.00


           FLPE6-9 6" X 9" FL X PE
           DIP                                                                              $0.00                                 $144.80


           FLPE813 8" X 13' FL X
           PE DIP                                                                           $0.00                                 $527.60


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 211
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           FLPE248 24" X 8' FL X
           PE DIP                                                                           $0.00                               $1,484.00


           FLPE3010 30" X 10'0" FL
           X PE DIP                                                                         $0.00                               $3,297.64


           FLPE161 16" X 1' FL X
           PE DIP                                                                           $0.00                                 $370.40


           FLFL41-825 4" X 1'8-1/4"
           FL X FL DI                                                                       $0.00                                 $118.00


           FLFL41-275T 4" X
           1'2-3/4" W/ 3/4" T                                                               $0.00                                 $157.60


           FILFL8-1 8" X 1" THICK
           FILLER FLANG                                                                     $0.00                                 $190.60


           FLFL61-350 6" X 1'3-1/2"
           FL X FL DI                                                                       $0.00                                 $136.40


           FLFL10-11 10" X 0'11"
           FL X FL DIP                                                                      $0.00                                 $233.60


           FLPE4-9 4" X 9" FL X PE
           DIP                                                                              $0.00                                 $116.00


           FLFL68 6" X 8'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $605.60


           FLFL2-6 2" X 0'6"
           FLANGE X FLANGE S                                                                $0.00                               $1,269.96


           FLFL1013 10" X 1'3" FL
           X FL DIP                                                                         $0.00                                 $233.60


           FLFL10-6 10" X 0'6" FL X
           FL DIP                                                                           $0.00                                 $233.60


           FLCONR42DI 4" X 2"
           FLANGED CONCENTR                                                                 $0.00                                   $45.54


           FLECCR84DI 8" X 4"
           FLANGE ECCENTRI                                                                  $0.00                                   $85.68


           FLFL11-8 12" X 1'8" FL X
           FL DIP                                                                           $0.00                                 $275.30


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           flpe166250 16" x 6' fl x
           pe piece                                                                         $0.00                                 $926.66


           FLPE205T 20" X 5'
           FLANGE X PE PIEC                                                                 $0.00                                 $880.49


           FLFL614TC 6" X 14' FL
           X FL DIP W/T                                                                     $0.00                                 $723.22


           FLFL410 4" X 10"
           FLANGE X FLANGE DU                                                               $0.00                                 $251.94


           FF8-55-1/4 FLANGE X
           FLANGE DUCTILE                                                                   $0.00                                 $437.19


           DR114DIPSBS 4" DR11
           DIPS HDPE PIPE                                                                   $0.00                                 $432.96


           INSERT1CTSPLASTIC 1"
           PLASTIC INSERT                                                                   $0.00                                   $24.96


           PECTS.75X300BLUE
           3/4" X 300' BLUE C                                                               $0.00                                   $56.40


           PECTS1.5X100 1-1/2" X
           100' CTS 200                                                                     $0.00                                   $60.00


           PECTS1.5X100BLUE
           1-1/2" X 100' BLUE                                                               $0.00                                 $135.40


           PECTS1X100BLUE 1" X
           100' BLUE CTS 2                                                                  $0.00                                   $29.83


           PECTS1X300BLUE 1" X
           300' BLUE CTS 2                                                                  $0.00                                 $282.60


           PECTS1X500BLUE 1" X
           500' BLUE CTS 2                                                                  $0.00                               $1,099.00


           PECTS2X100 2" X 100'
           CTS 200 PSI PO                                                                   $0.00                                 $102.20


           PECTS2X100BLUE 2" X
           100' BLUE CTS 2                                                                  $0.00                                 $210.00


           PECTS2X300BLUE 2" X
           300' BLUE CTS 2                                                                  $0.00                               $1,260.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 213
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PECTS2X500BLUE 2" X
           500' BLUE CTS 2                                                                  $0.00                                 $525.00


           PEIPS1.5X100 1 1/2" X
           100' IPS 160                                                                     $0.00                                   $75.90


           SSINSERT2DR11IPS 2"
           STAINLESS STEEL                                                                  $0.00                                 $103.60


           TW14G500 14 GA
           TRACER WIRE (GREEN)                                                              $0.00                                   $55.00


           PEXCTS2X300 2"
           MUNICIPEX CTS
           TUBING                                                                           $0.00                               $3,486.00


           PEIDR151.5X300 1-1/2
           IDR15 HDPE 30                                                                    $0.00                                   $89.40


           GEOPE125 1 1/4"
           POLYETHYLENE
           GEOTH                                                                            $0.00                                 $117.60


           PEIDR9150 1-1/2" IDR 9
           HDPE PIPE                                                                        $0.00                                 $136.00


           DR112IPSGN100 2" X
           100' DR11 IPS HD                                                                 $0.00                                 $212.00


           SIDR91X300 1" X 300'
           SIDR 9 HDPE WE                                                                   $0.00                                   $99.00


           FLO-110-20 2"
           FLOCONTROL IPS PVC
           CO                                                                               $0.00                                   $13.11


           FLO110-30 3" IP
           COMPRESSION
           COUPLIN                                                                          $0.00                                   $32.29


           FLO120-10 FLO 1" IPS
           COMPXFIP TEE                                                                     $0.00                                     $4.63


           FLO135-07 FLO 3/4"
           MIPXIPS COMP ADA                                                                 $0.00                                     $7.91


           FLO135-10 FLO 1" IPS
           COMPXMIP ADAPT                                                                   $0.00                                   $14.14


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           FLO1520-15 FLO
           CONTROL 1-1/2" PVC S                                                             $0.00                                   $20.32


           FLO1520-20 2" PVC40
           IPS CHECK VALVE                                                                  $0.00                                   $46.59


           FLO210-12 FLO 1-1/4"
           COMPRESSION CO                                                                   $0.00                                     $5.95


           FLO22020 2"
           FLOCONTROL PVC
           COMP THR                                                                         $0.00                                   $51.71


           FLO235-20 FLO 2"
           COMPXMIP ADAPTER                                                                 $0.00                                 $102.77


           PEINS901 1 INSERT 90
           FOR POLY                                                                         $0.00                                     $1.44


           PEINS901.5 1 1/2
           INSERT 90 FOR PE                                                                 $0.00                                     $0.64


           PEINS902 2" INSERT 90
           FOR PE                                                                           $0.00                                     $2.70


           PEINSCPLG.75 3/4
           INSERT CPLG FOR PE                                                               $0.00                                     $4.62


           PEINSFADPT.75 3/4
           FEMALEXINSERT FOR                                                                $0.00                                     $7.92


           PEINST1.5 1 1/2" POLY
           INSERT TEES                                                                      $0.00                                     $5.00


           PEINST2 2" POLY
           INSERT TEES                                                                      $0.00                                     $1.96


           PETHRDCPLG.75X2
           3/4X2 THRD CPLG FOR                                                              $0.00                                     $5.85


           PETHRDCPLG.75X2.5
           3/4X2 1/2 THRD CP                                                                $0.00                                     $3.30


           PETHRDCPLG.75XCLS
           3/4XCLS THREAD CP                                                                $0.00                                     $0.65




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 215
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           SSTRACERWIREG #10
           302 STAINLESS STE                                                                $0.00                               $1,170.00


           SSTRACERWIREB #10
           302 STAINLESS STE                                                                $0.00                                 $780.00


           FLO-1520-12 1-1/4"
           SWING CHECK VALV                                                                 $0.00                                     $8.63


           CT050K60 1/2"X 60' K
           COPPER TUBING                                                                    $0.00                                   $88.44


           CT050K100 1/2"X 100 K
           COPPER TUBING                                                                    $0.00                                 $294.80


           CT075K60 3/4" X 60' K
           COPPER TUBING                                                                    $0.00                                 $327.00


           CT075K100 3/4" X 100' K
           COPPER TUBI                                                                      $0.00                               $2,180.00


           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                               $1,487.64


           CT125K60 1 1/4"X 60' K
           COPPER TUBIN                                                                     $0.00                                 $254.88


           CT150K60 1-1/2" X 60' K
           COPPER TUBI                                                                      $0.00                                 $666.24


           CT200K40 2" X 40' K
           COPPER TUBING C                                                                  $0.00                               $1,432.48


           CT200K60 2" X 60' K
           COPPER COIL                                                                      $0.00                               $1,074.36


           TAILPC075NL 3/4" TAIL
           PIECE, LOW LE                                                                    $0.00                                   $41.99


           CT200K20H 2" TYPE K
           HARD COPPER TUB                                                                  $0.00                               $2,587.52


           NEPCIFLG150 1 1/2" CI
           FLANGES                                                                          $0.00                                   $11.33


           NEPLG058 5/8"
           LEATHER GSKTS FOR
           MET                                                                              $0.00                                   $82.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 216
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           NEPLG100 1" LEATHER
           GSKTS FOR METER                                                                  $0.00                                   $47.50


           NEPBRZFLG1.5 1-1/2"
           BRONZE OVAL ME                                                                   $0.00                                   $70.59


           NEPBRZFLG2 2"
           BRONZE FLANGE                                                                    $0.00                                   $21.00


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                     $3.40


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $3.00


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                    $-1.60


           NEPTAILPC58 5/8" TAIL
           PIECES 192200                                                                    $0.00                                     $5.40


           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                   $34.50


           3/4METERNUT 3/4
           METER NUTS- DRILLED                                                              $0.00                                     $9.77


           NEPOUTSIDEBOXPIN
           Locking Pin for Ne                                                               $0.00                                   $12.00


           SEALPIN SEAL PIN
           FOR NEPTUNE T10 R                                                                $0.00                                   $18.20


           TW12B500 #12 TRACER
           WIRE 500' COIL                                                                   $0.00                                 $170.00


           NEPROVAL150 1-1/2"
           RUBBER OVAL DROP                                                                 $0.00                                   $12.00


           CIFLGKIT150 CAST
           IRON OVAL METER FL                                                               $0.00                                   $64.68


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $54.80




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           TAILPC050NL 1/2"
           METER TAIL PIECE L                                                               $0.00                                   $54.10


           NEPRG100 1" RUBBER
           GASKET FOR METER                                                                 $0.00                                     $4.40


           AMCOWALLTP AMCO
           METER WALL
           MOUNTED                                                                          $0.00                                 $324.40


           VBSLT2BS48 BIBBY
           5-1/4" X 48" 2PC S                                                               $0.00                                   $60.85


           B5664SBS36 36" SLIDE
           VALVE BOX BOTT                                                                   $0.00                                   $80.15


           VB70226 5-1/4 X 26"
           TOP SECTION FOR                                                                  $0.00                               $2,234.70


           VB61336 5-1/4" X 36"
           SCREW TYPE 2PC                                                                   $0.00                                 $272.66


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                 $114.32


           B4160 4-1/4" COVER
           MARKED 'WATER' V                                                                 $0.00                                   $22.78


           B5160S 5-1/4" COVER
           (SEWER) V8800 B                                                                  $0.00                                   $84.40


           664ADOM 5-1/4" TYLER
           2PC SLIDE TYPE                                                                   $0.00                                 $294.55


           GF36500 94E CURB BOX
           ENLARGED BASE                                                                    $0.00                                     $8.00


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                   $66.00


           GF49036 36" CURB BOX
           ROD                                                                              $0.00                                 $100.00


           GF36094ESEWER
           GENERAL FOUNDRIES
           94E                                                                              $0.00                                   $30.80




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 218
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SIGMA 94E CURB BOX
           SCREW-TYPE                                                                       $0.00                                   $24.00


           94E WATER COVER                                                                  $0.00                                   $11.68


           GF36094(ELW) 94E
           COVER MARKED
           WATER                                                                            $0.00                                   $42.00


           GF36095E 95E SLIDE
           TYPE CURB BOX CO                                                                 $0.00                                   $36.00


           GF37094E SCREW TYPE
           94E 2-1/2" CURB                                                                  $0.00                                 $460.00


           GF37093E 2-1/2" 93E
           SCREW TYPE CURB                                                                  $0.00                                 $840.00


           GF49000 CENTERING
           RING FOR 2 1/2" C                                                                $0.00                                 $162.00


           GF36153 28"
           EXTENSION FOR 2-1/2"
           CU                                                                               $0.00                                   $34.00


           GF38145CS 4-1/2"
           ROADWAY BOX SEWER                                                                $0.00                                   $14.00


           GF49042 42" ROD FOR
           94E AND ERIE BO                                                                  $0.00                                 $313.50


           13003S 3"ST SIZE
           NAP1300 RESTRAINT                                                                $0.00                                   $12.49


           13004S 4"ST SIZE
           NAP1300 RESTRAINT                                                                $0.00                                   $14.58


           13006C 6"CI SIZE
           NAP1300 RESTRAINT                                                                $0.00                                   $17.67


           2003S 3" STEEL SIZE
           NAP200 UNIFLANG                                                                  $0.00                                   $61.87


           2004CI 4" CI SIZE
           NAP200 UNIFLANGE                                                                 $0.00                                   $55.75


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                 $390.34


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 219
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           2008CI 8" SIZE NAP200
           UNIFLANGE CAS                                                                    $0.00                                 $250.16


           2008S 8" STEEL SIZE
           NAP200 UNIFLANG                                                                  $0.00                                   $83.39


           40012S 12"ST SIZE
           NAP400 UNIFLANGE                                                                 $0.00                                 $112.72


           40020S 20"ST SIZE
           NAP400 UNIFLANGE                                                                 $0.00                                 $326.80


           DMB2224 24" DUCTILE
           MECHANICAL JOIN                                                                  $0.00                                 $575.26


           CIB454 4" CM 45 BEND                                                             $0.00                                   $39.75


           CMT126 12X6 CM TEE                                                               $0.00                                 $200.77


           CMT1210 12" X 10"
           CAST MJ TEE                                                                      $0.00                                 $237.53


           CIR104 10X4 CM
           REDUCER                                                                          $0.00                                   $74.08


           CIR124 12X4 CM
           REDUCER                                                                          $0.00                                   $92.59


           CIS12SP 12" CM
           SLEEVE SHORT
           PATTERN                                                                          $0.00                                   $87.16


           DMAP648 6" X 48" DM
           ANCHOR PIPE                                                                      $0.00                                 $374.62


           DMAP660 6" X 60" DM
           ANCHOR PIPE                                                                      $0.00                                 $425.62


           DMAP672 6" X 72" DM
           ANCHOR PIPE                                                                      $0.00                                 $263.81


           DMAP696 6" X 96" DM
           ANCHOR PIPE                                                                      $0.00                                 $578.62


           DMB1110 10" MJ 11-1/4
           DEGREE BEND C                                                                    $0.00                                   $85.32



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 220
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           DMB1112 12" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $318.77


           DMB1116 16" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $257.54


           DMB1124 24" DUCTILE
           MECHANICAL JOIN                                                                  $0.00                               $1,021.47


           DMB113 3" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $18.57


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                 $137.46


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                 $193.55


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $105.07


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                   $86.11


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                               $1,020.29


           DMB2216 16" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $486.64


           DMB223 3" MJ C153
           22-1/2 DEGREE BEN                                                                $0.00                                   $63.20


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                 $144.57


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                 $112.58


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                               $1,219.37


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $173.01


           DMB4512 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $388.68



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 221
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           DMB4516 16" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $761.96


           DMB4524 24" MJ C153
           45 DEGREE BEND                                                                   $0.00                               $1,772.76


           DMB453 3" MJ C153 45
           DEGREE BEND, D                                                                   $0.00                                   $75.84


           DMB4530 30" MJ C153
           45 DEGREE BEND                                                                   $0.00                               $1,200.80


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                 $202.24


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $488.22


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                               $1,540.50


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $464.52


           DMB9012 12" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $312.84


           DMB9016 16" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $355.50


           DMB903 3" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                 $280.45


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $200.66


           DMB908 8" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                 $730.75


           DMC12 12"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                 $251.22


           DMC3 3" CAP,MJ,C153
           DUCTILE IRON                                                                     $0.00                                   $10.67


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                 $331.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 222
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DMCR1010 10" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $185.26


           DMCR66 6" X 6" MJ
           C153 CROSS DUCTIL                                                                $0.00                                 $106.26


           DMCR86 8" X 6"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                 $109.81


           DMFA12 12" DUCTILE
           MECHANINCAL JOIN                                                                 $0.00                                 $135.88


           DMHT106 10" X 6" MJ
           HYDRANT TEE C15                                                                  $0.00                                 $266.23


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $251.22


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $735.49


           DMO66 6" MJ C153
           OFFSET,DUCTILE IRO                                                               $0.00                                   $83.74


           DMP10 10" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                   $69.92


           DMP12 12" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                 $274.92


           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $32.39


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $27.65


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $317.58


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $199.48


           DMR106 10" X 6" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $54.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 223
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           DMR108 10" X 8" MJ
           C153 REDUCER, DU                                                                 $0.00                                   $60.04


           DMR1210 12" X 10" MJ
           C153 REDUCER D                                                                   $0.00                                   $82.16


           DMR128 12" X 8" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $74.26


           DMR1610 16" X 10"
           REDUCER, MJ,C153                                                                 $0.00                                 $174.59


           DMR1612 16" X 12" MJ
           C153 REDUCER D                                                                   $0.00                                 $168.27


           DMR43 4" X 3" MJ C153
           REDUCER DUCTI                                                                    $0.00                                 $128.38


           DMR43SEB 4" X 3" MJ
           C153 REDUCER SM                                                                  $0.00                                   $24.10


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $60.04


           DMR86 8" X 6"
           REDUCER, MJ, C153
           DUC                                                                              $0.00                                 $211.33


           DMR86SEB 8" X 6" MJ
           C153 SMALL END                                                                   $0.00                                   $45.82


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                   $88.48


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $238.58


           DMS16LP 16" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                                 $457.41


           DMS18LP 18" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                                 $292.30


           DMS24LP 24" MJ
           SLEEVE LONG
           PATTERN,                                                                         $0.00                                 $929.83



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 224
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           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                   $47.40


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $188.02


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $225.15


           DMS6SP 6" MJ C153
           SLEEVES SHORT PAT                                                                $0.00                                   $33.97


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                 $445.56


           DMS8SP 8" MJ C153
           SLEEVE SHORT PATT                                                                $0.00                                   $44.24


           DMT1010 10" X 10" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $468.08


           DMT104 10" X 4" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $240.95


           DMT106 10" X 6"
           TEE,MJ,C153 DUCTILE                                                              $0.00                                 $116.53


           DMT108 10" X 8" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $136.28


           DMT1212 12" X 12" MJ
           C153 TEE, DUCT                                                                   $0.00                                 $217.65


           DMT126 12" X 6"
           TEE,MJ,C153,DUCTILE                                                              $0.00                               $1,473.35


           DMT128 12" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $340.49


           DMT1414 14" X 14"
           DUCTILE MECHANICA                                                                $0.00                                 $362.61


           DMT16 16" X 16" MJ
           C153 TEE DUCTIL                                                                  $0.00                                 $498.10


           DMT1612 16" X 12"
           DUCTILE MECHANICA                                                                $0.00                                 $395.00



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           DMT168 16" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $330.22


           DMT2020 20" X 20" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $664.39


           DMT44 4" X 4" MJ C153
           TEE, DUCTILE                                                                     $0.00                                 $161.16


           DMT64 6" X 4" MJ C153
           TEE DUCTILE I                                                                    $0.00                                 $135.09


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $218.04


           DMT88 8" X 8" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $654.12


           DMTC3250 3" X 2-1/2"
           DUCTILE MECHAN                                                                   $0.00                                   $59.25


           DMTC122 12" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                 $150.10


           DMTC32 3" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $23.31


           DMTC42 4" X 2" MJ
           TAPPED CAP, C153                                                                 $0.00                                   $71.10


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                 $129.56


           DMTC82 8" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                 $180.12


           DMTP102 10" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                   $82.16


           DMTP122 12" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                   $80.98


           DMTP162 16" X 2" MJ
           TAPPED PLUG C15                                                                  $0.00                                 $201.85


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $28.05



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           DMTP42 4" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $77.03


           DMTP62 6" X 2" TAPPED
           PLUG,MJ,C153                                                                     $0.00                                   $77.42


           DMTP82 8" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                 $155.24


           DMTT32 3" X 2"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                   $46.22


           DMTT62 6" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                   $60.83


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                               $1,116.67


           DMY44 4" X 4" MJ WYE,
           C153, DUCTILE                                                                    $0.00                                   $65.97


           DMY66 6" X 6" MJ WYE,
           C153 DUCTILE                                                                     $0.00                                 $199.08


           DMY86 8" X 6" MJ WYE
           C153 DUCTILE I                                                                   $0.00                                 $459.78


           DMY88 8" X 8" MJ WYE,
           C153, DUCTILE                                                                    $0.00                                 $145.36


           DPOJP10 10" PLUG
           PUSH-ON JOINT C153                                                               $0.00                                   $61.62


           DPOJP82 8" X 2"
           DUCTILE MECHANICAL                                                               $0.00                                   $51.35


           DMT63 6" X 3" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $55.70


           DMTC10050 10" x 1/2"
           TAPPED CAP                                                                       $0.00                                   $56.80


           DMB9012DOM 12" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $367.85


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $52.75


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 227
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           DMB224DOM 4" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                   $50.69


           DMB114DOM 4" MJ
           C153 11-1/4 DEGREE                                                               $0.00                                 $180.84


           DMT64DOM 6" X 4" MJ,
           C153 TEE, DUCT                                                                   $0.00                                 $128.78


           DMT44DOM 4" X 4" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                   $84.26


           DMT1010DOM 10" X 10"
           MJ C153 TEE DU                                                                   $0.00                                 $374.70


           DMP6DOM 6" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $59.60


           DMP12DOM 12" MJ,
           C153 PLUG DUCTILE                                                                $0.00                                 $130.84


           DMC8DOM 8" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                 $374.01


           DMC12DOM 12"
           CAP,MJ,C153 DUCTILE
           IR                                                                               $0.00                                 $232.90


           DMTC82DOM 8" X 2" MJ
           C153 TAPPED CA                                                                   $0.00                                   $86.31


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                   $58.23


           DMS8LPDOM 8" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $227.42


           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                                 $180.16


           DMY88D 8" X 8"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                 $380.18


           DMTC162DOM 16" X 2"
           MJ TAPPED CAP,                                                                   $0.00                                 $371.27




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           DMB113D 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $65.76


           DMY86DOM 8" X 6" MJ
           C153 WYE, DUCTI                                                                  $0.00                                 $310.31


           DMS3LPDOM 3" MJ
           C153 SLEEVE LONG PA                                                              $0.00                                   $50.69


           DMR104DOM 10" X 4"
           MJ C153 REDUCER,                                                                 $0.00                                 $104.12


           6855-36B 36"
           TYLER-UNION SLIDE
           TYPE                                                                             $0.00                                 $411.00


           DMCR86DOM 8" X 6"
           MJ,C153 CROSS DUC                                                                $0.00                                 $556.22


           DMTP124DOM 12" MJ
           TAPPED PLUG C153                                                                 $0.00                                 $310.99


           DMFS4LPDOM 4" MJ
           SOLID SLEEVE C110                                                                $0.00                               $1,030.93


           DMFB116 6" MJ FULL
           BODY C110 11-1/4                                                                 $0.00                                 $134.85


           DMFB2212 12" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $357.59


           DMFB226 6" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $117.65


           DMFB4510 10" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $521.73


           DMFB453 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $110.67


           DMFB906 6" MJ FULL
           BODY C110 90 DEG                                                                 $0.00                                 $126.02


           DMFC4 4" MJ FULL
           BODY CAP, C110 DUC                                                               $0.00                                   $27.44


           DMFC8 8" MJ FULL
           BODY C110 CAP DUCT                                                               $0.00                                   $71.15


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           DMFP8 8" DUCTILE
           MECHANICAL JOINT F                                                               $0.00                                 $325.50


           DMFT83 8" X 3"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                 $402.23


           DMFT33 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $230.64


           DMFY66 - 6X6 DI C110
           FULL BODY MJ W                                                                   $0.00                                 $357.42


           PVC401.5 1-1/2" PVC
           SCH40 PIPE 20'                                                                   $0.00                                     $8.60


           PVC403 3" PVC SCH40
           20'LENGTH PIPE                                                                   $0.00                                   $23.80


           PVC401.25 1-1/4" SCH40
           PVC PIPE                                                                         $0.00                                   $37.80


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                                 $484.40


           PVC404BESW 4" PVC
           SCH40, BELL END,                                                                 $0.00                               $1,730.00


           PVC402BE 2" SCH40
           PVC PIPE WITH BEL                                                                $0.00                                   $31.00


           PVC40075 3/4" SCH 40
           PVC PIPE                                                                         $0.00                                   $33.60


           PVC40620BE 6" PVC
           SCH40 BELLED END                                                                 $0.00                                 $129.20


           PVC40610PB 6" PERF
           SCH40 PVC PIPE W                                                                 $0.00                                 $581.40


           401-005 1/2 PVC SCH 40
           TEE                                                                              $0.00                                     $1.26


           401-007 SPEARS 3/4
           PVC SCH 40 TEE                                                                   $0.00                                     $0.21




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           401-012 SPEARS
           1-1/4"PVC SCH 40 TEE                                                             $0.00                                   $32.67


           401-015 1-1/2" PVC
           SCH40 TEE                                                                        $0.00                                     $7.37


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $1.07


           401-025 2-1/2" PVC
           SCH40 TEE                                                                        $0.00                                   $11.14


           401-030 3" PVC SCH40
           TEE                                                                              $0.00                                   $34.13


           401-040 4" PVC SCH40
           TEE                                                                              $0.00                                   $15.88


           401-060 6" PVC SCH40
           TEE                                                                              $0.00                                 $106.90


           401-287 2 1/2x2 1/2x 1/2
           sch40 tee                                                                        $0.00                                     $3.33


           401-290 2-1/2 X 1-1/4
           PVC SCH40 TEE                                                                    $0.00                                   $19.99


           401-532 6X4 PVC SCH40
           REDUCING TEE                                                                     $0.00                                   $53.45


           402-335 3"SLIPX1" FIP
           SCH40 TEE                                                                        $0.00                                   $15.69


           406-012 SPEARS 1-1/4"
           PVC SCH40 90                                                                     $0.00                                   $13.61


           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                   $15.72


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $2.46


           406-030 3" PVC SCH40
           90 BEND                                                                          $0.00                                   $20.94


           406-040 4" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                   $10.70



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           406-060 6" PVC SCH40
           90 BEND                                                                          $0.00                                 $170.10


           406-080 8" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                   $87.59


           409-012 1 1/4" PVC
           SCH40 STREET 90                                                                  $0.00                                     $0.98


           416-040 4" PVC SCH40
           22-1/2 DEGREE                                                                    $0.00                                     $9.96


           417-012 1-1/4" 45
           DEGREE BEND, PVC                                                                 $0.00                                   $12.96


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $2.21


           417-020 2" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $12.51


           417-025 2-1/2 PVC
           SCH40 45 BEND                                                                    $0.00                                     $7.52


           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $3.89


           417-040 4" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $76.63


           417-060 6" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $34.43


           417-080 8" PVC SCH40
           45 BEND                                                                          $0.00                                 $124.20


           429-012 1-1/4" PVC
           SCH40 COUPLING                                                                   $0.00                                     $9.00


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $2.58


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $3.42


           429-030 3" PVC SCH40
           COUPLING                                                                         $0.00                                   $23.76



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           429-040 4" PVC
           COUPLING SCH40                                                                   $0.00                                   $19.65


           429-060 6" PVC SCH40
           COUPLING                                                                         $0.00                                   $69.86


           429-080 8" PVC SCH40
           COUPLING                                                                         $0.00                                 $217.40


           435-010 SPEARS 1" PVC
           SCH40 FEM ADA                                                                    $0.00                                     $0.45


           435-012 1 1/4" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $8.75


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $2.81


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $4.31


           435-025 2 1/2" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $4.09


           435-030 3" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                   $18.33


           435-040 4" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                   $12.15


           436-010 1" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $0.99


           436-012 1-1/4" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $1.20


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $7.62


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                   $13.18


           436-025 2 1/2 PVC
           SCH40 MALE ADAPTE                                                                $0.00                                     $3.11


           436-030 SPEARS 3" PVC
           SCH40 MALE AD                                                                    $0.00                                     $9.10



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                Name

           436-040 4" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                   $20.31


           436-060 6" PVC SCH 40
           MALE ADAPTER                                                                     $0.00                                     $7.56


           437-131 1" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $1.30


           437-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                     $0.37


           437-211 1-1/2" X 1"
           SCH40 BUSHING S                                                                  $0.00                                     $1.48


           437-212 1-1/2" X 1-1/4"
           SCH40 BUSHI                                                                      $0.00                                     $5.57


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $1.22


           437-249 2" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.84


           437-250 2" X 1-1/4"
           SCH40 BUSHING S                                                                  $0.00                                     $1.22


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $0.61


           437-290 2-1/2" X 1-1/4"
           SCH40 BUSHI                                                                      $0.00                                   $28.54


           437-291 2-1/2" X 1-1/2"
           SCH40 BUSHI                                                                      $0.00                                     $1.97


           437-292 2-1/2" X 2"
           SCH40 BUSHING S                                                                  $0.00                                     $1.97


           437-337 3" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $4.35


           437-338 3" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $5.80


           437-420 4" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                   $48.69



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 234
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           437-422 4" X 3" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $3.25


           437-585 8" X 6" SCH40
           BUSHING SPIGO                                                                    $0.00                                   $28.02


           438-249 2" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $0.87


           447-010 1 PVC SCH 40
           CAP (SLIP)                                                                       $0.00                                     $0.23


           447-015 1-1/2" PVC
           SCH40 CAP (SLIP)                                                                 $0.00                                     $2.80


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $19.37


           447-025 SPEARS 2-1/2
           PVC SCH40 CAP                                                                    $0.00                                     $2.69


           447-030 3" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $2.94


           447-040 4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $13.36


           447-060 6" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $32.04


           447-080 8" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $60.35


           449-030 SPEARS 3" PVC
           SCH40 PLUG (S                                                                    $0.00                                     $2.01


           450-015 1-1/2" PVC
           SCH40 PLUG (MIPT                                                                 $0.00                                     $2.93


           450-025 2 1/2" PVC40
           THD PLUG                                                                         $0.00                                     $1.31


           450-060 SCH 40 MALE
           PLUG 6"                                                                          $0.00                                   $26.34


           463-015 1-1/2" PVC
           SCH40 SADDLE TEE                                                                 $0.00                                     $3.69



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                Name

           463-337 3X1 1/2 PVC
           SCH40 SADDLE                                                                     $0.00                                   $11.75


           475-015 1-1/2" PVC
           SHC40 WYE                                                                        $0.00                                   $20.38


           475-020 2"x2"sch40
           pvc wye                                                                          $0.00                                   $30.57


           475-040 4" PVC SCH40
           WYE                                                                              $0.00                                   $48.57


           2621-025 SPEARS 2-1/2"
           PVC BALL VAL                                                                     $0.00                                   $88.00


           437-335 3" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $2.90


           448-030 3" THREADED
           CAP PVC SCH 40                                                                   $0.00                                     $3.84


           478-015 1-1/2" PVC SCH
           40 FIP X SPI                                                                     $0.00                                     $3.35


           S3629-012 1 1/4" PVC
           TRUE UNION 20                                                                    $0.00                                   $48.10


           438-250 2" X 1-1/4"
           SCH40 BUSHING S                                                                  $0.00                                     $4.35


           835-060 PVC80 6" FIP
           ADAPTER                                                                          $0.00                                   $25.88


           448-080F 8" sch 40
           threaded cap                                                                     $0.00                                   $68.89


           854-060 6" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                 $172.40


           FLPEWSS618 6"X(22")
           1'8"FLGXPE W/ST                                                                  $0.00                                   $42.25


           PEPEWSS31 3"X1'
           PEXPE WALLSLV
           W/STO                                                                            $0.00                                   $15.94




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           PEPEWSS61 6"X1'
           PEXPE WALLSLV
           W/STO                                                                            $0.00                                   $68.76


           PEPEWS-14-6 14"X6"
           PLAIN END X COLL                                                                 $0.00                                 $226.62


           PEPEWS1612 16"X12"
           PEXPE WALL SLEE                                                                  $0.00                                 $213.33


           pepews1212
           12"x12"steel wall sleev                                                          $0.00                                   $78.80


           WSPEPE128 12" X 0'8"
           PE X PE STEEL                                                                    $0.00                                 $130.00


           WSPEPE58 5" X 0'8" PE
           X PE STEEL W                                                                     $0.00                                   $70.00


           WSPEPE412 4" X 12"
           PE X PE STEEL W                                                                  $0.00                                   $70.00


           WSPEPE615 6" X 15"
           PE X PE STEEL W                                                                  $0.00                                   $90.00


           WS86 8" STEEL WALL
           SLEEVE 6" LONG                                                                   $0.00                                   $87.94


           WSPEPE1215 12" X 15"
           PE X PE STEEL                                                                    $0.00                                 $200.00


           WS48 WALL SLEEVE
           FOR 4" DI 8" LONG                                                                $0.00                                   $39.00


           PVC801 1" PVC SCH80
           PIPE                                                                             $0.00                                   $61.20


           PVC80150 1-1/2" PVC
           SCH80 PIPE                                                                       $0.00                                   $35.76


           PVC802 2" PVC SCH80
           PIPE                                                                             $0.00                                   $50.70


           PVC803 3" PVC SCH80
           PIPE                                                                             $0.00                                   $68.08


           PVC804 4" PVC SCH80
           PIPE                                                                             $0.00                                  $-48.98


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           PVC806 6" PVC SCH80
           PIPE                                                                             $0.00                                 $188.26


           PVC806B 6" SCH80 PVC
           BELL END PIPE                                                                    $0.00                                $-599.46


           PVC808 8" PVC SCH80
           20' PIPE                                                                         $0.00                                 $142.31


           PVC808P 8" SCH80
           PERF'D 1/2" HOLES                                                                $0.00                                 $596.64


           801-005 1/2" PVC SCH80
           TEE                                                                              $0.00                                     $3.14


           801-010 1" PVC SCH80
           TEE                                                                              $0.00                                     $4.12


           801-012 SPEARS 1-1/4"
           PVC SCH80 TEE                                                                    $0.00                                     $5.65


           801-015 1-1/2" PVC
           SCH80 TEE                                                                        $0.00                                   $39.58


           801-020 2" PVC SCH80
           TEE                                                                              $0.00                                   $98.97


           801-025 2-1/2 PVC
           SCH80 TEE                                                                        $0.00                                   $38.43


           801-030 3" PVC SCH80
           TEE                                                                              $0.00                                 $105.67


           801-040 4" PVC SCH80
           TEE                                                                              $0.00                                   $44.52


           801-060 6" PVC SCH80
           TEE                                                                              $0.00                                 $152.02


           801-080 8" PVC SCH 80
           TEE                                                                              $0.00                                   $88.15


           801-420 4" X 2" PVC
           SCH80 TEE                                                                        $0.00                                   $14.17


           805-020 2" PVC SCH80
           THREADED TEE                                                                     $0.00                                   $12.32


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           806-007 3/4 PVC SCH80
           90                                                                               $0.00                                     $2.84


           806-012 1-1/4" PVC
           SCH80 90 BEND                                                                    $0.00                                     $4.60


           806-015 1-1/2" PVC
           SCH80 90 DEGREE                                                                  $0.00                                   $13.14


           806-020 2" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                     $1.99


           806-030 3" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $26.11


           806-040 4" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $47.65


           806-060 6" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $90.40


           806-080 8" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $62.29


           807-012 1 1/4" PVC SCH
           80 SOC X FIP                                                                     $0.00                                   $16.06


           808-007 3/4" PVC SCH80
           90 BEND THRE                                                                     $0.00                                     $8.03


           808-020 2" PVC SCH 80
           THREADED 90                                                                      $0.00                                     $6.95


           816-060 6" SCH80 22-1/2
           DEGREE BEND                                                                      $0.00                                   $63.89


           817-012 1-1/4" PVC80 45
           SXS                                                                              $0.00                                   $12.23


           817-015 1-1/2" SCH80 45
           DEGREE BEND                                                                      $0.00                                     $7.23


           817-020 2" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $18.74


           817-025 2 1/2" 45 SCH 80
           BEND                                                                             $0.00                                     $9.84


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           817-030 3" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $11.98


           817-040 4" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $64.70


           817-060 6" PVC SCH80
           45 DEGRE BEND                                                                    $0.00                                   $54.32


           829-007 3/4" PVC SCH
           80 SOCKET COUP                                                                   $0.00                                     $5.45


           829-010 1" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                     $7.01


           829-015 1-1/2" PVC
           SCH80 COUPLING S                                                                 $0.00                                   $16.11


           829-020 2" PVC SCH80
           COUPLING S X S                                                                   $0.00                                     $2.47


           829-025 2 1/2 PVC SCH
           80 COUPLING S                                                                    $0.00                                   $48.66


           829-030 3" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                   $62.84


           829-040 4" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                   $34.98


           829-060 6" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                   $94.11


           835-005 1/2" PVC SCH80
           FEMALE IRON                                                                      $0.00                                     $0.94


           835-012 1-1/4" PVC
           SCH80 FIP ADAPTE                                                                 $0.00                                     $3.35


           835-020 2" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $14.31


           835-030 3" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $63.59


           835-040 4" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $21.86


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           836-015 1-1/2" SCH80
           MALE ADAPTER                                                                     $0.00                                     $3.77


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                   $10.92


           836-030 3" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $13.77


           836-040 4" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $85.78


           837-130 SPEARS 1 X 1/2
           PVC SCH80 R                                                                      $0.00                                     $3.72


           837-250 SPEARS 2" X
           1-1/4" PVC SCH8                                                                  $0.00                                     $5.66


           837-251 2" X 1-1/2" PVC
           SCH80 R BUS                                                                      $0.00                                   $16.98


           837-338 3" X 2" PVC
           SCH80 R BUSH S                                                                   $0.00                                   $15.60


           837-420 4" X 2" SCH80
           PVC BUSH SPEA                                                                    $0.00                                   $53.99


           837-422 4" X 3" PVC
           SCH80 R BUSH SX                                                                  $0.00                                   $10.80


           837-532 6" X 4" PVC
           SCH80 R BUSH S                                                                   $0.00                                   $45.05


           847-012 SPEARS 1-1/4
           SCH80 CAP                                                                        $0.00                                     $3.69


           847-015 1-1/2" PVC
           SCH80 SLIP CAP                                                                   $0.00                                   $13.36


           847-020 2" PVC SCH80
           CAP SLIP                                                                         $0.00                                   $35.63


           847-040 4" PVC SCH80
           CAP (SLIP) SPE                                                                   $0.00                                   $53.15


           847-060 6" PVC SCH80
           CAP (SLIP)                                                                       $0.00                                 $132.22


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           848-020 2" PVC SCH80
           CAP (FIPT)                                                                       $0.00                                     $4.65


           849-020 2" PVC SCH80
           PLUG (SPIG)                                                                      $0.00                                     $4.29


           851-020 SPEARS 2" PVC
           SCH80 FLANGE                                                                     $0.00                                   $35.60


           851-030 SPEARS 3" PVC
           SCH80 FLANGE                                                                     $0.00                                   $17.33


           851-040 4" PVC SCH80
           FLANGE (SLIP)                                                                    $0.00                                   $54.87


           851-060 SPEARS 6" PVC
           SCH80 FLANGE                                                                     $0.00                                   $17.25


           853-030 SPEARS 3" PVC
           SCH80 BLIND F                                                                    $0.00                                   $25.08


           854-005 1/2" SCH80 PVC
           VAN STONE FL                                                                     $0.00                                     $6.09


           854-010 1" SCH80
           VSTONE FLANGE                                                                    $0.00                                     $7.25


           854-020 2" PVC SCH80
           VSTONE FLANGE-                                                                   $0.00                                 $132.00


           854-030 3" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                     $8.66


           854-040 4" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $54.79


           854-080 8" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $31.44


           854-120 12" PVC SCH80
           VAN STONE STY                                                                    $0.00                                   $97.96


           2222-025C 2 1/2" PVC
           SCH80 TRUE UNI                                                                   $0.00                                   $84.31


           2322-030 3" PVC SCH80
           SAFE-T-SHEAR                                                                     $0.00                                 $404.44


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           2329-020 2" PVC TRUE
           UNION BALL VAL                                                                   $0.00                                 $755.89


           835-015 1-1/2" PVC
           SCH80 FIP ADAPTE                                                                 $0.00                                     $4.10


           829-250 2 X 1 1/4 PVC
           SCH80 REDUCIN                                                                    $0.00                                     $4.31


           847-030 SPEARS 3"
           SCH80 PVC CAP SLI                                                                $0.00                                   $31.52


           801-337 3" X 1-1/2" TEE,
           SCH80 PVC                                                                        $0.00                                 $127.76


           2329-015 1-1/2"
           TRU-UNION PVC SCHED                                                              $0.00                                 $181.44


           2023-020 2" PVC
           FLANGED GATE VALVE                                                               $0.00                                   $63.50


           HAYWARDTBB4 4"
           HAYWARD TBB PVC
           EPDM                                                                             $0.00                                 $182.23


           3622-030 3" TRUE
           UNION BALL VALVE                                                                 $0.00                                 $262.86


           75-30888 2" PHILMAC
           3G IPS OD COMPR                                                                  $0.00                                   $55.17


           DR146 6" DR14 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $377.60


           DR148 8" DR14 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $648.80


           DR1810 10" DR18 C900
           DI OD PVC GASK                                                                   $0.00                               $1,758.60


           DR1812 12" DR18 C-900
           DI OD PVC GAS                                                                    $0.00                                 $275.80


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                   $38.02




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           DR186 6" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $150.40


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $260.80


           SDR176 6" SDR 17 IPS
           OD GASKETED PV                                                                   $0.00                                 $432.00


           SDR21150 1-1/2" SDR21
           IPS OD PVC GA                                                                    $0.00                                   $17.52


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $316.92


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $404.16


           SDR218 8" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $99.60


           SDR264 4" SDR 26 IPS
           OD PVC GASKETE                                                                   $0.00                                   $67.14


           DR1816 16" DR18 C-905
           DI OD PVC GAS                                                                    $0.00                               $1,186.40


           DR1412 12" DR14 C-900
           DI OD PVC PRE                                                                    $0.00                               $3,486.00


           SDR216BLUE 6" SDR21
           IPS OD PVC GASK                                                                  $0.00                               $2,175.60


           DR2520 20" DR 25 PVC
           PIPE C900 GREE                                                                   $0.00                               $3,080.00


           SDR21TT4X1 4" X 1" IPS
           OD PVC GASKE                                                                     $0.00                                   $32.67


           DR18226 6" DR 18 C-900
           DI OD PVC GA                                                                     $0.00                                   $73.37


           SDR2145150 1-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $71.16


           SDR21452 2" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $25.55



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           SDR21452.5 2-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $43.82


           SDR21453 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $18.48


           SDR21454 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $63.13


           SDR21458 8" SDR 21
           IPS OD PVC GASKE                                                                 $0.00                                 $113.01


           SDR2190150 1-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $35.58


           SDR21903 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $18.48


           SDR21904 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $63.13


           SDR21RCPLG150 1-1/2"
           SDR21 IPS OD P                                                                   $0.00                                     $8.90


           SDR21RCPLG2 2"
           SDR21 REPAIR
           COUPLIN                                                                          $0.00                                   $39.06


           SDR21RCPLG250 2-1/2"
           SDR21 IPS OD P                                                                   $0.00                                   $64.44


           SDR21RCPLG3 3"
           REPAIR COUPLING,
           SDR                                                                              $0.00                                   $67.03


           SDR21CR3 3" SDR 21
           IPS OD PVC GASKE                                                                 $0.00                                   $71.38


           SDR21MIPA150 1-1/2"
           SDR21 IPS OD PV                                                                  $0.00                                   $34.79


           SDR21MIPA250 2-1/2"
           SDR 21 IPS OD P                                                                  $0.00                                   $14.93


           SDR21MIPA6 6" SDR21
           IPS OD PVC GASK                                                                  $0.00                                   $60.64




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           SDR21R86 8" X 6" SDR
           21 IPS OD PVC                                                                    $0.00                                 $177.35


           SDR21T2X150 2" X
           1-1/2" SDR21 IPS O                                                               $0.00                                   $24.02


           SDR21T64 6" X 4" SDR
           21 IPS OD PVC                                                                    $0.00                                   $98.90


           SDR21TT2X125 2" X
           1-1/4" SDR21 IPS                                                                 $0.00                                   $42.14


           PHIL75-608CC
           TRANSITION COUPLING
           1"                                                                               $0.00                                   $18.43


           PHIL75-617FE PHILMAC
           UNIVERSAL TRAN                                                                   $0.00                                 $133.50


           PHIL75-608DD HARCO
           PHILMAC UNIVERSA                                                                 $0.00                                   $46.48


           SDR21TT3X125 3" X
           1-1/4" SDR 21 IPS                                                                $0.00                                   $25.20


           PHIL75-608BB PHILMAC
           3/4" UNIVERSAL                                                                   $0.00                                   $63.43


           PHIL75-608FF 1-1/2"
           UNIVERSAL TRANS                                                                  $0.00                                 $129.96


           PHIL75-608GG 2"
           UNIVERSAL TRANSITIO                                                              $0.00                                 $282.31


           SDR21TT250X150 2-1/2"
           X 1-1/2" SDR                                                                     $0.00                                   $56.33


           PHIL75-33066 1-1/2"
           PHILMAC 3G IPS                                                                   $0.00                                   $22.34


           PHIL75-33088 2"
           PHILMAC 3G IPS OD C                                                              $0.00                                   $42.24


           SDR21TT4125 4" X 1
           1/4" PVC SDR21/2                                                                 $0.00                                 $163.33


           PHIL75-33055 PHILMAC
           1-1/4 MIPT X I                                                                   $0.00                                     $6.91


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           DR118DIPSNS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                               $2,000.00


           DR114IPSNS 4" DR11
           IPS HDPE PIPE BL                                                                 $0.00                                 $239.20


           DR11150IPSGS 1-1/2" X
           500' DR11 IPS                                                                    $0.00                                 $346.50


           DR1110DIPSBS 10"
           DR11 DIPS OD 160 P                                                               $0.00                               $4,032.00


           DR176IPSNS 6" DR17
           IPS OD HDPE PIPE                                                                 $0.00                                   $56.60


           DR118IPSNS 8" DR11
           IPS OD HDPE WITH                                                                 $0.00                               $2,262.40


           DR112IPSGN500 2" X
           500' DR11 IPS OD                                                                 $0.00                                 $530.00


           DR11150IPSGN100
           1-1/2" X 100' DR11                                                               $0.00                                 $670.50


           DR174IPSNS 4" DR17
           IPS OD 100 PSI P                                                                 $0.00                                   $94.40


           DR116IPSNS 6" DR11
           IPS OD HDPE PIPE                                                                 $0.00                                 $322.20


           DR112IPS100 2" X 100'
           DR11 IPS OD                                                                      $0.00                                 $101.00


           DR113IPSBS 3" DR 11
           IPS OD 160 PSI                                                                   $0.00                                   $33.80


           DR116IPSGS 6" DR11
           IPS OD 160 PSI P                                                                 $0.00                                 $221.20


           DR118DIPSBS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $551.10


           DR11125IPSGS300
           1-1/4" DR11 IPS OD                                                               $0.00                                 $169.50


           DR11125IPSGS500
           1-1/4" X 500' DR11                                                               $0.00                                 $284.50


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           DR98DIPSBS 8" DR9
           DIPS HDPE PIPE W/                                                                $0.00                                     $0.00


           DR11R62DXI 6" DIPS X
           2" IPS DR11 H                                                                    $0.00                                 $300.00


           DR11MJA8DIPSK 8"
           DR11 DIPS OD 160 P                                                               $0.00                                 $199.08


           DR11T8DIPS 8" X 8"
           DR11 DIPS OD 160                                                                 $0.00                                 $135.30


           ELECTROCPLG12DIPS
           12" DIPS OD HDPE                                                                 $0.00                                 $930.00


           ELECTROCPLG6DIPS 6"
           DIPS OD HDPE EL                                                                  $0.00                                   $59.43


           ELECTROCPLG6IPS 6"
           IPS OD HDPE ELEC                                                                 $0.00                                 $121.24


           ELECTROCPLG1CTS 1"
           CTS OD HDPE ELE                                                                  $0.00                                   $10.28


           ELECTROCPLG075CTS
           3/4" CTS OD HDPE                                                                 $0.00                                   $69.00


           DR11456DIPS 6" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $104.00


           DR111112DIPS 12" DR
           11 DIPS OD 160                                                                   $0.00                                 $485.00


           DR11228DIPS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $303.60


           DR11CURBSTOP125IPS
           1-1/4" DR11 IPS                                                                  $0.00                                 $917.64


           DR9FA3IPS 3" DR9 IPS
           OD 200 PSI PRE                                                                   $0.00                                   $15.18


           DR11T150125COMPIPS
           1-1/2" X 1-1/4"                                                                  $0.00                                 $357.00


           DR11T300X100IPS 3" X
           1" DR 11 IPS                                                                     $0.00                                   $29.79


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           DR11MJA3IPSK 3"
           HDPE MJ ADAPTER DR1                                                              $0.00                                 $227.20


           DR11456IPS 6" DR11 45
           DEGREE BEND I                                                                    $0.00                                 $188.10


           DR11MJA12DIPSK 12"
           DR11 DIPS OD 160                                                                 $0.00                                 $504.78


           DR11T125COMPIPS
           1-1/4" DR 11 IPS OD                                                              $0.00                                   $18.70


           DR11CPLG150IPSCOMP
           1-1/2" DR 11 IPS                                                                 $0.00                                   $74.00


           DR11452IPS 2" DR11
           IPS OD 160 PSI P                                                                 $0.00                                     $9.35


           DR11458DIPS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $286.00


           ELECTROCPLG150IPS
           1-1/2" IPS OD ELE                                                                $0.00                                 $305.44


           ELECTROCPLG8DIPS 8"
           DIPS OD HDPE EL                                                                  $0.00                                 $980.73


           ELECTROCPLG8IPS 8"
           IPS OD HDPE ELEC                                                                 $0.00                                 $285.78


           DR11R86DIPS 8" X 6"
           HDPE REDUCER DR                                                                  $0.00                                   $81.25


           DR11FA4DIPS 4" DR11
           DIPS OD 160 PSI                                                                  $0.00                                   $38.85


           ELECTROCPLG4DIPS 4"
           DIPS OD HDPE EL                                                                  $0.00                                 $448.50


           DR11MJA6DIPSKD 6"
           DR 11 DIPS OD 16                                                                 $0.00                                   $83.94


           DR11FIPA4IPS 4" DR 11
           IPS OD 160 PS                                                                    $0.00                                     $0.00


           DR11MJA4DIPSKDOM
           4" ADAPTER DR11 DI                                                               $0.00                                 $286.88


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           DR11MJA8DIPSKD 8"
           DR11 DIPS OD 160                                                                 $0.00                                   $90.54


           DR11FA12IPS 12" DR 11
           IPS OD 160 PS                                                                    $0.00                                   $62.00


           DR11CAP4IPS 4" DR 11
           IPS OD 160 PSI                                                                   $0.00                                   $12.23


           DR11FA3IPSE 3" DR11
           IPS FLANGE ADA                                                                   $0.00                                   $64.08


           DR11MJA4IPS 4" DR11
           IPS X MJ ADAPTE                                                                  $0.00                                 $207.06


           DR116DIPSNS 6" DR11
           DIPS HDPE PIPE                                                                   $0.00                                 $259.60


           DR11MJA4DIPS 4" DR11
           DIPS HDPE MJ A                                                                   $0.00                                   $76.00


           DR1112DIPSNS 12"
           DR11 DIPS HDPE PIP                                                               $0.00                                 $957.20


           DR11T106DIPS 10" X 6"
           DR11 DIPS HDP                                                                    $0.00                                 $192.00


           DR11Y4IPS 4" X 4" DR11
           IPS HDPE WYE                                                                     $0.00                                     $0.00


           ELECTROSAD82D
           8"DIPS X 2"IP FUSION                                                             $0.00                                 $210.00


           ELECTROCPLG10DIPS
           10" DIPS ELECTROF                                                                $0.00                               $2,061.12


           DR11454DIPS 4" DR11
           DIPS HDPE 45 DE                                                                  $0.00                                   $85.00


           DR11R63DXI 6" DR11
           DIPS TO 3" SDR11                                                                 $0.00                                 $170.00


           DR11WA12DIPS 12"
           DR11 DIPS HDPE WAL                                                               $0.00                               $1,116.50


           DR11T64DIPS 6" X 4"
           DR11 DIPS HDPE                                                                   $0.00                                 $114.40


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           DR11T104DIPS 10" x 4"
           DR11 DIPS HDP                                                                    $0.00                                 $127.60


           DR9906DIPS 6" DR9
           DIPS HDPE 90 DEGR                                                                $0.00                                 $130.00


           DR11MJA16DIPSK 16"
           DR11 DIPS HDPE M                                                                 $0.00                                 $730.00


           DR11CAP6IPS 6" DR11
           CAP FOR WATER                                                                    $0.00                                 $120.78


           DR9MJA14DIPS 14"
           DR9 DIPS HDPE MJ                                                                 $0.00                                 $241.37


           ELECTROSAD62 6" IPS
           X 2" FIPT ELECT                                                                  $0.00                                 $148.78


           ELECTRO452IPS 2"
           ELECTROFUSION 45 D                                                               $0.00                                   $27.44


           ELECTROSAD121 12"
           DIPS x 1" FIP ELE                                                                $0.00                                 $121.60


           DR11WA6DIPS 6" DR11
           DIPS HDPE WALL                                                                   $0.00                                   $81.40


           WT7-075 WATTS 3/4 " #7
           DUALCHECK BA                                                                     $0.00                                   $23.40


           WT909-AG-K AGK AIR
           GAP FOR 4"& 6"                                                                   $0.00                                   $98.40


           WT405RW4 4" 405 NRS
           FLANGED GATE VA                                                                  $0.00                                 $179.24


           WTFBV-3C-200NL 2"
           FULL PORT 1/4 TUR                                                                $0.00                                 $678.00


           WTFBV-3C-075NL 3/4"
           FULL PORT 1/4 T                                                                  $0.00                                   $25.10


           WTFBV-3C-125NL
           WATTS 1-1/4" LOW LEA                                                             $0.00                                 $213.86


           WTFBV-3C-150NL 1-1/2"
           FULL PORT BAL                                                                    $0.00                                 $207.60


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           WTFBV-3C-050NL 1/2"
           FULL PORT 1/4 T                                                                  $0.00                                   $22.68


           WTPLT5 WATTS PLT5 2
           GALLON EXPANSI                                                                   $0.00                                 $189.00


           A423SUNYALBANY56R
           MUELLER A423 5- 1                                                                $0.00                               $2,171.13


           A423ROT56BL
           MUELLER A423
           ROTTERDAM                                                                        $0.00                               $4,341.81


           A423SAR56 5'6
           SARATOGA SPRINGS,
           NY                                                                               $0.00                               $7,286.04


           A423SGF56 MUELLER
           A423 5'6" SOUTH G                                                                $0.00                               $2,171.13


           A-467 MUELLER SPIN-IN
           HYDRANT 5-1/4                                                                    $0.00                               $2,340.19


           CL50TY8 ATLANTIC
           STATES 8" CLASS 50                                                               $0.00                                 $968.55


           CL50TY10 10" CLASS 50
           TYTON PIPE MC                                                                    $0.00                                 $859.51


           CL52TY3 3" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                               $1,068.93


           CL52TY6 6" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                               $2,741.34


           CL52TY8 8" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $741.30


           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                              $-1,257.12


           CL52TY16 16" CLASS 52
           TYTON PIPE MC                                                                    $0.00                                   $50.55


           CL52TY24 24" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $3,062.49




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           CL54TY12 12" CL54
           TYTON DUCTILE IRO                                                                $0.00                               $1,690.16


           CL52TY30 30" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $2,340.00


           CL350TY12 12"
           PRESSURE CLASS 350
           TY                                                                               $0.00                                 $981.24


           CL350TY6 6" CL350
           TYTON DUCTILE IRO                                                                $0.00                                 $241.00


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                             $10,847.20


           CL52TY6 6" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $3,969.70


           CL52TY8 8" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $3,854.76


           CL52TY10 10" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $7,199.40


           CL52TY12 12" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $3,492.00


           CL52TY18 18" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $1,163.00


           CL51MJ8 8" CL51 MJ
           DUCTILE IRON PIP                                                                 $0.00                                 $639.72


           POLYWRAP20 20"X440'
           POLYWRAP 8mil F                                                                  $0.00                                 $600.60


           POLYWRAP37 37" X
           220' POLYWRAP (16"                                                               $0.00                                 $111.76


           POLYWRAP30 30" X
           440' POLYWRAP 8 MI                                                               $0.00                                 $533.28


           POLYWRAP24 24" X
           440'POLYWRAP 8 MIL                                                               $0.00                               $1,416.80


           POLYWRAP27 27"X440'
           POLYWRAP 8mil F                                                                  $0.00                                 $323.84


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           POLYTAPE2 2" X 100'
           POLYWRAP TAPE 3                                                                  $0.00                                   $92.00


           POLYWRAP16 8MIL
           POLYWRAP FOR 6" DIP                                                              $0.00                                   $99.00


           TRUPW24 24" X 308'
           POLYWRAP 8 MIL F                                                                 $0.00                                 $425.04


           POLYWRAP41 41"
           POLYWRAP FOR 20" DI                                                              $0.00                                 $469.04


           POLYWRAP30220 30" X
           220' POLYWRAP 8                                                                  $0.00                                 $280.01


           PW67 67" x 220'
           POLYWRAP 8 MIL FOR                                                               $0.00                                 $559.68


           POLYWRAP20 POLY
           WRAP FOR 6" DUCTILE                                                              $0.00                               $1,674.00


           MUE142764 5 1/4"
           BRONZE SEAT RING A                                                               $0.00                                 $206.84


           MUE142811 MUELLER
           A34 DRAIN VALVE F                                                                $0.00                                     $5.89


           MUE142893 A-44
           BOTTOM SEAT O-RING
           F                                                                                $0.00                                   $11.71


           MUE174765 H95
           SAFETY SLEEVE FOR
           IMP                                                                              $0.00                                   $72.78


           MUE184067 5' BURY
           LOWER STEM FOR A4                                                                $0.00                                 $116.42


           MUE184194 Mueller A-11
           Open Right U                                                                     $0.00                                 $131.73


           MUE185222 MUELLER
           H-74 UPPER STEM,                                                                 $0.00                                   $92.72


           MUE190113 MUELLER
           H-94 SET SCREW FO                                                                $0.00                                     $5.39




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MUE190352 MUELLER
           EXTENSION COUPLIN                                                                $0.00                                 $507.78


           MUE190435 MUELLER
           MAIN VALVE FOR 4-                                                                $0.00                                   $78.05


           MUE192329 MUELLER
           H-76 SAFETY FLANG                                                                $0.00                                   $12.53


           MUE192330 Mueller H-84
           Shoe Gasket                                                                      $0.00                                   $28.70


           MUE192342 HYDRANT
           HOSE NOZZLE CAP G                                                                $0.00                                     $3.20


           MUE192415 MUELLER
           H-59 BONNET GASKE                                                                $0.00                                 $112.79


           MUE194514 H-93/A-12
           O-RING PACKING                                                                   $0.00                                     $5.86


           MUE194522 MUELLER
           #42 O-RING FOR 5-                                                                $0.00                                     $5.86


           MUE194952 MUELLER
           H-121 WIPER RING                                                                 $0.00                                     $3.26


           MUE195033 MUELLER
           A-39 TOP SEAT "O"                                                                $0.00                                     $1.62


           MUE195156 MUELLER
           SCREW PIN FOR A10                                                                $0.00                                   $38.05


           MUE195161 MUELLER
           A-44 BOTTOM SEAT                                                                 $0.00                                   $46.84


           MUE195186 MUELLER
           A-39 TOP SEAT O-R                                                                $0.00                                   $58.55


           MUE195234 MUELLER
           CLEVIS PIN FOR CE                                                                $0.00                                   $48.49


           MUE195347 A-33/H-126
           STEM PIN FOR A                                                                   $0.00                                     $6.56


           MUE280070 A-41 DRAIN
           RING BOLT & NU                                                                   $0.00                                   $13.17



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           MUE280359 5-1/4" MAIN
           VALVE REPAIR                                                                     $0.00                                 $353.35


           MUE280366 MAIN
           VALVE REPAIR KIT FOR                                                             $0.00                                 $436.80


           MUE281951 A-4 OPEN
           LEFT HOLD DOWN N                                                                 $0.00                                   $47.25


           MUE-A17-5 5-1/4" NST
           PUMPER NOZZLE                                                                    $0.00                               $1,172.25


           MUE-A17-5-078 4-1/2"
           NST MUELLER PU                                                                   $0.00                               $1,302.50


           MUE-A17-5-ROTTERDA
           M-BLUE MUELLER 4-                                                                $0.00                                 $390.75


           MUE-A21-5 2-1/2" NST
           HOSE NOZZLE C                                                                    $0.00                                 $110.99


           MUE-A311-078 7/8"
           SQUARE HYDRANT OP                                                                $0.00                                   $25.48


           MUEA1SAR 7/8" square
           Mueller A-1 Op                                                                   $0.00                                 $148.72


           MUEA1SQL78 7/8 SQ
           OPERATING NUT OL                                                                 $0.00                                 $743.60


           MUE290272 5-1/4" HOSE
           NOZZLE GASKET                                                                    $0.00                                   $16.02


           MUEA45R 5-1/4" HOLD
           DOWN NUT OPEN R                                                                  $0.00                                   $94.49


           MUEA115L MUELLER
           5-1/4 UPPER STEM S                                                               $0.00                                 $137.70


           MUEA145 4-1/2" NST
           PUMPER NOZZLE FO                                                                 $0.00                                $-172.57


           MUEA205 5-1/4 HOSE
           NOZZLE O-RING 14                                                                 $0.00                                   $26.49


           MUE142987 MUELLER
           5-1/4 CAP CHAIN W                                                                $0.00                                 $126.62



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MUE195235 COTTER
           PIN FOR HYDRANTS H                                                               $0.00                                     $7.67


           MUEA301-00 5-1/4
           SAFETY KIT THREADE                                                               $0.00                                 $279.28


           MUEA319-006 MUELLER
           A421 4-1/2 X 6"                                                                  $0.00                                 $319.59


           MUEA320-006 5-1/4 X 6"
           A423 HYDRANT                                                                     $0.00                                 $351.50


           MUEA320-016 A423
           5-1/4" X 18" HYDRA                                                               $0.00                                 $468.37


           MUEA434 MUELLER
           4-1/2" BRONZE SEAT                                                               $0.00                                   $12.53


           MUEA505 5 1/4"
           SHOE,LESS MJ ACC P/N                                                             $0.00                               $1,921.11


           MUEA316-4.5 4-1/2"
           NOZZLE WRENCH, 1                                                                 $0.00                                   $94.02


           MUEA5110.5 HYDRANT
           OIL 10-1/2 OZ BO                                                                 $0.00                                   $30.43


           MUEPOPNUT78 7/8"
           MUELLER PENTAGON O                                                               $0.00                                   $50.24


           MUE190353 MUELLER
           REVERSIBLE MAIN V                                                                $0.00                                 $192.21


           MUE194932 A-7 OIL
           PLUG FOR A421/ A4                                                                $0.00                                   $18.28


           MUE148584 5 1/4"
           DRAIN RING HOUSING                                                               $0.00                                   $80.39


           MUE190356-1 A-46
           LOWER VALVE PLATE                                                                $0.00                                   $58.78


           MUE175233-1 MUE 5
           1/4" LOWER VALVE                                                                 $0.00                                   $19.59


           MUE194898 H-101/A-3
           HOLD DOWN NUT O                                                                  $0.00                                 $134.67



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                Name

           MUE280360 4-1/4" -
           4-1/2" IMPROVED                                                                  $0.00                                 $153.38


           MUE142804 BRONZE
           DRAIN RING A-42 5-                                                               $0.00                                 $141.27


           MUE190348 BONNET
           ORING FOR 4-1/2 &                                                                $0.00                                   $64.35


           MUE184094 MUELLER
           UPPER STEM ASSEMB                                                                $0.00                                 $131.73


           MUEA9 5 1/4" BONNET
           BOLT & NUT (280                                                                  $0.00                                 $118.51


           MUE184095 5 1/4"
           MUELLER UPPER STEM                                                               $0.00                                   $38.53


           MUE192331 5 1/4 #7 OR
           H115 IMPROVED                                                                    $0.00                                     $6.27


           MUE142781 MUELLER
           A165 PUMPER NOZZL                                                                $0.00                                   $35.13


           MUE185696 6' MUELLER
           H-104 LOWER ST                                                                   $0.00                                $-138.33


           MUE185698 7' MUELLER
           H-104 LOWER ST                                                                   $0.00                                   $68.02


           HRPIA320-006 5-1/4 X 6"
           HYDRANT EXT                                                                      $0.00                                 $192.72


           3 WAY HYDRANT CHAIN
           COMPLETE                                                                         $0.00                                   $78.00


           H-85 MUELLER 5" 107
           SHOE BOLT AND N                                                                  $0.00                                   $52.66


           A373250 - 2-1/2"
           MUELLER A373 HOSE                                                                $0.00                                 $531.48


           MUE195027 H-129 MAIN
           VALVE 5" MUELL                                                                   $0.00                                 $105.56


           A2360208L 8" MJ RW
           GATE VALVE OPEN                                                                  $0.00                               $4,600.24



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           A23600612L MUELLER
           12" OPEN LEFT FL                                                                 $0.00                               $1,696.97


           A23602010R 10" MJ RW
           GATE VALVE, OP                                                                   $0.00                               $4,289.40


           A23602012L 12" MJ RW
           GATE VALVE OPE                                                                   $0.00                               $3,614.38


           200M11W-4L 4" MJ RW
           GATE VALVE, OPE                                                                  $0.00                                 $795.82


           A23612316L 16" RW MJ
           OPEN LEFT GATE                                                                   $0.00                               $6,067.80


           A2361786L 6" MUELLER
           RESILIENT WEDG                                                                   $0.00                                 $633.48


           MUE156866-1
           OPERATING NUT FOR
           4", 6                                                                            $0.00                                   $55.63


           A248362.5 MUELLER
           2-1/2" OSY GATE V                                                                $0.00                               $1,079.59


           A2361206L 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $591.40


           2010MM-180R 8" RW MJ
           X MJ GATE VALV                                                                   $0.00                                 $614.49


           A2360-0610R
           10"FLANGED MUELLER
           GATE                                                                             $0.00                               $2,811.05


           MUEHW MISC MUELLER
           HANDWHEEL                                                                        $0.00                               $1,366.24


           060A199277 6" DIPS
           MUELLER AQUAGRIP                                                                 $0.00                                 $122.81


           sc3452fg camp #3452
           frame & grate                                                                    $0.00                                 $337.85


           T-2360-16-8R 8"
           TAPPING VALVE OPEN                                                               $0.00                               $2,345.65




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           T-USP019-8L 8" U.S.
           PIPE TAPPING O/                                                                  $0.00                               $1,172.83


           H615106 MUELLER 10 X
           6 TAPPING SLEE                                                                   $0.00                               $2,301.29


           MUE195825 H615
           TAPPING SLEEVE END
           G                                                                                $0.00                                 $340.82


           MUE195654 6" MJ
           TAPPING SLEEVE GASK                                                              $0.00                                   $57.21


           H61544 4X4 H615
           MUELLER TAPPING SLE                                                              $0.00                                 $796.82


           MUE#195826 END
           GASKET FOR 8" TAP SL                                                             $0.00                                 $184.06


           MUE198020 10" Mueller
           RW Tapping Va                                                                    $0.00                                     $8.31


           MUE198021 12"
           MUELLER RW TAPPING
           VA                                                                               $0.00                                   $37.43


           B3211-23-12L 12"
           MUELLER MJ BUTTERF                                                               $0.00                                 $604.75


           B-3211-20-16R 16"
           MUELLER OPEN RIGH                                                                $0.00                               $1,922.08


           PRATTMJBFV14 14"
           MUELLER/PRATT LIN                                                                $0.00                               $2,118.00


           F26404NISK56 CLOW
           5'6" BURY, F2640                                                                 $0.00                               $3,972.32


           F26404NISK6 CLOW
           F2640 EDDY 4-1/4"                                                                $0.00                               $2,020.48


           F26404NST56L F2640
           NST 4-1/4" X 5'6                                                                 $0.00                               $3,972.32


           F2640AMS6STORZ6
           F2640 EDDY AMSTERDA                                                              $0.00                               $4,539.04




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           F26404NST66L 4-1/4 X
           6'6" BURY F26                                                                    $0.00                               $2,055.24


           M300150 1-1/2" M-300
           GATE VALVE BRO                                                                   $0.00                                   $13.44


           M31050 1/2"AMERICAN
           M31 SWING CK VA                                                                  $0.00                                   $16.94


           3W075 3/4" 3W
           AMERICAN GATE
           VALVE W                                                                          $0.00                                     $0.00


           M100125 1-1/4" FULL
           PORT BALL VALVE                                                                  $0.00                                   $10.50


           G300075NL G-300 GATE
           VALVE 3/4" THR                                                                   $0.00                                     $4.99


           TC02X-125 SSFBV125 1
           1/4" SS FULL P                                                                   $0.00                                   $95.18


           M3001 AMERICAN M-300
           GV 1"                                                                            $0.00                                   $33.89


           CLO2640D56 DRAIN
           VALVE ASSEMBLY COM                                                               $0.00                                $-123.31


           CLO2640D6 DRAIN
           VALVE ASSEMBLY
           COMP                                                                             $0.00                                 $125.67


           CLO264064 COVER
           BOLT W/NUT 4-1/4 F2                                                              $0.00                               $3,348.84


           CLO2640EXT46
           HYDRANT EXTENSION,
           6"                                                                               $0.00                                 $856.58


           R1620899
           CLO2640EXT416 CLOW
           HYDRANT                                                                          $0.00                                 $356.40


           CLO2640EXT420
           HYDRANT EXTENSION
           2'                                                                               $0.00                                 $792.18


           CLO2640BFK5 5-1/4"
           BREAK FLANGE REP                                                                 $0.00                                 $144.18


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           CLO2640445 BOTTOM
           GASKET FOR 5-1/4"                                                                $0.00                                   $28.32


           CLO2640465 CLOW
           F2640 STEM COULPLIN                                                              $0.00                                   $63.72


           CLO264047 STEM
           COUPLING PIN FOR F26                                                             $0.00                                   $47.20


           CLO2640494
           BREAKFLANGE, 4-1/2",
           CLO                                                                              $0.00                                 $152.22


           CLO2640495
           BREAKFLANGE, 5-1/4",
           CLO                                                                              $0.00                                   $46.02


           F2200635 LOWER STEM
           ONLY,OPEN LEFT,                                                                  $0.00                                 $164.02


           CLO2640354 LEVER PIN,
           4-1/2" & 5-1/                                                                    $0.00                                   $33.04


           CLO2640365 CLEVIS &
           NUT, FOR F2640,                                                                  $0.00                                 $135.70


           CLO2640135 FLANGE
           BOLTS & NUTS, 5-1                                                                $0.00                                 $974.79


           CLO264014 FLANGE
           GASKET, 4-1/2" V.O                                                               $0.00                                 $594.72


           CLO2640145 FLANGE
           GASKETS, 5-1/4",                                                                 $0.00                                 $127.44


           CLO2640-16-5-L-BF
           HOSE NOZZLE, 2-1/                                                                $0.00                                 $162.84


           CLO2640195 UPPER
           STEM, 5-1/4", FOR                                                                $0.00                                 $383.50


           M0800832 1-1/2"
           PENTAGON NST
           OPERAT                                                                           $0.00                                   $85.55


           CLO2640245 VALVE
           RUBBER, 5-1/4", T1                                                               $0.00                                   $84.96



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           CLO264045 RUBBER
           PACKING 4-1/2" & 5                                                               $0.00                                 $106.20


           CLO264055 CLOW
           COVER WITHOUT
           PACKIN                                                                           $0.00                                 $455.48


           CLO264065 COVER
           BOLTS & NUTS, FOR 5                                                              $0.00                                 $428.34


           CLO2640-9-5-L PUMPER
           NOZZLE, 4-1/2"                                                                   $0.00                                 $536.31


           CLO2640125 PUMPER
           CAP WASHER,F2640                                                                 $0.00                                   $35.40


           CLO2500EXT410
           HYDRANT EXTENSION,
           1'                                                                               $0.00                                 $670.68


           CLO2500244 VALVE
           SEAT RUBBER, 4-1/2                                                               $0.00                                   $95.58


           CLO264017BETH Clow
           Bethlehem, NY Sp                                                                 $0.00                                 $102.66


           CLO2640D5 DRAIN
           VALVE COMPLETE, 5'0                                                              $0.00                                 $120.36


           CLO2640134 CLOW
           FLANGE BOLTS & NUTS                                                              $0.00                                   $83.67


           WRENCH2500
           HYDRANT VALVE SEAT
           WRENC                                                                            $0.00                                 $282.61


           CLO264054 COVER,
           4-1/4" & 4-1/2" FO                                                               $0.00                                 $227.62


           CLO264014 FLANGE
           GASKET, 4-1/4", FO                                                               $0.00                               $1,847.88


           R1620672 CLOW
           F2640(EDDY)/F2545
           MED                                                                              $0.00                                 $300.90


           R-1620673 Clow Pumper
           Nozzle Insert                                                                    $0.00                               $5,899.41



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           T2200952 DRAIN ROD
           COUPLING FOR F26                                                                 $0.00                                     $4.13


           CLO2640EXTSTEM18
           EXTENSION STEM ONL                                                               $0.00                                   $25.00


           F1600106 CLOW DRAIN
           CUP, 4- 1/2" &                                                                   $0.00                                   $79.65


           CLO264028A CLOW
           SNAP RING-STAINLESS                                                              $0.00                                   $21.24


           CLO264045A CLOW
           STEM NUT CLIP, 4-1/                                                              $0.00                                   $10.62


           CLO264027A CLOW
           BRONZE THRUST
           WASH                                                                             $0.00                                 $250.75


           F2400249 CLO26403
           PACKING GLAND FOR                                                                $0.00                                 $273.76


           CLO264022A CLOW "O"
           RING (2), NEW S                                                                  $0.00                                    $-4.72


           F2300200 BOTTOM NUT,
           O/R, 4-1/4" V.                                                                   $0.00                                   $76.70


           CLO26401 HOLD DOWN
           CAP SCREW, 4-1/2                                                                 $0.00                                     $4.13


           CLO2640EXT412
           4-1/4"x12" CLOW F2640                                                            $0.00                                 $335.34


           F2202814 LOWER STEM
           ONLY, O/L, 4-1/                                                                  $0.00                                 $430.11


           R1620365 CLO2640BB4
           CLOW "BB" HYDRA                                                                  $0.00                                 $120.36


           CLO2640BB4-A CLOW
           F2640 4-1/4" ACTU                                                                $0.00                                 $361.08


           F2300094 CLOW
           BOTTOM NUT, 5-1/4" V.                                                            $0.00                                   $95.58


           M1600800-A CLOW
           F2640 4-1/4 ACTUAL                                                               $0.00                                 $108.56


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           SCOTIA SPEC
           CLO2640-2-5 CLOW 4-64                                                            $0.00                                 $153.99


           CLO2640105 PUMPER
           NOZZLE CHAIN FOR                                                                 $0.00                                   $49.56


           CLO2640-9-5-T PUMPER
           NOZZLE, 4-1/2"                                                                   $0.00                                 $357.54


           CLO2640-9-5-L-TROY
           CLOW F2640 4" BL                                                                 $0.00                               $1,251.39


           CLO2640-16-5-T-SCOTIA
           CLOW #100 F26                                                                    $0.00                                 $569.94


           CLO264075 SWIVEL
           RING FOR 5 1/4" ED                                                               $0.00                                   $58.41


           CLO264032 CLOW
           DRAIN SPOOL LOCK
           NUT                                                                              $0.00                                   $86.73


           CLO2500-1-150-L
           OPERATING NUT, 1-1/                                                              $0.00                                   $19.47


           I1600134 Clow Swivel
           Ring for 4-1/4                                                                   $0.00                                   $53.10


           CLO2640EXTSTEM24
           EXTENSION STEM ONL                                                               $0.00                                   $50.00


           CLO2640HYDEXT520S
           CLOW SWIVEL EXTEN                                                                $0.00                                 $465.39


           CLO2640DREXT24 24"
           DRAIN ROD EXT                                                                    $0.00                                   $51.33


           CLO2640-11-5 4-1/2"
           NST PUMPER NOZZ                                                                  $0.00                                 $247.80


           T0400128 CLOW BRASS
           COTTER PIN FOR                                                                   $0.00                                   $18.05


           CLO2640335 DRAIN
           SPOOL PART# 33, F1                                                               $0.00                                   $54.28




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           CLO2640305 5 1/4 STEM
           WEDGE                                                                            $0.00                                   $24.78


           CLO2640-45-5 Clow
           F2640 6" MJ Shoe                                                                 $0.00                               $1,419.90


           CLO2545-M36-450 4-1/2"
           NST PUMPER N                                                                     $0.00                                   $89.39


           CLO25002-5 F2500
           BONNET 5-1/4" HYDR                                                               $0.00                                 $240.24


           CLO2640254 #25 F2640
           SEAT RING 4-1/                                                                   $0.00                                 $253.12


           PR4065 2-1/2"
           Potter-Roemer Hydrant                                                            $0.00                                 $120.00


           MUELLER
           McCULLOUGH LID
           #282877 18"                                                                      $0.00                                     $0.00


           H13442-075 8X3/4CC
           MUELLER BRONZE C                                                                 $0.00                                 $593.56


           H13444-100 12 X 1CC
           MUELLER BRONZE                                                                   $0.00                                 $691.40


           BR2B1104CC200 10" X
           2"CC SADDLE, DO                                                                  $0.00                                 $162.97


           S13441-1 MUELLER 6" x
           1" CC HINGED                                                                     $0.00                                 $890.82


           H15550-100 1" COMP X
           SWIVEL COMP AD                                                                   $0.00                                 $167.43


           S13442-075 8" X 3/4" CC
           BRONZE SADD                                                                      $0.00                                 $118.71


           F61003L 3" MJ RW
           GATE VALVE OPEN LE                                                               $0.00                               $1,148.70


           F61008L 8" MJ RW
           GATE VALVE OPEN LE                                                               $0.00                               $4,410.00


           F610216L 16" FLG RW
           GATE VALVE NRS                                                                   $0.00                             $17,449.13


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           T2401039 R14 FOR 4"
           CLOW RW VALVE                                                                    $0.00                                     $0.00


           M2202391 CLOW
           MEDALLION 24"
           EXTENSI                                                                          $0.00                                   $28.00


           MCD3805 12" X 2" CC
           SADDLE, 12"C-90                                                                  $0.00                                 $100.04


           B25008N-075 3/4" BALL
           CORPORATION C                                                                    $0.00                               $1,221.80


           B25008N-100 1" BALL
           CORPORATION CC                                                                   $0.00                                $-155.56


           B25028N-200 2" COMP X
           IP BALL CORPO                                                                    $0.00                                 $774.03


           B25209N-100 1" COMP
           CURB STOP BALL                                                                   $0.00                                $-251.72


           H10036-200X100 MUE.
           CC BRASS BUSHIN                                                                  $0.00                                   $33.43


           H15008N-075 3/4" CC X
           COMP CORPORAT                                                                    $0.00                                   $54.56


           H15053-075 3/4"
           COPPER GASKET,
           FLAR                                                                             $0.00                                     $6.77


           H15053-100 1" COPPER
           FLARE GASKET.                                                                    $0.00                                   $37.58


           H15053-150 1 1/2
           MUELLER COPPER GAS                                                               $0.00                                     $6.79


           H15053-200 2" COPPER
           GASKET FLARE,                                                                    $0.00                                     $5.65


           H15209N-100 1"
           COMPRESSION CURB
           STO                                                                              $0.00                                 $737.82


           H15403N-075 3/4"
           COMPRESSION UNION                                                                $0.00                                   $30.46



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           H15403N-100X075 1" X
           3/4" COMPRESSI                                                                   $0.00                                 $100.78


           MUE504385 1"
           STAINLESS STEEL
           INSERT                                                                           $0.00                                     $8.80


           MUE506139 1-1/2"
           STAINLESS STEEL IN                                                               $0.00                                   $47.01


           MUE581949 3/4" 110
           COMPRESSION GASK                                                                 $0.00                                     $4.31


           MUE581951 1" 110
           COMPRESSION
           GASKET                                                                           $0.00                                   $30.27


           MUE581957 2" 110
           COMPRESSION
           GASKET                                                                           $0.00                                     $3.69


           MUE681516 1/2" CTS
           COMPRESSION GASK                                                                 $0.00                                 $267.35


           MUE780069 18" CENTER
           LOCKING PIT CO                                                                   $0.00                                 $102.96


           H10283N-075 3/4" FIP
           CURB STOP MUEL                                                                   $0.00                                   $86.62


           H14258N-058X075X075
           5/8 X 3/4 X 3/4                                                                  $0.00                                 $129.62


           B25209N-075 3/4" COMP
           CURB STOP, BA                                                                    $0.00                               $1,169.55


           H15219N-100 1" CTS
           COMPRESSION CURB                                                                 $0.00                                 $379.60


           H15526N-150 1-1/2"
           COMPRESSION 90 B                                                                 $0.00                                 $326.46


           H15204N-100 1" FLARE
           CURB, MUELLER                                                                    $0.00                                   $85.88


           H10283N-150 1-1/2"
           CURB STOP, MUELL                                                                 $0.00                                 $138.93




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           H15451N-075X100
           MUELLER 3/4" X 1" L                                                              $0.00                                 $263.09


           B24258N-01-100
           MUELLER LOW LEAD 1"                                                              $0.00                                 $103.62


           H15023N-200 2" MIP X
           COMPRESSION CO                                                                   $0.00                               $1,800.12


           H10033N-100 1" CC
           PLUG SQUARE HEAD                                                                 $0.00                                   $11.19


           H10033N-150 MUELLER
           1-1/2 LOW LEAD                                                                   $0.00                                 $218.98


           H10033N-200 2" CC
           PLUG SQUARE HEAD                                                                 $0.00                                   $25.81


           B25028N-075 MUELLER
           3/4" LOW LEAD I                                                                  $0.00                                   $39.41


           B25000N-100 1" BALL
           CORP CC X FLARE                                                                  $0.00                                   $98.17


           B25204N-075 3/4"
           FLARED BALL CURB M                                                               $0.00                                 $282.66


           H15013N-150 1-1/2" CC
           X COMPRESSION                                                                    $0.00                                 $483.64


           B2996N-200 MUELLER
           2" LOW LEAD CCXM                                                                 $0.00                                 $526.96


           H10284N-100 1" IP
           CURB WITH DRAIN,                                                                 $0.00                                   $76.75


           H15000N-100 1" FLARE
           CORPORATION MU                                                                   $0.00                                   $38.80


           H15204N-075 3/4"
           FLARE CURB MUELLER                                                               $0.00                                   $56.53


           H15204N-200 2" FLARE
           CURB, MUELLER                                                                    $0.00                                 $312.62


           H15524-200 2"
           MUELLER FIBER
           GASKET                                                                           $0.00                                   $27.68


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           H1412N-058X075 5/8 X
           3/4 NO LEAD                                                                      $0.00                                 $206.74


           H15076N-100 1" 90
           BEND,INSIDE COPPE                                                                $0.00                                 $114.45


           B25008N-150X200
           MUELLER LOW LEAD
           BA                                                                               $0.00                               $1,561.84


           B25008-00N-150
           MUELLER LOW LEAD
           1-1                                                                              $0.00                                 $291.09


           B25008-00N-150X200
           1-1/2" CC X 2" B                                                                 $0.00                                 $873.24


           H15071N-075X100
           MUELLER 3/4" CST X                                                               $0.00                                   $16.84


           H15450N-075 MUELLER
           3/4" LOW LEAD F                                                                  $0.00                                 $143.01


           H15524-058 5/8" FIBER
           GASKET FOR 3/                                                                    $0.00                                   $13.16


           MUE507831 3/4" 110
           COMPRESSION NUT                                                                  $0.00                                   $17.27


           B20283N-150 1-1/2" 300
           STRAIGHT BAL                                                                     $0.00                                 $277.85


           H15450N-100 1" FLARE
           X FIP ADAPTER                                                                    $0.00                                 $117.43


           H15020N-075 MUELLER
           3/4" LOW LEAD C                                                                  $0.00                                 $150.67


           H15020N-100 1" CC X
           FLARE CORPORATI                                                                  $0.00                                 $114.00


           B2520901N-075
           MUELLER 3/4" LOW
           LEAD                                                                             $0.00                                 $461.54


           H15204N-125 MUELLER
           1-1/4" LOW LEAD                                                                  $0.00                                 $219.00



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           B25008-00N-075 3/4"
           BALL CORP CC X                                                                   $0.00                                 $386.71


           H15000N-125 1-1/4 CC X
           FLARE CORPOR                                                                     $0.00                                 $116.79


           H15451N-075X050 3/4"
           CTS X 1/2" FIP                                                                   $0.00                                   $19.56


           H15219N-150 MUELLER
           1-1/2" LOW LEAD                                                                  $0.00                               $1,357.42


           P25008N-075 3/4" BALL
           CORP PACK JOI                                                                    $0.00                                   $78.83


           MCD76102Q-200 2"
           BALL CURB VALVE, Q                                                               $0.00                                 $591.94


           H-15523 1" RED FIBER
           GSKT. XS LEAD                                                                    $0.00                                     $1.55


           H-15523 5/8" RED FIBER
           GSKT. XS LEA                                                                     $0.00                                   $99.07


           H15008N-050 1/2" CC X
           COMPRESSION C                                                                    $0.00                                 $112.71


           H15429N-100 1" IPS
           COMP X 1" MIP LO                                                                 $0.00                                 $120.16


           H14222N-100 1"
           MULTI-PURPOSE
           THREAD                                                                           $0.00                                 $160.95


           H1412N-100 1" METER
           HORN LOW LEAD M                                                                  $0.00                                   $91.25


           H14227N-100 1" MULTI
           THREAD X COMPR                                                                   $0.00                                 $127.02


           H15509N-058X075 5/8 X
           3/4 XS LEAD X                                                                    $0.00                                 $200.43


           MUE92656 1" 92656
           COMPRESSION NUT W                                                                $0.00                                 $198.63




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           MUE92655 3/4"
           COMPRESSION THAW
           NUT                                                                              $0.00                                   $81.76


           H10036-150 X 100 1 1/2
           CC X 1 CC MU                                                                     $0.00                                 $141.95


           B2520901N-100
           MUELLER 1" LOW LEAD
           O                                                                                $0.00                                     $0.00


           P2520901N-075 3/4"
           COMPRESSION CURB                                                                 $0.00                                 $446.64


           H15071-125 1-1/4"
           MUELLER CST X COM                                                                $0.00                                 $115.75


           MCD74758-22-075X100
           3/4"x1" 22 CTS                                                                   $0.00                                 $747.49


           B44-333 3/4" FORD
           COMP CURB STOP                                                                   $0.00                                   $77.21


           FB1000-7NL 2" CORP,
           LOW LEAD, FORD                                                                   $0.00                                 $186.21


           C14-77NL 2" FIP X
           COMP ADAPTER, FOR                                                                $0.00                                   $58.49


           C45-43NL 1" COPPER
           COMPRESSION X 3/                                                                 $0.00                                 $330.30


           C45-33NL 3/4" COPPER
           COMPRESSION X                                                                    $0.00                                   $31.92


           C45-11NL 1/2" IP COMP
           X 1/2" CTS CO                                                                    $0.00                                 $108.78


           203NL-H4H4
           CAMBRIDGE BRASS 1"
           BALL                                                                             $0.00                                     $0.00


           253NL-H6H6
           CAMBRIDGE BRASS
           1-1/2" C                                                                         $0.00                                 $149.53


           MCD10J12 5/8" TO 5/8 x
           3/4" METER B                                                                     $0.00                                   $62.24



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           MCD11-3JC 43 DUAL
           CHECK VALVE SWIVE                                                                $0.00                                 $161.80


           MCD4700-55GA 3/4" IP
           GASKET AND FR                                                                    $0.00                                   $61.00


           MCD4700-T-200 2"
           McDonald Tube Type                                                               $0.00                                   $34.67


           MCD6100-33-200 - 2"
           MCDONALD BALL C                                                                  $0.00                               $1,089.92


           MCD7113LK33NL
           K-HORN DUAL IN LINE
           C                                                                                $0.00                                   $54.81


           MCD741-2NL METER
           CORNERHORN K STYLE                                                               $0.00                                   $45.68


           MCD74620 5/8" METER
           X 3/4" MIP TAIL                                                                  $0.00                                 $189.28


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                               $1,176.12


           MCD74701BQ-200 2"
           CORP AWWA X Q CTS                                                                $0.00                                 $238.95


           MCD74701NL-22
           McDONALD 5/8" X 3/4"                                                             $0.00                                   $95.36


           MCD74701Q-075 3/4"
           CORPORATION STOP                                                                 $0.00                               $1,225.92


           MCD74701Q-100 1"
           CORPORATION STOP                                                                 $0.00                               $1,553.57


           MCD74701Q-150 1-1/2"
           CC X COMPRESSI                                                                   $0.00                               $1,173.10


           MCD74753-22-075NL
           3/4" CTS COMPRESS                                                                $0.00                                 $273.87


           MCD74753-44-125 1-1/4"
           MIP X PVC CO                                                                     $0.00                                  $-48.01


           MCD74753-Q-075 3/4" Q
           COMP X MIP AD                                                                    $0.00                                 $425.32


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           MCD74753-Q-100 1" Q
           COMP X MIP ADAP                                                                  $0.00                                $-143.94


           MCD74753-Q-100X075 1"
           X 3/4" COMP X                                                                    $0.00                                 $269.02


           MCD74753-Q-200 2"
           COMPRESSION X MIP                                                                $0.00                                  $-71.85


           MCD74754-22-075NL
           3/4" CTS X FIP AD                                                                $0.00                                   $79.46


           MCD74754-Q-075 3/4"
           FIP X COMP ADAP                                                                  $0.00                                 $143.74


           MCD74754-Q-100 1"
           COMP X FIP ADAPTE                                                                $0.00                                 $151.68


           MCD74754-Q-200 2"
           COMPRESSION X FIP                                                                $0.00                                  $-75.05


           MCD747541-22-075 3/4"
           CTS PACK JOIN                                                                    $0.00                                  $-12.15


           MCD74754Q-150 1-1/2"
           FIP ADAPTER, N                                                                   $0.00                                 $315.21


           MCD74758-22-075NL
           3/4" UNION, CTS X                                                                $0.00                                 $166.46


           MCD74758-22-100 1"
           COMP UNION, CTS                                                                  $0.00                                   $21.16


           MCD74758-22-55-075X10
           0NL 3/4" X 1"                                                                    $0.00                                   $84.72


           MCD74758-22-55-100NL
           1" COUPLING, 2                                                                   $0.00                                  $-27.47


           MCD74758-22-67 3/4" X
           5/8" 3PC UNIO                                                                    $0.00                                 $331.64


           MCD74758-22-67-075X10
           0NL 3/4" X 1"                                                                    $0.00                                 $360.02


           MCD74758-22-68-075NL
           3/4" COPPER CO                                                                   $0.00                                 $523.68


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           MCD74758-Q-075X100 1"
           X 3/4" COUPLI                                                                    $0.00                                 $257.87


           MCD74758-Q-150 1-1/2"
           COMPRESSION C                                                                    $0.00                                 $386.73


           MCD74758-Q-200 2"
           COMPRESSION COUPL                                                                $0.00                                 $478.24


           MCD74758Q-100 1"
           COMPRESSION COUPLI                                                               $0.00                                 $211.61


           MCD74761Q-075 3/4"
           COMP 90 BEND, C                                                                  $0.00                                   $71.67


           MCD76100-44-125NL
           1-1/4" BALL CURB                                                                 $0.00                               $1,439.28


           MCD76100-44-150 1-1/2"
           FULL PORT BA                                                                     $0.00                                 $746.99


           MCD76100-44-200NL 2"
           BALL CURB STOP                                                                   $0.00                                 $373.39


           MCD76100Q-075 3/4"
           COMPRESSION CURB                                                                 $0.00                               $1,811.78


           MCD76100Q-100 1"
           76100Q CURB STOP B                                                               $0.00                               $2,218.96


           MCD76100Q-150 1-1/2"
           COMPRESSION CU                                                                   $0.00                                 $241.38


           MCSAD6.75 6" X 3/4"
           BRASS SADDLE F/                                                                  $0.00                                   $93.12


           MCSAD61 MCDONALD
           6" X 1" BRASS SADD                                                               $0.00                                 $512.18


           MCSAD8.75 MCDONALD
           8" X 3/4" CC BRA                                                                 $0.00                               $1,215.58


           MCSAD81 MCDONALD
           8" X 1" CC TAP BRA                                                               $0.00                                   $63.98




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           McD3801-8X2CC
           MCDONALD 8" X 2"CC
           BR                                                                               $0.00                                 $271.80


           MCD4753-33-200 2"
           MCDONALD PE PIPE                                                                 $0.00                                 $144.38


           MCD45-2 MCDONALD
           45-2 PZ STYLE 5/8                                                                $0.00                                 $232.50


           MCDSETTER721-410 1"
           MCDONALD METER                                                                   $0.00                                 $435.10


           MCD74620 1-1/2"
           METER TAIL PIECE, 5                                                              $0.00                                   $77.18


           MCD73149B-075 3/4"
           BALL CORP STOP M                                                                 $0.00                                 $369.27


           MCSAD81.5 8"x1.5" CC
           TAP McDONALD B                                                                   $0.00                                 $256.79


           H15535-075 3/4"
           COPPER DISC
           MUELLER                                                                          $0.00                                     $4.53


           H15535-200 2"
           MUELLER COPPER
           DISC                                                                             $0.00                                     $4.60


           MUE507847 MUELLER
           1-1/2" 110 COMPRE                                                                $0.00                                     $8.92


           H15428N-075 3/4"
           COMPRESSION X MIP                                                                $0.00                                   $11.37


           H15428N-100 1"
           COMPRESSION X MIP
           AD                                                                               $0.00                                   $40.30


           H15451N-075 3/4"
           COMPRESSION X FIP                                                                $0.00                                   $12.18


           H15509N-075 3/4" CTS X
           XS LEAD FLAN                                                                     $0.00                                   $49.79


           H15071N-075 3/4"
           ADAPTER CST X COMP                                                               $0.00                                   $38.84



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           H15428N-125 1-1/4"
           COMPRESSION X MI                                                                 $0.00                                   $25.94


           H15428N-050 1/2"
           COMPRESSION X MIP                                                                $0.00                                   $34.47


           H15403N-050 1/2"
           UNION, MUELLER LOW                                                               $0.00                                   $75.15


           H15071N-050 1/2" NO
           LEAD CST X COMP                                                                  $0.00                                 $365.69


           H15071N-150 MUELLER
           1-1/2" LOW LEAD                                                                  $0.00                                   $51.68


           H15451N-050 1/2"
           COMPRESSION X FIP                                                                $0.00                                   $11.13


           H15428N-200 2"
           COMPRESSION X MIP
           AD                                                                               $0.00                                   $54.12


           H15451N-150 1-1/2"
           COMPRESSION X FI                                                                 $0.00                                   $47.50


           H15425N-100 1" FLARE
           X MIP ADAPTER,                                                                   $0.00                                   $28.86


           H15403N-125 1-1/4"
           COUPLING MUELLER                                                                 $0.00                                   $43.34


           H15403N-150 1-1/2"
           COMPRESSION UNIO                                                                 $0.00                                   $53.36


           H15425N-075 3/4"
           FLARE X MIP ADAPTE                                                               $0.00                                 $131.24


           H15526N-100 1"
           COMPRESSION 90,
           MUEL                                                                             $0.00                                   $21.89


           H15071N-100 1" COMP X
           FLARE ADAPTER                                                                    $0.00                                 $190.20


           H15400N-075 3/4"
           FLARE UNION MUELLE                                                               $0.00                                   $25.54




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           H15400N-100 1" FLARE
           UNION, MUELLER                                                                   $0.00                                   $89.40


           B24339 HANDLE 3/4" &
           1" BALL CURB V                                                                   $0.00                                   $55.20


           H15428N-075X050 1/2"
           MIP X 3/4" CTS                                                                   $0.00                                   $10.70


           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                   $55.42


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $417.31


           202NL-H4H4 1" CB
           COMP X CB COMP BRA                                                               $0.00                               $1,057.46


           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                 $168.80


           301NL-A6H6 1-1/2"
           BALL CORPORATION,                                                                $0.00                                 $126.12


           311-A4H4 CAMBRIDGE
           BRASS 1" CB COR                                                                  $0.00                                   $53.35


           311NL-A6H6
           CAMBRIDGE BRASS
           1-1/2" L                                                                         $0.00                                 $696.41


           311NL-A7H7 2" BALL
           CORP WITH TEE HE                                                                 $0.00                                 $221.70


           800-0480-A3
           CAMBRIDGE BRASS 4"
           X 3/                                                                             $0.00                                 $118.99


           800-1110-A3
           CAMBRIDGE BRASS 10"
           X3                                                                               $0.00                                 $159.68


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                 $143.41


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                 $320.31




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           SSINSERT125 1-1/4"
           STAINLESS STEEL                                                                  $0.00                                   $52.82


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                   $93.98


           SSINSERT200 2"
           STAINLESS STEEL INSE                                                             $0.00                                   $28.28


           119NL-H6H6 1-1/2"
           COUPLING,CB COMP                                                                 $0.00                                 $185.41


           301NL-A6F6 1 1/2"
           CAMBRIDGE LEAD FR                                                                $0.00                                 $122.04


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                   $32.30


           202NL-H3H3 3/4" BALL
           CURB STOP, LOW                                                                   $0.00                                 $468.79


           117NL-H6M6 1-1/2"
           COMP X 1-1/2" MIP                                                                $0.00                                $-172.12


           417NL-T3M1 3/4" METER
           TAIL NUT X 1/                                                                    $0.00                                   $54.61


           117NL-H4M4 1"
           COMPRESSION X 1" MIP                                                             $0.00                                   $39.93


           311NL-A3H3 3/4" LEAD
           FREE CAMBRIDGE                                                                   $0.00                                 $453.50


           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                 $101.16


           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                               $2,755.38


           202NL-F3F3 3/4" FIP X
           3/4" FIP CURB                                                                    $0.00                                   $34.34


           302NL-A3H3 3/4"
           CORPORATION CC X CT                                                              $0.00                                 $294.18


           812-0750-A4 6" X 1" CC
           BRASS SADDLE                                                                     $0.00                                   $52.04



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           M1200211 CLOW
           SPRING LEVER ARM
           FOR                                                                              $0.00                             $11,198.88


           T1200086 CLOW
           SPRING W/IBLT&NUT
           L11                                                                              $0.00                                     $8.21


           M1200179 LEVER HUB
           FOR CLOW L115 CH                                                                 $0.00                               $5,599.44


           F2400514 STUFFING
           BOX FOR CLOW L115                                                                $0.00                                 $126.00


           T2400181 PACKING FOR
           CLOW L115 CHEC                                                                   $0.00                                   $56.00


           F2400425 PACKING
           GLAND FOR L115 CHE                                                               $0.00                                   $16.24


           I0800097 8" OPERATING
           NUT FOR OPEN                                                                     $0.00                                   $66.08


           M0800108 CLOW 8"
           OPEN RIGHT OPERATI                                                               $0.00                                   $78.40


           F56602 CLOW F5660 #2
           STEM GUIDE 2-                                                                    $0.00                                 $108.26


           STEM GUIDE #2 2-12"
           from wall 1-1/                                                                   $0.00                                 $270.65


           CLOCIVGSKT4 4"
           GASKET FOR CLOW
           CUTT                                                                             $0.00                                 $399.17


           CLOCIVGSKT6 6"
           GASKET FOR CLOW
           CUT                                                                              $0.00                                 $110.75


           CLOCIVGSKT12 12"
           GASKET FOR CLOW CU                                                               $0.00                                   $57.83


           FS1-93912 8" (8.99-9.39)
           12" WRAPAR                                                                       $0.00                                   $72.76


           FS1-939-7.5
           8"(8.99-9.39)7 1/2" SS                                                           $0.00                                   $90.79



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           CL1-9.40 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                 $135.96


           CL1-2.63 X 15 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                   $33.05


           CL1-9.00 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                   $67.98


           CL1-2.63 X 12 CL1
           REPAIR CLAMP STAI                                                                $0.00                                 $148.08


           F52051010 10X10 F5205
           CLOW TAPPING                                                                     $0.00                               $3,450.30


           F53806 6" CLOW PLAIN
           CHECK VALVE ST                                                                   $0.00                               $1,136.09


           F53823 3" CLOW
           WEIGHT & LEVER
           CHECK                                                                            $0.00                                 $978.56


           CLO6364 4" Clow
           (Williams-Hager) Si                                                              $0.00                                 $285.31


           F5382-46 4"x6" CLOW
           FLANGED INCREAS                                                                  $0.00                               $2,598.40


           F53704L 4" OL CLOW
           MJ BUTTERFLY VAL                                                                 $0.00                                 $919.80


           ARD54126L 6"
           FLANGED ECC PLUG
           VALVE                                                                            $0.00                                 $380.00


           F541214 CLOW 14"
           FLANGE ECC PLUG VA                                                               $0.00                               $3,754.26


           WAT-77 WATEROUS
           REF#77 UPPER MAIN V                                                              $0.00                                   $92.25


           WAT92 WATEROUS
           WB67 UPPER
           STANDPIPE                                                                        $0.00                                 $101.97


           WATW3718-40 WB67
           O-RING SUPPORT PAC                                                               $0.00                                   $10.57




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           K562-006 6" WATEROUS
           WB-67 GROUNDLI                                                                   $0.00                                 $352.03


           WATK528 WATEROUR
           K528 HYDRANT TRAFF                                                               $0.00                               $1,306.80


           WAT6C 6C NUTS FOR
           WB67 PACER HYDRAN                                                                $0.00                                   $10.55


           WAT64 WATEROUS
           FLANGE LOCK RING                                                                 $0.00                                   $29.52


           WATK449 WATEROUS
           PACER HYDRANT MAIN                                                               $0.00                                 $353.98


           WAT63 #63 FLANGE,
           LOWER FOR WB67                                                                   $0.00                                 $158.41


           WAT11B 4 1/2 PUMPER
           CAP GASKET                                                                       $0.00                                   $19.56


           K562-030 36"
           WATEROUS WB-67
           GROUNDL                                                                          $0.00                                 $386.13


           AFC2500MRV8L 8" RW
           GATE VALVE, OPEN                                                                 $0.00                               $4,814.80


           AFC2500MRV4L 4" MJ
           RW GATE VALVE, O                                                                 $0.00                                 $395.00


           WATTS44 4X4
           WATEROUS TAP
           SLEEVE                                                                           $0.00                                 $230.20


           M200-12 MURDOCK
           M200 SEAT WASHER                                                                 $0.00                                     $3.00


           Murdock 200-14 Ring
           Washer                                                                           $0.00                                     $6.00


           Murdock 200-13 Cup
           Washer                                                                           $0.00                                   $12.00


           DEZPV1 1" DEZURIK
           PLUG VALVES                                                                      $0.00                                   $35.38




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           DEZEPV4F 4" DEZURIK
           FLANGED PLUG VA                                                                  $0.00                               $2,034.00


           PRATTEPV6FN PRATT
           6" ECCENTRIC PLUG                                                                $0.00                                 $703.00


           6" FLG DEZURIK ECC
           PLUG VALVES w/ 2                                                                 $0.00                                 $521.00


           PRATTPV8MJG 8" MJ
           PLUG VALVE WITH 2                                                                $0.00                                 $990.00


           DEZURIKFLECCPLG3 3"
           DEZURIK FLANGED                                                                  $0.00                                 $326.00


           PRATTEPV10F 10"
           PRATT FLANGED PLUG                                                               $0.00                               $2,476.00


           TSSF-1442-0800-12 TPS
           12" X 8" OVER                                                                    $0.00                                 $724.13


           TPSMJTS86 8" X 6"
           TAPPING SLEEVE WI                                                                $0.00                                 $867.17


           PVCCKV2 2" PVC CK
           VALVE                                                                            $0.00                                   $22.90


           200W11WMATFGV4 4"
           FLANGED GATE VALV                                                                $0.00                                 $418.88


           HANDWHEEL MISC.
           HANDWHEELS                                                                       $0.00                                   $33.95


           200W14W 8" FLANGE
           NRS RW GATE VALVE                                                                $0.00                                 $410.07


           MATFGV3LHW 3"
           FLANGE RW VALVE
           WITH                                                                             $0.00                                 $172.39


           200W13W 6" RW NRS
           FLANGE GATE VALVE                                                                $0.00                               $1,070.54


           TEAMIV6L 6" TEAM
           INDUSTRIAL INSERT                                                                $0.00                               $3,135.00


           TEAMIV8L 8" TEAM
           INDUSTRIAL INSERT                                                                $0.00                               $4,132.50


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           TEAMIV8R 8" OR TEAM
           INDUSTRIAL INS                                                                   $0.00                               $8,265.00


           TEAMIV12R 12" OPEN
           RIGHT TEAM INDUS                                                                 $0.00                               $8,882.50


           TEAMIV4R 4" OR TEAM
           INDUSTRIAL INS                                                                   $0.00                               $2,660.00


           TEAMIV12L 12" OL
           TEAM INDUSTRIAL I                                                                $0.00                               $8,882.50


           MILOSY3L 3" FLANGE
           OSY NON-AWWA IBB                                                                 $0.00                               $1,458.00


           200M15W10L 10" MJ RW
           GATE VALVE OPE                                                                   $0.00                               $1,387.18


           MATCOOSY12L 12"
           FLANGE OS&Y RW
           GATE                                                                             $0.00                               $1,724.29


           200M13W6L 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                               $2,676.36


           200M13RW-6R 6" MJ RW
           VALVE, OPEN RI                                                                   $0.00                                 $275.14


           DRYHYDCAP-600 6"
           Kenmar Dry Hydrant                                                               $0.00                                   $92.40


           ECLYDHYD.75X5 3/4" X
           5' BURY YARD H                                                                   $0.00                                 $414.75


           ECLFIGA 3/4" Kupferle
           Eclipse Figur                                                                    $0.00                                   $10.13


           CAM2A P59212A PART
           A 2" ALUMINUM CA                                                                 $0.00                                     $5.79


           15751-NPSH 1" FOG
           NOZZEL WITH NPSH                                                                 $0.00                                   $12.95


           CAM6A 6" ALUMINUM
           CAM-LOCK QUICK C                                                                 $0.00                                   $22.74




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           ECLYDHYD.75X6
           ECLIPSE #1 3/4 X 6' Y                                                            $0.00                                 $483.00


           WOODFORDY25 1" X 5'
           Y2 YARD HYDRANT                                                                  $0.00                                 $149.00


           ECLIPSE MODEL #77
           MAINGUARD HYDRANT                                                                $0.00                               $1,005.00


           MURV475 3/4"
           MURDOCK FLUSH BOX
           WITH                                                                             $0.00                                 $303.75


           KM-200-6M90 KENMAR
           6" DRY HYDRANT,M                                                                 $0.00                                 $192.50


           62-EK-6-5 6" B62B 5 1/4
           GROUNDLINE                                                                       $0.00                                 $145.20


           K81A5NST56L 5'6"
           BURY K-81A NST 5-1                                                               $0.00                               $2,099.24


           K81ANST56R 5'6" OPEN
           RIGHT K81A HYD                                                                   $0.00                               $2,099.24


           K81AUTICA6 KENNEDY
           K81A 4-1/2",6' B                                                                 $0.00                               $8,081.92


           KV441692P VALVE TO
           HYDRANT GASKET F                                                                 $0.00                                   $17.60


           KENK81EXTCPLG5 5"
           K-81 EXT. CPLG                                                                   $0.00                                     $8.36


           K81HYDEXT18 18" K81
           HYDRANT 5-1/4"                                                                   $0.00                               $3,504.48


           KEN-445776P 4-1/2"
           Kennedy Main Val                                                                 $0.00                                   $61.95


           KEN445904P 5-1/4"
           MAIN VALVE RUBBER                                                                $0.00                                 $422.44


           K-8117R KENNEDY
           COTTER PIN FOR UPPE                                                              $0.00                                     $4.72


           K81HYDEXT424 24"
           EXTENSION FOR 4-1/                                                               $0.00                                 $409.92


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           K8141 NOZZLE
           RETAINING SCREW
           FOR K8                                                                           $0.00                                     $4.13


           K8142 STEAMER
           NOZZLE (PUMPER) NST
           4                                                                                $0.00                                 $178.77


           K8137 DRAIN VALVE
           FACING WITH RIVET                                                                $0.00                                   $29.50


           K8144 KENNEDY 4"
           STEAMER NOZZLE CAP                                                               $0.00                                 $103.25


           R-3 KENNEDY
           OPERATING NUT OPEN
           RIGH                                                                             $0.00                                   $33.04


           R-3 KENNEDY 6" RW GV
           OPERATING NUT                                                                    $0.00                                   $55.99


           KEN442649P R-7
           KENNEDY STUFFING
           BOX                                                                              $0.00                                   $16.52


           HRPIK81HYDEXT12 12"
           HYDRANT EXTENSI                                                                  $0.00                                 $426.81


           K81A-3186052
           OPERATING NUT FOR
           K81A                                                                             $0.00                                 $335.42


           KEN3281892 POST
           INDICATOR PLATE FOR                                                              $0.00                                 $132.16


           KV106-7AA-6 6"
           KENNEDY CHECK
           VALVE                                                                            $0.00                                 $119.78


           K8144SCH KENNEDY
           SCHENECTADY, NY SP                                                               $0.00                                   $93.60


           HRPIK8149-4 4-1/2
           BREAK FLANGE KIT                                                                 $0.00                                     $0.00


           KV757116L 16" MJ RW
           GATE VALVE,OPEN                                                                  $0.00                               $5,818.40




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           KV89504R KENNEDY 4"
           OPEN RIGHT RW T                                                                  $0.00                                 $547.05


           KV450012L 12"
           KENNEDY (M&H)
           BUTTERF                                                                          $0.00                               $1,291.50


           KV8068A6L 6" OS&Y
           FLANGED RW GATE V                                                                $0.00                                 $856.96


           KV45612.5L 2-1/2"
           FLANGE NRS VALVE                                                                 $0.00                                 $168.70


           KENFRV8L250 8"
           KENNEDY NRS 250LB F                                                              $0.00                               $1,329.37


           KEN442761P COVER
           O-RING 6" RW C-509                                                               $0.00                                   $30.21


           KV895012L 12" RW TAP
           VALVE, OPEN LE                                                                   $0.00                               $2,573.20


           WHE3790 RATCH-CUT
           TUBE CUTTER, 5/16                                                                $0.00                                   $81.75


           WHE8041 #8041
           CUTTER WHEELS FOR
           WHE                                                                              $0.00                                   $61.50


           WHE4418 WHEELER 18"
           ALUMINUM PIPE W                                                                  $0.00                                   $54.00


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $1.22


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $9.96


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $14.90


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $17.50


           FLGGSKT8FF10 10" X
           1/8" FULL FACED,                                                                 $0.00                                     $8.40




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           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                   $18.72


           FLGGSKT8FF14 14" X
           1/8" FULL FACED,                                                                 $0.00                                     $6.80


           FLGGSKT8FF250 2-1/2"
           X 1/8" FULL FA                                                                   $0.00                                   $15.68


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $0.96


           FLGGSKT8R8 8" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $3.56


           FLGGSKT8R10 10" X
           1/8" RING, RED RU                                                                $0.00                                     $4.92


           FLGGSKT8R4EPDM 4"
           EPDM RING GASKET                                                                 $0.00                                     $5.76


           FLGGSKT8R6EPDM 6"
           EPDM RING GASKET                                                                 $0.00                                     $7.44


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $7.56


           FLTWSH078 7/8" USS
           FLAT WASHER                                                                      $0.00                                     $1.08


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $9.66


           HXBLT075200 3/4" X 2"
           HEX BOLT, GRA                                                                    $0.00                                     $2.21


           HXBLT075300 3/4" X 3"
           HEX BOLT, GRA                                                                    $0.00                                   $11.57


           HXBLT075400 3/4" X 4"
           HEX BOLT, GRA                                                                    $0.00                                     $7.20


           HXBLT1508000 1-1/2" X
           8" HEX BOLT,                                                                     $0.00                                   $24.21


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $3.57



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $10.25


           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $4.40


           HXNUT100 1" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $6.60


           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                     $3.10


           HXBLT075350SS 3/4" X
           3-1/2" STAINLE                                                                   $0.00                                     $8.64


           HXBLT075450 3/4" x
           4-1/2" HEX BOLT                                                                  $0.00                                     $2.17


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                     $4.65


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                     $9.30


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $11.16


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $26.04


           MJGSKT14 14" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJGSKT24 24" MJ
           GASKET                                                                           $0.00                                   $13.02


           MJGSKT36 36" MJ
           GASKET                                                                           $0.00                                   $72.54


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                   $37.08


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $18.03


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $25.75



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           MJTRGSKT10 10" MJ
           TRANSITION GASKET                                                                $0.00                                   $92.70


           BW BRASS WEDGES                                                                  $0.00                                     $2.50


           MJGLD3 3" MJ GLAND                                                               $0.00                                     $2.79


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $10.23


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $30.23


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                   $81.38


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                   $12.09


           MJGLD14 14" MJ
           GLAND                                                                            $0.00                                   $20.00


           MJGLD4DOM 4" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $32.88


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $16.44


           MJGLD12DOM 12" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $124.67


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $19.50


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $77.00


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                     $9.48


           TBLT075550 3/4" X
           5-1/2" T-BOLT & N                                                                $0.00                                     $4.80


           TBLTSS075400 3/4" x 4"
           GRADE 304 ST                                                                     $0.00                                   $16.40


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $40.72



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 290
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           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $65.22


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $89.05


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $73.50


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $58.44


           MGP12T 12" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                   $25.70


           MGP16 16" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $54.00


           MGP4F 4" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                   $69.80


           TYGSKT20 20" TYTON
           GASKET PLAIN (SB                                                                 $0.00                                 $212.40


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $338.12


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $789.48


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                 $348.32


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $433.20


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $321.48


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                               $1,247.22


           TYGSKT14 14" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $103.20


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $66.76


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           10FA 10" FOSTER
           ADAPTER ONLY LESS A                                                              $0.00                                 $183.96


           EBA1012 12" EBAA SET
           SCREW EZ FLANG                                                                   $0.00                                 $370.57


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $323.08


           EBA1110 10" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                   $86.94


           EBA1712Y- 12" EBAA DI
           MEGALUG BELL                                                                     $0.00                                 $623.75


           EBA2108 8"
           MEGAFLANGE
           ADAPTER EBAA                                                                     $0.00                                 $284.48


           EBA2110 EBAA 10"
           IRON 2100 SERIES M                                                               $0.00                                 $806.98


           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                                 $517.29


           NACIPGRIP4DI 4" MJ
           WEDGE ACTION RES                                                                 $0.00                                  $-28.20


           PVP-C10 SIGMA PVC
           PIPE RESTRAINT 10                                                                $0.00                                   $96.03


           PVP-C12 RESTRAINER
           FOR PVC PIPE DI                                                                  $0.00                                 $210.12


           PVP-C4 4" RESTRAINER
           KIT FOR C-900                                                                    $0.00                                 $127.65


           PVP-C6 6" RESTRAINER
           FOR PVC PIPE D                                                                   $0.00                                 $605.14


           PVP-C8 8" BELL JOINT
           RESTRAINT DIP                                                                    $0.00                                 $110.53


           RG-D4 4" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                   $60.31




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 292
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           RG-D6 6" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                   $35.83


           SGD6 6" STARGRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $122.81


           SLC4 4" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $108.42


           SLD24 24" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $253.83


           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                $-105.48


           8FA 8" FOSTER
           ADAPTOR ONLY, LESS
           AC                                                                               $0.00                                 $110.40


           DSLDE12DOM 12" ONE
           LOK FOR DUCTILE                                                                  $0.00                                 $240.75


           MACROHP-5.60 4"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $157.77


           EZD08 8" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $219.19


           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $29.17


           EZPVC10 10" EZ GRIP
           MJ RESTRAINT FO                                                                  $0.00                                 $459.02


           DUCLUGS DUC LUGS                                                                 $0.00                                 $131.92


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                     $4.00


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                     $6.44


           PS-100-S ADJUSTABLE
           PIPE SUPPORT (1                                                                  $0.00                                 $143.25


           SSIM-0610-CR 6.90OD
           CARRIER PIPE A                                                                   $0.00                                 $109.14


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 293
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           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $13.60


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $27.00


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $11.00


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                 $213.84


           FAP6FFSS 6" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $74.85


           FAP4FFSS 4" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $24.00


           FAP8FFSS 8" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $42.00


           FAP3FFZINC 3" FLANGE
           ACCESSORY PACK                                                                   $0.00                                   $11.96


           FAP4FFZINC 4" FLANGE
           ACCESSORY PACK                                                                   $0.00                                   $58.80


           FAP10FFZINC 10"
           FLANGE ACCESSORY
           PA                                                                               $0.00                                   $51.00


           FAP12FFZINC 12"
           FLANGE ACCESSORY
           PA                                                                               $0.00                                 $171.00


           FAP6FFZINC 6" FLANGE
           ACCESSORY PACK                                                                   $0.00                                 $103.80


           FAP8FFZINC 8" FLANGE
           ACCESSORY PACK                                                                   $0.00                                 $269.96


           GAUGE200 LIQUID
           FILLED GAUGE, 0-200                                                              $0.00                                   $40.00


           VIC11C456 6"
           VICTAULIC 11C AWWA
           45                                                                               $0.00                                 $106.09



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           VIC341FA6 6" 341
           AWWA FLANGE
           ADAPTE                                                                           $0.00                                 $482.32


           VIC31CPLG4 4" 31
           AWWA COUPLING VICT                                                               $0.00                                 $589.95


           VIC31CPLG6 6" 31
           AWWA COUPLING, VIC                                                               $0.00                                 $438.00


           VIC341FA4 4" 341
           AWWA FLANGE
           ADAPTE                                                                           $0.00                                   $64.00


           GALVNIP-200X6000 2" X
           60" NIPPLE GA                                                                    $0.00                                   $25.22


           GALVNIP-200X600 2" X
           6" NIPPLE GALV                                                                   $0.00                                     $2.47


           GALVNIP-100X600 1" X
           6" GALVANIZED                                                                    $0.00                                     $3.97


           GALVNIP-250XCLS
           2-1/2" X CLOSE GALV                                                              $0.00                                     $2.28


           GALVCAP-200 2"
           GALVANIZED
           THREADED                                                                         $0.00                                     $2.12


           GALV90-200 2" 90 BEND
           GALVANIZED G2                                                                    $0.00                                     $4.16


           BRNIP-050X400 1/2" X 4"
           BRASS NIPPL                                                                      $0.00                                     $4.93


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                     $1.83


           BRNIP-075X400 3/4" X 4"
           BRASS NIPPL                                                                      $0.00                                     $2.84


           BRNIP-075X500 3/4" X 5"
           BRASS NIPPL                                                                      $0.00                                   $15.09


           BRNIP-075X600 3/4" X 6"
           BRASS NIPPL                                                                      $0.00                                     $8.30




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           BRNIP-100X200 1" X 2"
           BRASS NIPPLE                                                                     $0.00                                     $2.60


           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $4.55


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $13.40


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                   $14.44


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                   $21.33


           BRNIP-150XCLS 1-1/2" X
           CLS BRASS NI                                                                     $0.00                                     $8.27


           BRNIP-200X1200 2" X
           12" BRASS NIPPL                                                                  $0.00                                   $27.02


           BRNIP-200X300 2" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $14.20


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $11.55


           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $12.59


           BRNIP-050X600 1/2" X 6"
           BRASS NIPPL                                                                      $0.00                                     $3.59


           BR90-075 3/4" BRASS
           90 BEND THREADE                                                                  $0.00                                     $4.97


           BR90-150 1 1/2" BRASS
           90 BEND THREA                                                                    $0.00                                   $38.03


           BRBSH-150X100 1 1/2" X
           1" BRASS HEX                                                                     $0.00                                     $8.75


           BRPLG-075 3/4" BRASS
           PLUG THREADED                                                                    $0.00                                   $11.62


           BRPLG-100 1" BRASS
           PLUG THREADED IM                                                                 $0.00                                     $6.77



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRT-200 2" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                   $16.07


           BRCPLG-300X200 3" X
           2" BRASS REDUCI                                                                  $0.00                                   $36.69


           BR90-075NL 3/4" 90
           BEND THREADED LO                                                                 $0.00                                     $5.59


           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                   $12.90


           BR90-150NL 1-1/2" 90
           BEND THREADED                                                                    $0.00                                   $17.11


           BR90-150SNL 1 1/2"
           BRASS STREET 90                                                                  $0.00                                   $13.70


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                     $8.78


           BRBSH-200X150NL 2" X
           1-1/2" REDUCER                                                                   $0.00                                     $8.32


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                   $12.88


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $47.36


           BRCPLG-200X150NL 2"
           X 1-1/2" REDUCE                                                                  $0.00                                   $62.51


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                   $20.60


           BRT-075X050NL 3/4" X
           1/2" BRASS RED                                                                   $0.00                                   $41.87


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $24.40


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                   $35.31


           BRT-200X150NL 2" X
           1-1/2" LOW LEAD                                                                  $0.00                                   $27.19


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           BR45-200NL 2" 45
           BEND, THREADED 24                                                                $0.00                                   $52.47


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $77.14


           BRBSH-100X075NL 1" X
           3/4" HEX BUSHI                                                                   $0.00                                     $2.58


           BRCPLG-200X075NL 2"
           X 3/4" COUPLING                                                                  $0.00                                   $35.22


           210-0905 STRAIGHT
           COUPLING (9.05- 9                                                                $0.00                                 $424.16


           GA250D-4 4" GA
           FLANGE CUSHION
           SEWAG                                                                            $0.00                                 $788.00


           GA5174MJDN 4" MJ
           PLUG VALVE WITH 2"                                                               $0.00                                 $299.00


           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                   $10.70


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                   $23.76


           LS300C STANDARD
           LINK SEAL                                                                        $0.00                                   $34.02


           LS300S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                   $12.66


           LS315C STANDARD
           LINK SEAL                                                                        $0.00                                     $6.63


           LS400C STANDARD
           LINK SEAL                                                                        $0.00                                   $47.72


           LS425C STANDARD
           LINK SEAL                                                                        $0.00                                 $131.23


           LS340C STANDARD
           LINK SEAL                                                                        $0.00                                 $198.60




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           TERRATEX GS WOVEN
           GEOTEXTILE 12'-6"                                                                $0.00                                $-270.48


           WINFAB200W-15 15' X
           360' WOVEN GEO                                                                   $0.00                                $-228.00


           WINFAB315W-15 15' X
           300' WINFAB 315                                                                  $0.00                                 $852.00


           SFWIRE14 SILTFENCE
           WITH 14GA WIRE M                                                                 $0.00                                 $296.00


           VBI200W-15 BELTECH
           980 BELTON INDUS                                                                 $0.00                                $-231.00


           GLOVES WORK
           GLOVES P/N 120T                                                                  $0.00                                   $12.47


           HHB HARD HATS BLUE
           19956                                                                            $0.00                                     $5.66


           HSMF ORANGE
           FIBERGLASS HYDRANT
           MARK                                                                             $0.00                                   $15.28


           SAFETY RED FLAGS
           24" X 24" WITH 36"                                                               $0.00                                     $3.39


           SVDOT 3012877
           DELUXE SAFETY VEST
           2                                                                                $0.00                                   $20.06


           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                   $10.68


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                     $2.66


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $23.94


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $18.62




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           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $82.20


           MARKINGSTICK
           AERVOE PAINT
           MARKING S                                                                        $0.00                                   $13.71


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                   $11.50


           PVCCEMENTQT PVC
           CEMENT QUART GRAY
           M                                                                                $0.00                                     $9.95


           PASSONNO27834
           BRIGHT YELLOW
           HYDRAN                                                                           $0.00                                   $41.98


           GOGGLES FLASH FIRE
           BLUE LENS WITH S                                                                 $0.00                                     $7.36


           EQ24E INFILTRATOR
           END CAPS                                                                         $0.00                                 $282.10


           EQ24 INFILTRATOR
           EQUALIZER 24 CHAMB                                                               $0.00                                   $70.00


           MFEO12 12"
           MULTIFLOW END
           OUTLET # 1                                                                       $0.00                                 $198.96


           MMREMOTE3G
           MASTER METER
           UNIVERSAL                                                                        $0.00                                 $337.50


           MMGFC110 MASTER
           METER GFC-110 PULSE                                                              $0.00                                 $495.00


           475-060 6 X 6 SCH40
           WYE                                                                              $0.00                                   $48.81


           MOON 590 1.5"
           FEMALE PIPE X MALE G                                                             $0.00                                     $4.96


           DMS6LPOS 6" MJ
           OVERSIZED SOLID C110                                                             $0.00                                   $96.60


           427-040 4" SCH40 PVC
           45 STREET BEND                                                                   $0.00                                   $32.01


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           1" BALL CHECK VALVE
           PVC TRUE UNION                                                                   $0.00                                   $19.62


           201-180007 18" STEEL
           COUPLING 19.50                                                                   $0.00                                 $472.82


           450-010 1" PVC40 THD
           PLUG SPEARS                                                                      $0.00                                     $1.23


           6" POWERSEAL CUT IN
           SLEEVE                                                                           $0.00                                 $130.00


           CLOW MEDALLION 5 1/4
           HYDRANT TRAFFI                                                                   $0.00                                 $272.16


           MUEA185 2 1/2" HOSE
           NOZZLES SYRACU                                                                   $0.00                                   $97.24


           PVC40C2 2" SCH40 PVC
           UL CONDUIT 20'                                                                   $0.00                                   $10.20


           SDR35CR44 4" X 4"
           SDR35 CROSS L1794                                                                $0.00                                   $53.38


           SDR35Y88PE 8" X 8"
           SDR35 PEXBXB WYE                                                                 $0.00                                 $142.23


           V744 BIBBY SLIDE
           VALVE BOX TOP NO F                                                               $0.00                                   $85.94


           TRUMBULL 1-1/2" X 60"
           EXTENSION STE                                                                    $0.00                                 $293.49


           3152873 DISC BOLT
           FOR 12" 106LW CHE                                                                $0.00                                   $72.77


           FLGGSKT8R5 5" X 1/8"
           FLANGE RED RIN                                                                   $0.00                                   $19.53


           95E CURB BOX TOP
           SECTION                                                                          $0.00                                   $35.00


           LANEWTG15 LANE 15"
           WATER TIGHT GASK                                                                 $0.00                                 $153.12


           SDR35CONR64 SDR35
           6" X 4" CONCENTRI                                                                $0.00                                     $8.92


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 301
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           3629-020 2" TRUE
           UNION 2000 BALL VA                                                               $0.00                                 $155.59


           8P356P35 8" SDR-35 X
           6" SDR-35 INSE                                                                   $0.00                                   $49.95


           VBSCT224 5-1/4" 2PC
           VALVE BOX WITH                                                                   $0.00                                 $902.02


           TR1-SEC TUF-TITE
           SNAP-ON END CAP                                                                  $0.00                                   $10.00


           SSSTRAP39 39"
           STAINLESS STEEL
           WORM                                                                             $0.00                                   $99.90


           FLFL63PRO 6" X 3' FLG
           X FLG 401 PRO                                                                    $0.00                                 $900.76


           TBLT125650 1.25" X 6.5"
           T-BOLT AND                                                                       $0.00                                   $51.20


           FL904DOM 4" FLANGE
           90 BEND DUCTILE                                                                  $0.00                                 $619.95


           MCD5601A5DOM
           MCDONALD 5'
           DOMESTIC C                                                                       $0.00                                   $83.28


           TPS STAINLESS STEEL
           TAPPING SLEEVE                                                                   $0.00                                 $813.64


           471-00000480-203 SMITH
           BLAIR 4" PIP                                                                     $0.00                                 $289.62


           H15029N-100 MUELLER
           1" MIP X IPS CO                                                                  $0.00                                $-101.43


           MJFLRED64 6" X 4" MJ
           X FLANGE TRANS                                                                   $0.00                                 $124.74


           RANGER II MIDI MODEL
           38, NON METALL                                                                   $0.00                                 $629.51


           CASING END
           SEAL,MODEL C, 6.9" X
           10.                                                                              $0.00                                 $321.76



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 302
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           4" LANE TAP TEE 6"-8"
           CONNECTIONS H                                                                    $0.00                                     $6.00


           201-180007SS 18"
           COUPLING (19.50) W                                                               $0.00                                 $892.42


           FLT4DOM 4" FLANGED
           TEE DUCTILE IRON                                                                 $0.00                                 $187.69


           94-3410 10" ROUND
           DROP IN SOLID GRA                                                                $0.00                                   $22.00


           200M14W8L 8" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $410.07


           VIC31GASKET-6 6"
           GASKET FOR 31 COUP                                                               $0.00                                 $206.70


           SCH806CON SCH 80 6"
           CONDUIT 20' LE                                                                   $0.00                                 $103.40


           TRUMBULL 3/4" X 60"
           EXTENSION STEM                                                                   $0.00                                 $137.65


           SDR35CONCRED84 8"
           X 4" SDR35 CONC                                                                  $0.00                                   $63.11


           3121-3CX8 3" (3.73-4.00)
           X 8" POWER                                                                       $0.00                                 $115.83


           3121-8CX12 8" x 12"
           REPAIR CLAMP, (                                                                  $0.00                                 $441.18


           3121-8Cx16 8" x 16"
           REPAIR CLAMP (8                                                                  $0.00                                 $168.03


           3121AS-4Bx16 4"
           (4.74-5.14) x 16" P                                                              $0.00                                 $246.24


           3121AS10D 10"
           (11.34-11.74) X 16"                                                              $0.00                                 $103.15


           3151W1.90X6PS 1 1/2"
           (1.90) X 6" P                                                                    $0.00                                   $22.92


           3412AS-10X075CC 10"
           (10.75-11.10)                                                                    $0.00                                   $88.30



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 303
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           3480AS-8CX8
           8"(9.05-9.45) X 8" POWE                                                          $0.00                                 $781.68


           CL1-9.40 X 12 CL1
           REPAIR CLAMP (9.0                                                                $0.00                                 $665.00


           4012-0940-150-EXT 8" X
           12" EZ-MAX F                                                                     $0.00                                 $196.69


           4012-0980-150EXT 8" X
           12" EZ MAX RE                                                                    $0.00                                 $198.24


           6000-1315-150 1" LONG
           BODY GALVANIZ                                                                    $0.00                                   $18.94


           2200-0433-0563-260 3" X
           4" HYMAX RE                                                                      $0.00                                 $159.78


           4015-0764-150-200N TPS
           EXMAX OUTLET                                                                     $0.00                                 $251.02


           REEDT75 DRILL TAP,
           3/4"CC THREAD, #                                                                 $0.00                                 $113.71


           TRU364-9982 RWDS
           DUAL SIDED SOCKET                                                                $0.00                                   $46.00


           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                   $15.06


           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                   $15.15


           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                   $17.54


           REERW14 14" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $23.03


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $31.55


           REEMH26 26"
           MANHOLE HOOKS,
           02301 RE                                                                         $0.00                                   $19.14




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 304
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           CTRT-1 3/4" COPPER
           TUBE REROUNDING                                                                  $0.00                                   $29.52


           CTRT-2 1" COPPER
           TUBE REROUNDING TO                                                               $0.00                                   $36.91


           ALTHRD0756P 3/4" X 6'
           ALL THREADED                                                                     $0.00                                 $252.00


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                 $108.50


           SDR354P 4" PVC SDR35
           PERFORATED SEW                                                                   $0.00                                 $672.70


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $328.30


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $471.10


           SDR3518 18" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $224.42


           SDR358P 8" SDR35
           PERF SEWER PIPE                                                                  $0.00                                   $41.86


           PVCRECCOP4 4" PVC
           RECESSED CLEANOUT                                                                $0.00                                     $3.34


           PVCRECCOP6 6" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $42.93


           SDR26/3590BXB8 8"
           PVC SDR26/35 90 B                                                                $0.00                                 $632.04


           SDR26/35C8 8" SDR
           26/35 CAP HEAVY W                                                                $0.00                                   $29.49


           SDR3522BXB10 10" PVC
           SDR35 22-1/2 B                                                                   $0.00                                   $77.80


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                   $64.38




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 305
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           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                     $9.76


           SDR3522BXB8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $28.42


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                     $9.42


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $46.31


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $59.41


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $49.58


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                 $100.65


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $84.51


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $62.43


           SDR3545BXP8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $26.91


           SDR354XSCH40DWV4
           4" PVC SDR35 SPIGO                                                               $0.00                                 $371.46


           SDR354XSCH40DWV4G
           G 4" BELL ADAPTER                                                                $0.00                                   $16.03


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $95.24


           SDR3590BXP10 10" PVC
           SDR35 90 BEND                                                                    $0.00                                 $112.11


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $80.33


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $36.40



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 306
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           SDR3590BXP8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $32.76


           SDR35CAP10 10" PVC
           SDR35 CAP G16010                                                                 $0.00                                 $303.92


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                   $28.83


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $12.00


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                   $16.19


           SDR35CPLG6 6"
           PVCSDR35 STOP
           COUPLIN                                                                          $0.00                                   $73.41


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                   $55.55


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $13.14


           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                 $102.26


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                   $28.65


           SDR35REPCPLG4 4"
           SDR35 REPAIR COUPL                                                               $0.00                                   $61.27


           SDR35SADY86 8" X 6"
           SADDLE WYE PVC                                                                   $0.00                                   $18.33


           SDR35T106 10" X 6"
           PVC SDR35 TEE G1                                                                 $0.00                                 $171.86


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $40.15


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                   $16.84


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                   $19.75


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 307
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           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                   $25.74


           SDR35T86 8" X 6" PVC
           SDR35 TEE G108                                                                   $0.00                                   $26.91


           SDR35T88 8" X 8" PVC
           SDR35 TEE G108                                                                   $0.00                                 $152.75


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $20.66


           SDR35Y66 6" X 6" PVC
           SDR35 WYE G306                                                                   $0.00                                   $19.63


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                 $103.47


           V-1703 2x3x3
           DOWNSPOUT ADAPTER
           SEWE                                                                             $0.00                                   $40.46


           PVCCOA4S 4" SDR35
           CLEANOUT ADAPTER                                                                 $0.00                                   $12.75


           G644 4" SDR35
           GASKETED SEWER
           HUB X                                                                            $0.00                                   $24.59


           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                               $1,009.20


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                   $69.60


           NOR6P 6"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                 $847.00


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $3.94


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                     $2.38




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           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                   $11.24


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $11.54


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                   $14.52


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                     $3.59


           V-1043 4" X 3" PVC
           REDUCER SEWER AN                                                                 $0.00                                     $2.26


           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                   $23.25


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                     $7.33


           V-1406 6" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $19.14


           V-1705 3" x 4" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $11.64


           V-304 4" PVC LONG
           TURN 90 BEND SEWE                                                                $0.00                                   $34.46


           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                   $23.13


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                     $3.62


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $35.58


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                   $13.89


           V-706 6" 22 DEGREE
           BEND SEWER AND D                                                                 $0.00                                   $26.08



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 309
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           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $20.94


           V-806 6" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $20.53


           V-906 6" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                 $126.06


           V-9064 6" X 4" PVC WYE
           SEWER AND DR                                                                     $0.00                                   $61.03


           V-1714 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                    $-8.39


           SV10SH8 8X10 SOIL
           PIPE SINGLE HUB                                                                  $0.00                                 $293.55


           SV224 4" SOIL PIPE 22
           1/2 BEND                                                                         $0.00                                 $133.63


           SV226 6" SOIL PIPE 22
           1/2 BEND                                                                         $0.00                                 $161.25


           SV42SH2 2" X 42" SOIL
           PIPE SINGLE H                                                                    $0.00                                   $28.43


           SV456 6" SOIL PIPE 45
           BEND                                                                             $0.00                                   $53.01


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                   $48.75


           SVG3 3" SV GASKET                                                                $0.00                                   $12.35


           SVG8 8" SV GASKETS                                                               $0.00                                   $18.54


           SVPTRAP4 4" SV
           P-TRAP                                                                           $0.00                                 $400.30


           SVR86 8X6 SV
           REDUCER                                                                          $0.00                                   $64.14


           SVVENTCAP4 4" CAST
           IRON VENT CAP JU                                                                 $0.00                                   $11.90




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           SVY22 2" SOIL PIPE
           WYE                                                                              $0.00                                   $18.56


           SVY44 4X4 SOIL PIPE
           WYE                                                                              $0.00                                 $138.31


           DWVBSH21.5 2 X1 1/2
           PVC DWV BUSHING                                                                  $0.00                                     $4.70


           DWVPTRAP4 PVC
           SCH40 4" P-TRAP P706X                                                            $0.00                                   $25.28


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $31.02


           SDR26/35ADPT6G 6"
           SDR26/35 ADAPTER                                                                 $0.00                                   $48.27


           HDLT000620SP 6"
           PERFORATED LOKTITE                                                               $0.00                                   $80.00


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $212.00


           HDLT000620S0 6"
           SOLID LOKTITE HDPE                                                               $0.00                                   $40.00


           HDLT001020SO 10"
           SOLID LOKTITE HDPE                                                               $0.00                                   $44.00


           HDLT000420S0 4"
           SMOOTH WALL SOLID
           H                                                                                $0.00                               $1,236.00


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                                   $46.30


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                                 $423.90


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                                  $-60.30


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                $-446.40




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           HWY6SR 6" X 100'
           SOLID CORRUGATED H                                                               $0.00                               $1,089.00


           HDLT001220SPR 12"
           PERF F2648 HDPE L                                                                $0.00                                 $185.20


           HDLT000620SPR 6"
           PERFORATED LOKTITE                                                               $0.00                                   $37.20


           HWY10P 10"
           PERFORATED SINGLE
           WALL 2                                                                           $0.00                                 $222.60


           JMEC8 8" CORR
           SMOOTH INTERIOR
           CORRU                                                                            $0.00                                 $122.00


           JMEC30 30" CORR
           SMOOTH INTERIOR
           COR                                                                              $0.00                               $1,814.40


           JMEC24R 24" CORR
           SOLID CORRUGATED D                                                               $0.00                                 $562.40


           JMEC15R 15" CORR
           SOLID CORRUGATED D                                                               $0.00                                   $60.70


           JMEC12R 12" CORR
           SOLID CORRUGATED D                                                               $0.00                                   $83.20


           TUF-TITE 6 HOLE
           DISTRIBUTION BOX WI                                                              $0.00                                   $21.50


           HWY4PSR 4" X 250'
           PERFORATED WITH S                                                                $0.00                                 $137.50


           HWY4PR 4" X 250'
           PERFORATED F405 CO                                                               $0.00                                 $277.50


           HWY4SR 4" X 250'
           SOLID CORRUGATED H                                                               $0.00                                 $277.50


           HWY6PR 6" x 100"
           PERFORATED F2648 C                                                               $0.00                                   $99.00


           JMEC6 6" CORR
           SMOOTH INTERIOR
           CORRU                                                                            $0.00                                 $509.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 312
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           4" SPEED LEVELERS                                                                $0.00                                     $3.98


           HWYSCPLG8 8" HDPE
           SNAP COUPLING                                                                    $0.00                                     $3.44


           LANET6 6" HDPE TEE                                                               $0.00                                   $33.00


           LANEY64 6" X 4" HDPE
           REDUCER WYE LA                                                                   $0.00                                   $62.80


           LANE456 6" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $90.86


           LANE908 8" HDPE 90
           DEGREE BEND                                                                      $0.00                                   $41.14


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $23.40


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $99.00


           HWYICPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                     $1.67


           LANECPLG15 15" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $24.90


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                 $299.64


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $38.74


           HWYICPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                     $3.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $10.90


           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                 $312.00


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                   $83.28



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 313
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                   $85.20


           LANE906 6" HDPE 90
           DEGREE BEND                                                                      $0.00                                   $26.04


           LANET88 8" HDPE TEE                                                              $0.00                                   $48.90


           HWY904 4" HDPE
           MOLDED SINGLE WALL
           H                                                                                $0.00                                   $60.76


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                    $-4.66


           LANECPLG10 10" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $32.88


           LANEY6 6" X 6" HDPE
           WYE                                                                              $0.00                                   $33.22


           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $19.00


           HWYT864 8"X6"X4"
           HDPE MOLDED SINGLE                                                               $0.00                                   $33.90


           LANET128 12" X 8"
           HDPE REDUCER TEE                                                                 $0.00                                 $236.64


           LANERED64 LANE 6" x
           4" REDUCER HDPE                                                                  $0.00                                 $226.80


           LANE9010 10" 90 BEND
           HDPE                                                                             $0.00                                   $75.50


           HWYY64 6x6,5 OR 4
           HDPE MOLDED SINGL                                                                $0.00                                     $9.53


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $132.30


           LANEY1210 LANE 12" x
           10" HDPE REDUC                                                                   $0.00                                 $111.96


           LANECAP6 6" HDPE
           END CAP                                                                          $0.00                                   $23.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 314
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           HWY906 6"
           CORRUGATED 90
           BEND, C-306                                                                      $0.00                                   $15.36


           ALUMINUMES12 12" AL
           END SECTION                                                                      $0.00                                   $96.85


           CMRRCPLG15 15"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $24.00


           CMES12 12"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                   $41.50


           CMY1010 10" CMP WYE                                                              $0.00                                 $150.00


           CMPGASKMATERIAL
           CORRUGATED GASKET
           M                                                                                $0.00                                   $44.00


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $25.04


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $44.01


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $34.43


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $20.09


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $51.50


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                 $108.27


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                 $108.30


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                   $64.51



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 315
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                 $142.79


           06-1010 10" RUBBER
           SEWER COUPLING C                                                                 $0.00                                   $16.93


           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $32.43


           56-32 3" X 2"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $2.53


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $3.69


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                 $100.16


           56-55 5" X 5"
           CI,PVC/CI,PVC COUPLIN                                                            $0.00                                     $5.80


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $39.30


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                 $113.85


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $27.30


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                 $154.55


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $216.60


           56-1515 15" X 15"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $64.51


           1070-44 4" X 4"
           CORRUGATED HDPE X
           P                                                                                $0.00                                 $104.43



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 316
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           1070-66 6" X 6"
           CORRUGATED HDPE X
           P                                                                                $0.00                                 $111.68


           1070-88 8" X 8"
           CORRUGATED HDPE X
           P                                                                                $0.00                                   $42.91


           02-64EC 6" CLAY X 4"
           PVC ECCENTRIC                                                                    $0.00                                   $22.10


           QS4 4" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                   $50.58


           6" CLAMP-ALL
           COUPLING #10060
           CI/PLA                                                                           $0.00                                   $71.95


           10010 CLAMPALL
           CI/PLAS X CI/PLAS                                                                $0.00                                   $35.00


           WNTP6 6" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $10.70


           CHE270-067 6" TEST
           BALL PLUG CHERNE                                                                 $0.00                                   $59.62


           GR24P AGRI DRAIN 24"
           STANDARD ROUND                                                                   $0.00                                   $70.57


           NDS1206 6" SIDE PLUG
           FOR NDS 1200 B                                                                   $0.00                                     $2.99


           TR1-90 TUF-TITE
           TRENCH DRAIN 90 BEN                                                              $0.00                                   $11.44


           TR1-D4 MALE END
           DRAIN FOR TR1 TRENC                                                              $0.00                                     $7.50


           TR1-GCF TUF-TITE
           GENDER CHANGER, M                                                                $0.00                                     $6.00


           TR1-GCM TUF-TITE
           GENDER CHANGER, F                                                                $0.00                                     $9.00


           TRENCH DRAIN WITH
           GRATE, P/N TR1                                                                   $0.00                                 $232.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 317
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           GF18111CC 6" COVER
           ONLY MARKED "CLE                                                                 $0.00                                   $75.00


           GF18111SC 6" SEWER
           COVER ONLY FOR C                                                                 $0.00                                   $24.50


           SC4155 CLEANOUT
           FRAME & COVER 4155                                                               $0.00                                   $40.00


           SC4155PC 4155 PLAIN
           CLEANOUT COVER                                                                   $0.00                                   $52.00


           HQST18P 18" HANCOR
           HI-Q SURE-LOK SI                                                                 $0.00                                 $138.60


           HANDS2X3X4 2"X3"X4"
           DOWNSPOUT ADPT                                                                   $0.00                                   $69.97


           BAU8P BAUGHMAN 8"
           PERF, BELL END,                                                                  $0.00                                   $50.80


           BAU6 6" SOLID
           SMOOTH,BELL
           END,HDPE                                                                         $0.00                                   $32.20


           BAU6P 6"
           PERFORATED,BELL
           END, HDPE                                                                        $0.00                                 $241.50


           BAU12P 12"
           PERFORATED HDPE
           PIPE, BE                                                                         $0.00                                 $354.40


           BAU4 4" SOLID
           SMOOTH BELL END
           HDPE                                                                             $0.00                                   $82.00


           BAU15 15"
           SMOOTH,SOLID, BELL
           END HD                                                                           $0.00                                 $126.00


           BAUCPLG24 24"
           BAUGHMAN SPLIT
           COUPLI                                                                           $0.00                                   $98.12


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $31.12




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 318
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $31.12


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $15.56


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $22.49


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $17.78


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                   $23.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $11.54


           226-00027507-000 2" X
           7" REPAIR CLA                                                                    $0.00                                 $125.31


           226-00035012-000 3" X
           12-1/2" (3.46                                                                    $0.00                                   $81.66


           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                  $-85.14


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $352.38


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $486.18


           244-00010506-000 3/4" X
           6" 1.05 OD                                                                       $0.00                                   $39.47


           245-00010506-000 SMITH
           BLAIR 3/4" X                                                                     $0.00                                   $40.52


           245-00019003-000 SMITH
           BLAIR 1-1/2"                                                                     $0.00                                     $6.55


           261-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $110.44


           261-00090512-000 8" X
           12-1/2"REPAIR                                                                    $0.00                                 $128.69



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 319
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           315-00045507-000
           3"X3/4"CC (3.74-4.                                                               $0.00                               $1,102.88


           317-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                 $160.56


           317-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                 $100.20


           441-00001350-900 12"
           COUPLING (13.2                                                                   $0.00                                 $621.28


           441-21363-045 14"
           RW441 (15.30-15.5                                                                $0.00                                 $179.18


           441-33830-069 RW441
           (3.80-3.96) GAS                                                                  $0.00                                     $5.91


           525-00008400-003 SMITH
           BLAIR 1/2" .                                                                     $0.00                                   $29.69


           525-00013200-003 1"
           COMPRESSION COU                                                                  $0.00                                   $25.99


           525-00019000-003 1-1/2"
           COMPRESSION                                                                      $0.00                                   $19.12


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                     $7.60


           22393-045 SMITH BLAIR
           441-22393 6"                                                                     $0.00                                   $10.94


           33802-069 SMITH BLAIR
           441-33802 RW4                                                                    $0.00                                   $11.14


           33811-069 441-33811
           SMITH BLAIR RW4                                                                  $0.00                                     $8.52


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                   $23.84


           662-09050400-000 8" X
           4" TAPPING SL                                                                    $0.00                                 $313.35


           317-00143207-000 12" X
           3/4"CC SADDL                                                                     $0.00                                   $87.46



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 320
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           317-00121206-000
           10"X3/4"NPT 10.64-                                                               $0.00                                 $157.82


           317-00143208-000 SMITH
           BLAIR 12" X                                                                      $0.00                                   $87.46


           317-00090515-000 8" X
           2"CC SADDLE (                                                                    $0.00                                 $144.28


           622-14250800-031 12" x
           8" (14.10-14                                                                     $0.00                                 $458.12


           317-00111007-000 SMITH
           BLAIR 10" X                                                                      $0.00                                 $150.30


           317-00178014-000 16" X
           2" NPT (17.2                                                                     $0.00                                 $138.16


           325-0013207-000
           12"X3/4"CC(13.20)OD                                                              $0.00                               $1,332.34


           325-00132015-000
           12"X2"CC(13.20)OD                                                                $0.00                                 $333.09


           913-06900600-003 6"
           COUPLING ADAPTE                                                                  $0.00                                 $262.48


           317-00111009 SMITH
           BLAIR 10" X 1"CC                                                                 $0.00                                 $150.30


           317-00111008-000 SMITH
           BLAIR 10" X                                                                      $0.00                                   $75.15


           317-00111006-000 SMITH
           BLAIR 10" X                                                                      $0.00                                   $75.15


           471-00000690-203 6"
           PIPE-LOCK RESTR                                                                  $0.00                                 $106.43


           471-00000905-203 SMITH
           BLAIR 8" PIP                                                                     $0.00                                 $153.23


           317-00111015-000 10" X
           2"CC SADDLE                                                                      $0.00                                   $87.13


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                                 $370.06



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 321
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           COVER CLAW WITH 30"
           LONG HANDLE ONE                                                                  $0.00                                   $61.00


           PJDX-C
           MAGIKIST,PULSE JET
           DE-ICER C                                                                        $0.00                               $2,836.00


           WWT13004
           WATERWORKS TOOL
           SERVICE BO                                                                       $0.00                                   $15.04


           WWT26002
           WATERWORKS TOOL
           CEZ-2 3/4"                                                                       $0.00                                   $66.56


           DXX12125 12" X
           1"/20MM ALL PURPOSE                                                              $0.00                                   $89.50


           US30178 US SAWS
           BREAK 'N TAKE THRE                                                               $0.00                                $-337.50


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                     $6.00


           VBRIS3 3" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $27.75


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                 $112.00


           VBCAPS VALVE BOX
           CAP, MARKED SEWER                                                                $0.00                                   $16.00


           VBSCT2BS36 5 1/4 X 36
           SCT 2PC VB BO                                                                    $0.00                                 $171.00


           VBCAPWL VALVE BOX
           CAP MARKED WATER                                                                 $0.00                                     $8.00


           VBRIS150PE 1-1/2"
           POLYETHYLENE VALV                                                                $0.00                                   $11.00


           VBRIS2PE 2" HIGH
           POLYETHYLENE VALVE                                                               $0.00                                   $11.00


           A728 5'6" CURB BOX
           WITH 1" UPPER SE                                                                 $0.00                                   $70.55




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 322
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           CBCOV1 1"-2 HOLE
           CURB BOX COVER MAR                                                               $0.00                                     $5.38


           CBEXT10024 1" X 24"
           CURB BOX EXTENS                                                                  $0.00                                   $21.75


           CBEXT12512 1-1/4" X
           12" CURB BOX EX                                                                  $0.00                                   $72.21


           CBROD05835 35" CURB
           BOX ROD 5/8" FO                                                                  $0.00                                 $146.81


           CBROD33 33" CURB
           BOX ROD 9/16" MUE0                                                               $0.00                                   $19.02


           H10314-5-20 1" X 5'
           CURB BOX WITH T                                                                  $0.00                                  $-27.12


           MUE84176 5/8" X 33
           MUELLER ROD 841                                                                  $0.00                                 $900.40


           BTCB5LR 5' CURB BOX
           LESS ROD BINGH                                                                   $0.00                                  $-76.36


           BF3DI 3" BLIND
           FLANGE DUCTILE IRON                                                              $0.00                                   $17.67


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                 $140.90


           FL4510DI 10" FLANGED
           45 BEND, DUCTI                                                                   $0.00                                 $227.39


           FL453DI 3" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                   $33.02


           FL454DI 4" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                   $59.52


           FL456DI 6" FLANGED 45
           BEND, DUCTILE                                                                    $0.00                                 $183.21


           FL458DI 8" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                 $280.86


           FL9042 4"X2" FLANGED
           REDUCING 90                                                                      $0.00                                 $180.25



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 323
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                   $66.96


           FL908DI 8" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $680.76


           FLB904DI 4" FLANGED
           BASE 90 BEND DU                                                                  $0.00                                 $450.12


           FLCONR106DI 10" X 6"
           FLANGED CONCEN                                                                   $0.00                                 $152.52


           FLCONR32DI 3" X 2"
           FLANGED CONCENTR                                                                 $0.00                                   $30.23


           FLCONR86DI 8" x 6"
           FLANGED CONCENTR                                                                 $0.00                                 $233.43


           FL9086DI 8" x 6"
           FLANGED REDUCING 9                                                               $0.00                                 $159.50


           FLT12DI 12" x 12"
           FLANGE TEE, DUCT                                                                 $0.00                                 $562.65


           FLT3DI 3" FLANGED
           125# TEE DUCTILE                                                                 $0.00                                   $61.38


           FLT42DI 4" X 2"
           FLANGE TEE, DUCTILE                                                              $0.00                                   $93.93


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $122.30


           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $152.52


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $254.36


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           FLCR44DI 4" X 4"
           FLANGED CROSS DUCT                                                               $0.00                                 $128.34


           FLFLR906 6" FLANGE X
           FLARE 90 BEND                                                                    $0.00                                 $262.26


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FL4512DI 12" FLANGED
           45 BEND, DUCTI                                                                   $0.00                                 $298.07


           FLY88DI 8" x 8" FLANGE
           WYE DUCTILE                                                                      $0.00                                 $298.07


           FLT126DI 12" x 6"
           FLANGE REDUCING T                                                                $0.00                                 $399.52


           FLFL31 3" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $105.64


           FLFL62 6" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $149.20


           FLFL81 8" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $182.00


           FLPE124 12" X 4'
           FLANGE X PLAIN END                                                               $0.00                                 $356.00


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $400.80


           FLPE81 8" X 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $105.20


           FLPE84 8" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $421.60


           FLPE86 8" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                               $1,124.80


           FLPE88 8" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $351.60


           BFT10X2DI 10" X 2"
           TAPPED BLIND FLA                                                                 $0.00                                 $127.71


           FLFL4-738 4" X 0'7-3/8"
           FL X FL DIP                                                                      $0.00                                 $194.40


           FLFL12-10 12" X 0'10"
           FL X FL DIP                                                                      $0.00                                 $625.60


           FLFL814 8" X 14'0"
           FLANGE X FLANGE                                                                  $0.00                                 $639.60


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           FLFL121-10 12" X 1'10"
           FL X FL DIP                                                                      $0.00                                 $312.80


           FLFL6-7 6" X 0'7" FL X
           FL DIP                                                                           $0.00                                 $123.60


           MJPE46 MJ X PE 4" X 6'
           PIECE                                                                            $0.00                                 $558.60


           MJPE63 MJ X PE 6" X 3'
           PIECE                                                                            $0.00                                 $246.46


           MJPE66 MJ X PE 6" X 6'
           PIECE                                                                            $0.00                                 $614.88


           FLFL84 8" X 4'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $287.60


           CT200K20 2" X 20' TYPE
           K SOFT COPPE                                                                     $0.00                                 $463.20


           CIFLGKIT2 2" CAST
           IRON OVAL METER F                                                                $0.00                                   $35.44


           NEPLG058 5/8"
           LEATHER GSKTS FOR
           MET                                                                              $0.00                                     $2.16


           NEPLG075 3/4"
           LEATHER GASKETS
           FOR M                                                                            $0.00                                     $5.80


           NEPLG100 1" LEATHER
           GSKTS FOR METER                                                                  $0.00                                   $22.50


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $2.50


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $21.92


           6860 #6 TYLER VALVE
           BOX BASE                                                                         $0.00                                   $34.71


           SB24040 40" 2-1/2"
           CURB BOX BOTTOM                                                                  $0.00                                 $131.84



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SB24747 2-1/2" X 47"
           BOTTOM SECTION                                                                   $0.00                                   $61.48


           95E CENTERING RING                                                               $0.00                                     $4.00


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $30.03


           CMT1414 14" MJ CI TEE                                                            $0.00                                 $298.74


           CMT1210 12" X 10"
           CAST MJ TEE                                                                      $0.00                                 $237.53


           DMAP648 6" X 48" DM
           ANCHOR PIPE                                                                      $0.00                                 $374.62


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $45.82


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $77.42


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $105.07


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                   $86.11


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $340.10


           DMB223 3" MJ C153
           22-1/2 DEGREE BEN                                                                $0.00                                   $15.80


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $72.29


           DMB453 3" MJ C153 45
           DEGREE BEND, D                                                                   $0.00                                   $25.28


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                 $101.12


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $40.69




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           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                   $59.25


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $116.13


           DMB903 3" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                  $-28.05


           DMB904 4" MJ 90
           DEGREE BEND, C153 D                                                              $0.00                                   $30.81


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $50.17


           DMB908 8" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                   $73.08


           DMC12 12"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                 $125.61


           DMC3 3" CAP,MJ,C153
           DUCTILE IRON                                                                     $0.00                                   $10.67


           DMC6 6" CAP, MJ, C153
           DUCTILE IRON                                                                     $0.00                                   $19.75


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $66.36


           DMFA12 12" DUCTILE
           MECHANINCAL JOIN                                                                 $0.00                                 $135.88


           DMHT106 10" X 6" MJ
           HYDRANT TEE C15                                                                  $0.00                                 $266.23


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $167.48


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $315.21


           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $16.20




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           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $52.93


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $159.58


           DMR106 10" X 6" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $54.91


           DMR126 12" X 6" MJ
           C153 REDUCER, DU                                                                 $0.00                                   $72.29


           DMR86SEB 8" X 6" MJ
           C153 SMALL END                                                                   $0.00                                   $45.82


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $265.44


           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                 $165.90


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $26.86


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $135.09


           DMT108 10" X 8" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $272.55


           DMT126 12" X 6"
           TEE,MJ,C153,DUCTILE                                                              $0.00                                 $294.67


           DMT43 4" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                 $137.46


           DMT64 6" X 4" MJ C153
           TEE DUCTILE I                                                                    $0.00                                 $135.09


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $218.04


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                   $97.17


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 329
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           DMTP102 10" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                 $246.48


           DMTP122 12" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                 $242.93


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $56.09


           DMY1010 10" X 10" MJ
           C153 WYE DUCTI                                                                   $0.00                                 $323.11


           DMB228DOM 8" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $113.71


           DMB114DOM 4" MJ
           C153 11-1/4 DEGREE                                                               $0.00                                   $45.21


           DMR86DOM 8" X 6" MJ,
           C153 REDUCER,                                                                    $0.00                                   $95.90


           DMP4DOM 4" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                 $113.03


           DMP8DOM 8" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $84.94


           DMC8DOM 8" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                   $62.34


           DMTP122DOM 12" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $140.43


           DMFB904 4" MJ FULL
           BODY 90 DEGREE B                                                                 $0.00                                   $81.84


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                               $1,176.40


           PVC403B 3" PVC SCH40
           BELLED END 20'                                                                   $0.00                                 $153.60


           401-015 1-1/2" PVC
           SCH40 TEE                                                                        $0.00                                     $5.90


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $3.21


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           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                     $4.72


           417-020 2" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $1.92


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $0.49


           429-040 4" PVC
           COUPLING SCH40                                                                   $0.00                                     $7.37


           437-338 3" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.45


           438-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                 $173.02


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $0.42


           447-060 6" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $8.01


           438-335 3" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.45


           PVC803 3" PVC SCH80
           PIPE                                                                             $0.00                                   $34.04


           PVC806COND 6" SCH
           80 PVC CONDUIT                                                                   $0.00                                   $83.60


           801-020 2" PVC SCH80
           TEE                                                                              $0.00                                     $7.07


           801-060 6" PVC SCH80
           TEE                                                                              $0.00                                   $76.01


           829-060 6" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                   $18.82


           854-030 3" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                     $8.66


           854-040 4" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $10.96


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           854-080 8" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $31.44


           861-082 1/2 X 4 PVC SCH
           80 NIPPLE                                                                        $0.00                                   $10.23


           2329-020 2" PVC TRUE
           UNION BALL VAL                                                                   $0.00                                   $83.99


           PVC80NIP50X5 1/2 X 5
           PVC SCH 80 NIP                                                                   $0.00                                     $2.34


           2329-015 1-1/2"
           TRU-UNION PVC SCHED                                                              $0.00                                   $60.48


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $114.06


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $260.80


           SDR2112 12" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                 $218.20


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $50.52


           SDR21454 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $63.13


           SDR21902.5 2 1/2" SDR
           21 IPS OD PVC                                                                    $0.00                                   $29.21


           SDR21904 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                 $410.35


           SDR21RCPLG8 8"
           REPAIR COUPLING
           SDR2                                                                             $0.00                                   $87.50


           SDR21MIPA6 6" SDR21
           IPS OD PVC GASK                                                                  $0.00                                 $121.28


           SDR21T44 4" X 4"
           SDR21 IPS OD PVC G                                                               $0.00                                   $88.57




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           SDR21T64 6" X 4" SDR
           21 IPS OD PVC                                                                    $0.00                                   $98.90


           SDR21CAP4 4" SDR21
           IPS OD PVC GASKE                                                                 $0.00                                 $106.80


           PHIL75-608GG 2"
           UNIVERSAL TRANSITIO                                                              $0.00                                   $80.66


           PHIL75-33088 2"
           PHILMAC 3G IPS OD C                                                              $0.00                                   $21.12


           DR174IPSNS 4" DR17
           IPS OD 100 PSI P                                                                 $0.00                                   $47.20


           DR11R200X100IPS 2" X
           1" DR 11 IPS O                                                                   $0.00                                     $4.86


           WTCV-075 3/4" WATTS
           BRASS SWING CHE                                                                  $0.00                                   $21.42


           LF5BM3-Z6 3/4"
           PRESSURE REDUCING
           VA                                                                               $0.00                               $2,020.50


           CL50TY8 ATLANTIC
           STATES 8" CLASS 50                                                               $0.00                               $1,937.10


           CL52TY3 3" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $520.02


           CL52TY6 6" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $284.62


           CL52TY8 8" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $741.30


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $2,503.20


           CL52TY12 12" CL52
           TYTON DUCTILE IRO                                                                $0.00                                 $698.40


           CL52MJ12 12" CLASS
           52 MJ PIPE                                                                       $0.00                               $1,155.42


           MUE142987 MUELLER
           5-1/4 CAP CHAIN W                                                                $0.00                                   $31.66


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           MUEA275 5-1/4 SAFETY
           FLANGE GASKET                                                                    $0.00                                   $37.60


           MUE145704 MUELLER
           BONNET FOR A423 O                                                                $0.00                                 $235.10


           MUE285967 MUELLER
           HANDWHEEL OPEN LE                                                                $0.00                                   $54.70


           MUE285969 MUELLER
           HAND WHEEL OPEN L                                                                $0.00                                 $195.26


           F2545NST5L CLOW
           F2545 5-1/4" MEDALL                                                              $0.00                               $4,108.72


           F2545JOHNSONCITY56L
           CLOW MEDALLION                                                                   $0.00                               $1,760.00


           M31050 1/2"AMERICAN
           M31 SWING CK VA                                                                  $0.00                                     $8.47


           CLO2640145 FLANGE
           GASKETS, 5-1/4",                                                                 $0.00                                   $21.24


           CLO2640484 CLOW
           EDDY MIDDLE STEM 5-                                                              $0.00                                   $15.42


           CLO2640484 MIDDLE
           STEM FOR 5' TRENC                                                                $0.00                                   $12.98


           M2202373 3'0" LOWER
           STEM MEDALLION                                                                   $0.00                                   $60.46


           HRPICLO2545BFK5
           SAFETY FLANGE REPAI                                                              $0.00                                 $237.41


           BR2B0899CC150 8" X
           1-1/2 CC SERVICE                                                                 $0.00                                 $117.36


           790055 3/4" #70
           WILKINS PRESS. REG                                                               $0.00                                 $223.88


           H15008N-075 3/4" CC X
           COMP CORPORAT                                                                    $0.00                                  $-27.28




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           MUE506141 2"
           STAINLESS STEEL
           INSERT                                                                           $0.00                                     $5.83


           MUE581951 1" 110
           COMPRESSION
           GASKET                                                                           $0.00                                     $2.75


           MUE581957 2" 110
           COMPRESSION
           GASKET                                                                           $0.00                                     $3.69


           H15526N-075 3/4" COMP
           90 BRASS MUEL                                                                    $0.00                                   $17.05


           H15428N-075X100 3/4"
           COMPRESSION X                                                                    $0.00                                   $13.59


           H15028N-075 3/4" IP X
           COMPRESSION C                                                                    $0.00                                   $27.26


           MUE507831 3/4" 110
           COMPRESSION NUT                                                                  $0.00                                     $6.91


           MCD14-2N MCDONALD
           14-2 STAR NUT                                                                    $0.00                                 $135.00


           MCD142G MCDONALD
           GASKET FOR METER                                                                 $0.00                                   $19.18


           MCD74620 5/8" METER
           X 3/4" MIP TAIL                                                                  $0.00                                 $579.67


           MCD74758-22-100 1"
           COMP UNION, CTS                                                                  $0.00                                   $21.16


           MCD74758-Q-150 1-1/2"
           COMPRESSION C                                                                    $0.00                                   $77.35


           H15428-200X150
           200X150 MUE
           COMPRESS                                                                         $0.00                                   $29.68


           H15428N-075 3/4"
           COMPRESSION X MIP                                                                $0.00                                  $-11.37


           H15451N-075 3/4"
           COMPRESSION X FIP                                                                $0.00                                  $-12.18



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           H15451N-100 1"
           COMPRESSION X FIP
           AD                                                                               $0.00                                   $17.42


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                   $27.13


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                   $86.31


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                     $2.14


           119NL-H6H6 1-1/2"
           COUPLING,CB COMP                                                                 $0.00                                  $-61.80


           CLOM0800070 CLOW 8"
           HANDWHEEL OL, O                                                                  $0.00                                 $132.16


           CL1-9.40 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                   $67.98


           CL1-3.00 X 7-1/2 SS CL1
           REPAIR CLAM                                                                      $0.00                                   $88.45


           B62BEND56 5' 6" B62B
           V/O ENDICOTT S                                                                   $0.00                               $3,434.40


           KV85716L 6" MJ RW
           VALVE, OPEN LEFT                                                                 $0.00                                 $567.00


           WHE8041 #8041
           CUTTER WHEELS FOR
           WHE                                                                              $0.00                                     $7.69


           FLGGSKT8FF2 2"
           FULL-FACE 1/8" THICK                                                             $0.00                                     $1.56


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $1.22


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $3.32


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $5.96




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           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $7.00


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                   $12.48


           FLGGSKT8R6 6" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $6.40


           FLGGSKT8R8 8" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $5.34


           FLGGSKT16R4 4" X
           1/16" RING, RED RU                                                               $0.00                                     $1.92


           FLGGSKT16R6 6" X
           1/16" RING, RED RU                                                               $0.00                                     $1.86


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $1.60


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $12.18


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                   $10.08


           HXBLT058350 5/8" X
           3-1/2" HEX BOLT,                                                                 $0.00                                     $4.55


           HXBLT058400 5/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                     $3.25


           HXBLT075350 3/4" X
           3-1/2" HEX BOLT,                                                                 $0.00                                   $39.10


           HXBLT075400 3/4" X 4"
           HEX BOLT, GRA                                                                    $0.00                                   $18.00


           HXBLT078225 7/8" X
           2-1/4" HEX BOLT,                                                                 $0.00                                     $1.30


           HXBLT078400 7/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                   $20.88


           HXBLT118450 1-1/8" X
           4-1/2" HEX BOL                                                                   $0.00                                   $13.50



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           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $7.48


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $38.00


           HXNUT075F 3/4"
           FLUORO CARBON
           COATED                                                                           $0.00                                   $29.70


           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $14.85


           HXNUT125 1-1/4"
           HEAVY DUTY HEX NUT                                                               $0.00                                   $33.88


           HXNUTF058 5/8" HEAVY
           HEX NUT FLOURO                                                                   $0.00                                     $9.75


           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                   $31.00


           HXBLT058300SS 5/8" X
           3" STAINLESS S                                                                   $0.00                                   $69.30


           HXNUT058SS 5/8"
           STAINLESS STEEL HEA                                                              $0.00                                   $11.20


           HXBLT075350SS 3/4" X
           3-1/2" STAINLE                                                                   $0.00                                   $60.48


           HXBLT075400P 3/4X4"
           PLATED HEX BOLT                                                                  $0.00                                   $10.44


           HXBLT050300F 1/2" X 3"
           HEX BOLT FLO                                                                     $0.00                                   $21.00


           HXNUT050SS 1/2"
           STAINLESS STEEL HEX                                                              $0.00                                   $21.00


           HXBLTF050250H 1/2" X
           2-1/2" HEX BOL                                                                   $0.00                                     $8.55


           HXNUTF050 1/2" HEAVY
           HEX NUT FLOURO                                                                   $0.00                                   $12.50


           FLTWSH78SS 7/8"
           STAINLESS STEEL FL                                                               $0.00                                   $28.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 338
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           HXBLT058250SS 5/8 X
           2-1/2 STAINLESS                                                                  $0.00                                     $6.52


           HXBLTF058250F 5/8" X
           2-1/2" HEX BO                                                                    $0.00                                 $523.80


           HXBLT075450 3/4" x
           4-1/2" HEX BOLT                                                                  $0.00                                     $3.62


           HXBLT078550SS 7/8" X
           5-1/2" STAINL                                                                    $0.00                                   $12.80


           HXBLT100650 1" X
           6-1/2" Hex Bolt                                                                  $0.00                                     $3.54


           HXNUTF058F 5/8"
           FINISH HEX NUT BLU                                                               $0.00                                   $37.20


           STUD0758 3/4 X 8"
           STUD                                                                             $0.00                                   $16.00


           HXBLTF050350 1/2" X
           3-1/2" HEX BO                                                                    $0.00                                 $162.50


           HXBLTF058300F 5/8" X
           3" HEX BOLT, F                                                                   $0.00                                   $44.10


           HXNUT058 5/8" FINISH
           HEX NUT                                                                          $0.00                                     $5.40


           HXBLTF050250F 1/2" X 2
           1/2" FINISH                                                                      $0.00                                   $23.40


           HXNUT100P 1" HEX NUT
           ZINC PLATED                                                                      $0.00                                     $5.18


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $23.25


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                   $11.63


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                     $9.30


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $16.74


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 339
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           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $10.23


           MJGSKT16 16" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $30.90


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                     $7.73


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                     $6.18


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $28.84


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                 $103.00


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                   $28.84


           MJGLD3 3" MJ GLAND                                                               $0.00                                   $22.32


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $20.46


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $18.14


           MJGLD8 8" MJ GLAND                                                               $0.00                                 $372.00


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                 $232.50


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                   $48.36


           TBLTF058300 5/8"X 3"
           SC1 FLUORO CAR                                                                   $0.00                                 $120.43


           TBLTF075350 3/4" X
           3-1/2" T-BOLT AN                                                                 $0.00                                   $80.00


           TBLTF075400 3/4" X 4"
           T-BOLT AND NU                                                                    $0.00                                 $352.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 340
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           TBLTF075450 3/4" X
           4-1/2" T-BOLT AN                                                                 $0.00                                 $200.00


           TBLTLF075350 3/4" X
           3-1/2" SC1 FLUO                                                                  $0.00                                   $20.25


           TBLTLF075400 3/4" X 4"
           SC1 FLUORO C                                                                     $0.00                                 $273.60


           TBLTLF075450 3/4" X
           4-1/2" SC1 FLUO                                                                  $0.00                                   $15.50


           TBLTSS075400 3/4" x 4"
           GRADE 304 ST                                                                     $0.00                                   $73.80


           MGP4F 4" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $251.28


           MGP6F 6" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $262.75


           MGP8F 8" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $197.28


           MGP10F 10" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $121.44


           MGP12F 12" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $381.36


           TYGSKT20 20" TYTON
           GASKET PLAIN (SB                                                                 $0.00                                 $297.36


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $513.60


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $67.32


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                 $223.92


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $62.66




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 341
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           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $307.80


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $118.44


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $735.54


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $500.70


           SACNUT075 3/4"
           SACRIFICIAL HEX NUT                                                              $0.00                                 $414.40


           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $32.70


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $19.25


           EBA1106OS 6"
           OVERSIZE MEGALUG
           (7.20                                                                            $0.00                                 $738.10


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $88.11


           EBA1108OS 8"
           OVERSIZE MEGALUG
           (9.4)                                                                            $0.00                                   $92.86


           EBA1108SX 8"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                   $76.31


           EBA1110 10" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $782.50


           EBA1110OS 10"
           OVERSIZED DI
           MEGALUG                                                                          $0.00                                 $520.49


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $632.47


           EBA1112OS 12"
           OVERSIZE MEGALUG
           1112                                                                             $0.00                                 $388.75


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 342
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           EBA1116OS 16" EBAA
           OVERSIZED DI ME                                                                  $0.00                                 $144.26


           EBA1608Y 8" SERIES
           1600 SERRATED C-                                                                 $0.00                               $1,785.50


           EBA1612Y 12" SERIES
           1600 SERRATED                                                                    $0.00                               $1,044.59


           EBA1706Y 6" JOINT
           RESTRAINT KIT FOR                                                                $0.00                                 $324.74


           EBA1710Y- 10" DI
           MEGALUG BELL RESTR                                                               $0.00                                 $130.30


           EBA1712Y- 12" EBAA DI
           MEGALUG BELL                                                                     $0.00                                 $467.81


           EBA2003PV EBAA 3"
           2000PV MEGALUG                                                                   $0.00                                   $55.83


           EBA2104 4" 2100
           MEGAFLANGE
           ADAPTER                                                                          $0.00                                 $122.60


           EBA6504 4" IPS PVC
           PIPE JOINT RESTR                                                                 $0.00                                   $27.15


           NACIPGRIP4DI 4" MJ
           WEDGE ACTION RES                                                                 $0.00                                 $141.00


           RG-D6 6" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                   $53.75


           SLC10 10" ONE-LOK
           RESTRAINT FOR PVC                                                                $0.00                                 $184.07


           SLC12 12" ONE-LOK
           RESTRAINT FOR PVC                                                                $0.00                               $1,163.00


           SLC4 4" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                   $54.21


           SLC6 6" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $219.59




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           SLC8 8" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $876.56


           SLD10 10" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $273.57


           SLD12 12" RESTRAINT
           FOR DUCTILE IRO                                                                  $0.00                                 $569.45


           SLD3 3" SIGMA
           ONE-LOK RESTRAINT
           FOR                                                                              $0.00                                   $84.48


           SLD4 4" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $238.74


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $824.57


           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $501.01


           4FA-OX.BLU 4" FOSTER
           ADAPTER WITH B                                                                   $0.00                                 $163.90


           EZPVC04 4" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $90.12


           DUCLUGS DUC LUGS                                                                 $0.00                                   $31.04


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $40.00


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                   $45.11


           IBLT1X6 1" X 6" EYE
           BOLT W/NUT                                                                       $0.00                                   $76.08


           PS-100-S ADJUSTABLE
           PIPE SUPPORT (1                                                                  $0.00                                 $955.00


           WMC3 3" WATERMAIN
           CLAMPS 450B-0024                                                                 $0.00                                   $18.80


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $40.80



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           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $49.05


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $78.92


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $69.00


           BHA358 3/4" MALE
           GARDEN HOSE X 3/4"                                                               $0.00                                     $5.76


           BHA369 2-1/2" FNST X
           2" MIP ADAPTER                                                                   $0.00                                   $10.50


           BHA358 2-1/2" MNST X
           2" MIP BRASS A                                                                   $0.00                                   $15.60


           BHA357 3/4" FEMALE
           GARDEN HOSE x 3/                                                                 $0.00                                   $23.92


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $66.00


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                 $185.13


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $59.40


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $18.00


           FAP2FF 2" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $43.20


           FK8R16 16" FLANGE
           KIT WITH RING GAS                                                                $0.00                                   $84.00


           GALVNIP-075X400 3/4"
           X 4" GALVANIZE                                                                   $0.00                                     $0.70


           GALVNIP-075X450 3/4"
           X 4 1/2" GALVA                                                                   $0.00                                     $1.67


           GALVCAP-200 2"
           GALVANIZED
           THREADED                                                                         $0.00                                     $6.35


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           GALVFLOOR-100 1"
           GALVANIZED FLOOR F                                                               $0.00                                   $17.68


           GALVUNION-100 1"
           GALVANIZED UNION                                                                 $0.00                                     $4.94


           GALVUNION-400 4"
           GALVANIZED UNION                                                                 $0.00                                 $164.86


           BRNIP-075X600 3/4" X 6"
           BRASS NIPPL                                                                      $0.00                                   $16.60


           BRNIP-075XCLS 3/4" X
           CLOSE BRASS NI                                                                   $0.00                                     $6.47


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                     $6.32


           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $9.10


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $13.40


           BRNIP-125XCLS 1-1/4" X
           CLOSE BRASS                                                                      $0.00                                   $12.72


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                     $7.22


           BRNIP-200X300 2" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $21.30


           BRNIP-200X400 2" X 4"
           BRASS NIPPLE                                                                     $0.00                                   $18.58


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $23.10


           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $12.59


           BRUNION-150 1 1/2"
           BRASS UNION THRE                                                                 $0.00                                   $14.84


           BR90-075SNL 3/4"
           STREET 90 BEND THR                                                               $0.00                                   $16.60


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           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                     $8.60


           BR90-100SNL 1"
           STREET 90 BEND, THRE                                                             $0.00                                   $27.48


           BR90-150NL 1-1/2" 90
           BEND THREADED                                                                    $0.00                                   $17.11


           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $27.85


           BR90-200SNL 2"
           STREET 90 BEND
           THREA                                                                            $0.00                                   $99.97


           BRBSH-125X100NL
           1-1/4" X 1" REDUCER                                                              $0.00                                     $3.85


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                   $43.92


           BRCAP-075NL 3/4" CAP
           THREADED B7418                                                                   $0.00                                     $2.06


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                     $3.22


           BRCPLG-075NL 3/4"
           COUPLING,THREADED                                                                $0.00                                     $2.26


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                     $3.43


           BRCPLG-100X075NL 1"
           X 3/4" REDUCER                                                                   $0.00                                     $5.16


           BRCPLG-125NL 1-1/4"
           COUPLING, THREA                                                                  $0.00                                   $10.73


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $23.68


           BRCPLG-150X125NL
           1-1/2" X 1-1/4" RE                                                               $0.00                                   $10.52



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           BRPLG-075NL 3/4"
           PLUG, THREADED B74                                                               $0.00                                     $3.73


           BRPLG-100NL 1" PLUG
           THREADED, LOW L                                                                  $0.00                                     $9.84


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                     $9.33


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                     $3.43


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                     $6.10


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $19.29


           BRT-200X075NL 2" X
           3/4" TEE THREADE                                                                 $0.00                                   $23.82


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                     $9.84


           BRCPLG-200X100NL 2"
           X 1" REDUCER CO                                                                  $0.00                                   $17.61


           BRT150X100NL 1-1/2" X
           1" TEE THREAD                                                                    $0.00                                   $16.64


           BRPLG-200NL 2"
           SQUARE HEAD CORED
           PL                                                                               $0.00                                   $12.89


           BRCAP150NL 1-1/2"
           LOW LEAD BRASS CA                                                                $0.00                                     $6.62


           BLKPLG-075 3/4"
           BLACK PLUG MALLEAB                                                               $0.00                                   $16.34


           BLKST90-125 1 1/4"
           BLACK STREET 90                                                                  $0.00                                     $6.06


           BLKUNION-075 3/4'
           BLACK UNION MALL                                                                 $0.00                                   $17.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 348
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                     $5.35


           FLORTAPE 1" X 150'
           FLUORESCENT ORAN                                                                 $0.00                                     $1.36


           NDWT6 6" X 1000' NON
           DETECTABLE WAT                                                                   $0.00                                   $14.95


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                     $3.06


           DFMT3 3" X 1000'
           DETECTABLE FORCE M                                                               $0.00                                   $16.50


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                   $60.00


           TERRATEX GS WOVEN
           GEOTEXTILE 17'-6"                                                                $0.00                                 $571.88


           TERRATEX HD WOVEN
           GEOTEXTILE 12-6"                                                                 $0.00                                 $696.00


           TERRATEX GS WOVEN
           GEOTEXTILE 15'X 3                                                                $0.00                                 $216.00


           TERRATEX EP-9
           GEOTEXTILE 12' X 300'                                                            $0.00                                 $750.00


           WINFAB450-9 9' X 360'
           NONWOVEN 360S                                                                    $0.00                                 $555.00


           CHEMGLOVES
           CHEMICAL
           PROTECTION GLOV                                                                  $0.00                                     $1.40


           LEATHERGLOVEL
           UNLINED LARGE
           ROUGH                                                                            $0.00                                     $6.16


           WWGL LARGE
           WATERPROOF
           INSULATED WOR                                                                    $0.00                                   $74.00


           WWGXL EXTRA LARGE
           WATERPROOF INSULA                                                                $0.00                                   $37.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 349
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           BT13 SLUSH BOOTS
           SIZE 13                                                                          $0.00                                   $25.90


           BT14 SLUSH BOOTS
           SIZE 14                                                                          $0.00                                   $12.95


           BT16 SLUSH BOOTS
           SIZE 16                                                                          $0.00                                   $12.95


           BT17 SLUSH BOOTS
           SIZE 17                                                                          $0.00                                   $26.90


           BT18 SLUSH BOOTS
           SIZE 18                                                                          $0.00                                   $53.80


           HSMF ORANGE
           FIBERGLASS HYDRANT
           MARK                                                                             $0.00                                   $15.28


           TIEDOWN900 KEEPER
           13' RATCHET TIE-D                                                                $0.00                                   $12.80


           TIEDOWN5000 KEEPER
           RATCHET 15' TIE-                                                                 $0.00                                   $57.24


           HSMRED48 48" RED &
           WHITE STEEL REFL                                                                 $0.00                                   $53.96


           GHR.75 HOT ROK
           FIBERGLASS 15"L X 6"                                                             $0.00                                 $183.60


           W51-18P - 90 WATT
           HEAT CABLE (18 FT                                                                $0.00                                   $46.80


           SVDOTNL SAFETY
           VESTS NYS DOT
           APPROV                                                                           $0.00                                   $11.50


           MARKING FLAG 4" X 5"
           WHITE 21" WIRE                                                                   $0.00                                 $127.50


           MARKING FLAG 4" X 5"
           BLUE [21" LGTH                                                                   $0.00                                   $52.50


           MARKING FLAG 4" X 5"
           GREEN [21" LGT                                                                   $0.00                                   $75.20




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                Name

           NOBURST1 NOBURST 1
           GALLON, HYDRANT                                                                  $0.00                                   $10.45


           DOPEQT QUART PIPE
           DOPE                                                                             $0.00                                   $28.63


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                   $31.92


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $37.24


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $87.78


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                   $31.92


           HORNETSPRAY
           AERVOE 20oz 862
           AEROSO                                                                           $0.00                                   $18.60


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                   $73.22


           MARKINGSTICK
           AERVOE PAINT
           MARKING S                                                                        $0.00                                   $13.71


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                   $17.25


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                   $20.94


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $58.14


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                                 $156.00


           FOXTCPK
           INVERT-A-CAP PINK
           SPRAY PAI                                                                        $0.00                                     $7.98



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                Name

           RECTORSEALTB
           TRU-BLU PIPE THREAD
           SE                                                                               $0.00                                   $20.24


           LUBEQTBLUE QUART
           OF BLUE LUBE GLP32                                                               $0.00                                     $4.08


           FAK25 FIRST AID KIT
           ERB PN 17134 25                                                                  $0.00                                   $22.50


           GOGGLES- STANDARD
           SAFETY GOGGLES FO                                                                $0.00                                     $4.50


           GOGGLES PIRANA
           GRAY LENS & BLACK
           FR                                                                               $0.00                                     $8.32


           GOGGLES ZENON Z13
           AMBER LENS & TEMP                                                                $0.00                                     $2.85


           MM2GBRACKET
           MASTER METER 2G
           WALL M                                                                           $0.00                                     $0.59


           MM2GTOP MASTER
           METER 2G PIT LID MO                                                              $0.00                                     $1.13


           MM2GBOTTOM
           MASTER METER 2G PIT
           LID                                                                              $0.00                                     $1.13


           MM965-010-10 DUAL
           PULSE MODULES                                                                    $0.00                                 $540.00


           MMLCDINTERPRETERM
           M LCD INTERPRETER                                                                $0.00                                 $125.26


           #199 623 58 MASTER
           METER 2G MODULE                                                                  $0.00                                   $54.00


           MMBLMJ3B3G1GALCI
           MASTER METER BOTT                                                                $0.00                                 $234.17


           MMBLMJEBAL5834CFCI
           5/8" X 3/4" BOTT                                                                 $0.00                                 $489.00


           MMALPIN MASTER
           METER ACCULINX
           STOPP                                                                            $0.00                                   $16.88


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 352
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           FC38MPB STRGHT
           THRU FST PLUG 3/8" 3                                                             $0.00                                    $-5.68


           9910KIT1724 HYPRO -
           DIAPHRAM KIT                                                                     $0.00                                   $46.38


           9910KIT1917 HYPRO
           -VALVE KIT                                                                       $0.00                                   $78.50


           8X6 SV CI RUNNING
           VENT TRAP WITH SI                                                                $0.00                                 $966.17


           K-8103-L K81A DIRT
           SHIELD TO FIT OP                                                                 $0.00                                   $15.53


           K-8114-L K81A UPPER
           STEM, OPEN LEFT                                                                  $0.00                                 $131.57


           442760P O-RING FOR
           COVER OF A 3" RW                                                                 $0.00                                    $-8.96


           KEN442764P KENNEDY
           10" R-14 COVER O                                                                 $0.00                                   $37.29


           1-1/16 DEEP WELL
           SOCKET                                                                           $0.00                                   $29.67


           248-300 FERNCO
           STAINLESS STEEL
           CLAM                                                                             $0.00                                     $4.08


           #11 RECTANGULAR
           FRAME AND GRATE                                                                  $0.00                                 $920.00


           TRU367-4965
           TRUMBULL BOTTOM
           COUPLIN                                                                          $0.00                                   $36.00


           808-010 1" FIPT X FIPT
           90 SCH 80                                                                        $0.00                                   $13.92


           CLO2545M3A F2545
           OPEN LEFT M-3 "A"                                                                $0.00                                 $768.50


           CLOW M-43 2-1/2" HOSE
           NOZZLE CAP FO                                                                    $0.00                                 $487.39




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 353
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           HAS64 STAINLESS
           STEEL CLAMPS FOR FE                                                              $0.00                                     $1.70


           080-300 FERNCO HAS80
           STAINLESS STEE                                                                   $0.00                                     $1.96


           HB8E HOT BOX 118"L X
           40"W X 74"H EN                                                                   $0.00                               $5,848.70


           HXBLT050200SS 1/2" X
           2" STAINLESS S                                                                   $0.00                                     $8.00


           HXBLT058400SS 5/8" X
           4" STAINLESS                                                                     $0.00                                   $25.20


           KEN328083 KENNEDY
           R-3 OPEN LEFT OPE                                                                $0.00                                   $29.68


           M0800811 CLOW M-26
           WEATHER CAP "A"                                                                  $0.00                                 $274.95


           M-38 MEDALLION
           PUMPER NOZZLE CAP
           M1                                                                               $0.00                                 $588.00


           MUE185683 MUELLER
           IMPROVED STEM 5-1                                                                $0.00                                 $119.14


           MUE83525 2" SHELL
           CUTTER & TAP                                                                     $0.00                               $1,369.00


           KEN442762P 8" COVER
           O-RING NRS,RW G                                                                  $0.00                                   $22.00


           V200 2-1/2" X 33" BIBBY
           BOTTOM SECT                                                                      $0.00                                   $28.29


           WHE978 3/4" DEEP
           SOCKET, WHEELER                                                                  $0.00                                   $21.75


           T2401253 6" F6100
           BONNET O-RING, CL                                                                $0.00                                   $66.50


           HXBLT100450P 1"X 4
           1/2" ZINC PLATED                                                                 $0.00                                   $10.05




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 354
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           FAP250FF 2-1/2"
           FLANGE ACCESSORY
           PA                                                                               $0.00                                     $5.24


           VB245R SIGMA 4-1/4"
           ROADWAY BOX 48"                                                                  $0.00                                 $500.00


           10" DRAIN BASIN                                                                  $0.00                                 $570.00


           MUE195083 MUELLER
           SEAT RING TOP O-R                                                                $0.00                                     $3.75


           KEN442610P COVER
           O-RING FOR 4" NRS,                                                               $0.00                                   $72.00


           T2401266 COVER
           O-RING FOR 8" GATE V                                                             $0.00                                   $22.00


           MOON3/4" 3/4" HOSE
           WASHER                                                                           $0.00                                   $16.00


           CENTERING RING 4-3/4"
           OD ADJUSTABLE                                                                    $0.00                                   $48.00


           T2401268 CLOW 12"
           F6100 COVER O-RIN                                                                $0.00                                   $32.00


           T2401267 10" CLOW
           F6100 RW BONNET O                                                                $0.00                                   $16.00


           T2401252 4" RW COVER
           O RING                                                                           $0.00                                     $6.09


           TRU367-4298
           PENTAGON HAND KEY,
           TRUM                                                                             $0.00                                   $10.50


           117NL-H4F4 1" COMP X
           FIP ADAPTER LO                                                                   $0.00                                   $16.03


           379-0750751 3/4"
           FEMALE HOSE SWIVEL                                                               $0.00                                   $38.07


           HXNUT058SS 5/8"
           FINISH HEX NUT STAI                                                              $0.00                                     $8.15


           HXNUT050SS 1/2"
           STAINLESS STEEL FIN                                                              $0.00                                     $6.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 355
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           HWYSCPLG10 10"
           EXTERIOR SNAP
           COUPLE                                                                           $0.00                                   $58.16


           442766P R-14 BONNET
           O-RING KENNEDY                                                                   $0.00                                   $34.98


           GF32012 12" SCREW
           RITEHITE                                                                         $0.00                                 $100.00


           TERRATEX RX1100
           TYPE 1 BIAXIAL GEOG                                                              $0.00                                 $460.00


           24LN6LN 24" HDPE
           DUAL WALL X 6" HDP                                                               $0.00                                 $310.40


           WATTS909QTNL 2"
           WATTS 909-QT RPZ BA                                                              $0.00                               $1,133.06


           MUE285971 8"
           HANDWHEEL G204
           OPEN LE                                                                          $0.00                                 $207.42


           BRT150X075NL 1-1/2" X
           3/4" LOW LEAD                                                                    $0.00                                   $16.64


           REEDSC1 SC1 1"
           SCISSOR SHEARS
           #0417                                                                            $0.00                                   $10.81


           BUSH0120375 US SAWS
           BUSHING FOR DIA                                                                  $0.00                                     $8.00


           MCD73206NL 2" PLUG
           AWWA THREAD, 512                                                                 $0.00                                 $302.50


           EBA1612 12"
           SERRATED C900 PIPE
           BELL                                                                             $0.00                                 $308.35


           IBLTG075 3/4" X 4"
           GALVANIZED EYE B                                                                 $0.00                                 $318.50


           MCD72025 3/4" FLR X
           3/4" FIPT ANGLE                                                                  $0.00                                   $16.06


           MUEA21-5 MUELLER
           1-3/8 SQUARE NUT 2                                                               $0.00                                   $45.89


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 356
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           466DSA 4" X 6" X 6"
           DOWN SPOUT ADAP                                                                  $0.00                                     $9.74


           WTLF777SI-2 2"
           BRONZE WYE
           STRAINER,                                                                        $0.00                                   $78.89


           467-417-SR 4 X 1 PVC
           SADDLE 1" IPT                                                                    $0.00                                   $65.64


           TSSF-1356-0400-1-2 12"
           X 4" TRIPLE                                                                      $0.00                                 $465.18


           810-0962-A7 8" X 2" CC
           CB DOUBLE ST                                                                     $0.00                                 $110.05


           12P358LN 12 X 8
           INSERTA TEE 12" SDR                                                              $0.00                                 $656.34


           TSSF-0944-0400-1-2 8" X
           4" TRIPLE T                                                                      $0.00                                 $386.07


           FB600-4NL 1" BALL
           CORP FLARE, FORD                                                                 $0.00                                 $190.40


           MCD74701B-075 3/4"
           BALL CORP AWWA X                                                                 $0.00                               $1,177.74


           MCD76100B075 3/4"
           BALL CURB STOP FC                                                                $0.00                                 $639.96


           MCD74758075 3/4"
           UNION FC X FC, 512                                                               $0.00                                   $40.11


           200W14NW 8" FLANGE
           GATE VALVE, OPEN                                                                 $0.00                                 $431.68


           IND1645F FRAME FOR
           26 X 26 GRATE 3"                                                                 $0.00                               $1,200.00


           TSSF-1146-0800-1-2 10"
           X 8" TAPPING                                                                     $0.00                                 $567.51


           TSSF-0742-0600-1-2 6" X
           6" TAPPING                                                                       $0.00                                 $761.33




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 357
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           RECTORSEALAS
           ANTI-SEIZE LUBRICANT
           F                                                                                $0.00                                   $11.33


           QCRD120742001EX-HD
           W 6" X 12" WIDE R                                                                $0.00                                 $199.78


           QCRD120944001EX-HD
           W 8" X 12" WIDE R                                                                $0.00                                 $102.19


           HWW12 12"
           HARDWOOD WEDGE
           BUNDLE OF                                                                        $0.00                                   $54.00


           QCRD120510001EX-HD
           W 4" X 12" WIDE Q                                                                $0.00                                 $264.60


           QCRD150765001EX-HD
           W TPS 6"X15" QUIC                                                                $0.00                                 $116.57


           QCRD120536001EX-HD
           W 4" X 12" O.S. Q                                                                $0.00                                   $88.20


           HWYADPT4 4"
           ROUNDED ADAPTER
           SHORT                                                                            $0.00                                   $92.00


           MCD74602B-200 2"
           ANGLE METER VALVE                                                                $0.00                                 $297.63


           BAUT126 12 X 6 HDPE
           TEE DUAL WALL S                                                                  $0.00                                 $121.02


           118NL-C3C3 3/4" FLARE
           UNION, LOW LE                                                                    $0.00                                 $100.92


           118NL-C7C7 2" FLARE
           UNION, LOW LEAD                                                                  $0.00                                 $255.52


           NOT IN SERVICE BAG
           FOR HYDRANT, ORA                                                                 $0.00                                   $50.00


           202B-1212-CC4 10X1CC
           BRONZE SADDLE                                                                    $0.00                                 $250.66


           MCD72117T-200 2" MCD
           BALL VALVE THR                                                                   $0.00                                   $60.32




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           MCD74753-200 2" MIPT
           X FLARE ADAPTE                                                                   $0.00                                 $200.33


           MCD74701B-200
           2"CCXFLARE CORP
           BALL                                                                             $0.00                                 $463.04


           MCD76100-200 2"FLARE
           CURB STOP BALL                                                                   $0.00                                 $342.56


           MESH SCREEN FOR
           TEST PUMP                                                                        $0.00                                   $75.00


           T3SS-0984-7511EX 8"
           OS X 3/4"CC TAP                                                                  $0.00                                 $151.46


           2000-0213-260 1-1/2"
           HYMAX COUPLING                                                                   $0.00                                   $72.17


           2000-0563-260 4"
           HYMAX COUPLING RAN                                                               $0.00                                 $514.52


           2000-1200-260 10"
           HYMAX WIDE RANGE                                                                 $0.00                                 $247.42


           2000-0433-260 3"
           HYMAX COUPLING LOW                                                               $0.00                                 $401.54


           6000-2375-150 2"
           COMPRESSION COUPLI                                                               $0.00                                   $93.85


           6000-0840-150 1/2"
           COMPRESSION COUP                                                                 $0.00                                   $12.70


           6000-1660-150 1-1/4"
           COMPRESSION CO                                                                   $0.00                                   $23.01


           6000-1900-150
           COMPRESSION FITTING
           L                                                                                $0.00                                   $50.52


           6000-1315-150 1" LONG
           BODY GALVANIZ                                                                    $0.00                                   $37.88


           REEL20 1-1/4" SOCKET
           L20 #02271 REE                                                                   $0.00                                   $33.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 359
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           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                   $10.04


           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                     $8.77


           REERR3/4 REED RR3/4
           REROUNDING TOOL                                                                  $0.00                                   $26.94


           REERW18 18" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $33.26


           REETC2Q 1/4" - 2-5/8"
           CUTTER QUICK                                                                     $0.00                                   $58.02


           REEL17 1 1/16" REED
           L17 SOCKET PN 0                                                                  $0.00                                   $33.91


           REEMH36 36"
           MANHOLE HOOKS,
           #02303 R                                                                         $0.00                                   $24.52


           REERCR34 REED
           "ROUND IT"
           STRAIGHTNE                                                                       $0.00                                   $70.91


           REED02630 1-1/4"
           EXTENDED SOCKET 6"                                                               $0.00                                   $33.56


           REE40077 FEED SCREW
           FOR T20 CUTTER                                                                   $0.00                                     $6.51


           REE93039 KNOB FOR
           REED T20 CUTTER                                                                  $0.00                                     $2.41


           REET15WP
           T10,T15,TC15,T20
           WHEEL PIN                                                                        $0.00                                     $2.76


           MP175 REED METER PIT
           PUMP PART# 023                                                                   $0.00                                   $81.70


           ALTHRD56 1/2" X 6' ALL
           THREADED ROD                                                                     $0.00                                   $10.80


           ALTHRD0756P 3/4" X 6'
           ALL THREADED                                                                     $0.00                                 $819.00



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $32.55


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                $-350.07


           SDR356P 6" PVC SDR35
           PERFORATED SEW                                                                   $0.00                                 $140.03


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                                 $209.30


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $131.32


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                               $1,319.08


           SDR35SW4 4" SDR35
           SOLVENT WELD SOLI                                                                $0.00                                     $7.65


           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                                   $22.95


           PVCRECCOP4 4" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $13.35


           PVCRECCOP6 6" PVC
           RECESSED CLEANOUT                                                                $0.00                                 $214.65


           SDR3522BXB12 12" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $101.45


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                   $79.23


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $58.54


           SDR3522BXB8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                 $142.09


           SDR3522BXP12 12" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $198.61




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 361
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                Name

           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $84.80


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $37.04


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $89.11


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $29.75


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                 $130.85


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $28.17


           SDR3545BXP10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                   $72.03


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $178.36


           SDR3545BXP8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $26.91


           SDR356XSCH40DWV6
           6" PVC SDR 35 SOCK                                                               $0.00                                   $20.90


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $34.43


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $95.24


           SDR3590BXP10 10" PVC
           SDR35 90 BEND                                                                    $0.00                                 $112.11


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $172.14


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $97.06


           SDR35CAP12 12" PVC
           SDR35 CAP,G16012                                                                 $0.00                                   $76.10



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 362
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                Name

           SDR35CAP15 15" PVC
           SDR35 CAP,L16015                                                                 $0.00                                 $246.14


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                   $28.83


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $53.99


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                   $16.19


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $29.63


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $39.42


           SDR35R108 10" X 8"
           SDR35 REDUCER L1                                                                 $0.00                                 $176.90


           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                   $76.70


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                 $114.58


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                   $66.97


           SDR35SADT106 10X6
           PVCSDR35 SADDLE T                                                                $0.00                                   $46.75


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $72.27


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                   $19.75


           SDR35T86 8" X 6" PVC
           SDR35 TEE G108                                                                   $0.00                                   $26.91


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                   $85.89


           SDR35Y1010 10" X 10"
           PVC SDR35 WYE                                                                    $0.00                                 $158.82



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 363
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                Name

           SDR35Y108 10 X 8 PVC
           SDR35 WYE L301                                                                   $0.00                                 $142.76


           SDR35Y1210 12" X 10"
           PVC SDR35 WYE                                                                    $0.00                                 $213.33


           SDR35Y126 12" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $350.49


           SDR35Y128 12" X 8"
           PVC SDR35 WYE L3                                                                 $0.00                                 $174.53


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                   $68.38


           SDR35Y66 6" X 6" PVC
           SDR35 WYE G306                                                                   $0.00                                   $19.63


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                 $103.47


           G616-4 6" X 4"
           ECCENTRIC
           INCREASER                                                                        $0.00                                   $92.32


           DWVTY44P 4" x 4" DWV
           SANITARY TEE S                                                                   $0.00                                   $68.73


           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                 $284.20


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                   $17.40


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $7.88


           6" DWV SPIGOT X 6"
           SDR35 SOCKET ADA                                                                 $0.00                                   $98.19


           NORTY6 6" X 6"
           TEE-WYE SOLVENT
           WEL                                                                              $0.00                                   $78.63


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $38.08


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 364
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           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                   $78.68


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                     $2.89


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                   $23.94


           V-1042 4" X 2"
           REDUCING COUPLING
           SE                                                                               $0.00                                   $45.09


           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                   $17.44


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $25.13


           V-1406 6" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $80.39


           V-1705 3" x 4" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $58.19


           V-1706 4" x 6" x 6"
           DOWNSPOUT ADAPT                                                                  $0.00                                 $149.53


           V-1806 6" PVC DRAIN
           GRATE SEWER AND                                                                  $0.00                                   $95.39


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $46.40


           V-3404 4" HUB X PLAIN
           END 90 BEND S                                                                    $0.00                                     $5.83


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                     $1.81


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $85.38


           V-604 4" NOR 45 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $85.61


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 365
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           V-714 4" PVC 22 BELL X
           SPIGOT SEWER                                                                     $0.00                                     $7.34


           V-806 6" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $51.32


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $13.86


           V-906 6" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                 $224.11


           NORTT4 4" SDR35
           SOLVENT WELD
           CLEANO                                                                           $0.00                                   $12.66


           NORTY64 6" X 4"
           SANITARY TEE-WYE SO                                                              $0.00                                 $238.00


           V-606 6" 45 B X S
           BEND,72760 NOR456                                                                $0.00                                 $109.32


           V-1714 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $28.51


           SV10SH6 6 X 10 SOIL
           PIPE SINGLE HUB                                                                  $0.00                                 $942.48


           SV456 6" SOIL PIPE 45
           BEND                                                                             $0.00                                   $53.01


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                   $48.75


           SVG6 6" SV GASKETS
           JUMBO PN SVG6                                                                    $0.00                                   $32.41


           SVG8 8" SV GASKETS                                                               $0.00                                   $61.80


           SVSHTRAP4 4" SV
           RUNNING TRAP W/SGL                                                               $0.00                                 $422.58


           SVVC6 6" CI
           MUSHROOM VENT CAP
           #2956                                                                            $0.00                                   $75.68




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 366
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                Name

           SVY66 6" X 6" SOIL PIPE
           WYE                                                                              $0.00                                 $105.94


           NHTRAP44 4" X 4" NO
           HUB RUNNING TRA                                                                  $0.00                                   $46.74


           NHTY66 6" NO HUB TEE
           WYE                                                                              $0.00                                 $120.79


           DWV1804 4" PVC DWV
           BEND 180 P/N 780                                                                 $0.00                                   $10.56


           DWV45BXS4 4" PVC
           DWV SCH40 45 BEND,                                                               $0.00                                     $2.45


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                   $26.57


           DWV906P 6" PVC
           SCHEDULE 40 DWV
           STRE                                                                             $0.00                                   $15.12


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                     $6.93


           DWVFA4 4" PVC DWV
           SCH40 FEMALE ADAP                                                                $0.00                                     $3.82


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                     $7.76


           DWVY1.51.5 1-1/2" PVC
           DWV WYE P/N 7                                                                    $0.00                                     $2.32


           G307-0044 4" X 4" DWV
           GASKETED WYE                                                                     $0.00                                 $318.60


           DWVFA8 8" DWV
           FEMALE ADAPTOR
           D1408                                                                            $0.00                                   $13.62


           DWV1806 6" PVC DWV
           180 DEGREE BEND                                                                  $0.00                                   $68.09


           DWVTY66P SPEARS 6 X
           6 STREET TEE-WY                                                                  $0.00                                   $46.84




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 367
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           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                     $5.28


           HDLT000620SP 6"
           PERFORATED LOKTITE                                                               $0.00                                   $80.00


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $106.00


           HWY4P250 4" x 250'
           PERFORATED CORRU                                                                 $0.00                                 $877.50


           HDLT001020SP LANE
           10" PERFORATED LO                                                                $0.00                                   $88.00


           HDLT003620SP LANE
           36" PERFORATED LO                                                                $0.00                                 $560.00


           HWY4S250 4" x 250'
           SOLID CORRUGATED                                                                 $0.00                                 $195.00


           HWY4PS 4" X 250'
           PERFORATED WITH SO                                                               $0.00                                 $147.50


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                               $1,759.40


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                               $1,809.00


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $111.60


           HDLT000820S0R 8"
           SOLID HDPE LOKTITE                                                               $0.00                               $1,152.00


           HDLT001020SOR 10"
           SOLID LOKTITE HDP                                                                $0.00                               $1,227.00


           LANET1212 12" HDPE
           TEE                                                                              $0.00                                   $83.40


           LANET86 8" X 6"
           REDUCER TEE HDPE                                                                 $0.00                                 $134.40


           LANET246 LANE 24" X
           6" HDPE REDUCER                                                                  $0.00                                 $167.96


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 368
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           LANET106 10" X 6"
           HDPE REDUCER TEE                                                                 $0.00                                   $51.70


           LANET10 10" HDPE TEE                                                             $0.00                                   $60.79


           LANET1512 15" X 12"
           HDPE REDUCER TE                                                                  $0.00                                 $121.72


           LANE2212 12" HDPE
           22-1/2 DEGREE BEN                                                                $0.00                                   $35.75


           LANECPLG24 24" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $70.80


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                 $119.60


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $82.50


           LANECPLG36 36" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $106.60


           HWYICPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $58.45


           LANECPLG15 15" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $41.50


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                   $36.32


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $47.68


           HWYICPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $21.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $61.04


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                   $41.64


           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                  $-28.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 369
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           LANE906 6" HDPE 90
           DEGREE BEND                                                                      $0.00                                   $13.02


           HWYT4 4" HWY TEE
           HDPE MOLDED SINGLE                                                               $0.00                                     $6.98


           LANET88 8" HDPE TEE                                                              $0.00                                   $24.45


           HWY904 4" HDPE
           MOLDED SINGLE WALL
           H                                                                                $0.00                                 $199.64


           HWYBT6 6" HDPE
           MOLDED SINGLE WALL
           B                                                                                $0.00                                   $65.44


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $4.66


           LANECPLG10 10" HDPE
           SPLIT COUPLING                                                                   $0.00                                     $5.48


           LANE458 8" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $20.40


           HWYCAP8 8" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $14.60


           LANERED106 10" X 6"
           HDPE REDUCER                                                                     $0.00                                   $39.84


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $25.20


           HWY454 4" SINGLE
           WALL 45 BEND                                                                     $0.00                                   $38.50


           LANEDSA34 3" X 4" X 4"
           DOWNSPOUT AD                                                                     $0.00                                 $186.00


           LANET44 4" x 4" HDPE
           TEE                                                                              $0.00                                   $10.95


           CRIMPTOOL CRIMPING
           TOOL FOR MAR-MA                                                                  $0.00                                 $100.00




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           DR11MJA8IPSK 8" DR11
           IPS HDPE MJ AD                                                                   $0.00                                 $199.08


           CM16GAP15 15" 16GA
           CMP PERF PLAIN G                                                                 $0.00                                 $108.50


           CMRRCPLG12 12"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $28.50


           CMRRCPLG15 15"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $36.00


           CMES12 12"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                   $83.00


           CMES18 18"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                 $134.00


           CMT158 15" X 8"
           CORRUGATED TEE                                                                   $0.00                                   $63.58


           ESRING24 24" END
           SECTION RINGS                                                                    $0.00                                 $127.50


           ESRING18 18" END
           SECTION RINGS                                                                    $0.00                                   $72.00


           ESRING15 15" END
           SECTION RINGS                                                                    $0.00                                 $160.00


           ESRING12 12" END
           SECTION RINGS                                                                    $0.00                                 $180.00


           ESRING21 21 CM END
           SECTION STRAP AN                                                                 $0.00                                     $9.75


           AL1148*LANE 48" 11-1/4
           BEND T2 ALUM                                                                     $0.00                                 $603.00


           MHSLIPRING*LANE
           MANHOLE SLIP RING                                                                $0.00                                 $837.00


           ALTEE48*LANE 48"
           ALUMINIZED TEE W                                                                 $0.00                               $3,130.00



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           AL16GAS48MAN*LANE
           48" ALUMINIZED                                                                   $0.00                               $1,332.00


           ALTRIPMANIFOLD48*LA
           NE 48" ALUMINIZ                                                                  $0.00                               $2,335.00


           AL90TEE48*LANE 48"
           ALUMINZED 90 AN                                                                  $0.00                               $1,426.00


           AL90TEE48W/6"CO*LAN
           E 48" ALUMINIZE                                                                  $0.00                               $1,543.00


           CM16GAS48A-23*LANE
           48"X23' ALUMINIZ                                                                 $0.00                               $5,884.55


           RCP155 15" CL5
           CONCRETE PIPE                                                                    $0.00                                 $411.45


           RCPES24S 24" RCP
           SPIGOT END concre                                                                $0.00                                 $506.00


           01-64 6 X 4 CLAY/CLAY
           COUPLING                                                                         $0.00                                   $17.21


           01-66 6" X 6"
           CLAY/CLAY COUPLING                                                               $0.00                                   $15.83


           01-88 8" X 8"
           CLAY/CLAY COUPLING                                                               $0.00                                   $24.36


           01-1010 10 X 10
           CLAY/CLAY COUPLING                                                               $0.00                                   $33.86


           01-1212 12" X 12"
           CLAY/CLAY COUPLIN                                                                $0.00                                   $19.76


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $93.90


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $70.42


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.61




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $154.03


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $54.46


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                 $185.60


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                 $234.65


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                   $64.51


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                 $214.19


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $24.36


           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                     $4.05


           56-32 3" X 2"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $5.06


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $5.49


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $3.69


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $25.04


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                 $160.73


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $27.30


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $72.12


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 373
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $46.40


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $36.10


           1056-66RC 6"
           CI/PLASTIC x 6" CI/ PL                                                           $0.00                                   $97.60


           QS4 4" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                   $50.58


           QS6 6" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                   $58.67


           1056-44RC 4"
           CI/PLASTIC x 4" CI/ PL                                                           $0.00                                   $51.24


           1056-88RC 8"
           STRONGBACK RC
           COUPLING                                                                         $0.00                                 $193.20


           1002-66RC 6" STRONG
           BACK COUPLING                                                                    $0.00                                 $127.39


           096-300 HAS96 SHEER
           RING FOR 4" CLA                                                                  $0.00                                     $2.15


           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                   $18.20


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $24.70


           CHE262-080 8"
           MUNI-BALL WITH WITH
           B                                                                                $0.00                                 $138.60


           DEBRISCAP6 6"
           Standard Debris Cap                                                              $0.00                                   $75.00


           NDS1200 12" BASIN
           (PLASTIC 2 OPENIN                                                                $0.00                                   $73.35


           NDS1211 12" SQUARE
           GRATE, PLASTIC,                                                                  $0.00                                 $109.78




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 374
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           NDS1213 12" x 12"
           CAST IRON GRATE N                                                                $0.00                                   $80.75


           NDS1243 4" GRATE
           OUTLET (UNIVERSAL                                                                $0.00                                   $26.15


           NDS1245 3"-4" OFFSET,
           UNIVERSAL LOC                                                                    $0.00                                     $8.00


           NDS1888 NDS 8"
           UNIVERSAL LOCKING
           OU                                                                               $0.00                                   $18.65


           NDS475P 4" PVC
           BACKWATER VALVE
           D010                                                                             $0.00                                   $32.78


           NDS50 6" ROUND
           GRATE GREEN FOR 6"
           S                                                                                $0.00                                   $36.37


           NDSDS126 BOTTOM
           OUTLET ADAPTER FOR                                                               $0.00                                   $81.79


           12LN6LN 12" HDPE
           DUAL WALL X 6" HDP                                                               $0.00                                 $918.18


           12LN6P35 12" HDPE
           DUAL WALL X 6" SD                                                                $0.00                                   $73.37


           12LN8LN 12" HDPE
           DUAL WALL X 8" HDP                                                               $0.00                                 $292.94


           18LN6LN INSERTA TEE
           18" HDPE DUAL W                                                                  $0.00                               $1,122.22


           30LN6IPS INSERTA TEE
           30" HDPE DUAL                                                                    $0.00                                   $92.20


           DFW-4TC 4" FLEXIBLE
           SADDLE TEE WITH                                                                  $0.00                                   $25.90


           DFW-6TC 6" FLEXIBLE
           SEWER SADDLE TE                                                                  $0.00                                   $41.09


           EJ6212 15" CAST IRON
           GRATE # 6212 0                                                                   $0.00                                 $259.52




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 375
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                Name

           GF11181-8 8"
           CLEANOUT FRAME AND
           COV                                                                              $0.00                                   $75.00


           IND1032FRM 1032 24" X
           7" ROUND FRAM                                                                    $0.00                                 $421.00


           IND1032PLNCOV 1032
           24" UNVENTED PLA                                                                 $0.00                                   $83.80


           EJ1310SSCV 24"
           SANITARY SEWER
           COVER                                                                            $0.00                                   $84.00


           EJ6210 12" GRATE FOR
           CMP #6210-30 0                                                                   $0.00                                   $51.62


           EJ6204 6" CAST IRON
           GRATE, EAST JOR                                                                  $0.00                                   $39.68


           IND1032AMHERSTST
           1032 COVER AMHERST                                                               $0.00                                 $300.00


           AVCAP4 4" PERF ALUM
           VENT CAP                                                                         $0.00                                     $6.75


           AVCAP6 6" PERF ALUM
           VENT CAP                                                                         $0.00                                   $29.25


           SC4155 CLEANOUT
           FRAME & COVER 4155                                                               $0.00                                 $520.00


           BAU8 8" SMOOTH BELL
           END, HDPE PIPE                                                                   $0.00                                   $31.20


           BAU6 6" SOLID
           SMOOTH,BELL
           END,HDPE                                                                         $0.00                                   $22.54


           BAU6P 6"
           PERFORATED,BELL
           END, HDPE                                                                        $0.00                                   $64.40


           BAU12 12" SMOOTH
           SOLID, BELL END, H                                                               $0.00                                 $265.80


           BAU12P 12"
           PERFORATED HDPE
           PIPE, BE                                                                         $0.00                                   $44.30


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 376
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           BAU4 4" SOLID
           SMOOTH BELL END
           HDPE                                                                             $0.00                               $2,246.80


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $62.24


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $15.56


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $14.99


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $17.78


           000-00038420-069 1/2"
           CTS X IPS ADA                                                                    $0.00                                   $13.81


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                     $4.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $17.31


           000-00038423-069 1-1/4
           CTS X IPS AD                                                                     $0.00                                   $11.40


           226-00045007-000 SMITH
           BLAIR 4" X 7                                                                     $0.00                                   $54.05


           226-00045012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                   $84.75


           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                   $85.14


           226-00066312-000 6" X
           12-1/2" REPAI                                                                    $0.00                                   $96.66


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $455.88


           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $139.97




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 377
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           244-00010506-000 3/4" X
           6" 1.05 OD                                                                       $0.00                                   $39.47


           244-00013203-000 1" X
           3" (1.32)OD S                                                                    $0.00                                   $19.75


           261-00023812-000 SMITH
           BLAIR 2" X 1                                                                     $0.00                                   $76.68


           261-00048012-000 4" X
           12-1/2" REPAI                                                                    $0.00                                 $181.36


           261-00048015-000 4" x
           15" REPAIR CL                                                                    $0.00                                 $100.71


           261-00066312-000 6" x
           12-1/2" REPAI                                                                    $0.00                                 $109.45


           261-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $121.59


           261-00090520-000 8" x
           20" REPAIR CL                                                                    $0.00                                 $429.30


           261-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $397.52


           441-00000510-931 4"
           CAST COUPLING,                                                                   $0.00                                 $168.17


           665-06900600-200 6" X
           6" TAPPING SL                                                                    $0.00                                 $424.94


           665-06900400-000 6" X
           4" TAPPING SL                                                                    $0.00                                 $370.20


           226-00090512-001 8" X
           12-1/2" REPAI                                                                    $0.00                                 $469.06


           244-00008806-001 3/4" X
           6" REPAIR C                                                                      $0.00                                   $76.16


           244-00016606-001
           1-1/4"X6"(1.66)OD                                                                $0.00                                 $102.70


           244-00019006-001 1-1/2"
           X 6" LONG (                                                                      $0.00                                 $208.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 378
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           244-00023806-001 2" X
           6" REPAIR CLA                                                                    $0.00                                 $106.58


           261-00035012-000 3" X
           12" REPAIR CL                                                                    $0.00                                 $175.48


           261-00090510-000 8" X
           10" REPAIR CL                                                                    $0.00                                 $229.17


           665-17200400-000 SMITH
           BLAIR 16" X                                                                      $0.00                                 $711.50


           325-00069007-103
           6"X3/4"CC(6.63-6.9                                                               $0.00                                   $86.40


           264-048007-007 4" x 7" x
           3/4"cc (4.                                                                       $0.00                                 $181.27


           372-00090509-000 8" X
           1"CC SADDLE (                                                                    $0.00                                 $122.62


           315-00076012-000 : 6 X
           1-1/2 NPT SM                                                                     $0.00                                   $36.82


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                                 $185.03


           421-04460560-031 4"
           COUPLING, TOP B                                                                  $0.00                                 $247.48


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $41.76


           AHWEC HYDRANT
           WRENCH FOR ERIE
           COUNT                                                                            $0.00                                   $24.00


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                               $1,750.00


           LOW252F LOWELL
           DOUBLE HANDLE
           HYDRAN                                                                           $0.00                                 $369.00


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $55.00



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                Name

           RIGID85-100 RIGID PIPE
           1" EXTRACTOR                                                                     $0.00                                   $17.73


           TRU364-9980 RATCHET
           BOX WRENCH DOUB                                                                  $0.00                                   $30.00


           TRU364-9983 3/4" X 7/8"
           HYMAX DOUBL                                                                      $0.00                                   $92.00


           TRU364-9984 DOUBLE
           SHOT WRENCH WITH                                                                 $0.00                                   $92.00


           TRU367-4333 3 WAY
           PENTAGON HAND KEY                                                                $0.00                                   $12.50


           TRU367-4955
           TRUMBULL TOP
           WRENCH NUT                                                                       $0.00                                   $38.00


           TRU367-9182
           TRUMBULL JAW
           REPLACEMEN                                                                       $0.00                                   $63.00


           WHE979 7/8" HEAVY
           DUTY DEEP SOCKET                                                                 $0.00                                   $27.71


           WHE980 15/16" HEAVY
           DUTY DEEP SOCKE                                                                  $0.00                                 $107.55


           MUE507632 MUELLER
           ADAPTER, 3/4" COP                                                                $0.00                                   $41.60


           MUE507633 MUELLER
           ADAPTER, 1" COPPE                                                                $0.00                                   $41.60


           MUE33314-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $122.62


           MUE36998-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $161.55


           MUE37906 MUELLER
           ADAPTER NIPPLE, 2"                                                               $0.00                                 $248.46


           MUE500683 MUELLER
           CHAIN YOKE FOR B                                                                 $0.00                                 $325.94




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           MUE500709 MUELLER
           HOOK FOR B-101 DR                                                                $0.00                                   $45.17


           MUE88285 D-4 BORING
           BAR COMPLETE W/                                                                  $0.00                                 $196.16


           TP-R TEST PUMP
           (RENTAL UNIT)                                                                    $0.00                               $1,924.99


           MUE500692 BEARING
           FOR B-101 DRILLIN                                                                $0.00                                   $54.16


           VALVEKEY8 8' VALVE
           KEY                                                                              $0.00                                   $53.19


           TELEKEY610 6'-10'
           ADJUSTABLE VALVE                                                                 $0.00                                   $93.75


           VALVEKEY6 6' VALVE
           KEY                                                                              $0.00                                   $50.18


           H10321-8 MUELLER 8'
           SHUT OFF ROD BU                                                                  $0.00                                   $71.09


           367-5025 6' SHUT OFF
           ROD BUFFALO TR                                                                   $0.00                                   $22.51


           BLADECONCDIA14 14 X
           20MM/1" DIAMOND                                                                  $0.00                                 $121.50


           BLADEASPDIA14 US
           SAWS 14" X 20MM/1"                                                               $0.00                                 $150.00


           BLADEAPBDIA14 14" x
           20MM/1" TIGER T                                                                  $0.00                                 $172.00


           DXX14125 14" X 1"
           20MM ALL PURPOSE                                                                 $0.00                                 $117.00


           P47172984 OPERATING
           WRENCH 172984-1                                                                  $0.00                                   $31.46


           VBSCTTS27 SCREW
           TYPE 27" VALVE BOX                                                               $0.00                                 $362.60


           VBEXT14 14" SCREW
           EXTENSION                                                                        $0.00                                 $120.90



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           VBSCT2 2 PIECE
           SCREW TYPE VALVE
           BOX                                                                              $0.00                                 $364.00


           VBSCT3BS36 5-1/4 X 36
           SCT 3PC VALVE                                                                    $0.00                                 $815.76


           VB6B #6 BASE FOR 3PC
           VALVE BOX CUL5                                                                   $0.00                                 $727.65


           VBCAPL VALVE BOX
           CAP MARKED OPEN LE                                                               $0.00                                 $154.24


           VBSCTTS17 5-1/4 X 17
           SCT VB TOP SEC                                                                   $0.00                                 $540.96


           BRASS COTTER PINS
           FOR CURB BOX RODS                                                                $0.00                                   $53.95


           CBROD30 30" CURB
           BOX ROD WITH "S" T                                                               $0.00                                     $9.05


           CBROD33 33" CURB
           BOX ROD 9/16" MUE0                                                               $0.00                                     $9.51


           TRU367-4282 2-1/2"
           OUTSIDE REPAIR L                                                                 $0.00                                   $51.46


           TRU367-4283 3"
           OUTSIDE REPAIR LID                                                               $0.00                                 $415.00


           BF10DI 10" BLIND
           FLANGE, DUCTILE IR                                                               $0.00                                 $118.11


           BF4DI 4" BLIND
           FLANGE,DUCTILE IRON                                                              $0.00                                   $30.69


           BFT4X2DI 4" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $90.21


           BFT6X2CI 6" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $60.92


           BFT8X2CI 8" X 2" CAST
           IRON TAPPED B                                                                    $0.00                                   $93.00


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $468.72


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 382
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                Name



           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $414.78


           FL908DI 8" FLANGED 90
           DEGREE BEND D                                                                    $0.00                               $1,021.14


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $366.89


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $254.36


           FLCONR1812 18" X 12"
           FL CONCENTRIC                                                                    $0.00                               $1,452.20


           WSOF4 4" Carbon Steel
           Weld Slipon F                                                                    $0.00                                   $10.86


           FLFL103 10" X 3'0"
           FLANGE X FLANGE                                                                  $0.00                                 $326.40


           FLFL32 3" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $156.00


           FLFL41-6 4" X 1'6"
           FLANGE X FLANGE                                                                  $0.00                                 $107.60


           FLFL81 8" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $182.00


           FLFL82 8" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $217.20


           FLPE108 10" X 8'
           FLANGE X PLAIN END                                                               $0.00                                 $460.40


           FLPE124 12" X 4'
           FLANGE X PLAIN END                                                               $0.00                                 $356.00


           FLPE48 4" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $610.80


           FLPE610 6" X 10'
           FLANGE X PLAIN END                                                               $0.00                                 $302.80




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 383
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           FLPE62 6" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                   $98.00


           FLPE64 6" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $149.20


           FLPE68 6" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $754.80


           FLPE81 8" X 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $105.20


           FLPE82 8" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $280.80


           FLPE84 8" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $210.80


           FLPE88 8" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $703.20


           FLFL8-11 8" X 0'11" FL X
           FL DIP                                                                           $0.00                                 $182.00


           FLFL31-6 3" X 1'6"
           FLANGE X FLANGE                                                                  $0.00                                 $133.60


           FLFL21-1175 2" X
           1'11-3/4" FL X FL                                                                $0.00                                   $83.69


           PECTS.75X100BLUE
           3/4" X 100' BLUE C                                                               $0.00                                   $57.30


           PECTS1X300BLUE 1" X
           300' BLUE CTS 2                                                                  $0.00                                   $94.20


           PECTS2X300BLUE 2" X
           300' BLUE CTS 2                                                                  $0.00                                 $315.00


           FLO-110-15
           FLOCONTROL 1-1/2"
           PVC CO                                                                           $0.00                                     $5.04


           CT075K100 3/4" X 100' K
           COPPER TUBI                                                                      $0.00                                 $272.50


           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                                 $850.08


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           CT150K60 1-1/2" X 60' K
           COPPER TUBI                                                                      $0.00                                 $666.24


           CT200K60 2" X 60' K
           COPPER COIL                                                                      $0.00                                 $537.18


           METGSKT1.5 1-1/2
           OVAL METER GASKET                                                                $0.00                                     $6.00


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $0.70


           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                     $6.40


           TW12B500 #12 TRACER
           WIRE 500' COIL                                                                   $0.00                                 $255.00


           NEPROVAL2 2"
           RUBBER OVAL DROP-IN
           ME                                                                               $0.00                                     $4.80


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $10.96


           MFP150NL 1-1/2"
           BRONZE OVAL METER
           F                                                                                $0.00                                   $48.16


           SENSUS 39A WALL
           MOUNT TOUCHPAD                                                                   $0.00                                   $15.27


           VB49718 18" 145R
           EXTENSION V4970, B                                                               $0.00                                 $254.12


           B505029 5-1/4" X 29"
           SCREW EXTENSIO                                                                   $0.00                                 $483.41


           VB81326 7 X 26 SCREW
           TYPE VALVE BOX                                                                   $0.00                                 $727.08


           B7180 BIBBY 7" X 2"
           RISER ONLY V981                                                                  $0.00                                 $230.31


           B705014 BIBBY 7" X 14"
           SCREW EXTENS                                                                     $0.00                               $1,415.27


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           B6002 #6 VALVE BOX
           BASE 7341T, BIBB                                                                 $0.00                                 $186.34


           VB61336 5-1/4" X 36"
           SCREW TYPE 2PC                                                                   $0.00                                 $136.33


           B7160 7" VALVE BOX
           COVER V9900, BIB                                                                 $0.00                                 $256.23


           RB51919 4-1/4" X 19"
           SCREW TYPE VAL                                                                   $0.00                                   $37.25


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                   $57.16


           B5160L 5-1/4" COVER
           (WATER) OPEN LE                                                                  $0.00                                 $323.54


           B505026 5-1/4" X 26"
           SCREW EXTENSIO                                                                   $0.00                                 $353.39


           B4160 4-1/4" COVER
           MARKED 'WATER' V                                                                 $0.00                                 $318.86


           B505014 5-1/4" X 14"
           SCREW EXTENSIO                                                                   $0.00                                   $57.31


           B505020 BIBBY 5-1/4 " X
           20" SCREW E                                                                      $0.00                                 $100.22


           B6005 BIBBY #160
           VALVE BOX BASE V87                                                               $0.00                                 $507.80


           VB60117 5-1/4" X 17"
           SCREW TYPE TOP                                                                   $0.00                                 $401.21


           RB64444 BIBBY 4-1/4" X
           44" SCREW TY                                                                     $0.00                               $1,335.39


           VB80226 7" X 26" 3PC
           SCREW TYPE VAL                                                                   $0.00                                 $837.17


           V852 12" ADJUSTABLE
           SCREW RISER, BI                                                                  $0.00                                   $33.22


           BIBBY B-5190 / S881 5
           1/4" LOCK TYP                                                                    $0.00                                   $20.05


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           B2231 2-1/2" BIBBY
           CENTER RINGS V33                                                                 $0.00                                     $4.96


           SB24040 40" 2-1/2"
           CURB BOX BOTTOM                                                                  $0.00                               $3,559.68


           B2050152 2.5" X 16"
           SCREW EXTENSION                                                                  $0.00                                 $170.31


           V390 3" X 20" BIBBY
           SCREW TYPE CURB                                                                  $0.00                                 $227.84


           B2050151 2-1/2" X 9"
           SCREW EXTENSIO                                                                   $0.00                                 $231.95


           V397 - 3" X 40" CURB
           BOX BOTTOM SEC                                                                   $0.00                                 $873.24


           S172 2-1/2" TOP
           SECTION 30" LONG S1                                                              $0.00                               $1,977.60


           V242 SEWER LID FOR
           BIBBY 2 1/2" CUR                                                                 $0.00                                   $21.08


           SIGMA 94E CURB BOX
           SCREW-TYPE                                                                       $0.00                                 $576.00


           GF49000 CENTERING
           RING FOR 2 1/2" C                                                                $0.00                                   $30.00


           V389 3" x 9" SERVICE
           BOX EXTENSION,                                                                   $0.00                                   $70.24


           BTA8029 ELSTER
           TAMPER RESISTANT
           PLU                                                                              $0.00                                     $5.70


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $90.08


           2008CI 8" SIZE NAP200
           UNIFLANGE CAS                                                                    $0.00                                   $41.69


           4002S 2"ST SIZE
           NAP400 UNIFLANGE                                                                 $0.00                                   $20.00


           CIC6 6" CM CAP                                                                   $0.00                                 $122.51


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           DMAP612 6" X 12" DM
           ANCHOR PIPE                                                                      $0.00                                   $79.80


           DMAP618 6" X 18" DM
           ANCHOR PIPE                                                                      $0.00                                 $123.57


           DMAP624 6" X 24" DM
           ANCHOR PIPE                                                                      $0.00                               $1,635.72


           DMB1112 12" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $106.26


           DMB1116 16" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $257.54


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $77.42


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $105.07


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $226.73


           DMB223 3" MJ C153
           22-1/2 DEGREE BEN                                                                $0.00                                   $47.40


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $72.29


           DMB224P 4" 22-1/2
           DEGREE BEND, MJ X                                                                $0.00                                   $54.51


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $75.05


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $174.20


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $173.01


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                   $50.56


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $162.74


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           DMB456PE 6" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                   $45.03


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                 $296.25


           DMB904 4" MJ 90
           DEGREE BEND, C153 D                                                              $0.00                                   $92.43


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $200.66


           DMB908 8" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                   $73.08


           DMB908P 8" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $173.01


           DMC10 10"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $83.74


           DMC12 12"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                 $125.61


           DMC4 4" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $33.18


           DMC6 6" CAP, MJ, C153
           DUCTILE IRON                                                                     $0.00                                   $39.50


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $33.18


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                   $83.74


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $105.07


           DMHT88 8" X 8" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $159.19


           DMP12 12" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                   $68.73




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           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $16.20


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $105.86


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $39.90


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $30.02


           DMR86 8" X 6"
           REDUCER, MJ, C153
           DUC                                                                              $0.00                                   $42.27


           DMR86LEB 8" X 6" MJ
           C153 LARGE END                                                                   $0.00                                   $41.87


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $176.96


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $596.45


           DMS30LP 30" MJ C153
           SLEEVE, LONG PA                                                                  $0.00                                 $973.68


           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                   $47.40


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $107.44


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $180.12


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                 $519.82


           DMT104 10" X 4" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $120.48



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           DMT106 10" X 6"
           TEE,MJ,C153 DUCTILE                                                              $0.00                                 $233.05


           DMT108 10" X 8" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $272.55


           DMT126 12" X 6"
           TEE,MJ,C153,DUCTILE                                                              $0.00                                 $294.67


           DMT44 4" X 4" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $40.29


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $145.36


           DMT84 8" X 4" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $78.21


           DMT86 8" X 6" MJ TEE,
           C153 DUCTILE                                                                     $0.00                                 $271.37


           DMT88 8" X 8" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $327.06


           DMTC102 10" X 2"
           TAPPED CAP, MJ, C1                                                               $0.00                                   $54.12


           DMTC122 12" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                   $75.05


           DMTC42 4" X 2" MJ
           TAPPED CAP, C153                                                                 $0.00                                   $23.70


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                   $97.17


           DMTC82 8" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $45.03


           DMTC83 8" X 3"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                 $175.38


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $56.09


           DMTP42 4" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $25.68


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           DMTP62 6" X 2" TAPPED
           PLUG,MJ,C153                                                                     $0.00                                   $38.71


           DMTT102 10" X 2" MJ
           C153 TAPPED TEE                                                                  $0.00                                 $218.44


           GL12 6" X 12" GRADE
           LOCK                                                                             $0.00                                 $181.70


           DMR63SEB 6 X 3" SEB
           MJ REDUCER                                                                       $0.00                                   $82.95


           DMFB1118 18" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $900.71


           DMFB116 6" MJ FULL
           BODY C110 11-1/4                                                                 $0.00                                 $134.85


           DMFB2210 10" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $584.97


           DMFB456 6" MJ FULL
           BODY C110 45 DEG                                                                 $0.00                                 $112.07


           PVC40610 6" PVC
           SCH40 10' LENGTHS P                                                              $0.00                                 $179.40


           PVC404BESW 4" PVC
           SCH40, BELL END,                                                                 $0.00                                 $311.40


           PVC404P 4" PERF SCH
           40 PVC BELL END                                                                  $0.00                                 $207.60


           PVC403B 3" PVC SCH40
           BELLED END 20'                                                                   $0.00                                 $204.80


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $1.64


           409-010 1" PVC SCH 40
           STREET 90                                                                        $0.00                                     $0.82


           417-010 SPEARS 1" PVC
           SCH40 45 BEND                                                                    $0.00                                     $0.42


           417-020 2" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $3.85


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           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $1.61


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $3.21


           435-025 2 1/2" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $2.73


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $2.41


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $2.64


           438-131 1" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $4.04


           439-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                   $12.16


           439-211 1-1/2" X 1"
           SCH40 BUSHING M                                                                  $0.00                                   $10.13


           447-007 3/4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $0.72


           449-030 SPEARS 3" PVC
           SCH40 PLUG (S                                                                    $0.00                                     $2.01


           450-025 2 1/2" PVC40
           THD PLUG                                                                         $0.00                                     $2.63


           PVC802 2" PVC SCH80
           PIPE                                                                             $0.00                                   $33.80


           801-060 6" PVC SCH80
           TEE                                                                              $0.00                                   $38.01


           816-060 6" SCH80 22-1/2
           DEGREE BEND                                                                      $0.00                                   $31.95


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                     $5.46


           836-040 4" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $12.25


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           839-338 3" MIP X 2"FIP
           SCH80 BUSHIN                                                                     $0.00                                     $3.60


           854-040 4" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $21.92


           838-335 3" SP X 1" FIPT
           PVC SCH80 F                                                                      $0.00                                     $2.37


           851-025 2 1/2" SCH 80
           PVC FLANGE SO                                                                    $0.00                                   $15.70


           TC10150STE 1 1/2"
           TRUE UNION BALL C                                                                $0.00                                   $26.80


           DR1810 10" DR18 C900
           DI OD PVC GASK                                                                   $0.00                                 $781.60


           DR1812 12" DR18 C-900
           DI OD PVC GAS                                                                    $0.00                               $1,103.20


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $152.08


           DR186 6" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $300.80


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $1,695.20


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $83.40


           SDR21250 2-1/2" SDR 21
           IPS OD PVC G                                                                     $0.00                                   $36.30


           SDR21MIPA150 1-1/2"
           SDR21 IPS OD PV                                                                  $0.00                                   $34.79


           SDR21T3X150 3" X
           1-1/2" SDR 21 IPS                                                                $0.00                                   $56.43


           DR176IPSNS 6" DR17
           IPS OD HDPE PIPE                                                                 $0.00                                 $566.00


           DR174IPSNS 4" DR17
           IPS OD 100 PSI P                                                                 $0.00                                 $660.80


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           DR11458IPS 8" DR11 45
           DEGREE BEND I                                                                    $0.00                                 $247.50


           DR11MJA6DIPSK 6"
           DR11 DIPS OD HDPE                                                                $0.00                                   $87.44


           ELECTROCPLG10DIPS
           10" DIPS ELECTROF                                                                $0.00                                 $772.92


           WT408-OSY-RW-400L 4"
           FLANGED OSY RW                                                                   $0.00                                 $290.96


           WTFBV-3C-075NL 3/4"
           FULL PORT 1/4 T                                                                  $0.00                                   $10.04


           CL52TY3 3" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $520.02


           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                                 $593.64


           CL54TY6 6" CL54
           TYTON DUCTILE IRON                                                               $0.00                               $1,421.42


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $5,423.60


           CL52TY6 6" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $4,209.38


           CL52TY8 8" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $1,270.80


           CL53TY6 6" CL53
           TYTON DUCTILE IRON                                                               $0.00                               $2,222.40


           CL52MJ4 4" CL52 MJ
           DUCTILE IRON PIP                                                                 $0.00                               $3,085.66


           CL52MJ10 10" CLASS
           52 MJ PIPE                                                                       $0.00                               $1,945.98


           MUE142764 5 1/4"
           BRONZE SEAT RING A                                                               $0.00                                 $206.84




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           MUE142893 A-44
           BOTTOM SEAT O-RING
           F                                                                                $0.00                                   $11.71


           MUE195033 MUELLER
           A-39 TOP SEAT "O"                                                                $0.00                                     $1.62


           MUEA285 5-1/4"
           CENTURION HYDRANT
           A2                                                                               $0.00                                 $187.70


           MUEA301-00 5-1/4
           SAFETY KIT THREADE                                                               $0.00                                 $139.64


           MUE148725 5.25"
           SAFETY FLANGE
           GASKE                                                                            $0.00                                   $12.53


           MUE190348 BONNET
           ORING FOR 4-1/2 &                                                                $0.00                                     $7.15


           MUE142847 MUELLER
           NOZZEL O-RING,FOR                                                                $0.00                                     $0.86


           MUE190349 5-1/4"
           SAFETY FLANGE O-RI                                                               $0.00                                   $10.06


           HRPIA320-016 5-1/4" X
           18" HYDRANT E                                                                    $0.00                                 $258.42


           A2361778L 8" MUELLER
           RW GATE VALVE                                                                    $0.00                               $3,220.97


           MUE285967 MUELLER
           HANDWHEEL OPEN LE                                                                $0.00                                 $273.50


           MUE285969 MUELLER
           HAND WHEEL OPEN L                                                                $0.00                                 $553.23


           MUE285965
           HANDWHEEL FOR
           2-1/2" OR 3                                                                      $0.00                                   $34.66


           T-236016-8L 8" RW
           TAPPING VALVE, OP                                                                $0.00                               $1,172.83


           PRATT TORQUE
           GUARDS                                                                           $0.00                               $1,161.60



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           CLO264047 STEM
           COUPLING PIN FOR F26                                                             $0.00                                     $2.95


           T0600014 CLO2640185
           HOSE CAP WASHER                                                                  $0.00                                     $4.72


           T0400748 M-25
           MEDALLION WEATHER
           CAP                                                                              $0.00                                     $0.39


           M26 WEATHER CAP
           M0800613 1-3/8" SQU                                                              $0.00                                   $13.11


           T-040-0918 Clow Drain
           Valve Facing                                                                     $0.00                                     $0.71


           T1600804 5 1/4 M-16
           MEDALLION DRAIN                                                                  $0.00                                     $6.82


           HRPI2545EXT510
           HYDRANT EXTENSION
           1'                                                                               $0.00                                 $332.10


           HRPI2545EXT516
           HYDRANT EXTENSION,
           1                                                                                $0.00                                 $281.48


           METER JACKET                                                                     $0.00                                     $0.00


           BR2B0474IP200 4" X 2"
           IPT DOUBLE ST                                                                    $0.00                                   $97.13


           BR2B0474CC075 4" X
           3/4" SADDLE, DOU                                                                 $0.00                                   $76.48


           BR2B0474CC200
           MUELLER 4 X 2CC
           DOUBL                                                                            $0.00                                   $97.13


           BR2B0684CC075 6 X 3/4
           BRONZE DOUBLE                                                                    $0.00                                   $90.06


           BR2B0684CC150 6" X
           1-1/2CC DOUBLE S                                                                 $0.00                                 $102.97


           BR2B1104CC075
           MUELLER 10" X 3/4" BR                                                            $0.00                                 $276.28




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           BR2B1104CC150 10"X
           1-1/2CC MUELLER                                                                  $0.00                                 $151.69


           BR2B1104CC200 10" X
           2"CC SADDLE, DO                                                                  $0.00                                 $325.95


           BR2B1314CC075 12 X
           3/4 DOUBLE STRAP                                                                 $0.00                                 $808.48


           BR2B1314CC200 12 X
           2CC BRONZE SADDL                                                                 $0.00                                 $185.71


           B25008N-075 3/4" BALL
           CORPORATION C                                                                    $0.00                                   $78.83


           H15053-075 3/4"
           COPPER GASKET,
           FLAR                                                                             $0.00                                     $4.51


           H15053-100 1" COPPER
           FLARE GASKET.                                                                    $0.00                                     $8.35


           H15053-150 1 1/2
           MUELLER COPPER GAS                                                               $0.00                                   $31.68


           H15053-200 2" COPPER
           GASKET FLARE,                                                                    $0.00                                     $8.48


           MUE581949 3/4" 110
           COMPRESSION GASK                                                                 $0.00                                     $8.62


           B25000N-150 1-1/2" 300
           BALL CORPORA                                                                     $0.00                                 $234.02


           H15451N-075X100
           MUELLER 3/4" X 1" L                                                              $0.00                                   $61.90


           B25000N-100 1" BALL
           CORP CC X FLARE                                                                  $0.00                                 $196.34


           B25000N-200 2" BALL
           CORP CC X FLARE                                                                  $0.00                                 $204.39


           B25204N-075 3/4"
           FLARED BALL CURB M                                                               $0.00                               $1,413.28




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           B25204N-100 1"
           STRAIGHT BALL CURB
           V                                                                                $0.00                                 $234.29


           B25204N-150 MUELLER
           1-1/2" LOW LEAD                                                                  $0.00                                 $381.98


           H15450N-075 MUELLER
           3/4" LOW LEAD F                                                                  $0.00                                 $209.02


           H15450N-100 1" FLARE
           X FIP ADAPTER                                                                    $0.00                                   $33.55


           H15430-150 1 1/2
           MUELLER COPPER FLA                                                               $0.00                                 $128.31


           H15430-100 1"
           MUELLER COPPER
           FLARE                                                                            $0.00                                   $61.50


           H13431-100 6" X 1"CC
           THREAD MUELLER                                                                   $0.00                                   $42.42


           B22-444 1" FLARE
           CURB STOP, FORD                                                                  $0.00                                 $162.04


           C45-31NL FORD 3/4" X
           1/2" LOW LEAD                                                                    $0.00                                   $92.88


           MCD142G MCDONALD
           GASKET FOR METER                                                                 $0.00                                     $8.13


           MCD3825-8x2CC 8" x
           2CC SADDLE DOUBL                                                                 $0.00                                 $148.74


           MCD72025 1" FLARE X
           1" FNPT ANGLE M                                                                  $0.00                                 $154.25


           MCD74620 5/8" METER
           X 3/4" MIP TAIL                                                                  $0.00                                 $295.75


           MCD74701B-100 1"
           CORP STOP, BALL-AW                                                               $0.00                                 $488.16


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                                   $49.01




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           MCD74758Q-075 3/4"
           3PC UNION TUBE C                                                                 $0.00                                 $147.96


           MCD76100Q-075 3/4"
           COMPRESSION CURB                                                                 $0.00                                 $536.82


           MCD76100Q-100 1"
           76100Q CURB STOP B                                                               $0.00                                 $201.72


           MCD76101 2" BALL
           STYLE CURB STOP FN                                                               $0.00                                 $242.67


           H15071N-075 3/4"
           ADAPTER CST X COMP                                                               $0.00                                   $12.95


           H15071N-150 MUELLER
           1-1/2" LOW LEAD                                                                  $0.00                                   $51.68


           H15425N-100 1" FLARE
           X MIP ADAPTER,                                                                   $0.00                                   $14.43


           H15425N-125 1 1/4
           MUELLER NO LEAD F                                                                $0.00                                   $58.09


           H15425N-075 3/4"
           FLARE X MIP ADAPTE                                                               $0.00                                 $232.19


           H15400N-075 3/4"
           FLARE UNION MUELLE                                                               $0.00                                   $12.77


           H15400N-100 1" FLARE
           UNION, MUELLER                                                                   $0.00                                   $67.05


           H15068N-200 MUELLER
           2" LOW LEAD 1/4                                                                  $0.00                                 $286.10


           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                   $55.42


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $333.84


           202NL-H4H4 1" CB
           COMP X CB COMP BRA                                                               $0.00                                 $176.24


           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                 $168.80



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           301NL-A7H7 2" BALL
           CORP,CC X CB COM                                                                 $0.00                                 $530.37


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                     $9.04


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                   $51.79


           119NL-H6H6 1-1/2"
           COUPLING,CB COMP                                                                 $0.00                                 $123.61


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                 $226.07


           117NL-H6F6 1-1/2"
           COMP X FIP ADAPT                                                                 $0.00                                 $110.07


           117NL-H7F7 2" FIP X
           COMP ADAPTER LO                                                                  $0.00                                   $55.53


           117NL-H4M4 1"
           COMPRESSION X 1" MIP                                                             $0.00                                   $26.62


           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                   $44.96


           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                 $217.53


           CLOPIVPLATE8 8"
           POST IND PLATE P/N                                                               $0.00                                 $158.12


           202B-962-CC3 8" X
           3/4CC BRONZE SADD                                                                $0.00                               $1,011.70


           202B-962-CC7 8" X 2"CC
           BRONZE SADDL                                                                     $0.00                                 $254.16


           WATEROUS SEAT
           REMOVAL TOOL, 2
           PIECE                                                                            $0.00                               $1,008.61


           WAT64 WATEROUS
           FLANGE LOCK RING                                                                 $0.00                                   $14.76


           TSSF1356060012 12" X
           6" TRIPLE TAP                                                                    $0.00                                 $985.44


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 401
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           HANDWHEEL MISC.
           HANDWHEELS                                                                       $0.00                                 $169.75


           200W13W 6" RW NRS
           FLANGE GATE VALVE                                                                $0.00                                 $267.64


           200M13W6L 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $267.64


           C-1000NL 3/4 X 4' BURY
           YARD HYDRANT                                                                     $0.00                                   $48.10


           KEN445904P 5-1/4"
           MAIN VALVE RUBBER                                                                $0.00                                 $105.61


           KEN440415B K-8119
           STANDPIPE BREAK.                                                                 $0.00                                 $102.66


           K-8117R KENNEDY
           COTTER PIN FOR UPPE                                                              $0.00                                     $9.44


           K8122R CLEVIS PIN
           FOR K81 HYDRANT 5                                                                $0.00                                   $10.62


           K8146 ALLEN HEAD
           SET SCREW 444438P                                                                $0.00                                     $2.95


           Kennedy Stem O-Ring
           PART# 442644P                                                                    $0.00                                     $7.08


           K8145-H 2-1/2" HOSE
           NOZZLE O-RING F                                                                  $0.00                                     $2.95


           HRPIK81HYDEXT6 6"
           5-1/4 HYDRANT EXT                                                                $0.00                                 $186.91


           KV857112L 12" OPEN
           LEFT MJ RW VALVE                                                                 $0.00                               $5,198.55


           KV89508R 8" OPEN
           RIGHT,RW TAP VALVE                                                               $0.00                               $1,124.55


           KEN442761P COVER
           O-RING 6" RW C-509                                                               $0.00                                   $19.58


           KV89508L 8" OPEN
           LEFT RW TAP VALVE                                                                $0.00                               $1,124.55


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           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $9.96


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $8.94


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $24.50


           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                   $12.48


           FLGGSKT8FF14 14" X
           1/8" FULL FACED,                                                                 $0.00                                     $6.80


           FLGGSKT8R8 8" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $3.56


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $5.00


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $0.14


           FLTWSH078 7/8" USS
           FLAT WASHER                                                                      $0.00                                     $0.45


           HXBLT058250 5/8" X
           2-1/2" HEX BOLT,                                                                 $0.00                                     $0.54


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $2.52


           HXBLT058400 5/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                     $0.81


           HXBLT075200 3/4" X 2"
           HEX BOLT, GRA                                                                    $0.00                                     $1.29


           HXBLT075300 3/4" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $2.17


           HXBLT075350 3/4" X
           3-1/2" HEX BOLT,                                                                 $0.00                                     $8.50


           HXBLT075400 3/4" X 4"
           HEX BOLT, GRA                                                                    $0.00                                   $14.40


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           HXBLT100450 1" X
           4-1/2" HEX BOLT, G                                                               $0.00                                   $16.20


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $0.51


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $3.25


           HXNUT100 1" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $6.60


           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                     $4.65


           HXBLT058300SS 5/8" X
           3" STAINLESS S                                                                   $0.00                                   $22.05


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                     $2.33


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $11.16


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $14.88


           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $10.23


           MJGSKT16 16" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJGSKT20 20" MJ
           GASKET                                                                           $0.00                                   $32.09


           MJGSKT36 36" MJ
           GASKET                                                                           $0.00                                   $36.27


           MJSDRTG4 4" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $61.80


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $15.45


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                     $9.27


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           MJGLD3 3" MJ GLAND                                                               $0.00                                   $27.90


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $18.14


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                   $34.88


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $164.40


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                     $6.75


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                 $132.44


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                   $40.29


           TBLTF075400 3/4" X 4"
           T-BOLT AND NU                                                                    $0.00                                     $3.20


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $336.97


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                     $6.85


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                    $-7.35


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                   $17.30


           MGP16 16" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $36.00


           MGP4F 4" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                   $20.94


           MGP8F 8" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                   $10.96


           MGP10F 10" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $182.16


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           MGP12F 12" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                 $158.90


           MGP6SS 6" MJ GASKET
           AND STAINLESS S                                                                  $0.00                                   $27.00


           MGP10SS 10" MJ
           GASKET WITH
           STAINLES                                                                         $0.00                                 $252.70


           MGP8SS 8" MJ GASKET
           WITH STAINLESS                                                                   $0.00                                   $28.30


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $85.60


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $165.24


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                   $24.88


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $14.46


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $79.80


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $313.02


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $586.30


           FLG14 14" FIELD LOCK
           GASKETS FOR TY                                                                   $0.00                               $1,028.00


           FLG3 3" FIELD-LOK
           GASKET                                                                           $0.00                                 $115.51


           MCSSG10 McWANE 10"
           SURE STOP GASKET                                                                 $0.00                                 $227.48


           22869 Vassallo 8"
           Adapter Gasketed                                                                 $0.00                                   $44.96




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           H-15524-075 3/4" RED
           FIBER GSKT XXS                                                                   $0.00                                     $3.07


           MCD14-2HG HARD
           FIBER GASKET FOR
           MCD                                                                              $0.00                                     $6.76


           HXBLT058350SS 5/8 X 3
           1/2" STAINLES                                                                    $0.00                                   $66.60


           HXBLT075400G 3/4" X
           4" GALVANIZED                                                                    $0.00                                   $82.50


           EBA1106SD 6" SPLIT
           MEGALUG SERIES 1                                                                 $0.00                                   $49.66


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $58.74


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $252.99


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $214.65


           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                                 $258.65


           MJRGLD3 3" MJ
           RETAINER GLAND                                                                   $0.00                                   $10.82


           SGD10 10" STARGRIP
           MJ RESTRAINT FOR                                                                 $0.00                                 $468.98


           SLC12 12" ONE-LOK
           RESTRAINT FOR PVC                                                                $0.00                                   $64.61


           SLC8 8" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                   $97.40


           SLD12 12" RESTRAINT
           FOR DUCTILE IRO                                                                  $0.00                                 $626.40


           SLD24 24" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $507.65


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $70.18


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           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $105.48


           SLDP12 12" ONE-LOK
           ACCESSORY KIT FO                                                                 $0.00                                 $522.88


           MACROHP-7.60 6"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $416.42


           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $14.58


           EZD12 12" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $236.66


           DUCLUGS DUC LUGS                                                                 $0.00                                 $116.40


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $12.00


           RODCPLG050 1/2" ROD
           COUPLING                                                                         $0.00                                     $0.29


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                     $8.59


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $40.80


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $32.70


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $98.65


           WMC10 10"
           WATERMAIN CLAMPS
           450B-008                                                                         $0.00                                   $20.80


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $18.00


           BHA369 2-1/2" FNST X
           2" MIP ADAPTER                                                                   $0.00                                  $-10.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 408
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HPHA50-45NH STORZ
           ADAPTER WITH CAP                                                                 $0.00                                 $115.00


           CC8 BATCH ROLL 0.31"
           CONCRETE CLOTH                                                                   $0.00                                 $774.36


           WB67 SEAT REMOVAL
           TOOL                                                                             $0.00                                 $226.80


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                     $5.50


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $10.89


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $59.40


           FAP12FF 12" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $99.80


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                     $4.50


           FAP6FFSS 6" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $49.90


           FAP4FFSS 4" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $144.00


           FAP12FFSS 12"
           FLANGE ACCESSORY
           PACK                                                                             $0.00                                   $57.20


           FAP4FFZINC 4" FLANGE
           ACCESSORY PACK                                                                   $0.00                                   $16.80


           GALVSCH80-400 4" SCH
           80 GALVANIZED                                                                    $0.00                                 $246.75


           GALVT-075 3/4"
           GALVANIZED TEE                                                                   $0.00                                     $6.67


           BRNIP-050XCLS 1/2" X
           CLS BRASS NIPP                                                                   $0.00                                     $4.96


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $13.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 409
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRNIP-100XCLS 1" X
           CLS BRASS NIPPLE                                                                 $0.00                                     $3.81


           BRNIP-125XCLS 1-1/4" X
           CLOSE BRASS                                                                      $0.00                                     $3.18


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                   $21.66


           BRNIP-150XCLS 1-1/2" X
           CLS BRASS NI                                                                     $0.00                                     $8.27


           BRNIP-200X1200 2" X
           12" BRASS NIPPL                                                                  $0.00                                   $27.02


           BRNIP-200X400 2" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $9.29


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $11.55


           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                     $6.30


           4X4NIP 4" X 4" NIPPLE                                                            $0.00                                     $8.00


           BR90-150 1 1/2" BRASS
           90 BEND THREA                                                                    $0.00                                   $15.21


           BR90-200 2" BRASS 90
           BEND THREADED                                                                    $0.00                                   $46.42


           BRBSH-100X050 1" X
           1/2" BRASS BUSHI                                                                 $0.00                                   $10.05


           BRBSH-125X075 1-1/4"
           X 3/4" BRASS B                                                                   $0.00                                     $6.85


           BRBSH-150X075 1 1/2" X
           3/4" BRASS B                                                                     $0.00                                     $5.35


           BRCAP-150 1 1/2"
           BRASS CAP THREADED                                                               $0.00                                   $36.09


           BRCPLG-100X075 1" X
           3/4" BRASS COUP                                                                  $0.00                                     $4.02



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 410
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           BRCPLG-150 1 1/2"
           BRASS COUPLING TH                                                                $0.00                                     $6.48


           BRPLG-075 3/4" BRASS
           PLUG THREADED                                                                    $0.00                                     $7.26


           BRT-050 1/2" BRASS
           TEE THREADED B74                                                                 $0.00                                     $2.12


           BRUNION-250 2 1/2"
           BRASS UNION THRE                                                                 $0.00                                   $89.89


           BRUNION-075 3/4"
           BRASS UNION THREAE                                                               $0.00                                     $6.48


           P15526-150 1 1/2"
           BRASS 90 BEND PAC                                                                $0.00                                 $210.92


           BRCAP-200DNL 2"
           DOMESTIC LOW LEAD                                                                $0.00                                   $23.77


           BR90-075SNL 3/4"
           STREET 90 BEND THR                                                               $0.00                                   $29.06


           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                     $4.30


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                     $8.78


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $26.35


           BRBSH-200X150NL 2" X
           1-1/2" REDUCER                                                                   $0.00                                     $8.32


           BRCAP-075NL 3/4" CAP
           THREADED B7418                                                                   $0.00                                     $4.12


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                     $3.22


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                   $17.17




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 411
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BRCPLG-200NL 2"
           COUPLING, THREADED                                                               $0.00                                   $12.00


           BRPLG-100NL 1" PLUG
           THREADED, LOW L                                                                  $0.00                                   $14.75


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                   $18.66


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $12.20


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                   $23.54


           BR45-200NL 2" 45
           BEND, THREADED 24                                                                $0.00                                   $34.98


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                     $9.84


           BRT150X100NL 1-1/2" X
           1" TEE THREAD                                                                    $0.00                                   $16.64


           EB-45UNL 3/4"
           PRESSURE REDUCING
           VAL                                                                              $0.00                                 $455.60


           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                   $16.05


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $16.95


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $37.00


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                     $3.06


           DGT2 2" X 1000'
           DETECTABLE GAS
           TAPE                                                                             $0.00                                   $14.12


           DSTORMT6 6" X 1000'
           DETECTABLE STOR                                                                  $0.00                                 $103.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 412
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           LS315C STANDARD
           LINK SEAL                                                                        $0.00                                   $26.52


           LS340C STANDARD
           LINK SEAL                                                                        $0.00                               $1,807.26


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                   $24.00


           AMEXDNS C131
           AMERICAN EXCELSIOR
           PRE                                                                              $0.00                                   $87.40


           WINFAB450-12 12.6' X
           360' 4.5OZ WIN                                                                   $0.00                                 $225.00


           GLOVES WORK
           GLOVES P/N 120T                                                                  $0.00                                   $18.71


           GLOVES WORK
           GLOVES WITH
           INSULATED L                                                                      $0.00                                     $9.81


           RGJXL RAIN GEAR
           JACKET,SHORT ANSI C                                                              $0.00                                   $25.95


           RGPXL RAIN GEAR
           PANTS, ANSI CLASS E                                                              $0.00                                   $16.95


           FLU-72-WV
           GLASFORMS 6'
           FIBERGLASS V                                                                     $0.00                                   $23.72


           HSM60RODON 60" FIG
           A HYDRAFINDER HY                                                                 $0.00                                   $58.00


           TC28WDOT JACKSON
           SAFETY W SERIES OR                                                               $0.00                                   $75.00


           RFTM-W-72 CONDUIT
           MARKER 72"WHITE/G                                                                $0.00                                 $144.00


           PLS2000 PORTABLE
           LIGHT PACK                                                                       $0.00                                 $157.70


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                   $17.70



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 413
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                Name

           MARKING FLAG 2-1/2" X
           3-1/2" BLUE (                                                                    $0.00                                   $17.70


           MARKING FLAG 2-1/2" X
           3-1/2" WHITE                                                                     $0.00                                     $5.90


           SVDOTNXL SAFETY
           VESTS NYS DOT APPRO                                                              $0.00                                   $11.50


           3012878 2-TONE LIME
           MESH DELUXE VES                                                                  $0.00                                   $25.80


           MARKING FLAG 4" X 5"
           GREEN [21" LGT                                                                   $0.00                                     $9.40


           CTK CHLORINE TEST
           KIT MICRO ESSENTI                                                                $0.00                                     $9.00


           NOBURST1 NOBURST 1
           GALLON, HYDRANT                                                                  $0.00                                   $31.35


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                 $111.72


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $58.52


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $37.24


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                   $45.22


           FOXTCYE
           INVERT-A-CAP YELLOW
           SPRAY P                                                                          $0.00                                   $39.96


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $38.36


           MARKINGSTICK
           AERVOE PAINT
           MARKING S                                                                        $0.00                                   $13.71




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 414
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                Name

           NS-SPRAY NEVER
           SIEZE SPRAY CAN                                                                  $0.00                                     $4.68


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $19.38


           SLIKSTYX16 16 OZ
           SPRAY LUBE                                                                       $0.00                                     $6.82


           ST2 CAN STORZ
           THREAD LUBRICANT
           KOC                                                                              $0.00                                   $53.18


           FISHER FP-ID2100
           MAGNETOMETER,
           MAGN                                                                             $0.00                                 $611.00


           SNAKEEYELOCATOR
           TV FERRET LOCATOR                                                                $0.00                                 $629.00


           GOGGLES PIRANA
           GRAY LENS & BLACK
           FR                                                                               $0.00                                   $12.48


           GOGGLES HI VOLTAGE
           CLEAR LENS WITH                                                                  $0.00                                   $20.35


           EQ24E INFILTRATOR
           END CAPS                                                                         $0.00                                   $81.90


           6-4 ENDOUTS FOR
           J-DRAIN                                                                          $0.00                                   $17.96


           MM2GBRACKET
           MASTER METER 2G
           WALL M                                                                           $0.00                                     $4.10


           MM2GTOP MASTER
           METER 2G PIT LID MO                                                              $0.00                                     $6.75


           MM2GBOTTOM
           MASTER METER 2G PIT
           LID                                                                              $0.00                                     $6.75


           MMPOCKETREADER
           MASTER METER
           READMA                                                                           $0.00                                 $427.50




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           MASTER METER LCD
           PANEL MOUNTED DISP                                                               $0.00                                 $242.06


           MM19901704 MAST
           METER DIALOG 3G INT                                                              $0.00                                 $125.26


           MMBLMJEB3G5834CFCI
           5/8"X 3/4" CUBIC                                                                 $0.00                                 $170.25


           P12-A21-B05-0101A-1
           5/8" X 3/4" AC                                                                   $0.00                                 $413.06


           TDW28-204-6050-40
           2-1/2" LINERS                                                                    $0.00                                 $410.00


           PVC40COND150 1 1/2
           SCH40 CONDUIT                                                                    $0.00                                   $93.60


           3/4" PVC SCH40 UL
           CONDUIT 10'                                                                      $0.00                                   $34.32


           DR256 6" PVC DR25
           165PSI C-900 PIPE                                                                $0.00                                 $165.00


           1" Hersey model 452-II
           translator 6                                                                     $0.00                                 $183.68


           NORFPSDR11PV4 4"
           NORDSTROM FULL PO                                                                $0.00                                 $690.00


           1" PVC TRU-UNION
           BALL VALVE                                                                       $0.00                                   $14.96


           12" .375 WALL STEEL
           CASING PIPE                                                                      $0.00                                 $635.00


           820-020 SCH.80 2"
           CROSS                                                                            $0.00                                   $14.51


           CLOW M-43 2-1/2" HOSE
           NOZZLE CAP FO                                                                    $0.00                                 $114.68


           DR2512 12" DR-25 PVC
           WATER PIPE                                                                       $0.00                                 $772.80


           FLB906DI 6" FLANGED
           BASE 90 DUCTILE                                                                  $0.00                                 $337.90



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 416
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           H10887 BRASS METER
           IDLERS 5/8' X 3/                                                                 $0.00                                   $43.89


           PVC40CON2 2" SCH40
           BELLED END CONDU                                                                 $0.00                                   $24.40


           1829-015 SPEARS
           1-1/2" PVC BALL VA                                                               $0.00                                 $166.26


           PVC801COND 1" SCH80
           PVC CONDUIT                                                                      $0.00                                 $735.26


           DR11T8IPS 8" X 8" DR11
           IPS HDPE TEE                                                                     $0.00                                 $117.04


           2" ANODELESS RISER
           IPS SDR11 RISER                                                                  $0.00                                 $151.93


           DIALOG 3G EXTERNAL
           TRANSCEIVER FOR                                                                  $0.00                                 $172.58


           15806 GASKET UNION                                                               $0.00                                   $45.00


           ELECTROTT121DIPS
           12" DIPS X 1" IPS                                                                $0.00                                   $81.55


           BINGHAM & TAYLOR
           5-1/4" WATER VALVE                                                               $0.00                                   $13.22


           CI1018-2EXT 10 X 18
           POLY INSULATOR                                                                   $0.00                                 $172.90


           3629-020 2" TRUE
           UNION 2000 BALL VA                                                               $0.00                                 $103.73


           POLYVALVE 2" BUTT
           FUSION BALL VALVE                                                                $0.00                                 $250.00


           SPF-102-GALV-14
           10'SQUARE FIT POST                                                               $0.00                                 $148.52


           DR11T42IPS 4" X 2"
           DR11 TEE IPS                                                                     $0.00                                   $52.80


           MUE194994 BOLT FOR
           2.5"-8" MUELLER                                                                  $0.00                                     $1.90




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PVC40COND1 1" SCH 40
           PVC CONDUIT BE                                                                   $0.00                                 $183.54


           DR11MJA12IPS 12"
           DR11 IPS HDPE MJ A                                                               $0.00                                 $121.00


           A2361-23-02-9020-16L
           MUELLER 16" MJ                                                                   $0.00                               $6,239.05


           GALVNIP075X54 3/4" X
           54" GALV THREA                                                                   $0.00                                   $21.90


           GF32012 12" SCREW
           RITEHITE                                                                         $0.00                                 $100.00


           447074P PART# R-11
           PACKING FOR A 4"                                                                 $0.00                                   $45.32


           CHE286-068
           DEFLECTION GAUGE 6"                                                              $0.00                                 $133.70


           RK009M3-T-075 3/4"
           TOTAL REPAIR KIT                                                                 $0.00                                   $61.65


           DR11R8IPSX8DIPS 8"
           DR 11 IPS X 8" D                                                                 $0.00                                 $264.30


           RB14TP-B
           COPPERHEAD
           SNAKEPIT MAGNE                                                                   $0.00                                   $41.80


           TG6DOM TYLER 6"
           TUFGRIP DOMESTIC WE                                                              $0.00                                   $19.35


           TG10DOM TYLER 10"
           TUFGRIP DOMESTIC                                                                 $0.00                                   $87.54


           LANEESRING36 LANE
           36" X 1/2" X 128"                                                                $0.00                                   $54.00


           KEN2280952 8" WEDGE
           FOR KV8571 OPEN                                                                  $0.00                                 $323.00


           FLFL6-6D 6" X 0-6"
           FLANGED X FLANGE                                                                 $0.00                                 $342.86


           FLPE63D 6" X 3'
           FLANGED X PLAIN END                                                              $0.00                                 $347.64


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           NGDPPK08 8"
           NACIPGRIP
           MECHANICAL JO                                                                    $0.00                                 $152.40


           KENOSY4-R8B
           KENNEDY R-8 PACKING
           BOL                                                                              $0.00                                   $24.00


           KENOSY-R8N KENNEDY
           R-8 PACKING BOLT                                                                 $0.00                                   $24.00


           DMC14DOM 14" MJ CAP
           DUCTILE IRON DO                                                                  $0.00                                 $282.91


           NGPVCPK08 8"
           NACIPGRIP
           MECHANICAL J                                                                     $0.00                                   $87.98


           GLENN TEST
           STATION...PLASTIC
           CATHOD                                                                           $0.00                                   $89.70


           MCD74758-22-050X075
           MCDONALD 1/2" C                                                                  $0.00                                 $277.95


           MCD2032TL-100
           MCDONALD 1" FULL
           PORT                                                                             $0.00                                   $63.51


           S1720-20 2" SPEARS
           PVC WHITE TRUE U                                                                 $0.00                                   $31.87


           MCD72002-075 3/4"
           NO-LEAD HOSE BIBB                                                                $0.00                                   $24.44


           LINER-
           CHAMBERMAXX, 75' X
           15'                                                                              $0.00                                 $575.00


           CHAMBERMAXX INLET
           SCOUR PREVENTION                                                                 $0.00                                   $75.00


           CL53TR8 8" CL53
           TR-FLEX DUCTILE IRO                                                              $0.00                                 $486.00


           WTLFIT6300-075 3/4"
           THREADED BALL V                                                                  $0.00                                     $8.41




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           TSSF-0742-0600-1-2 6" X
           6" TAPPING                                                                       $0.00                                 $761.33


           AW1018 10 X 18 WRAP
           AROUND END SEAL                                                                  $0.00                                 $108.44


           200TVD11060L 6"
           TAPPING VALVE, OPEN                                                              $0.00                                 $597.70


           QCRS120765001EX 6" X
           12" REPAIR CLA                                                                   $0.00                                 $126.13


           SAFETY VEST
           ML-1510-L LIME GREEN
           SA                                                                               $0.00                                   $40.50


           SAFETY VEST
           ML-1510-XL LIME
           GREEN S                                                                          $0.00                                   $40.50


           SAFETY VEST
           ML-1510-2X LIME
           GREEN S                                                                          $0.00                                   $13.50


           DPD #1 QUICK DISOLVE                                                             $0.00                                   $27.00


           9329310 AD1 10" DIA X
           24" OVERALL H                                                                    $0.00                                 $179.34


           9329310 AD2 10" DIA X
           34" HEIGHT W/                                                                    $0.00                                 $179.34


           9329310 AD3 10" DIA X
           44" HEIGHT W/                                                                    $0.00                                 $179.34


           9329310 AD4 10" DIA X
           30" HEIGHT W/                                                                    $0.00                                 $179.34


           9329310 AD5 10' DIA X
           42" HEIGHT W/                                                                    $0.00                                 $179.34


           AER5021 AERVOE
           HAND-Y-CLEANING
           TOWE                                                                             $0.00                                     $9.68


           3121-6Cx12 6" x 12"
           REPAIR CLAMP (6                                                                  $0.00                                 $124.88




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           3417DI-6BX1CC
           6"(6.94-7.60) X 1"CC                                                             $0.00                                 $127.78


           3417DI-8B1CC
           8"(8.54-10.10) X 1"CC                                                            $0.00                                 $226.66


           3504-1 1" (1.32)
           POWERSEAL COMPRES                                                                $0.00                                 $103.39


           CL1-7.24 X 12 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                 $260.56


           CL1-9.40 X 12 CL1
           REPAIR CLAMP (9.0                                                                $0.00                                 $285.00


           3403040075HB 4" X
           3/4"CC BRONZE SAD                                                                $0.00                                     $0.00


           2000-0768-260 6"
           HYMAX WIDE RANGE C                                                               $0.00                                 $170.35


           2000-0984-260 8"
           HYMAX COUPLING RAN                                                               $0.00                                 $576.99


           2000-1920-260 16"
           HYMAX COUPLING (1                                                                $0.00                                 $784.50


           2000-1710-260 14"
           HYMAX COUPLING 15                                                                $0.00                               $1,522.08


           421-06560760-031 6"
           COUPLING, WIDE                                                                   $0.00                                 $326.76


           REEDS12 32" LONG
           PIPE SCRAPER, FOR                                                                $0.00                                   $96.17


           REED04391 T100 DRILL
           TAP, 1"CC THRE                                                                   $0.00                                 $150.96


           TRU364-9982 RWDS
           DUAL SIDED SOCKET                                                                $0.00                                   $92.00


           REEMC2 MC2 MINI
           CUTTER, 1/8"-15/16"                                                              $0.00                                   $11.81


           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                   $15.06



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 421
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           REERW18 18" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $33.26


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $31.55


           REEDVKA COMBO
           VALVE/CURB KEY
           BASIC                                                                            $0.00                                   $67.94


           ALTHRD0756 3/4" X 6'
           ALL THREADED R                                                                   $0.00                                     $9.00


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                 $141.05


           SDR354P 4" PVC SDR35
           PERFORATED SEW                                                                   $0.00                                   $54.25


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $233.38


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                   $65.66


           SDR3515 15" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $280.42


           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                                   $22.95


           235-060 6" SCH40 HUB
           X 6" SDR35 SP                                                                    $0.00                                   $81.47


           PVCRECCOP6 6" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $60.10


           PVCWATERSTOP10 10"
           PVC WATERSTOP VE                                                                 $0.00                                     $4.22


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                     $9.90


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $29.27




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           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $27.78


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $89.11


           SDR3545BXB12 12" PVC
           SDR35 45 BEND                                                                    $0.00                                 $106.15


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                   $30.20


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                     $8.92


           SDR354XSCH40DWV4
           4" PVC SDR35 SPIGO                                                               $0.00                                   $52.24


           SDR356XSCH40DWV6
           6" PVC SDR 35 SOCK                                                               $0.00                                   $52.24


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $18.72


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $84.93


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                   $12.81


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                 $194.33


           SDR35PLG10 10" PVC
           SDR35 PLUG G1161                                                                 $0.00                                   $43.77


           SDR35PLG12 12" PVC
           SDR35 PLUG G1161                                                                 $0.00                                   $52.31


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                     $7.25


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $11.11


           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                   $76.70



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           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                   $28.65


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                   $66.97


           SDR35SADY126 12" X 6"
           SADDLE WYE PV                                                                    $0.00                                   $43.98


           SDR35SADY64 6" X 4"
           SADDLE WYE, PVC                                                                  $0.00                                   $12.37


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $16.06


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                   $33.67


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                   $19.75


           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                   $25.74


           SDR35T86 8" X 6" PVC
           SDR35 TEE G108                                                                   $0.00                                   $26.91


           SDR35TY84 8" X 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $27.29


           SDR35Y104 10" X 4"
           PVC SDR35 WYE G3                                                                 $0.00                                   $78.91


           SDR35Y106 10" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $719.89


           SDR35Y1212 12" X 12"
           PVC SDR35 WYE                                                                    $0.00                                 $222.09


           SDR35Y154 15" X 4"
           PVCSDR35 WYE L30                                                                 $0.00                               $4,101.84


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                   $85.48


           SDR35Y64 6" X 4" PVC
           SDR35 WYE G306                                                                   $0.00                                   $17.34



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 424
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           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                   $23.20


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                   $58.00


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $5.91


           6" DWV SPIGOT X 6"
           SDR35 SOCKET ADA                                                                 $0.00                                   $88.37


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $16.66


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                   $56.20


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                     $8.66


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                   $36.31


           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                     $6.31


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                     $2.62


           P11510 10" SEWER AND
           DRAIN THREADED                                                                   $0.00                                   $26.24


           SV10SH4 4 X 10 SOIL
           PIPE SINGLE HUB                                                                  $0.00                                 $328.96


           SV452 2" SOIL PIPE 45
           BEND                                                                             $0.00                                   $14.55


           SV5SH3 3X5 SOIL PIPE
           SINGLE HUB                                                                       $0.00                                   $57.09




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 425
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           SV5SH5 5 X 5 SOIL PIPE
           SINGLE HUB                                                                       $0.00                                 $129.92


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                 $214.50


           4" #620 CI GRATE                                                                 $0.00                                     $1.74


           NHCPLG2 2" NO-HUB
           COUPLING                                                                         $0.00                                     $7.03


           DWV223 3" PVC DWV 22
           BEND BXB P/N 7                                                                   $0.00                                     $2.97


           DWV4510 10" DWV 45
           BEND,P/N D5010SS                                                                 $0.00                                   $83.59


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                     $9.96


           DWVFA4 4" PVC DWV
           SCH40 FEMALE ADAP                                                                $0.00                                     $7.65


           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                   $16.20


           DWVY84 8" X 4" PVC
           DWV SCH40 WYE P                                                                  $0.00                                   $75.59


           DWVT64 6 X 4 DWV TEE
           D106-4                                                                           $0.00                                   $26.08


           DWVCAP8 8" SCH40
           DWV CAP D1608                                                                    $0.00                                   $56.16


           D417-338 3X3X3X2
           SANITARY TEE W/ RI                                                               $0.00                                   $26.69


           D438-338 3X3X3X3X2
           DOUBLE SANITARY                                                                  $0.00                                   $59.76


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $106.00


           HWY4P250 4" x 250'
           PERFORATED CORRU                                                                 $0.00                                   $97.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 426
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                                 $135.00


           HDLT000420S0 4"
           SMOOTH WALL SOLID
           H                                                                                $0.00                                   $12.00


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                                 $231.50


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                                 $282.60


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                                 $603.00


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $744.00


           HDLT000820S0R 8"
           SOLID HDPE LOKTITE                                                               $0.00                                 $172.80


           JMEC8 8" CORR
           SMOOTH INTERIOR
           CORRU                                                                            $0.00                                   $61.00


           JMEC6 6" CORR
           SMOOTH INTERIOR
           CORRU                                                                            $0.00                                   $53.60


           HANENVIRONSCEP
           HANCOR
           ENVIROCHAMBER                                                                    $0.00                                   $36.27


           HWYSCPLG8 8" HDPE
           SNAP COUPLING                                                                    $0.00                                   $13.74


           LANET246 LANE 24" X
           6" HDPE REDUCER                                                                  $0.00                                 $167.96


           LANES36 LANE 36"
           HDPE END SECTION                                                                 $0.00                                 $440.00


           LANECAP8 8" HDPE
           END CAP LANE                                                                     $0.00                                     $7.30


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                     $1.30


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 427
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           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $11.92


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $10.90


           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                   $16.00


           HWYBT6 6" HDPE
           MOLDED SINGLE WALL
           B                                                                                $0.00                                   $16.36


           LANECPLG10 10" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $10.96


           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                     $7.60


           LANERED86 8" X 6"
           HDPE REDUCER                                                                     $0.00                                   $14.56


           HWYY64 6x6,5 OR 4
           HDPE MOLDED SINGL                                                                $0.00                                   $28.59


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $75.60


           LANERED3024 30" X 24"
           LANE HDPE RED                                                                    $0.00                                 $344.96


           LANE2215 15" HDPE 22
           DEGREE BEND, S                                                                   $0.00                                   $55.45


           CRIMPTOOL-R
           CRIMPING TOOL FOR
           MAR-                                                                             $0.00                                 $100.00


           Q4EQ36 QUICK 4
           EQUALIZER 36
           CHAMBER                                                                          $0.00                                   $52.80


           CM16GAS18 18" 16
           GAUGE, CORRUGATED                                                                $0.00                               $1,305.00


           CM16GAS24 24" 16GA,
           CORRUGATED META                                                                  $0.00                                 $175.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 428
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           CM18GAS8 8" 18GA
           CORRUGATED METAL P                                                               $0.00                                   $61.00


           CM16GAS28X20 28"X20"
           CORR STEEL PIP                                                                   $0.00                                 $185.00


           CMRRCPLG6 6"
           CORRUGATED
           REROLLED CO                                                                      $0.00                                   $10.80


           CMRRCPLG15 15"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $12.00


           CMRRCPLG18 18"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $43.50


           CMSLIPCPLG10 10"
           CORRUGATED SLIP CO                                                               $0.00                                   $90.50


           CMES15 15"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                   $53.00


           CMES21 21"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                 $172.00


           CMES30 30"
           CORRUGATED END
           SECTIONS                                                                         $0.00                                 $209.50


           CVM5X4 CONCRETE
           VALVE MARKER 5' TAL                                                              $0.00                                   $84.00


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $28.17


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $35.21


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.61




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           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $127.24


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $13.62


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $103.00


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $15.47


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                   $71.40


           06-88 8 X 8
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $36.54


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $33.32


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                     $7.94


           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $12.16


           56-32 3" X 2"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $12.66


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $24.71


           56-42 4" X 2" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $9.56


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $14.77


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $28.17


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $93.76


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           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $13.65


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                 $113.33


           56-108 10" X 8"
           CI,PLAS/CI,PLAS CO                                                               $0.00                                   $18.54


           56-150 1.5 X 1.5
           CI,PLAS/CI,PLAS CO                                                               $0.00                                     $3.90


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $61.87


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $18.05


           QC-103 3" RUBBER
           SEAL CAPS (QUICK C                                                               $0.00                                     $8.07


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                   $14.19


           QC-108 8" RUBBER
           SEAL CAP (QUICK CA                                                               $0.00                                   $43.01


           QC5 5" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                     $6.91


           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                     $4.55


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $12.35


           CHE262-080 8"
           MUNI-BALL WITH WITH
           B                                                                                $0.00                                 $138.60


           CHE262-110 10"
           MUNI-BALL WITH BP CH                                                             $0.00                                 $183.40


           CHE270-229 CHERNE 2"
           INSIDE GRIPPER                                                                   $0.00                                   $11.04



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           CHE270-237 3" END OF
           PIPE GRIPPER P                                                                   $0.00                                     $3.72


           SEALGUARDKIT6
           SEALGUARD MANHOLE
           SE                                                                               $0.00                                 $495.00


           EBV-P601 6" CLEAN
           CHECK VALVE, 9692                                                                $0.00                               $1,050.66


           NDS1200 12" BASIN
           (PLASTIC 2 OPENIN                                                                $0.00                                   $48.90


           NDS1206 6" SIDE PLUG
           FOR NDS 1200 B                                                                   $0.00                                     $2.99


           NDS1211 12" SQUARE
           GRATE, PLASTIC,                                                                  $0.00                                   $54.89


           NDS1266 6" UNIVERSAL
           ADAPTER NDS                                                                      $0.00                                     $8.96


           NDS900 9" NDS CATCH
           BASIN                                                                            $0.00                                   $14.31


           NDS980 9" NDS GRATE
           (BLACK)                                                                          $0.00                                   $36.96


           MHEXT241PE 24" X 1"
           HIGH POLYETHYLE                                                                  $0.00                                 $225.00


           MHEXT24150PE 24" X
           1-1/2" HIGH POLY                                                                 $0.00                                   $75.00


           MHEXT262PE 26" X 2"
           HIGH POLYETHYLE                                                                  $0.00                                   $75.00


           SC4155 CLEANOUT
           FRAME & COVER 4155                                                               $0.00                                   $80.00


           SC4155SC 4155 SEWER
           CLEANOUT COVER                                                                   $0.00                                 $120.00


           HANHWY10P 10"
           HANCOR PERF
           HIGHWAY A                                                                        $0.00                                 $289.00




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           BAU12 12" SMOOTH
           SOLID, BELL END, H                                                               $0.00                                 $177.20


           BAU18 18" SOLID,
           SMOOTH, BELL END H                                                               $0.00                                 $348.80


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $62.24


           RBLHP LONGHANDLE
           POINTED SHOVEL UNI                                                               $0.00                                   $56.70


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $15.56


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $37.49


           000-00038420-069 1/2"
           CTS X IPS ADA                                                                    $0.00                                   $23.02


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                     $4.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $11.54


           226-00045012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                 $169.50


           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                 $255.42


           226-00048015-000 4" X
           15" REPAIR CL                                                                    $0.00                                 $308.13


           226-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                   $98.07


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $341.91


           226-00069025-000 6" X
           25" REPAIR CL                                                                    $0.00                                 $402.76


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $352.38



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $279.94


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $324.12


           244-00008806-000 3/4" X
           6" REPAIR C                                                                      $0.00                                   $78.72


           244-00010506-000 3/4" X
           6" 1.05 OD                                                                       $0.00                                   $78.94


           244-00011306-000 1" x
           6" FULL CIRCL                                                                    $0.00                                   $39.57


           244-00013206-000 1" X
           6" 1.32 OD ST                                                                    $0.00                                   $79.53


           244-00023806-000 2" X
           6" REPAIR CLA                                                                    $0.00                                   $84.18


           245-00008406-000 1/2" X
           6" (0.84)OD                                                                      $0.00                                   $29.50


           245-00013203-000 SMITH
           BLAIR 1" X 3                                                                     $0.00                                   $17.81


           245-00013206-000 1" X
           6" 1.32 OD RE                                                                    $0.00                                   $10.79


           245-00019003-000 SMITH
           BLAIR 1-1/2"                                                                     $0.00                                   $19.64


           261-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $220.88


           261-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $121.59


           274-00000480-000 4"
           CLAMP, 274-1031                                                                  $0.00                                 $110.09


           274-00000905-000 8"
           BELL JOINT LEAK                                                                  $0.00                                 $167.53


           313-00051415-000 SMITH
           BLAIR 4"X 2"                                                                     $0.00                                   $30.89



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                Name

           313-00056313-000 4"X1
           1/2CC 5.00-5.                                                                    $0.00                                   $31.32


           313-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                   $60.33


           317-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                   $53.52


           317-00101007-000 8" X
           3/4"CC SADDLE                                                                    $0.00                                 $126.46


           411-00258008-003 SMITH
           BLAIR 24" (2                                                                     $0.00                                 $752.18


           441-00000510-900 4"
           COUPLING (4.80-                                                                  $0.00                                 $286.55


           441-00000510-931 4"
           CAST COUPLING,                                                                   $0.00                                 $168.17


           441-00000722-900 6"
           COUPLING (6.90-                                                                  $0.00                                 $147.00


           441-00000945-900 8"
           COUPLING (9.05-                                                                  $0.00                                 $371.64


           441-00001350-900 12"
           COUPLING (13.2                                                                   $0.00                                 $155.32


           441-33832-069 16"
           SMITH-BLAIR 441 B                                                                $0.00                                   $46.54


           912-90091108-000 8"
           SMITH BLAIR (8.                                                                  $0.00                                 $209.53


           21350-045 SMITH BLAIR
           441-21350 8"                                                                     $0.00                                   $28.42


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                     $7.60


           21356-045 SMITH BLAIR
           441-21356 10"                                                                    $0.00                                   $17.02


           33811-069 441-33811
           SMITH BLAIR RW4                                                                  $0.00                                     $8.52



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                Name

           33814-069 441-33814 10"
           RW441 (11.                                                                       $0.00                                   $32.67


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                   $11.92


           662-13200800-000 12" X
           8" TAPPING S                                                                     $0.00                                 $451.78


           317-00090515-000 8" X
           2"CC SADDLE (                                                                    $0.00                                   $72.14


           244-00008406-000 SMITH
           BLAIR 1/2" X                                                                     $0.00                                   $78.52


           313-00069007-000 SMITH
           BLAIR 6" X 3                                                                     $0.00                                   $23.84


           226-00090512-001 8" X
           12-1/2" REPAI                                                                    $0.00                                 $312.71


           244-00008806-001 3/4" X
           6" REPAIR C                                                                      $0.00                                   $76.16


           244-00021306-000 2" X
           6" REPAIR CLA                                                                    $0.00                                   $41.47


           245-00066309-000
           6"X9"(6.63)OD REDI                                                               $0.00                                   $85.75


           313-00048006-000 4" X
           3/4"NPT (4.40                                                                    $0.00                                   $22.97


           461-12751440-000
           12"(12.75-14.40)OD                                                               $0.00                                 $333.06


           317-00056316-000
           4"X2-1/2"NPT(5.00-                                                               $0.00                                   $58.91


           912-90135012-300
           12"(13.20-13.50)OD                                                               $0.00                                 $901.01


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                                 $185.03


           421-02130295-031 2"
           COUPLING, TOP B                                                                  $0.00                                   $74.75



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                Name

           421-03100420-031 3"
           COUPLING, TOP B                                                                  $0.00                                 $197.22


           421-04460560-031 4"
           COUPLING, TOP B                                                                  $0.00                                 $123.74


           421-10641183-031 10"
           COUPLING (10.6                                                                   $0.00                                 $235.43


           43479 SHACKEL                                                                    $0.00                                   $31.70


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $41.76


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                               $1,750.00


           COVER CLAW ONE
           HAND VALVE BOX
           COVER                                                                            $0.00                                   $53.00


           LOW21-8E4D1-000
           1-1/4" X 1-1/16" HE                                                              $0.00                                 $111.75


           LOW21-8E8D2 15/16" x 1
           1/8" ANGLE W                                                                     $0.00                                   $54.00


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $40.00


           PJD45B 5/16" MAGIKIST
           PROBE TIPS                                                                       $0.00                                     $9.40


           QWPCW-1 16" SERVICE
           BOX CROSS WRENC                                                                  $0.00                                   $41.76


           TRU364-9980 RATCHET
           BOX WRENCH DOUB                                                                  $0.00                                   $30.00


           TRU364-9983 3/4" X 7/8"
           HYMAX DOUBL                                                                      $0.00                                   $46.00


           TRU364-9984 DOUBLE
           SHOT WRENCH WITH                                                                 $0.00                                   $92.00




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                Name

           VBCLEAN8STD
           TRUMBULL VALVE BOX
           CLEA                                                                             $0.00                                 $181.82


           WWT10008
           WATERWORKS TOOL 4'
           2-HOLE                                                                           $0.00                                   $24.90


           WWT13001
           WATERWORKS TOOL
           SBWEP CURB                                                                       $0.00                                   $44.25


           WWT13002 CURB KEY 2
           HOLE END ONLY,                                                                   $0.00                                   $17.08


           WWT13003
           WATERWORKS TOOL
           SBWER CURB                                                                       $0.00                                   $27.65


           WWT13004
           WATERWORKS TOOL
           SERVICE BO                                                                       $0.00                                   $45.12


           WWT19001 VS-ON
           VALVE SETTER, PART#                                                              $0.00                                   $51.87


           WWTCE-6 6' CURB END
           T-HANDLE WRENCH                                                                  $0.00                                   $26.72


           MUE33314-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $122.62


           MUE33316-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $135.83


           MUE36037-R MUELLER
           11/16" DRILL, (C                                                                 $0.00                                 $109.73


           MUE36056-R MUELLER
           1-7/16" DRILL (C                                                                 $0.00                                 $215.19


           MUE36069-R MUELLER
           1-7/8" DRILL (CE                                                                 $0.00                                 $329.14


           MUE36998-R MUELLER
           DRILL HOLDER FOR                                                                 $0.00                                 $161.55


           MUE37032-R MUELLER
           D-5 DRILL HOLDER                                                                 $0.00                                 $147.58


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 438
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MUE37902-R MUELLER
           ADAPTER NIPPLE,                                                                  $0.00                                 $100.05


           MUE37906-R MUELLER
           ADAPTER NIPPLE,                                                                  $0.00                                 $248.46


           MUE500683 MUELLER
           CHAIN YOKE FOR B                                                                 $0.00                                 $217.29


           MUE507644-R MUELLER
           ADAPTER, 1-1/2"                                                                  $0.00                                 $132.52


           MUE507645-R MUELLER
           ADAPTER, 2" 110                                                                  $0.00                                 $131.10


           MUE508198-R MUELLER
           SHELL CUTTER HO                                                                  $0.00                                 $140.81


           MUE680539-R MUELLER
           COMBINATION DRI                                                                  $0.00                                 $569.90


           MUE680540-R MUELLER
           COMBINATION DRI                                                                  $0.00                                 $946.42


           MUE680600-R MUELLER
           INSERTING TOOL                                                                   $0.00                                 $119.11


           MUE75812-R MUELLER
           SADDLE (FOR DUCT                                                                 $0.00                                   $35.16


           MUE500670 MUELLER
           O-RING FOR B-101                                                                 $0.00                                     $6.65


           MUE580945 D-5 BORING
           BAR COMPLETE                                                                     $0.00                                 $857.06


           MUE36323 MUELLER
           36323 1" FIP THREA                                                               $0.00                                 $103.48


           MUE36910 3/4" IP
           MUELLER ADAPTER                                                                  $0.00                                   $67.24


           MUE40438-R MUELLER
           D-5 BORING BAR F                                                                 $0.00                                   $57.92


           MUE528088 - 1-3/4"
           MUELLER D5 SHELL                                                                 $0.00                                 $199.04


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 439
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MUE61992 DRILL, 11/16"
           FOR D-5 DRIL                                                                     $0.00                                   $66.12


           MUE681243 1 7/16-1 3/4
           COUPON REMOV                                                                     $0.00                                   $31.30


           MUE85308 RATCHET
           HANDLE ASSEMBLY A-                                                               $0.00                                 $221.16


           MUED-5-R MUELLER
           D-5 DRILLING MACHI                                                               $0.00                               $4,084.77


           TP-R TEST PUMP
           (RENTAL UNIT)                                                                    $0.00                               $1,924.99


           MUEB-101-R MUELLER
           B-101 DRILLING &                                                                 $0.00                               $4,619.99


           MUE500692 BEARING
           FOR B-101 DRILLIN                                                                $0.00                                   $54.16


           TELEKEY610 6'-10'
           ADJUSTABLE VALVE                                                                 $0.00                                 $187.50


           MPA48 48" MIGHTY
           PROBE SOIL PROBE I                                                               $0.00                                   $57.85


           QWP63192 SLIDE CURB
           WRENCH 4' PENT                                                                   $0.00                                 $106.72


           MIGHTY PROBE
           REPLACEMENT TIP,
           TIPS                                                                             $0.00                                     $7.46


           P53003 LONG HANDLE
           VALVE BOX COVER                                                                  $0.00                                   $43.69


           BLADEASPDIA14 US
           SAWS 14" X 20MM/1"                                                               $0.00                                 $150.00


           BLADEAPBDIA14 14" x
           20MM/1" TIGER T                                                                  $0.00                                 $172.00


           US30178 US SAWS
           BREAK 'N TAKE THRE                                                               $0.00                                 $337.50




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           WHE86 SHUT-OFF TOOL
           1/2"-1" SOFT CO                                                                  $0.00                                 $213.00


           CST17-620 CHICAGO
           STEEL TAPE MODEL                                                                 $0.00                                   $11.84


           B32503 3" UL/FM
           WAFER BUTTERFLY
           VAL                                                                              $0.00                                 $132.96


           MUE148692 OPEN LEFT
           POST HEAD FOR A                                                                  $0.00                                 $182.86


           MUE198745 CU-7 NUT
           FOR A 6" CHECK V                                                                 $0.00                                   $11.64


           MUE198750 CU-7
           WASHER FOR A 6"
           CHEC                                                                             $0.00                                     $5.82


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                   $41.60


           VBRIS1 1" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                     $3.90


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                     $6.00


           VBRIS3 3" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $46.25


           VBSCT2 2 PIECE
           SCREW TYPE VALVE
           BOX                                                                              $0.00                                  $-52.00


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                   $32.00


           VBCAPG VALVE BOX
           CAP MARKED GAS                                                                   $0.00                                   $12.00


           VBRIS18 18" VALVE
           BOX RISER LESS CA                                                                $0.00                                   $29.00


           VBSCT2BS36 5 1/4 X 36
           SCT 2PC VB BO                                                                    $0.00                                 $171.00




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           VBSCTTS26 5-1/4 X 26
           SCREW TOP VALV                                                                   $0.00                                   $64.00


           VBRIS6 6" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $13.20


           VBRIS150PE 1-1/2"
           POLYETHYLENE VALV                                                                $0.00                                   $66.00


           VBRIS2PE 2" HIGH
           POLYETHYLENE VALVE                                                               $0.00                                 $110.00


           VPLUG-5X4 4-1/4 X 4
           MUDPLUG FOR ROA                                                                  $0.00                                   $13.47


           INFACTDI6 INFACT 6"
           COMBO PIPE PLUG                                                                  $0.00                                   $19.90


           SIGMA VB7906 LID                                                                 $0.00                                 $200.00


           BTSCVB2-22DOM
           39"-60" VALVE BOX, SC                                                            $0.00                                 $126.00


           BRASS COTTER PINS
           FOR CURB BOX RODS                                                                $0.00                                   $12.95


           CBCOV1 1"-2 HOLE
           CURB BOX COVER MAR                                                               $0.00                                   $16.13


           CBEXT10012 1" X 12"
           CURB BOX EXTENS                                                                  $0.00                                 $110.97


           CBEXT10018 1" X 18"
           CURB BOX EXTENS                                                                  $0.00                                   $38.01


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                   $12.74


           CBEXT12512 1-1/4" X
           12" CURB BOX EX                                                                  $0.00                                   $24.07


           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                   $37.35


           CBRCOV1 1" REPAIR
           LID WITH PLUG A80                                                                $0.00                                  $-34.86




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           CBROD16 16" CURB
           BOX ROD 9/16" MUEL                                                               $0.00                                   $48.70


           CBROD24 24" CURB
           BOX ROD 9/16"                                                                    $0.00                                   $92.88


           CBROD33 33" CURB
           BOX ROD 9/16" MUE0                                                               $0.00                                   $19.02


           CBROD35 35" CURB
           BOX ROD 9/16" GENE                                                               $0.00                                 $238.63


           CBROD36SS 36"
           STAINLESS STEEL
           CURB                                                                             $0.00                                   $44.19


           CBROD39 39" CURB
           BOX ROD 9/16" MUE8                                                               $0.00                                     $9.55


           H10342 CURB BOX
           SLEEVE, MUELLER                                                                  $0.00                                   $14.33


           TRU367-4281 2-1/2"
           INSIDE REPAIR LI                                                                 $0.00                                   $12.87


           H10385-2 MUELLER
           CURB BOX 2' BURY F                                                               $0.00                                   $29.05


           H10396 3/4 " FOOT
           PIECE                                                                            $0.00                                   $29.43


           CBEXT1009 1" X 9"
           CURB BOX EXTENSIO                                                                $0.00                                   $36.11


           GFH10314-5-20 1" X 5'
           CURB BOX WITH                                                                    $0.00                                   $26.56


           BTCB5LR 5' CURB BOX
           LESS ROD BINGH                                                                   $0.00                                 $229.08


           FLT43DI 4" x 3"
           FLANGED TEE, DUCTIL                                                              $0.00                                 $112.53


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           TCFC8 8" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $49.96


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           4" CLOSET FLANGE
           P1804                                                                            $0.00                                     $2.87


           FLBT8 8" X 8" FLANGED
           BASE TEE                                                                         $0.00                                 $345.96


           FLPE124 12" X 4'
           FLANGE X PLAIN END                                                               $0.00                                 $356.00


           DR114DIPSBS 4" DR11
           DIPS HDPE PIPE                                                                   $0.00                                   $49.20


           PECTS1.5X100 1-1/2" X
           100' CTS 200                                                                     $0.00                                   $60.00


           PEINSF2 2" FEMALE
           INSERT ADAPTER                                                                   $0.00                                   $16.86


           PEXCTS1X100 1"
           MUNICIPEX CTS
           TUBING                                                                           $0.00                                 $186.80


           PEINS901 1 INSERT 90
           FOR POLY                                                                         $0.00                                     $0.48


           FLO-1520-12 1-1/4"
           SWING CHECK VALV                                                                 $0.00                                     $8.63


           DR112212DIPS 12" DR11
           DIPS HDPE 22                                                                     $0.00                                 $109.20


           CT075K60 3/4" X 60' K
           COPPER TUBING                                                                    $0.00                                 $327.00


           CT075K100 3/4" X 100' K
           COPPER TUBI                                                                      $0.00                               $1,090.00


           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                                 $425.04


           CT200K40 2" X 40' K
           COPPER TUBING C                                                                  $0.00                                 $179.06


           NEPLG058 5/8"
           LEATHER GSKTS FOR
           MET                                                                              $0.00                                   $18.00




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           NEPLG075 3/4"
           LEATHER GASKETS
           FOR M                                                                            $0.00                                   $20.00


           NEPLG100 1" LEATHER
           GSKTS FOR METER                                                                  $0.00                                   $15.25


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $9.30


           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                   $11.20


           TW12B500 #12 TRACER
           WIRE 500' COIL                                                                   $0.00                                   $85.00


           MFP150 1-1/2" BRONZE
           METER FLANGE P                                                                   $0.00                                   $50.73


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $54.80


           MFP150NL 1-1/2"
           BRONZE OVAL METER
           F                                                                                $0.00                                   $96.32


           NEPRG100 1" RUBBER
           GASKET FOR METER                                                                 $0.00                                     $7.20


           VB61336 5-1/4" X 36"
           SCREW TYPE 2PC                                                                   $0.00                                 $272.66


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                   $22.86


           B505026 5-1/4" X 26"
           SCREW EXTENSIO                                                                   $0.00                                 $141.36


           B50509 5-1/4" X 9"
           BIBBY SCREW EXTE                                                                 $0.00                                   $21.97


           VB80226 7" X 26" 3PC
           SCREW TYPE VAL                                                                   $0.00                                 $104.65


           6860 #6 TYLER VALVE
           BOX BASE                                                                         $0.00                                   $69.43



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SB24040 40" 2-1/2"
           CURB BOX BOTTOM                                                                  $0.00                                   $26.37


           S172 2-1/2" TOP
           SECTION 30" LONG S1                                                              $0.00                                 $105.47


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                 $181.50


           9006C 6"CI SIZE NAP900
           UNIFLANGE                                                                        $0.00                                   $29.82


           CIB1116 16" CI MJ 11 1/4
           BEND                                                                             $0.00                                 $401.85


           DMB1116 16" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $257.54


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $38.71


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $113.37


           DMB2216 16" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $243.32


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $37.53


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $86.51


           DMB4512 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $518.24


           DMB4524 24" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $590.92


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $40.69


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                   $59.25


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $100.33



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           DMC12 12"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $62.81


           DMP10 10" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                 $139.83


           DMP12 12" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                   $68.73


           DMPIP10 10" DUCTILE
           MECHANICAL JOIN                                                                  $0.00                                   $61.62


           DMR126 12" X 6" MJ
           C153 REDUCER, DU                                                                 $0.00                                 $144.57


           DMS18LP 18" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                                 $292.30


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $26.86


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $90.06


           DMT1210 12" X 10" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $218.44


           DMT43 4" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $45.82


           DMTC122 12" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                   $75.05


           DMY1212 12" X 12" MJ
           C153 WYE DUCTI                                                                   $0.00                                 $384.34


           DMAP430 4" X 30"
           SWIVEL X SWIVEL A                                                                $0.00                                   $59.25


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $465.80


           DMB224DOM 4" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                   $50.69


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $165.77


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           DMP8DOM 8" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $84.94


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $109.60


           DMTC102DOM 10" X 2"
           MJ TAPPED CAP C                                                                  $0.00                                 $347.30


           DMB9010DOM 10" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $253.45


           DMTT62DOM 6" X 2" MJ
           TAPPED TEE C15                                                                   $0.00                                 $115.77


           DMT104DOM 10" X 4"
           MJ C153 TEE DUCT                                                                 $0.00                                 $232.90


           DMB9016DOM 16" MJ 90
           DEGREE BEND, C                                                                   $0.00                               $4,408.66


           DMTC162DOM 16" X 2"
           MJ TAPPED CAP,                                                                   $0.00                                 $371.27


           DMR104DOM 10" X 4"
           MJ C153 REDUCER,                                                                 $0.00                                 $104.12


           DMR166DOM 16" X 6"
           MJ C153 REDUCER                                                                  $0.00                                 $477.45


           PVC401.5 1-1/2" PVC
           SCH40 PIPE 20'                                                                   $0.00                                     $8.60


           PVC402 2" PVC SCH40
           PIPE 20'LENGTHS                                                                  $0.00                                     $5.90


           PVC401.25PERF. 1-1/4"
           SCH 40 PVC PE                                                                    $0.00                                 $536.80


           PVC408BE 8" SCH40
           PVC BELLED END PI                                                                $0.00                                 $381.60


           401-015 1-1/2" PVC
           SCH40 TEE                                                                        $0.00                                     $2.21


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $1.07


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           401-211 1 1/2X1 PVC
           SCH 40 REDUCING                                                                  $0.00                                     $2.20


           406-007 SPEARS 3/4"
           PVC SCH40 90 BE                                                                  $0.00                                     $0.15


           406-010 1" PVC SCH40
           90 BEND                                                                          $0.00                                     $0.55


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $2.46


           406-030 3" PVC SCH40
           90 BEND                                                                          $0.00                                     $2.99


           406-040 4" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                   $10.70


           417-025 2-1/2 PVC
           SCH40 45 BEND                                                                    $0.00                                     $5.01


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $0.32


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $2.44


           429-030 3" PVC SCH40
           COUPLING                                                                         $0.00                                     $3.39


           429-040 4" PVC
           COUPLING SCH40                                                                   $0.00                                     $4.91


           435-012 1 1/4" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $0.35


           436-050 5" PVC 40 MALE
           ADPT                                                                             $0.00                                     $4.78


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $6.73


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $2.45


           437-420 4" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $3.25


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           437-585 8" X 6" SCH40
           BUSHING SPIGO                                                                    $0.00                                   $28.02


           438-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                   $13.61


           S3629-012 1 1/4" PVC
           TRUE UNION 20                                                                    $0.00                                   $24.05


           PVC801 1" PVC SCH80
           PIPE                                                                             $0.00                                   $15.30


           801-015 1-1/2" PVC
           SCH80 TEE                                                                        $0.00                                   $33.92


           817-005 1/2" PVC
           SCHEDULE 80 45 BEN                                                               $0.00                                     $6.29


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                     $5.46


           854-080 8" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $31.44


           857-010 1" PVC SCH80
           UNION                                                                            $0.00                                     $2.99


           857-020 2" PVC SCH80
           UNION                                                                            $0.00                                     $9.13


           829-338 SPEARS 3" x 2"
           PVC SCH80 RE                                                                     $0.00                                   $10.58


           801-337 3" X 1-1/2" TEE,
           SCH80 PVC                                                                        $0.00                                 $894.32


           801-417 4" X 4" X 1"
           PVC 80 TEE                                                                       $0.00                                   $17.34


           838-211 PVC80 1-1/2" X
           1" REDUCER B                                                                     $0.00                                   $33.11


           HAYWARDTBB4 4"
           HAYWARD TBB PVC
           EPDM                                                                             $0.00                                 $182.23




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           DR148 8" DR14 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $162.20


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $2,477.60


           DR254 4" DR25 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $139.00


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $133.44


           SDR21250 2-1/2" SDR 21
           IPS OD PVC G                                                                     $0.00                                   $12.10


           DR1412 12" DR14 C-900
           DI OD PVC PRE                                                                    $0.00                                 $348.60


           SDR21R42 4" X 2"
           REDUCER IPS OD PVC                                                               $0.00                                   $18.14


           SDR2145150 1-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $35.58


           SDR21452 2" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $38.33


           SDR21452.5 2-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $14.61


           SDR21CAP1.5 1 1/2"
           SDR 21 IPS OD PV                                                                 $0.00                                     $9.41


           SDR21CAP2 2" SDR 21
           IPS OD PVC GASK                                                                  $0.00                                   $41.60


           SDR21MIPA3 3" SDR 21
           IPS OD PVC GAS                                                                   $0.00                                   $19.32


           SDR21PLG2.5 2 1/2"
           SDR 21 IPS OD PV                                                                 $0.00                                   $23.69


           SDR21T44 4" X 4"
           SDR21 IPS OD PVC G                                                               $0.00                                   $44.29


           SDR21T64 6" X 4" SDR
           21 IPS OD PVC                                                                    $0.00                               $1,186.80



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           SDR21TT2X125 2" X
           1-1/4" SDR21 IPS                                                                 $0.00                                   $42.14


           SDR21224 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $82.87


           SDR21T42 4" X 2"
           SDR21 IPS OD PVC G                                                               $0.00                                 $304.43


           PHIL75-608CC
           TRANSITION COUPLING
           1"                                                                               $0.00                                   $18.43


           PHIL75-617FE PHILMAC
           UNIVERSAL TRAN                                                                   $0.00                                   $89.00


           PHIL75-608DD HARCO
           PHILMAC UNIVERSA                                                                 $0.00                                   $69.72


           PHIL75-608BB PHILMAC
           3/4" UNIVERSAL                                                                   $0.00                                   $63.43


           PHIL75-608FF 1-1/2"
           UNIVERSAL TRANS                                                                  $0.00                                   $32.49


           PHIL75-608GG 2"
           UNIVERSAL TRANSITIO                                                              $0.00                                   $80.66


           75-617CB TRANSITION
           REDUCER COUPLIN                                                                  $0.00                                   $18.17


           PHIL75-33055 PHILMAC
           1-1/4 MIPT X I                                                                   $0.00                                   $13.82


           DR1110DIPSNS 10" DR
           11 DIPS OD 160                                                                   $0.00                                 $496.00


           DR11150IPSGS 1-1/2" X
           500' DR11 IPS                                                                    $0.00                                 $207.90


           DR1110DIPSBS 10"
           DR11 DIPS OD 160 P                                                               $0.00                                 $810.00


           DR118DIPSBS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $501.00




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           GLENN TEST
           STATION...PLASTIC
           CATHOD                                                                           $0.00                                 $179.40


           ELECTROCPLG6DIPS 6"
           DIPS OD HDPE EL                                                                  $0.00                                 $178.29


           ELECTROTT82DIPSXIPS
           8" DIPS OD X 2                                                                   $0.00                                 $712.00


           DR11T84IPS 8" X 4" DR
           11 IPS OD 160                                                                    $0.00                                     $1.00


           DR9MIPA075CTS 3/4"
           DR 9 CTS OD 200                                                                  $0.00                                 $265.00


           DR9MIPA1CTS 1" DR 9
           CTS OD 200 PSI                                                                   $0.00                                   $57.00


           ELECTROCPLG075CTS
           3/4" CTS OD HDPE                                                                 $0.00                                 $230.00


           DR11456DIPS 6" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $416.00


           ELECTROTT122IPS 12"
           IPS OD X 2" IP                                                                   $0.00                                 $143.00


           DR11MJA6DIPSK 6"
           DR11 DIPS OD HDPE                                                                $0.00                                 $524.64


           DR11MJA10DIPS 10" DR
           11 DIPS OD 160                                                                   $0.00                                 $314.00


           DR11458DIPS 8" DR11
           DIPS OD 160 PSI                                                                  $0.00                                 $114.40


           DR11CAP8DIPS 8" DR
           11 DIPS OD 160 P                                                                 $0.00                                 $130.00


           DR11MJA4IPSK 4" DR11
           IPS OD 160 PSI                                                                   $0.00                                 $305.76


           DR11MJA8DIPS 8" DR11
           DIPS OD 160 PS                                                                   $0.00                                   $71.64


           DR11FA6IPS 6" DR11
           IPS OD 160 PSI P                                                                 $0.00                                   $86.07


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           ELECTROCPLG8IPS 8"
           IPS OD HDPE ELEC                                                                 $0.00                                 $190.52


           ELECTROCPLG10IPS
           10" IPS OD HDPE EL                                                               $0.00                                 $247.43


           DR11MJA6DIPS 6" DR11
           DIPS OD HDPE M                                                                   $0.00                                 $182.00


           DR11R200X100IPS 2" X
           1" DR 11 IPS O                                                                   $0.00                                     $9.72


           CENTRAL PLASTICS
           TOP LOAD CLAMP PAR                                                               $0.00                                 $625.32


           DR11902IPS 2" DR11
           IPS OD 160 PSI P                                                                 $0.00                                   $31.80


           DR11T1IPS 1" DR 11 IPS
           OD 160 PSI P                                                                     $0.00                                   $20.00


           ELECTROCPLG10DIPS
           10" DIPS ELECTROF                                                                $0.00                                 $515.28


           WT7-075 WATTS 3/4 " #7
           DUALCHECK BA                                                                     $0.00                                   $23.40


           909AGS AIR GAP                                                                   $0.00                                   $20.00


           WOODFORD 34HF
           VACUUM BREAKER                                                                   $0.00                                   $42.03


           WOODFORD
           40SC-LH-BN 3/4"
           SELF-CLOSI                                                                       $0.00                                 $178.54


           WTFBV-3C-100NL 1"
           FULL PORT 1/4 TUR                                                                $0.00                                     $7.51


           WTFBV-3C-050NL 1/2"
           FULL PORT 1/4 T                                                                  $0.00                                   $12.96


           A423OBURG56L A423
           5'6" OPEN LEFT HY                                                                $0.00                               $2,171.13


           CL50TY8 ATLANTIC
           STATES 8" CLASS 50                                                               $0.00                               $2,359.74


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           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                                 $628.56


           CL52TY16 16" CLASS 52
           TYTON PIPE MC                                                                    $0.00                                 $909.90


           CL52TY14 14" CL52
           TYTON PIPE MCWANE                                                                $0.00                                 $862.00


           CL52TY30 30" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $2,340.00


           CL52TY10 10" CL52
           TYTON DUCTILE IRO                                                                $0.00                                 $526.11


           CL52TY20 20" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $1,320.80


           CL52TY24 24" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $1,655.40


           POLYWRAP20 20"X440'
           POLYWRAP 8mil F                                                                  $0.00                                 $120.12


           MUE142779 H-100/A-5
           BONNET "O" RING                                                                  $0.00                                     $5.86


           MUE194514 H-93/A-12
           O-RING PACKING                                                                   $0.00                                     $5.86


           MUE281951 A-4 OPEN
           LEFT HOLD DOWN N                                                                 $0.00                                   $47.25


           MUE290272 5-1/4" HOSE
           NOZZLE GASKET                                                                    $0.00                                     $6.41


           MUEA505 5 1/4"
           SHOE,LESS MJ ACC P/N                                                             $0.00                                 $640.37


           MUEA5110.5 HYDRANT
           OIL 10-1/2 OZ BO                                                                 $0.00                                   $30.43


           MUE194898 H-101/A-3
           HOLD DOWN NUT O                                                                  $0.00                                     $5.86


           MUE190348 BONNET
           ORING FOR 4-1/2 &                                                                $0.00                                     $7.15


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           HRPIA320-006 5-1/4 X 6"
           HYDRANT EXT                                                                      $0.00                                 $192.72


           HRPI184092 A-11 OPEN
           LEFT UPPER STE                                                                   $0.00                                 $861.12


           HRPI190354 5-1/4"
           REVERSIBLE MAIN V                                                                $0.00                                 $442.00


           H30E-50-60NPTM/CAP
           5" STORZ X 6" NP                                                                 $0.00                                 $147.83


           MUE285967 MUELLER
           HANDWHEEL OPEN LE                                                                $0.00                                 $328.19


           MUE285969 MUELLER
           HAND WHEEL OPEN L                                                                $0.00                                 $488.15


           MUE159734 CU-9 DISC
           STUD FOR A 6" M                                                                  $0.00                                   $37.35


           MUE173776 CU-8 STUD
           BUSHING FOR A 6                                                                  $0.00                                   $25.76


           MUE173903 CU-17
           RETAINING WASHER
           FO                                                                               $0.00                                 $101.29


           MUE195825 H615
           TAPPING SLEEVE END
           G                                                                                $0.00                                   $68.16


           H61544 4X4 H615
           MUELLER TAPPING SLE                                                              $0.00                                 $796.82


           MUE194677 RUBBER
           SIDE PACKING FOR 1                                                               $0.00                                   $11.93


           MUE194678 RUBBER
           SIDE PACKING FOR H                                                               $0.00                                     $8.83


           MUE198371 6X6
           RUBBER SIDE PACKING
           6                                                                                $0.00                                     $5.96


           CA-BRV-00 4" BULL
           RUN VALVE                                                                        $0.00                                   $63.00



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           METER JACKET                                                                     $0.00                                     $0.00


           H15209N-075 3/4"
           COMPRESSION CURB S                                                               $0.00                                 $167.40


           H15209N-100 1"
           COMPRESSION CURB
           STO                                                                              $0.00                                 $276.68


           H9310-2-100 1 MUELLER
           #2 REGULATOR                                                                     $0.00                                 $182.50


           MUE505142 1-1/4" SS
           INSERT FOR CTS                                                                   $0.00                                     $2.77


           MUE506139 1-1/2"
           STAINLESS STEEL IN                                                               $0.00                                     $6.72


           MUE506141 2"
           STAINLESS STEEL
           INSERT                                                                           $0.00                                    $-5.83


           H15008N-100 1" CC X
           COMPRESSION COR                                                                  $0.00                                   $82.56


           H15526N-075 3/4" COMP
           90 BRASS MUEL                                                                    $0.00                                   $68.20


           H10033N-200 2" CC
           PLUG SQUARE HEAD                                                                 $0.00                                   $25.81


           H15076N-075 3/4" 90
           BEND, INSIDE CO                                                                  $0.00                                   $58.72


           H15076N-100 1" 90
           BEND,INSIDE COPPE                                                                $0.00                                   $38.15


           MUE790119 21"
           INSULATING PAD                                                                   $0.00                                   $67.92


           MUE507831 3/4" 110
           COMPRESSION NUT                                                                  $0.00                                     $3.45


           H15457N-075 MUELLER
           3/4" LOW LEAD F                                                                  $0.00                                   $54.46




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           H15409N-100 1"
           COPPER TO IRON
           COMPR                                                                            $0.00                                   $42.92


           H15008N-050 1/2" CC X
           COMPRESSION C                                                                    $0.00                                   $56.36


           H15509N-058X075 5/8 X
           3/4 XS LEAD X                                                                    $0.00                                   $36.44


           MUE92656 1" 92656
           COMPRESSION NUT W                                                                $0.00                                   $86.36


           MUE92655 3/4"
           COMPRESSION THAW
           NUT                                                                              $0.00                                 $163.52


           MCD144G 1" GASKET
           FOR STAR NUT 14-4                                                                $0.00                                     $1.26


           MCD7113LK33NL
           K-HORN DUAL IN LINE
           C                                                                                $0.00                                 $164.43


           MCD741-2NL METER
           CORNERHORN K STYLE                                                               $0.00                                 $274.08


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                                   $98.01


           MCD74701Q-075 3/4"
           CORPORATION STOP                                                                 $0.00                                 $596.39


           MCD74701Q-100 1"
           CORPORATION STOP                                                                 $0.00                                 $200.46


           MCD74753-Q-075 3/4" Q
           COMP X MIP AD                                                                    $0.00                                 $334.18


           MCD74754-Q-075 3/4"
           FIP X COMP ADAP                                                                  $0.00                                   $47.91


           MCD747541-22-075 3/4"
           CTS PACK JOIN                                                                    $0.00                                   $72.88


           MCD747541P
           MCDONALD 3/4" LOW
           LEAD M                                                                           $0.00                                 $103.49



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                Name

           MCD74758-22-55-075NL
           3/4" UNION, CO                                                                   $0.00                                   $61.44


           MCD74758-22-55-075X10
           0NL 3/4" X 1"                                                                    $0.00                                 $338.89


           MCD74758-Q-150 1-1/2"
           COMPRESSION C                                                                    $0.00                                  $-77.35


           MCD74758-Q-200 2"
           COMPRESSION COUPL                                                                $0.00                                   $95.65


           MCD74758Q-075 3/4"
           3PC UNION TUBE C                                                                 $0.00                                 $110.97


           MCD74758Q-100 1"
           COMPRESSION COUPLI                                                               $0.00                                 $232.77


           MCD74761-Q-100 1"
           COMPRESSION 90 MC                                                                $0.00                                   $30.73


           MCD76100Q-100 1"
           76100Q CURB STOP B                                                               $0.00                                 $403.45


           H15451N-100 1"
           COMPRESSION X FIP
           AD                                                                               $0.00                                 $104.54


           H15071N-075 3/4"
           ADAPTER CST X COMP                                                               $0.00                                   $51.79


           H15403N-050 1/2"
           UNION, MUELLER LOW                                                               $0.00                                   $60.12


           H15071N-050 1/2" NO
           LEAD CST X COMP                                                                  $0.00                                   $81.26


           H15451N-050 1/2"
           COMPRESSION X FIP                                                                $0.00                                   $22.25


           H15526N-100 1"
           COMPRESSION 90,
           MUEL                                                                             $0.00                                   $21.89


           H15071N-100 1" COMP X
           FLARE ADAPTER                                                                    $0.00                                 $114.12




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           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                 $168.80


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                   $81.40


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                 $147.69


           SSINSERT125 1-1/4"
           STAINLESS STEEL                                                                  $0.00                                     $2.78


           417NL-T1H3 5/8" METER
           TAIL x 3/4" C                                                                    $0.00                                 $130.90


           MATCORTV8L 8"
           TAPPING VALVE OPEN
           LE                                                                               $0.00                                 $556.02


           KEN445904P 5-1/4"
           MAIN VALVE RUBBER                                                                $0.00                                 $211.22


           K-8140-NST-250 2-1/2"
           NST HOSE NOZZ                                                                    $0.00                               $1,139.88


           KENNEDY 3185332 1080
           SEAT RING                                                                        $0.00                                 $110.87


           KV757116L 16" MJ RW
           GATE VALVE,OPEN                                                                  $0.00                               $5,818.40


           KEN442761P COVER
           O-RING 6" RW C-509                                                               $0.00                                     $9.79


           KEN1066 MODEL 106 6"
           KENNEDY PLAIN                                                                    $0.00                               $1,136.09


           WHE3790 RATCH-CUT
           TUBE CUTTER, 5/16                                                                $0.00                                   $81.75


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $9.96


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $59.60


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                    $-3.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 460
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           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                     $6.24


           FLGGSKT8FF16 16" FLG
           1/8" RED FF RU                                                                   $0.00                                   $18.76


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $0.96


           FLGGSKT8R6 6" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $1.60


           FLGGSKT8R12 12" X
           1/8" RING, RED RU                                                                $0.00                                     $3.18


           FLTWSH050 1/2" USS
           FLAT WASHER                                                                      $0.00                                     $0.12


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $2.90


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $3.08


           HXBLT058250 5/8" X
           2-1/2" HEX BOLT,                                                                 $0.00                                     $4.32


           HXBLT075300 3/4" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $1.21


           HXBLT075350 3/4" X
           3-1/2" HEX BOLT,                                                                 $0.00                                   $71.40


           HXBLT100400 1" X 4"
           HEX BOLT, GRADE                                                                  $0.00                                     $3.36


           HXNUT050 1/2" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $0.93


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $8.33


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $12.25


           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $9.90


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 461
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                Name



           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                   $32.55


           HXBLT058300SS 5/8" X
           3" STAINLESS S                                                                   $0.00                                     $6.30


           HXNUT058SS 5/8"
           STAINLESS STEEL HEA                                                              $0.00                                     $6.40


           HXNUT050SS 1/2"
           STAINLESS STEEL HEX                                                              $0.00                                     $3.00


           B7 STUD-058300 5/8" X
           3" THREADED S                                                                    $0.00                                     $3.15


           HXBLT050300SS 1/2" X
           3" STAINLESS S                                                                   $0.00                                     $0.41


           HXBLT058200SS 5/8" X
           2" HEX BOLTS S                                                                   $0.00                                     $1.64


           HXBLT058250SS 5/8 X
           2-1/2 STAINLESS                                                                  $0.00                                   $13.04


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                     $6.98


           MJGSKT24 24" MJ
           GASKET                                                                           $0.00                                   $13.02


           MJSDRTG6 6" MJ x
           SDR35 TRANSITION G                                                               $0.00                                   $22.66


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $14.42


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $20.60


           MJTRGSKT10 10" MJ
           TRANSITION GASKET                                                                $0.00                                     $6.18


           TBLT075600 3/4" X 6"
           T-BOLT & NUT                                                                     $0.00                                   $24.72


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                   $48.36


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 462
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                Name



           MJSG4 4" MJ SPLIT
           GLAND                                                                            $0.00                                   $10.30


           MJGLD4DOM 4" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $476.76


           MJGLD6DOM 6" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $89.05


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $509.64


           MJGLD12DOM 12" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $142.48


           MJGLD8DOM 8" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $54.80


           MJGLD3D 3" DOMESTIC
           MJ GLAND                                                                         $0.00                                   $77.25


           TBLT058300 5/8" X 3"
           T-BOLT & NUT                                                                     $0.00                                     $2.00


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $52.50


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $13.09


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                   $28.44


           TBLT075500 3/4" X 5"
           T-BOLT & NUT                                                                     $0.00                                     $0.80


           TBLTF075350 3/4" X
           3-1/2" T-BOLT AN                                                                 $0.00                                   $41.60


           TBLTL075450 3/4" X
           4-1/2" LUG T-BOL                                                                 $0.00                                   $13.50


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $132.34


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $293.49


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 463
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           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $178.10


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $382.20


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                     $9.74


           MGP4F 4" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                     $6.98


           MGP6F 6" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $105.10


           MGP8F 8" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                   $65.76


           MGP10F 10" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                   $60.72


           MGP12F 12" MJ
           GASKET AND BOLT
           PACK                                                                             $0.00                                   $31.78


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                     $7.00


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $389.48


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $128.52


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $159.06


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $11.40


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $177.66


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $255.84




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                Name

           SACNUT075 3/4"
           SACRIFICIAL HEX NUT                                                              $0.00                                   $33.60


           EBA1103 3" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $30.69


           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                  $-16.35


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                  $-57.74


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $411.19


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $126.49


           EBA1112OS 12"
           OVERSIZE MEGALUG
           1112                                                                             $0.00                                 $155.50


           EBA2006PV 6" 2000PV
           MEGALUG EBAA                                                                     $0.00                                   $97.32


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $357.75


           EBA2110 EBAA 10"
           IRON 2100 SERIES M                                                               $0.00                                 $806.98


           PVP-C12 RESTRAINER
           FOR PVC PIPE DI                                                                  $0.00                                 $105.06


           SLC12 12" ONE-LOK
           RESTRAINT FOR PVC                                                                $0.00                                 $581.50


           SLC6 6" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $175.67


           SLC8 8" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $129.86


           SLD4 4" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $14.92


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $333.34


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           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                 $237.32


           GR-IP-6 ROMAC 6" IP
           GRIP RING GLAND                                                                  $0.00                                   $34.55


           MACROHP-11.90 10"
           MACRO HP 2 BOLT W                                                                $0.00                                 $609.96


           MACROHP-7.60 6"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $208.21


           MACROHP-9.75 8"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $235.77


           MACROHP-5.60 4"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $157.77


           DUCLUGS DUC LUGS                                                                 $0.00                                   $23.28


           IBLT058 5/8" EYE BOLT                                                            $0.00                                   $10.38


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $60.00


           RODCPLG058 5/8 ROD
           COUPLING                                                                         $0.00                                   $10.03


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                     $2.86


           PS-100-S ADJUSTABLE
           PIPE SUPPORT (1                                                                  $0.00                                 $143.25


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $54.40


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $65.40


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $78.92




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           WMC10 10"
           WATERMAIN CLAMPS
           450B-008                                                                         $0.00                                   $83.20


           WMC12 12"
           WATERMAIN CLAMPS
           450B-009                                                                         $0.00                                   $83.00


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $43.50


           BHA358 3/4" MALE
           GARDEN HOSE X 3/4"                                                               $0.00                                     $5.76


           BHA369 2-1/2" FNST X
           3/4" MIP BRASS                                                                   $0.00                                   $18.30


           BHA369 2-1/2" FNST X
           3/4" GARDEN HO                                                                   $0.00                                   $18.30


           BHA369 2-1/2" FNST X
           1" MIP BRASS A                                                                   $0.00                                   $27.00


           BHA369 2-1/2" FNST X
           1-1/2" MIP BRA                                                                   $0.00                                   $20.70


           BHA369 2-1/2" FNST X
           2" MIP ADAPTER                                                                   $0.00                                   $52.50


           BHA358 2-1/2" MNST X
           2" MIP BRASS A                                                                   $0.00                                   $31.20


           BHA357 3/4" FEMALE
           GARDEN HOSE x 3/                                                                 $0.00                                   $11.96


           BHAG250 2-1/2" NST
           BRASS HYDRANT AD                                                                 $0.00                                     $2.52


           CC8 BATCH ROLL 0.31"
           CONCRETE CLOTH                                                                   $0.00                                 $774.36


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $32.67


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $59.40




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           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $13.50


           FAP6FFSS 6" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $49.90


           FAP4FFSS 4" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $384.00


           FAP8FFSS 8" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $168.00


           FAP4FFZINC 4" FLANGE
           ACCESSORY PACK                                                                   $0.00                                     $8.40


           GALVNIP-200X600 2" X
           6" NIPPLE GALV                                                                   $0.00                                   $17.27


           GALVCAP-200 2"
           GALVANIZED
           THREADED                                                                         $0.00                                   $19.04


           GALV90-200 2" 90 BEND
           GALVANIZED G2                                                                    $0.00                                   $20.78


           BRNIP-075X200 3/4" X 2"
           BRASS NIPPL                                                                      $0.00                                   $12.61


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                   $12.81


           BRNIP-075X400 3/4" X 4"
           BRASS NIPPL                                                                      $0.00                                   $19.88


           BRNIP-075X600 3/4" X 6"
           BRASS NIPPL                                                                      $0.00                                   $12.45


           BRNIP-075XCLS 3/4" X
           CLOSE BRASS NI                                                                   $0.00                                     $3.88


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $15.80


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                   $28.88


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                   $10.67


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           BRNIP-200X1200 2" X
           12" BRASS NIPPL                                                                  $0.00                                 $135.12


           BRNIP-200X300 2" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $28.40


           BRNIP-200X400 2" X 4"
           BRASS NIPPLE                                                                     $0.00                                   $55.73


           BRBSH-125X075 1-1/4"
           X 3/4" BRASS B                                                                   $0.00                                   $10.28


           BRCPLG-200X150 2" X 1
           1/2" BRASS CO                                                                    $0.00                                  $-12.17


           BRUNION-075 3/4"
           BRASS UNION THREAE                                                               $0.00                                     $6.48


           BR90-075NL 3/4" 90
           BEND THREADED LO                                                                 $0.00                                   $16.76


           BR90-075SNL 3/4"
           STREET 90 BEND THR                                                               $0.00                                     $8.30


           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                   $25.80


           BR90-100SNL 1"
           STREET 90 BEND, THRE                                                             $0.00                                   $54.95


           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $55.70


           BR90-150SNL 1 1/2"
           BRASS STREET 90                                                                  $0.00                                   $95.89


           BR90-200SNL 2"
           STREET 90 BEND
           THREA                                                                            $0.00                                 $299.92


           BRBSH-075X025NL 3/4"
           X 1/4" LOW LE                                                                    $0.00                                     $4.12


           BRBSH-075X050NL 3/4"
           X 1/2" REDUCER                                                                   $0.00                                     $3.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 469
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                   $52.70


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $35.13


           BRBSH-200X125NL 2" X
           1-1/4" REDUCER                                                                   $0.00                                     $8.32


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                     $3.22


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                   $10.30


           BRCPLG-150NL 1-1/2"
           COUPLING THREAD                                                                  $0.00                                   $24.96


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $11.84


           BRCPLG-200NL 2"
           COUPLING, THREADED                                                               $0.00                                   $24.00


           BRPLG-075NL 3/4"
           PLUG, THREADED B74                                                               $0.00                                   $22.38


           BRPLG-100NL 1" PLUG
           THREADED, LOW L                                                                  $0.00                                     $7.38


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                   $18.66


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                   $24.04


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $18.30


           BRT-100X075NL 1" X
           3/4" REDUCING TE                                                                 $0.00                                     $8.58


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                   $11.77




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                Name

           BRT-200X150NL 2" X
           1-1/2" LOW LEAD                                                                  $0.00                                   $27.19


           BRUNION-075NL 3/4"
           BRASS UNION LOW                                                                  $0.00                                  $-11.16


           BRUNION-200NL 2"
           UNION, THREADED B7                                                               $0.00                                   $58.66


           BR45-200NL 2" 45
           BEND, THREADED 24                                                                $0.00                                   $52.47


           BRT-200X100NL 2" X 1"
           TEE, THREADED                                                                    $0.00                                   $23.82


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $77.14


           BRT-200X075NL 2" X
           3/4" TEE THREADE                                                                 $0.00                                   $95.29


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                     $9.84


           BRBSH-100X075NL 1" X
           3/4" HEX BUSHI                                                                   $0.00                                     $5.16


           BRT150X100NL 1-1/2" X
           1" TEE THREAD                                                                    $0.00                                   $16.64


           BRCAP150NL 1-1/2"
           LOW LEAD BRASS CA                                                                $0.00                                     $6.62


           BRCPLG-200X075NL 2"
           X 3/4" COUPLING                                                                  $0.00                                   $35.22


           MAT205TM4NL MATCO
           3/4" LOW LEAD BOI                                                                $0.00                                   $14.00


           521T05LF
           MATCO-NORCA 1" LOW
           LEAD CA                                                                          $0.00                                   $26.81


           521T04LF
           MATCO-NORCA 3/4"
           LOW LEAD                                                                         $0.00                                   $33.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 471
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                   $10.70


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $33.90


           DWT6 6" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $69.00


           FLORTAPE 1" X 150'
           FLUORESCENT ORAN                                                                 $0.00                                     $0.68


           REFMARKTAPE1X30RL"
           X 30' ROLL RED R                                                                 $0.00                                   $31.00


           REFMARKTAPE1X30Y
           1" X 30' YELLOW R                                                                $0.00                                   $31.00


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                     $2.64


           LS300C STANDARD
           LINK SEAL                                                                        $0.00                                   $11.34


           LS500C STANDARD
           LINK SEAL                                                                        $0.00                                   $49.22


           LS410C STANDARD
           LINK SEAL                                                                        $0.00                                   $12.38


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                 $120.00


           TERRATEX GS WOVEN
           GEOTEXTILE 12'-6"                                                                $0.00                                 $540.96


           TERRATEXNO4.5-15 15'
           X 360' 4.5 OZ                                                                    $0.00                                 $368.12


           GLOVES WORK
           GLOVES P/N 120T                                                                  $0.00                                     $6.24


           BT14 SLUSH BOOTS
           SIZE 14                                                                          $0.00                                   $25.90




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                Name

           HSMF ORANGE
           FIBERGLASS HYDRANT
           MARK                                                                             $0.00                                   $15.28


           HSM60RODON 60" FIG
           A HYDRAFINDER HY                                                                 $0.00                                 $174.00


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                     $5.90


           MARKING FLAG 4" X 5"
           WHITE 21" WIRE                                                                   $0.00                                 $142.50


           SVDOT 3012877
           DELUXE SAFETY VEST
           2                                                                                $0.00                                   $10.03


           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                   $77.43


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                   $63.84


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $13.30


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $45.22


           FOXTCRD
           INVERT-A-CAP RED
           SPRAY PAIN                                                                       $0.00                                     $2.88


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                     $2.66


           FOXTCYE
           INVERT-A-CAP YELLOW
           SPRAY P                                                                          $0.00                                   $62.16


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                   $10.46


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $43.84


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 473
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                Name



           MARKINGSTICK
           AERVOE PAINT
           MARKING S                                                                        $0.00                                   $13.71


           PVCCEMENTQT PVC
           CEMENT QUART GRAY
           M                                                                                $0.00                                   $39.80


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $58.14


           SLIKSTYX16 16 OZ
           SPRAY LUBE                                                                       $0.00                                   $13.64


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                                 $234.00


           FOXTCPK
           INVERT-A-CAP PINK
           SPRAY PAI                                                                        $0.00                                   $39.90


           LUBESWAB PIPE LUBE
           SWAB ITEM# GLSA                                                                  $0.00                                   $44.10


           RECTORSEALTB
           TRU-BLU PIPE THREAD
           SE                                                                               $0.00                                   $20.24


           LUBEQTBLUE QUART
           OF BLUE LUBE GLP32                                                               $0.00                                   $77.52


           FAK25 FIRST AID KIT
           ERB PN 17134 25                                                                  $0.00                                   $22.50


           GOGGLES- STANDARD
           SAFETY GOGGLES FO                                                                $0.00                                     $2.25


           03-030-016 MASTER
           METER DMMR/EMMR                                                                  $0.00                                   $64.29


           MMCAP24572009
           MASTER METER
           SCREW C                                                                          $0.00                                     $0.90


           MJ12-2MD-NAA-2
           MASTER METER
           MULTI-J                                                                          $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 474
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                Name

           MM25261209 5/8"
           MASTER METER CAST                                                                $0.00                                     $4.92


           MMBLMJEB3G5834GCI
           MASTER METER 5/8"                                                                $0.00                                 $510.75


           MMBLMJEBSTD5834GCI
           5/8" X 3/4" GALL                                                                 $0.00                                 $303.21


           MM03030030 MASTER
           METER USB TO SERI                                                                $0.00                                   $52.50


           965-010-16 MASTER
           METER ENCODER MOD                                                                $0.00                                 $945.00


           MMENCODER MASTER
           METER ENCODER MOD                                                                $0.00                                 $810.00


           MMOCTAVE232MODULE
           MASTER METER OCT                                                                 $0.00                                 $151.20


           O303-D1-D09 MASTER
           METER 3" OCTAVE                                                                  $0.00                               $1,623.83


           MMOCTAVEPULSEMOD
           WITHXTR MASTER MET                                                               $0.00                                 $253.13


           MUE194642 12"
           TAPPING SLEEVE END
           GA                                                                               $0.00                                   $51.44


           wade w8300mf co cover
           with secured                                                                     $0.00                                 $146.75


           MUE75818 MUELLER 8"
           SADDLE FOR B100                                                                  $0.00                                   $25.02


           8CL6P35 INSERTA TEE
           8" CLAY TILE X                                                                   $0.00                                   $39.00


           MUE506336 MUELLER
           INSTATITE REMOVAL                                                                $0.00                                     $3.69


           12" US MET HYD EXT
           MODEL 250 5 1/4                                                                  $0.00                                 $374.40


           21 BOTTOM PLATE
           GASKET FOR 5/8 X 3/                                                              $0.00                                     $0.72


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 475
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           4" FLANGE FLAP
           VALVE                                                                            $0.00                                 $141.06


           5/8"X 3/4" SENSUS SRII
           BOTTOM PLATE                                                                     $0.00                                     $1.44


           HXBLT075400SS 3/4" X
           4" HEX BOLT ST                                                                   $0.00                                   $27.36


           MUE36750 1"
           E-5/MEGACUT
           ADAPTER FOR                                                                      $0.00                                   $74.70


           SR-19 STAINLESS
           STEEL SHEAR RING                                                                 $0.00                                   $21.90


           V743 5-1/4"x16" Slide
           Type Valve Bo                                                                    $0.00                                   $92.04


           MCD4620G-150
           McDONALD 1-1/2"
           ROUND                                                                            $0.00                                     $3.20


           32# HIGH POTENTIAL
           MAGNESIUM ANODE                                                                  $0.00                                   $67.60


           REEDHDHS1438 1-7/16
           HEAVY DUTY HOLE                                                                  $0.00                                   $85.61


           PEIPS1X100 1" 200 PSI
           IPS POLYTUBIN                                                                    $0.00                                     $0.00


           NOR458 8" SOLVENT
           WELD SEWER 45 BEN                                                                $0.00                                 $120.72


           351-408 TAPTEE42 4 X
           2 PUSH ON X T                                                                    $0.00                                   $34.84


           LANESADT126 LANE
           12"X 6" HDPE SADDL                                                               $0.00                                 $213.50


           ROMACSST0906X6SS
           ROMAC 8"x 6" STAIN                                                               $0.00                                 $469.68


           117NL-H4F4 1" COMP X
           FIP ADAPTER LO                                                                   $0.00                                   $64.12




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           UFR1500-C-6-U 6" PVC
           JOINT RESTRAIN                                                                   $0.00                                 $541.65


           SDR35TT6 6" SDR35
           SOLVENT WELD TEST                                                                $0.00                                   $41.80


           DWV90150 1-1/2" DWV
           SCH 40 90 DEGRE                                                                  $0.00                                     $1.08


           6P26FB15+CC INSERTA
           TEE 6" SDR35 HU                                                                  $0.00                                 $232.17


           AG24SS ANIMAL
           GUARD 24" STAINLESS
           S                                                                                $0.00                                 $104.12


           8" DROP IN GRATE TO
           FIT HDPE 94-380                                                                  $0.00                                   $61.56


           19900450 6' CABLE
           CONNECTED TO 3G X                                                                $0.00                                $-250.02


           TUFGRIP1006 6"
           TUFGRIP FOR DUCTILE                                                              $0.00                                 $364.80


           HDHS1750 HEAVY DUTY
           CARBIDE TIPPED                                                                   $0.00                                   $88.33


           MUE311955 18"
           COMPOSITE SIDE
           LOCKIN                                                                           $0.00                                 $170.34


           NDS713 NDS 3" END
           OUTLET                                                                           $0.00                                   $11.25


           REE09317 DM2100110
           REED DRILLING MA                                                                 $0.00                               $1,322.82


           DR11BSAD32IPS 3" X
           2" DR11 IPS HDP                                                                  $0.00                                 $110.00


           H14258N-058X075NL
           MUELLER 3/4" CTS                                                                 $0.00                                 $118.08


           MMT3 REGISTER 3"
           MMT GALLONS DIRECT                                                               $0.00                                   $36.30




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           4012-0940-150-075C TPS
           EZ-MAX FULL                                                                      $0.00                                 $233.96


           EJ1310A 24" ROUND
           COVER, MARKED SEW                                                                $0.00                                 $378.48


           BK612SAW
           INSERT-A-TEE 6"
           BLACK HEAV                                                                       $0.00                                 $297.65


           MCD5601A5DOM
           MCDONALD 5'
           DOMESTIC C                                                                       $0.00                                 $416.40


           18RCP12LN 18" RCP X
           12" HDPE DUAL W                                                                  $0.00                                 $196.56


           6" DROP IN GRATE TO
           FIT HDPE 94-380                                                                  $0.00                                   $54.72


           HERC6551G TRUREAD
           REMOTE DISPLAY MU                                                                $0.00                                 $121.66


           GR06 6" STANDARD
           GRATE FOR
           CORRUGAT                                                                         $0.00                                   $25.93


           FHMLD-SML HYDRANT
           METER LOCK SMALL                                                                 $0.00                                 $140.00


           810-0962-A4 8" X 1" CC
           CB DOUBLE S                                                                      $0.00                                   $96.01


           T3SS07651011EX 6" OS
           X 1" CC TAPPIN                                                                   $0.00                                   $74.13


           CS22-773-075C 6" X
           3/4"CC SERVICE S                                                                 $0.00                                   $69.63


           POLYWRAP22 8"
           POLYWRAP 22' PERFS
           BY                                                                               $0.00                                 $117.40


           T3SS094410011EX 8" X
           1"CC (8.54- 9.                                                                   $0.00                                   $75.73


           HWW12 12"
           HARDWOOD WEDGE
           BUNDLE OF                                                                        $0.00                                 $378.00


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           TRU367-4392 6'
           LIGHTED CURB KEY, TR                                                             $0.00                                   $88.50


           QCRD120510001EX-HD
           W 4" X 12" WIDE Q                                                                $0.00                                   $88.20


           QCRS120765001EX 6" X
           12" REPAIR CLA                                                                   $0.00                                 $504.53


           QCRS150765001EX 6" X
           15" REPAIR CLA                                                                   $0.00                                 $307.73


           QCRS120984751EX-C 8"
           X 12" X 3/4"CC                                                                   $0.00                                 $151.62


           MCD74754Q-125X100
           1-1/4" Q CTS X 1"                                                                $0.00                                   $30.99


           SDR35SADYGASKET8X
           4 4" GASKET ONLY F                                                               $0.00                                   $27.50


           SDR35SADYGASKET6
           6" GASKET ONLY FOR                                                               $0.00                                   $40.00


           SML-4XP-A 4"
           BACKWATER VALVE
           SOCKET                                                                           $0.00                                   $21.00


           EBA1906 6" RESTRAINT
           HARNESS FOR C9                                                                   $0.00                                 $109.88


           QCRS-15-0742-001EX 6"
           X 15" QUICK C                                                                    $0.00                                 $306.98


           QCRS120984201EXC
           8"X12"X2"CC QUICK                                                                $0.00                                 $515.31


           QCRS120984001EX
           8"OS X 12" TPS QUIC                                                              $0.00                                 $257.28


           JOS88956 6" JOSAM
           FRESH AIR INLET N                                                                $0.00                                 $207.90


           MFO2NL 2" BRASS
           OVAL METER FLANGE
           X                                                                                $0.00                                   $60.48




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 479
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           T3SS-0765-7511EX 6"
           O.S. X 3/4" CC                                                                   $0.00                                   $74.13


           BHA369 2-1/2" FNST X
           1" MNST BRASS                                                                    $0.00                                   $51.22


           DRE38.75 3/4"
           DRESSER 8 COUPLING                                                               $0.00                                   $13.49


           2000-0984-260 8"
           HYMAX COUPLING RAN                                                               $0.00                                 $384.66


           2000-1226-260 10" O.S.
           HYMAX COUPLI                                                                     $0.00                                 $533.68


           4012-0940-150-EXT 8" X
           12" EZ-MAX F                                                                     $0.00                                 $196.69


           2000-0433-260 3"
           HYMAX COUPLING LOW                                                               $0.00                                 $100.39


           6000-1900-150
           COMPRESSION FITTING
           L                                                                                $0.00                                   $50.52


           4015-0940-150-EXT
           8.60"-9.40" 15" L                                                                $0.00                                 $452.20


           6000-1315-150 1" LONG
           BODY GALVANIZ                                                                    $0.00                                   $37.88


           2200-0563-0768-260 4" X
           6" HYMAX RE                                                                      $0.00                                 $451.45


           REED04391 T100 DRILL
           TAP, 1"CC THRE                                                                   $0.00                                 $150.96


           REEDT75 DRILL TAP,
           3/4"CC THREAD, #                                                                 $0.00                                 $113.71


           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                   $20.08


           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                   $15.15




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           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                     $8.77


           REERR1 1"
           REROUNDING TOOL,
           #06082 R                                                                         $0.00                                   $28.94


           REERW10 10" REED
           PIPE WRENCH, HEAVY                                                               $0.00                                   $17.81


           REERW12 12" PIPE
           WRENCH,HEAVY DUTY,                                                               $0.00                                   $41.10


           REERW18 18" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $33.26


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $63.10


           REERCR34 REED
           "ROUND IT"
           STRAIGHTNE                                                                       $0.00                                   $70.91


           DEB3 DEBURRING
           TOOL REED 04437                                                                  $0.00                                   $10.01


           REEDTMTC8 TAPPING
           COMPOUND 8OZ TUBE                                                                $0.00                                   $15.68


           ALTHRD0756 3/4" X 6'
           ALL THREADED R                                                                   $0.00                                   $36.00


           ALTHRD0586 5/8" X 6'
           ALL THREADED R                                                                   $0.00                                     $6.22


           ALTHRD0506P 1/2" X 6'
           ALL THREADED                                                                     $0.00                                     $7.56


           SDR26/3510 10"
           SDR26/35 HEAVY WALL                                                              $0.00                                 $262.50


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $21.70


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $140.03




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           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                                 $586.04


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $196.98


           SDR3515 15" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $140.21


           SDR35SW4 4" SDR35
           SOLVENT WELD SOLI                                                                $0.00                                 $214.20


           SDR35413 4" PVC
           SDR35 PVC GRAVITY S                                                              $0.00                                   $70.98


           SDR35813 8" PVC
           SDR35 PVC GRAVITY S                                                              $0.00                                   $36.60


           32686 6" SCH40 HUB x
           SDR35 SPIGOT A                                                                   $0.00                                   $13.24


           35-SADT244 24 X 4
           SDR35 SADDLE TEE                                                                 $0.00                                 $391.91


           35-SADY154 15 X 4
           SDR35 SADDLE WYE                                                                 $0.00                                   $41.27


           SDR26/35ADPT12 12"
           SDR26/35 ADAPTER                                                                 $0.00                                   $77.48


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                 $178.27


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $78.05


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $74.09


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $89.11


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $84.29




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                Name

           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                 $271.76


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $57.99


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                 $401.31


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $274.60


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $11.48


           SDR3590BXB8SW 8"
           SDR35 90 SOLVENT W                                                               $0.00                                   $54.87


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $109.02


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                 $230.53


           SDR3590BXP8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $65.52


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                     $9.61


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $53.99


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                   $97.16


           SDR35COA8 8"
           CLEAN-OUT ADAPTER,
           SDR                                                                              $0.00                                 $149.64


           PVCCOP8 8" RAISED
           CLEAN-OUT PLUG, S                                                                $0.00                                 $231.32


           SDR35PLG10 10" PVC
           SDR35 PLUG G1161                                                                 $0.00                                   $43.77


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                   $24.15


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           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                     $7.41


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $13.14


           SDR35R126 12 X 6 PVC
           SDR35 REDUCER                                                                    $0.00                                 $274.17


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                     $9.36


           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                 $230.09


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                   $28.65


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                   $66.97


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $97.88


           SDR35REPCPLG8 8"
           SDR35 REPAIR COUPL                                                               $0.00                                   $20.78


           SDR35S12 12" SDR35
           MAN HOLE SLEEVE                                                                  $0.00                                   $48.07


           SDR35SADT104 10" X 4"
           PVC SDR35 SAD                                                                    $0.00                                 $274.18


           SDR35SADT124 12X4
           PVCSDR35 SADDLE T                                                                $0.00                                 $349.70


           SDR35SADT64 6X4 PVC
           SDR 35 SADDLE T                                                                  $0.00                                   $35.26


           SDR35SADT84 8X4 PVC
           SDR 35 SADDLE T                                                                  $0.00                                   $88.66


           SDR35SADY84 8" X 4"
           SADDLE WYE PVC                                                                   $0.00                                   $88.60


           SDR35SADY86 8" X 6"
           SADDLE WYE PVC                                                                   $0.00                                   $55.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 484
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           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $32.12


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                   $33.67


           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                   $25.74


           SDR35T88 8" X 8" PVC
           SDR35 TEE G108                                                                   $0.00                                   $76.37


           SDR35TSW88 8" X 8"
           SDR35 SOLVENT WE                                                                 $0.00                                 $121.34


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                 $124.06


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $20.66


           SDR35TY66 6" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $24.09


           SDR35TY84 8" X 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $54.58


           SDR35Y108 10 X 8 PVC
           SDR35 WYE L301                                                                   $0.00                                 $285.51


           SDR35Y1212 12" X 12"
           PVC SDR35 WYE                                                                    $0.00                                 $222.09


           SDR35Y126 12" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $467.32


           SDR35Y128 12" X 8"
           PVC SDR35 WYE L3                                                                 $0.00                                 $349.06


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                 $957.38


           SDR35Y66 6" X 6" PVC
           SDR35 WYE G306                                                                   $0.00                                   $39.26


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                 $206.94


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 485
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           UNIPLG4 4" UNIVERSAL
           PLUGS G1184                                                                      $0.00                                   $48.30


           UNIPLG6 6" UNIVERSAL
           PLUG, G1186 35                                                                   $0.00                                   $96.30


           V-1715 3x4x4
           DOWNSPOUT ADAPTER
           OFFS                                                                             $0.00                                     $9.92


           8LN6P35 INSERTA TEE
           8" HDPE DUAL WA                                                                  $0.00                                 $109.98


           6x4 g946-4 6"SDR35
           SPIGOT X 4" DWVH                                                                 $0.00                                     $9.70


           SDR35RED106SW
           10"X6" SDR35
           REDUCER                                                                          $0.00                                   $59.32


           SDR35Y10SW 10"X6"
           SDR 35 WYE SOLVEN                                                                $0.00                                   $82.95


           SDR35SW4512 12"
           SDR35 45 B X B SOLV                                                              $0.00                                 $171.97


           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                 $562.60


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                 $127.60


           6" DWV SPIGOT X 6"
           SDR35 SOCKET ADA                                                                 $0.00                                   $39.28


           NORTY6 6" X 6"
           TEE-WYE SOLVENT
           WEL                                                                              $0.00                                   $78.63


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $26.18


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                 $134.88



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 486
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           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                 $159.76


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                     $4.79


           V-106 6" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                   $30.57


           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                     $5.81


           V-1104 4" PVC TEE WYE
           SEWER AND DRA                                                                    $0.00                                   $26.73


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $50.26


           V-1406 6" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $30.62


           V-1704 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                     $4.89


           V-1705 3" x 4" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $50.43


           V-304 4" PVC LONG
           TURN 90 BEND SEWE                                                                $0.00                                   $50.37


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                   $18.23


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $46.40


           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                   $27.34


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                   $27.17


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $56.92




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 487
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           V-604 4" NOR 45 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $85.61


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                   $37.70


           V-714 4" PVC 22 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $26.91


           V-716 6" PVC 22 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $10.14


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                   $10.47


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $45.05


           V-906 6" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $42.02


           V-9064 6" X 4" PVC WYE
           SEWER AND DR                                                                     $0.00                                 $122.06


           V-606 6" 45 B X S
           BEND,72760 NOR456                                                                $0.00                                   $45.55


           V-1714 2" x 3" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                 $192.86


           SV454 4" SOIL PIPE 45
           BEND                                                                             $0.00                                   $30.44


           SVBP4 4" BRASS
           CLEANOUT PLUG                                                                    $0.00                                   $25.83


           SVBP6 6" BRASS
           CLEANOUT PLUG ONLY
           J                                                                                $0.00                                   $59.96


           SVCOF2 2" SV Cleanout
           w/Plug                                                                           $0.00                                   $17.22


           SVBP8 8" BRASS PLUG
           JUMBO PN 1110-8                                                                  $0.00                                   $28.51


           DWV224 4" DWV SCH40
           22.5 BEND,BELL                                                                   $0.00                                   $23.48


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           DWV226 6" PVC DWV 22
           BEND, B X B P/                                                                   $0.00                                   $27.12


           DWV226P 6" BXP 22-1/2
           SCH40 PVC DWV                                                                    $0.00                                 $157.67


           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                 $164.35


           G322-0006 6" DWV
           GASKETED 45 BEND,                                                                $0.00                                   $35.66


           DWV45BXP6 6" PVC
           DWV 45 BEND B X S                                                                $0.00                                 $158.17


           DWV45BXS4 4" PVC
           DWV SCH40 45 BEND,                                                               $0.00                                   $17.13


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                     $9.96


           DWV906P 6" PVC
           SCHEDULE 40 DWV
           STRE                                                                             $0.00                                   $30.24


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $11.03


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                     $8.32


           DWVCPLG6 6" PVC
           DWV SCH40 COUPLING                                                               $0.00                                   $48.14


           DWVFA4 4" PVC DWV
           SCH40 FEMALE ADAP                                                                $0.00                                   $30.59


           DWVFA6 6" PVC DWV
           ADAPTER FEMALE X                                                                 $0.00                                 $345.46


           DWVRED64 6" X 4" PVC
           DWV REDUCER P/                                                                   $0.00                                   $19.42


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $15.51




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           DWVY44 4" PVC DWV
           SCH40 WYE, 71040,                                                                $0.00                                   $50.22


           DWVY64 6" X 4" SCH40
           PVC DWV WYE 71                                                                   $0.00                                   $36.94


           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                 $210.59


           G303-0066 6" X 6" DWV
           GASKETED TEE                                                                     $0.00                                   $92.11


           G306-0004 4" DWV
           GASKETED REPAIR CO                                                               $0.00                                   $81.21


           G306-0006 GPK
           DWVREPCPLG6 6" DWV
           GA                                                                               $0.00                                 $386.10


           G307-0044 4" X 4" DWV
           GASKETED WYE                                                                     $0.00                                 $245.08


           G307-0066 6" X 6" DWV
           GASKETED WYE                                                                     $0.00                                 $637.87


           G317-0006 6" DWV 22
           DEGREE BEND GAS                                                                  $0.00                                   $85.56


           G318-0004 GPK 4" DWV
           22 DEGREE BEND                                                                   $0.00                                   $30.81


           G318-0006 GPK 6" DWV
           22 DEGREE BEND                                                                   $0.00                                 $542.80


           G321-0004 4" DWV 45
           DEGREE BEND GAS                                                                  $0.00                                   $61.62


           G321-0006 6" DWV 45
           DEGREE BEND GAS                                                                  $0.00                                 $164.04


           G330-0004
           SDR26/35ADPT4G 4"
           ADAPTER                                                                          $0.00                                   $58.01


           SDR26/35ADPT6G 6"
           SDR26/35 ADAPTER                                                                 $0.00                                 $241.34




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           G322-0004 4" DWV
           GASKETED 45 BXP P/                                                               $0.00                                 $215.66


           G324-0006 GPK 6" DWV
           GASKETED 90 BE                                                                   $0.00                                 $136.52


           DWVBSH104 10" x 4"
           DWV REDUCER BUSH                                                                 $0.00                                   $25.77


           DWVFA8 8" DWV
           FEMALE ADAPTOR
           D1408                                                                            $0.00                                   $13.62


           DWVTY64 6 X 4 PVC
           SCH40 DWV TEE WYE                                                                $0.00                                   $17.52


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                     $2.64


           HDLT001520S0 15"
           SOLID LOKTITE HDPE                                                               $0.00                                $-129.60


           HDLT001220S0 12"
           SOLID LOKTITE HDPE                                                               $0.00                                   $99.60


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $848.00


           HWY6S 6" X 100' SOLID
           CORRUGATED HD                                                                    $0.00                                 $212.00


           HWY4P250 4" x 250'
           PERFORATED CORRU                                                                 $0.00                                 $487.50


           HDLT000620S0 6"
           SOLID LOKTITE HDPE                                                               $0.00                                   $40.00


           HDLT001020SO 10"
           SOLID LOKTITE HDPE                                                               $0.00                                   $88.00


           HWY4S250 4" x 250'
           SOLID CORRUGATED                                                                 $0.00                                   $97.50


           HWY4PS 4" X 250'
           PERFORATED WITH SO                                                               $0.00                                 $295.00




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           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                                 $675.00


           HDLT000420S0 4"
           SMOOTH WALL SOLID
           H                                                                                $0.00                                   $12.00


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                                 $185.20


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                                 $282.60


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                                 $120.60


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $111.60


           HDLT001220SPR 12"
           PERF F2648 HDPE L                                                                $0.00                                 $185.20


           HDLT000620SPR 6"
           PERFORATED LOKTITE                                                               $0.00                                   $37.20


           HWY8P 8" X 20' SINGLE
           WALL PERF COR                                                                    $0.00                                   $43.00


           JMEC24R 24" CORR
           SOLID CORRUGATED D                                                               $0.00                                 $562.40


           RG06 6" RAT GUARD,
           ZINC COATED                                                                      $0.00                                     $5.69


           HANENVIRONSCEP
           HANCOR
           ENVIROCHAMBER                                                                    $0.00                                   $16.12


           4" SPEED LEVELERS                                                                $0.00                                   $70.65


           HWYSCPLG8 8" HDPE
           SNAP COUPLING                                                                    $0.00                                   $10.31


           LANE456 6" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $64.90


           LANE4512 12" HDPE 45
           DEGREE BEND                                                                      $0.00                                   $49.28


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           LANESADT156 LANE
           15" X 6" HDPE SADD                                                               $0.00                                 $250.50


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $32.50


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $82.50


           HWYICPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $40.08


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                   $45.40


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $53.64


           HWYICPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $24.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $43.60


           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                 $136.00


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                     $3.47


           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                   $56.80


           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                     $3.80


           LANE9010 10" 90 BEND
           HDPE                                                                             $0.00                                   $75.50


           LANEY1010 10" HDPE
           WYE                                                                              $0.00                                   $75.63


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                 $113.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 493
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           LANE2215 15" HDPE 22
           DEGREE BEND, S                                                                   $0.00                                   $55.45


           HQCR1818 18 X 18 HQ
           CROSS                                                                            $0.00                                 $229.70


           CM16GAC12P 12" 16
           GAUGE, CORRUGATED                                                                $0.00                                 $172.00


           CMRRCPLG12 12"
           CORRUGATED
           REROLLED                                                                         $0.00                                 $104.50


           CMRRCPLG24 24"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $17.55


           CMDIMCPLG12 12"
           CORRUGATED DIMPLE
           C                                                                                $0.00                                   $51.60


           CMES12 12"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                   $41.50


           01-88 8" X 8"
           CLAY/CLAY COUPLING                                                               $0.00                                   $24.36


           01-1010 10 X 10
           CLAY/CLAY COUPLING                                                               $0.00                                   $33.86


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $12.52


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $66.97


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $27.23


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $103.00


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $30.93



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $36.10


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                   $64.51


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                   $71.40


           04-88 8 X 8 CONC/CONC
           COUPLING                                                                         $0.00                                   $77.67


           06-66 6" X 6"
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.11


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $51.83


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $23.81


           51-1010 10"
           AC-DI/CI-PLAS
           COUPLING                                                                         $0.00                                   $50.78


           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                     $4.05


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $2.75


           56-42 4" X 2" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $9.56


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $3.69


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $6.26


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $31.44


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $6.70




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 495
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $13.65


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $10.30


           56-125 1-1/4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $1.76


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $108.30


           56-1515 15" X 15"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $32.26


           56-2121 21" PVC X PVC
           RUBBER COUPLI                                                                    $0.00                                   $83.62


           56-2424 24" X 24"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $95.80


           1002-54 5" CLAY X 4"
           PVC/CI RUBBER                                                                    $0.00                                     $6.45


           FERSR-25 SHEER RING
           FOR 1056-66 COU                                                                  $0.00                                   $20.91


           QC4 4" RUBBER SEAL
           CAPS(QUICK CAPS)                                                                 $0.00                                   $20.67


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                   $21.29


           QC-108 8" RUBBER
           SEAL CAP (QUICK CA                                                               $0.00                                   $57.35


           1056-66RC 6"
           CI/PLASTIC x 6" CI/ PL                                                           $0.00                                   $32.53


           QS4 4" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                 $354.06




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 496
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                Name

           QS6 6" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                   $58.67


           1056-44SR 4" X 4" PVC x
           PVC COUPLIN                                                                      $0.00                                 $103.19


           1002-44SR 4" x 4"
           CLAY/PVC, C.I COU                                                                $0.00                                   $24.26


           1002-66SR 6" x 6"
           CI/PVC-CLAY COUPL                                                                $0.00                                   $37.53


           614-605 6" DONUT DWV
           SCH40                                                                            $0.00                                   $15.70


           QS-7x6HS 7" OD x 6"
           DEEP HOLE SAW W                                                                  $0.00                                 $325.00


           QS-5x6HS 5" OD x 6"
           DEEP HOLE SAW W                                                                  $0.00                                 $235.42


           WNTP6 6" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $53.50


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $12.35


           CHE262-080 8"
           MUNI-BALL WITH WITH
           B                                                                                $0.00                                 $138.60


           CHE270-067 6" TEST
           BALL PLUG CHERNE                                                                 $0.00                                 $119.24


           CHE262-064 6"
           MUNI-BALL WITH BY
           PAS                                                                              $0.00                                 $110.60


           CHE270-288 8" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                   $23.50


           CHE262-048 4"
           MUNI-BALL WITH
           BRASS                                                                            $0.00                                   $93.80


           TCTP6 6" T-CONE TEST
           PLUG ST-601Y                                                                     $0.00                                     $9.20




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 497
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           NDS1211 12" SQUARE
           GRATE, PLASTIC,                                                                  $0.00                                   $27.45


           NDS1243 4" GRATE
           OUTLET (UNIVERSAL                                                                $0.00                                   $82.17


           NDS1245 3"-4" OFFSET,
           UNIVERSAL LOC                                                                    $0.00                                     $4.00


           NDS13 4" ROUND
           GREEN GRATE, NDS                                                                 $0.00                                     $8.73


           NDS1512 15" ROUND
           GREEN GRATE, NDS                                                                 $0.00                                   $72.43


           NDS475P 4" PVC
           BACKWATER VALVE
           D010                                                                             $0.00                                   $32.78


           NDS50 6" ROUND
           GRATE GREEN FOR 6"
           S                                                                                $0.00                                     $6.06


           TR1-D4 MALE END
           DRAIN FOR TR1 TRENC                                                              $0.00                                   $12.50


           10LN6P35 INSERTA TEE
           10" HDPE DUAL                                                                    $0.00                               $1,687.51


           12P356IPS INSERTA
           TEE 12" SDR35 X 6                                                                $0.00                                 $585.90


           12P356P35 12" SDR35 X
           6" SDR35 GASK                                                                    $0.00                                 $146.74


           24RCP10LN INSERTA
           TEE 24" RCP X 10"                                                                $0.00                                 $288.20


           30CMP6P35 INSERTA
           TEE 30" CMP PIPE                                                                 $0.00                                   $83.70


           30LN12P35 INSERTA
           TEE 30" HDPE DUAL                                                                $0.00                                 $236.00


           30LN4IPS INSERTA TEE
           30"DUAL WALL X                                                                   $0.00                                 $167.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 498
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           30RCP6P35 INSERTA
           TEE 30" RCP PIPE                                                                 $0.00                                   $83.70


           36LN6P35 INSERTA TEE
           36" HDPE DUAL                                                                    $0.00                                   $83.70


           48LN12P35 INSERTA
           TEE 48" HDPE DUAL                                                                $0.00                               $1,295.20


           DF40124 12 X 4 DF
           GENECO SEWER SADD                                                                $0.00                                   $72.50


           INSERTATEEARBOR
           INSERTATEE ABROR
           FO                                                                               $0.00                                   $84.00


           EJ6208 10" FLAT
           GRATE CAST IRON, #6                                                              $0.00                                   $20.65


           GF18111-1 1" RISER
           FOR 6" CLEANOUT                                                                  $0.00                                   $48.00


           GF18111PC 6" PLAIN
           COVER ONLY FOR C                                                                 $0.00                                   $80.00


           GF18111SC 6" SEWER
           COVER ONLY FOR C                                                                 $0.00                                   $49.00


           EJ1310A 24" ROUND
           COVER, MARKED STO                                                                $0.00                                 $189.24


           MHEXT241PE 24" X 1"
           HIGH POLYETHYLE                                                                  $0.00                               $1,875.00


           MHEXT24150PE 24" X
           1-1/2" HIGH POLY                                                                 $0.00                                 $825.00


           MHEXT242PE 24" X 2"
           HIGH POLYETHYLE                                                                  $0.00                                 $375.00


           MHEXT262PE 26" X 2"
           HIGH POLYETHYLE                                                                  $0.00                                 $150.00


           MHEXT291PE 29" X 1"
           HIGH POLYETHYEN                                                                  $0.00                                   $80.00


           SC1032F 1032 ROUND
           FRAME, 24" X 7"                                                                  $0.00                                 $504.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 499
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SC1032SCU SYRACUSE
           CASTINGS 1032 CO                                                                 $0.00                                 $276.00


           HANSADT104 10X4
           HANCOR SADDLE TEE
           F                                                                                $0.00                                   $47.15


           BAU12 12" SMOOTH
           SOLID, BELL END, H                                                               $0.00                                 $177.20


           BAU4 4" SOLID
           SMOOTH BELL END
           HDPE                                                                             $0.00                                   $82.00


           BAU15 15"
           SMOOTH,SOLID, BELL
           END HD                                                                           $0.00                                 $630.00


           BAUCPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                     $2.95


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $15.56


           RBLHP LONGHANDLE
           POINTED SHOVEL UNI                                                               $0.00                                   $94.50


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $31.12


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $46.68


           RBTRAC TRACK SPADE
           UNI 47103                                                                        $0.00                                   $71.31


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $29.99


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $26.67


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                     $4.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $23.08



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 500
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           226-00045015-000 4" X
           15" REPAIR CL                                                                    $0.00                                 $106.41


           226-00048015-000 4" X
           15" REPAIR CL                                                                    $0.00                                 $102.71


           226-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $196.14


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $683.82


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $234.92


           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $139.97


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $162.06


           226-00132015-000 12" X
           15" REPAIR C                                                                     $0.00                                 $201.38


           244-00011306-000 1" x
           6" FULL CIRCL                                                                    $0.00                                 $118.70


           244-00019006-000 1-1/2"
           X 6" REPAIR                                                                      $0.00                                   $41.03


           245-00010506-000 SMITH
           BLAIR 3/4" X                                                                     $0.00                                   $30.39


           261-00045007-000 SMITH
           BLAIR 4" X 7                                                                     $0.00                                 $124.51


           261-00048012-000 4" X
           12-1/2" REPAI                                                                    $0.00                                 $272.04


           261-00048015-000 4" x
           15" REPAIR CL                                                                    $0.00                                 $100.71


           261-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $243.18


           261-00090512-000 8" X
           12-1/2"REPAIR                                                                    $0.00                                 $257.38



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                Name

           261-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $147.94


           261-00111012-000 10" X
           12-1/2" REPA                                                                     $0.00                                 $164.15


           261-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $198.76


           261-00132015-000 12" x
           15" REPAIR C                                                                     $0.00                                 $243.47


           274-00000480-000 4"
           CLAMP, 274-1031                                                                  $0.00                                 $220.17


           274-00000905-000 8"
           BELL JOINT LEAK                                                                  $0.00                                 $335.05


           317-00090509-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $62.22


           397-111007-000
           10"X3/4"CC (11.10 OD                                                             $0.00                                 $236.73


           441-00000945-900 8"
           COUPLING (9.05-                                                                  $0.00                                 $278.73


           525-00023800-003 2"
           COMPRESSION COU                                                                  $0.00                                   $47.43


           21345-245 482-21345 8"
           482 END CAP                                                                      $0.00                                 $110.30


           21347-245 482-21347 6"
           482 END CAP                                                                      $0.00                                   $37.30


           33804-069 441-33804 6"
           RW441 (7.25)                                                                     $0.00                                   $11.99


           150115-002 5/8" SPRING
           WASHER, STAI                                                                     $0.00                                   $25.04


           261-00037512-000 3" X
           12-1/2" REPAI                                                                    $0.00                                   $90.95


           482-00076506-900 SMITH
           BLAIR 6" (7.                                                                     $0.00                                 $107.89



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 502
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           372-00096709000
           8"x1"cc (9.27-9.67)                                                              $0.00                                 $172.89


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                                 $740.12


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $20.88


           AT-K-R Aqua Tap
           complete kit w/8 ad                                                              $0.00                               $1,695.00


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           LOW21-8E4D1-000
           1-1/4" X 1-1/16" HE                                                              $0.00                                 $111.75


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $75.00


           PICK MATTOCK WITH
           FIBERGLASS HANDLE                                                                $0.00                                   $17.23


           WWT19001 VS-ON
           VALVE SETTER, PART#                                                              $0.00                                   $51.87


           MUE682259 REPLACES
           PART MUE37904 MU                                                                 $0.00                                   $92.24


           MUE37905-R MUELLER
           ADAPTER NIPPLE,                                                                  $0.00                                 $179.97


           MUE40066-R MUELLER
           SMALL SADDLE GAS                                                                 $0.00                                     $6.56


           MUE40067-R MUELLER
           LARGE SADDLE GAS                                                                 $0.00                                   $25.82


           MUE40230 MUELLER
           LARGE SADDLE GASKE                                                               $0.00                                   $39.91


           MUE500706 MUELLER
           CHAIN HOOK NUT                                                                   $0.00                                   $19.36




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MUE505130 MUELLER
           1" ADAPTER FOR PL                                                                $0.00                                   $31.93


           MUE680540-R MUELLER
           COMBINATION DRI                                                                  $0.00                                 $189.28


           MUE680601-R MUELLER
           INSERTING TOOL                                                                   $0.00                                 $143.23


           MUE49626 BORING BAR
           COLLAR                                                                           $0.00                                   $21.66


           TP-R TEST PUMP
           (RENTAL UNIT)                                                                    $0.00                                 $962.50


           MUEB-101-R MUELLER
           B-101 DRILLING &                                                                 $0.00                               $2,309.99


           TELEKEY610 6'-10'
           ADJUSTABLE VALVE                                                                 $0.00                                 $281.25


           BLADEDI1220 12" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                   $14.94


           BLADECONC1220 12" X
           1/8" X 20MM CON                                                                  $0.00                                   $44.75


           BLADEDIDIA12 US
           SAWS 12" X 20MM/1"                                                               $0.00                                 $135.50


           LIQUIDGAUGE LIQUID
           GAUGE 0-300 PSI                                                                  $0.00                                   $19.11


           P67108 2 1/2" 160#
           LIQUID FILLED G                                                                  $0.00                                   $16.00


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                   $46.80


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                 $108.00


           VBRIS3 3" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                 $111.00


           VBRIS4 4" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $48.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 504
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           VBSCT2 2 PIECE
           SCREW TYPE VALVE
           BOX                                                                              $0.00                                 $104.00


           TRU367-5050 RITEHITE
           PAVING ADAPTER                                                                   $0.00                                   $52.00


           MUDPLUG VALVE BOX
           DEBRIS GUARD INFA                                                                $0.00                                   $22.45


           VBRIS150PE 1-1/2"
           POLYETHYLENE VALV                                                                $0.00                                   $33.00


           VBRIS2PE 2" HIGH
           POLYETHYLENE VALVE                                                               $0.00                                 $165.00


           BTSCVB2-22DOM
           39"-60" VALVE BOX, SC                                                            $0.00                                 $504.00


           CBEXT10012 1" X 12"
           CURB BOX EXTENS                                                                  $0.00                                   $95.12


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                   $25.48


           CBEXT1256 1-1/4" X 6"
           CURB BOX EXTE                                                                    $0.00                                 $166.00


           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                   $74.70


           CBROD05835 35" CURB
           BOX ROD 5/8" FO                                                                  $0.00                                 $171.28


           CBROD24 24" CURB
           BOX ROD 9/16"                                                                    $0.00                                   $55.73


           CBROD24SS 24" CURB
           BOX ROD 1/2" DIA                                                                 $0.00                                   $27.89


           CBROD29SS MUELELR
           29" CURB BOX ROD                                                                 $0.00                                   $59.47


           CBROD30SS 30"
           STAINLESS STEEL
           CURB                                                                             $0.00                                  $-57.84




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           CBROD33 33" CURB
           BOX ROD 9/16" MUE0                                                               $0.00                                   $19.02


           CBROD35 35" CURB
           BOX ROD 9/16" GENE                                                               $0.00                                 $114.54


           CBROD36SS 36"
           STAINLESS STEEL
           CURB                                                                             $0.00                                   $58.92


           CBROD39 39" CURB
           BOX ROD 9/16" MUE8                                                               $0.00                                     $9.55


           CBROD45 45" CURB
           BOX ROD 9/16"                                                                    $0.00                                 $136.28


           H10314-5-20 1" X 5'
           CURB BOX WITH T                                                                  $0.00                                   $27.12


           MCD5604 1-1/4 UPPER
           LESS ROD CURB B                                                                  $0.00                                 $112.65


           MUELLER
           H10314-650-20 6'6"
           CURB BOX                                                                         $0.00                                   $60.31


           TRU367-4282 2-1/2"
           OUTSIDE REPAIR L                                                                 $0.00                                   $25.73


           BTCBROD39DOM 39"
           CURB BOX ROD, MAD                                                                $0.00                                   $44.12


           BTCB6P 5'-6' CURB BOX
           FOR 3/4" - 1"                                                                    $0.00                                   $33.20


           BTCBEB56 5'6"
           ENLARGED BASE CURB
           BO                                                                               $0.00                                 $867.35


           BTCB5LR 5' CURB BOX
           LESS ROD BINGH                                                                   $0.00                                   $38.18


           BTCBEB56LR 5'6"
           CURB BOX WITH
           ENLAR                                                                            $0.00                                 $605.90


           BTCB6LR 6' CURB BOX
           WITH 2 HOLE LID                                                                  $0.00                                 $338.64



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           MATCO120WC-4 4"
           FLANGED SWING
           CHECK                                                                            $0.00                                 $376.71


           BF4CI 4" BLIND
           FLANGE, CAST IRON                                                                $0.00                                   $61.38


           BFT8X2CI 8" X 2" CAST
           IRON TAPPED B                                                                    $0.00                                   $93.00


           BFT8X2DI 8" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $186.00


           FL453DI 3" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                   $33.02


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $535.68


           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $103.70


           FLCONR32DI 3" X 2"
           FLANGED CONCENTR                                                                 $0.00                                   $30.23


           FLCONR43DI 4" x 3"
           FLANGED CONCENTR                                                                 $0.00                                   $45.57


           FLCONR64DI 6" X 4"
           FLANGED CONCENTR                                                                 $0.00                                   $71.15


           FLCONR84DI 8" X 4"
           FLANGED CONCETRI                                                                 $0.00                                 $106.95


           FLCONR86DI 8" x 6"
           FLANGED CONCENTR                                                                 $0.00                                 $116.72


           FLT3DI 3" FLANGED
           125# TEE DUCTILE                                                                 $0.00                                 $184.14


           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $305.04


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $254.36


           TCFC4DI 4" THREADED
           COMPANION FLANG                                                                  $0.00                                   $23.69


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           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           TCFS3 3" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           FLCR44DI 4" X 4"
           FLANGED CROSS DUCT                                                               $0.00                                 $128.34


           BFT4X3DI 4" X 3" BLIND
           FLANGE TAPPE                                                                     $0.00                                   $36.05


           FLFL41 4" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $184.68


           FLPE410 4" X 10'
           FLANGE X PLAIN END                                                               $0.00                                 $490.40


           FLPE42 4" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $157.60


           FLPE62 6" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                   $98.00


           FLPE63 6" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                 $123.60


           FLPE64 6" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $149.20


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $200.40


           FLPE68 6" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $503.20


           FLPE810 8" X 10'0"
           FLANGE X PLAIN E                                                                 $0.00                                 $422.00


           FLPE82 8" X 2' FLANGE
           X PLAIN END D                                                                    $0.00                                 $140.40


           FLPE84 8" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $210.80


           FLPE86 8" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $843.60


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           FLPE88 8" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $703.20


           FLFL41-2 4" X 1'2"
           FLANGE X FLANGE                                                                  $0.00                                   $97.20


           FLFL3-6 3" X 0'6"
           FLANGE X FLANGE D                                                                $0.00                                 $111.20


           PECTS.75X300BLUE
           3/4" X 300' BLUE C                                                               $0.00                                   $56.40


           PECTS1.5X100BLUE
           1-1/2" X 100' BLUE                                                               $0.00                                 $135.40


           PECTS1X100BLUE 1" X
           100' BLUE CTS 2                                                                  $0.00                                   $94.20


           PECTS1X500BLUE 1" X
           500' BLUE CTS 2                                                                  $0.00                                 $157.00


           PECTS2X300BLUE 2" X
           300' BLUE CTS 2                                                                  $0.00                                 $630.00


           PECTS2X500BLUE 2" X
           500' BLUE CTS 2                                                                  $0.00                               $1,050.00


           PEXCTS1X100 1"
           MUNICIPEX CTS
           TUBING                                                                           $0.00                                 $280.20


           TAILPC075NL 3/4" TAIL
           PIECE, LOW LE                                                                    $0.00                                   $97.99


           NEPLG075 3/4"
           LEATHER GASKETS
           FOR M                                                                            $0.00                                     $2.60


           METGSKT2 2" OVAL
           METER GASKET WITH                                                                $0.00                                     $5.70


           METGSKT1.5 1-1/2
           OVAL METER GASKET                                                                $0.00                                   $12.00


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                   $15.00



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           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                   $13.30


           NEPROVAL2 2"
           RUBBER OVAL DROP-IN
           ME                                                                               $0.00                                     $5.60


           NEPTAILPC58NL 5/8"
           LOW LEAD TAIL PI                                                                 $0.00                                   $15.19


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                 $109.60


           MFP150NL 1-1/2"
           BRONZE OVAL METER
           F                                                                                $0.00                                 $192.64


           MFP200NL 2" BRONZE
           OVAL METER FLANG                                                                 $0.00                                   $57.44


           NEPRG100 1" RUBBER
           GASKET FOR METER                                                                 $0.00                                     $8.00


           VB50010 5-1/4" X 10"
           SCREW TYPE TOP                                                                   $0.00                                 $127.34


           B5664SBS36 36" SLIDE
           VALVE BOX BOTT                                                                   $0.00                                 $400.77


           B505029 5-1/4" X 29"
           SCREW EXTENSIO                                                                   $0.00                                 $395.51


           VB70226 5-1/4 X 26"
           TOP SECTION FOR                                                                  $0.00                                   $42.98


           B6002 #6 VALVE BOX
           BASE 7341T, BIBB                                                                 $0.00                                 $372.67


           VB61336 5-1/4" X 36"
           SCREW TYPE 2PC                                                                   $0.00                                 $772.53


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                 $137.18


           VB60227 5-1/4" X 27"
           SCREW TYPE 2PC                                                                   $0.00                                   $42.98




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           B505020 BIBBY 5-1/4 " X
           20" SCREW E                                                                      $0.00                                 $434.27


           VB60117 5-1/4" X 17"
           SCREW TYPE TOP                                                                   $0.00                                 $561.69


           B5160S 5-1/4" COVER
           (SEWER) V8800 B                                                                  $0.00                                 $154.74


           BIBBY B-5190 / S881 5
           1/4" LOCK TYP                                                                    $0.00                                   $20.05


           V738 10" SLIDE TYPE
           TOP SECTION 5-1                                                                  $0.00                                   $18.19


           B2231 2-1/2" BIBBY
           CENTER RINGS V33                                                                 $0.00                                   $29.78


           V313 2-1/2" ENLARGED
           BASE V3130, BI                                                                   $0.00                                   $29.12


           SB24040 40" 2-1/2"
           CURB BOX BOTTOM                                                                  $0.00                                 $237.31


           B2050152 2.5" X 16"
           SCREW EXTENSION                                                                  $0.00                                   $61.93


           B2050151 2-1/2" X 9"
           SCREW EXTENSIO                                                                   $0.00                                 $191.02


           S172 2-1/2" TOP
           SECTION 30" LONG S1                                                              $0.00                                   $79.10


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                 $148.50


           SIGMA 94E CURB BOX
           SCREW-TYPE                                                                       $0.00                                   $48.00


           BADREGGAL BADGER
           METER REG GAL 100                                                                $0.00                                   $24.00


           2003CI 3" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $20.62


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                 $120.10



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 511
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           2006S 6" STEEL SIZE
           NAP200 UNIFLANG                                                                  $0.00                                   $90.08


           2008CI 8" SIZE NAP200
           UNIFLANGE CAS                                                                    $0.00                                   $41.69


           CMT1210 12" X 10"
           CAST MJ TEE                                                                      $0.00                                 $237.53


           DMAP618 6" X 18" DM
           ANCHOR PIPE                                                                      $0.00                                 $494.28


           DMAP624 6" X 24" DM
           ANCHOR PIPE                                                                      $0.00                                 $272.62


           DMAP672 6" X 72" DM
           ANCHOR PIPE                                                                      $0.00                                 $263.81


           DMAP812 8" X 12"
           ANCHOR COUPLING                                                                  $0.00                                 $141.02


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $37.53


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $232.26


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $86.51


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                   $25.28


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $122.06


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                 $355.50


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $116.13


           DMHT126 12" X 6" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $151.29


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $840.56



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           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMR128 12" X 8" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $74.26


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $90.06


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                   $88.48


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $238.58


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $90.06


           DMS6SP 6" MJ C153
           SLEEVES SHORT PAT                                                                $0.00                                   $33.97


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                   $74.26


           DMT128 12" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $170.25


           DMT43 4" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $45.82


           DMT86 8" X 6" MJ TEE,
           C153 DUCTILE                                                                     $0.00                                 $814.10


           DMTC42 4" X 2" MJ
           TAPPED CAP, C153                                                                 $0.00                                   $47.40


           DMTP142 14" X 2"
           DUCTILE MECHANICA                                                                $0.00                                 $162.35


           DMTT162 16" X 2"
           DUCTILE MECHANICAL                                                               $0.00                                 $593.29


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $101.52




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           DMB904DOM 4" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $63.02


           DMB906DOM 6" MJ
           C153 90 DEGREE BEND                                                              $0.00                                 $198.65


           DMB9012DOM 12" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $735.69


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $349.35


           DMB228DOM 8" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $113.71


           DMB2212DOM 12" MJ
           C153, 22-1/2 DEGR                                                                $0.00                                 $247.29


           DMB118DOM 8" 11-1/4
           DEGREE BEND,MJ                                                                   $0.00                                 $416.48


           DMT64DOM 6" X 4" MJ,
           C153 TEE, DUCT                                                                   $0.00                                 $515.12


           DMT66DOM 6" X 6" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                 $287.70


           DMT44DOM 4" X 4" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                   $84.26


           DMT88DOM 8" X 8" MJ
           TEE C153 DUCTIL                                                                  $0.00                                 $428.81


           DMT126DOM 12" X 6"
           TEE MJ,C153 DUCT                                                                 $0.00                                 $339.08


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $497.31


           DMHT126DOM 12" X 6"
           HYDRANT TEE,MJ                                                                   $0.00                                 $754.87


           DMR64DOM 6" X 4" MJ,
           C153 REDUCER D                                                                   $0.00                                 $115.08


           DMR86DOM 8" X 6" MJ,
           C153 REDUCER,                                                                    $0.00                                 $191.80



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           DMR126DOM 12" X 6"
           MJ REDUCER C153                                                                  $0.00                                 $182.90


           DMP6DOM 6" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $59.60


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $109.60


           DMC8DOM 8" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                 $561.02


           DMC12DOM 12"
           CAP,MJ,C153 DUCTILE
           IR                                                                               $0.00                                 $116.45


           DMTP122DOM 12" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $280.85


           DMTC42DOM 4" X 2" MJ
           TAPPED CAP C15                                                                   $0.00                                   $53.43


           DMTC62DOM 6" X 2"
           MJ,C153 TAPPED CA                                                                $0.00                                   $63.71


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $116.45


           DMS6LPDOM 6" MJ
           SLEEVE LONG C153 DU                                                              $0.00                                  $-87.00


           DMS8LPDOM 8" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $227.42


           DMS10LPDOM 10" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $341.13


           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                                 $540.47


           DMB456DOM 6" 45
           DEGREE BEND, MJ, C1                                                              $0.00                                 $164.40


           DMB226DOM 6" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                   $74.67


           DMT108DOM 10" X 8"
           MJ,C153 TEE, DUC                                                                 $0.00                                 $330.17


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           DMTT42DOM 4" X 2" MJ
           C153 TAPPED TE                                                                   $0.00                                   $89.74


           DMTT62DOM 6" X 2" MJ
           TAPPED TEE C15                                                                   $0.00                                 $115.77


           DMB903DOM 3" MJ 153
           90 DEGREE BEND                                                                   $0.00                                   $61.65


           DMTP82DOM 8" X 2"
           TAPPED PLUG,MJ C1                                                                $0.00                                 $109.60


           DMT33DOM 3" X 3" MJ
           TEE C153 DUCTIL                                                                  $0.00                                   $80.83


           DMB113D 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $32.88


           DMB453DOM 3" MJ
           C153 45 DEGREE BEND                                                              $0.00                                   $52.75


           DMS3LPDOM 3" MJ
           C153 SLEEVE LONG PA                                                              $0.00                                 $101.38


           DMR104DOM 10" X 4"
           MJ C153 REDUCER,                                                                 $0.00                                 $104.12


           DMFB1118 18" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $900.71


           MJGLDC1106 6" C-110
           FULL BODY GLAN                                                                   $0.00                                   $10.72


           MJGLDC11012 12" C110
           FULL BODY MJ G                                                                   $0.00                                 $390.00


           401-040 4" PVC SCH40
           TEE                                                                              $0.00                                     $7.94


           406-012 SPEARS 1-1/4"
           PVC SCH40 90                                                                     $0.00                                     $0.97


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $1.64


           406-040 4" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $5.35


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           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $3.89


           429-040 4" PVC
           COUPLING SCH40                                                                   $0.00                                     $2.46


           429-060 6" PVC SCH40
           COUPLING                                                                         $0.00                                     $7.76


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $0.54


           436-012 1-1/4" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $0.30


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $0.61


           437-291 2-1/2" X 1-1/2"
           SCH40 BUSHI                                                                      $0.00                                     $1.97


           449-040 SPEARS 4" PVC
           SCH40 PLUG (S                                                                    $0.00                                     $4.54


           450-020 2" THREADED
           PLUG PVC SCH 40                                                                  $0.00                                     $0.95


           H785-4 4" MUE H785
           SPLIT REP SLEEVE                                                                 $0.00                                 $395.55


           806-020 2" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                     $7.94


           829-020 2" PVC SCH80
           COUPLING S X S                                                                   $0.00                                     $9.88


           857-015 1-1/2 PVC
           SCH80 UNION                                                                      $0.00                                   $13.47


           875-020 2" X 2" PVC
           SCH80 WYE                                                                        $0.00                                   $17.05


           829-668 12" X 8" SCH80
           REDUCER COUP                                                                     $0.00                                 $410.16


           DR146 6" DR14 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $283.20


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DR148 8" DR14 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $648.80


           DR1810 10" DR18 C900
           DI OD PVC GASK                                                                   $0.00                                 $195.40


           DR1812 12" DR18 C-900
           DI OD PVC GAS                                                                    $0.00                               $1,103.20


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $912.80


           SDR21150 1-1/2" SDR21
           IPS OD PVC GA                                                                    $0.00                                   $93.44


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $538.88


           SDR214 4" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $304.92


           SDR216 6" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $58.80


           SDR218 8" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $99.60


           SDR21452 2" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $25.55


           SDR21RCPLG2 2"
           SDR21 REPAIR
           COUPLIN                                                                          $0.00                                   $19.53


           SDR21RCPLG4 4"
           SDR21 IPS OD PVC GAS                                                             $0.00                                   $24.17


           SDR21FIPA4 4" SDR 21
           IPS OD PVC GAS                                                                   $0.00                                   $26.54


           SDR21PLG8 8" SDR 21
           IPS OD PVC SPIG                                                                  $0.00                                   $51.88


           SDR21R32 3" X 2"
           SDR21 IPS OD PVC S                                                               $0.00                                   $15.63




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 518
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SDR21T64 6" X 4" SDR
           21 IPS OD PVC                                                                    $0.00                                 $395.60


           SDR21T66 6" X 6" SDR
           21 IPS OD PVC                                                                    $0.00                                   $97.40


           SDR21SCPLG2 2" SDR
           21 IPS OD PVC GA                                                                 $0.00                                   $16.45


           SDR21PLG150 1-1/2"
           SDR 21 IPS OD PV                                                                 $0.00                                     $7.75


           SDR21T32 3" X 2"
           SDR21 IPS OD PVC G                                                               $0.00                                   $84.65


           SDR21TT150X100 1-1/2"
           X 1" SDR 21                                                                      $0.00                                   $18.02


           GLENN TEST
           STATION...PLASTIC
           CATHOD                                                                           $0.00                                   $29.90


           DR11FIPA2IPS 2" DR11
           IPS OD 160 PSI                                                                   $0.00                                 $161.32


           WT909-EL-F 1-1/4 TO 2
           AIR GAP ELBOW                                                                    $0.00                                   $49.70


           WTLF25AUBZ3-075 3/4"
           25AUB WATER PR                                                                   $0.00                                   $61.41


           WTCV-100 1" WATTS
           BRASS SWING CHECK                                                                $0.00                                   $10.40


           WTFBV-3C-100NL 1"
           FULL PORT 1/4 TUR                                                                $0.00                                   $15.02


           WTFBV-3C-075NL 3/4"
           FULL PORT 1/4 T                                                                  $0.00                                   $25.10


           WTFBV-3C-150NL 1-1/2"
           FULL PORT BAL                                                                    $0.00                                   $69.20


           A423CORTLAND56
           MUELLER A423 HYD 5 1                                                             $0.00                               $2,171.13


           CL51TY12 12" CL51
           TYTON DUCTILE IRO                                                                $0.00                                 $516.64


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 519
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           CL56TY12 12" CL56
           TYTON DUCTILE IRO                                                                $0.00                               $1,029.80


           CL54TY8 8" CL54
           TYTON DUCTILE IRON                                                               $0.00                                 $505.26


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                                 $312.90


           CL52TY10 10" CL52
           TYTON DUCTILE IRO                                                                $0.00                                 $276.90


           CL56TY6 6" CL56
           TYTON JOINT DUCTILE                                                              $0.00                                 $458.40


           CL51SL8 8" CL51 SNAP
           LOK DUCTILE IR                                                                   $0.00                                 $522.00


           CL52SL8 8" CL52
           SNAPLOK RESTRAINED                                                               $0.00                               $1,188.00


           T-E-6000T 3.7 OZ.
           ADHESIVE                                                                         $0.00                                   $21.00


           T-FPT-200 2"
           FIBERPLAS TURBING
           PER                                                                              $0.00                                   $39.00


           T-FPU-210 FIBERPLAS
           UPPER OP NUT WI                                                                  $0.00                                   $55.00


           T-FPL-220 FIBERPLAS
           LOWER OP NUT                                                                     $0.00                                   $37.00


           POLYWRAP41 41"
           POLYWRAP FOR 20" DI                                                              $0.00                                 $117.26


           MUE184194 Mueller A-11
           Open Right U                                                                     $0.00                                 $131.73


           MUEA174 4-1/2" NST
           PUMPER NOZZLE CA                                                                 $0.00                                 $260.50


           MUEA205 5-1/4 HOSE
           NOZZLE O-RING 14                                                                 $0.00                                     $2.94




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 520
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                Name

           MUEA285 5-1/4"
           CENTURION HYDRANT
           A2                                                                               $0.00                                 $125.13


           MUEA320-010 A423
           5-1/4" X 12" HYDRA                                                               $0.00                                 $413.59


           MUEA316-4.5 4-1/2"
           NOZZLE WRENCH, 1                                                                 $0.00                                   $94.02


           MUEA5110.5 HYDRANT
           OIL 10-1/2 OZ BO                                                                 $0.00                                   $45.65


           MUE190356-1 A-46
           LOWER VALVE PLATE                                                                $0.00                                   $39.19


           MUEA155 5 1/4 PUMPER
           NOZZLE GASKET                                                                    $0.00                                     $9.68


           HRPIA301 5-1/4 SAFETY
           FLANGE REPAIR                                                                    $0.00                                   $85.68


           HRPIMUEA145 4-1/2"
           NST PUMPER NOZZL                                                                 $0.00                                 $326.56


           MUE285967 MUELLER
           HANDWHEEL OPEN LE                                                                $0.00                                 $164.10


           MUE156867-1 156867-1
           G202 OPERATING                                                                   $0.00                                   $34.14


           F2545NST56L 5-1/4"
           NST MEDALLION F2                                                                 $0.00                               $4,198.48


           CLO2640D6 DRAIN
           VALVE ASSEMBLY
           COMP                                                                             $0.00                                 $125.67


           CLO2640495
           BREAKFLANGE, 5-1/4",
           CLO                                                                              $0.00                                   $46.02


           CLO2640135 FLANGE
           BOLTS & NUTS, 5-1                                                                $0.00                                     $3.47


           CLO264014 FLANGE
           GASKET, 4-1/2" V.O                                                               $0.00                                   $21.24




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 521
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           WRENCH2500
           HYDRANT VALVE SEAT
           WRENC                                                                            $0.00                                 $282.61


           A26449 #4 STEM GUIDE
           17-24" FROM WA                                                                   $0.00                                 $150.40


           clo250052 weather
           shield for clow                                                                  $0.00                                   $24.37


           I0800091 HANDWHEEL
           FOR CLOW 6" NRS                                                                  $0.00                                   $28.91


           R1620617 SAFETY
           FLANGE SPLIT FOR F2                                                              $0.00                                   $28.73


           BR2B0474IP200 4" X 2"
           IPT DOUBLE ST                                                                    $0.00                                   $97.13


           BR2B0684CC150 6" X
           1-1/2CC DOUBLE S                                                                 $0.00                                 $102.97


           BR2B1104CC150 10"X
           1-1/2CC MUELLER                                                                  $0.00                                 $151.69


           BR2B1104CC200 10" X
           2"CC SADDLE, DO                                                                  $0.00                                 $162.97


           MUE780068 15" CENTER
           LOCKING PIT CO                                                                   $0.00                                   $91.93


           MUE790022 15"
           INSULATION PAD 4" THI                                                            $0.00                                   $15.88


           790055 3/4" #70
           WILKINS PRESS. REG                                                               $0.00                                 $298.51


           790056 1" #70 WILKINS
           PRESSURE REGU                                                                    $0.00                                 $117.88


           B25008N-075 3/4" BALL
           CORPORATION C                                                                    $0.00                                   $39.41


           H15053-150 1 1/2
           MUELLER COPPER GAS                                                               $0.00                                   $15.84


           H15053-200 2" COPPER
           GASKET FLARE,                                                                    $0.00                                   $14.13


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 522
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           H15209N-075 3/4"
           COMPRESSION CURB S                                                               $0.00                                 $223.20


           H15403N-075 3/4"
           COMPRESSION UNION                                                                $0.00                                   $15.23


           MUE504385 1"
           STAINLESS STEEL
           INSERT                                                                           $0.00                                     $1.76


           MUE505142 1-1/4" SS
           INSERT FOR CTS                                                                   $0.00                                     $2.77


           MUE581949 3/4" 110
           COMPRESSION GASK                                                                 $0.00                                     $6.46


           MUE581951 1" 110
           COMPRESSION
           GASKET                                                                           $0.00                                   $16.51


           MUE581955 MUELLER
           1-1/2" 100 COMPRE                                                                $0.00                                     $3.56


           MUE581957 2" 110
           COMPRESSION
           GASKET                                                                           $0.00                                     $3.69


           MUE780113 18"
           TOUCH-READ METER
           PIT                                                                              $0.00                                   $62.32


           MUE790153 18" X 4"
           METER PIT INSULA                                                                 $0.00                                   $25.29


           MUE83600 MUELLER
           REPAIR KIT                                                                       $0.00                                     $6.43


           H14258N-058X075X075
           5/8 X 3/4 X 3/4                                                                  $0.00                                 $129.62


           H15428N-075X100 3/4"
           COMPRESSION X                                                                    $0.00                                   $13.59


           H15172N-075 3/4" CURB
           STOP,110 COMP                                                                    $0.00                                 $147.06


           H10283N-100 1" FIP
           CURB STOP MUELLE                                                                 $0.00                                 $222.26


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 523
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           H10033N-100 1" CC
           PLUG SQUARE HEAD                                                                 $0.00                                   $44.76


           H10033N-150 MUELLER
           1-1/2 LOW LEAD                                                                   $0.00                                   $99.54


           H10003N-150x200
           MUELLER
           CORPORATION                                                                      $0.00                                 $134.21


           H14258N-058X075X100
           5/8" X 3/4" X 1                                                                  $0.00                                  $-35.81


           B2996N-150 1-1/2" CC X
           MIP BALL COR                                                                     $0.00                                 $308.94


           MUE507831 3/4" 110
           COMPRESSION NUT                                                                  $0.00                                     $3.45


           H14258N-100 1"
           COMPRESSION ANGLE
           ME                                                                               $0.00                                 $177.54


           H15020N-100 1" CC X
           FLARE CORPORATI                                                                  $0.00                                   $57.00


           B20003N-150x200
           MUELLER 1-1/2" LOW                                                               $0.00                                 $430.12


           MCD10J24 5/8 X 3/4" TO
           1" METER ADA                                                                     $0.00                                     $5.95


           MCD3825-8x1-1/2CC 8" x
           1-1/2CC SADD                                                                     $0.00                                 $409.87


           MCD74701-22-100NL 1"
           AY CC X PACK J                                                                   $0.00                                   $50.12


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                                   $49.01


           MCD74701BQ-100 1"
           4710BQ CORP STOP                                                                 $0.00                                 $193.35


           MCD74701Q-100 1"
           CORPORATION STOP                                                                 $0.00                                 $200.46




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 524
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MCD74753-Q-075 3/4" Q
           COMP X MIP AD                                                                    $0.00                                 $273.42


           MCD74753-Q-100X075 1"
           X 3/4" COMP X                                                                    $0.00                                   $50.44


           MCD74754Q-150 1-1/2"
           FIP ADAPTER, N                                                                   $0.00                                 $378.25


           MCD74758-22-075NL
           3/4" UNION, CTS X                                                                $0.00                                   $36.99


           MCD74758-Q-075X100 1"
           X 3/4" COUPLI                                                                    $0.00                                   $85.96


           MCD74758Q-075 3/4"
           3PC UNION TUBE C                                                                 $0.00                                 $129.47


           MCD74758Q-100 1"
           COMPRESSION COUPLI                                                               $0.00                                 $105.81


           MCD74758T-22-075X050
           3/4" X 1/2" CO                                                                   $0.00                                   $37.91


           MCD74759-22-050 1/2"
           COMPRESSION C                                                                    $0.00                                   $22.74


           MCD76001 1"
           MCDONALD NO LEAD
           BALL C                                                                           $0.00                                 $294.57


           MCD76100Q-100 1"
           76100Q CURB STOP B                                                               $0.00                                 $504.31


           MCD76100Q-150 1-1/2"
           COMPRESSION CU                                                                   $0.00                                 $482.76


           H15428-075X050
           MUELLER H-15428 1/2"                                                             $0.00                                   $26.97


           H15428N-075 3/4"
           COMPRESSION X MIP                                                                $0.00                                   $79.60


           H15451N-100 1"
           COMPRESSION X FIP
           AD                                                                               $0.00                                   $34.85




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           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                 $129.31


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $584.23


           202NL-H4H4 1" CB
           COMP X CB COMP BRA                                                               $0.00                                 $440.61


           202NL-H7H7 2" BALL
           CURB,CB COM X CB                                                                 $0.00                                 $592.50


           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                 $393.88


           301NL-A7H7 2" BALL
           CORP,CC X CB COM                                                                 $0.00                                 $353.58


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                   $40.05


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                 $218.65


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                 $111.07


           SSINSERT200 2"
           STAINLESS STEEL INSE                                                             $0.00                                   $37.71


           119NL-H6H6 1-1/2"
           COUPLING,CB COMP                                                                 $0.00                                 $123.61


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                 $274.52


           202NL-H3H3 3/4" BALL
           CURB STOP, LOW                                                                   $0.00                                 $878.99


           117NL-H6F6 1-1/2"
           COMP X FIP ADAPT                                                                 $0.00                                 $165.11


           117NL-H4M4 1"
           COMPRESSION X 1" MIP                                                             $0.00                                   $93.17


           311NL-A3H3 3/4" LEAD
           FREE CAMBRIDGE                                                                   $0.00                                 $362.80



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           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                   $44.96


           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                 $652.59


           202NL-F4F4 1" FIP X 1"
           FIP CURB STO                                                                     $0.00                                 $106.72


           CLOM0800070 CLOW 8"
           HANDWHEEL OL, O                                                                  $0.00                                 $132.16


           202B-750-CC3 6" X
           3/4CC BRONZE SADD                                                                $0.00                                   $35.83


           CSTEX12X8 12 X 8
           STAINLESS STEEL TA                                                               $0.00                                 $736.20


           CSTEX106AC 10" x 6"
           STAINLESS STEEL                                                                  $0.00                                 $447.35


           200M13W6L 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $802.91


           C-1000NL 3/4 X 4' BURY
           YARD HYDRANT                                                                     $0.00                                 $336.70


           B-50-B QUIK-FIX MODEL
           BF KIT 4" & 4                                                                    $0.00                                 $207.00


           K81A5NST56LY K81A
           NST 5'6" BURY HYD                                                                $0.00                               $2,099.24


           K81LEROYNY66
           KENNEDY HYDRANT
           6-1/2'                                                                           $0.00                               $2,189.00


           KV441692P VALVE TO
           HYDRANT GASKET F                                                                 $0.00                                   $52.80


           K81HYDEXT18 18" K81
           HYDRANT 5-1/4"                                                                   $0.00                                 $876.12


           K8144 2-1/2" NOZZLE
           CAP FOR HYDRANT                                                                  $0.00                                 $153.99




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           R-3 KENNEDY
           OPERATING NUT OPEN
           RIGH                                                                             $0.00                                   $16.52


           HRPIK81HYDEXT6 6"
           5-1/4 HYDRANT EXT                                                                $0.00                                 $186.91


           KV8068A4L 4" OS&Y
           FLANGED RW GATE V                                                                $0.00                               $1,176.26


           KV8068A8L 8" OS&Y
           FLANGED RW GATE V                                                                $0.00                               $1,403.89


           KV80714L 4" 8071 POST
           INDICATOR OPE                                                                    $0.00                                 $411.06


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $3.32


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $5.96


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $7.00


           FLGGSKT8FF10 10" X
           1/8" FULL FACED,                                                                 $0.00                                   $21.00


           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                   $12.48


           FLGGSKT8R6 6" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $3.20


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $2.94


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $3.36


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $1.02


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $24.75


           HXNUTF058 5/8" HEAVY
           HEX NUT FLOURO                                                                   $0.00                                     $3.00


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HXNUT075SS 3/4"
           HEAVY HEX NUT STAIN                                                              $0.00                                   $74.40


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $27.90


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                     $4.65


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $19.53


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $29.76


           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $56.27


           MJSDRTG4 4" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $23.18


           MJSDRTG10 10" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $28.84


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $15.45


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                   $12.88


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $25.75


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                     $7.21


           BW BRASS WEDGES                                                                  $0.00                                   $15.00


           MJGLD3 3" MJ GLAND                                                               $0.00                                     $5.58


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $18.14


           MJGLD8 8" MJ GLAND                                                               $0.00                                   $22.32


           MJGLD14 14" MJ
           GLAND                                                                            $0.00                                   $20.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 529
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                     $6.00


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                     $0.77


           TBLT075500 3/4" X 5"
           T-BOLT & NUT                                                                     $0.00                                     $0.80


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $30.54


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $61.65


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $352.80


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $43.83


           MGP16 16" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $18.00


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $325.28


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $73.44


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                 $223.92


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $14.46


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $117.80


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $160.74


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $437.06


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $166.90


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 530
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MCSSG10 McWANE 10"
           SURE STOP GASKET                                                                 $0.00                                 $113.74


           12FA-BC 12" FOSTER
           ADAPTOR WTTH MJ                                                                  $0.00                                 $174.95


           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $16.35


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $19.25


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $176.23


           EBA1110 10" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $434.72


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $758.96


           EBA2003PV EBAA 3"
           2000PV MEGALUG                                                                   $0.00                                   $74.44


           EBA2008PV 8" 2000PV
           MEGALUG EBAA                                                                     $0.00                                   $36.01


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                                   $71.55


           EBA808 8" EBAA SET
           SCREW PUSH-ON BE                                                                 $0.00                                 $114.80


           DSLDE6DOM 6" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                 $293.18


           DSLDE8DOM 8" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                 $279.61


           DUCLUGS DUC LUGS                                                                 $0.00                                   $81.48


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                     $8.59


           RODCPLG075SS 3/4"
           COUPLING NUTS, ST                                                                $0.00                                   $28.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 531
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           ALTHRD0756SS 3/4" x 6'
           THREADED ROD                                                                     $0.00                                 $504.00


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $27.20


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $16.35


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $59.19


           WMC12 12"
           WATERMAIN CLAMPS
           450B-009                                                                         $0.00                                   $83.00


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $39.00


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                   $10.67


           BRCPLG-150X100NL
           1-1/2" X 1" REDUCE                                                               $0.00                                   $73.61


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $50.85


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $37.00


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                   $52.80


           LS400C STANDARD
           LINK SEAL                                                                        $0.00                                   $11.93


           LS410C STANDARD
           LINK SEAL                                                                        $0.00                                   $37.14


           AME200WCUT CUT PC
           AME200W WOVEN GEO                                                                $0.00                                 $125.00


           AME480CUT CUT PCS
           AME480-15 NON-WOV                                                                $0.00                                   $74.70




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 532
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           ACF ENVIRONMENTAL
           SILT SACK 24" X 2                                                                $0.00                                   $25.00


           TERRATEXNO6 15' X
           300' NON-WOVEN GE                                                                $0.00                                 $660.00


           GLOVES WORK
           GLOVES WITH
           INSULATED L                                                                      $0.00                                     $6.54


           LEATHERGLOVEL
           UNLINED LARGE
           ROUGH                                                                            $0.00                                   $18.48


           SC32 32"
           STRETCHCORD #6182                                                                $0.00                                     $3.82


           HSM60RODON 60" FIG
           A HYDRAFINDER HY                                                                 $0.00                                   $14.50


           HYDRA-PM5 RODON
           HYDRANT MARKER 60"                                                               $0.00                                   $77.50


           SAFETY RED FLAGS
           24" X 24" WITH 36"                                                               $0.00                                     $3.39


           ANTISEIZE AERVOE 8
           OZ JAR                                                                           $0.00                                     $6.00


           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                   $34.71


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                   $13.30


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $50.54


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $39.90


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                   $66.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 533
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $24.66


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                                   $39.00


           FISHER FP-ID2100
           MAGNETOMETER,
           MAGN                                                                             $0.00                                 $611.00


           22143 4"X 3 FLANGE
           NH STD FRAME AN                                                                  $0.00                                   $94.00


           FLGGSKT8FF30 30" X
           1/8" FULL FACED,                                                                 $0.00                                   $20.56


           195705 BONNET
           REVOLVING NUT ORING
           F                                                                                $0.00                                     $2.13


           AMES30670 POSTHOLE
           DIGGER/TAMPER BA                                                                 $0.00                                   $23.80


           2000001754 BONNET
           LOCKING SCREW 5-1                                                                $0.00                                     $5.79


           BTVBR150 1-1/2" VALVE
           BOX RISER, US                                                                    $0.00                                 $140.66


           R3405AFG246 24" X 6"
           HIGH 3 FLANGE                                                                    $0.00                                 $309.00


           BTVBR2 2" VALVE BOX
           RISER DOMESTIC                                                                   $0.00                                   $12.44


           317-00051409-000 4" X
           1CC SADDLE (4                                                                    $0.00                                   $46.58


           2000-0075-0875-HEX
           LOWELL DOUBLE SH                                                                 $0.00                                   $61.00


           6000-0840-150 1/2"
           COMPRESSION COUP                                                                 $0.00                                   $12.70


           REEOWHEEL CUTTER
           WHEEL FOR TC1Q & T                                                               $0.00                                     $5.02




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 534
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                   $16.80


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $74.40


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                     $3.33


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                                 $376.74


           SDR35SW6P 6"
           SOLVENT WELD PERF
           PIPE                                                                             $0.00                                   $16.57


           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                                     $7.65


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                   $39.62


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $58.54


           SDR3522BXB8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $28.42


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $23.56


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $55.57


           SDR3522BXP8 8" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $29.70


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $39.66


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                 $110.72


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $28.17


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $13.38


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 535
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $80.26


           SDR3545BXP8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $53.82


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $22.96


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $95.24


           SDR3590BXP12 12" PVC
           SDR35 90 BEND                                                                    $0.00                                 $145.07


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $51.64


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $60.67


           SDR3590BXP8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $32.76


           SDR35CAP10 10" PVC
           SDR35 CAP G16010                                                                 $0.00                                 $151.96


           SDR35CAP12 12" PVC
           SDR35 CAP,G16012                                                                 $0.00                                   $76.10


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                     $6.41


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $41.99


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                   $64.78


           SDR35PLG10 10" PVC
           SDR35 PLUG G1161                                                                 $0.00                                   $43.77


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                     $7.41


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $52.56


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 536
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SDR35R84 8" X 4" PVC
           SDR35 REDUCER                                                                    $0.00                                 $102.26


           SDR35REPCPLG10 10"
           SDR35 REPAIR COU                                                                 $0.00                                   $92.23


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                   $66.97


           SDR35REPCPLG4 4"
           SDR35 REPAIR COUPL                                                               $0.00                                   $12.25


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $24.47


           SDR35REPCPLG8 8"
           SDR35 REPAIR COUPL                                                               $0.00                                   $20.78


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                 $160.60


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                   $59.24


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $41.31


           SDR35TY86 8" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $65.09


           SDR35Y156 15" X 6"
           PVC SDR35 WYE L3                                                                 $0.00                                 $614.09


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                   $25.64


           SDR35Y66 6" X 6" PVC
           SDR35 WYE G306                                                                   $0.00                                   $39.26


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                 $103.47


           PVCCOA4S 4" SDR35
           CLEANOUT ADAPTER                                                                 $0.00                                     $5.67




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 537
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           NOR4P 4"
           PERFORATED SEWER
           AND DRAIN                                                                        $0.00                                 $382.80


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                 $388.60


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $1.97


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $61.88


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $33.19


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                     $7.18


           V-1104 4" PVC TEE WYE
           SEWER AND DRA                                                                    $0.00                                   $95.48


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $38.74


           V-304 4" PVC LONG
           TURN 90 BEND SEWE                                                                $0.00                                   $23.86


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                   $22.79


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $46.40


           V-3404 4" HUB X PLAIN
           END 90 BEND S                                                                    $0.00                                 $145.75


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                 $123.15


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $21.35


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                   $59.52


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 538
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           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                 $332.49


           V-806 6" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                 $153.95


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                     $6.64


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $22.06


           DWVCPLG3 3" PVC
           DWV COUPLINGS P/N 7                                                              $0.00                                     $0.82


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                     $2.77


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $15.51


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                   $15.85


           HDLT000620SP 6"
           PERFORATED LOKTITE                                                               $0.00                               $2,120.00


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $848.00


           HWY4P250 4" x 250'
           PERFORATED CORRU                                                                 $0.00                                 $585.00


           HDLT000820SP 8"
           PERFORATED LOKTITE                                                               $0.00                                 $186.00


           HDLT001820SP LANE
           18" PERFORATED LO                                                                $0.00                                 $188.00


           HWY4PS 4" X 250'
           PERFORATED WITH SO                                                               $0.00                                 $885.00


           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                                 $810.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 539
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                               $1,389.00


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                               $1,695.60


           HDLT001520S0R 15"
           SOLID LOKTITE HDP                                                                $0.00                                 $120.60


           HDLT000820S0R 8"
           SOLID HDPE LOKTITE                                                               $0.00                                 $691.20


           HDLT000820SPR 8"
           PERFORATED HDPE CO                                                               $0.00                                 $518.40


           HDLT001820SPR 18"
           PERF CORR HDPE PI                                                                $0.00                                 $349.60


           LANET1212 12" HDPE
           TEE                                                                              $0.00                                 $250.20


           LANECAP12 12" HDPE
           END CAP                                                                          $0.00                                   $64.28


           LANECPLG24 24" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $47.20


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $32.50


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $33.00


           LANECPLG15 15" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $66.40


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                   $18.16


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $26.82


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $26.16




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 540
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                   $32.00


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                   $27.76


           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                   $56.80


           HWYT4 4" HWY TEE
           HDPE MOLDED SINGLE                                                               $0.00                                   $48.86


           HWYBT6 6" HDPE
           MOLDED SINGLE WALL
           B                                                                                $0.00                                   $16.36


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $4.66


           LANE904 4" HDPE 90
           BEND DOUBLE WALL                                                                 $0.00                                   $32.36


           HDPEES12 12" HDPE
           END SECTION                                                                      $0.00                                 $832.00


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $56.70


           LANECAP15 15" HDPE
           END CAP                                                                          $0.00                                   $86.07


           AGRIDRAINGR04 4"
           AGRI DRAIN METAL G                                                               $0.00                                   $57.82


           HWY906 6"
           CORRUGATED 90
           BEND, C-306                                                                      $0.00                                   $40.96


           ALUMINUMES15 15" AL
           END SECTION                                                                      $0.00                                 $414.00


           CMRRCPLG21 21"
           CORRUGATED
           RE-ROLLED                                                                        $0.00                                   $31.40


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                     $6.26


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $36.10


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                   $71.40


           06-1212 12" CONC/CI,
           PLASTIC COUPLI                                                                   $0.00                                   $19.76


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $18.05


           56-1818 18" X 18"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $71.40


           MR56-42ARC 4" X 2"
           MISSION REPAIR                                                                   $0.00                                   $15.61


           WNTP4 4" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $14.50


           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                   $18.20


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $12.35


           CHE270-229 CHERNE 2"
           INSIDE GRIPPER                                                                   $0.00                                     $5.52


           SSBANDING12 1 1/4" X
           .044 STAINLES                                                                    $0.00                                     $8.02


           EBV-P401AP 4" PVC
           EXTENDABLE BACKWA                                                                $0.00                                 $101.66


           POLYCOVER24 24"
           HEAVY DUTY COVER, 3                                                              $0.00                                   $28.85


           ROMACSADDLE4L
           4X14-24 ROMAC
           SADDLE                                                                           $0.00                                 $338.36


           ROMACSTRAPL 14-24"
           ROMAC STRAP ONLY                                                                 $0.00                                   $34.25




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           ROMACSTRAPS
           STRAPS FOR ROMAC
           SADDLE                                                                           $0.00                                   $25.43


           MSF268 MASS
           STANDARD 26" X 8"
           FRAME                                                                            $0.00                                 $300.00


           R1743FCSDOM R-1743
           FRAME AND SEWER                                                                  $0.00                               $2,926.00


           GF12441P 24" X 4"
           FRAME AND PLAIN C                                                                $0.00                                 $110.00


           R1743FCDOM R-1743
           FRAME AND DRAIN C                                                                $0.00                               $3,192.00


           R1743FRM4 32" X 4"
           FRAME ONLY, PN R                                                                 $0.00                                 $785.00


           R3570FG43 R-3570
           FRAME AND GRATE 4"                                                               $0.00                                 $940.00


           R3570FG44 FRAME AND
           GRATE 4" HIGH 4                                                                  $0.00                                 $189.00


           R3570FG83 R-3570
           FRAME AND GRATE 8"                                                               $0.00                               $1,881.00


           R3570FG84DOM FRAME
           AND GRATE 8" HIG                                                                 $0.00                               $3,344.00


           P-42 24" X 8" HIGH 3
           FLANGE FRAME A                                                                   $0.00                                 $157.72


           R3570F44 4" HIGH
           4-FLANGE FRAME ONL                                                               $0.00                               $1,008.00


           R3570GDOM R-3570
           GRATE ONLY, NEW HA                                                               $0.00                                 $897.00


           R-3588A NEENAH
           R-3588-A 8" HIGH 4 F                                                             $0.00                                 $990.00


           LAPC36F LAPERLE C-36
           32 X 6 FRAME O                                                                   $0.00                                 $337.43




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           SC4155 CLEANOUT
           FRAME & COVER 4155                                                               $0.00                                 $200.00


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                     $8.89


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                     $4.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $11.54


           317-00076007-000 6" X
           3/4"CC SADDLE                                                                    $0.00                                   $53.52


           317-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                 $321.12


           317-00101009-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $63.23


           317-00143213-000 12" X
           1-1/2"CC SAD                                                                     $0.00                                 $281.01


           317-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                 $200.40


           22392-045 SMITH BLAIR
           4" RW 441 (4.                                                                    $0.00                                     $7.60


           662-06900400-000 6" X
           4" TAPPING SL                                                                    $0.00                                 $284.79


           21348-045 SMITH BLAIR
           441-21348 6"                                                                     $0.00                                   $21.87


           21349-045 441-21349 6"
           RW441 (7.25)                                                                     $0.00                                   $32.81


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                   $37.99


           21360-045 SMITH BLAIR
           441-21360 12"                                                                    $0.00                                 $128.12


           22394-045 441-22394
           RW441(8.63) GLA                                                                  $0.00                                   $14.21



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           33804-069 441-33804 6"
           RW441 (7.25)                                                                     $0.00                                   $47.96


           33806-069 SMITH BLAIR
           441-33806 RW4                                                                    $0.00                                   $23.84


           33810-069 SMITH BLAIR
           441-33810 4"                                                                     $0.00                                     $9.18


           33811-069 441-33811
           SMITH BLAIR RW4                                                                  $0.00                                     $8.52


           33815-069 SMITH BLAIR
           441-33815 10"                                                                    $0.00                                   $16.33


           33817-069 441-33817
           12" RW441(12.7                                                                   $0.00                                   $39.22


           33820-069 441-33820
           SMITH BLAIR RW4                                                                  $0.00                                   $36.43


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                   $23.84


           55126-045 441-55126 6"
           441 ROCKWELL                                                                     $0.00                                   $20.42


           90276-002 437-90276
           RW437 5/8 X 13                                                                   $0.00                                 $134.30


           90281-005 441-90281
           RW441 5/8X8 BOL                                                                  $0.00                                     $9.32


           662-13200800-000 12" X
           8" TAPPING S                                                                     $0.00                                 $451.78


           662-11100800-000 10" X
           8" TAPPING S                                                                     $0.00                                 $418.02


           150115-002 5/8" SPRING
           WASHER, STAI                                                                     $0.00                                   $18.78


           313-00069015-000
           SMITH BLAIR 6"X2"                                                                $0.00                                   $32.03


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $20.88


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 545
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           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                     $5.00


           WWT10000 4" HAND
           PENT WRENCH 10000,                                                               $0.00                                     $7.81


           WWT10003
           WATERWORKS TOOL 4'
           T-HANDL                                                                          $0.00                                   $23.99


           LOW21-8C4Q1-0000 4 IN
           1 HEAVY DUTY                                                                     $0.00                                   $76.00


           MUE500675 LOCK
           SCREW FOR FOR B-101                                                              $0.00                                     $1.83


           MUE500683 MUELLER
           CHAIN YOKE FOR B                                                                 $0.00                                 $217.29


           MUE500693 MUELLER
           KNOCK OUT PIN FOR                                                                $0.00                                   $34.99


           MUE500709 MUELLER
           HOOK FOR B-101 DR                                                                $0.00                                   $45.17


           MUE680540
           COMBINATION DRILL &
           TAP,                                                                             $0.00                                 $189.28


           MUE75812 SADDLE
           (FOR DUCTILE IRON &                                                              $0.00                                   $35.16


           MUE500670 MUELLER
           O-RING FOR B-101                                                                 $0.00                                     $6.65


           H143210 MUELLER
           MUEA368 14" LONG MU                                                              $0.00                                   $55.20


           MUE500692 BEARING
           FOR B-101 DRILLIN                                                                $0.00                                   $54.16


           MUE147346 POST
           INDICATOR CAP OLD
           ST                                                                               $0.00                                   $15.66


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           VJMS4 4" VIKING
           JOHNSON MAXISTEP
           NY                                                                               $0.00                                   $52.56


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                  $-72.80


           VBRIS1 1" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $23.40


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                    $-6.00


           VBSLT2NE 2PC SLIDE
           TYPE VALVE BOX N                                                                 $0.00                                 $150.00


           BRASS COTTER PINS
           FOR CURB BOX RODS                                                                $0.00                                   $23.74


           CBCOV1 1"-2 HOLE
           CURB BOX COVER MAR                                                               $0.00                                     $5.38


           CBEXT10012 1" X 12"
           CURB BOX EXTENS                                                                  $0.00                                   $15.85


           CBEXT1003 1" X 3"
           CURB BOX EXTENSIO                                                                $0.00                                   $12.04


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                   $12.74


           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                 $697.20


           TRU367-4283 3"
           OUTSIDE REPAIR LID                                                               $0.00                                   $16.60


           BTCB7P 6'- 7' PLUG
           COVER CURB BOX L                                                                 $0.00                                   $74.70


           BF4DI 4" BLIND
           FLANGE,DUCTILE IRON                                                              $0.00                                   $61.38


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                   $93.93




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 547
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BF8DI 8" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                   $78.59


           BFT6X2DI 6" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $121.83


           BFT8X2DI 8" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $93.00


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $200.88


           FL9064DI 6" X 4"
           FLANGED REDUCING 9                                                               $0.00                                 $206.46


           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $414.78


           FL9084 8 X 4 FLANGE
           REDUCING 90 BEN                                                                  $0.00                                 $140.43


           FL908DI 8" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $340.38


           FLCONR84DI 8" X 4"
           FLANGED CONCETRI                                                                 $0.00                                 $106.95


           FLCONR86DI 8" x 6"
           FLANGED CONCENTR                                                                 $0.00                                 $350.15


           FL9086DI 8" x 6"
           FLANGED REDUCING 9                                                               $0.00                                 $159.50


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $122.30


           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $152.52


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $254.36


           PECTS1.5X100BLUE
           1-1/2" X 100' BLUE                                                               $0.00                                 $135.40


           PECTS1.5X300BLUE
           1-1/2" X 300' BLUE                                                               $0.00                                 $203.10


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           PECTS1X300BLUE 1" X
           300' BLUE CTS 2                                                                  $0.00                                   $94.20


           PECTS2X300BLUE 2" X
           300' BLUE CTS 2                                                                  $0.00                                 $315.00


           FLO-110-20 2"
           FLOCONTROL IPS PVC
           CO                                                                               $0.00                                     $6.56


           FLO110-30 3" IP
           COMPRESSION
           COUPLIN                                                                          $0.00                                   $16.15


           PECTS2X200BLUE 2" X
           200' BLUE CTS 2                                                                  $0.00                                 $210.00


           CT200K20 2" X 20' TYPE
           K SOFT COPPE                                                                     $0.00                                 $694.80


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                   $10.00


           TW12B500 #12 TRACER
           WIRE 500' COIL                                                                   $0.00                                   $85.00


           MFP150 1-1/2" BRONZE
           METER FLANGE P                                                                   $0.00                                   $50.73


           B5664SBS36 36" SLIDE
           VALVE BOX BOTT                                                                   $0.00                               $1,923.70


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                 $285.80


           V747 5-1/4" X 26" SLIDE
           TYPE TOP SE                                                                      $0.00                               $2,191.73


           V852 12" ADJUSTABLE
           SCREW RISER, BI                                                                  $0.00                                 $232.55


           V7356 BIBBY PART 7356
           60" SLIP VALV                                                                    $0.00                                 $625.86


           V-829 1" VALVE BOX
           RISER, BIBBY                                                                     $0.00                                   $54.11



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           GF36500 94E CURB BOX
           ENLARGED BASE                                                                    $0.00                                     $8.00


           GF41066 4-1/2 - 5-1/2'
           BURY ERIE BO                                                                     $0.00                                 $288.00


           GF49036 36" CURB BOX
           ROD                                                                              $0.00                                     $5.00


           GF36095E 95E SLIDE
           TYPE CURB BOX CO                                                                 $0.00                                   $36.00


           GF41084 6'-7' BURY
           ERIE BOX WITH PL                                                                 $0.00                                 $108.00


           2004CI 4" CI SIZE
           NAP200 UNIFLANGE                                                                 $0.00                                   $27.87


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $60.05


           2008CI 8" SIZE NAP200
           UNIFLANGE CAS                                                                    $0.00                                   $83.39


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                 $160.37


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $24.10


           DMB904P 4" MJ X PE 90
           DEGREE BEND C                                                                    $0.00                                   $36.34


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMR86 8" X 6"
           REDUCER, MJ, C153
           DUC                                                                              $0.00                                   $42.27


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $101.52


           DMB908DOM 8" MJ
           C153 90 DEGREE BEND                                                              $0.00                                 $145.91


           DMB906DOM 6" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $99.33


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           DMB9012DOM 12" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $735.69


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $263.73


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $698.70


           DMB4510DOM 10" 45
           DEGREE BEND, MJ C                                                                $0.00                                 $167.83


           DMB224DOM 4" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $101.38


           DMB228DOM 8" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $454.84


           DMB114DOM 4" MJ
           C153 11-1/4 DEGREE                                                               $0.00                                   $45.21


           DMB116DOM 6" MJ
           11-1/4 DEGREE BEND                                                               $0.00                                   $76.72


           DMB118DOM 8" 11-1/4
           DEGREE BEND,MJ                                                                   $0.00                                 $312.36


           DMB1112DOM 12" MJ
           C153, 11-1/4 DEGR                                                                $0.00                                 $234.27


           DMT64DOM 6" X 4" MJ,
           C153 TEE, DUCT                                                                   $0.00                                 $128.78


           DMT66DOM 6" X 6" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                 $143.85


           DMT44DOM 4" X 4" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                 $168.51


           DMT88DOM 8" X 8" MJ
           TEE C153 DUCTIL                                                                  $0.00                                 $428.81


           DMT106DOM 10" X 6"
           MJ,C153 TEE DUCT                                                                 $0.00                                 $561.70


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $165.77


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           DMHT86DOM 8" X 6" MJ
           C153 HYDRANT T                                                                   $0.00                                 $413.74


           DMHT106DOM 10" X 6"
           MJ C153 HYDRANT                                                                  $0.00                                 $325.38


           DMHT126DOM 12" X 6"
           HYDRANT TEE,MJ                                                                   $0.00                                 $377.44


           DMR86DOM 8" X 6" MJ,
           C153 REDUCER,                                                                    $0.00                                 $383.60


           DMR106DOM 10" X 6"
           MJ C153 REDUCER                                                                  $0.00                                 $104.12


           DMR126DOM 12" X 6"
           MJ REDUCER C153                                                                  $0.00                                 $365.79


           DMR128DOM 12" X 8"
           MJ C153 REDUCER                                                                  $0.00                                 $187.01


           DMP4DOM 4" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $75.35


           DMP8DOM 8" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $84.94


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $109.60


           DMC4DOM 4" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                   $58.91


           DMC8DOM 8" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                   $62.34


           DMC12DOM 12"
           CAP,MJ,C153 DUCTILE
           IR                                                                               $0.00                                 $116.45


           DMTP102DOM 10" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $115.77


           DMTP122DOM 12" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $140.43




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 552
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           DMTC42DOM 4" X 2" MJ
           TAPPED CAP C15                                                                   $0.00                                   $53.43


           DMTC62DOM 6" X 2"
           MJ,C153 TAPPED CA                                                                $0.00                                   $63.71


           DMTC82DOM 8" X 2" MJ
           C153 TAPPED CA                                                                   $0.00                                   $86.31


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $116.45


           DMS6LPDOM 6" MJ
           SLEEVE LONG C153 DU                                                              $0.00                                 $347.98


           DMS8LPDOM 8" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $454.84


           DMS10LPDOM 10" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $341.13


           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                                 $180.16


           DMB456DOM 6" 45
           DEGREE BEND, MJ, C1                                                              $0.00                                 $411.00


           DMB226DOM 6" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $149.33


           DMT124DOM 12" X 4"
           TEE, MJ, C153, D                                                                 $0.00                                 $306.20


           DMR108DOM 10" X 8"
           MJ,C153 REDUCER                                                                  $0.00                                 $113.71


           DMR84DOM 8" X 4"
           REDUCER, MJ,C153 D                                                               $0.00                                   $89.05


           DMTP82DOM 8" X 2"
           TAPPED PLUG,MJ C1                                                                $0.00                                 $109.60


           DMY66DOM 6" X 6" MJ
           C153 WYE, DUCTI                                                                  $0.00                                 $190.43


           PVC40410P 4" PVC
           SCH40 DWV BELLED E                                                               $0.00                                 $173.00



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PVC40610B 6" SCH40
           BELL x PLAIN END                                                                 $0.00                                   $32.30


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                                 $449.80


           PVC408BE 8" SCH40
           PVC BELLED END PI                                                                $0.00                                 $286.20


           401-015 1-1/2" PVC
           SCH40 TEE                                                                        $0.00                                     $3.69


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $1.07


           401-030 3" PVC SCH40
           TEE                                                                              $0.00                                     $9.75


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $0.74


           417-040 4" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $6.97


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $0.54


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $3.69


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $0.61


           S3629-012 1 1/4" PVC
           TRUE UNION 20                                                                    $0.00                                   $24.05


           801-020 2" PVC SCH80
           TEE                                                                              $0.00                                     $7.07


           806-020 2" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                     $1.99


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                     $5.46


           836-030 3" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                     $6.89



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           836-040 4" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $36.76


           854-080 8" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $31.44


           2329-020 2" PVC TRUE
           UNION BALL VAL                                                                   $0.00                                   $83.99


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                   $76.04


           DR186 6" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $225.60


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $83.40


           SDR21453 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $36.95


           SDR21903 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $18.48


           SDR21RCPLG2 2"
           SDR21 REPAIR
           COUPLIN                                                                          $0.00                                     $9.77


           SDR21MIPA150 1-1/2"
           SDR21 IPS OD PV                                                                  $0.00                                 $324.66


           SDR21T44 4" X 4"
           SDR21 IPS OD PVC G                                                               $0.00                                   $88.57


           INFLOW24 24" INFLOW
           PROTECTOR POLLA                                                                  $0.00                                   $42.00


           CL50TY12 12" CLASS 50
           TYTON PIPE MC                                                                    $0.00                               $1,631.30


           CL52TY8 8" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                               $1,927.38


           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                               $1,292.04


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $1,731.38


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 555
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           CL52TY6 6" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $2,996.00


           CL52TY8 8" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $3,812.40


           POLYTAPE2 2" X 100'
           POLYWRAP TAPE 3                                                                  $0.00                                   $69.00


           TRUPW20 20" X 300'
           POLYWRAP 8 MIL T                                                                 $0.00                                 $377.00


           TRUPW27 27" X 300'
           POLYWRAP TO COVE                                                                 $0.00                                 $370.80


           MUE190435 MUELLER
           MAIN VALVE FOR 4-                                                                $0.00                                   $78.05


           MUE195234 MUELLER
           CLEVIS PIN FOR CE                                                                $0.00                                   $24.24


           MUEA301 5-1/4"
           SAFETY FLANGE
           REPAIR                                                                           $0.00                                 $139.64


           MUEA301-00 5-1/4
           SAFETY KIT THREADE                                                               $0.00                                 $698.20


           MUEA319-010 A421
           4-1/2" X 12" HYDRA                                                               $0.00                                 $371.68


           MUE190349 5-1/4"
           SAFETY FLANGE O-RI                                                               $0.00                                   $40.23


           HRPIA320-016 5-1/4" X
           18" HYDRANT E                                                                    $0.00                                 $516.84


           HRPIA300-00 4-1/2
           SAFETY FLANGE REP                                                                $0.00                                   $94.32


           MUE240690 SENTINAL
           250 5-1/4 BONNET                                                                 $0.00                                     $2.73


           MUE195347 SENTINAL
           250 5-1/4 TOP PL                                                                 $0.00                                     $5.67




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 556
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                Name

           A2360206R 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $591.40


           MUEHW MISC MUELLER
           HANDWHEEL                                                                        $0.00                                 $151.80


           MUE194638 12" END
           GASKET FOR H615 T                                                                $0.00                                   $34.91


           F26405NST66RPD
           CLOW EDDY 5-1/4 NST                                                              $0.00                               $4,378.00


           F26415NST6LNDNL
           EDDY 5-1/4 LOW LEAD                                                              $0.00                               $2,144.12


           CLO2640135 FLANGE
           BOLTS & NUTS, 5-1                                                                $0.00                                   $17.35


           CLO2640145 FLANGE
           GASKETS, 5-1/4",                                                                 $0.00                                   $74.34


           T0600014 CLO2640185
           HOSE CAP WASHER                                                                  $0.00                                     $1.18


           CLO264055 CLOW
           COVER WITHOUT
           PACKIN                                                                           $0.00                               $1,138.70


           F2300094 CLOW
           BOTTOM NUT, 5-1/4" V.                                                            $0.00                                 $143.37


           CLO2640EXT530S 5 1/4"
           X 30" CLOW ED                                                                    $0.00                                 $332.05


           DE2S0659CC150
           MUELLER 6" X 1-1/2" C                                                            $0.00                                 $107.90


           DE2S0854CC150
           MUELLER EPOXY
           COATED                                                                           $0.00                                 $190.56


           DE2S0854CC075
           MUELLER EPOXY
           COATED                                                                           $0.00                                 $117.39


           DE2S0854CC100 8" X
           1"CC SADDLE, (8.                                                                 $0.00                                   $58.69




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 557
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                Name

           DE2S0854IP150 8"X
           1.5"IP MUELLER SA                                                                $0.00                                 $292.09


           DE2S0659IP150 6" x
           1-1/2" IP MUELLE                                                                 $0.00                                 $248.08


           B25008N-100 1" BALL
           CORPORATION CC                                                                   $0.00                                   $51.85


           B25209N-100 1" COMP
           CURB STOP BALL                                                                   $0.00                                   $83.91


           MUE504281 3/4"
           STAINLESS STEEL INSE                                                             $0.00                                     $6.40


           MUE581951 1" 110
           COMPRESSION
           GASKET                                                                           $0.00                                   $11.01


           H15526N-150 1-1/2"
           COMPRESSION 90 B                                                                 $0.00                                   $81.61


           H15381N-200 2"
           COMPRESSION TEE
           MUEL                                                                             $0.00                                 $222.27


           C45-44NL 1" CTS X IPS
           COMPRESSION U                                                                    $0.00                                   $21.41


           C45-77-NL 2" CTS X 2"
           IPS PACK JOIN                                                                    $0.00                                 $155.12


           C45-34NL 3/4" COPPER
           COMPRESSION X                                                                    $0.00                                   $22.02


           MCD76100Q-150 1-1/2"
           COMPRESSION CU                                                                   $0.00                                 $241.38


           H15428N-100 1"
           COMPRESSION X MIP
           AD                                                                               $0.00                                   $13.43


           H15425N-100 1" FLARE
           X MIP ADAPTER,                                                                   $0.00                                  $-28.86


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                    $-5.17




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 558
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                     $3.84


           200M11RW-4R 4" MJ RW
           GATE VALVE, OP                                                                   $0.00                                 $207.00


           K81ANST56RPD
           KENNEDY 5'6" BURY
           K81A                                                                             $0.00                               $4,198.48


           K81ANST6RPD
           KENNEDY K81A
           HYDRANT, 6                                                                       $0.00                               $2,111.56


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $2.98


           FLGGSKT8FF10 10" X
           1/8" FULL FACED,                                                                 $0.00                                     $4.20


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                   $28.80


           FLGGSKT8R6 6" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $1.60


           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                    $-8.80


           HXNUTF058 5/8" HEAVY
           HEX NUT FLOURO                                                                   $0.00                                   $18.75


           HXBLT078400SS 7/8" X
           4" STAINLESS S                                                                   $0.00                                  $-40.95


           FLTWSH100 1" USS
           FLAT WASHER                                                                      $0.00                                   $10.01


           MJGSKT2 2" MJ
           GASKET                                                                           $0.00                                     $3.72


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $18.60


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                   $44.18




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 559
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                   $18.60


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $39.06


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $22.32


           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $51.15


           MJGSKT18 18" MJ
           GASKET                                                                           $0.00                                     $9.77


           MJGSKT20 20" MJ
           GASKET                                                                           $0.00                                 $235.29


           MJGSKT24 24" MJ
           GASKET                                                                           $0.00                                   $39.06


           MJSDRTG4 4" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $54.08


           MJSDRTG6 6" MJ x
           SDR35 TRANSITION G                                                               $0.00                                 $124.63


           MJSDRTG8 8" MJ X
           SDR35 TRANSITION G                                                               $0.00                                 $173.04


           MJSDRTG10 10" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $86.52


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                 $154.50


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                   $12.88


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                   $24.72


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $14.42


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $77.25



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MJTRGSKT10 10" MJ
           TRANSITION GASKET                                                                $0.00                                   $37.08


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                   $43.26


           TBLT075600 3/4" X 6"
           T-BOLT & NUT                                                                     $0.00                                 $383.16


           MJTRGSKT2 2" MJ
           TRANSITION GASKET                                                                $0.00                                     $4.12


           MJSDRTG24 24" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $98.76


           MJGLD3 3" MJ GLAND                                                               $0.00                                   $72.54


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $61.38


           MJGLD6 6" MJ GLAND                                                               $0.00                                   $36.27


           MJGLD8 8" MJ GLAND                                                               $0.00                                   $66.96


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                 $348.75


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                   $84.63


           MJGLD14 14" MJ
           GLAND                                                                            $0.00                                 $119.97


           MJGLD16 16" MJ
           GLAND                                                                            $0.00                                 $259.94


           MJGLD18 18" MJ
           GLAND                                                                            $0.00                                 $240.87


           MJGLD24 24" MJ
           GLAND                                                                            $0.00                                 $290.16


           MJGLD6DOM 6" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $17.81


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $16.44



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                Name

           MJGLD12DOM 12" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $908.31


           MJGLD20 20" MJ
           GLAND                                                                            $0.00                                 $292.95


           MJGLD8DOM 8" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $175.36


           SG6 SWIVEL GLAND
           M.J. 6"                                                                          $0.00                                 $105.06


           MJGLD3D 3" DOMESTIC
           MJ GLAND                                                                         $0.00                                   $10.30


           TBLT058300 5/8" X 3"
           T-BOLT & NUT                                                                     $0.00                                   $18.50


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                 $123.75


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $65.45


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                   $47.40


           TBLT075500 3/4" X 5"
           T-BOLT & NUT                                                                     $0.00                                   $25.60


           TBLT075900 3/4" X 9"
           T-BOLT & NUT                                                                     $0.00                                     $8.24


           TBLTL075350 3/4" X
           3-1/2" LUG T-BOL                                                                 $0.00                                   $16.90


           TBLTL075400 3/4" X 4"
           LUG T-BOLT &                                                                     $0.00                                   $21.00


           TBLT0751600 3/4" X 16"
           T-BOLT & NUT                                                                     $0.00                                   $53.55


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $417.38


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $739.16



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 562
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                Name

           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $465.80


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                               $1,043.70


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $97.40


           MGP14 14" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $141.37


           MGP24 24" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $283.50


           MGP20 20" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $464.31


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $52.50


           MGP18 18" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $90.00


           MGP36 36" MJ GASKET
           AND BOLT PACK 1                                                                  $0.00                                 $240.00


           TYGSKT20 20" TYTON
           GASKET PLAIN (SB                                                                 $0.00                                 $297.36


           TYGSKT18 18" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $704.90


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                               $1,228.36


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                               $2,178.72


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                               $2,687.04


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $43.38


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $330.60



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                Name

           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $541.44


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                               $1,684.28


           TYGSKT14 14" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $309.60


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $467.32


           MCSSG12 MCWANE 12"
           SURE STOP GASKET                                                                 $0.00                                 $131.39


           HXBLT058500 - 5/8 X 5"
           HEX BOLT                                                                         $0.00                                 $104.88


           10FA-BC 10" FOSTER
           ADAPTOR WITH MJ                                                                  $0.00                                 $679.80


           10FA-PAK 10" FOSTER
           ADAPTOR ACC PAC                                                                  $0.00                                 $229.75


           12FA-BC 12" FOSTER
           ADAPTOR WTTH MJ                                                                  $0.00                               $1,574.55


           12FA-PAK 12" FOSTER
           ADAPTOR STD AC                                                                   $0.00                                 $281.70


           4FA-BC 4" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $191.85


           4FA-PAK 4" FOSTER
           ADAPTOR ACC PAK O                                                                $0.00                                   $87.80


           6FA 6" FOSTER
           ADAPTER ONLY, LESS
           AC                                                                               $0.00                                   $99.90


           6FA-PAK 6" FOSTER
           ADAPTER ACCESSORY                                                                $0.00                                 $123.80


           8FA-BC 8" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $231.90


           8FA-PAK 8" FOSTER
           ADAPTOR ACC PAK O                                                                $0.00                                 $101.85


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $16.35


           EBA1406 SERIES 1400
           6" UNIFLANGE RE                                                                  $0.00                                   $54.76


           EBA1508 8" EBAA PVC
           RESTRAINT FOR C                                                                  $0.00                                 $337.61


           EBA1612Y 12" SERIES
           1600 SERRATED                                                                    $0.00                                 $130.57


           EBA2010PV 10" 2000PV
           MEGALUG EBAA                                                                     $0.00                                   $68.09


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $357.75


           EBA2106 6" MEGA
           FLANGE ADAPTER FOR                                                               $0.00                                   $90.00


           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                                 $258.65


           EBA6504 4" IPS PVC
           PIPE JOINT RESTR                                                                 $0.00                                 $135.74


           GRAP-IP-6 6" ROMAC
           GRIP RING ACCY.                                                                  $0.00                                 $144.86


           SLD10 10" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                  $-39.08


           SLD20 20" ONE-LOK
           RESTRAINT FOR DUC                                                                $0.00                                 $365.61


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $35.09


           SLD8 8" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $26.37


           DSLDE6DOM 6" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                  $-36.65


           DSLDE8DOM 8" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                  $-55.92


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 565
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           DSLDE16DOM 16" ONE
           LOK FOR DUCTILE                                                                  $0.00                                $-109.78


           MACROHP-11.90 10"
           MACRO HP 2 BOLT W                                                                $0.00                                 $609.96


           MACROHP-9.75 8"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $471.55


           3FA 3" FOSTER
           ADAPTER ONLY LESS
           ACC                                                                              $0.00                                   $40.00


           IBLT100x550 1"x5 1/2"
           EYE BOLT FOR                                                                     $0.00                                 $294.88


           GRIPS4 4" #137 PIPE
           SUPPORT                                                                          $0.00                                 $123.20


           DOGS1 1" WATERMAIN
           CLAMP WASHER NEW                                                                 $0.00                                   $57.40


           SSSTRAP36 36"
           STAINLESS STEEL
           STRAP                                                                            $0.00                                   $85.34


           SLEEVE6PC 6"X 18"
           SLEEVE POLISHED C                                                                $0.00                                 $139.57


           6" FIG 5968 ALUMINUM
           "AUTO SPKR." I                                                                   $0.00                                   $44.39


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $59.40


           FAP10FF 10" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $14.09


           FAP12FF 12" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $149.70


           GALVT-250 2 1/2"
           GALVANIZED TEE                                                                   $0.00                                 $267.25


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                    $-3.16



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 566
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $4.55


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                     $6.70


           BRNIP-075X600DOM
           3/4" X 6" BRASS N                                                                $0.00                                   $13.76


           BRNIP-150X600D 1 1/2"
           X 6" BRASS NI                                                                    $0.00                                   $11.79


           BRNIP-100X600DOM 1"
           X 6" BRASS NIPP                                                                  $0.00                                   $53.59


           BRNIP-200X600DOM 2"
           X 6" BRASS NIPP                                                                  $0.00                                   $45.48


           BRPLG-100DOM 1"
           BRASS PLUG
           THREADED                                                                         $0.00                                     $0.00


           BRBSH-200X150D 2" X 1
           1/2" BRASS BU                                                                    $0.00                                   $12.24


           BR90-200SD 2" BRASS
           STREET 90 BEND                                                                   $0.00                                   $29.41


           BRCAP-200DNL 2"
           DOMESTIC LOW LEAD                                                                $0.00                                 $190.13


           BR90-100SDNL 1"
           STREET 90 BEND, LOW                                                              $0.00                                   $47.56


           BR90-100DNL 1" BRASS
           90 DEGREE BEND                                                                   $0.00                                   $60.10


           BRBSH-200X150DNL 2"
           X 1-1/2" DOMETI                                                                  $0.00                                   $72.30


           BRCPLG-100X075DNL
           1" X 3/4" REDUCER                                                                $0.00                                   $53.72


           BRCPLG-200X150DNL
           2" X 1-1/2" LOW L                                                                $0.00                                 $294.50


           BRCPLG-200X100DNL
           2" X 1" REDUCER C                                                                $0.00                                   $88.05


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 567
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $55.50


           DSTORMT6 6" X 1000'
           DETECTABLE STOR                                                                  $0.00                                $-103.50


           DSST3 3" X 1000'
           DETECTABLE STORM S                                                               $0.00                                   $49.50


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                     $7.92


           LS300C STANDARD
           LINK SEAL                                                                        $0.00                                   $15.12


           LS300S STAINLESS
           STEEL LINK SEAL                                                                  $0.00                                   $25.32


           LS400C STANDARD
           LINK SEAL                                                                        $0.00                                 $143.16


           LS475C STANDARD
           LINK SEAL                                                                        $0.00                                   $35.79


           LS575C STANDARD
           LINK SEAL MS-575-E                                                               $0.00                                   $62.46


           AMEXSC AMERICAN
           EXCELSIOR STRAW
           COC                                                                              $0.00                                 $230.00


           IVI3617 3' X 100' SILT
           FENCE MASSAC                                                                     $0.00                                   $56.00


           FX-45HS-12 CARTHAGE
           MILLS FX-45HS N                                                                  $0.00                                 $265.00


           HHW HARD HATS
           WHITE 19971                                                                      $0.00                                   $16.98


           BT12 SLUSH BOOTS
           SIZE 12                                                                          $0.00                                   $25.90


           HSMRED48 48" RED &
           WHITE STEEL REFL                                                                 $0.00                                   $26.98




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 568
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           3022797 TRAILBOSS
           CHANNELIZER DRUM                                                                 $0.00                                   $95.56


           3022807 25LB DRUM
           BASE FOR TRAILBOS                                                                $0.00                                   $34.06


           HSM48RODON 48"
           RODON FIG A
           HYDRAFIN                                                                         $0.00                                 $203.00


           VITADCHLORTAB6 6
           TABLET QUART SIZE                                                                $0.00                                 $224.20


           ANTISEIZE AERVOE 8
           OZ JAR                                                                           $0.00                                   $42.00


           DOPEPT PIPE
           DOPE,THREAD
           SEALANT, PI                                                                      $0.00                                   $19.04


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                    $-5.48


           PVCCEMENTQT PVC
           CEMENT QUART GRAY
           M                                                                                $0.00                                   $99.50


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                     $6.98


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                     $9.69


           LUBE5GAL 5 GALLON
           BUCKET LUBE PLB-4                                                                $0.00                                 $240.00


           IRON OUT 6OZ. CAN
           RED BE GONE                                                                      $0.00                                   $47.74


           BLACK SWAN LEAK
           TRACER (FLOURESENT                                                               $0.00                                   $58.65


           LUBEQTBLUE QUART
           OF BLUE LUBE GLP32                                                               $0.00                                   $24.48


           LUBE5GALBLUE BLUE
           LUBE 5 GALLON BUC                                                                $0.00                                $-296.35



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 569
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           S106-12BWP-EX 12" X
           6" MANHOLE BOOT                                                                  $0.00                                   $51.50


           GOGGLES STING-RAYS
           BLACK FRAME WITH                                                                 $0.00                                     $2.90


           GOGGLES- STANDARD
           SAFETY GOGGLES FO                                                                $0.00                                     $2.25


           Q4HC34 INFILTRATOR
           QUICK 4 HIGH CAP                                                                 $0.00                                 $294.00


           252-803-09 MASTER
           METER FROST PLUG,                                                                $0.00                                     $0.00


           912-002-FPW MASTER
           METER FROST PLUG                                                                 $0.00                                     $0.00


           MM19901704 MAST
           METER DIALOG 3G INT                                                              $0.00                                 $626.29


           975-106-45 MASTER
           METER INTERPERTER                                                                $0.00                                   $82.35


           BL05-6AA-CAA-2
           MASTER METER 5/8" X                                                              $0.00                                   $84.04


           MMTLMJEB3G15CFFLG
           1-1/2" CUBIC FEET                                                                $0.00                                     $0.00


           MM19900697 5/8"
           MASTER METER BLMJ 3                                                              $0.00                               $1,260.00


           MMMJ343GLEADFREEC
           IGAL MASTER METER                                                                $0.00                                 $757.75


           MMTLMJ15ACCUGLASS
           GAL MASTER METER                                                                 $0.00                                 $244.84


           MMBLMJEB3G1CFCI 1"
           CUBIC FEET BOTTO                                                                 $0.00                               $1,036.50


           MMBLMJEB3G5834CFCI
           5/8"X 3/4" CUBIC                                                                 $0.00                                 $510.75


           MM25261209 5/8"
           MASTER METER CAST                                                                $0.00                                   $19.69



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 570
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MMENCODER MASTER
           METER ENCODER MOD                                                                $0.00                               $5,130.00


           MJ12-1VA-AAA-2
           MASTER METER 2"
           ACCU                                                                             $0.00                                 $283.50


           BL05-6AA-FAA-2
           MASTER METER 5/8" X                                                              $0.00                                 $675.00


           816-040 4" PVC80 22-1/2
           DEGREE BEND                                                                      $0.00                                   $24.11


           B84BBFK5 5-1/4
           BREAKFLG KIT FOR
           B84                                                                              $0.00                                   $80.28


           SDR2122150 1-1/2" PVC
           SDR21/26 22-1                                                                    $0.00                                 $162.64


           51-46 FERNCO 4 X 6
           A/C,DI TO CI,PLA                                                                 $0.00                                   $68.69


           SDR21Y66 SDR21 6 X 6
           WYE PART# 3092                                                                   $0.00                                 $139.74


           DR114510DIPS 10" DR11
           DIPS HDPE 45                                                                     $0.00                                 $272.80


           B84BHYDEXT24 24"
           HYDRANT EXTENSION                                                                $0.00                                 $252.30


           C90912 12" C909 ULTRA
           BLUE PVC PIPE                                                                    $0.00                                 $304.40


           887-005 2 X CL S80 TBE
           NIPPLE                                                                           $0.00                                     $2.74


           887-040 2" X 4" TBE
           NIPPLE SCH80                                                                     $0.00                                     $5.27


           1004-1515 CONC/CONC
           COUPLING                                                                         $0.00                                 $225.00


           12' X 3' X 1'6" GABION
           BASKET 11GA                                                                      $0.00                                   $85.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 571
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           PRATT 16"
           GROUNDHOG MJ
           BUTTERFLY VA                                                                     $0.00                               $2,085.00


           18" SDR35 REPAIR
           CPLG                                                                             $0.00                                   $85.74


           838-251 SPEARS 2" SPG
           X 1-1/2" FIP                                                                     $0.00                                   $19.24


           478-020 SPEARS 2"
           PVC SCH 40 FIP x                                                                 $0.00                                     $0.78


           816-020 2" PVC SCH80
           22-1/2 DEGREE                                                                    $0.00                                   $16.53


           837-212 SPEARS PVC
           SCH80 1-1/2" X 1                                                                 $0.00                                     $7.96


           847-025 2-1/2" SCH80
           SLIP CAP                                                                         $0.00                                     $8.53


           875-015 1-1/2" PVC
           SCH80 WYE SPEARS                                                                 $0.00                                     $5.22


           B-50-B BREAK FLG KIT                                                             $0.00                                 $210.00


           B62BEXT24 AMERICAN
           DARLILNG 24" HYD                                                                 $0.00                                 $221.76


           CL56TY36 36" CLASS 56
           TYTON DIP                                                                        $0.00                               $4,161.06


           CLO2545-M41-NST
           CLOW 2-1/2" NST HOS                                                              $0.00                                   $76.36


           CLOW M-43 2-1/2" HOSE
           NOZZLE CAP FO                                                                    $0.00                                   $86.01


           FLO-120-15 1-1/2 COMP
           X IPS TEE                                                                        $0.00                                     $3.66


           H10896N-058X075
           METER COUPLING 5/8"                                                              $0.00                                   $69.03


           M2400172 12" PIV
           PLATE                                                                            $0.00                                   $50.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 572
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PEIPS1.25X100 1 1/4 X
           100' IPS 160                                                                     $0.00                                 $100.00


           PVCCONDUIT440 4"
           SCH40 PVC UL COND                                                                $0.00                                   $91.70


           SDR21T250X150 2-1/2" X
           1-1/2" PVC S                                                                     $0.00                                   $72.77


           SDR21223 3" PVC
           SDR21/26 22-1/2 BEN                                                              $0.00                                 $224.64


           SDR21FIPA3 3" PVC
           SDR21/26 FEMALE A                                                                $0.00                                   $18.30


           SDR3522BXB15 15" SDR
           35 22 BEND BXB                                                                   $0.00                                 $243.47


           SDR35RED156 15 X 6
           PVC SDR35 REDUCE                                                                 $0.00                                 $222.32


           SDR35T158 15" X 8"
           SDR35 TEE MULTI                                                                  $0.00                                 $173.79


           TYGSKT30 30" TYTON
           GASKET                                                                           $0.00                                 $282.00


           PVC8010B 10" PVC
           SCH 80 PVC PIPE B                                                                $0.00                                   $90.00


           GF13007 24" ROUND
           GRATE ONLY                                                                       $0.00                                 $150.00


           LANE1112 12"X 11
           LANE LOKTITE ELL                                                                 $0.00                                   $33.00


           MJTRGSKT16 16" MJ
           TRANSISTION GASKE                                                                $0.00                                   $10.96


           ROMAC 501 6"
           COUPLING (6.86-7.20) B                                                           $0.00                                 $234.18


           DMCR126DOM 12" X 6"
           CROSS MJ, DUCTI                                                                  $0.00                                 $477.45


           6P3530CIPP 30" CIPP X
           6" SDR35 INS                                                                     $0.00                                  $-63.00



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           FAP250FF 2-1/2"
           FLANGE ACCESSORY
           PA                                                                               $0.00                                     $5.24


           H1012DI 12" H10
           DROP-IN CAST IRON G                                                              $0.00                                 $360.00


           A421NST56L MUELLER
           BRISTOL R.I. OPE                                                                 $0.00                               $1,687.13


           S8GN2 8.625 X 17.63
           STAINLESS STEEL                                                                  $0.00                                 $825.92


           ELECTROTT122D 12"
           DIPS X 2" IPS TAP                                                                $0.00                                   $45.00


           DR9226DIPS 6" DR9
           DIPS HDPE 22 DEGR                                                                $0.00                                     $0.00


           FHM-SIDE 60"
           HYDRANT MARKER
           SPRING                                                                           $0.00                                     $0.00


           TAILPC150 1-1/2"
           BRONZE METER TAILP                                                               $0.00                                   $22.72


           10P3512DI52 INSERTA
           TEE 10"SDR35 X                                                                   $0.00                                $-144.50


           LANESADT126 LANE
           12"X 6" HDPE SADDL                                                               $0.00                                   $61.00


           WS1850 18" X 50' ROLL
           WRAPIDSEAL                                                                       $0.00                                 $560.00


           WSPRIMER GALLON
           WRAPIDSEAL PRIMER                                                                $0.00                                 $113.92


           DMTP32D 3" X 2"
           DUCTILE MECHANICAL                                                               $0.00                                   $80.96


           DMP3D 3" DUCTILE
           MECHANICAL JOINT C                                                               $0.00                                   $88.32


           UFR1500-C-6-U 6" PVC
           JOINT RESTRAIN                                                                   $0.00                                   $23.55




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 574
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           UFR1500-C-8-U 8" PVC
           JOINT RESTRAIN                                                                   $0.00                                   $36.20


           PVC80NIP200X600 2" X
           6" SCH80 PVC T                                                                   $0.00                                     $2.28


           HWYSCPLG10 10"
           EXTERIOR SNAP
           COUPLE                                                                           $0.00                                   $29.08


           LB0910LOCKING EJIW
           #LB0910 LOCKING                                                                  $0.00                                 $213.99


           238-00090512-008 8 X 12
           1/2 CLAMP w                                                                      $0.00                                 $137.56


           GF# 30664-T&L
           GENERAL FOUNDRY
           26"                                                                              $0.00                                   $88.00


           DENSO PASTE (CASE
           QUANTITY 4EA 5.5L                                                                $0.00                                 $563.28


           DENSO PROFILING
           MASTIC (CASE QUANTI                                                              $0.00                                 $526.08


           3501LB-16B 16"
           POWERSEAL LONG
           BARRE                                                                            $0.00                               $2,972.40


           MJGLD14DOM 14" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $61.65


           6P26FB30CIP INSERTA
           TEE 6" SDR35 HU                                                                  $0.00                                   $68.90


           FGV10L 10" ol RW
           Flanged NRS Gate V                                                               $0.00                               $1,039.00


           33830-069 SMITH BLAIR
           3" OMNI GASKE                                                                    $0.00                                   $19.09


           RO20-6 NON-WOVEN
           GEOTEXTILE FILTER                                                                $0.00                                 $220.80


           MJGLD18D 18" MJ
           GLAND DOMESTIC                                                                   $0.00                                   $36.05




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 575
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           GF30006 VALVE BOX
           BASE 14-3/4" WIDE                                                                $0.00                                 $308.00


           WT709-DCDA-OSYRW8
           WATTS 8" MODEL 70                                                                $0.00                               $3,444.00


           6P26FB18CIPP 6"
           SDR35 INSERTA TEE G                                                              $0.00                                  $-71.23


           C45-45-NL 1" CTS
           COPPER
           COMPRESSION                                                                      $0.00                                   $53.56


           H10892N-058X075X075
           5/8" X 3/4" ME                                                                   $0.00                                 $127.28


           GF31014 GENERAL
           FOUNDRIES 18" LOCKI                                                              $0.00                                 $140.00


           3501-12BC-EC POWER
           SEAL END CAP (13                                                                 $0.00                                 $308.11


           4" HDPE DR11 X
           VICTAULIC GROOVE FIT                                                             $0.00                                 $183.44


           P2B207G PLASTIC
           VALVE BOX (GAS)                                                                  $0.00                                 $252.09


           C44-34NL 1" X 3/4"
           COUPLING, FORD L                                                                 $0.00                                   $66.99


           SCH80 NIPPLE 2X3                                                                 $0.00                                     $5.45


           CLAM SPOON FOR
           VALVE BOX AND
           SERVIC                                                                           $0.00                                   $45.75


           351112BXB 12" SDR35
           11.25 DEGREE BE                                                                  $0.00                                   $76.71


           C45-66NL FORD 1-1/2"
           LOW LEAD IPS X                                                                   $0.00                                     $0.00


           H10896N-058X050 5/8" X
           1/2" METER C                                                                     $0.00                                 $468.75


           BRCAP1DNL 1" LOW
           LEAD BRASS THREADE                                                               $0.00                                   $35.95


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 576
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DR25C90916 16" DR25
           C909 ULTRA BLUE                                                                  $0.00                               $1,104.00


           Q24-33-NL FORD LOW
           LEAD BRASS 3/4"                                                                  $0.00                                   $30.16


           838-248 SPEARS 2" X
           3/4" SPIG X FIP                                                                  $0.00                                   $27.48


           875-585 SPEARS SCH80
           8 X 6 WYE                                                                        $0.00                                 $432.42


           SOLID COVER ONLY 24
           X 24 FOR MASS S                                                                  $0.00                                 $351.00


           EBA19MJ08 EBAA 8"
           PVC RESTRAINT - S                                                                $0.00                                   $74.23


           HHNFL PATRIOTS
           HEAVY DUTY HARD
           HAT                                                                              $0.00                                   $58.00


           MSFC268P-DOM 26" X
           8" MASS STANDARD                                                                 $0.00                              $-2,384.00


           MSF246-4-DOM 24" X 6"
           4 FLANGE FRAM                                                                    $0.00                                 $260.00


           MUE143123-75515
           STEAMER NOZZLE
           NEWP                                                                             $0.00                                 $331.86


           MUE143659-75515
           STEAMER CAP
           NEWPORT                                                                          $0.00                                 $250.48


           MUE143117-60306 HOSE
           NOZZLE NEWPORT                                                                   $0.00                                 $206.52


           MUE143622-60306 HOSE
           CAP NEWPORT WA                                                                   $0.00                                 $213.44


           816-030 3" SCH80 22-1/2
           BEND SPEARS                                                                      $0.00                                   $40.23


           GF11181SC 8" SEWER
           COVER ONLY FOR C                                                                 $0.00                                   $72.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 577
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MSF246-3-DOM 24" X 6"
           3 FLANGE FRAM                                                                    $0.00                                 $390.00


           B17-A21-B01-0101A-1
           3/4" X 7 1/2" B                                                                  $0.00                               $1,243.80


           B17-A21-B05-0101A-1
           3/4" X 7 1/2" B                                                                  $0.00                                 $953.33


           2010MM-180L 8" MJ
           AWWA GATE VALVE,                                                                 $0.00                                 $606.07


           3616BDHD ARC36 HC
           BIO HEAVY DUTY                                                                   $0.00                               $3,898.80


           3606BD2 ARC 36HC
           END CAP                                                                          $0.00                                     $0.00


           EBAA36ESG 36"
           EBAA-SEAL GASKET
           9536                                                                             $0.00                                   $34.91


           DMB4512PDOM 12" MJ
           C153 45 DEGREE B                                                                 $0.00                               $1,191.90


           DMB2212PDOM 12" MJ
           C153 22-1/2 DEGR                                                                 $0.00                                 $446.62


           8" V-BIO POLYWRAP
           20" X 500' ROLL (                                                                $0.00                                 $243.16


           SIDR9125x100 1-1/4"
           SIDR9 POLY TUBI                                                                  $0.00                                   $59.50


           CPSC15 15" SMCORE
           CORRUGATED HDPE S                                                                $0.00                               $1,396.00


           GF11837R 18"
           MANHOLE RING ONLY                                                                $0.00                                   $22.00


           LANESADT128 LANE
           12"X 8" HDPE SADDL                                                               $0.00                                     $0.00


           PEIDR15-1X200 1"
           SIDR15 100 PSI POL                                                               $0.00                                   $56.00


           3122AS-16CX16
           POWERSEAL 16" (17.15                                                             $0.00                                 $449.95


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 578
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           3501-10B 10"
           (11.10-11.60)
           POWERSEA                                                                         $0.00                                 $444.29


           3501-12B 12" (13.20-
           13.50) POWERSE                                                                   $0.00                                 $178.34


           3501-6B 6" CAST
           COUPLIING (6.90- 7.                                                              $0.00                                   $84.38


           3501-8B 8" (9.05-9.45)
           POWERSEAL CA                                                                     $0.00                                 $319.95


           3501SB-12B 12"
           (13.20-13.50) POWERS                                                             $0.00                                 $139.28


           CL1-9.40 X 12 CL1
           REPAIR CLAMP (9.0                                                                $0.00                                 $285.00


           2000-0213-260 1-1/2"
           HYMAX COUPLING                                                                   $0.00                                   $72.17


           2000-0433-260 3"
           HYMAX COUPLING LOW                                                               $0.00                                 $100.39


           2000-1710-260 14"
           HYMAX COUPLING 15                                                                $0.00                               $1,522.08


           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                   $43.85


           REEDVKA COMBO
           VALVE/CURB KEY
           BASIC                                                                            $0.00                                   $67.94


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                 $117.60


           ALTHRD1006 1" X 6'
           ALL THREADED ROD                                                                 $0.00                                 $262.92


           ALTHRD0586 5/8" X 6'
           ALL THREADED R                                                                   $0.00                                   $31.08


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $10.85



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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                $-116.69


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $659.54


           SDR3521 21" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $324.24


           SDR3524 24" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                               $1,239.84


           32686 6" SCH40 HUB x
           SDR35 SPIGOT A                                                                   $0.00                                 $158.93


           SDR3522BXB10 10" PVC
           SDR35 22-1/2 B                                                                   $0.00                                  $-77.80


           SDR3545BXB10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                $-146.21


           SDR3545BXB12 12" PVC
           SDR35 45 BEND                                                                    $0.00                                 $318.46


           SDR3545BXB15 15" PVC
           SDR35 45 BEND                                                                    $0.00                                 $237.70


           SDR3545BXP10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                  $-72.03


           SDR3590BXB12 12" PVC
           SDR35 90 BEND                                                                    $0.00                                 $414.50


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                  $-63.49


           PVCCOP8 8" RAISED
           CLEAN-OUT PLUG, S                                                                $0.00                                $-198.27


           SDR35PLG12 12" PVC
           SDR35 PLUG G1161                                                                 $0.00                                 $366.17


           SDR35PLG18 18" PVC
           SDR35 PLUG L1161                                                                 $0.00                                 $724.77




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 580
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $13.14


           SDR35R108 10" X 8"
           SDR35 REDUCER L1                                                                 $0.00                                  $-88.45


           SDR35REPCPLG12 12"
           SDR35 REPAIR COU                                                                 $0.00                                 $133.94


           SDR35SCPLG4 4"
           SDR35 STOP COUPLING                                                              $0.00                                  $-18.38


           SDR35T106 10" X 6"
           PVC SDR35 TEE G1                                                                 $0.00                                 $171.86


           SDR35T108 10 X 8 PVC
           SDR 35 TEE G10                                                                   $0.00                                 $135.96


           SDR35T1212 12" X 12"
           PVC SDR35 TEE                                                                    $0.00                               $1,002.75


           SDR35T126 12" X 6"
           PVC SDR35 TEE G1                                                                 $0.00                                 $108.90


           SDR35T128 12" X 8"
           PVC SDR35 TEE G1                                                                 $0.00                                 $298.72


           SDR35T1515 15" X 15"
           PVCSDR35 TEE L                                                                   $0.00                                 $663.73


           SDR35T1818 18" X 18"
           SDR35 TEE P/N                                                                    $0.00                                 $548.62


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                  $-16.84


           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                  $-25.74


           SDR35TY126 12" X 6"
           SDR35 TEE-WYE L                                                                  $0.00                                 $168.03


           SDR35Y106 10" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $239.96


           SDR35Y108 10 X 8 PVC
           SDR35 WYE L301                                                                   $0.00                                 $999.29



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 581
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SDR35Y1212 12" X 12"
           PVC SDR35 WYE                                                                    $0.00                               $1,110.44


           SDR35Y128 12" X 8"
           PVC SDR35 WYE L3                                                                 $0.00                                 $523.59


           SDR35Y1515 15" PVC
           SDR 35 WYE L3015                                                                 $0.00                                 $385.87


           SDR35Y156 15" X 6"
           PVC SDR35 WYE L3                                                                 $0.00                                 $818.79


           SDR35Y1812 18" x 12"
           SDR35 WYE L301                                                                   $0.00                                 $589.06


           SDR35Y188 18" X 8"
           SDR 35 WYE GXG L                                                                 $0.00                                 $480.11


           SDR35Y246 24" X 6"
           PVC SDR35 WYE L3                                                                 $0.00                               $1,196.29


           SDR35Y3024 30" X 24"
           SDR 35 PVC WYE                                                                   $0.00                               $2,141.39


           SDR354521 21" SDR35
           45 BEND BXB                                                                      $0.00                                 $870.01


           351112BXS 12" SDR35
           11.25 DEGREE BE                                                                  $0.00                                 $202.90


           SDR35R2118 21" X 18"
           SDR35 REDUCER                                                                    $0.00                                   $27.69


           SDR35Y2412 24" X 12"
           SDR35 WYE L302                                                                   $0.00                                 $464.07


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                 $330.60


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $14.43


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                    $-7.26




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 582
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SVG6 6" SV GASKETS
           JUMBO PN SVG6                                                                    $0.00                                   $41.67


           90SWEET 4" SWEET AIR
           90 BEND                                                                          $0.00                                  $-22.48


           DWV226 6" PVC DWV 22
           BEND, B X B P/                                                                   $0.00                                   $13.56


           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                  $-51.36


           DWVY64 6" X 4" SCH40
           PVC DWV WYE 71                                                                   $0.00                                   $36.94


           D12806 6" X 6" DWV
           TEST TEE WITH CO                                                                 $0.00                                 $159.70


           HDLT001220S0 12"
           SOLID LOKTITE HDPE                                                               $0.00                               $2,091.60


           HWY6S 6" X 100' SOLID
           CORRUGATED HD                                                                    $0.00                                 $106.00


           HDLT001220SP 12"
           PERFORATED LOKTITE                                                               $0.00                                   $99.60


           HDLT002420SP LANE
           24" PERFORATED LO                                                                $0.00                                 $304.00


           HWY4S250 4" x 250'
           SOLID CORRUGATED                                                                 $0.00                                 $195.00


           HDLT000420SP 4"
           PERFORATED LOKTITE                                                               $0.00                                 $480.00


           HWY4S100 4" X 100'
           SOLID CORRUGATED                                                                 $0.00                                   $39.00


           MARMAC30 30"
           MARMAC COUPLING                                                                  $0.00                                $-144.50


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                              $-1,481.60


           HDLT002420S0R 24"
           SOLID HDPE LOKTIT                                                                $0.00                               $1,130.40



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 583
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                   $18.60


           HWY4PS100 4"
           HIGHWAY PIPE
           PERFORATE                                                                        $0.00                                   $59.00


           HDLT001820SPR 18"
           PERF CORR HDPE PI                                                                $0.00                                 $174.80


           HWY4S100R 4" X 100'
           SOLID F405 CORR                                                                  $0.00                                 $148.00


           CULTEC 100
           CHAMBERS                                                                         $0.00                                     $0.00


           LANET86 8" X 6"
           REDUCER TEE HDPE                                                                 $0.00                                 $224.00


           LANET246 LANE 24" X
           6" HDPE REDUCER                                                                  $0.00                                 $335.92


           LANET106 10" X 6"
           HDPE REDUCER TEE                                                                 $0.00                                 $103.40


           LANET10 10" HDPE TEE                                                             $0.00                                 $364.74


           LANET1512 15" X 12"
           HDPE REDUCER TE                                                                  $0.00                                 $121.72


           LANET124 LANE 12" x
           4" REDUCER TEE                                                                   $0.00                                   $77.20


           LANET2412 24" X 12"
           HDPE REDUCER TE                                                                  $0.00                                 $207.20


           LANEY126 12" X 6"
           HDPE REDUCER WYE                                                                 $0.00                                 $100.80


           LANEY108 LANE 10" X
           8" HDPE REDUCER                                                                  $0.00                                 $111.88


           LANEY64 6" X 4" HDPE
           REDUCER WYE LA                                                                   $0.00                                 $157.00


           LANE4530 LANE 30"
           HDPE 45 BEND                                                                     $0.00                                 $863.88



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 584
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                Name

           LANE908 8" HDPE 90
           DEGREE BEND                                                                      $0.00                                   $41.14


           LANECAP18 18" HDPE
           END CAP                                                                          $0.00                                 $248.72


           LANECAP8 8" HDPE
           END CAP LANE                                                                     $0.00                                   $14.60


           LANECPLG24 24" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $23.60


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $16.90


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $33.00


           LANECPLG36 36" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $53.30


           HWYY6 6" HDPE
           MOLDED HWY WYE,
           SINGL                                                                            $0.00                                   $18.16


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $38.74


           HWYT64 6" X 4" HDPE
           MOLDED SINGLE W                                                                  $0.00                                     $8.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $34.88


           HWYR64 6" x 4" HDPE
           SINGLE WALL HWY                                                                  $0.00                                   $10.41


           HWYY4 4" HWY WYE
           HDPE MOLDED SINGLE                                                               $0.00                                   $21.30


           LANET88 8" HDPE TEE                                                              $0.00                                   $73.35


           HWY904 4" HDPE
           MOLDED SINGLE WALL
           H                                                                                $0.00                                   $52.08


           LANEY6 6" X 6" HDPE
           WYE                                                                              $0.00                                   $83.05


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 585
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           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $30.40


           HWYCAP8 8" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $21.90


           LANE9015 LANE 15"
           HDPE 90 DEGREE BE                                                                $0.00                                   $78.40


           LANERED64 LANE 6" x
           4" REDUCER HDPE                                                                  $0.00                                   $75.60


           LANERED106 10" X 6"
           HDPE REDUCER                                                                     $0.00                                   $79.68


           LANECPLG4 4"
           HIGHWAY EXTERNAL
           COUPL                                                                            $0.00                                     $1.30


           LANET15 15" HDPE TEE                                                             $0.00                                 $124.72


           LANEY1512 LANE 15" x
           12" HDPE REDUC                                                                   $0.00                                 $202.75


           LANE228 LANE 8" HDPE
           22-1/2 BEND                                                                      $0.00                                   $16.77


           LANERED124 12" X 4"
           HDPE REDUCER                                                                     $0.00                                   $44.66


           LANE226 6" HDPE
           22-1/2 BEND                                                                      $0.00                                   $57.40


           LANECAP10 LANE 10"
           CAP HDPE                                                                         $0.00                                   $11.66


           HWYY64 6x6,5 OR 4
           HDPE MOLDED SINGL                                                                $0.00                                   $19.06


           LANERED108 10" X 8"
           HDPE REDUCER                                                                     $0.00                                 $123.15


           LANECAP15 15" HDPE
           END CAP                                                                          $0.00                                 $172.14


           LANERED108 10" X 8"
           LANE HDPE ECC                                                                    $0.00                                   $41.05


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 586
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           LANECAP36 36" HDPE
           END CAP, LANE                                                                    $0.00                                 $707.60


           LANERED156 15" X 6"
           LANE HDPE REDUC                                                                  $0.00                                 $165.28


           LANEY1812 LANE 18" X
           12" HDPE REDUC                                                                   $0.00                                 $465.44


           LANEY1510 15" X 10"
           LANE HDPE REDUC                                                                  $0.00                                 $131.68


           LANECAP6 6" HDPE
           END CAP                                                                          $0.00                                   $34.80


           Q4HCEC INFILTRATOR
           Q4 HIGH CAPACITY                                                                 $0.00                                     $0.00


           LANET108 10" x 8"
           HDPE TEE                                                                         $0.00                                 $188.49


           ALRRCPLG12 12"
           ALUMINUM REROLLED
           CO                                                                               $0.00                                   $37.32


           CM16GAS12 12" 16
           GAUGE, CORRUGATED                                                                $0.00                                 $516.00


           CM16GAS15 15" 16
           GAUGE CORRUGATED
           M                                                                                $0.00                                 $434.00


           CMRRCPLG6 6"
           CORRUGATED
           REROLLED CO                                                                      $0.00                                   $16.20


           CMRRCPLG12 12"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $19.00


           CMRRCPLG15 15"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $24.00


           01-88 8" X 8"
           CLAY/CLAY COUPLING                                                               $0.00                                   $60.90




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           01-1010 10 X 10
           CLAY/CLAY COUPLING                                                               $0.00                                   $33.86


           01-1212 12" X 12"
           CLAY/CLAY COUPLIN                                                                $0.00                                   $19.76


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                     $6.26


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $52.81


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $34.43


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $66.97


           02-84 8" X 4" CLAY X
           CI/PVC RUBBER                                                                    $0.00                                   $69.05


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $72.10


           02-1210 12" CLAY TO
           10" CI OR PVC R                                                                  $0.00                                   $24.86


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $54.15


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                   $96.77


           02-1818 18" X 18"
           CLAY/CI, PLAS COU                                                                $0.00                                 $142.79


           02-2424 24" X 24"
           CLAY/CI,PLAS COUP                                                                $0.00                                 $191.60


           03-44 4 X 4 CLAY/AC,DI
           COUPLING                                                                         $0.00                                   $11.11


           03-66 6 X 6 CLAY/AC,DI
           COUPLING                                                                         $0.00                                 $105.32


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 588
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           03-88 8" CLAY/DI
           RUBBER COUPLING                                                                  $0.00                                   $36.54


           04-66 6 X 6 CONC/CONC
           COUPLING                                                                         $0.00                                   $25.25


           04-1212 12 X 12
           CONC/CONC COUPLING                                                               $0.00                                 $588.35


           06-66 6" X 6"
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $16.22


           06-88 8 X 8
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $24.36


           06-1212 12" CONC/CI,
           PLASTIC COUPLI                                                                   $0.00                                   $59.27


           51-64 6 X 4
           AC,DI/CI,PLAS
           COUPLING                                                                         $0.00                                   $51.64


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $12.18


           51-1010 10"
           AC-DI/CI-PLAS
           COUPLING                                                                         $0.00                                   $33.86


           51-1212 12" X 12"
           AC,CI/CI PLAS COU                                                                $0.00                                   $39.51


           55-88 8" X 8"
           AC,DI/AC,DI COUPLING                                                             $0.00                                   $51.16


           55-1010 10" X 10"
           AC,DI/AC,DI COUPL                                                                $0.00                                   $34.69


           55-1212 12" X 12"
           AC,DI/AC,DI COUP                                                                 $0.00                                   $20.74


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $15.72


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                 $100.46


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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           56-84 8 X 4
           CI,PLAS/CI,PLAS
           COUPLIN                                                                          $0.00                                 $115.03


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $13.65


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                 $113.33


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $46.40


           56-1210 12" X 10"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $21.88


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $144.40


           56-1515 15" X 15"
           CI,PLAS/CI,PLAS C                                                                $0.00                                 $129.02


           56-1818 18" X 18"
           CI,PLAS/CI,PLAS C                                                                $0.00                                 $142.79


           56-2424 24" X 24"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                 $191.60


           06-1515 15" CONCRETE
           TO CAST IRON O                                                                   $0.00                                   $89.98


           1002-54 5" CLAY X 4"
           PVC/CI RUBBER                                                                    $0.00                                 $109.65


           QC2 2" RUBBER SEAL
           CAPS (QUICK CAP                                                                  $0.00                                     $3.19


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                   $14.19


           TSW4 4" SADDLE WYE                                                               $0.00                                   $73.30


           TST-4 4" TEE TAP
           SADDLE                                                                           $0.00                                   $31.10




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 590
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                Name

           1003-1212 12" CLAY X
           DUCTILE COUPLI                                                                   $0.00                                   $41.58


           56-106 10" CI/PLAS X 6"
           CI/PLAS COU                                                                      $0.00                                 $459.65


           03-1010 10" DI X CLAY
           RUBBER COUPLI                                                                    $0.00                                   $52.03


           P5B5664-SG 2-PIECE
           SLIDE TYPE PVC V                                                                 $0.00                                 $200.44


           EBV-P601 6" CLEAN
           CHECK VALVE, 9692                                                                $0.00                                 $175.11


           ELIM12C 12"
           ELIMINATOR CAP ONLY                                                              $0.00                                   $25.00


           ELIM15 15"
           ELIMINATOR OIL &
           DEBRIS                                                                           $0.00                                 $190.00


           ELIM18 18"
           ELIMINATOR OIL &
           DEBRIS                                                                           $0.00                                 $400.00


           SNOUT24 24" SNOUT
           OIL/DEBRIS SEPARA                                                                $0.00                                 $629.98


           WWT14001 VALVE BOX
           POSI-CAP PC45158                                                                 $0.00                                     $4.87


           12LN6LN 12" HDPE
           DUAL WALL X 6" HDP                                                               $0.00                                 $204.04


           8P3530LN 30" HDPE
           DUAL WALL X 8" SD                                                                $0.00                                 $122.93


           8P3530P35 INSERTA
           TEE 8" SDR35 OUTL                                                                $0.00                                $-122.93


           DFW-6YC 6" FLEXIBLE
           SADDLE WYE TSW-                                                                  $0.00                                   $47.76


           LVC1618 BWSC - LS
           COVER ONLY                                                                       $0.00                                 $239.72




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 591
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                Name

           3SBR24 2.5" X 24" TOP
           RISER WITH WA                                                                    $0.00                                 $240.00


           BOSE1-4-3 4" E-1 3
           FLANGE FRAME AND                                                                 $0.00                                 $680.00


           BOSE1-8-3 8" E-1 3
           FLANGE FRAME AND                                                                 $0.00                                 $398.00


           BOSSC CITY OF
           BOSTON MH720 SEWER
           CO                                                                               $0.00                               $2,275.00


           BVB1618 BOSTON
           VALVE BOX 16" x 18"                                                              $0.00                               $3,255.00


           BWSCB5D B-5
           MANHOLE FRAME &
           COVER C                                                                          $0.00                                     $0.00


           BWSCTRAP CITY OF
           BOSTON STANDARD 4                                                                $0.00                                     $0.00


           FG7408 CATCH BASIN
           HOOD WITH MOUNTI                                                                 $0.00                                 $935.00


           GF13251F 32" x 4"
           ROUND FRAME ONLY                                                                 $0.00                                 $227.00


           GF13281F 32" x 8"
           ROUND FRAME ONLY                                                                 $0.00                                 $144.00


           GF132DC 32" MH
           COVER ONLY MARKED
           DR                                                                               $0.00                                 $215.00


           GF132SC 32" MH
           COVER ONLY MARKED
           SE                                                                               $0.00                                 $148.50


           GF18111CC 6" COVER
           ONLY MARKED "CLE                                                                 $0.00                                 $200.00


           GF18111PC 6" PLAIN
           COVER ONLY FOR C                                                                 $0.00                                   $40.00


           MH720BOD BOSTON
           MANHOLE FRAME AND
           C                                                                                $0.00                                 $259.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 592
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           MH914D 24" x 4" FRAME
           AND COVER MAR                                                                    $0.00                                 $110.00


           MH916D 24" x 6" FRAME
           & COVER MARKE                                                                    $0.00                               $1,251.00


           MH916S 24" x 6" FRAME
           & COVER MARKE                                                                    $0.00                                 $417.00


           MH9171D 24" MANHOLE
           COVER MARKED DR                                                                  $0.00                                 $225.00


           MH918D 24" x 8" FRAME
           AND COVER MAR                                                                    $0.00                                 $775.00


           MH918S 24" x 8" FRAME
           AND COVER MAR                                                                    $0.00                                 $465.00


           MSC26D 26" MASS
           STANDARD DRAIN
           COVE                                                                             $0.00                                 $190.00


           MSC26P 26" MASS
           STANDARD PLAIN
           COVE                                                                             $0.00                                 $100.00


           MSC26S 26" MASS
           STANDARD SEWER
           COVE                                                                             $0.00                                 $360.00


           MSF244-3 24" X 4" 3
           FLANGE FRAME ON                                                                  $0.00                                   $57.00


           MSF268 MASS
           STANDARD 26" X 8"
           FRAME                                                                            $0.00                                 $300.00


           MSFC264D MASS
           STANDARD RING &
           COVER                                                                            $0.00                                 $416.00


           MSFC264S 26" X 4"
           MASS STANDARD RIN                                                                $0.00                                 $360.00


           MSFC268S 26" X 8"
           MASS STANDARD RIN                                                                $0.00                                 $222.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 593
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                Name

           MSFG244-3 24" X 4"
           3-FLANGE FRAME A                                                                 $0.00                                 $495.00


           MSFG24486-3 24" x 48"
           x 6" 3 FLANGE                                                                    $0.00                               $1,780.00


           MSFG248-3 24" X 8" 3
           FLANGE FRAME A                                                                   $0.00                               $1,260.00


           MSFG248-4 24" X 8"
           4-FLANGE FRAME A                                                                 $0.00                               $1,075.00


           MSG24 24" SQUARE
           GRATE ONLY CBG-SQH                                                               $0.00                               $1,050.00


           GF124PC 24" PLAIN
           COVER ONLY                                                                       $0.00                                 $140.00


           MSFG248-4-DOM 24" X
           8" 4-FLANGE FRA                                                                  $0.00                                 $285.00


           MSC26DDOM 26" CAST
           IRON COVER MARKE                                                                 $0.00                                     $0.00


           GF#12694 25 3/4 X 9"
           MANHOLE FRAME                                                                    $0.00                               $1,020.00


           GF22565 18" CATCH
           BASIN HOOD                                                                       $0.00                                     $0.00


           BOSDC CITY OF
           BOSTON MH720 DRAIN
           C                                                                                $0.00                                 $275.60


           GF11181-LKG 8"
           LOCKING HEAVY DUTY
           C                                                                                $0.00                                 $240.00


           GFS21CAPWATER S21
           ADAPTOR CAP ONLY                                                                 $0.00                                   $10.00


           MSC26SDOM 26" CAST
           IRON COVER MARKE                                                                 $0.00                               $1,000.00


           MSFG248-3-DOM 24" X
           8" 3-FLANGE FRA                                                                  $0.00                                 $305.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 594
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                Name

           MSFG246-3-DOM 24" X
           6" 3-FLANGE FRA                                                                  $0.00                               $1,175.00


           GF13687S 36" X 8"
           MANHOLE FRAME AND                                                                $0.00                                 $437.00


           GF12462 24" X 6"
           ROUND FRAME & GRAT                                                               $0.00                                 $139.00


           GF132EC 32" MH
           COVER ONLY MARKED
           EL                                                                               $0.00                                 $148.50


           MSF268DOM 26" X 8"
           MASS STANDARD FR                                                                 $0.00                               $1,200.00


           MSF264DOM 26" X 4"
           MASS STANDARD FR                                                                 $0.00                                 $125.00


           MSC26P-DOM 26"
           DOMESTIC MASS 26C
           ST                                                                               $0.00                               $1,125.00


           USF-7610-STYLE CAST
           IRON CLEANOUT B                                                                  $0.00                                 $122.68


           FG7408ACC CATCH
           BASIN MOUNTING
           HARD                                                                             $0.00                                 $300.00


           3SBR12 2.5" X 12" TOP
           RISER WITH WA                                                                    $0.00                                 $294.00


           3SBR18 2.5" X 18" TOP
           RISER WITH WA                                                                    $0.00                                   $48.00


           VBCAPD VLV BOX CAP
           MARKED- DRAIN                                                                    $0.00                                   $40.00


           24" X 1 1/4" LADTECH
           RING                                                                             $0.00                                   $35.25


           24" x 4" LADTECH RING
           24R-400                                                                          $0.00                                 $481.95


           LADTECH SLOPE RING                                                               $0.00                                   $31.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 595
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MASSEXT 24" X 24" X
           1.5" EXTENSION                                                                   $0.00                                 $525.00


           MH738P 18X3 MED.
           RING & COVER PLAIN                                                               $0.00                                   $76.16


           SECGRATE18 18" DROP
           IN DUCTILE IRON                                                                  $0.00                                 $108.30


           HAN1824 18" X 24"
           SUMP WELL SUMP PI                                                                $0.00                                   $16.65


           HANSL 18" SUMP WELL
           LID (DELUXE) #C                                                                  $0.00                                   $27.69


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $15.56


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $67.47


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $71.12


           000-00038421-069 3/4"
           CTS X IPS ADA                                                                    $0.00                                   $23.75


           000-00038422-069 1"
           CTS X IPS ADAPT                                                                  $0.00                                   $40.39


           000-00038423-069 1-1/4
           CTS X IPS AD                                                                     $0.00                                   $62.69


           226-00048007-000 4" X
           7" REPAIR CLA                                                                    $0.00                                 $103.92


           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                 $340.56


           226-00066307-000 6" X
           7-1/2" REPAIR                                                                    $0.00                                   $64.60


           226-00069007-000 6" X
           7" REPAIR CLA                                                                    $0.00                                 $245.20


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $227.94



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 596
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                Name

           226-00086307-000 SMITH
           BLAIR 8" X 7                                                                     $0.00                                 $355.45


           226-00090507-000 8" X
           7" REPAIR CLA                                                                    $0.00                                 $366.80


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $352.38


           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $279.94


           226-00111012-000 10" X
           12-1/2" REPA                                                                     $0.00                                 $277.36


           226-00132007-000 12" x
           7-1/2" REPAI                                                                     $0.00                                 $216.89


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $324.12


           226-00132015-000 12" X
           15" REPAIR C                                                                     $0.00                                 $402.76


           239-090512-009
           8"x12-1/2"x1"CC SMIT                                                             $0.00                                 $178.54


           274-00002580-000 24"
           LEAK CLAMP (25                                                                   $0.00                                 $653.40


           313-00051415-000 SMITH
           BLAIR 4"X 2"                                                                     $0.00                                 $154.46


           313-00056307-000
           4"X3/4"CC 500-5.63                                                               $0.00                                   $23.89


           313-00076009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                   $56.02


           313-00076013-000 6" X
           1-1/2" CC 6.8                                                                    $0.00                                 $652.73


           313-00101013-000 8" X
           1-1/2"CC SADD                                                                    $0.00                                   $80.12


           313-00121207-000 SMITH
           BLAIR 10" X                                                                      $0.00                                   $83.02



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 597
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                Name

           313-00121209-000 10" X
           1"CC SADDLE                                                                      $0.00                                   $41.51


           313-00121213-000 10" X
           1-1/2" CC SA                                                                     $0.00                                   $52.84


           313-00121215-000 10" X
           2" CC SADDLE                                                                     $0.00                                   $52.84


           313-00143207-000 12" X
           3/4"CC SADDL                                                                     $0.00                                   $99.58


           313-00143209-000 12" X
           1"CC (12.62-                                                                     $0.00                                   $49.79


           313-00143213-000 SMITH
           BLAIR 12" X                                                                      $0.00                                 $620.93


           313-00143214-000 SMITH
           BLAIR 12" X                                                                      $0.00                                   $63.34


           313-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                 $180.99


           315-00045507-000
           3"X3/4"CC (3.74-4.                                                               $0.00                                 $706.98


           317-00076013-000 6" X
           1-1/2"CC SADD                                                                    $0.00                                   $58.12


           317-00121207-000 10" X
           3/4"CC SADDL                                                                     $0.00                                   $75.15


           317-00143213-000 12" X
           1-1/2"CC SAD                                                                     $0.00                                 $281.01


           411-00019001-003 1-1/2"
           STEEL COUPL                                                                      $0.00                                 $195.24


           441-00000396-900 SMITH
           BLAIR 3" OD                                                                      $0.00                                   $91.68


           441-00000510-900 4"
           COUPLING (4.80-                                                                  $0.00                                   $57.31


           441-00000945-900 8"
           COUPLING (9.05-                                                                  $0.00                                   $92.91



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           441-00001160-900 10"
           COUPLING (11.1                                                                   $0.00                                 $515.97


           441-00001350-900 12"
           COUPLING (13.2                                                                   $0.00                               $2,485.14


           441-00001350-931 12"
           CAST COUPLING                                                                    $0.00                                 $408.93


           441-00001780-900 16"
           COUPLING (17.4                                                                   $0.00                               $1,389.96


           21354-245 RW482 4"
           END CAP ONLY SMI                                                                 $0.00                                   $27.46


           441-21369-045 SMITH
           BLAIR 3" 441-21                                                                  $0.00                                   $26.38


           441-21372-045 16"
           GLAND, GRAY, RW44                                                                $0.00                                 $269.16


           22392-045 SMITH BLAIR
           4" RW 441 (4.                                                                    $0.00                                   $75.97


           441-33830-069 RW441
           (3.80-3.96) GAS                                                                  $0.00                                   $17.73


           441-33832-069 16"
           SMITH-BLAIR 441 B                                                                $0.00                                   $93.07


           442-00000722-400 SMITH
           BLAIR 6" (6.                                                                     $0.00                                 $601.66


           21345-245 482-21345 8"
           482 END CAP                                                                      $0.00                                   $55.15


           21347-245 482-21347 6"
           482 END CAP                                                                      $0.00                                 $149.20


           21348-045 SMITH BLAIR
           441-21348 6"                                                                     $0.00                                   $32.81


           21349-045 441-21349 6"
           RW441 (7.25)                                                                     $0.00                                 $185.91


           21350-045 SMITH BLAIR
           441-21350 8"                                                                     $0.00                                 $270.03



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           21351-045 441-21351 8"
           RW441 (9.46)                                                                     $0.00                                   $56.85


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                   $53.18


           21355-045 441-21355
           RW441(10.75) 10                                                                  $0.00                                   $68.10


           21356-045 SMITH BLAIR
           441-21356 10"                                                                    $0.00                                   $51.07


           21357-045 441-21357 10"
           RW441 (11.6                                                                      $0.00                                 $289.41


           21359-045 441-21359
           RW441(12.75) GL                                                                  $0.00                                 $229.90


           21360-045 SMITH BLAIR
           441-21360 12"                                                                    $0.00                                 $298.94


           21361-045 441-21361 12"
           GLAND, GRAY                                                                      $0.00                                   $25.26


           21368-045 441-21368
           SMITH BLAIR 3"                                                                   $0.00                                   $49.70


           21371-045 SMITH BLAIR
           441-21371 16"                                                                    $0.00                                   $15.19


           22393-045 SMITH BLAIR
           441-22393 6"                                                                     $0.00                                   $65.62


           22394-045 441-22394
           RW441(8.63) GLA                                                                  $0.00                                   $99.48


           33802-069 SMITH BLAIR
           441-33802 RW4                                                                    $0.00                                   $66.81


           33804-069 441-33804 6"
           RW441 (7.25)                                                                     $0.00                                 $119.90


           33806-069 SMITH BLAIR
           441-33806 RW4                                                                    $0.00                                   $83.43


           33808-069 441-33808 8"
           GASKET GRAY                                                                      $0.00                                 $107.26



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                Name

           33810-069 SMITH BLAIR
           441-33810 4"                                                                     $0.00                                   $91.80


           33811-069 441-33811
           SMITH BLAIR RW4                                                                  $0.00                                   $59.65


           33812-069 SMITH BLAIR
           441-33812 4"                                                                     $0.00                                   $55.08


           33813-069 441-33813
           RW441(10.75) 10                                                                  $0.00                                   $65.33


           33814-069 441-33814 10"
           RW441 (11.                                                                       $0.00                                   $49.00


           33815-069 SMITH BLAIR
           441-33815 10"                                                                    $0.00                                   $16.33


           33816-069 441-33816
           RW441(11.90) GA                                                                  $0.00                                 $261.33


           33817-069 441-33817
           12" RW441(12.7                                                                   $0.00                                 $176.49


           33818-069 441-33818 12"
           GASKET GRAY                                                                      $0.00                                 $137.27


           33820-069 441-33820
           SMITH BLAIR RW4                                                                  $0.00                                 $254.98


           33829-069 441-33829
           SMITH BLAIR 3"                                                                   $0.00                                   $35.45


           33831-069 441-33831
           RW441(3.97) GAS                                                                  $0.00                                     $5.91


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                   $23.84


           SMB90275-005 SMITH
           BLAIR 441-90275                                                                  $0.00                                   $14.73


           90281-005 441-90281
           RW441 5/8X8 BOL                                                                  $0.00                                   $83.85


           90297-005 441-90297
           RW441 5/8X9 BOL                                                                  $0.00                                   $52.05



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 601
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SMB100025-005 SMITH
           BLAIR 5/8" ALLO                                                                  $0.00                                   $14.40


           662-13200800-000 12" X
           8" TAPPING S                                                                     $0.00                                 $903.56


           317-00101013-000 8" X
           1-1/2"CC SADD                                                                    $0.00                                   $68.42


           317-00143207-000 12" X
           3/4"CC SADDL                                                                     $0.00                                 $174.92


           317-00121213-000 10" X
           1-1/2" CC SA                                                                     $0.00                                   $80.84


           317-00143209-000 12" X
           1"CC SADDLE                                                                      $0.00                                 $262.38


           313-00051413-000 SMITH
           BLAIR 4" X 1                                                                     $0.00                                   $61.78


           317-00121214-000 10" X
           2"NPT SADDLE                                                                     $0.00                                 $174.34


           662-13200600-000 12" x
           6" TAPPING S                                                                     $0.00                                 $758.06


           441-33833 SMITH BLAIR
           16" 441 GRAY                                                                     $0.00                                   $50.11


           411-00023801-003 2" X
           5" COUPLING (                                                                    $0.00                                 $379.26


           663-10750800-000 10" X
           8" TAPPING S                                                                     $0.00                               $1,248.12


           665-11101000-200 10" X
           10" (11.05-1                                                                     $0.00                               $1,776.84


           441-12201160-900
           11.10-11.60" X 11.                                                               $0.00                                 $416.75


           239-132012-007 12"X
           12-1/2"X 3/4"CC                                                                  $0.00                                 $266.39


           239-069012-015
           6"X12-1/2"X2"CC(6.84                                                             $0.00                                 $180.74



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 602
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           411-00028810-003
           2-1/2"(2.88)OD STE                                                               $0.00                                 $928.27


           411-00216015-003
           20"(21.60)OD STEEL                                                               $0.00                                 $820.00


           263-00194515-000
           18"X15"(19.45-20.6                                                               $0.00                               $1,965.31


           442-00001780-931 16"
           CAST COUPLING                                                                    $0.00                               $2,400.00


           313-00048014-000 4" X
           2" NPT SADDLE                                                                    $0.00                                   $59.96


           482-21358-245 OMNI 10"
           END CAP, #48                                                                     $0.00                                 $112.58


           482-21362 12" X 2" OMNI
           END CAP PLA                                                                      $0.00                                 $160.96


           313-00216012-000
           20"x1-1/2"NPT(21.5                                                               $0.00                                 $417.30


           313-00216013-000 20" X
           1-1/2" CC (2                                                                     $0.00                                 $797.04


           662-14250600-000 SMITH
           BLAIR 12" X                                                                      $0.00                                 $379.03


           662-17401000-000 16" X
           10" (17.40-1                                                                     $0.00                               $1,122.76


           313-00143212-000 SMITH
           BLAIR 12" X                                                                      $0.00                                 $372.56


           315-00121209-000 10" X
           1" CC (10.64                                                                     $0.00                                 $174.62


           317-00178009-000 16" X
           1"CC SADDLE                                                                      $0.00                                 $255.07


           238-00094012-009 8" X
           12-1/2" X 1"C                                                                    $0.00                                 $612.92


           441-07650722-931 SMITH
           BLAIR 6" TRA                                                                     $0.00                                   $91.57



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 603
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           411-00174008-003
           16"(17.40)OD STEEL                                                               $0.00                               $1,394.00


           662-20900800-000 20" X
           8" (20.90-21                                                                     $0.00                               $1,591.79


           90276-005 SMITH BLAIR
           5/8" x 13 1/                                                                     $0.00                                   $45.20


           411-00220608-003
           SMITH-BLAIR #411 2                                                               $0.00                                 $286.24


           421-08540985-031
           COUPLING (8.54- 9.                                                               $0.00                                 $185.03


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                  $-20.88


           AT-K AQUA TAP
           COMPLETE KIT WITH 8
           A                                                                                $0.00                               $1,695.00


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           CE-4 4' CURB END
           T-HANDLE WRENCH                                                                  $0.00                                   $42.26


           CS36l PVC CABLE SAW                                                              $0.00                                     $3.48


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                  $-50.00


           WWT11004 6'
           STANDARD GATE
           WRENCH WI                                                                        $0.00                                 $215.04


           WWTCE-6 6' CURB END
           T-HANDLE WRENCH                                                                  $0.00                                   $26.72


           MUE500693 MUELLER
           KNOCK OUT PIN FOR                                                                $0.00                                  $-17.50


           H143210 MUELLER
           MUEA368 14" LONG MU                                                              $0.00                                   $55.20




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 604
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           MUED-5-R MUELLER
           D-5 DRILLING MACHI                                                               $0.00                               $1,361.59


           MUEH-603-R MUELLER
           ELECTRIC OPERATO                                                                 $0.00                               $2,564.84


           WWT10014 8' ROD END
           WRENCH, RE-8, W                                                                  $0.00                                   $43.52


           WWT26002
           WATERWORKS TOOL
           CEZ-2 3/4"                                                                       $0.00                                  $-66.56


           BLADEDIDIA12EPB US
           SAWS 12" X 20MM                                                                  $0.00                                 $135.50


           DXX12125 12" X
           1"/20MM ALL PURPOSE                                                              $0.00                                   $89.50


           BLADEDIDIA14EPD 14"
           X .125" MULTI                                                                    $0.00                                 $137.40


           BLADEAPBDIA12 US
           SAWS 12" x 20mm/1"                                                               $0.00                                 $149.00


           BLADEGPSDIA12 12" X
           125 X 1" GENERA                                                                  $0.00                                   $87.10


           I180-0441 LOCKING
           WRENCH FOR 2945 I                                                                $0.00                                   $21.20


           PIPLATE6 6" POST
           INDICATOR PLATES M                                                               $0.00                                 $125.44


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                 $102.00


           VBRIS4 4" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $96.00


           VBRIS24 24" VALVE
           BOX RISER LESS CO                                                                $0.00                                   $43.20


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                   $64.00


           VBCAPS VALVE BOX
           CAP, MARKED SEWER                                                                $0.00                                   $40.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 605
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           VBCAPG VALVE BOX
           CAP MARKED GAS                                                                   $0.00                                   $18.00


           VBRIS18 18" VALVE
           BOX RISER LESS CA                                                                $0.00                                   $29.00


           GFS10EXT GENERAL
           FOUNDRY 6" EXTENSI                                                               $0.00                                   $80.00


           GFS11EXT 12"
           EXTENSION WITH CAP
           FOR                                                                              $0.00                                   $80.00


           GFS20EXT 6"
           EXTENSION WITH CAP
           FOR                                                                              $0.00                                   $30.00


           GFS21EXT 12"
           EXTENSION WITH CAP
           FOR                                                                              $0.00                                   $40.00


           VBSLTTS26NE 2PC
           SLIDE TYPE VALVE BO                                                              $0.00                                   $62.00


           VBSLT2NE 2PC SLIDE
           TYPE VALVE BOX N                                                                 $0.00                                 $800.00


           GF14EXTSL GENERAL
           FOUNDRIES 14" CEN                                                                $0.00                                 $192.50


           MASSEXT FG RISER 24
           X 24 X 1 FOR CA                                                                  $0.00                                 $540.00


           S11COVER WATER
           COVER ONLY FOR S11                                                               $0.00                                   $40.00


           VBCAPWR 5 1/4" VALVE
           BOX LID MARKED                                                                   $0.00                                   $16.00


           MASSEXTP 24" X 24" X
           1" POLY SQUARE                                                                   $0.00                                 $780.00


           NDS113BCDBS NDS 12"
           x 17" x 12" DEE                                                                  $0.00                                   $15.09


           U1600 1" X 6' CURB
           BOX WITH PLUG LI                                                                 $0.00                               $2,236.96



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 606
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRASS BOLTS FOR 94E
           LIDS                                                                             $0.00                                  $-15.04


           CBROD24 24" CURB
           BOX ROD 9/16"                                                                    $0.00                                 $120.74


           CBROD36SS 36"
           STAINLESS STEEL
           CURB                                                                             $0.00                                   $14.73


           H10334-550-02 1" X 5'6"
           CURB BOX WI                                                                      $0.00                                   $64.37


           SB BRASS BOLT FOR
           1" ERIE BOX LIDS                                                                 $0.00                                   $33.20


           BTCBROD39DOM 39"
           CURB BOX ROD, MAD                                                                $0.00                                 $352.98


           BF3DI 3" BLIND
           FLANGE DUCTILE IRON                                                              $0.00                                   $53.01


           BF4DI 4" BLIND
           FLANGE,DUCTILE IRON                                                              $0.00                                   $92.07


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                   $93.93


           BF8DI 8" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                 $314.34


           BFT3X2DI 3" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $31.62


           BFT8X2DI 8" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $186.00


           FL456DI 6" FLANGED 45
           BEND, DUCTILE                                                                    $0.00                                   $91.61


           FL458DI 8" FLANGED 45
           BEND,DUCTILE                                                                     $0.00                                 $140.43


           FLECCR64 6 X 4
           FLANGE ECCENTRIC
           RED                                                                              $0.00                                   $84.63




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 607
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           FLECCR86DI 8" x 6"
           FLANGE ECCENTRIC                                                                 $0.00                                 $140.43


           FLT128DI 12" X 8"
           FLANGED TEE, DUCT                                                                $0.00                                 $934.65


           FLT3DI 3" FLANGED
           125# TEE DUCTILE                                                                 $0.00                                   $61.38


           FLT43DI 4" x 3"
           FLANGED TEE, DUCTIL                                                              $0.00                                 $112.53


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $122.30


           FLT86DI 8 X 6"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $439.89


           FLT8DI 8 X 8" FLANGED
           TEE, DUCTILE                                                                     $0.00                                 $508.71


           FLY4DI 4" FLANGED
           125# WYE DUCTILE                                                                 $0.00                                 $225.99


           TCFC2 2" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $80.34


           TCFC4DI 4" THREADED
           COMPANION FLANG                                                                  $0.00                                   $71.07


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           TCFC8 8" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $99.91


           TCFS6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $37.08


           BF12DI 12" BLIND
           FLANGE, DUCTILE IR                                                               $0.00                                 $159.03


           COMPACT STYLE
           FLANGE REDUCER 6" x
           4                                                                                $0.00                                 $370.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 608
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           TCFC64 6' X 4"
           THREADED REDUCER
           CO                                                                               $0.00                                   $36.47


           TCFC83 8" X 3" CAST
           IRON COMPANION                                                                   $0.00                                   $75.07


           FLFL101 10" X 1'0" FL X
           FL DIP                                                                           $0.00                                 $233.60


           FLFL61 6" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $123.60


           FLPE41 4" X 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $116.00


           FLPE61 6" x 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $217.20


           FLPE63 6" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                 $123.60


           FLPE81 8" X 1' FLANGE
           X PLAIN END D                                                                    $0.00                                 $315.60


           FLFL4-750 4" X 0'7-1/2"
           FLANGE X FL                                                                      $0.00                                   $97.20


           FLFL3-6 3" X 0'6"
           FLANGE X FLANGE D                                                                $0.00                                 $111.20


           PECTS.75X100 3/4" X
           100' CTS 200 PS                                                                  $0.00                                   $17.40


           PECTS.75X100BLUE
           3/4" X 100' BLUE C                                                               $0.00                                   $19.10


           PECTS1.25X100 1-1/4" X
           100' CTS 200                                                                     $0.00                                   $42.90


           PECTS1.5X100 1-1/2" X
           100' CTS 200                                                                     $0.00                                 $180.00


           PECTS1.5X300 1-1/2" X
           300' CTS 200                                                                     $0.00                                 $180.00


           PECTS1X100BLUE 1" X
           100' BLUE CTS 2                                                                  $0.00                                   $31.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 609
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PECTS1X300BLUE 1" X
           300' BLUE CTS 2                                                                  $0.00                                   $94.20


           PECTS2X100BLUE 2" X
           100' BLUE CTS 2                                                                  $0.00                                 $105.00


           PECTS2X300 2" X 300'
           CTS 200 PSI PO                                                                   $0.00                                 $306.60


           PEIPS.75X100 3/4"X 100'
           160 PSI POL                                                                      $0.00                                   $75.90


           FLO-110-15
           FLOCONTROL 1-1/2"
           PVC CO                                                                           $0.00                                   $30.26


           NEPLG058 5/8"
           LEATHER GSKTS FOR
           MET                                                                              $0.00                                   $18.00


           NEPLG075 3/4"
           LEATHER GASKETS
           FOR M                                                                            $0.00                                   $20.00


           NEPLG100 1" LEATHER
           GSKTS FOR METER                                                                  $0.00                                   $11.00


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                     $3.40


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $5.90


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                     $8.00


           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                     $7.50


           RUBBER METER
           WASHER 3/4" X 1/16"                                                              $0.00                                     $0.00


           NEPTAILPC58NL 5/8"
           LOW LEAD TAIL PI                                                                 $0.00                                     $9.11




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 610
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $21.92


           MFP150NL 1-1/2"
           BRONZE OVAL METER
           F                                                                                $0.00                                 $144.48


           NEPRG100 1" RUBBER
           GASKET FOR METER                                                                 $0.00                                     $0.24


           417-T4M4 1" METER
           COUPLING CAMBRIDG                                                                $0.00                                   $15.60


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                   $68.59


           B4160 4-1/4" COVER
           MARKED 'WATER' V                                                                 $0.00                                   $68.33


           V747 5-1/4" X 26" SLIDE
           TYPE TOP SE                                                                      $0.00                                 $515.70


           V4690 4-1/4" TOP
           SECTION ONLY ROADW                                                               $0.00                                 $481.80


           12B TYLER BOTTOM
           SECTION OR 8" EXTE                                                               $0.00                                 $550.00


           S201 BIBBY 24" X 2-1/2"
           SLIP TYPE S                                                                      $0.00                                 $948.95


           GF36094E 94E SLIDE
           TYPE CURB BOX CO                                                                 $0.00                                 $318.50


           GF38145R 4-1/4"
           ROADWAY BOX
           COMPLET                                                                          $0.00                                 $816.00


           GF38145RTS 4-1/2"
           ROADWAY BOX TOP &                                                                $0.00                                   $92.00


           GF38145C 4-1/2"
           ROADWAY BOX COVER
           O                                                                                $0.00                                 $580.00


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                 $115.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 611
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           GF49036 36" CURB BOX
           ROD                                                                              $0.00                                 $605.00


           GF36094E CURB BOX
           BOTTOM SECTION 0N                                                                $0.00                                 $546.00


           GF36094E CURB BOX
           TOP SECTION WITH                                                                 $0.00                                   $14.00


           GF37151 GENERAL
           FOUNDRIES 9" EXTENS                                                              $0.00                                   $54.00


           GF36153 28"
           EXTENSION FOR 2-1/2"
           CU                                                                               $0.00                                   $34.00


           GF38145CS 4-1/2"
           ROADWAY BOX SEWER                                                                $0.00                                 $161.00


           V210 40" SLIP TYPE 94E
           BOTTOM SECTI                                                                     $0.00                                 $524.20


           V449 BIBBY 4-1/4" 2
           PIECE SLIDE TYP                                                                  $0.00                               $1,458.99


           DMB1112 12" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $956.30


           DMB1116 16" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                               $1,030.16


           DMB113 3" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $37.13


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $91.64


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                 $116.13


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $210.14


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $344.44


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                               $1,247.02


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 612
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DMB2212P 12" MJ C153
           22-1/2 DEGREE                                                                    $0.00                                 $128.77


           DMB2216 16" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                               $1,216.60


           DMB2218 18" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $299.02


           DMB2220 20" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $812.91


           DMB223 3" MJ C153
           22-1/2 DEGREE BEN                                                                $0.00                                   $47.40


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $96.38


           DMB224P 4" 22-1/2
           DEGREE BEND, MJ X                                                                $0.00                                   $54.51


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                 $150.10


           DMB226P 6" MJ X PE
           22-1/2 DEGREE BE                                                                 $0.00                                   $94.80


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $174.20


           DMB228P 8" MJ C153
           22-1/2 DEGREE BE                                                                 $0.00                                   $72.68


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $519.03


           DMB4510P 10" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $215.67


           DMB4512 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $518.24


           DMB4512P 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $153.66


           DMB4516 16" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $761.96


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 613
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           DMB4520 20" MJ C153
           45 DEGREE BEND                                                                   $0.00                               $1,167.23


           DMB4524 24" MJ C153
           45 DEGREE BEND                                                                   $0.00                               $1,181.84


           DMB453 3" MJ C153 45
           DEGREE BEND, D                                                                   $0.00                                 $126.40


           DMB453P 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $25.28


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                 $126.40


           DMB454PE 4" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                   $52.93


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $447.54


           DMB456PE 6" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                 $315.21


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                 $237.00


           DMB458P 8" MJ x PE MJ
           45 DEGREE BEN                                                                    $0.00                                   $72.68


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $464.52


           DMB9012 12" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $156.42


           DMB9016 16" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $711.00


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $50.17


           DMB908 8" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                 $219.23


           DMB908P 8" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $86.51


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 614
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           DMC10 10"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $83.74


           DMC12 12"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                 $125.61


           DMC16 16" MJ
           CAP,C153,DUCTILE
           IRON                                                                             $0.00                                 $127.19


           DMC20 20" MJ C153
           CAP DUCTILE IRON                                                                 $0.00                                 $402.11


           DMC3 3" CAP,MJ,C153
           DUCTILE IRON                                                                     $0.00                                   $21.33


           DMC4 4" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $22.12


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                 $165.90


           DMCR1010 10" DUCTILE
           MECHANICAL JOI                                                                   $0.00                                 $370.51


           DMCR108 10" X 8"
           DUCTILE MECHANICAL                                                               $0.00                                 $351.55


           DMCR1210 12" X 10"
           DUCTILE MECHANI                                                                  $0.00                                 $650.96


           DMCR126 12" X 6" MJ
           C153 CROSS DUC                                                                   $0.00                                 $536.81


           DMCR128 12" X 8" MJ
           C153 CROSS DUCT                                                                  $0.00                                 $206.19


           DMCR1612 16" X 12" MJ
           C153 CROSS DU                                                                    $0.00                                 $620.15


           DMCR66 6" X 6" MJ
           C153 CROSS DUCTIL                                                                $0.00                                 $106.26


           DMHT106 10" X 6" MJ
           HYDRANT TEE C15                                                                  $0.00                                 $266.23



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 615
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMHT108 10" X 8" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $176.96


           DMHT126 12" X 6" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $605.14


           DMHT128 12" X 8" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $453.46


           DMHT168 16" X 8"
           HYDRANT TEE, MJ C1                                                               $0.00                               $2,111.67


           DMHT206 20" X 6" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $464.92


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $167.48


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $630.42


           DMHT88 8" X 8" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $318.37


           DMP10 10" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                 $349.58


           DMP12 12" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                   $68.73


           DMP16 16" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                 $364.98


           DMP20 20" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $595.66


           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $32.39


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $27.65


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $132.33


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                 $159.58


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 616
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           DMR106 10" X 6" MJ
           C153 REDUCER DUC                                                                 $0.00                                 $109.81


           DMR108 10" X 8" MJ
           C153 REDUCER, DU                                                                 $0.00                                 $180.12


           DMR1210 12" X 10" MJ
           C153 REDUCER D                                                                   $0.00                                 $164.32


           DMR124 12" X 4" MJ
           C153 REDUCER, DU                                                                 $0.00                                   $82.95


           DMR126 12" X 6" MJ
           C153 REDUCER, DU                                                                 $0.00                                 $289.14


           DMR126SEB 12" X 6" MJ
           C153 REDUCER                                                                     $0.00                                 $203.03


           DMR128 12" X 8" MJ
           C153 REDUCER DUC                                                                 $0.00                                 $148.52


           DMR1410 14" X 10" MJ
           C153 REDUCER D                                                                   $0.00                                 $259.12


           DMR1612 16" X 12" MJ
           C153 REDUCER D                                                                   $0.00                                 $336.54


           DMR168 16" X 8" MJ
           C153 REDUCER DUC                                                                 $0.00                                 $181.31


           DMR63 6" X 3" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $34.37


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $30.02


           DMR83 8" X 3" MJ C153
           REDUCER, DUCT                                                                    $0.00                                   $51.75


           DMR84 8" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $39.90


           DMR84SEB 8" X 4"
           DUCTILE MECHANICAL                                                               $0.00                                   $50.56




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 617
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMR86 8" X 6"
           REDUCER, MJ, C153
           DUC                                                                              $0.00                                 $126.80


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $265.44


           DMS10SP 10" DUCTILE
           MECHANICAL JOIN                                                                  $0.00                                   $80.58


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $238.58


           DMS16LP 16" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                                 $457.41


           DMS18LP 18" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                               $1,169.20


           DMS20LP 20" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                               $1,059.39


           DMS24LP 24" MJ
           SLEEVE LONG
           PATTERN,                                                                         $0.00                                 $464.92


           DMS36LP 36" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                               $1,367.49


           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                   $71.10


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $80.58


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $315.21


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                 $519.82


           DMT1010 10" X 10" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $156.03


           DMT104 10" X 4" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $481.90



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 618
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMT106 10" X 6"
           TEE,MJ,C153 DUCTILE                                                              $0.00                                 $116.53


           DMT108 10" X 8" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $136.28


           DMT1210 12" X 10" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $655.31


           DMT1212 12" X 12" MJ
           C153 TEE, DUCT                                                                   $0.00                                 $435.29


           DMT124 12" X 4" MJ
           C153 TEE,DUCTILE                                                                 $0.00                                 $589.34


           DMT126 12" X 6"
           TEE,MJ,C153,DUCTILE                                                              $0.00                               $1,620.69


           DMT128 12" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $340.49


           DMT16 16" X 16" MJ
           C153 TEE DUCTIL                                                                  $0.00                                 $996.19


           DMT1612 16" X 12"
           DUCTILE MECHANICA                                                                $0.00                                 $790.00


           DMT166 16" X 6" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $608.30


           DMT168 16" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $330.22


           DMT186 18" X 6"
           DUCTILE MECHANICAL                                                               $0.00                                 $861.10


           DMT2012 20" X 12" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $613.04


           DMT206 20" X 6"
           DUCTILE MECHANICAL                                                               $0.00                                 $484.27


           DMT33 3" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $37.92


           DMT43 4" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $91.64



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 619
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMT44 4" X 4" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $40.29


           DMT64 6" X 4" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $67.55


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $145.36


           DMT83 8" X 3" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $88.88


           DMT86 8" X 6" MJ TEE,
           C153 DUCTILE                                                                     $0.00                                   $90.46


           DMT88 8" X 8" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $218.04


           DMTC122 12" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                 $150.10


           DMTC202 20" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                 $451.09


           DMTC32 3" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $23.31


           DMTC42 4" X 2" MJ
           TAPPED CAP, C153                                                                 $0.00                                   $47.40


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                   $64.78


           DMTC82 8" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                 $135.09


           DMTP102 10" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                 $246.48


           DMTP122 12" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                 $161.95


           DMTP162 16" X 2" MJ
           TAPPED PLUG C15                                                                  $0.00                                 $403.69


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $56.09



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 620
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           DMTP42 4" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $25.68


           DMTP62 6" X 2" TAPPED
           PLUG,MJ,C153                                                                     $0.00                                 $116.13


           DMTP82 8" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                 $103.49


           DMTT102 10" X 2" MJ
           C153 TAPPED TEE                                                                  $0.00                                 $218.44


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $101.52


           DMY1010 10" X 10" MJ
           C153 WYE DUCTI                                                                   $0.00                                 $323.11


           DMY1818 18" X 18" MJ
           C153 WYE DUCTI                                                                   $0.00                                 $853.60


           DMY66 6" X 6" MJ WYE,
           C153 DUCTILE                                                                     $0.00                                   $99.54


           DMY84 8" X 4" MJ C153
           WYE DUCTILE I                                                                    $0.00                                 $137.46


           DMY88 8" X 8" MJ WYE,
           C153, DUCTILE                                                                    $0.00                                 $290.72


           8" SWIVEL GLAND FOR
           ANCHOR PIPE                                                                      $0.00                                   $68.73


           DMB9012DOM 12" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $735.69


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $52.75


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $232.90


           DMB224DOM 4" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                   $50.69


           DMB228DOM 8" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $227.42



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 621
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMB2212DOM 12" MJ
           C153, 22-1/2 DEGR                                                                $0.00                               $1,236.43


           DMB114DOM 4" MJ
           C153 11-1/4 DEGREE                                                               $0.00                                   $45.21


           DMB116DOM 6" MJ
           11-1/4 DEGREE BEND                                                               $0.00                                 $153.44


           DMB118DOM 8" 11-1/4
           DEGREE BEND,MJ                                                                   $0.00                                 $104.12


           DMB1112DOM 12" MJ
           C153, 11-1/4 DEGR                                                                $0.00                               $1,171.35


           DMT44DOM 4" X 4" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                   $84.26


           DMT1010DOM 10" X 10"
           MJ C153 TEE DU                                                                   $0.00                                 $374.70


           DMT106DOM 10" X 6"
           MJ,C153 TEE DUCT                                                                 $0.00                                 $561.70


           DMT126DOM 12" X 6"
           TEE MJ,C153 DUCT                                                                 $0.00                               $1,017.23


           DMHT86DOM 8" X 6" MJ
           C153 HYDRANT T                                                                   $0.00                               $1,861.83


           DMHT106DOM 10" X 6"
           MJ C153 HYDRANT                                                                  $0.00                                 $650.75


           DMR86DOM 8" X 6" MJ,
           C153 REDUCER,                                                                    $0.00                                 $575.40


           DMR106DOM 10" X 6"
           MJ C153 REDUCER                                                                  $0.00                                 $208.24


           DMR1210DOM 12" X 10"
           REDUCER MJ C15                                                                   $0.00                                 $357.57


           DMP4DOM 4" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                 $113.03


           DMP6DOM 6" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $59.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 622
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           DMP8DOM 8" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $84.94


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $328.80


           DMP12DOM 12" MJ,
           C153 PLUG DUCTILE                                                                $0.00                                 $261.67


           DMC4DOM 4" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                   $29.46


           DMC12DOM 12"
           CAP,MJ,C153 DUCTILE
           IR                                                                               $0.00                                 $465.80


           DMTP42DOM 4" X 2"
           MJ3 TAPPED PLUG C                                                                $0.00                                 $123.30


           DMTP102DOM 10" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $115.77


           DMTP122DOM 12" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $140.43


           DMTC42DOM 4" X 2" MJ
           TAPPED CAP C15                                                                   $0.00                                   $53.43


           DMTC122DOM 12" X 2"
           MJ TAPPED CAP C                                                                  $0.00                                 $140.43


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $174.68


           DMS6LPDOM 6" MJ
           SLEEVE LONG C153 DU                                                              $0.00                                   $87.00


           DMS8LPDOM 8" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $227.42


           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                                 $900.78


           DMB226DOM 6" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $522.66


           DMCR66DOM 6" X 6"
           DOMESTIC MJ C153                                                                 $0.00                                 $901.46


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 623
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           DMT108DOM 10" X 8"
           MJ,C153 TEE, DUC                                                                 $0.00                               $1,650.85


           DMT128DOM 12" X 8"
           MJ TEE C153 DUCT                                                                 $0.00                                 $358.26


           DMC10DOM 10" MJ
           C153 CAP DUCTILE IR                                                              $0.00                                 $182.21


           DMT104DOM 10" X 4"
           MJ C153 TEE DUCT                                                                 $0.00                                 $232.90


           DMT1210DOM 12" X 10"
           MJ C153 TEE, D                                                                   $0.00                                 $902.83


           DMT1612DOM 16" X 12"
           MJ TEE, C153 D                                                                   $0.00                               $1,003.53


           DMT166DOM 16" X 6"
           MJ C153 TEE DUCT                                                                 $0.00                               $3,866.83


           DMR1610DOM 16" X 10"
           MJ REDUCER, C1                                                                   $0.00                                 $889.13


           DMB223DOM 3" MJ
           C153 22-1/2 DEGREE                                                               $0.00                                   $32.88


           DMC3DOM 3" MJ C153
           CAP DUCTILE IRON                                                                 $0.00                                 $115.08


           DMB903DOM 3" MJ 153
           90 DEGREE BEND                                                                   $0.00                                   $61.65


           DMHT128DOM 12" X 8"
           MJ HYDRANT TEE                                                                   $0.00                                 $424.70


           DMT33DOM 3" X 3" MJ
           TEE C153 DUCTIL                                                                  $0.00                                   $80.83


           DMT63DOM 6" X 3" MJ
           TEE C153 DUCTIL                                                                  $0.00                                 $208.24


           DMB113D 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $65.76


           DMT43DOM 4" X 3" MJ
           C153 TEE, DUCTI                                                                  $0.00                                   $79.46


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 624
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           DMY66DOM 6" X 6" MJ
           C153 WYE, DUCTI                                                                  $0.00                               $2,094.73


           DMY86DOM 8" X 6" MJ
           C153 WYE, DUCTI                                                                  $0.00                               $1,241.22


           DMB456PD 6" DUCTILE
           MECHANICAL JOIN                                                                  $0.00                                   $84.94


           DMB453DOM 3" MJ
           C153 45 DEGREE BEND                                                              $0.00                                 $158.24


           DMS3LPDOM 3" MJ
           C153 SLEEVE LONG PA                                                              $0.00                                 $152.07


           DMR104DOM 10" X 4"
           MJ C153 REDUCER,                                                                 $0.00                                 $208.24


           DMHT88DOM 8" X 8" MJ
           C153 HYDRANT T                                                                   $0.00                               $1,791.96


           DMT103D 10" X 3"
           DUCTILE MECHANICAL                                                               $0.00                                 $228.11


           6855-36B 36"
           TYLER-UNION SLIDE
           TYPE                                                                             $0.00                               $1,027.50


           TYLER UNION 5-1/4"
           WATER LID 145325                                                                 $0.00                                 $320.58


           DMCR86DOM 8" X 6"
           MJ,C153 CROSS DUC                                                                $0.00                                 $556.22


           DMTP62DOM 6" X 2" MJ
           TAPPED PLUG, C                                                                   $0.00                                   $84.26


           PVC4012 12" PVC
           SCH40 PIPE                                                                       $0.00                                 $526.80


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                                 $346.00


           PVC404BESW 4" PVC
           SCH40, BELL END,                                                                 $0.00                                   $34.60




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Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PVC40075 3/4" SCH 40
           PVC PIPE                                                                         $0.00                                 $126.00


           PVC40410 4" PVC
           SCH40 PIPE, PLAIN E                                                              $0.00                                 $275.40


           PVC40210PE 2" PVC
           SCH40 PLAIN END P                                                                $0.00                                   $11.80


           PVC40150 1-1/2" SCH
           40 PLAIN END 1                                                                   $0.00                                   $17.20


           PVC403X10 3" SCH40
           PIPE 10' LENGTHS                                                                 $0.00                                 $559.30


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $9.64


           416-020 2" PVC 40 22
           BEND                                                                             $0.00                                   $19.25


           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                    $-3.89


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $0.49


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $5.93


           436-010 1" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $1.98


           436-012 1-1/4" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $0.30


           436-040 4" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                    $-5.80


           437-421 4" X 2-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $3.25


           416-080 8" PVC
           Schedule 40 22-1/2 B                                                             $0.00                                   $59.14


           475-585F 8" X 6" PVC
           SCH 40 WYE FAB                                                                   $0.00                                 $291.09



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           S1720-040 4" PVC TRUE
           UNION SWING C                                                                    $0.00                                   $43.50


           S3629-012 1 1/4" PVC
           TRUE UNION 20                                                                    $0.00                                   $24.05


           854-060 6" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $17.24


           8" ROMAC 501
           STRAIGHT COUPLING
           FOR                                                                              $0.00                                 $459.76


           PVC801.25 1-1/4" PVC
           SCH80 PIPE                                                                       $0.00                                 $240.90


           PVC802 2" PVC SCH80
           PIPE                                                                             $0.00                                   $67.60


           PVC80250 2-1/2" PVC
           SCH80 PIPE                                                                       $0.00                                 $331.68


           PVC806 6" PVC SCH80
           PIPE                                                                             $0.00                                 $847.17


           PVC808 8" PVC SCH80
           20' PIPE                                                                         $0.00                               $1,850.03


           PVC808B PVC 8" SCH80
           20' BELLED END                                                                   $0.00                               $1,491.60


           801-012 SPEARS 1-1/4"
           PVC SCH80 TEE                                                                    $0.00                                     $5.65


           801-015 1-1/2" PVC
           SCH80 TEE                                                                        $0.00                                   $45.23


           801-020 2" PVC SCH80
           TEE                                                                              $0.00                                   $63.62


           801-025 2-1/2 PVC
           SCH80 TEE                                                                        $0.00                                     $7.69


           801-030 3" PVC SCH80
           TEE                                                                              $0.00                                     $9.61


           801-040 4" PVC SCH80
           TEE                                                                              $0.00                                   $55.66


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           801-060 6" PVC SCH80
           TEE                                                                              $0.00                                   $38.01


           801-080 8" PVC SCH 80
           TEE                                                                              $0.00                                   $88.15


           805-020 2" PVC SCH80
           THREADED TEE                                                                     $0.00                                   $18.47


           806-012 1-1/4" PVC
           SCH80 90 BEND                                                                    $0.00                                     $3.07


           806-015 1-1/2" PVC
           SCH80 90 DEGREE                                                                  $0.00                                   $16.43


           806-030 3" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                     $5.22


           806-060 6" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $45.20


           806-080 8" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                 $186.88


           817-012 1-1/4" PVC80 45
           SXS                                                                              $0.00                                     $6.12


           817-015 1-1/2" SCH80 45
           DEGREE BEND                                                                      $0.00                                   $28.91


           817-020 2" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $46.86


           817-040 4" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $21.57


           829-012 1-1/4" PVC
           SCH80 COUPLING S                                                                 $0.00                                     $8.54


           829-015 1-1/2" PVC
           SCH80 COUPLING S                                                                 $0.00                                   $29.91


           829-020 2" PVC SCH80
           COUPLING S X S                                                                   $0.00                                     $4.94


           829-030 3" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                     $6.98


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           829-040 4" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                   $52.48


           835-012 1-1/4" PVC
           SCH80 FIP ADAPTE                                                                 $0.00                                     $6.69


           835-020 2" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $42.93


           835-030 3" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $63.59


           835-040 4" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $87.42


           836-015 1-1/2" SCH80
           MALE ADAPTER                                                                     $0.00                                   $37.74


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                   $10.92


           836-025 SPEARS 2-1/2"
           SCH80 MIP ADA                                                                    $0.00                                   $12.41


           836-030 3" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $75.75


           836-040 4" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $73.52


           837-211 1-1/2" X 1" PVC
           SCH80 REDUC                                                                      $0.00                                     $1.99


           837-250 SPEARS 2" X
           1-1/4" PVC SCH8                                                                  $0.00                                     $2.83


           837-251 2" X 1-1/2" PVC
           SCH80 R BUS                                                                      $0.00                                   $16.98


           837-338 3" X 2" PVC
           SCH80 R BUSH S                                                                   $0.00                                     $7.80


           837-420 4" X 2" SCH80
           PVC BUSH SPEA                                                                    $0.00                                   $43.19


           837-422 4" X 3" PVC
           SCH80 R BUSH SX                                                                  $0.00                                   $43.19


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 629
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           837-532 6" X 4" PVC
           SCH80 R BUSH S                                                                   $0.00                                   $30.03


           839-248 SPEARS 2" x
           3/4" PVC SCH80                                                                   $0.00                                   $21.57


           847-012 SPEARS 1-1/4
           SCH80 CAP                                                                        $0.00                                     $7.38


           847-015 1-1/2" PVC
           SCH80 SLIP CAP                                                                   $0.00                                   $31.18


           847-020 2" PVC SCH80
           CAP SLIP                                                                         $0.00                                   $15.59


           847-040 4" PVC SCH80
           CAP (SLIP) SPE                                                                   $0.00                                 $141.74


           847-060 6" PVC SCH80
           CAP (SLIP)                                                                       $0.00                                   $88.14


           847-080 SPEARS 8" PVC
           SCH 80 CAP (S                                                                    $0.00                                 $113.17


           851-030 SPEARS 3" PVC
           SCH80 FLANGE                                                                     $0.00                                   $26.00


           854-020 2" PVC SCH80
           VSTONE FLANGE-                                                                   $0.00                                     $5.08


           875-060 6" X 6" PVC
           SCH80 WYE                                                                        $0.00                                   $92.74


           835-015 1-1/2" PVC
           SCH80 FIP ADAPTE                                                                 $0.00                                   $28.71


           875-020 2" X 2" PVC
           SCH80 WYE                                                                        $0.00                                   $34.10


           801-291 2 1/2" X 1 1/2"
           SCH80 PVC R                                                                      $0.00                                   $43.68


           TC10150STE 1 1/2"
           TRUE UNION BALL C                                                                $0.00                                 $214.40


           829-338 SPEARS 3" x 2"
           PVC SCH80 RE                                                                     $0.00                                   $31.75


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 630
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           847-010 SPEARS 1" PVC
           SCHEDULE 80 S                                                                    $0.00                                     $4.15


           847-030 SPEARS 3"
           SCH80 PVC CAP SLI                                                                $0.00                                   $63.04


           848-015 1-1/2" PVC
           SCH80 THREADED C                                                                 $0.00                                     $2.37


           837-339 3" X 2-1/2"
           SCH80 BUSHING S                                                                  $0.00                                   $23.40


           DR186 6" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                   $75.20


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $2,608.00


           SDR21SW125 1-1/4"
           SDR21 IPS OD PVC                                                                 $0.00                                     $5.84


           SDR21150 1-1/2" SDR21
           IPS OD PVC GA                                                                    $0.00                                 $128.48


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $341.94


           SDR21250 2-1/2" SDR 21
           IPS OD PVC G                                                                     $0.00                                   $24.20


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $16.84


           SDR21SW250 2-1/2"
           SDR 21 IPS OD PVC                                                                $0.00                                 $411.40


           SDR21R3X250 3" X
           2-1/2" IPS OD PVC                                                                $0.00                                   $16.46


           SDR21R42 4" X 2"
           REDUCER IPS OD PVC                                                               $0.00                                   $36.28


           SDR21FIPA150 1 1/2"
           IPS OD PVC GASK                                                                  $0.00                                 $214.83


           DR18456 6" DR 18 C-900
           DI OD PVC GA                                                                     $0.00                                   $58.21


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 631
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           SDR21FIPA2 2" SDR21
           IPS OD PVC GASK                                                                  $0.00                                   $64.44


           SDR2145150 1-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $35.58


           SDR21452.5 2-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                 $116.84


           SDR21453 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $55.43


           SDR21903 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $18.48


           SDR21CAP1.5 1 1/2"
           SDR 21 IPS OD PV                                                                 $0.00                                   $56.43


           SDR21CAP2 2" SDR 21
           IPS OD PVC GASK                                                                  $0.00                                   $31.20


           SDR21RCPLG250 2-1/2"
           SDR21 IPS OD P                                                                   $0.00                                   $10.74


           SDR21FIPA4 4" SDR 21
           IPS OD PVC GAS                                                                   $0.00                                   $26.54


           SDR21MIPA150 1-1/2"
           SDR21 IPS OD PV                                                                  $0.00                                 $556.56


           SDR21MIPA250 2-1/2"
           SDR 21 IPS OD P                                                                  $0.00                                 $149.30


           SDR21MIPA3 3" SDR 21
           IPS OD PVC GAS                                                                   $0.00                                 $270.41


           SDR21MIPA4 4" SDR 21
           IPS OD PVC GAS                                                                   $0.00                                   $62.13


           SDR21MIPA6 6" SDR21
           IPS OD PVC GASK                                                                  $0.00                                   $60.64


           SDR21R32 3" X 2"
           SDR21 IPS OD PVC S                                                               $0.00                                 $250.08


           SDR21T150X150 1-1/2"
           SDR21 IPS OD P                                                                   $0.00                                   $40.66


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           SDR21T250 2-1/2" SDR
           21 IPS OD PVC                                                                    $0.00                                   $26.70


           SDR21T33 3" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $56.43


           SDR21T66 6" X 6" SDR
           21 IPS OD PVC                                                                    $0.00                                   $97.40


           SDR21SCPLG2 2" SDR
           21 IPS OD PVC GA                                                                 $0.00                                   $32.90


           SDR21TT250X125 2-1/2"
           X 1-1/4" SDR                                                                     $0.00                                   $37.55


           DR1890BXS6 6" DR 18
           C-900 DI OD PVC                                                                  $0.00                                   $78.64


           SDR21T3X150 3" X
           1-1/2" SDR 21 IPS                                                                $0.00                                 $366.80


           SDR21CAP250 2-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                   $16.14


           SDR21TT250X150 2-1/2"
           X 1-1/2" SDR                                                                     $0.00                                   $18.78


           DR1358IPS 8" DR 13.5
           IPS OD 128 PSI                                                                   $0.00                               $3,984.00


           DR1354 4" DR 13.5 IPS
           OD 128 PSI P                                                                     $0.00                                   $99.20


           DR11903IPS 3" DR11
           IPS OD 160 PSI                                                                   $0.00                                     $8.30


           DR11MJA3DIPSK 3" DR
           11 DIPS OD 160                                                                   $0.00                                   $75.27


           ELECTROCPLG075CTS
           3/4" CTS OD HDPE                                                                 $0.00                                   $23.00


           DR11R200X125IPS 2" X
           1-1/4" DR 11 I                                                                   $0.00                                     $9.00


           DR11FA2IPS 2" DR 11
           IPS OD 160 PSI                                                                   $0.00                                   $60.52


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           DR11MJA12DIPSK 12"
           DR11 DIPS OD 160                                                                 $0.00                                 $168.26


           DR11MJA6DIPS 6" DR11
           DIPS OD HDPE M                                                                   $0.00                                 $546.00


           DR9MJA8IPSK 8" DR 9
           IPS OD 200 PSI                                                                   $0.00                                 $263.20


           DR11224IPS 4" DR 11
           IPS OD 160 PSI                                                                   $0.00                                   $96.00


           DR17226DIPS 6" DR 17
           DIPS OD 100 PS                                                                   $0.00                                   $37.40


           DR17FA6DIPS 6" DR 17
           DIPS OD 100 PS                                                                   $0.00                                 $129.03


           DR325MJA12IPS 12" DR
           32.5 IPS OD 64                                                                   $0.00                                 $196.00


           DR11MJA4DIPS 4" DR11
           DIPS HDPE MJ A                                                                   $0.00                                 $228.00


           DR11T106DIPS 10" X 6"
           DR11 DIPS HDP                                                                    $0.00                                 $576.00


           #0887130 TOTAL
           RUBBER REBUILD KIT F                                                             $0.00                                 $112.62


           A423NEWPORT56R
           A423 HYDRANT 5'6" BU                                                             $0.00                               $2,171.13


           CL52TY4 4" CLASS 52
           TYTON PIPE MCWA                                                                  $0.00                                 $146.02


           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                               $3,806.28


           CL52TY30 30" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $2,470.00


           CL52TY36 36" CL52
           DUCTILE IRON TYT                                                                 $0.00                               $3,328.38


           CL56TY10 10" CL56
           TYTON DUCTILE IRO                                                                $0.00                               $2,311.68


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           CL350TY8 8" CL350
           TYTON JOINT DUCTI                                                                $0.00                               $1,317.74


           CL350TY6 6" CL350
           TYTON DUCTILE IRO                                                                $0.00                                 $506.10


           CL350TY14 14"
           PRESSURE CLASS 350
           TY                                                                               $0.00                                 $617.94


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $1,063.86


           CL52TY6 6" CL52
           TYTON DUCTILE IRON                                                               $0.00                                 $299.60


           CL52TY10 10" CL52
           TYTON DUCTILE IRO                                                                $0.00                                 $553.80


           CL52TY12 12" CL52
           TYTON DUCTILE IRO                                                                $0.00                                $-628.56


           CL52TY16 16" CL52
           TYTON DUCTILE IRO                                                                $0.00                               $1,011.00


           CL52MJ4 4" CL52 MJ
           DUCTILE IRON PIP                                                                 $0.00                               $1,077.07


           CL52MJ12 12" CLASS
           52 MJ PIPE                                                                       $0.00                               $3,658.83


           CL52MJ16 16" CLASS
           52 MJ PIPE                                                                       $0.00                             $11,877.12


           POLYWRAP30 30" X
           440' POLYWRAP 8 MI                                                               $0.00                               $1,066.56


           POLYWRAP24 24" X
           440'POLYWRAP 8 MIL                                                               $0.00                                $-850.08


           PW20CL 20"
           POLYWRAP CROSS
           LAMINATED                                                                        $0.00                                 $347.60


           MUE192342 HYDRANT
           HOSE NOZZLE CAP G                                                                $0.00                                   $19.22




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           MUE280070 A-41 DRAIN
           RING BOLT & NU                                                                   $0.00                                     $6.58


           MUE280366 MAIN
           VALVE REPAIR KIT FOR                                                             $0.00                                 $436.80


           MUE281951 A-4 OPEN
           LEFT HOLD DOWN N                                                                 $0.00                                 $188.99


           MUEA45R 5-1/4" HOLD
           DOWN NUT OPEN R                                                                  $0.00                                   $47.25


           MUEA115L MUELLER
           5-1/4 UPPER STEM S                                                               $0.00                                 $413.09


           MUEA300-00 4-1/2
           SAFETY FLANGE REPA                                                               $0.00                                 $139.64


           MUEA301-00 5-1/4
           SAFETY KIT THREADE                                                               $0.00                               $1,256.76


           MUEA320-016 A423
           5-1/4" X 18" HYDRA                                                               $0.00                                 $468.37


           H142660 MUELLER
           MUEA367 7" BRASS O-                                                              $0.00                                   $32.20


           MUE194932 A-7 OIL
           PLUG FOR A421/ A4                                                                $0.00                                     $6.09


           MUE190348 BONNET
           ORING FOR 4-1/2 &                                                                $0.00                                   $14.30


           MUE145704 MUELLER
           BONNET FOR A423 O                                                                $0.00                                 $470.20


           HRPIA320-006 5-1/4 X 6"
           HYDRANT EXT                                                                      $0.00                                 $192.72


           HRPIA300-00 4-1/2
           SAFETY FLANGE REP                                                                $0.00                                   $94.32


           HRPIA319-006 4-1/2 X 6"
           HYDRANT EXT                                                                      $0.00                                 $350.00


           HRPIA319-016 4-1/2" X
           18" HYDRANT E                                                                    $0.00                                 $221.92



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           200M11W-4L 4" MJ RW
           GATE VALVE, OPE                                                                  $0.00                                 $198.95


           A23600612R 12" OPEN
           RIGHT FLANGED R                                                                  $0.00                                 $912.50


           MUEHW MISC MUELLER
           HANDWHEEL                                                                        $0.00                                 $151.80


           MUEA1L-1.5s MUELLER
           A423 A-1 OPEN                                                                    $0.00                                 $140.55


           T-2360-16-8R 8"
           TAPPING VALVE OPEN                                                               $0.00                               $1,172.83


           T-USP019-8L 8" U.S.
           PIPE TAPPING O/                                                                  $0.00                              $-1,172.83


           H615128 12 X 8 H615
           TAPPING SLEEVE                                                                   $0.00                               $2,444.60


           H61544 4X4 H615
           MUELLER TAPPING SLE                                                              $0.00                               $1,593.65


           MUE#195826 END
           GASKET FOR 8" TAP SL                                                             $0.00                                 $102.26


           H6151412 14" X 12"
           MUELLER MJ TAPPI                                                                 $0.00                               $2,930.70


           MUE194638 12" END
           GASKET FOR H615 T                                                                $0.00                                   $69.81


           MUE195135 MUELLER
           RUBBER SIDE PACKI                                                                $0.00                                   $20.63


           MUE198021 12"
           MUELLER RW TAPPING
           VA                                                                               $0.00                                   $56.15


           MUE194678 RUBBER
           SIDE PACKING FOR H                                                               $0.00                                   $35.30


           CLO2640465 CLOW
           F2640 STEM COULPLIN                                                              $0.00                                 $382.32


           CLO2545-M36-450 4-1/2"
           NST PUMPER N                                                                     $0.00                                 $268.16


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 637
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           H13442-075 8X3/4CC
           MUELLER BRONZE C                                                                 $0.00                                 $237.42


           B25008N-100 1" BALL
           CORPORATION CC                                                                   $0.00                                 $103.70


           MUE581957 2" 110
           COMPRESSION
           GASKET                                                                           $0.00                                    $-3.69


           H15219N-100 1" CTS
           COMPRESSION CURB                                                                 $0.00                                 $284.70


           H15028N-100 1" IP X
           COMPRESSION COR                                                                  $0.00                                 $123.85


           B2996N-100 MUELLER
           1" LOW LEAD 300                                                                  $0.00                                 $205.34


           B25008-00N-150X200
           1-1/2" CC X 2" B                                                                 $0.00                                $-291.08


           H15219N-150 MUELLER
           1-1/2" LOW LEAD                                                                  $0.00                                $-581.75


           C45-44NL 1" CTS X IPS
           COMPRESSION U                                                                    $0.00                                   $21.41


           C45-77-NL 2" CTS X 2"
           IPS PACK JOIN                                                                    $0.00                                   $77.56


           C45-43NL 1" COPPER
           COMPRESSION X 3/                                                                 $0.00                                 $330.30


           C45-34NL 3/4" COPPER
           COMPRESSION X                                                                    $0.00                                   $88.08


           C45-33NL 3/4" COPPER
           COMPRESSION X                                                                    $0.00                                   $31.92


           MCD74620 5/8" METER
           X 3/4" MIP TAIL                                                                  $0.00                                 $212.94


           H15428N-100 1"
           COMPRESSION X MIP
           AD                                                                               $0.00                                  $-26.87




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                Name

           H15451N-100X075 1" X
           3/4" ADAPTER C                                                                   $0.00                                   $14.10


           H15403N-125 1-1/4"
           COUPLING MUELLER                                                                 $0.00                                  $-43.34


           117NL-H6F6 1-1/2"
           COMP X FIP ADAPT                                                                 $0.00                                   $55.04


           417T6M6 CAMBRIDGE
           BRASS 1-1/2" BRAS                                                                $0.00                                 $186.60


           CL1-9.40 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                 $135.96


           B84BNST56R
           AMERICAN DARLING
           B84B 5'                                                                          $0.00                             $23,907.60


           B84BHYDEXT12 12"
           HYDRANT EXTENSION                                                                $0.00                                 $294.93


           TSSF-1356-1200-1-2 12"
           X 12" ALL ST                                                                     $0.00                                 $884.93


           ECLYDHYD1.00X5 1" X
           5' YARD HYDRANT                                                                  $0.00                                 $414.75


           XFIG.K-NS KUPFERLE
           FOUNDRIES #909 C                                                                 $0.00                                    $-5.00


           B62BQFHYDEXT6 6"
           B62B QUICK FIX HY                                                                $0.00                                 $257.45


           B84BTMREPKIT B84B
           6" BF REPAIR KIT                                                                 $0.00                                 $130.50


           B62B BREAK FLANGE
           KIT FOR 51/4" V.O                                                                $0.00                                   $88.56


           B84BEXT6 6" HYDRANT
           EXTENSION FOR B                                                                  $0.00                                 $168.78


           B62BEXT512 5-1/4" 1
           FOOT HYDRANT EX                                                                  $0.00                                 $158.60




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           B62BEXT56 6"
           HYDRANT EXTENSION
           FOR                                                                              $0.00                                 $134.20


           K81A5NST6R KENNEDY
           K81A HYDRANT, 5                                                                  $0.00                             $12,864.72


           MH4HYDEXT6 6"
           HYDRANT EXTENSION
           FOR                                                                              $0.00                                 $260.85


           MH4HYDEXT12 M&H 12"
           HYDRANT EXTENSI                                                                  $0.00                                 $380.88


           K81APROV56R
           KENNEDY 5'6" OPEN
           RIGHT                                                                            $0.00                               $2,099.24


           K81PROV56 KENNEDY
           HIGH PRESSURE HYD                                                                $0.00                               $4,134.24


           K81NST66R KENNEDY
           OPEN RIGHT 5-1/4                                                                 $0.00                               $1,450.24


           MH929HYDEXT6 M&H
           929 HYDRANT EXTENS                                                               $0.00                                 $362.48


           K81HYDEXT6 6" K81
           5-1/4 HYDRANT EXT                                                                $0.00                                 $330.54


           KV8068A4L 4" OS&Y
           FLANGED RW GATE V                                                                $0.00                                 $588.13


           MH4500-02-12L M&H 12"
           BUTTERFLY VAL                                                                    $0.00                               $1,020.63


           KV4500CL250-16-R 16"
           BUTTERFLY VALV                                                                   $0.00                               $1,922.08


           WHE90750 QUICK
           RELEASE TUBING
           CUTTE                                                                            $0.00                                $-162.00


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $1.22


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $2.98



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 640
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           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $3.50


           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                   $24.96


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $21.84


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $4.62


           HXBLT075350 3/4" X
           3-1/2" HEX BOLT,                                                                 $0.00                                 $221.00


           HXBLT078400 7/8" X 4"
           HEX BOLT, GRA                                                                    $0.00                                   $18.72


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $2.38


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $43.00


           HXNUT100 1" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $2.20


           FLTWSH100 1" USS
           FLAT WASHER                                                                      $0.00                                     $1.43


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                   $11.63


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $16.74


           MJSDRTG6 6" MJ x
           SDR35 TRANSITION G                                                               $0.00                                   $11.33


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $30.90


           MJGLD3 3" MJ GLAND                                                               $0.00                                     $2.79


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $10.23


           MJGLD8 8" MJ GLAND                                                               $0.00                                   $37.20


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 641
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                   $11.63


           MJGLD6DOM 6" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $62.34


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $82.20


           MJGLD12DOM 12" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $35.62


           MJGLD8DOM 8" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $43.84


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $13.50


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $60.06


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $183.24


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $532.63


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $116.45


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                  $-58.80


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $97.40


           MGP6T 6" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                   $28.00


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                   $60.55


           MGP12T 12" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                   $25.70



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 642
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                Name

           MGP8F 8" MJ GASKET
           AND BOLT PACK WI                                                                 $0.00                                 $131.52


           MGP24 24" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $28.35


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $28.00


           TYGSKT20 20" TYTON
           GASKET PLAIN (SB                                                                 $0.00                                 $892.08


           TYGSKT36 36" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $307.02


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $325.28


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $507.96


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                               $1,094.72


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                     $9.64


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $319.20


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $177.66


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                               $1,385.80


           TYGSKT14 14" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $25.80


           TYGSKT24 24" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $200.28


           TYG6N 6" TYTON
           NITRILE GASKET                                                                   $0.00                                   $45.76


           MJNG8 8" MECHANICAL
           JOINT NITRILE G                                                                  $0.00                                   $58.56



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 643
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                Name

           MCSSG6 6" SURE STOP
           GASKET ATR06SSX                                                                  $0.00                                 $133.58


           4FA-BC 4" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                   $63.95


           6FA-BC 6" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                   $79.95


           6FA-PAK 6" FOSTER
           ADAPTER ACCESSORY                                                                $0.00                                   $30.95


           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $32.70


           EBA1106SX 6"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                 $129.55


           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                  $-58.74


           EBA1108SX 8"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                 $457.85


           EBA1110 10" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $173.89


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                               $3,541.83


           EBA1112SX 12"
           OVERSIZED SPLIT
           MEGAL                                                                            $0.00                                 $629.06


           EBA1712 EBAA 12"
           BELL RESTRAINT FOR                                                               $0.00                               $2,142.80


           EBA2003PV EBAA 3"
           2000PV MEGALUG                                                                   $0.00                                   $55.83


           EBA2010PV 10" 2000PV
           MEGALUG EBAA                                                                     $0.00                                 $817.02


           EBA2012PV 12" 2000PV
           MEGALUG EBAA                                                                     $0.00                               $2,003.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 644
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                Name

           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                               $1,810.52


           GR-DI12 12" ROMAC
           GripRing Gland an                                                                $0.00                                 $446.41


           GR-DI4 4" GRIPRING
           GLAND AND RING F                                                                 $0.00                                 $326.80


           GRAP-DI-6 6" GRIPRING
           ACCESSORY PAC                                                                    $0.00                                 $103.64


           GRAPDI10 10" ROMAC
           GRAP-DI GRIP RIN                                                                 $0.00                                 $330.48


           SLD6 6" ONE-LOK
           RESTRAINT FOR DUCTI                                                              $0.00                                   $17.54


           8FA 8" FOSTER
           ADAPTOR ONLY, LESS
           AC                                                                               $0.00                                 $220.80


           MACROHP-11.90 10"
           MACRO HP 2 BOLT W                                                                $0.00                                 $609.96


           EBA1104SX 4"
           OVERSIZED SPLIT
           MEGALU                                                                           $0.00                                   $99.58


           MACROHP-7.60 6"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $416.42


           MACROHP-9.75 8"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $707.32


           MACROHP-13.80 12"
           MACRO HP TWO BOLT                                                                $0.00                                 $717.88


           MACROHP-5.60 4"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $157.77


           DUCLUGS DUC LUGS                                                                 $0.00                                   $38.80


           RODCPLG058 5/8 ROD
           COUPLING                                                                         $0.00                                     $0.46



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           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                   $13.60


           RODCPLG100 1" ROD
           COUPLINGS                                                                        $0.00                                   $19.70


           3/4" EYE BOLT W/1"
           EYE                                                                              $0.00                                   $59.68


           WMC4 4" WATERMAIN
           CLAMPS 580B-4 450                                                                $0.00                                   $27.20


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $65.40


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $19.73


           WMC12 12"
           WATERMAIN CLAMPS
           450B-009                                                                         $0.00                                   $41.50


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $52.50


           WMC8 MODEL #590 8"
           WATER MAIN SOCKE                                                                 $0.00                                 $396.96


           BRA363 2-1/2" FNST X
           2" MIP SWIVEL                                                                    $0.00                                   $36.00


           MANDRILL10-R 10" PIPE
           MANDRILL (REN                                                                    $0.00                                 $185.00


           CC8 BATCH ROLL 0.31"
           CONCRETE CLOTH                                                                   $0.00                                 $387.18


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $11.00


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                 $154.44


           FAP4FFSS 4" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $24.00




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           GALVCAP-200 2"
           GALVANIZED
           THREADED                                                                         $0.00                                   $14.81


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                   $29.28


           BRNIP-100X1800 1"X 18"
           BRASS NIPPLE                                                                     $0.00                                 $131.80


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $12.64


           BRNIP-100X600 1" X 6"
           BRASS NIPPLE                                                                     $0.00                                     $6.70


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                   $42.67


           BRNIP-200X1200 2" X
           12" BRASS NIPPL                                                                  $0.00                                   $27.02


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $23.10


           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $12.59


           BRNIP-200X4800 2" X
           48" BRASS NIPPL                                                                  $0.00                                 $258.96


           BRNIP-200X1800 2" X
           18" BRASS NIPPL                                                                  $0.00                                 $110.18


           BRNIP-100X3600 1" X
           36" BRASS NIPPL                                                                  $0.00                                 $163.05


           BRNIP-200X3600 2" X
           36" BRASS NIPPL                                                                  $0.00                                 $193.46


           BRT-200X100 2" X 1"
           BRASS TEE THREA                                                                  $0.00                                   $18.83


           BR90-075NL 3/4" 90
           BEND THREADED LO                                                                 $0.00                                     $5.59


           BR90-100NL 1" BRASS
           90 BEND, THREAD                                                                  $0.00                                   $25.80


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           BR90-150NL 1-1/2" 90
           BEND THREADED                                                                    $0.00                                     $8.56


           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $13.93


           BRBSH-050X025NL 1/2"
           X 1/4" REDUCER                                                                   $0.00                                     $2.47


           BRBSH-075X025NL 3/4"
           X 1/4" LOW LE                                                                    $0.00                                     $2.06


           BRBSH-150X100NL
           1-1/2" X 1" REDUCER                                                              $0.00                                     $9.21


           BRBSH-150X125NL
           1-1/2" X 1-1/4" RED                                                              $0.00                                     $9.84


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                     $8.78


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                     $8.78


           BRBSH-200X125NL 2" X
           1-1/4" REDUCER                                                                   $0.00                                     $8.32


           BRCAP-075NL 3/4" CAP
           THREADED B7418                                                                   $0.00                                     $4.12


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                   $22.54


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                     $3.43


           BRCPLG-125X100NL
           1-1/4" X 1" REDUCE                                                               $0.00                                   $24.96


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $23.68


           BRCPLG-150X100NL
           1-1/2" X 1" REDUCE                                                               $0.00                                   $10.52




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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           BRCPLG-200X125NL 2"
           X 1 1/4" BRASS                                                                   $0.00                                   $45.51


           BRCPLG-075X050NL
           3/4" X 1/2" REDUCE                                                               $0.00                                   $15.50


           BRPLG-075NL 3/4"
           PLUG, THREADED B74                                                               $0.00                                     $3.73


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                     $4.67


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                     $3.43


           BRT-100X075NL 1" X
           3/4" REDUCING TE                                                                 $0.00                                   $17.15


           BRT-200X150NL 2" X
           1-1/2" LOW LEAD                                                                  $0.00                                   $27.19


           BRUNION-200NL 2"
           UNION, THREADED B7                                                               $0.00                                   $29.33


           BR45-200NL 2" 45
           BEND, THREADED 24                                                                $0.00                                   $34.98


           BRNIP-200X2400 2" X
           24" BRASS NIPPL                                                                  $0.00                                   $69.73


           BRT-200X100NL 2" X 1"
           TEE, THREADED                                                                    $0.00                                   $23.82


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $19.29


           BRT-200X075NL 2" X
           3/4" TEE THREADE                                                                 $0.00                                   $23.82


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                   $29.53


           BRBSH-100X075NL 1" X
           3/4" HEX BUSHI                                                                   $0.00                                     $2.58




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 649
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           BRPLG-200NL 2"
           SQUARE HEAD CORED
           PL                                                                               $0.00                                   $32.24


           GA945-2 GA 2" KINETIC
           COMBINATION A                                                                    $0.00                                 $336.00


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $33.90


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $18.50


           NDST6 6" X 1000' NON
           DETECTALBE SEW                                                                   $0.00                                   $29.90


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                   $35.24


           TRENTON WAX TAPE
           BROWN PRIMER GALLO                                                               $0.00                                   $65.00


           TRENTON #1 WAX TAPE
           6" X 9' ROLL                                                                     $0.00                                 $374.76


           POLYPLY FOR
           TRENTON #1 WAX TAPE                                                              $0.00                                 $152.10


           LS200C STANDARD
           LINK SEAL                                                                        $0.00                                   $29.04


           LS300C STANDARD
           LINK SEAL                                                                        $0.00                                   $64.26


           LS400C STANDARD
           LINK SEAL                                                                        $0.00                                   $23.86


           STAPLE STAPLES
           BOX-1000                                                                         $0.00                                   $29.50


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                 $264.00


           ACF ENVIRONMENTAL
           SILT SACK 24" X 2                                                                $0.00                                   $50.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 650
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           AMEXDNS C131
           AMERICAN EXCELSIOR
           PRE                                                                              $0.00                                 $262.20


           WINFAB200W-12 12.5' X
           432' WOVEN GE                                                                    $0.00                                $-222.00


           RIPLEY'S DAM FOR 8"
           PVC SDR 35 PIPE                                                                  $0.00                                 $800.00


           HHY HARD HATS
           YELLOW 19952                                                                     $0.00                                     $6.69


           BT12 SLUSH BOOTS
           SIZE 12                                                                          $0.00                                   $25.90


           SF4X100 4' X 100'
           ORANGE SAFETY FEN                                                                $0.00                                   $29.00


           GR-481x1 48" LONG
           HARDWOOD GRADE ST                                                                $0.00                                   $11.50


           GR-36N 36" LONG 1" X 1
           HARDWOOD GRA                                                                     $0.00                                 $513.00


           Q4STDE STANDARD
           CHAMBER END CAPS, I                                                              $0.00                                 $262.50


           FHM-BR2.5 2-1/2" FIRE
           HYDRANT MARK                                                                     $0.00                                   $57.00


           SAFETY RED FLAGS
           24" X 24" WITH 36"                                                               $0.00                                     $3.39


           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                   $42.72


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                   $93.10


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $69.16


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $71.82


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 651
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                Name



           FOXTCRD
           INVERT-A-CAP RED
           SPRAY PAIN                                                                       $0.00                                   $34.56


           FOXTCWH
           INVERT-A-CAP WHITE
           SPRAY PA                                                                         $0.00                                   $66.50


           FOXTCYE
           INVERT-A-CAP YELLOW
           SPRAY P                                                                          $0.00                                     $8.88


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                   $41.84


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $24.66


           PVCCAWQT PVC ALL
           WEATHER CEMENT 311                                                               $0.00                                   $20.20


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                   $28.75


           PVCCEMENTQT PVC
           CEMENT QUART GRAY
           M                                                                                $0.00                                   $29.85


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                   $34.90


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $29.07


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                                   $39.00


           FOXTCPK
           INVERT-A-CAP PINK
           SPRAY PAI                                                                        $0.00                                   $21.28


           S106-7WS 7" X 4"
           MANHOLE BOOT KOR-                                                                $0.00                                   $42.80


           S406-12WP-EX 12" X 10"
           MANHOLE BOOT                                                                     $0.00                                   $51.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 652
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           GOGGLES- STANDARD
           SAFETY GOGGLES FO                                                                $0.00                                     $4.50


           Q4STD34 34" X 53" X
           12" STANDARD CH                                                                  $0.00                               $1,447.80


           JDRAINCPLG12 12"
           COUPLING FOR J-DRA                                                               $0.00                                   $26.53


           TS420 STIHL CUT
           QUICK SAW 14" 42380                                                              $0.00                                 $895.00


           MUE75838 MUELLER
           B101 TAPPING MACHI                                                               $0.00                                   $35.16


           2" SCH 40 BLACK
           STEEL PIPE T&C                                                                   $0.00                                   $33.60


           PVC404P 4" Perforated
           PVC Schedule                                                                     $0.00                                   $27.00


           SW24A STRAP
           WRENCH - FITS 2"-12"
           PI                                                                               $0.00                                   $58.95


           SDR35T246 24 X 6
           SDR35 TEE                                                                        $0.00                               $4,081.50


           CAM2D FEMALE
           COUPLER X FEMALE
           THREA                                                                            $0.00                                   $10.17


           41709050863203
           SMITH-BLAIR
           REDUCING                                                                         $0.00                               $1,779.64


           DWVT126 12 X 6 DWV
           TEE #D1012-6 370                                                                 $0.00                                 $839.57


           END SEAL                                                                         $0.00                                   $56.70


           CAM15DP 1-1/2" MALE
           DUST PLUG                                                                        $0.00                                     $0.00


           164-300 STAINLESS
           STEEL CLAMP 8" CL                                                                $0.00                                 $172.71




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 653
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           248-300 FERNCO
           STAINLESS STEEL
           CLAM                                                                             $0.00                                 $310.08


           1004-1515 CONC/CONC
           COUPLING                                                                         $0.00                                 $450.00


           0630-0960-082 8" X 8"
           FOR AC PIPE S                                                                    $0.00                                 $355.91


           SDR3522BXP15 15"
           SDR 35 22 1/2 PVC                                                                $0.00                                 $243.47


           PVCC404 4" SCH40 PVC
           UL CONDUIT 10'                                                                   $0.00                                 $253.30


           401-249 2"x1" PVC
           Schedule 40 Tee                                                                  $0.00                                     $3.76


           448-007 SPEARS 3/4"
           FIPT CAP PVC 40                                                                  $0.00                                     $2.05


           449-007 3/4" PVC 40
           SLIP PLUG                                                                        $0.00                                     $4.90


           449-010 1" PVC40 SLIP
           PLUG                                                                             $0.00                                     $5.80


           449-012 SPEARS 1-1/4"
           SCH40 PLUG                                                                       $0.00                                     $4.28


           450-010 1" PVC40 THD
           PLUG SPEARS                                                                      $0.00                                     $2.46


           6" PVC BACKWATER
           VALVE                                                                            $0.00                                   $49.50


           8"X 4" FOAM GLASS
           INSULATION,WITH P                                                                $0.00                                 $305.12


           882-020 1/2" X 2" SCH 80
           PVC NIPPLE                                                                       $0.00                                     $0.71


           BF16DI 16" BLIND
           FLANGE DUCTILE IRO                                                               $0.00                                 $294.80


           CAM6D 6" PART D
           FEMALE CPLR X FEMAL                                                              $0.00                                   $63.78


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 654
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           CLOW90C   8" MODEL
           90C ADAPTER F                                                                    $0.00                                 $188.92


           DWV2212 12" 22 1/2
           BEND SCH 4 DWV P                                                                 $0.00                                 $293.06


           DWV4512 12" DWV 45
           BEND, B X B 3714                                                                 $0.00                                 $151.38


           DWVCR4 4X4 DWV
           SCH40 PVC CROSS                                                                  $0.00                                     $6.33


           DWVT128 12X8 PVC
           DWV SCH40 TEE                                                                    $0.00                                     $0.00


           EBA1130DEC 30"
           MEGALUG &
           ACCESSORY                                                                        $0.00                                 $731.45


           FVC67S6 6"
           FABRI-VALVE
           BI-DIRECTION                                                                     $0.00                                 $672.00


           H10298-075 BRASS
           HANDLE, SCREW AND                                                                $0.00                                 $169.44


           HARCO 337-060 6"
           C900XSDR35 CPLG.                                                                 $0.00                                 $343.97


           MH129NST56R M&H
           FIRE HYDRANT #129 5                                                              $0.00                                 $849.50


           SH248FHM---RL SAFE
           HIT HYDRANT MARK                                                                 $0.00                                 $363.90


           VTN-012 1 1/2-2" pvc
           operating n                                                                      $0.00                                     $7.78


           WHEELER MODEL 961
           HEAVY DUTY DEEP S                                                                $0.00                                 $180.00


           NORY86 8" X 6" SDR35
           WYE, SOLVENT W                                                                   $0.00                                   $22.53


           DR119012DIPS 12" DR11
           DIPS HDPE 90                                                                     $0.00                                 $429.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 655
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           EX-TEND200 EBAA
           #208M0 MJ 8" EXPANS                                                              $0.00                                 $896.57


           PVCWATERSTOP24 24"
           PVC WATERSTOP P                                                                  $0.00                                   $61.96


           CAM15D 1 1/2" FE X FE
           ALUMINUM CAM                                                                     $0.00                                     $9.45


           GFSBR-12 PIONEER
           BOX 2" X 12" RISER                                                               $0.00                                 $210.00


           DR11226DIPS 6" DR11
           DIPS HDPE 22 D                                                                   $0.00                                   $74.80


           5427-120 12"
           BUTTERFLY CHECK
           VALVE                                                                            $0.00                               $3,751.30


           CAMPBELL1012S 8"
           FRAME WITH 32" SEW                                                               $0.00                                 $364.00


           DMR86LEBD 8"X 6"
           DUCTILE MECHANICAL                                                               $0.00                                 $104.96


           CAM2DP 2" DUST PLUG                                                              $0.00                                     $5.79


           94ECAPGAS 94E
           COVER MARKED GAS
           W/ P                                                                             $0.00                                     $6.50


           CL1-7.24 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                   $50.63


           PVC40FIPA4UL 4" SCH
           40 UL FEMALE IR                                                                  $0.00                                   $17.76


           35T154 15"X 4"SDR35
           TEE G XG X G                                                                     $0.00                                 $167.19


           CHE286-198 8" Cage
           Type Mandril For                                                                 $0.00                                 $158.20


           F202-669XCC4 6" X 1"
           FORD DBL STRA                                                                    $0.00                                     $0.00


           ARI MODEL D-020 AIR
           RELEASE VALVE                                                                    $0.00                                     $1.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 656
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                Name



           1645LCOVER 16" 45
           BEND L COVER - UR                                                                $0.00                                 $564.80


           WMC10 MODEL #590
           10" WATERMAIN CLAM                                                               $0.00                                 $368.60


           WMC6 MODEL #590 6"
           WATER MAIN CLAMP                                                                 $0.00                                 $165.00


           DR11902IPSCOMP 2"
           HDPE IPS PLASTIC                                                                 $0.00                                   $24.75


           3/4"FR WATTS 3/4"
           HOSE CONNECTION V                                                                $0.00                                   $14.50


           WMC12 MODEL # 590
           12" WATER MAIN CL                                                                $0.00                                 $316.50


           M31SL075 3/4" SPRING
           LOADED CHECK V                                                                   $0.00                                   $11.53


           WMC4 #590 4" WATER
           MAIN CLAMP W/ B-                                                                 $0.00                                 $171.90


           HWYCAP24 24" END
           CAP                                                                              $0.00                                   $35.00


           DMC30DOM 30" MJ
           C153 DUCTILE IRON C                                                              $0.00                               $2,447.20


           UNDERCOATING
           SPRAY RUBBERIZED                                                                 $0.00                                   $49.39


           H14227N-058X075
           MUELLER 5/8 X 3/4 L                                                              $0.00                                 $113.70


           V2450 BIBBY 2-1/2" HD
           CURB BOX COVE                                                                    $0.00                                   $10.10


           CP FIG. 179 8" OFFSET
           PIPE CLAMP                                                                       $0.00                                 $136.50


           SWD12CORNER JDRAIN
           12" SWD CORNER F                                                                 $0.00                                   $11.28


           ELIM12SDR35 12"
           ELIMINATOR OIL/ DEB                                                              $0.00                                 $320.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 657
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                Name



           MOON599-4 4"
           ALUMINUM DUST CAP                                                                $0.00                                   $11.50


           SYNTEC BX11 GEOGRID
           13.1' X 246'(35                                                                  $0.00                               $2,200.00


           3008-R12 12" X 24"
           RISER GREEN, POL                                                                 $0.00                                   $32.50


           B3211-2341R 4"
           MUELLER BUTTERFLY
           VA                                                                               $0.00                                 $442.00


           ROM50110 10" ROMAC
           501 COUPLING 10.                                                                 $0.00                                 $250.41


           MUE682332N MUELLER
           LOW LEAD COMPRES                                                                 $0.00                                   $11.36


           MUE682333N
           COMPRESSION TO
           FLARE PUS                                                                        $0.00                                   $50.94


           POLYCOVER12 12"
           POLYLOK SOLID
           COVER                                                                            $0.00                                   $23.00


           EBA1710 EBAA 10" DI
           MEGALUG RESTRAI                                                                  $0.00                                 $201.36


           HPT3 1/2" POINTED TIP
           REPLACEMENT F                                                                    $0.00                                   $29.40


           301NL-A7F7 2" CC X 2"
           FIP CORP, LOW                                                                    $0.00                                 $167.27


           210NL-H4T3H 1" COMP
           X 3/4" METER SW                                                                  $0.00                                 $138.91


           VYLON4524 24" VYLON
           PVC 45 DEG BEND                                                                  $0.00                                 $647.88


           DMB4536D 36" DUCTILE
           MECHANICAL JOI                                                                   $0.00                               $4,445.40


           BR45150NL 1-1/2" 45
           BEND LOW LEAD B                                                                  $0.00                                   $10.79



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 658
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                Name

           WT009M2QT-200LF 2"
           009 RPZ BACKFLOW                                                                 $0.00                                 $367.22


           252NL-H4H4 1" OPEN
           RIGHT BALL CURB                                                                  $0.00                                  $-88.00


           ALPHA-A-9.10 8" ALPHA
           WIDE RANGE RE                                                                    $0.00                                 $833.85


           H14242N-100 1"
           MUELLER DUAL CHECK
           M                                                                                $0.00                                 $262.48


           VYLONY246S VYLON
           24" GASKETED WYE W                                                               $0.00                                 $783.05


           FB1000-4G-NL 1" CC X
           CTS GRIP JOINT                                                                   $0.00                                 $100.48


           B44-444-Q-NL 1" BALL
           STYLE CURB STO                                                                   $0.00                               $1,650.81


           MCD74753Q-125NL
           1-1/4" Q-CTS COMPR                                                               $0.00                                   $31.56


           DMB2224D 24" DUCTILE
           MJ C153 22-1/2                                                                   $0.00                               $5,075.20


           POLYLOKCOV15
           POLYLOK 15" COVER
           GREE                                                                             $0.00                                   $28.00


           VYLONTY306S VYLON
           30" X 6" GASKETED                                                                $0.00                               $3,863.76


           B20046N-100 1" BALL
           CORPORATION STO                                                                  $0.00                                   $42.95


           252NL-H3H3 3/4" BALL
           CURB STOP, OPE                                                                   $0.00                                 $303.02


           G15428N-075 MUELLER
           3/4" LOW LEAD G                                                                  $0.00                                   $22.74


           G15451N-075 MUELLER
           3/4" LOW LEAD G                                                                  $0.00                                   $60.92




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 659
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                Name

           G15451N-100 MUELLER
           1" LOW LEAD GRI                                                                  $0.00                                 $104.54


           G25008N-075 MUELLER
           3/4" LOW LEAD C                                                                  $0.00                                 $215.42


           G25209N-100 MUELLER
           1" LOW LEAD GRI                                                                  $0.00                                   $76.44


           H15534N-100 1" 1/8
           BEND FIP X COMPR                                                                 $0.00                                   $70.69


           EBA3824DI 24" 3800DI
           RESTRAINED COU                                                                   $0.00                               $1,138.88


           FB800-4-NL 1" CC X MIP
           CORP LOW LEA                                                                     $0.00                                 $257.40


           K81V5NST56L
           KENNEDY K81V
           VINTAGE FI                                                                       $0.00                               $3,663.66


           GF36152 16" CURB BOX
           MIDDLE EXTENSI                                                                   $0.00                                   $81.00


           DMB2230DOM 30"
           DOMESTIC MJ 22-1/2 B                                                             $0.00                               $3,705.85


           ROMAC50116 16"
           STYLE 501 CAST
           COUPL                                                                            $0.00                                 $726.87


           MS271 18 NES STIHL
           CHAINSAW W/ 18"                                                                  $0.00                                 $327.96


           GF11181SC 8" SEWER
           COVER ONLY FOR C                                                                 $0.00                                 $108.00


           442-15801550-400 14" X
           12" OMNI LON                                                                     $0.00                                 $405.16


           DMB4524DOM 24" MJ
           C153 45 DEG BEND                                                                 $0.00                               $5,825.24


           FB800-3-NL 3/4" CC
           INLET X 1" INCRE                                                                 $0.00                                   $36.97




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 660
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                Name

           FB1000-3-Q-NL 3/4"
           BALL CORPORATION                                                                 $0.00                                 $191.00


           UFR1400-D-10-UDOM
           10" WEDGE ACTION                                                                 $0.00                                   $46.35


           BT8MDCCAP 8" VALVE
           BOX COVER MARKED                                                                 $0.00                                   $90.00


           BT8MDCTOP 8" VALVE
           BOX TOP SECTION                                                                  $0.00                                 $500.00


           BT8MDCBOT 8" VALVE
           BOX BOTTOM SECTI                                                                 $0.00                                 $111.00


           BT10MDCBOT 10"
           VALVE BOX BOTTOM
           SEC                                                                              $0.00                                 $408.90


           BA11-444W-NL 1"
           ANGLE BALL SERVICE                                                               $0.00                                   $74.21


           BA11-777W-NL 2"
           ANGLE BALL SERVICE                                                               $0.00                                 $205.02


           B44-333-G-NL 3/4" BALL
           CURB STOP GR                                                                     $0.00                                 $784.20


           BTVBCAPSDOM 5-1/4"
           VALVE BOX LID MA                                                                 $0.00                                 $383.38


           HRPIUSMET250#12
           5-1/4" MVO REVOLVIN                                                              $0.00                                     $5.48


           HRPIUSMET250#29
           STAND PIPE SEAL 5-1                                                              $0.00                                   $10.08


           ADS906 6" HWY 90
           DEGREE BEND, ADS                                                                 $0.00                                   $18.00


           FB1000-3-G-NL 3/4" CC
           X GRIP JOINT                                                                     $0.00                                   $76.40


           FB1000-7-Q-NL FORD 2"
           CC X COMP BAL                                                                    $0.00                                 $186.21


           CL1-9.40 X 12 CL1
           REPAIR CLAMP (9.0                                                                $0.00                                 $190.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 661
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           ROM50116 16" ROMAC
           501 COUPLING                                                                     $0.00                                 $555.00


           0630-0710-041
           DRESSER 6 X 4" STAINL                                                            $0.00                                 $210.00


           6100-1660-150 TPS
           1-1/4" GALVANIZED                                                                $0.00                                   $24.43


           0065-0032-003
           DRESSER 65 LONG
           COUPL                                                                            $0.00                                   $36.08


           ROM50112 12" ROMAC
           501 COUPLING (1                                                                  $0.00                                 $313.60


           REEDS12 32" LONG
           PIPE SCRAPER, FOR                                                                $0.00                                   $96.17


           REED04391 T100 DRILL
           TAP, 1"CC THRE                                                                   $0.00                                 $150.96


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $63.10


           REEMH26 26"
           MANHOLE HOOKS,
           02301 RE                                                                         $0.00                                   $19.14


           REEDVK3CK1CK2
           VALVE & CURB KEY,
           MAI                                                                              $0.00                                   $99.80


           ALTHRD0756 3/4" X 6'
           ALL THREADED R                                                                   $0.00                                 $144.00


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                 $319.20


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                     $1.55


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                $-303.39


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                                   $41.86



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 662
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $131.32


           SDR3515 15" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $140.21


           SDR35SW4 4" SDR35
           SOLVENT WELD SOLI                                                                $0.00                                   $22.95


           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                                   $53.55


           35LS11PE4 4"SDR-35
           LONG SWEEP 11 1/                                                                 $0.00                                   $22.13


           35LS22PE4 SDR35 4"
           LONG SWEEP 22-1/                                                                 $0.00                                   $21.08


           PVCWATERSTOP12 12"
           PVC SDR35 WATERS                                                                 $0.00                                     $2.47


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $89.18


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                  $-31.21


           SDR35CPLG10 10"
           PVCSDR35 COUPLING
           G                                                                                $0.00                                   $92.23


           SDR35CPLG12 12"
           PVCSDR35 COUPLING
           G                                                                                $0.00                                 $133.94


           SDR35DY6 6"
           PVCSDR35 DOUBLE
           WYE G36                                                                          $0.00                                   $93.47


           SDR35PLG18 18" PVC
           SDR35 PLUG L1161                                                                 $0.00                                 $289.91


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $25.93


           SDR35SADY86 8" X 6"
           SADDLE WYE PVC                                                                   $0.00                                   $18.33


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 663
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SDR35SCPLG4 4"
           SDR35 STOP COUPLING                                                              $0.00                                   $85.78


           SDR35SCPLG6 6"
           SDR35 STOP COUPLING                                                              $0.00                                   $36.71


           SDR35SCPLG8 8"
           SDR35 STOP COUPLING                                                              $0.00                                   $41.56


           SDR35T106 10" X 6"
           PVC SDR35 TEE G1                                                                 $0.00                                   $85.93


           SDR35TY126 12" X 6"
           SDR35 TEE-WYE L                                                                  $0.00                                 $504.09


           SDR35Y1212 12" X 12"
           PVC SDR35 WYE                                                                    $0.00                                 $222.09


           SDR35Y126 12" X 6"
           PVC SDR35 WYE G3                                                                 $0.00                                 $116.83


           NOR4S 4" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                   $11.60


           NOR6S 6" SOLID
           SEWER AND DRAIN
           PIPE                                                                             $0.00                                   $12.30


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                   $78.76


           6" DWV SPIGOT X 6"
           SDR35 SOCKET ADA                                                                 $0.00                                   $19.64


           P1948 4x6x6
           DOWNSPOUT ADAPTER
           CORRU                                                                            $0.00                                 $221.97


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $11.90


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $11.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 664
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                     $1.20


           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                   $29.06


           V-1104 4" PVC TEE WYE
           SEWER AND DRA                                                                    $0.00                                   $80.20


           V-1304 4" X 4" PVC
           CROSS SEWER AND                                                                  $0.00                                 $147.06


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                    $-4.19


           V-1705 3" x 4" x 4"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $19.40


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                     $9.12


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $15.47


           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                  $-35.75


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                   $25.35


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $14.23


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                 $109.12


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                     $5.24


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $58.91


           V-9064 6" X 4" PVC WYE
           SEWER AND DR                                                                     $0.00                                   $48.82


           SV456 6" SOIL PIPE 45
           BEND                                                                             $0.00                                   $53.01


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 665
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                Name



           SVG5 5" SV GASKETS                                                               $0.00                                     $2.70


           SVG6 6" SV GASKETS
           JUMBO PN SVG6                                                                    $0.00                                   $50.93


           90SWEET 4" SWEET AIR
           90 BEND                                                                          $0.00                                   $22.48


           DWV223 3" PVC DWV 22
           BEND BXB P/N 7                                                                   $0.00                                     $1.49


           DWV224 4" DWV SCH40
           22.5 BEND,BELL                                                                   $0.00                                   $14.09


           DWV226 6" PVC DWV 22
           BEND, B X B P/                                                                   $0.00                                 $108.50


           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                   $51.36


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                   $23.25


           DWV906 6" PVC DWV 90
           BEND, BELL X B                                                                   $0.00                                   $11.22


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $16.55


           DWVCOP4 4" PVC DWV
           CLEANOUT PLUG 71                                                                 $0.00                                     $3.63


           DWVCOP6 6"
           CLEANOUT PLUG DWV
           PART#                                                                            $0.00                                   $20.27


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                     $9.70


           DWVCPLG6 6" PVC
           DWV SCH40 COUPLING                                                               $0.00                                     $8.75


           DWVFA6 6" PVC DWV
           ADAPTER FEMALE X                                                                 $0.00                                     $6.17


           DWVRED64 6" X 4" PVC
           DWV REDUCER P/                                                                   $0.00                                   $29.12


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 666
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           DWVT66 6" X 6" PVC
           DWV TEE,P/N D106                                                                 $0.00                                   $31.06


           DWVTY33 3" PVC DWV
           TEE-WYE P/N 7253                                                                 $0.00                                     $9.82


           DWVY44 4" PVC DWV
           SCH40 WYE, 71040,                                                                $0.00                                   $72.54


           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                   $16.20


           DWVRED126 12" X 6"
           PVC DWV SCH40 RE                                                                 $0.00                                   $51.54


           HWY6P 6" X 100'
           PERFORATED HDPE
           COR                                                                              $0.00                                 $106.00


           HWY6S 6" X 100' SOLID
           CORRUGATED HD                                                                    $0.00                                $-106.00


           HDLT000820S0 8"
           SOLID LOKTITE HDPE                                                               $0.00                                $-186.00


           HWY4PS 4" X 250'
           PERFORATED WITH SO                                                               $0.00                                 $442.50


           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                                 $270.00


           HWY4S100 4" X 100'
           SOLID CORRUGATED                                                                 $0.00                                   $78.00


           LANEWTGSKT24 24"
           WATERTITE PIPE GAS                                                               $0.00                                   $65.00


           HDLT000820SPR 8"
           PERFORATED HDPE CO                                                               $0.00                                   $57.60


           HDLT000620SPR 6"
           PERFORATED LOKTITE                                                               $0.00                                 $186.00


           SC-310EC SC-310
           STORMTECH END CAPS                                                               $0.00                                   $73.50


           4" SPEED LEVELERS                                                                $0.00                                     $3.98


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 667
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           HWYSCPLG8 8" HDPE
           SNAP COUPLING                                                                    $0.00                                   $17.18


           4" TUFF TITE GAS
           BAFFLE                                                                           $0.00                                     $5.70


           LANE908 8" HDPE 90
           DEGREE BEND                                                                      $0.00                                   $20.57


           LANECAP24 24" HDPE
           END CAP                                                                          $0.00                                 $399.04


           LANECPLG24 24" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $94.40


           HWYSCPLG4 4" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                 $161.20


           LANECPLG18 18" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $33.00


           LANECPLG15 15" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $24.90


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                     $8.94


           HWYT64 6" X 4" HDPE
           MOLDED SINGLE W                                                                  $0.00                                   $16.00


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                   $43.60


           HWYT6 6" HDPE
           MOLDED SINGLE WALL
           HI                                                                               $0.00                                   $24.00


           LANET88 8" HDPE TEE                                                              $0.00                                   $48.90


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $2.33


           LANECPLG8 8" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $15.20


           LANE458 8" HDPE 45
           DEGREE BEND                                                                      $0.00                                  $-20.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 668
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                Name



           ADSES18 18" END
           SECTION                                                                          $0.00                                 $278.00


           HWYCAP8 8" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $7.30


           ABS454 ABS SCH40 4"
           45 BEND BXB                                                                      $0.00                                   $16.48


           ABS410 4" X 10' ABS
           SCH 40                                                                           $0.00                                 $131.20


           HWYY64 6x6,5 OR 4
           HDPE MOLDED SINGL                                                                $0.00                                     $9.53


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $37.80


           Q4HCEC INFILTRATOR
           Q4 HIGH CAPACITY                                                                 $0.00                                     $0.00


           RCP125 12" CL5
           CONCRETE PIPE                                                                    $0.00                                 $232.00


           01-88 8" X 8"
           CLAY/CLAY COUPLING                                                               $0.00                                   $24.36


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $12.52


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                 $193.64


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $46.88


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $27.23


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $72.10




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 669
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           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $46.40


           02-1210 12" CLAY TO
           10" CI OR PVC R                                                                  $0.00                                   $24.86


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                 $108.30


           02-1515 15" X 15"
           CLAY/CI, PLAS COU                                                                $0.00                                   $64.51


           02-2424 24" X 24"
           CLAY/CI,PLAS COUP                                                                $0.00                                 $191.60


           03-66 6 X 6 CLAY/AC,DI
           COUPLING                                                                         $0.00                                   $52.66


           04-1212 12 X 12
           CONC/CONC COUPLING                                                               $0.00                                 $130.74


           06-66 6" X 6"
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $16.22


           06-88 8 X 8
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $48.72


           06-1212 12" CONC/CI,
           PLASTIC COUPLI                                                                   $0.00                                   $59.27


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $40.72


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                     $7.94


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $36.54


           51-1010 10"
           AC-DI/CI-PLAS
           COUPLING                                                                         $0.00                                   $16.93


           51-1212 12" X 12"
           AC,CI/CI PLAS COU                                                                $0.00                                   $19.76




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 670
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           56-22 2" X 2"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                     $4.05


           56-42 4" X 2" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $19.12


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $18.78


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $39.30


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $40.95


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $20.61


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $46.40


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $36.10


           56-1515 15" X 15"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $64.51


           56-1818 18" X 18"
           CI,PLAS/CI,PLAS C                                                                $0.00                                   $71.40


           56-2121 21" PVC X PVC
           RUBBER COUPLI                                                                    $0.00                                 $167.23


           56-2424 24" X 24"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $95.80


           06-1515 15" CONCRETE
           TO CAST IRON O                                                                   $0.00                                   $44.99


           1070-66 6" X 6"
           CORRUGATED HDPE X
           P                                                                                $0.00                                   $55.84


           128-300 HAS128
           STAINLESS STEEL
           CLAM                                                                             $0.00                                   $28.33


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 671
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                Name



           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                     $9.10


           CHE270-067 6" TEST
           BALL PLUG CHERNE                                                                 $0.00                                   $59.62


           CHE262-064 6"
           MUNI-BALL WITH BY
           PAS                                                                              $0.00                                 $110.60


           CHE270-229 CHERNE 2"
           INSIDE GRIPPER                                                                   $0.00                                     $8.28


           SSBANDING12 1 1/4" X
           .044 STAINLES                                                                    $0.00                                   $16.04


           SSBANDING24 1 1/4" X
           .044 STAINLES                                                                    $0.00                                   $37.60


           SSANCHOR 1/2" DROP
           IN ANCHOR SYSTEM                                                                 $0.00                                   $24.00


           CHE271-578 CHERNE 6"
           ECON-O-GRIP PL                                                                   $0.00                                   $59.00


           301-104 TAYLOR 4"
           PIPE PLUG FOR BEL                                                                $0.00                                   $18.00


           EBV-P401AP 4" PVC
           EXTENDABLE BACKWA                                                                $0.00                                 $101.66


           EBV-P601 6" CLEAN
           CHECK VALVE, 9692                                                                $0.00                                 $175.11


           ELIM15 15"
           ELIMINATOR OIL &
           DEBRIS                                                                           $0.00                                 $380.00


           ELIM18 18"
           ELIMINATOR OIL &
           DEBRIS                                                                           $0.00                                 $200.00


           NDS1050 10" ROUND
           GRATE GREEN FOR 8                                                                $0.00                                   $24.03


           NDS1243 4" GRATE
           OUTLET (UNIVERSAL                                                                $0.00                                     $3.74



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 672
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                Name

           NDS1888 NDS 8"
           UNIVERSAL LOCKING
           OU                                                                               $0.00                                   $18.65


           SNOUT24 24" SNOUT
           OIL/DEBRIS SEPARA                                                                $0.00                                 $629.98


           6P26FB10-12P35 6"
           SDR35 INSERTA-TEE                                                                $0.00                                   $73.37


           DFW-6TC 6" FLEXIBLE
           SEWER SADDLE TE                                                                  $0.00                                   $82.19


           ROMACSADDLE6S
           ROMAC 6 X 8-12
           SADDLE                                                                           $0.00                                   $89.10


           GF13281S 32" x 8"
           FRAME AND COVER M                                                                $0.00                                 $244.00


           GF18111CC 6" COVER
           ONLY MARKED "CLE                                                                 $0.00                                   $50.00


           MSC26D 26" MASS
           STANDARD DRAIN
           COVE                                                                             $0.00                                   $95.00


           MSFC266D 26" X 6"
           MASS STANDARD RIN                                                                $0.00                                $-645.00


           MSFG244-4 24" X 4"
           4-FLANGE FRAME A                                                                 $0.00                                $-170.00


           MSFG248-3 24" X 8" 3
           FLANGE FRAME A                                                                   $0.00                               $1,890.00


           MSFG248-4-ADA 24" X
           8" 4 FLANGE FRA                                                                  $0.00                                 $584.00


           MSFG248-4-DOM 24" X
           8" 4-FLANGE FRA                                                                  $0.00                                 $570.00


           MSFG248-3-DOM 24" X
           8" 3-FLANGE FRA                                                                  $0.00                                 $305.00


           MSG24DOM 24" X 24"
           SQUARE HOLE GRAT                                                                 $0.00                                 $150.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 673
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           GF11081 8" CLEAN
           OUT, GENERAL FOUND                                                               $0.00                                 $300.00


           MSFC266D-DOM 26" X
           6" MASS STANDARD                                                                 $0.00                                 $260.00


           MHEXT26150PE 26" X
           1-1/2" HIGH POLY                                                                 $0.00                                 $225.00


           HAN1824 18" X 24"
           SUMP WELL SUMP PI                                                                $0.00                                   $16.65


           HANSL 18" SUMP WELL
           LID (DELUXE) #C                                                                  $0.00                                     $9.23


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $31.12


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $15.56


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $31.12


           UNI42-162 Little Hog
           Square Flat S                                                                    $0.00                                   $10.30


           000-00038424-069 1-1/2"
           CTS X IPS A                                                                      $0.00                                   $14.99


           000-00038425-069 2"
           CTS X IPS ADAPT                                                                  $0.00                                   $35.56


           226-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                   $98.07


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $113.97


           226-00069025-000 6" X
           25" REPAIR CL                                                                    $0.00                                 $201.38


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $234.92


           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $279.94



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 674
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $162.06


           226-00132015-000 12" X
           15" REPAIR C                                                                     $0.00                                 $201.38


           261-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $220.88


           261-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $121.59


           261-00090512-000 8" X
           12-1/2"REPAIR                                                                    $0.00                                 $128.69


           261-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $147.94


           261-00094012-000 8" x
           12-1/2" (9.27                                                                    $0.00                                 $139.68


           261-00111012-000 10" X
           12-1/2" REPA                                                                     $0.00                                 $164.15


           261-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $198.76


           274-00000690-000
           274-1049 6" CLAMP                                                                $0.00                                 $242.48


           313-00051415-000 SMITH
           BLAIR 4"X 2"                                                                     $0.00                                   $30.89


           313-00101008-000 SMITH
           BLAIR 8" X 1                                                                     $0.00                                   $61.18


           313-00143213-000 SMITH
           BLAIR 12" X                                                                      $0.00                                   $62.09


           315-00076009-000
           6"X1"CC (6.84-7.60                                                               $0.00                                   $33.66


           317-00076015-000 6" X
           2" CC SADDLE                                                                     $0.00                                   $64.14


           317-00101009-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $63.23



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 675
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           317-00143215-000 12" X
           2"CC SADDLE                                                                      $0.00                                 $200.40


           413-26322580-703 24"
           26.22-26.40 X                                                                    $0.00                                 $671.01


           441-00000510-900 4"
           COUPLING (4.80-                                                                  $0.00                                 $229.24


           441-00000722-900 6"
           COUPLING (6.90-                                                                  $0.00                                 $367.50


           441-00000945-900 8"
           COUPLING (9.05-                                                                  $0.00                                   $92.91


           441-00001075-900 10"
           10.50-10.75 OD                                                                   $0.00                                 $128.99


           441-00001780-900 16"
           COUPLING (17.4                                                                   $0.00                                 $694.98


           441-33832-069 16"
           SMITH-BLAIR 441 B                                                                $0.00                                   $93.07


           663-11100800-000 10X8
           SMITH BLAIR 6                                                                    $0.00                                 $609.20


           21349-045 441-21349 6"
           RW441 (7.25)                                                                     $0.00                                   $21.87


           21351-045 441-21351 8"
           RW441 (9.46)                                                                     $0.00                                   $28.42


           21353-045 SMITH BLAIR
           441-21353 RW4                                                                    $0.00                                   $30.39


           21355-045 441-21355
           RW441(10.75) 10                                                                  $0.00                                   $51.07


           21357-045 441-21357 10"
           RW441 (11.6                                                                      $0.00                                   $51.07


           21360-045 SMITH BLAIR
           441-21360 12"                                                                    $0.00                                   $85.41


           22394-045 441-22394
           RW441(8.63) GLA                                                                  $0.00                                   $14.21



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 676
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           33808-069 441-33808 8"
           GASKET GRAY                                                                      $0.00                                   $35.75


           33813-069 441-33813
           RW441(10.75) 10                                                                  $0.00                                   $16.33


           33815-069 SMITH BLAIR
           441-33815 10"                                                                    $0.00                                   $32.67


           33819-069 SMITH BLAIR
           441-33819 RW4                                                                    $0.00                                   $36.43


           33820-069 441-33820
           SMITH BLAIR RW4                                                                  $0.00                                   $72.85


           33846-069 441-33846
           SMITH BLAIR RW4                                                                  $0.00                                 $190.69


           90275-002 5/8 X 10-1/2"
           SMITH-BLAIR                                                                      $0.00                                 $192.42


           662-11100800-000 10" X
           8" TAPPING S                                                                     $0.00                                 $418.02


           317-00143209-000 12" X
           1"CC SADDLE                                                                      $0.00                                   $87.46


           313-00143208-000 SMITH
           BLAIR 12" X                                                                      $0.00                                 $331.94


           441-07650722-900 6"
           (7.25-7.65) X (                                                                  $0.00                                   $77.60


           461-12751440-000
           12"(12.75-14.40)OD                                                               $0.00                               $1,332.24


           482-00076506-900 SMITH
           BLAIR 6" (7.                                                                     $0.00                                 $755.20


           662-13820600-000 12" X
           6" (13.60-14                                                                     $0.00                                 $388.27


           317-00025610-000
           2"X1-1/4"NPT(2.35-                                                               $0.00                                 $107.51


           317-00143211-000
           12"X1-1/4"CC(12.62                                                               $0.00                                   $98.35



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 677
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           372-174007-000 16"X
           3/4"CC (17.40)                                                                   $0.00                                 $327.80


           317-00101015-004
           SMITH-BLAIR 8" X 2                                                               $0.00                                 $156.77


           317-00143215-004
           SMITH-BLAIR 12" X                                                                $0.00                                 $287.07


           317-00121213-004 10" X
           1-1/2"CC 10.                                                                     $0.00                                 $176.58


           317-00143213-004 12" X
           1-1/2" CC SA                                                                     $0.00                                 $130.86


           421-03100420-031 3"
           COUPLING, TOP B                                                                  $0.00                                   $98.61


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $40.00


           USS26550 DEWALT
           SEWER BUDDY ASSY
           PA                                                                               $0.00                                 $551.25


           WWT13003
           WATERWORKS TOOL
           SBWER CURB                                                                       $0.00                                     $5.53


           MUE502900 MUELLER
           SHELL CUTTER HOLD                                                                $0.00                                   $77.53


           MUE581286 BORING
           BAR (COMPLETE) FOR                                                               $0.00                                 $534.61


           TP TEST PUMP                                                                     $0.00                               $2,195.00


           LCORD LIBERTY 20'
           POWER CORD #51560                                                                $0.00                                 $138.24


           BLADEDI1420 14" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                   $59.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 678
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           ZABEL1801 4" X 22"
           ZABEL FILTER                                                                     $0.00                                   $41.90


           BLADECONCDIA14 14 X
           20MM/1" DIAMOND                                                                  $0.00                                 $121.50


           BLADEASPDIA14 US
           SAWS 14" X 20MM/1"                                                               $0.00                                 $150.00


           BLADEGPDIA14 14" X
           20MM/1" PREMIUM                                                                  $0.00                                 $140.50


           A1008X18 8" X 18"
           ZABEL FILTER, MOD                                                                $0.00                                 $306.75


           VBRIS24 24" VALVE
           BOX RISER LESS CO                                                                $0.00                                   $21.60


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                   $48.00


           VBRIS18 18" VALVE
           BOX RISER LESS CA                                                                $0.00                                   $29.00


           VBSLT2 2PIECE SLIDE
           TYPE VALVE BOX                                                                   $0.00                                 $199.96


           GFS11EXT 12"
           EXTENSION WITH CAP
           FOR                                                                              $0.00                                 $180.00


           VBSLTTS26NE 2PC
           SLIDE TYPE VALVE BO                                                              $0.00                                   $62.00


           VBSLT2BS48F 5 1/4" X
           48" BOTTOM SEC                                                                   $0.00                                   $31.43


           CBEXT10018 1" X 18"
           CURB BOX EXTENS                                                                  $0.00                                   $57.02


           CBEXT10024 1" X 24"
           CURB BOX EXTENS                                                                  $0.00                                   $65.24


           CBEXT1003 1" X 3"
           CURB BOX EXTENSIO                                                                $0.00                                   $24.07


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                   $38.22


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 679
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                   $87.15


           CBROD24 24" CURB
           BOX ROD 9/16"                                                                    $0.00                                   $37.15


           CBROD24SS 24" CURB
           BOX ROD 1/2" DIA                                                                 $0.00                                   $27.89


           CBROD48SS 48" CURB
           BOX ROD 5/8" DIA                                                                 $0.00                                   $32.80


           BTCBROD39DOM 39"
           CURB BOX ROD, MAD                                                                $0.00                                   $22.06


           FLPE104 10" X 4' FL X
           PE DIP                                                                           $0.00                                 $549.60


           FLPE106 10" X 6'
           FLANGE X PLAIN END                                                               $0.00                                 $367.60


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $400.80


           FLFL128-950 12" X
           8'9-1/2 FL X FL D                                                                $0.00                                 $780.00


           PECTS1X100 1" X 100'
           CTS 200 PSI PO                                                                   $0.00                                  $-57.00


           PECTS1X100BLUE 1" X
           100' BLUE CTS 2                                                                  $0.00                                   $62.80


           CT100K100 1" X 100' K
           COPPER TUBING                                                                    $0.00                                 $354.20


           CT200K20H 2" TYPE K
           HARD COPPER TUB                                                                  $0.00                                 $323.44


           94EEXT16 94E & 95E 16"
           CURB BOX EXT                                                                     $0.00                                 $342.00


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $2.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 680
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           VBSLT2BS48 BIBBY
           5-1/4" X 48" 2PC S                                                               $0.00                                 $304.23


           B5664SBS36 36" SLIDE
           VALVE BOX BOTT                                                                   $0.00                                 $761.46


           B6002 #6 VALVE BOX
           BASE 7341T, BIBB                                                                 $0.00                                 $298.14


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                 $377.26


           B51812 5-1/4" X 2"
           RISER LESS COVER                                                                 $0.00                                 $208.78


           B518224 5-1/4" X 24"
           RISER LESS COV                                                                   $0.00                                   $72.14


           B5160S 5-1/4" COVER
           (SEWER) V8800 B                                                                  $0.00                                 $211.01


           B-4180 BIBBY 4-1/4" X
           2" VALVE BOX                                                                     $0.00                                 $158.08


           V858 5-1/4" X 12" SLIDE
           TYPE ADJUST                                                                      $0.00                                   $33.22


           V747 5-1/4" X 26" SLIDE
           TYPE TOP SE                                                                      $0.00                                 $214.88


           V313 2-1/2" ENLARGED
           BASE V3130, BI                                                                   $0.00                                   $29.12


           S201 BIBBY 24" X 2-1/2"
           SLIP TYPE S                                                                      $0.00                                 $745.60


           GF36500 94E CURB BOX
           ENLARGED BASE                                                                    $0.00                                   $24.00


           GF38145R 4-1/4"
           ROADWAY BOX
           COMPLET                                                                          $0.00                                   $96.00


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                   $33.00


           GF36095E 95E SLIDE
           TYPE CURB BOX CO                                                                 $0.00                                 $180.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 681
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           GF36095E-BTM SLIDE
           TYPE 95E BOTTOM                                                                  $0.00                                  $-52.50


           GF22564 12"& 15" CAST
           IRON CATCH BA                                                                    $0.00                                 $330.00


           V210 40" SLIP TYPE 94E
           BOTTOM SECTI                                                                     $0.00                                 $524.20


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $22.91


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $38.71


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                   $86.11


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $113.37


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $24.10


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $37.53


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                   $50.56


           DMB456PE 6" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                   $45.03


           DMO1018 10" X 18"
           DUCTILE MJXMJ ME                                                                 $0.00                                 $542.73


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMR104 10" X 4"
           MJ,C153 REDUCER DUC                                                              $0.00                                   $64.78


           DMR126 12" X 6" MJ
           C153 REDUCER, DU                                                                 $0.00                                   $72.29


           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                   $23.70


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 682
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $26.86


           DMTC122 12" X 2" MJ
           C153 TAPPED CAP                                                                  $0.00                                   $75.05


           GL12 6" X 12" GRADE
           LOCK                                                                             $0.00                                 $181.70


           DMB1130DOM 30" MJ
           C153 11-1/4 DEGRE                                                                $0.00                               $3,398.97


           DMB906DOM 6" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $99.33


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $52.75


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $582.25


           DMB4510DOM 10" 45
           DEGREE BEND, MJ C                                                                $0.00                                 $167.83


           DMB224DOM 4" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $101.38


           DMB2210DOM 10" 22-1/2
           DEGREE BEND M                                                                    $0.00                                 $169.88


           DMB2212DOM 12" MJ
           C153, 22-1/2 DEGR                                                                $0.00                                 $247.29


           DMB114DOM 4" MJ
           C153 11-1/4 DEGREE                                                               $0.00                                   $45.21


           DMB116DOM 6" MJ
           11-1/4 DEGREE BEND                                                               $0.00                                 $153.44


           DMB1110DOM 10" MJ
           C153 11-1/4 DEGRE                                                                $0.00                                 $169.88


           DMB1112DOM 12" MJ
           C153, 11-1/4 DEGR                                                                $0.00                                 $468.54


           DMT44DOM 4" X 4" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                 $168.51


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 683
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DMT88DOM 8" X 8" MJ
           TEE C153 DUCTIL                                                                  $0.00                                 $214.41


           DMT106DOM 10" X 6"
           MJ,C153 TEE DUCT                                                                 $0.00                                 $561.70


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $497.31


           DMHT106DOM 10" X 6"
           MJ C153 HYDRANT                                                                  $0.00                                 $325.38


           DMHT126DOM 12" X 6"
           HYDRANT TEE,MJ                                                                   $0.00                                 $377.44


           DMR64DOM 6" X 4" MJ,
           C153 REDUCER D                                                                   $0.00                                   $57.54


           DMR126DOM 12" X 6"
           MJ REDUCER C153                                                                  $0.00                                 $182.90


           DMP4DOM 4" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $37.68


           DMP12DOM 12" MJ,
           C153 PLUG DUCTILE                                                                $0.00                                 $261.67


           DMTP102DOM 10" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $115.77


           DMTC62DOM 6" X 2"
           MJ,C153 TAPPED CA                                                                $0.00                                   $63.71


           DMTC122DOM 12" X 2"
           MJ TAPPED CAP C                                                                  $0.00                                 $140.43


           DMS10LPDOM 10" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $170.57


           DMB456DOM 6" 45
           DEGREE BEND, MJ, C1                                                              $0.00                                 $164.40


           DMB226DOM 6" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                   $74.67


           DMC10DOM 10" MJ
           C153 CAP DUCTILE IR                                                              $0.00                                   $91.11


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 684
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           DMR108DOM 10" X 8"
           MJ,C153 REDUCER                                                                  $0.00                                 $227.42


           DMT1612DOM 16" X 12"
           MJ TEE, C153 D                                                                   $0.00                               $1,003.53


           DMS16LPDOM 16" MJ
           C153 SLEEVE LONG                                                                 $0.00                               $1,157.65


           DMB9016DOM 16" MJ 90
           DEGREE BEND, C                                                                   $0.00                               $2,204.33


           DMB2216DOM 16" MJ
           22-1/2 BEND C153                                                                 $0.00                               $1,855.67


           DMB1116DOM 16" MJ
           11-1/4 DEGREE BEN                                                                $0.00                               $1,237.11


           DMT16DOM 16" X 16"
           MJ C153 TEE, DUC                                                                 $0.00                               $1,265.88


           DMTP82DOM 8" X 2"
           TAPPED PLUG,MJ C1                                                                $0.00                                 $109.60


           DMB1124DOM 24" MJ
           11-1/4 DEGREE BEN                                                                $0.00                               $1,292.60


           DMTP62DOM 6" X 2" MJ
           TAPPED PLUG, C                                                                   $0.00                                   $84.26


           DMS24LPDOM 24" MJ
           C153 SLEEVE LONG                                                                 $0.00                               $1,280.95


           PVC4012 12" PVC
           SCH40 PIPE                                                                       $0.00                                 $175.60


           PVC40420 4" PVC
           SCH40 PIPE PLAIN EN                                                              $0.00                                   $32.40


           PVC401.5 1-1/2" PVC
           SCH40 PIPE 20'                                                                   $0.00                                   $51.60


           PVC403 3" PVC SCH40
           20'LENGTH PIPE                                                                   $0.00                                   $47.60


           PVC408 8" SCH40 PVC
           PIPE                                                                             $0.00                                   $45.40


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           PVC40.5 1/2" PVC40
           PIPE                                                                             $0.00                                   $30.60


           PVC40410P 4" PVC
           SCH40 DWV BELLED E                                                               $0.00                                 $588.20


           PVC40610B 6" SCH40
           BELL x PLAIN END                                                                 $0.00                                 $549.10


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                                 $121.10


           PVC40620BE 6" PVC
           SCH40 BELLED END                                                                 $0.00                                 $516.80


           PVC40610PB 6" PERF
           SCH40 PVC PIPE W                                                                 $0.00                                   $32.30


           PVC40210PE 2" PVC
           SCH40 PLAIN END P                                                                $0.00                                 $230.10


           401-007 SPEARS 3/4
           PVC SCH 40 TEE                                                                   $0.00                                     $2.05


           401-012 SPEARS
           1-1/4"PVC SCH 40 TEE                                                             $0.00                                     $3.03


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $2.14


           401-030 3" PVC SCH40
           TEE                                                                              $0.00                                   $14.63


           401-040 4" PVC SCH40
           TEE                                                                              $0.00                                   $39.70


           406-007 SPEARS 3/4"
           PVC SCH40 90 BE                                                                  $0.00                                     $0.62


           406-012 SPEARS 1-1/4"
           PVC SCH40 90                                                                     $0.00                                     $1.94


           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                     $3.67


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $2.46


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           417-010 SPEARS 1" PVC
           SCH40 45 BEND                                                                    $0.00                                     $2.95


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $4.42


           417-020 2" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $5.77


           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                     $7.77


           429-007 3/4" SCH40 PVC
           COUPLING                                                                         $0.00                                     $0.74


           429-010 1" SCH40
           COUPLING                                                                         $0.00                                     $0.43


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $2.25


           429-030 3" PVC SCH40
           COUPLING                                                                         $0.00                                     $5.09


           429-040 4" PVC
           COUPLING SCH40                                                                   $0.00                                     $9.82


           435-007 3/4" PVC SCH40
           FEMALE ADAPT                                                                     $0.00                                     $0.39


           435-010 SPEARS 1" PVC
           SCH40 FEM ADA                                                                    $0.00                                     $1.82


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $1.60


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $1.62


           435-030 3" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $9.17


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $0.40


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $6.32


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           436-030 SPEARS 3" PVC
           SCH40 MALE AD                                                                    $0.00                                   $13.64


           437-131 1" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $0.26


           437-168 1-1/4" X 1"
           SCH40 BUSHING S                                                                  $0.00                                     $1.75


           437-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                     $2.60


           437-211 1-1/2" X 1"
           SCH40 BUSHING S                                                                  $0.00                                     $3.34


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $4.28


           437-249 2" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $6.73


           437-337 3" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $1.45


           437-338 3" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.45


           437-420 4" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $6.49


           447-015 1-1/2" PVC
           SCH40 CAP (SLIP)                                                                 $0.00                                     $0.35


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $1.26


           447-025 SPEARS 2-1/2
           PVC SCH40 CAP                                                                    $0.00                                     $2.69


           447-030 3" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $1.47


           448-020 SPEARS 2" PVC
           SCH40 CAP (FI                                                                    $0.00                                     $3.98


           449-020 2" PVC SCH40
           PLUG (SPIG)                                                                      $0.00                                   $10.64


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           449-040 SPEARS 4" PVC
           SCH40 PLUG (S                                                                    $0.00                                     $4.54


           401-419 4" X 1-1/2"
           REDUCING TEE, P                                                                  $0.00                                   $15.88


           448-015 1 1/2" SCH 40
           THREADED CAP                                                                     $0.00                                     $0.56


           437-167 1-1/4" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                     $3.50


           8" ROMAC 501
           STRAIGHT COUPLING
           FOR                                                                              $0.00                                 $183.90


           PVC80150 1-1/2" PVC
           SCH80 PIPE                                                                       $0.00                                   $95.36


           PVC802 2" PVC SCH80
           PIPE                                                                             $0.00                                 $202.80


           801-020 2" PVC SCH80
           TEE                                                                              $0.00                                     $7.07


           801-040 4" PVC SCH80
           TEE                                                                              $0.00                                   $11.13


           806-015 1-1/2" PVC
           SCH80 90 DEGREE                                                                  $0.00                                     $4.93


           806-040 4" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $23.83


           806-060 6" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $22.60


           817-020 2" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $18.74


           817-040 4" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                   $43.13


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                   $16.38




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           836-040 4" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                   $98.03


           847-020 2" PVC SCH80
           CAP SLIP                                                                         $0.00                                     $8.91


           847-040 4" PVC SCH80
           CAP (SLIP) SPE                                                                   $0.00                                   $35.43


           854-080 8" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $31.44


           HAYWARDTBB4 4"
           HAYWARD TBB PVC
           EPDM                                                                             $0.00                                 $546.69


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $1,825.60


           SDR21150 1-1/2" SDR21
           IPS OD PVC GA                                                                    $0.00                                     $5.84


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                  $-25.02


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $202.08


           SDR2612 12" SDR26 IPS
           OD PVC GASKET                                                                    $0.00                                 $179.40


           DR18456 6" DR 18 C-900
           DI OD PVC GA                                                                     $0.00                                 $291.03


           SDR21R32 3" X 2"
           SDR21 IPS OD PVC S                                                               $0.00                                   $31.26


           SDR21224 4" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $82.87


           PHIL75-608DD HARCO
           PHILMAC UNIVERSA                                                                 $0.00                                   $23.24


           SDR21T32 3" X 2"
           SDR21 IPS OD PVC G                                                               $0.00                                   $56.43


           PHIL75-608BB PHILMAC
           3/4" UNIVERSAL                                                                   $0.00                                   $12.69


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           DR11COMPXMIPA125IP
           S 1-1/4" DR11 IPS                                                                $0.00                                   $18.75


           DR11906DIPS 6" DR11
           DIPS OD 160 PSI                                                                  $0.00                                   $73.70


           DR11FA4IPS 4" DR11
           IPS OD 160 PSI P                                                                 $0.00                                   $16.70


           CL52TY12 12" CLASS 52
           TYTON PIPE MC                                                                    $0.00                                 $628.56


           CL52TY8 8" CL52
           TYTON DUCTILE IRON                                                               $0.00                                 $423.60


           CL52TY12 12" CL52
           TYTON DUCTILE IRO                                                                $0.00                                $-698.40


           POLYTAPE2 2" X 100'
           POLYWRAP TAPE 3                                                                  $0.00                                   $28.75


           MUEA319-010 A421
           4-1/2" X 12" HYDRA                                                               $0.00                                 $371.68


           #18 .016 LOK-ON
           ALUMINUM JACKETING                                                               $0.00                                 $118.17


           A2360208R 8" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $920.05


           T-2360-16-8R 8"
           TAPPING VALVE OPEN                                                               $0.00                               $1,172.83


           H61966 MUELLER 6" x
           6" MJ TAPPING S                                                                  $0.00                                 $947.32


           H615144 14" X 4"
           MUELLER H615 TAPPI                                                               $0.00                               $2,108.73


           B-3211-20-16R 16"
           MUELLER OPEN RIGH                                                                $0.00                               $5,766.24


           F26405NST56L 5-1/4 X
           5'6" BURY NST                                                                    $0.00                               $2,099.24


           MUE282925 MUELLER
           18" LOCKING FLAT                                                                 $0.00                                   $62.24


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 691
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           B25008N-075 3/4" BALL
           CORPORATION C                                                                    $0.00                                   $39.41


           B25008N-100 1" BALL
           CORPORATION CC                                                                   $0.00                                   $51.85


           H15008N-075 3/4" CC X
           COMP CORPORAT                                                                    $0.00                                   $27.28


           H15381N-100x075
           MUELLER 1" x 1" X 3                                                              $0.00                                   $41.64


           MUE505142 1-1/4" SS
           INSERT FOR CTS                                                                   $0.00                                     $5.55


           MUE506139 1-1/2"
           STAINLESS STEEL IN                                                               $0.00                                     $3.36


           MUE581951 1" 110
           COMPRESSION
           GASKET                                                                           $0.00                                    $-2.75


           H10046N-100 1" MIP X
           FIP CORPORATIO                                                                   $0.00                                 $108.51


           H15451N-075X100
           MUELLER 3/4" X 1" L                                                              $0.00                                   $30.95


           B24258N-01-100
           MUELLER LOW LEAD 1"                                                              $0.00                                 $103.62


           H10033N-150 MUELLER
           1-1/2 LOW LEAD                                                                   $0.00                                   $19.91


           B2996N-100 MUELLER
           1" LOW LEAD 300                                                                  $0.00                                 $154.00


           B24350N-100x075
           MUELLER 1" LOW LEAD                                                              $0.00                                 $376.94


           C84-66NL FORD 1-1/2"
           LOW LEAD MIP X                                                                   $0.00                                   $38.40


           FB1000-4-Q-NL 1" BALL
           CORP CC X COM                                                                    $0.00                                 $809.42




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           C45-43NL 1" COPPER
           COMPRESSION X 3/                                                                 $0.00                                   $44.04


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                                   $49.01


           MCD74754-Q-100 1"
           COMP X FIP ADAPTE                                                                $0.00                                   $43.34


           MCD74758-22-100 1"
           COMP UNION, CTS                                                                  $0.00                                   $21.16


           MUE507835 1" 110
           COMPRESSION NUT, M                                                               $0.00                                     $5.63


           H15403N-125 1-1/4"
           COUPLING MUELLER                                                                 $0.00                                   $43.34


           H15526N-100 1"
           COMPRESSION 90,
           MUEL                                                                             $0.00                                   $21.89


           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                   $36.95


           202NL-H4H4 1" CB
           COMP X CB COMP BRA                                                               $0.00                                   $88.12


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                   $23.26


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                     $9.59


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                   $19.22


           SSINSERT200 2"
           STAINLESS STEEL INSE                                                             $0.00                                     $4.71


           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                   $36.26


           B62BNST56R B62B NST
           5'6" OPEN RIGHT                                                                  $0.00                               $9,275.82


           B84BHYDEXT12 12"
           HYDRANT EXTENSION                                                                $0.00                                 $294.93


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           USHYDEXT6 5 1/4" X 6"
           US MET HYD EX                                                                    $0.00                                 $174.00


           WOODFORDY345 3/4" X
           5' Y34 YARD HYD                                                                  $0.00                                   $84.01


           K81A5NST6R KENNEDY
           K81A HYDRANT, 5                                                                  $0.00                               $4,288.24


           MH5HYDEXT6 M&H 6"
           HYDRANT EXTENSION                                                                $0.00                                 $291.19


           MH929NST6L 6' BURY
           929 MH STYLE FIR                                                                 $0.00                               $2,680.70


           MH929NST56R M&H 929
           FIRE HYDRANT 5'                                                                  $0.00                               $2,624.60


           K8102-150P-L 1-1/2"
           PENTAGON, OPEN                                                                   $0.00                                 $257.58


           MH7571-01-8L 8" MJ
           GATE VALVE,OPEN                                                                  $0.00                                 $982.80


           WHE90722 MINI TUBING
           CUTTER 1/4" TO                                                                   $0.00                                   $56.25


           WHE89075 WHEELER
           3/4" COMBINATION D                                                               $0.00                                 $168.75


           WHE8071
           REPLACEMENT
           CUTTER WHEEL FO                                                                  $0.00                                   $37.13


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $4.88


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $3.32


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $11.92


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $14.00




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           FLGGSKT8FF12 12" X
           1/8" FULL FACED,                                                                 $0.00                                   $24.96


           FLGGSKT8R4 4" X 1/8"
           RING, RED RUBB                                                                   $0.00                                     $1.92


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $0.10


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $14.00


           HXBLT078450 7/8" X
           4-1/2" HEX BOLT                                                                  $0.00                                   $18.72


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $29.50


           HXNUT075ZP 3/4" ZINC
           PLATED HEAVY H                                                                   $0.00                                     $4.36


           HXNUT058ZP 5/8" ZINC
           PLATED HEAVY H                                                                   $0.00                                    $-0.29


           HXNUT075ZG 3/4"
           GALVANIZED HEAVY
           HE                                                                               $0.00                                   $10.15


           HXBLT058300Z 5/8 X 3"
           ZINC PLATED G                                                                    $0.00                                     $1.00


           HXBLT050X200ZG 1/2" X
           2" BOLT HOT D                                                                    $0.00                                   $24.60


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $20.93


           MJGSKT4 4" MJ
           GASKET                                                                           $0.00                                   $11.63


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                     $4.65


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $44.64


           MJGSKT12 12" MJ
           GASKET                                                                           $0.00                                   $20.46


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           MJSDRTG6 6" MJ x
           SDR35 TRANSITION G                                                               $0.00                                   $22.66


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                     $2.58


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                   $21.63


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $10.30


           MJTRGSKT10 10" MJ
           TRANSITION GASKET                                                                $0.00                                   $18.54


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                   $93.73


           TBLT075600 3/4" X 6"
           T-BOLT & NUT                                                                     $0.00                                 $111.24


           MJGLD4 4" MJ GLAND                                                               $0.00                                 $107.42


           MJGLD6 6" MJ GLAND                                                               $0.00                                 $157.17


           MJGLD8 8" MJ GLAND                                                               $0.00                                 $126.48


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                 $151.13


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                   $72.54


           MJSG4 4" MJ SPLIT
           GLAND                                                                            $0.00                                     $5.15


           MJGLD6DOM 6" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $231.53


           MJGLD10DOM 10" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $263.04


           MJGLD8DOM 8" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $241.12




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           TBLT058300 5/8" X 3"
           T-BOLT & NUT                                                                     $0.00                                   $45.50


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                     $5.25


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $11.55


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $559.90


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $119.57


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $445.25


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $411.60


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $155.84


           MGP4T 4" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $155.62


           MGP6T 6" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $462.00


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $268.15


           MGP10T 10" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                   $69.00


           MGP12T 12" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                 $128.50


           MGP3T 3" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                     $4.15




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 697
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $49.00


           MGP18HDPE 18" MJ
           GASKET AND BOLT PA                                                               $0.00                                   $50.00


           MJTKIT2DOM 2" C110
           FULL BODIED TRA                                                                  $0.00                                   $24.59


           MJP4 4" STANDARD MJ
           ACC KIT INCLUDE                                                                  $0.00                                 $385.22


           MJP6 6" STANDARD MJ
           ACCESSORY KIT I                                                                  $0.00                                   $46.35


           MJP10 10" STANDARD
           MJ ACC KIT INCLU                                                                 $0.00                                 $100.94


           MJP16 16" STANDARD
           MJ ACC KIT INCLU                                                                 $0.00                                   $43.26


           MJP4D 4" STANDARD
           MJ ACC KIT INCLUD                                                                $0.00                                   $16.44


           MJP6TDOM 6"
           TRANSITION MJ ACC
           KIT I                                                                            $0.00                                   $84.94


           MJP8D 8" STANDARD
           MJ ACC KIT INCLUD                                                                $0.00                                   $23.29


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $278.20


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $709.92


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                 $273.68


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $38.56


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $45.60


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $253.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 698
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $42.64


           MCSSG8 8" SURE STOP
           LOCKING GASKET                                                                   $0.00                                   $90.47


           MCSSG6 6" SURE STOP
           GASKET ATR06SSX                                                                  $0.00                                 $333.95


           MCSSG10 McWANE 10"
           SURE STOP GASKET                                                                 $0.00                                 $113.74


           PIRANHA-048 4"
           PIRANHA RESTRAINT
           GA                                                                               $0.00                                   $34.11


           PIRANHA-1110 10"
           PIRANHA RESTRAINT                                                                $0.00                                 $561.29


           202S-6.90X3CC 6" X
           3/4"CC SERVICE S                                                                 $0.00                                     $0.00


           6FA 6" FOSTER
           ADAPTER ONLY, LESS
           AC                                                                               $0.00                                   $49.95


           6FA-BC 6" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                 $239.85


           EBA1106SD 6" SPLIT
           MEGALUG SERIES 1                                                                 $0.00                                   $99.32


           EBA2112 12" IRON
           MEGA FLANGE ADAPTE                                                               $0.00                                 $258.65


           GR-DI12 12" ROMAC
           GripRing Gland an                                                                $0.00                                 $178.56


           GR-DI6 6" GRIPRING
           GLAND AND RING F                                                                 $0.00                                 $294.07


           GR-DI8 8" ROMAC
           GRIPRING GLAND AND                                                               $0.00                                 $204.64


           MJRGLD3 3" MJ
           RETAINER GLAND                                                                   $0.00                                   $43.26




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 699
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           RG-D10 10" DUCTILE
           IRON RESTRAINT R                                                                 $0.00                                   $40.20


           RG-D16 16" DUCTILE
           IRON ROMAGRIP RE                                                                 $0.00                                 $231.61


           RG-D3 3" DUCTIIE IRON
           RESTRAINT ROM                                                                    $0.00                                   $14.64


           RG-D4 4" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                  $-90.47


           RG-D6 6" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                   $71.67


           RG-D8 8" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                  $-27.20


           RG-PV10 10" ROMAC
           PVC ROMAGRIP REST                                                                $0.00                                 $455.79


           RG-PV12 12" PVC
           RESTRAINT ROMAGRIP,                                                              $0.00                                 $272.69


           RG-PV4 4" PVC
           RESTRAINT, ROMAGRIP
           2                                                                                $0.00                                 $426.36


           RG-PV6 6" PVC
           RESTRAINT ROMAGRIP
           24                                                                               $0.00                                 $138.97


           RG-PV8 8" PVC
           RESTRAINT,
           ROMAGRIP,                                                                        $0.00                                 $647.63


           SLC8 8" ONE-LOK
           RESTRAINT FOR PVC P                                                              $0.00                                 $227.26


           SLDP10 10" SIGMA
           ONE-LOK ACCESSORY                                                                $0.00                                 $166.73


           MJFLK8DI 8" MJ FIELD
           LOC ACCESSORY                                                                    $0.00                                   $73.30


           202S-4.80 X 3/4"CC
           SADDLE DOUBLE ST                                                                 $0.00                                 $171.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 700
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           MJFLK4DI 4" MJ FIELD
           LOK ACCESSORY                                                                    $0.00                                   $17.96


           202S-9.05X3CC ROMAC
           8" x 3/4" CC DO                                                                  $0.00                                 $201.41


           202S-11.10X4CC 10" x 1"
           CC ROMAC DO                                                                      $0.00                                 $228.06


           202U-6.90X1CC
           TAPPING SADDLE (6.63-                                                            $0.00                                   $40.14


           202S-4.80X7IP 4" X 2"
           IPT SADDLE 20                                                                    $0.00                                   $46.35


           202S-9.05X1CC 8" X
           1"CC SADDLE, DOU                                                                 $0.00                                   $55.28


           202U-5.40X2IP 4" X 2" IP
           SERVICE SA                                                                       $0.00                                   $88.10


           202U-7.60X3CC 6" X
           3/4"CC SADDLE, D                                                                 $0.00                                 $105.37


           202U-6.90-2CC 6" X
           2"CC 202U DOUBLE                                                                 $0.00                                 $129.53


           202U-11.10X3/4CC
           ROMAC 10" X 3/4"CC                                                               $0.00                                   $40.16


           202U-13.20X3/4CC OD
           RANGE (13.20 -                                                                   $0.00                                   $97.40


           202U-9.05X3/4CC 8" X
           3/4"CC SERVICE                                                                   $0.00                                 $279.60


           202U-4.05X3/4CC 3" X
           3/4" CC DOUBLE                                                                   $0.00                                   $13.49


           MACROHP-13.80 12"
           MACRO HP TWO BOLT                                                                $0.00                                 $358.94


           EZD10 10" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $812.18


           EZD04 4" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $62.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 701
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           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $145.83


           EZD12 12" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $662.65


           EZPVC06 6" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $36.51


           EZD03 3" MJ
           RESTRAINT FOR
           DUCTILE I                                                                        $0.00                                   $46.81


           GRAP-IP-12 12" ROMAC
           GRIP RING ACC                                                                    $0.00                                 $124.76


           ROM516-9.30 8" BELL
           JOINT LEAK CLAM                                                                  $0.00                                 $406.43


           DUCLUGS DUC LUGS                                                                 $0.00                                 $194.00


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $44.00


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                     $7.16


           PBM075 3/4" PLUMBITE
           COUPLING X MAL                                                                   $0.00                                     $9.15


           BHA369 2-1/2" FNST X
           3/4" GARDEN HO                                                                   $0.00                                     $9.15


           BHA369 2-1/2" FNST X
           2" MIP ADAPTER                                                                   $0.00                                   $10.50


           BRA363 2-1/2" FNST X
           2" MIP SWIVEL                                                                    $0.00                                   $72.00


           B1-050 1/2" AUTO BALL
           DRIP                                                                             $0.00                                   $25.50


           BHA369 2" FNST X
           1-1/2" MNST BRASS                                                                $0.00                                 $270.00


           OSYSU-2 TAMPER
           SWITCH FOR OS&Y
           VALV                                                                             $0.00                                   $57.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 702
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           311PCA 2.5" BRASS
           PLUG & CHAIN PC N                                                                $0.00                                   $19.70


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $88.00


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $98.01


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                 $213.84


           FAP10FF 10" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $70.45


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $49.50


           VICCPLG4 4" GROOVE
           COUPLING VICTAUL                                                                 $0.00                                   $32.00


           SCP12.250 12" .250
           WALL CASING STEE                                                                 $0.00                                 $310.00


           GALVNIP-075X400 3/4"
           X 4" GALVANIZE                                                                   $0.00                                   $13.34


           GALVNIP-075X300 3/4"
           X 3" GALVANIZE                                                                   $0.00                                     $1.08


           GALVNIP-200X600 2" X
           6" NIPPLE GALV                                                                   $0.00                                   $17.27


           GALVNIP-100X600 1" X
           6" GALVANIZED                                                                    $0.00                                   $99.15


           GALVNIP-100X500 1" X
           5" GALVANIZED                                                                    $0.00                                   $10.47


           GALVNIP-100X400 1" X
           4" GALVANIZED                                                                    $0.00                                   $10.99


           GALVNIP-100X300 1" X
           3" GALVANIZED                                                                    $0.00                                     $4.72


           GALVNIP-075X600 3/4"
           X 6" GALVANIZE                                                                   $0.00                                     $6.02


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 703
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           GALVNIP-075X500 3/4"
           X 5" GALVANIZE                                                                   $0.00                                     $7.52


           GALVNIP-200X1200 2" X
           12" NIPPLE GA                                                                    $0.00                                   $91.80


           GALVNIP-200XCLS 2" X
           CLOSE NIPPLE G                                                                   $0.00                                     $9.58


           GALVT-200 2" TEE,
           GALVANIZED                                                                       $0.00                                   $44.34


           GALV90-200 2" 90 BEND
           GALVANIZED G2                                                                    $0.00                                   $33.25


           GALVBSH-075X050 3/4"
           X 1/2" GALVANI                                                                   $0.00                                   $20.83


           GALV90-100 1" 90
           DEGREE BEND, GALVA                                                               $0.00                                   $11.92


           GALVCPLG-075 3/4"
           GALVANIZED COUPLI                                                                $0.00                                   $23.39


           GALVRED90-100X075 1"
           X 3/4" GALVANI                                                                   $0.00                                   $49.10


           GALVUNION-100 1"
           GALVANIZED UNION                                                                 $0.00                                   $44.46


           BRBSH100X075NLDOM
           1" X 3/4" BUSHING                                                                $0.00                                   $29.00


           BRNIP-075X400 3/4" X 4"
           BRASS NIPPL                                                                      $0.00                                     $8.52


           BRNIP-075X500 3/4" X 5"
           BRASS NIPPL                                                                      $0.00                                     $7.54


           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $4.55


           BRNIP-200X300 2" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $14.20


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $23.10


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 704
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           BRNIP-200XCLS 2" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $62.97


           BRNIP-050X600 1/2" X 6"
           BRASS NIPPL                                                                      $0.00                                   $35.86


           BRNIP-075X600DOM
           3/4" X 6" BRASS N                                                                $0.00                                   $41.29


           BRNIP-075XCLSDOM
           3/4" X CLOSE BRASS                                                               $0.00                                   $28.58


           BRNIP-075X300DOM
           3/4" X 3" BRASS NI                                                               $0.00                                   $26.49


           BRCPLG-075DNL 3/4"
           DOMESTIC LOW LEA                                                                 $0.00                                   $46.36


           BR90-075DNL 3/4" 90
           BEND, LOW LEAD                                                                   $0.00                                   $21.11


           BRNIP-075X200DOM
           3/4" x 2" BRASS N                                                                $0.00                                   $19.80


           BRNIP-100X200D 1" X 2"
           BRASS NIPPLE                                                                     $0.00                                     $7.80


           BRNIP-100X600DOM 1"
           X 6" BRASS NIPP                                                                  $0.00                                   $33.50


           BRNIP-150XCLSD 1 1/2"
           x CLOSE BRASS                                                                    $0.00                                     $3.84


           BRNIP-200X300DOM 2"
           X 3" BRASS NIPP                                                                  $0.00                                   $39.24


           BRNIP-200X400DOM 2"
           X 4" BRASS NIPP                                                                  $0.00                                   $82.14


           BRNIP-200X600DOM 2"
           X 6" BRASS NIPP                                                                  $0.00                                 $151.60


           BRNIP-050XCLSDOM
           1/2" X CLS BRASS N                                                               $0.00                                   $45.72


           BRNIP-200X1000DOM 2"
           X 10" BRASS NI                                                                   $0.00                                   $71.55


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 705
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           BRNIP-200X1200DOM 2"
           X 12" BRASS NI                                                                   $0.00                                 $416.03


           BR45-100 1" BRASS 45
           BEND THREADED                                                                    $0.00                                   $46.09


           BR45-150 1 1/2" BRASS
           45 BEND THREA                                                                    $0.00                                   $16.80


           BR45-075 3/4" BRASS
           45 BEND THREADE                                                                  $0.00                                     $4.97


           BRCAP-075 3/4" BRASS
           THREADED CAP I                                                                   $0.00                                     $1.60


           BRCPLG-150 1 1/2"
           BRASS COUPLING TH                                                                $0.00                                   $25.92


           BRCPLG-050 1/2"
           BRASS COUPLING
           THRE                                                                             $0.00                                     $4.57


           BRPLG-100DOM 1"
           BRASS PLUG
           THREADED                                                                         $0.00                                     $0.00


           BRT-050 1/2" BRASS
           TEE THREADED B74                                                                 $0.00                                     $6.37


           BRT-100X075 1" X 3/4"
           BRASS TEE THR                                                                    $0.00                                     $6.67


           BRT-200X150 2" X 1 1/2"
           BRASS TEE T                                                                      $0.00                                   $63.37


           BRT-075DNL 3/4"
           DOMESTIC LOW LEAD
           B                                                                                $0.00                                   $39.53


           BRNIP-100XCLSDOM 1"
           X CLOSE BRASS                                                                    $0.00                                   $16.86


           BRNIP-200XCLSDOM 2"
           X CLOSE BRASS N                                                                  $0.00                                 $170.02


           BR90-075NL 3/4" 90
           BEND THREADED LO                                                                 $0.00                                     $8.38



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 706
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           BR90-050NL 1/2" 90
           BEND, THREADED,                                                                  $0.00                                   $27.47


           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $55.70


           BRBSH-075X050NL 3/4"
           X 1/2" REDUCER                                                                   $0.00                                   $27.20


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                   $17.57


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $26.35


           BRBSH-200X150NL 2" X
           1-1/2" REDUCER                                                                   $0.00                                   $16.64


           BRCAP-100NL 1"
           THREADED CAP, LOW
           LE                                                                               $0.00                                     $6.44


           BRCPLG-075NL 3/4"
           COUPLING,THREADED                                                                $0.00                                   $22.59


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                   $27.47


           BRCPLG-100X075NL 1"
           X 3/4" REDUCER                                                                   $0.00                                     $5.16


           BRCPLG-150X075NL
           1-1/2" X 3/4" REDU                                                               $0.00                                   $11.84


           BRCPLG-075X050NL
           3/4" X 1/2" REDUCE                                                               $0.00                                   $27.90


           BRUNION-200NL 2"
           UNION, THREADED B7                                                               $0.00                                   $58.66


           BRNIP-200X2400 2" X
           24" BRASS NIPPL                                                                  $0.00                                 $557.84


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $19.29




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 707
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           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                     $9.84


           BRPLG-200NL 2"
           SQUARE HEAD CORED
           PL                                                                               $0.00                                   $58.02


           BR90-150SDNL 1.5" 90
           STREET BEND BR                                                                   $0.00                                   $47.53


           BRBSH-075X050DNL
           3/4" X 1/2" THREAD                                                               $0.00                                   $52.80


           BR90-200DNL 2"
           THREAD 90 BEND LOW
           L                                                                                $0.00                                 $110.86


           BR90-100DNL 1" BRASS
           90 DEGREE BEND                                                                   $0.00                                   $51.52


           BRT-200DNL 2" TEE
           LOW LEAD BRASS DO                                                                $0.00                                 $153.21


           BR90-075SDNL 3/4"
           STREET 90 BEND LO                                                                $0.00                                 $109.05


           BRBSH-200X150DNL 2"
           X 1-1/2" DOMETI                                                                  $0.00                                   $28.92


           BRBSH-200X125DNL 2"
           X 1-1/4" DOMEST                                                                  $0.00                                   $57.84


           BRT-100DNL 1"
           THREADED TEE, LOW
           LEA                                                                              $0.00                                   $59.45


           BRCPLG-075X050DNL
           3/4" X 1/2" DOMES                                                                $0.00                                   $15.17


           BRT-150DNL 1-1/2"
           DOMESTIC LOW LEAD                                                                $0.00                                   $23.11


           BRCPLG-100X075DNL
           1" X 3/4" REDUCER                                                                $0.00                                   $62.68


           BRBSH-150X100DNL
           1-1/2" X 1" DOMEST                                                               $0.00                                   $23.44



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 708
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                Name

           CV200 2" BRASS SWING
           CHECK FIP                                                                        $0.00                                   $19.55


           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                   $69.55


           DST2 2" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                 $168.00


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $50.85


           DWT2 2" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $96.00


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $18.50


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                   $57.45


           DSST3 3" X 1000'
           DETECTABLE STORM S                                                               $0.00                                   $82.50


           FLU-72-WV
           GLASFORMS 6'
           FIBERGLASS V                                                                     $0.00                                 $130.46


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                   $53.10


           MARKING FLAG 2-1/2" X
           3-1/2" BLUE (                                                                    $0.00                                   $35.40


           MARKING FLAG 2-1/2" X
           3-1/2" WHITE                                                                     $0.00                                     $5.90


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                     $7.98


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                 $167.36




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 709
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $43.84


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                 $132.25


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                   $20.94


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $67.83


           PLG-50S HYDRAULIC
           CEMENT STANDARD M                                                                $0.00                                 $324.00


           PRIMERCLEARQT
           CLEAR PRIMER
           CLEANER                                                                          $0.00                                     $7.27


           PVCCEMENTQTROS
           RAIN OR SHINE
           MEDIUM                                                                           $0.00                                 $160.03


           PVCCEMENTPTHDC
           OATEY PVC HEAVY
           DUTY                                                                             $0.00                                   $42.35


           S03801 KRYLON APWA
           WATER BASED UTIL                                                                 $0.00                                 $154.80


           S03903 KRYLON APWA
           WATER BASED UTIL                                                                 $0.00                                 $141.00


           S03904 KRYLON APWA
           WATER BASED UTIL                                                                 $0.00                                   $25.80


           S03911 KRYLON APWA
           WATER BASED UTIL                                                                 $0.00                                   $25.80


           S03901 KRYLON APWA
           WATER BASED UTIL                                                                 $0.00                                   $68.80


           S03631 KRYLON APWA
           SOLVENT BASED UT                                                                 $0.00                                 $124.25


           S03621 KRYLON APWA
           SOLVENT BASED UT                                                                 $0.00                                 $199.92



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 710
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           SEYMOUR #20-653
           PRECAUTION BLUE INV                                                              $0.00                                     $5.97


           SEYMOUR #20-652
           WHITE INVERTED LEAD                                                              $0.00                                   $21.89


           SEYMOUR #20-678
           UTILITY YELLOW INVE                                                              $0.00                                   $17.91


           PSB-PLG-50H INSTANT
           HYDRAULIC CEMEN                                                                  $0.00                                 $459.40


           KRYLON APWA
           SOLVENT BASED
           UTILITY M                                                                        $0.00                                     $0.00


           ZCORR4 ITRON FLOW
           METRIX ZCORR LEA                                                                 $0.00                             $10,620.75


           G01 SUPER SEAL 48"
           MANHOLE GASKET                                                                   $0.00                                 $108.50


           S106-7WS 7" X 4"
           MANHOLE BOOT KOR-                                                                $0.00                                   $85.60


           GALV90075 3/4"
           IMPORTED GALV MI 90                                                              $0.00                                     $0.97


           GALVPLG.50 1/2" GALV
           PLUG                                                                             $0.00                                     $2.65


           GALVUNION075 3/4"
           GALV UNION                                                                       $0.00                                   $48.20


           GALV.T075 3/4" GALV
           TEE                                                                              $0.00                                     $8.40


           REEMW075 1/8"- 3/4"
           ONE HAND WRENCH                                                                  $0.00                                   $57.91


           839-128 1 X 1/4 THRD
           BUSHING SCH 80                                                                   $0.00                                     $8.53


           DR1814 14" PVC DR18
           235PSI WP20LEN                                                                   $0.00                               $5,356.00


           1056-1010SR FERNCO
           10" X 10" PVC x                                                                  $0.00                                   $64.94


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 711
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           MH211370 129 5-1/4"
           STANDPIPE GASKE                                                                  $0.00                                    $-9.40


           MH201199 M&H 129
           4-1/2" - 5-1/4" CL                                                               $0.00                                  $-13.00


           MH201198 M&H 129
           BREAKAWAY CLIP 4-1                                                               $0.00                                    $-5.00


           GALVNIP-.75XCLS 3/4"
           X CLOSE GALV                                                                     $0.00                                     $8.00


           445591 M&H 129 4-1/2"
           SAFETY STEM (                                                                    $0.00                                   $24.09


           MH545064 M&H 129
           4-1/2" BRONZE MAIN                                                               $0.00                                 $368.49


           16" X 8" PXCXP STEEL
           WALL SLEEVE                                                                      $0.00                                 $265.30


           FCMC 1213 FORD 5/8 X
           3/4 CHANGE OVE                                                                   $0.00                                 $182.00


           454591 M & H 129 5-1/4"
           SAFETY STEM                                                                      $0.00                                   $28.75


           56-1010SR CI/PLASTIC X
           CI/PLASTIC C                                                                     $0.00                                   $35.90


           PVC40CONCPLG3 3"
           PVC 40 CONDUIT CP                                                                $0.00                                 $142.56


           6010-109N1N1-VQ                1/2"
           X 1/2" METE                                                                      $0.00                                 $264.00


           RUBBER METER
           WASHERS 3/4" X 1/8"                                                              $0.00                                   $36.69


           JCM403-0663-100
           JCM403 SERVICE SADD                                                              $0.00                                 $110.88


           D1500BODY DFW
           METER BOX MODEL
           1500                                                                             $0.00                                   $45.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 712
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           METER 1" X 1/16"
           RUBBER WASHER                                                                    $0.00                                   $40.00


           HXBLT075500 3/4" X 5"
           HEX HEAD BOLT                                                                    $0.00                                   $50.00


           M&H 129 5-1/4" #557511
           TOP PLATE UP                                                                     $0.00                                 $190.61


           MH454095 MH MODEL
           129 2 1/2" HOSE N                                                                $0.00                                 $217.23


           402-0480X15 JCM402
           (4.50-4.80) 2" C                                                                 $0.00                                 $140.28


           152-300 STAINLESS
           STEEL CLAMP 8" CI                                                                $0.00                                   $14.60


           VBEXT18 18" SCREW
           EXTENSION                                                                        $0.00                                   $26.98


           JR4220-4NH 4"
           ADJUSTABLE
           CLEANOUT C                                                                       $0.00                                 $330.00


           1003-1010SR 10" CLAY
           x 10" DI COUPL                                                                   $0.00                                   $35.72


           10" KEYSTONE FIG
           AR2-723 W/ GEAR P/                                                               $0.00                                 $900.00


           2 1/2 X 2" GALV
           BUSHING                                                                          $0.00                                     $2.50


           FLTWSH075Z 3/4" Zinc
           Plated Large F                                                                   $0.00                                     $5.00


           PVCC804 4" SCH80
           PVC UL CONDUIT 10                                                                $0.00                                 $124.00


           SIAMESE4-2 4" X 2.5" X
           2.5" NST ANG                                                                     $0.00                                 $270.00


           PSV-618 6"-18"
           ADJUSTABLE "V"
           STYLE                                                                            $0.00                                 $200.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 713
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           806-040LSF SPEARS 4"
           PVC 80 LONG SW                                                                   $0.00                                 $250.94


           838-072 SPEARS 1/2" x
           1/4" SCH80 SP                                                                    $0.00                                     $3.38


           AIRPORT FLAGS                                                                    $0.00                                   $13.30


           CB-480UN ROMAC "CB"
           SEWER SADDLE FO                                                                  $0.00                                 $128.43


           CF31-66NL FORD 1-1/2"
           LOW LEAD METE                                                                    $0.00                                 $203.20


           CMA8 RUBBER
           GROMMET CONCRETE
           MANHOL                                                                           $0.00                                   $29.37


           CT250K20 2-1/2" TYPE K
           COPPER 20'                                                                       $0.00                                 $171.20


           DWV452P 2" DWV
           SCH40 PVC 45 BEND B                                                              $0.00                                     $2.74


           DWV453P 3" PVC DWV
           45 BEND, BELL X                                                                  $0.00                                     $8.38


           DWV908 8" DWV 90
           BEND,B X B, D208 L                                                               $0.00                                   $72.75


           GALVCAP075 3/4" GALV
           THRD CAP                                                                         $0.00                                     $8.33


           GALVCAP1 1" GALV
           CAP THREADED                                                                     $0.00                                     $7.50


           GALVNIP150X500 1-1/2"
           X 5" GALVANIZ                                                                    $0.00                                     $6.12


           GALVNIP100X1000 1" X
           10" THREADED G                                                                   $0.00                                   $22.01


           GALVNIP100X800 GALV.
           NIPPLE 1" x 8"                                                                   $0.00                                   $16.65


           GALVREDCPLG200100
           2"x1" Galvanized                                                                 $0.00                                     $5.22



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 714
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           HXBLT078450P 7/8"X 4
           1/2" ZINC PLA                                                                    $0.00                                   $58.32


           KV106-11A-6 KENNEDY
           DISC PLATE FOR                                                                   $0.00                                 $188.68


           MUE A-14 PUMPER
           NOZZLE 143125-40610                                                              $0.00                                 $142.70


           NDWT3 - 3" X 1000'
           NON-DETECTABLE "                                                                 $0.00                                  $-10.00


           NEENAH R-2668 FRAME
           & GRATE                                                                          $0.00                                 $522.00


           REEMW125 1-1/4" ONE
           HAND WRENCH 1"-                                                                  $0.00                                 $135.74


           REEPES01CTS REED
           POLY SHUT OFF TOOL                                                               $0.00                                   $49.55


           REERWO14 14" 45
           DEGREE OFFSET PIPE                                                               $0.00                                   $28.05


           SDR35RED156 15 X 6
           PVC SDR35 REDUCE                                                                 $0.00                                 $555.80


           UNI47-202
           SHARPSHOOTER
           DRAIN SPADE                                                                      $0.00                                 $216.15


           reed 98418 part#8
           clamp ring for                                                                   $0.00                                     $2.95


           VB2611 5 1/4" 10"
           SIGMA VALVE BOX T                                                                $0.00                                   $42.60


           MH129-4-1/2 PUMPER
           NOZZLE NST THREA                                                                 $0.00                                 $332.60


           CSS6IPS-12-CR 6" IPS X
           12" STAINLES                                                                     $0.00                                   $50.16


           GALVNIP.5X6 1/2" X 6"
           GALVANIZED NI                                                                    $0.00                                     $0.81


           PVCC802 2" SCH80 PVC
           CONDUIT                                                                          $0.00                                 $308.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 715
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           FIBER METER
           WASHERS 3/4" X 1/8"                                                              $0.00                                   $10.80


           KV106-8AA-8 KENNEDY
           CHECK VALVE PLA                                                                  $0.00                                  $-56.92


           KV106-11A-8
           8"KENNEDY CHECK
           VALVE D                                                                          $0.00                                  $-93.24


           800-0663-F7 SERVICE
           SADDLE FOR 6" P                                                                  $0.00                                   $76.70


           WHE6011 6 IN 1
           SCREWDRIVER
           SLOT/PHI                                                                         $0.00                                   $53.40


           B90-100 1" SCHEDULE
           40 PVC BALL VA                                                                   $0.00                                   $10.35


           NDS1214 12" SQUARE
           MANGANESE BRONZE                                                                 $0.00                               $1,576.16


           LC537W METER BOX
           LID,SOLID CAST IRO                                                               $0.00                                   $18.54


           1 1/2" PVC40 BALL
           VALVE SOCKET X SO                                                                $0.00                                     $7.20


           CSS-6010PSP 10" X 6"
           POLY CASING SP                                                                   $0.00                                   $90.12


           BARTON242E-3007
           BARTON MODLE 242E 1                                                              $0.00                                 $952.20


           UNI45-170 UNION 45-170
           16" DRAIN SP                                                                     $0.00                                   $22.50


           FLPE81-6T034 8" X 1'6"
           FLANGE X PL                                                                      $0.00                                 $105.20


           DWVTCO6 DWV TEE
           WITH CLEANOUT THR                                                                $0.00                                     $0.00


           A20006 6" A2000 PVC
           PIPE, CONTECH                                                                    $0.00                               $1,162.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 716
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           HDPE106 HDPE DIPS
           TEE 10 X 6                                                                       $0.00                                 $364.00


           JCM462-1200X10 JCM
           STAINLESS STEEL                                                                  $0.00                                 $728.97


           LC2512W SOUTHERN
           METER BOX CAST IRO                                                               $0.00                                   $22.80


           #23996 1" MIP X COMP
           ADAPTER FOR CT                                                                   $0.00                                   $31.50


           PBF075 3/4" PLUMBITE
           COUPLING X FEM                                                                   $0.00                                     $6.10


           LP-1 MANHOLE
           LIFTING PIN (EACH) FO                                                            $0.00                                   $90.00


           DR94518IPS 18" DR9
           IPS HDPE 45 DEGR                                                                 $0.00                                 $480.00


           DR92218IPS 18" DR9
           IPS HDPE 22 DEGR                                                                 $0.00                                 $604.00


           DR11T8IPS 8" X 8" DR11
           IPS HDPE TEE                                                                     $0.00                                     $0.00


           DR11228IPS 8" DR11
           IPS HDPE 22 DEGR                                                                 $0.00                                     $0.00


           MH574012 M&H 2 1/2"
           NST NOZZLE CAP                                                                   $0.00                                   $54.60


           GALV90125S 1-1/4"
           GALV STREET 90 DE                                                                $0.00                                   $38.50


           DR9MJA18IPS 18" DR9
           IPS HDPE MJ ADA                                                                  $0.00                                     $0.00


           FORD 202 24 X 2
           BRONZE SADDLE                                                                    $0.00                                 $334.00


           CLAVAL33A 2" AIR
           RELEASE & VACUUM B                                                               $0.00                                     $0.00


           DR11T10IPS 10" DR11
           IPS HDPE TEE                                                                     $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 717
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                Name

           DR11CAP8IPS 8" DR11
           IPS HDPE CAP                                                                     $0.00                                   $59.84


           431-060 IPSXPIP
           ADAPTER SPIG X SOC                                                               $0.00                                     $6.69


           HYDROCPLG075 3/4"
           CTS HYDROSERT CO                                                                 $0.00                                   $14.75


           HYDROSERT100 1" CTS
           HYDROSERT COUP                                                                   $0.00                                 $248.00


           HIPBOOTS13 SIZE 13
           HIP BOOTS PLAIN                                                                  $0.00                                   $21.95


           HIPBOOTS11 SIZE 11
           HIP BOOTS PLAIN                                                                  $0.00                                   $21.95


           HYDROSERT075L 3/4"
           LONG CTS HYDROS                                                                  $0.00                                 $175.00


           MH582012 M&H 129
           NST PUMPER NOZZLE                                                                $0.00                                 $111.30


           GALV90S-100 1"
           GALVANIZED STREET
           90                                                                               $0.00                                   $34.50


           1 1/2" SB PADLOCK                                                                $0.00                                     $0.00


           CRM306007 GREEN
           FIBERGLASS MARKER
           6                                                                                $0.00                                   $74.45


           2925-1002 10" PIP CPLG                                                           $0.00                                   $48.93


           CARSON PENTA HEAD
           BOLT LOCK FOR 101                                                                $0.00                                   $22.50


           MH454591 M&H BREAK
           COUPLING FOR #12                                                                 $0.00                                  $-39.75


           12" CHARTS FOR
           CHART RECORDER
           0-250                                                                            $0.00                                     $1.70


           C.H. 1" CONCRETE LID
           WITH CAST IRON                                                                   $0.00                                 $216.16


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 718
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           A453UBCL SENTINEL
           HYDRANT 5-1/4" UP                                                                $0.00                               $1,038.69


           45-1259SDL-04LXGV
           100# ASHCROFT MOD                                                                $0.00                                 $160.70


           PBC100 1" PLUMB BITE
           COUPLING (4515                                                                   $0.00                                     $7.65


           PBF100 1" PLUMBITE
           FEMALE ADAPTER (                                                                 $0.00                                     $5.85


           PBT100 1" PLUMBITE
           TEE (4523B-18)                                                                   $0.00                                   $85.86


           REERWO10 10" 45
           DEGREE OFFSET PIPE                                                               $0.00                                   $42.30


           SIAMESE6-3 6" 3-WAY
           SIAMESE ANGLE C                                                                  $0.00                                 $595.00


           1055-88SR 8" x 8" DI x
           DI RUBBER CO                                                                     $0.00                                   $45.28


           DMB2214D401 14" C153
           MECHANICAL JOI                                                                   $0.00                                 $755.20


           WSB6 6" CUSTOM
           MAPLE WOOD SEWER
           BAL                                                                              $0.00                                   $68.20


           56-22SR 2" x 2"
           PVC/PVC RUBBVER
           COU                                                                              $0.00                                   $29.50


           REERSP1 (04276) REED
           RATCHET SHEAR                                                                    $0.00                                   $43.76


           6100-084-150 TPS 1/2"
           MIP X IPS GAL                                                                    $0.00                                   $30.94


           CAR1015-1419 CARSON
           1419 STANDARD M                                                                  $0.00                                   $24.72


           DIPA10GAB 10"
           DUCTILE IRON PIPE
           ANC                                                                              $0.00                                   $44.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 719
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           TRU367-4286 24"
           TRUMBULL MAN HOLE
           H                                                                                $0.00                                   $18.50


           SDR26/3590BXB4 4"
           SDR26/35 HEAVY WA                                                                $0.00                                 $147.20


           120-09050001-900 8"
           CAM-LOCK RESTRA                                                                  $0.00                                   $28.02


           AMCO2670Q0007
           ELSTER AMCO PLASTIC
           R                                                                                $0.00                                   $38.16


           AMCO2670Q0005
           ELSTER AMCO
           REGISTER                                                                         $0.00                                     $7.62


           SDR26/35T66 6" x 6"
           HEAVY WALL SEWE                                                                  $0.00                                 $115.29


           JCM412-1950X4 18" X 4"
           JCM MODEL 41                                                                     $0.00                                 $346.86


           DMTP32D 3" X 2"
           DUCTILE MECHANICAL                                                               $0.00                                 $121.44


           RBLHDS16L
           RAZORBACK LONG
           HANDLE 16"                                                                       $0.00                                   $52.59


           QCY106 10" X 6"
           QUALITY CULVERT HDP                                                              $0.00                                   $50.00


           QCY124 QUALITY
           CULVERT DUAL 12" X 4                                                             $0.00                                 $100.00


           UFR1500-C-8-U 8" PVC
           JOINT RESTRAIN                                                                   $0.00                                   $36.20


           S-13420CC250075 2" X
           3/4"CC BRASS H                                                                   $0.00                                 $233.59


           MID3018 2" STYLE 30
           IPS GRIP RING R                                                                  $0.00                                 $178.15


           SECY44 4" X 4" DUAL
           WALL HDPE WYE S                                                                  $0.00                                   $25.20



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 720
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMT84E 8" X 4" C153 MJ
           TEE FUSION B                                                                     $0.00                                 $750.87


           GALVRED100X075 1" X
           3/4" GALVANIZED                                                                  $0.00                                     $2.85


           MH4500-01-6L M&H 6"
           4500 MJ BUTTERL                                                                  $0.00                                 $625.00


           GALVTHRPE48 4" X 8'
           GALVINIZED SPOO                                                                  $0.00                                 $307.50


           622-13201000-003 SMITH
           BLAIR 12" X                                                                      $0.00                                 $523.55


           MH596021 M&H VALVE
           6" STUFFING BOX                                                                  $0.00                                   $25.85


           SDR26/35904BXP 4"
           SDR26 SEWER 90 DE                                                                $0.00                                 $120.43


           SDR35Y84DWV 8" X 4"
           SDR35 GASKET WY                                                                  $0.00                                 $458.56


           2011-018 ELSTER AMCO
           C7R POLY METER                                                                   $0.00                                   $40.00


           1003-44SR 4" X 4" DIP X
           CLAY WITH S                                                                      $0.00                                   $45.72


           GALVNIP200X500 2" x
           5" GALVINIZED T                                                                  $0.00                                   $22.50


           SECY158 15" X 8" DUAL
           WALL HDPE RED                                                                    $0.00                                   $85.00


           SECRED158 15" X 8"
           SEC REDUCER                                                                      $0.00                                 $168.00


           SEC4515 15" DUAL
           WALL HDPE 45 BEND                                                                $0.00                                   $92.00


           MH210162 M&H
           PUMPER NOZZLE
           GASKET N                                                                         $0.00                                   $36.66


           LC23995 3/4" CTS COMP
           X MIP ADAPTER                                                                    $0.00                                   $31.70


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 721
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           LC24037 1" CTS COMP
           X FIP ADAPTER                                                                    $0.00                                   $50.52


           LC24036 3/4" CTS COMP
           X FIP ADAPTER                                                                    $0.00                                   $29.40


           LC23986 3/4" CTS COMP
           X CTS COMP CO                                                                    $0.00                                   $15.39


           ROM517-6.63 ROMAC 6"
           STYLE 517 BELL                                                                   $0.00                                 $280.40


           A-788 CARBOLINE
           SPLASH ZONE
           COATING                                                                          $0.00                                 $410.40


           1015-12HDHLO 1015
           HINGED PLASTID LI                                                                $0.00                                   $68.60


           SDR35R64SW 6" X 4"
           SDR35 REDUCER BU                                                                 $0.00                                     $8.05


           INSUN200 2"
           INSULATED GAS UNION
           THR                                                                              $0.00                                   $24.05


           2" GAS BALL VALVE W/
           GREASE FITTING                                                                   $0.00                                 $115.00


           PVBCAPW 5-1/4"
           PLASTIC VALVE BOX LI                                                             $0.00                                 $220.50


           MCD74753-44
           MCDONALD 2" PVC
           LOW LEA                                                                          $0.00                                 $164.58


           SECCR1515 15" X 15"
           SEC DUAL WALL H                                                                  $0.00                                   $86.00


           DR1130IPSPIPESTARIN
           T8 8" PIPESTAR I                                                                 $0.00                                     $0.00


           DR1190PIPESTARINT8
           8" DR11 90 DEGRE                                                                 $0.00                                 $744.00


           C44-66NL FORD 1-1/2"
           LOW LEAD COUPL                                                                   $0.00                                 $110.36



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 722
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           ALPHA-A-7.00 6" ALPHA
           WIDE RANGE RE                                                                    $0.00                                 $489.60


           ALPHA-A-9.10 8" ALPHA
           WIDE RANGE RE                                                                    $0.00                                 $555.90


           V0KS201 MUELLER
           SYSTEMS 1" PD METER                                                              $0.00                                 $460.00


           BUPG8509910 BROOKS
           "F" SERIES UTILI                                                                 $0.00                                   $70.00


           BUPG8610005 BROOKS
           UTILITY "F" SERI                                                                 $0.00                                   $41.89


           WTLF007QT1NL WATTS
           1" LOW LEAD LF00                                                                 $0.00                                 $100.46


           SECY1010 10" DOUBLE
           WALL HDPE WYE                                                                    $0.00                                   $90.00


           CL1-11.10X15 10" X 15"
           REPAIR CLAMP                                                                     $0.00                                 $232.41


           BRCPLG-100DNL 1"
           BRASS COUPLING, DO                                                               $0.00                                     $7.91


           212NL-F4F4 1" FIP X FIP
           METER VALVE                                                                      $0.00                                 $246.16


           B44-233W-NL FORD 3/4"
           LOW LEAD CURB                                                                    $0.00                                   $71.67


           4IPS8PE17SW 4" SCH40
           SOLVENT WELD X                                                                   $0.00                                 $946.22


           BRNIP-100X300DOM 1"
           X 3" BRASS THR                                                                   $0.00                                   $25.82


           BRNIP-050X300DOM
           1/2" X 3" BRASS TH                                                               $0.00                                   $11.28


           202U-11.10X2IP 10" X
           2"IP SADDLE 20                                                                   $0.00                                   $51.13


           H14118N MUELLER 5/8
           X 3/4, 18" HIGH                                                                  $0.00                                 $423.28



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 723
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                Name

           ROM517-8.63 ROMAC
           BELL JOINT LEAK C                                                                $0.00                                 $193.98


           UNI47-171 4" OPEN
           BACK LONG HANDLE                                                                 $0.00                                   $18.45


           SECT64 6" X 4"
           REDUCING TEE, HDPE
           D                                                                                $0.00                                   $64.00


           202U-9.05X150CC 8" X
           1.5"CC DOUBLE                                                                    $0.00                                   $38.76


           RIDGID47765
           1/2"-3/4"-14 NPT HIGH S                                                          $0.00                                 $132.85


           40LF-3S5-4A APPLLO
           3/4" DUAL CHECK                                                                  $0.00                                 $487.20


           TBLT058350 5/8" X
           3-1/2" CARBON T-B                                                                $0.00                                     $5.25


           MCD76101WR-075 3/4"
           REDUCED PORT BA                                                                  $0.00                                 $559.44


           F1000-3NL-G 3/4" CC X
           "G" NUT COMP                                                                     $0.00                                 $258.26


           1003-1212SR 12" CLAY -
           DUCTILE RUBB                                                                     $0.00                                 $121.32


           ERB16718
           "SURVIVORS" SAFETY
           GLASSES                                                                          $0.00                                     $2.00


           58LGA5N 1" GAS BALL
           VALVE THREADED                                                                   $0.00                                     $6.00


           MUE143681-40610 5"
           PUMPER CAP 1-1/2                                                                 $0.00                                 $107.71


           192413 5" PUMPER CAP
           GASKET MUELLER                                                                   $0.00                                     $8.01


           BLADEDI14201
           ASPHALT/ DUCTILE
           BLADE                                                                            $0.00                                   $32.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 724
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                Name

           MCD74753-Q-075X050
           3/4" Q COMP X 1/                                                                 $0.00                                   $51.38


           MPSEC908 8" WATER
           TIGHT 90 DEGREE B                                                                $0.00                                   $38.09


           202U-4.05X2IP DOUBLE
           U-BOLT SERVICE                                                                   $0.00                                   $26.27


           MPSEC454 4" WATER
           TIGHT 45 DEGREE B                                                                $0.00                                   $46.50


           MPSEC456 6" WATER
           TIGHT 45 DEGREE B                                                                $0.00                                 $245.00


           FIG.590G-4 4"
           GALVANIZED CLEVIS
           HAN                                                                              $0.00                                   $53.90


           101S-2.13 X 3/4CC 1-1/2"
           X 3/4" CC                                                                        $0.00                                   $21.06


           COVERALL-2X
           R38-BRN-46-34
           COVERALL                                                                         $0.00                                   $99.99


           ALPHA-EC-7.00 6"
           ALPHA WIDE RANGE E                                                               $0.00                                 $295.80


           FTS420-13.60X6 12" X 6"
           TAPPING SLE                                                                      $0.00                                 $452.74


           SECY1812 18" X 12"
           HDPE REDUCING WY                                                                 $0.00                                 $209.00


           MCD74758-22-44-075
           3/4" 3/4" CTS CO                                                                 $0.00                                 $229.30


           RP500200 RP-500-200 2"
           RPZ BACKFLOW                                                                     $0.00                                 $261.25


           DWST9010 10" PTI
           DUAL WALL SOIL TIG                                                               $0.00                                 $241.80


           MC-AR-50S 8.875"
           CIRCULAR CHART 0-5                                                               $0.00                                   $41.71




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 725
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                Name

           FLCONR84-401 8" X 4"
           FLANGED CONCEN                                                                   $0.00                                 $675.00


           SOUTHERN METER BOX
           T. 5/8" X 3/4" C                                                                 $0.00                                   $31.31


           SJQJN4-3 3/4" Q NUT
           ASSEMBLY WITH G                                                                  $0.00                                   $57.50


           WLKNS1UFMX34UF-700
           XL 1" METER SWIVE                                                                $0.00                                   $64.80


           MUE682377 3/4"
           PVC/PEP
           COMPRESSION                                                                      $0.00                                   $30.05


           SECT108 10 X 8 HDPE
           DUAL WALL TEE S                                                                  $0.00                                 $146.00


           WTFVBC8 FLOAT
           VALVE COPPER BALL
           8"                                                                               $0.00                                   $92.11


           SECY86 8" X 6" HDPE
           DUAL WALL WYE S                                                                  $0.00                                   $55.00


           SECT44 4" X 4" DUAL
           WALL HDPE TEE,                                                                   $0.00                                   $24.00


           SECRED64 6" X 4"
           REDUCER DUAL WALL                                                                $0.00                                   $50.00


           MCD74642B-22-075 3/4"
           ANGLE BALL ME                                                                    $0.00                                 $732.82


           SDR35Y86DWV 8" X 6"
           SDR35 GASKET WY                                                                  $0.00                                 $202.63


           SCC-238 X 6 2" X 6"
           SCC FULL CIRCL                                                                   $0.00                                 $200.33


           SSFLFL66 6" X 0'6"
           FLANGE X FLANGE                                                                  $0.00                                 $875.00


           BTVB4905.27-36 4905
           SCREW TYPE 2PC                                                                   $0.00                                 $174.62




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 726
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                Name

           BTVB4905.19-22 4905
           SCREW TYPE 2PC                                                                   $0.00                                 $381.66


           MCD76100MWR-Q-100
           1" CURB STOP "Q"                                                                 $0.00                                 $745.86


           MH4575 24" MANHOLE
           FRAME & COVER AS                                                                 $0.00                                 $280.00


           WT1JB WATTS HEAVY
           DUTY FLOAT VALVE                                                                 $0.00                                   $11.82


           MCD4700T-075NL 3/4"
           "T" COMPRESSION                                                                  $0.00                                     $4.25


           B25170RN-100 1"
           STRAIGHT REDUCED
           PO                                                                               $0.00                                   $54.63


           BRNIP200X1800DOM 2"
           X 18" BRASS NIP                                                                  $0.00                                 $316.80


           BRNIP200X2200DOM 2"
           X 22" BRASS NIP                                                                  $0.00                                 $487.76


           4ALF-3S5-4A 1" X 3/4"
           DUAL CHECK VA                                                                    $0.00                                 $868.80


           IPEX254074
           REPLACEMENT
           HANDLE FOR T                                                                     $0.00                                   $29.39


           C.H. 2" LID ONLY
           CONCRETE LID WITH                                                                $0.00                                  $-28.10


           DR11ECPLG4GAS 4"
           ELECTROFUSION COUP                                                               $0.00                                   $84.00


           TRU367-9080 4'
           INSULATED SOIL
           PROBE                                                                            $0.00                                   $46.00


           C47-33NL 3/4" CTS
           COMP X PVC COMP A                                                                $0.00                                   $92.58


           JCM405-0690X07 6" X
           3/4" SADDLE SIN                                                                  $0.00                                   $30.87




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 727
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           DMJEZ03 3" MJ EZ
           ADAPTER ACCESSORY                                                                $0.00                                   $51.95


           PG250BL-02L-300 2-1/2"
           PRESSURE GAU                                                                     $0.00                                   $19.95


           HHW-OMIIR OMEGA II
           HARD HAT WHITE W                                                                 $0.00                                   $33.96


           HHW-FB-OMIIR OMEGA
           II FULL BRIM HAR                                                                 $0.00                                   $49.68


           80-101-01 1/4" NPT
           BRONZE BALL VALV                                                                 $0.00                                 $136.44


           DSLDEP8DOM 8" ONE
           LOK FOR DUCTILE I                                                                $0.00                                     $0.00


           202S-11.10 X 3/4CC 10"
           X 3/4"CC ROM                                                                     $0.00                                 $182.31


           S71-407 4" X 2"IP FORD
           BRONZE HINGE                                                                     $0.00                                   $49.78


           GALVCAP050 1/2"
           GALVANIZED
           THREADED                                                                         $0.00                                   $26.40


           MH445784 6" ROD
           EXTENSION M&H 4-1/2                                                              $0.00                                  $-31.38


           MH454786 18" ROD
           EXTENSION M&H 5-1/                                                               $0.00                                  $-44.67


           CL1-7.24 X 12 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                   $65.14


           CL1-5.14 X 7-1/2 ROMAC
           STAINLESS ST                                                                     $0.00                                 $128.22


           6100-1900-150 TPS
           1-1/2" GALVANIZED                                                                $0.00                                   $31.96


           6000-1900-150
           COMPRESSION FITTING
           L                                                                                $0.00                                   $50.52




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                Name

           6100-2375-150 2"
           GALVANIZED MALE AD                                                               $0.00                                   $89.03


           6000-1315-150 1" LONG
           BODY GALVANIZ                                                                    $0.00                                 $113.64


           6000-1050-150 3/4"
           COMPRESSION COUP                                                                 $0.00                                   $33.65


           DRE0038-0002-11
           DRESSER 1/2" IPS CO                                                              $0.00                               $2,573.01


           DRE0062-0032-011
           DRESSER 3/4" X 1/2                                                               $0.00                               $7,877.45


           DRE0038-0003-011
           DRESSER 3/4" IPS C                                                               $0.00                               $4,918.40


           REEARW018 ALUMINUM
           18" OFFSET PIPE                                                                  $0.00                                 $133.66


           REEDS12 32" LONG
           PIPE SCRAPER, FOR                                                                $0.00                                   $96.17


           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                   $30.30


           REERW10 10" REED
           PIPE WRENCH, HEAVY                                                               $0.00                                   $71.24


           REERW12 12" PIPE
           WRENCH,HEAVY DUTY,                                                               $0.00                                   $41.10


           REERW14 14" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $46.06


           REERW18 18" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $66.52


           REESC125 SCISSOR
           SHEARS 1-1/4" (FOR                                                               $0.00                                   $12.14


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $31.55


           REETC2Q 1/4" - 2-5/8"
           CUTTER QUICK                                                                     $0.00                                   $58.02


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           REED02690 THRU-BOLT
           4-IN-1 RATCHET                                                                   $0.00                                 $107.50


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                   $16.80


           SDR26/354 4" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $188.73


           SDR26/356 6" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $154.70


           SDR26/358 8" SDR26/35
           HEAVY WALL SE                                                                    $0.00                               $2,462.73


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                 $260.40


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $840.17


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                               $1,925.56


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $656.60


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $188.44


           SDR3521 21" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $324.24


           32686 6" SCH40 HUB x
           SDR35 SPIGOT A                                                                   $0.00                                   $13.24


           PVCRECCOP4 4" PVC
           RECESSED CLEANOUT                                                                $0.00                                   $13.35


           SDR26/35454BXB 4" 45
           DEGREE BEND HE                                                                   $0.00                                 $104.79


           SDR26/35456BXB 6" 45
           DEGREE BEND HE                                                                   $0.00                                 $109.72



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 730
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           SDR26/35456P 6"
           SDR26/35 45 BEND BE                                                              $0.00                                   $51.67


           SDR26/35906BXB 6"
           SDR26/35 90 DEGRE                                                                $0.00                                   $94.10


           SDR26/35T106 10" X 6"
           SDR26/35 TEE                                                                     $0.00                                   $99.02


           SDR26/35T84 8" X 4"
           SDR26/35 TEE HE                                                                  $0.00                                 $116.54


           SDR26/35Y44 4" X 4"
           SDR26/35 WYE HE                                                                  $0.00                                   $69.23


           SDR26/35Y66 6" X 6"
           SDR26/35 WYE HE                                                                  $0.00                                   $70.09


           SDR3522BXB12 12" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $101.45


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $39.02


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $28.27


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $94.20


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                   $70.46


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $28.17


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $57.99


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $44.59


           SDR354XSCH40DWV4
           4" PVC SDR35 SPIGO                                                               $0.00                                 $208.94


           SDR35904LS 4" SDR35
           LONG SWEEP BELL                                                                  $0.00                                     $9.06



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           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $80.35


           SDR3590BXB8 8" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $31.75


           SDR3590BXP4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $34.43


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $12.13


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                     $6.41


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                     $6.00


           SDR35CPLG8 8" PVC
           SDR 35 COUPLING G                                                                $0.00                                   $20.78


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $18.52


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                   $37.45


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                   $57.29


           SDR35REPCPLG4 4"
           SDR35 REPAIR COUPL                                                               $0.00                                   $36.76


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $12.24


           SDR35SADT106 10X6
           PVCSDR35 SADDLE T                                                                $0.00                               $1,262.17


           SDR35SADT126 12X6
           PVCSDR35 SADDLE T                                                                $0.00                                 $163.84


           SDR35T108 10 X 8 PVC
           SDR 35 TEE G10                                                                   $0.00                                 $135.96


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $48.18



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                Name

           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                   $67.35


           SDR35T66 6" X 6" PVC
           SDR35 TEE,G106                                                                   $0.00                                 $118.48


           SDR35T84 8" X 4" PVC
           SDR35 TEE G108                                                                   $0.00                                   $25.74


           SDR35T88 8" X 8" PVC
           SDR35 TEE G108                                                                   $0.00                                   $76.37


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                   $28.63


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $20.66


           SDR35TY66 6" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $24.09


           SDR35Y156 15" X 6"
           PVC SDR35 WYE L3                                                                 $0.00                                 $204.70


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                   $17.10


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                   $51.74


           SDR35Y86 8" X 6" PVC
           SDR35 WYE G308                                                                   $0.00                                   $61.70


           SDR26/35T64 GPK 6" x
           4" SDR26 SEWER                                                                   $0.00                                 $111.50


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $45.22


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                 $146.12


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $23.09




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 733
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                 $145.24


           V-706 6" 22 DEGREE
           BEND SEWER AND D                                                                 $0.00                                   $52.16


           V-716 6" PVC 22 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $20.28


           SVBPC350 3 1/2 BP
           COUNTER SUNK HEAD                                                                $0.00                                 $103.94


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                   $68.25


           SVCOF6 6" SV
           CLEANOUT WITH PLUG
           187                                                                              $0.00                                   $17.78


           SVCOF8 8" SV
           FERRULE W/PLUG                                                                   $0.00                                 $200.45


           DWV223 3" PVC DWV 22
           BEND BXB P/N 7                                                                   $0.00                                   $44.55


           DWV224 4" DWV SCH40
           22.5 BEND,BELL                                                                   $0.00                                   $30.52


           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                   $71.90


           DWV45BXP6 6" PVC
           DWV 45 BEND B X S                                                                $0.00                                   $73.00


           DWV45BXS4 4" PVC
           DWV SCH40 45 BEND,                                                               $0.00                                   $39.15


           DWV903 3" PVC DWV 90
           BEND,P/N 72830                                                                   $0.00                                     $6.73


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                   $16.61


           DWV906 6" PVC DWV 90
           BEND, BELL X B                                                                   $0.00                                   $22.45




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 734
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           DWVC6 6" PVC DWV
           SCH40 CAP, D1606                                                                 $0.00                                   $41.79


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $22.06


           DWVCOA4 4" PVC DWV
           CLEANOUT ADAPTER                                                                 $0.00                                     $2.45


           DWVCOP3 3"
           CLEANOUT PLUG P/N
           71830                                                                            $0.00                                   $10.46


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                   $18.02


           DWVFA3 3" PVC DWV
           FEMALE ADAPTER P/                                                                $0.00                                   $75.53


           DWVFA6 6" PVC DWV
           ADAPTER FEMALE X                                                                 $0.00                                   $55.52


           DWVRED64 6" X 4" PVC
           DWV REDUCER P/                                                                   $0.00                                     $9.71


           DWVRED84 8" X 4" DWV
           REDUCER D608-4                                                                   $0.00                                   $13.51


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $15.51


           DWVT66 6" X 6" PVC
           DWV TEE,P/N D106                                                                 $0.00                                   $31.06


           DWVTY22 2" PVC DWV
           TEE-WYE, P/N 725                                                                 $0.00                                   $19.59


           DWVTY44 4" PVC DWV
           TEE-WYE SCH40 D1                                                                 $0.00                                   $13.54


           DWVY33 3" PVC DWV
           WYE,P/N 71030                                                                    $0.00                                   $24.54


           DWVY44 4" PVC DWV
           SCH40 WYE, 71040,                                                                $0.00                                 $128.34


           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                 $129.59


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 735
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           DWVT64 6 X 4 DWV TEE
           D106-4                                                                           $0.00                                   $26.08


           DWVTY64 6 X 4 PVC
           SCH40 DWV TEE WYE                                                                $0.00                                   $17.52


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                   $42.26


           HWY4P100 4" x 100'
           PERFORATED CORRU                                                                 $0.00                                   $39.00


           HWY4S100 4" X 100'
           SOLID CORRUGATED                                                                 $0.00                                 $273.00


           SEC8S 8" HDPE SOLID
           PIPE, SOUTHEAST                                                                  $0.00                               $1,650.00


           SEC10S 10" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $1,290.00


           SEC12S 12" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $431.00


           SEC15S 15" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $541.00


           SEC18S 18" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $2,724.00


           SEC24S 24" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $1,896.00


           SEC30S 30" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $676.00


           SEC4S 4" SOLID HDPE
           PIPE, SOUTHEAST                                                                  $0.00                                 $667.00


           SEC36S CULVERT 36"
           HDPE SOLID PIPE,                                                                 $0.00                                 $911.20


           SEC6S 6" DUAL WALL
           CORRUGATED HDPE                                                                  $0.00                               $1,062.60


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $8.72


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 736
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           SECCPLG8 8" HDPE
           SPLIT COUPLING SOU                                                               $0.00                                   $96.00


           SECCPLG18 18" HDPE
           SPLIT COUPLING S                                                                 $0.00                                   $40.00


           SECCPLG12 12" HDPE
           SPLIT COUPLING S                                                                 $0.00                                   $25.00


           SECCPLG10 10" SPLIT
           COUPLING HDPE S                                                                  $0.00                                   $76.50


           SECCPLG6S 6" SNAP
           COUPLING HDPE SOU                                                                $0.00                                     $6.00


           SECCPLG15 15" HDPE
           SPLIT COUPLING S                                                                 $0.00                                 $100.00


           SECRED126 12" X 6"
           REDUCER, HDPE DU                                                                 $0.00                                   $39.00


           SECR86 8" x 6" HDPE
           REDUCER SOUTHEA                                                                  $0.00                                   $27.00


           SECT66 6" X 6" TEE
           DUAL WALL HDPE S                                                                 $0.00                                   $60.00


           SEC4510 10" 45 BEND
           HDPE DRAINAGE                                                                    $0.00                                 $200.50


           QCRED108 10" x 8"
           HPDE DUAL WALL RE                                                                $0.00                                   $36.03


           SECT86 8" X 6" HDPE
           TEE, SOUTHEAST                                                                   $0.00                                   $36.00


           SECCPLG4S 4" SNAP
           COUPLING SOUTHEAS                                                                $0.00                                   $57.50


           SEC904 4" HDPE DUAL
           WALL 90 BEND SO                                                                  $0.00                                   $24.00


           SECT12 12" HDPE TEE,
           SOUTHEAST CULV                                                                   $0.00                                     $0.00


           SECT10 10" HDPE TEE
           SOUTHEAST CULVE                                                                  $0.00                                     $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 737
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           SEC456 6" HDPE 45
           BEND, SOUTHEAST C                                                                $0.00                                     $0.00


           SECT8 8" HDPE TEE,
           SOUTHEAST CULVER                                                                 $0.00                                     $0.00


           SEC458 8" 45 BEND
           DUAL WALL HDPE, S                                                                $0.00                                 $100.00


           SECY84 8" X 4" SEC
           DUAL WALL HDPE R                                                                 $0.00                                   $74.00


           SEC454 4" DUAL WALL
           HDPE 45 BEND SO                                                                  $0.00                                     $5.00


           01-44 4X4 CLAY/CLAY
           COUPLING                                                                         $0.00                                     $7.40


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $59.47


           02-46 4" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.80


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $73.67


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $82.40


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $30.93


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $36.10


           03-66 6 X 6 CLAY/AC,DI
           COUPLING                                                                         $0.00                                   $30.09


           03-88 8" CLAY/DI
           RUBBER COUPLING                                                                  $0.00                                   $24.36




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 738
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                Name

           06-66 6" X 6"
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                     $8.11


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $74.04


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $71.43


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $60.90


           51-1010 10"
           AC-DI/CI-PLAS
           COUPLING                                                                         $0.00                                   $33.86


           51-1212 12" X 12"
           AC,CI/CI PLAS COU                                                                $0.00                                   $39.51


           55-88 8" X 8"
           AC,DI/AC,DI COUPLING                                                             $0.00                                   $12.79


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $2.75


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $59.47


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $7.86


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $60.27


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $20.61


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $54.15


           1056-44SR 4" X 4" PVC x
           PVC COUPLIN                                                                      $0.00                                   $45.86




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 739
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           1051-44SR 4" AC/DI X 4"
           CI/PLAS COU                                                                      $0.00                                 $114.90


           1056-66SR 6" x 6" PVC x
           PVC COUPLIN                                                                      $0.00                                   $75.10


           51-66SR 6" AC/ D.I. X
           CI/PLASTIC CO                                                                    $0.00                                 $487.89


           1003-66SR 6" x 6" CLAY
           x DIP WITH S                                                                     $0.00                                 $124.11


           1056-88SR 8" X 8"
           CI/PLAS X CI/PLAS                                                                $0.00                                   $47.88


           1002-44SR 4" x 4"
           CLAY/PVC, C.I COU                                                                $0.00                                   $60.65


           1002-66SR 6" x 6"
           CI/PVC-CLAY COUPL                                                                $0.00                                   $37.53


           1051-88SR 8" PLASTIC
           X 8" A/C,DI WI                                                                   $0.00                                   $44.14


           1002-88SR 8" x 8"
           CLAY-PVC RUBBER C                                                                $0.00                                   $97.10


           1006-66SR FERNCO 6" x
           6" PVC/CI - C                                                                    $0.00                                   $33.50


           1006-88SR FERNCO 8" X
           8" PVC/CI - C                                                                    $0.00                                   $74.78


           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                     $9.10


           CHE270-253 6" INSIDE
           GRIPPER PLUG,                                                                    $0.00                                   $24.70


           CHE262-080 8"
           MUNI-BALL WITH WITH
           B                                                                                $0.00                                 $277.20


           CHE270-067 6" TEST
           BALL PLUG CHERNE                                                                 $0.00                                 $119.24




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 740
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           CHE262-064 6"
           MUNI-BALL WITH BY
           PAS                                                                              $0.00                                 $110.60


           CHE262-048 4"
           MUNI-BALL WITH
           BRASS                                                                            $0.00                                   $93.80


           CHE274-238 20'
           CHERNE EXTENSION
           HOS                                                                              $0.00                                   $44.03


           CHE268-108
           10"CHERNE IRON GRIP
           MECH                                                                             $0.00                                   $77.50


           012-12 PLASTIC METER
           BOX WITH PLAST                                                                   $0.00                                 $822.50


           1015-12HDHL-B
           STANDARD PLASTIC
           METE                                                                             $0.00                                 $780.50


           RUSCO RUSCO CAST
           IRON LIDS FOR NDSD                                                               $0.00                                 $109.85


           4P26FB8PE17 INSERTA
           TEE 8" DR-17 HD                                                                  $0.00                                 $267.80


           FTS420-7.16-6 6" X 6"
           FTS420 FABRIC                                                                    $0.00                                 $410.58


           FTS420-9.37-6D 8" X 6"
           FTS 420 FABR                                                                     $0.00                                 $415.53


           ROMACSST0730X6
           TAPPING SLEEVE
           STAIN                                                                            $0.00                                 $337.06


           ROMACSST700X6
           TAPPING SLEEVE (6.60-                                                            $0.00                                 $337.05


           VB2607-W DROP-IN
           VALVE BOX WITH LID                                                               $0.00                                 $175.00


           HANY6 6" HANCOR
           WYE FC-YOB-06-0000                                                               $0.00                                 $111.70




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 741
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           FIBERGLASS LONG
           HDL FLT SHOVEL UNI4                                                              $0.00                                   $15.71


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $93.36


           RBLHP LONGHANDLE
           POINTED SHOVEL UNI                                                               $0.00                                   $56.70


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $31.12


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $15.56


           UNI1160100 60" PINCH
           POINT CROW BAR                                                                   $0.00                                 $119.96


           UNI1160200 60" WEDGE
           POINT CROW BAR                                                                   $0.00                                   $90.42


           UNI63-122 16 TOOTH
           ROAD/STONE RAKE                                                                  $0.00                                 $160.76


           228-30257030-000 24" X
           30" WIDE SMI                                                                     $0.00                                 $924.30


           244-00008806-000 3/4" X
           6" REPAIR C                                                                      $0.00                                 $393.62


           245-00008403-000 1/2" X
           3" 0.84 OD                                                                       $0.00                                   $85.28


           245-00013203-000 SMITH
           BLAIR 1" X 3                                                                     $0.00                                   $83.09


           274-00000690-000
           274-1049 6" CLAMP                                                                $0.00                                 $121.24


           313-00051415-000 SMITH
           BLAIR 4"X 2"                                                                     $0.00                                   $30.89


           313-00101006-000
           8"X3/4"NPT" 8.54-1                                                               $0.00                                   $32.12


           525-00008400-003 SMITH
           BLAIR 1/2" .                                                                     $0.00                                   $59.37



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 742
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           525-00023800-003 2"
           COMPRESSION COU                                                                  $0.00                                   $23.72


           33801-069 441-33801
           RW441(6.00) GAS                                                                  $0.00                                   $33.41


           33805-069 441-33805
           SMITH BLAIR 441                                                                  $0.00                                   $35.75


           244-00008803-000 3/4" x
           3" REPAIR C                                                                      $0.00                                 $296.02


           313-00090509-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $28.82


           622-13200600-003 SMITH
           BLAIR 12 X 6                                                                     $0.00                                 $330.05


           622-11100800-003 SMITH
           BLAIR 10" x                                                                      $0.00                                 $407.22


           244-00016603-000 SMITH
           BLAIR 1-1/4"                                                                     $0.00                                   $31.64


           244-00023803-000 2" X
           3" REPAIR CLA                                                                    $0.00                                   $17.80


           245-00016603-000 1-1/4"
           X 3" REPAIR                                                                      $0.00                                   $36.59


           313-00111007-000 10" X
           3/4"CC SADDL                                                                     $0.00                                   $83.02


           622-11101000-203 10 X
           10" EPOXY COA                                                                    $0.00                                 $515.44


           912-90086308-000
           8"(8.40-8.63)OD DU                                                               $0.00                                 $209.53


           33860-069 : 10" SMITH
           BLAIR 441 GAS                                                                    $0.00                                   $31.78


           914-086306-003
           8"X6"(8.57-8.70)OD S                                                             $0.00                                 $144.52


           EE2-902-12 2" X 12'
           2-PLY NYLON SLI                                                                  $0.00                                   $35.16



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           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $45.00


           TRU364-9984 DOUBLE
           SHOT WRENCH WITH                                                                 $0.00                                   $92.00


           MUE75910 MUELLER
           SADDLE, (FOR DI &                                                                $0.00                                   $62.66


           TP TEST PUMP                                                                     $0.00                               $2,195.00


           BECKSON HAND PUMP
           PVC MODEL 136PF-6                                                                $0.00                                   $64.80


           MPA48 48" MIGHTY
           PROBE SOIL PROBE I                                                               $0.00                                   $57.85


           MIGHTY PROBE
           REPLACEMENT TIP,
           TIPS                                                                             $0.00                                   $18.65


           BLADEDI141 14" X 1/8"
           X 1" ASPHALT/                                                                    $0.00                                   $93.50


           BLADEDI1220 12" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                   $19.92


           BLADEDI121 12" X 1/8"
           X 1" DUCTILE                                                                     $0.00                                 $136.00


           BLADEGPDIA14 14" X
           20MM/1" PREMIUM                                                                  $0.00                                 $562.00


           BLADEDIDIA14EPB 14"
           X 20MM/1" DI DI                                                                  $0.00                                 $162.50


           BLADEAPBDIA14 14" x
           20MM/1" TIGER T                                                                  $0.00                                 $344.00


           GPL14125 "THE
           LEUITENANT" 14"
           GENER                                                                            $0.00                                   $72.50


           DXX12125 12" X
           1"/20MM ALL PURPOSE                                                              $0.00                                   $89.50


           PXX14125 PREMIUM
           DOS SEGGIE DIAMOND                                                               $0.00                               $1,036.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 744
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                Name



           MHPIB B INDICATOR
           POST EXTENDS TO 5                                                                $0.00                                 $528.00


           MHPIPLATE4 4" POST
           INDICATOR PLATE                                                                  $0.00                                     $0.00


           F5760B B POST
           INDICATOR, 294250000                                                             $0.00                                $-692.25


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                     $5.20


           MUDPLUG VALVE BOX
           DEBRIS GUARD INFA                                                                $0.00                                     $4.49


           VB262 VALVE BOX
           24-36 SCREW TYPE WI                                                              $0.00                                  $-73.00


           VBP24R CONCRETE
           VALVE BOX PAD 24" R                                                              $0.00                                 $742.00


           VB261 2PC SCREW
           TYPE VALVE BOX 18-2                                                              $0.00                                 $173.25


           VB2621 16" VALVE BOX
           TOP SECTION 5-                                                                   $0.00                                 $176.00


           BF4CI 4" BLIND
           FLANGE, CAST IRON                                                                $0.00                                   $30.69


           BF6CI 6" BLIND
           FLANGE CAST IRON                                                                 $0.00                                   $46.97


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                 $140.90


           BFT4X2DI 4" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $45.11


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $133.92


           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $311.09


           FLT64DI 6" X 4"
           FLANGED TEE DUCTILE                                                              $0.00                                 $168.33


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 745
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $152.52


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           TCFC64 6' X 4"
           THREADED REDUCER
           CO                                                                               $0.00                                 $145.88


           FLPE44 4" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $240.80


           FLPE46 4" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $324.00


           FLPE48 4" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $407.20


           FLPE63 6" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                 $123.60


           FLPE64 6" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $298.40


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $400.80


           FLPE68 6" X 8' FLANGE
           X PLAIN END D                                                                    $0.00                                 $503.20


           FLPE84 8" X 4' FLANGE
           X PLAIN END D                                                                    $0.00                                 $421.60


           FLPE86 8" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $562.40


           FLPE63-075T 6" X 3' FL
           X PE DIP W/                                                                      $0.00                                 $368.00


           FILFL10-1 10" X 1"
           THICK FILLER FLA                                                                 $0.00                                   $27.06


           FLFL84-11 8" X 4'11"
           FLANGE X FLANG                                                                   $0.00                                 $322.80




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 746
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           INSERT075CTSPLASTIC
           3/4" POLY STIFF                                                                  $0.00                                   $56.56


           INSERT1CTSPLASTIC 1"
           PLASTIC INSERT                                                                   $0.00                                 $152.88


           PECTS1.5X100 1-1/2" X
           100' CTS 200                                                                     $0.00                                   $60.00


           PECTS1X100 1" X 100'
           CTS 200 PSI PO                                                                   $0.00                                   $28.50


           PECTS2X100 2" X 100'
           CTS 200 PSI PO                                                                   $0.00                                 $102.20


           TW12G500CD 12GA
           COPPER CLAD TRACER                                                               $0.00                                 $163.50


           TW14G500CD 14 GA
           COPPER CLAD TRACER                                                               $0.00                                   $54.00


           PEXCTS.75X300 3/4"
           MUNICIPEX CTS TU                                                                 $0.00                                 $373.80


           PEXCTS.75X500 3/4"
           MUNICIPEX CTS TU                                                                 $0.00                                 $311.50


           PEXCTS1X300 1"
           MUNICIPEX CTS
           TUBING                                                                           $0.00                                 $280.20


           PEXCTS1.5X100 1 1/2"
           MUNICIPEX CTS                                                                    $0.00                                 $332.00


           PEINSCPLG2 2" INSERT
           CPLG FOR POLY                                                                    $0.00                                     $0.38


           TW14B500CD 14GA
           COPPER CLAD BLUE
           TR                                                                               $0.00                                   $78.39


           CT075K60 3/4" X 60' K
           COPPER TUBING                                                                    $0.00                                 $163.50


           CT075K100 3/4" X 100' K
           COPPER TUBI                                                                      $0.00                                 $545.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 747
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                Name

           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                                 $212.52


           TAILPC075NL 3/4" TAIL
           PIECE, LOW LE                                                                    $0.00                                  $-28.00


           NEPBRZFLG1.5 1-1/2"
           BRONZE OVAL ME                                                                   $0.00                                   $88.24


           METGSKT2 2" OVAL
           METER GASKET WITH                                                                $0.00                                     $1.90


           NEPBRZFLG2 2"
           BRONZE FLANGE                                                                    $0.00                                   $21.00


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                    $-1.70


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $3.55


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                    $-1.60


           TW12B500CD 12GA
           COPPER CLAD TRACER                                                               $0.00                                 $682.50


           RUBBER METER
           WASHER 3/4" X 1/16"                                                              $0.00                                     $0.00


           MFP200NL 2" BRONZE
           OVAL METER FLANG                                                                 $0.00                                 $516.96


           NEPRG100 1" RUBBER
           GASKET FOR METER                                                                 $0.00                                   $24.00


           NEPT10STDGAL5875
           NEPTUNE 5/8 X 3/4                                                                $0.00                                   $37.50


           SOUTHERN METER BOX
           C.H. 5/8" X 3/4                                                                  $0.00                                 $399.97


           SOUTHERN METER BOX
           C.H. 2" CONCRETE                                                                 $0.00                                 $377.82




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 748
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           EVOQ4-2USG 2"
           ELECTRONIC MAG
           METER                                                                            $0.00                               $6,768.00


           SOUTHERN METER BOX
           C.H. 1" CONCRETE                                                                 $0.00                                     $0.00


           CAR1015-12-BFLCIR
           PLASTIC METER BOX                                                                $0.00                               $1,452.00


           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                 $120.10


           2008CI 8" SIZE NAP200
           UNIFLANGE CAS                                                                    $0.00                                 $125.08


           DMAP612 6" X 12" DM
           ANCHOR PIPE                                                                      $0.00                                 $399.00


           DMAP624 6" X 24" DM
           ANCHOR PIPE                                                                      $0.00                                 $136.31


           DMAP636 6" X 36" DM
           ANCHOR PIPE                                                                      $0.00                                 $439.58


           DMB1110 10" MJ 11-1/4
           DEGREE BEND C                                                                    $0.00                                   $85.32


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $22.91


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $77.42


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $105.07


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                 $172.22


           DMB2212 12" 22-1/2
           DEGREE BEND, MJ                                                                  $0.00                                 $113.37


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $24.10


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $37.53


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 749
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           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $290.33


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $346.02


           DMB4512 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $129.56


           DMB454 4" MJ 45
           DEGREE BEND C153, D                                                              $0.00                                   $25.28


           DMB454PE 4" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                   $79.40


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                  $-40.69


           DMB456PE 6" MJ 45
           DEGREE BEND MJ X                                                                 $0.00                                   $45.03


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                 $237.00


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $232.26


           DMB9012 12" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $156.42


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $100.33


           DMB906P 6" MJXPE 90
           BEND DI C153                                                                     $0.00                                  $-60.44


           DMB908 8" MJ C153 90
           DEGREE BEND DU                                                                   $0.00                                   $73.08


           DMC10 10"
           CAP,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $41.87


           DMC2 2" MJ C153 CAP,
           DUCTILE IRON                                                                     $0.00                                   $21.33




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 750
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                Name

           DMC4 4" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $22.12


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $99.54


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $251.22


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $420.28


           DMO612MP 6" X 12"
           DUCTILE MECHANINC                                                                $0.00                                 $208.56


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $26.47


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $39.90


           DMR1210 12" X 10" MJ
           C153 REDUCER D                                                                   $0.00                                   $82.16


           DMR43 4" X 3" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $25.68


           DMR63 6" X 3" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $34.37


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $60.04


           DMR83 8" X 3" MJ C153
           REDUCER, DUCT                                                                    $0.00                                   $51.75


           DMR84 8" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $39.90


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $176.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 751
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                Name

           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $357.87


           DMS16LP 16" MJ C153
           SLEEVE LONG PAT                                                                  $0.00                                 $228.71


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $135.09


           DMT106 10" X 6"
           TEE,MJ,C153 DUCTILE                                                              $0.00                                 $116.53


           DMT1212 12" X 12" MJ
           C153 TEE, DUCT                                                                   $0.00                                 $217.65


           DMT1610 16" X 10" MJ
           C153 TEE DUCTI                                                                   $0.00                                 $437.27


           DMT33 3" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $37.92


           DMT44 4" X 4" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $40.29


           DMT64 6" X 4" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $67.55


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $218.04


           DMT84 8" X 4" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $78.21


           DMT86 8" X 6" MJ TEE,
           C153 DUCTILE                                                                     $0.00                                 $180.91


           DMTC82 8" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $45.03


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $28.05


           DMTP42 4" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $51.35


           DMTP62 6" X 2" TAPPED
           PLUG,MJ,C153                                                                     $0.00                                   $38.71


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 752
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           DMTP82 8" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $51.75


           DMTT42 4" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                   $51.75


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $203.03


           DMY44 4" X 4" MJ WYE,
           C153, DUCTILE                                                                    $0.00                                   $65.97


           DMY66 6" X 6" MJ WYE,
           C153 DUCTILE                                                                     $0.00                                   $99.54


           DMY84 8" X 4" MJ C153
           WYE DUCTILE I                                                                    $0.00                                 $412.38


           DMAP412 4" X 12"
           SOLID X SWIVEL ANC                                                               $0.00                                   $44.24


           MJFLT86 8" MJ X 6"
           FLANGE TEE, C153                                                                 $0.00                                 $186.84


           DMT63 6" X 3" MJ C153
           TEE, DUCTILE                                                                     $0.00                                   $55.70


           FLGRADAP4 4" FLANGE
           x GROOVE #125 A                                                                  $0.00                                 $125.22


           EZADAPT4 4" MJ
           ADAPTER                                                                          $0.00                                 $167.85


           EZADAPT8 8" MJ
           ADAPTER                                                                          $0.00                                 $215.90


           DMB908DOM 8" MJ
           C153 90 DEGREE BEND                                                              $0.00                                 $583.62


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                   $52.75


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $232.90


           DMB4510DOM 10" 45
           DEGREE BEND, MJ C                                                                $0.00                                 $167.83


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 753
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           DMB228DOM 8" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                 $341.13


           DMB2210DOM 10" 22-1/2
           DEGREE BEND M                                                                    $0.00                                 $169.88


           DMB116DOM 6" MJ
           11-1/4 DEGREE BEND                                                               $0.00                                 $153.44


           DMB118DOM 8" 11-1/4
           DEGREE BEND,MJ                                                                   $0.00                                 $104.12


           DMT64DOM 6" X 4" MJ,
           C153 TEE, DUCT                                                                   $0.00                                 $257.56


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $165.77


           DMHT86DOM 8" X 6" MJ
           C153 HYDRANT T                                                                   $0.00                                 $206.87


           DMR64DOM 6" X 4" MJ,
           C153 REDUCER D                                                                   $0.00                                  $-57.54


           DMP8DOM 8" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $84.94


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $109.60


           DMTP42DOM 4" X 2"
           MJ3 TAPPED PLUG C                                                                $0.00                                   $61.65


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                   $58.23


           DMS6LPDOM 6" MJ
           SLEEVE LONG C153 DU                                                              $0.00                                 $347.98


           DMS8LPDOM 8" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $454.84


           DMS10LPDOM 10" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $682.26


           DMS12LPDOM 12" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $230.16


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 754
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           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                                 $180.16


           DMB456DOM 6" 45
           DEGREE BEND, MJ, C1                                                              $0.00                                 $164.40


           DMTT82DOM 8" X 2" MJ
           TAPPED TEE C15                                                                   $0.00                                 $169.88


           DMT108DOM 10" X 8"
           MJ,C153 TEE, DUC                                                                 $0.00                                 $330.17


           DMT84DOM 8" X 4" MJ
           C153 TEE DUCTIL                                                                  $0.00                                 $148.65


           DMAP612DOM 6" X 12"
           DM ANCHOR PIPE                                                                   $0.00                                 $341.13


           DMR104DOM 10" X 4"
           MJ C153 REDUCER,                                                                 $0.00                                 $104.12


           DMS24LPDOM 24" MJ
           C153 SLEEVE LONG                                                                 $0.00                               $1,280.95


           PVC401.25 1-1/4" SCH40
           PVC PIPE                                                                         $0.00                                   $25.20


           PVC404BESW 4" PVC
           SCH40, BELL END,                                                                 $0.00                               $1,193.70


           PVC402BE 2" SCH40
           PVC PIPE WITH BEL                                                                $0.00                                   $37.20


           PVC40075 3/4" SCH 40
           PVC PIPE                                                                         $0.00                                   $29.40


           401-007 SPEARS 3/4
           PVC SCH 40 TEE                                                                   $0.00                                     $2.26


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $7.50


           401-025 2-1/2" PVC
           SCH40 TEE                                                                        $0.00                                   $14.85


           401-040 4" PVC SCH40
           TEE                                                                              $0.00                                   $23.82


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           401-060 6" PVC SCH40
           TEE                                                                              $0.00                                   $53.45


           401-080 8" PVC TEE
           SCH40                                                                            $0.00                                   $61.98


           401-251 2 X1 1/2 PVC
           SCH 40 REDUCIN                                                                   $0.00                                     $5.42


           402-335 3"SLIPX1" FIP
           SCH40 TEE                                                                        $0.00                                     $5.23


           406-007 SPEARS 3/4"
           PVC SCH40 90 BE                                                                  $0.00                                     $2.46


           406-010 1" PVC SCH40
           90 BEND                                                                          $0.00                                     $7.43


           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                     $6.29


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $6.56


           406-040 4" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                   $10.70


           416-020 2" PVC 40 22
           BEND                                                                             $0.00                                     $1.38


           417-010 SPEARS 1" PVC
           SCH40 45 BEND                                                                    $0.00                                     $2.11


           417-012 1-1/4" 45
           DEGREE BEND, PVC                                                                 $0.00                                     $1.18


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $0.74


           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $19.43


           417-040 4" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $20.90


           417-060 6" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $34.43


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 756
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                Name



           420-020 2" PVC SCH 40
           CROSS                                                                            $0.00                                     $2.39


           429-010 1" SCH40
           COUPLING                                                                         $0.00                                   $11.72


           429-012 1-1/4" PVC
           SCH40 COUPLING                                                                   $0.00                                     $3.00


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $1.61


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $2.93


           429-030 3" PVC SCH40
           COUPLING                                                                         $0.00                                     $6.79


           429-060 6" PVC SCH40
           COUPLING                                                                         $0.00                                   $31.05


           435-007 3/4" PVC SCH40
           FEMALE ADAPT                                                                     $0.00                                     $1.96


           435-010 SPEARS 1" PVC
           SCH40 FEM ADA                                                                    $0.00                                     $2.04


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $2.41


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $7.01


           435-025 2 1/2" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $6.82


           436-007 3/4" SCH40 PVC
           MALE ADAPTER                                                                     $0.00                                     $0.95


           436-010 1" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $0.49


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                   $10.83


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $3.69


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           436-025 2 1/2 PVC
           SCH40 MALE ADAPTE                                                                $0.00                                     $3.11


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $1.84


           437-249 2" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $2.45


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $4.28


           437-292 2-1/2" X 2"
           SCH40 BUSHING S                                                                  $0.00                                     $1.97


           437-338 3" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.45


           437-420 4" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                   $12.98


           447-007 3/4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $0.58


           447-015 1-1/2" PVC
           SCH40 CAP (SLIP)                                                                 $0.00                                     $1.40


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $2.11


           447-025 SPEARS 2-1/2
           PVC SCH40 CAP                                                                    $0.00                                   $26.90


           447-030 3" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $1.47


           447-040 4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $16.70


           475-030 3" X 3" PVC40
           WYE                                                                              $0.00                                   $12.88


           854-060 6" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $34.48


           PEWS81 8" X 12" WALL
           SLEEVE PEXPE                                                                     $0.00                                 $100.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 758
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           801-040 4" PVC SCH80
           TEE                                                                              $0.00                                   $22.26


           817-020 2" PVC SCH80
           45 DEGREE BEND                                                                   $0.00                                     $4.69


           835-010 1" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $22.73


           836-010 1" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                     $2.25


           836-030 3" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                     $6.89


           837-130 SPEARS 1 X 1/2
           PVC SCH80 R                                                                      $0.00                                     $3.72


           837-249 2" X 1" PVC
           SCH80 R BUSH SX                                                                  $0.00                                     $2.83


           847-020 2" PVC SCH80
           CAP SLIP                                                                         $0.00                                     $8.91


           854-030 3" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                     $8.66


           854-040 4" PVC SCH80
           VSTONE FLANGE                                                                    $0.00                                   $32.87


           2329-020 2" PVC TRUE
           UNION BALL VAL                                                                   $0.00                                 $167.98


           DR1810 10" DR18 C900
           DI OD PVC GASK                                                                   $0.00                                 $390.80


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                  $-38.02


           DR186 6" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $3,985.60


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $2,738.40


           SDR176 6" SDR 17 IPS
           OD GASKETED PV                                                                   $0.00                                 $432.00


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           SDR2112 12" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                               $1,091.00


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                   $91.74


           SDR213 3" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $421.00


           SDR214 4" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $665.28


           SDR216 6" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                               $2,646.00


           SDR218 8" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $796.80


           SDR174 4" SDR17 IPS
           OD PVC GASKETED                                                                  $0.00                                   $33.58


           SDR213GREEN 3"
           SDR21 IPS OD PVC GAS                                                             $0.00                                   $84.20


           SDR214GREEN 4"
           SDR21 IPD OD PVC GAS                                                             $0.00                                   $83.16


           SDR172 2" SDR17 IPS
           OD PVC GASKETED                                                                  $0.00                                 $201.20


           SDR1712 12" PVC
           SDR17 250PSI WATER                                                               $0.00                                 $538.80


           SDR21452 2" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $25.55


           SDR21452.5 2-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                 $131.45


           SDR21902.5 2 1/2" SDR
           21 IPS OD PVC                                                                    $0.00                                   $58.42


           SDR21RCPLG2 2"
           SDR21 REPAIR
           COUPLIN                                                                          $0.00                                   $39.06




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           SDR21RCPLG250 2-1/2"
           SDR21 IPS OD P                                                                   $0.00                                   $21.48


           SDR21RCPLG6 6"
           SDR21 IPS OD PVC GAS                                                             $0.00                                   $84.96


           SDR21RCPLG8 8"
           REPAIR COUPLING
           SDR2                                                                             $0.00                                 $175.00


           SDR21MIPA250 2-1/2"
           SDR 21 IPS OD P                                                                  $0.00                                   $29.86


           SDR21PLG6 6" SDR 21
           IPS OD PVC SPIG                                                                  $0.00                                   $91.68


           PHIL75-608BB PHILMAC
           3/4" UNIVERSAL                                                                   $0.00                                   $38.06


           DR1112DIPSBS50 12"
           DR11 DIPS OD 160                                                                 $0.00                                 $876.00


           DR178IPSNS 8" DR17
           IPS OD 100 PSI P                                                                 $0.00                               $7,725.20


           DR1110DIPSBS 10"
           DR11 DIPS OD 160 P                                                               $0.00                               $1,062.00


           DR118IPSNS 8" DR11
           IPS OD HDPE WITH                                                                 $0.00                                 $646.40


           HDPEMJACCKIT6 6" MJ
           ACCESSORY KIT F                                                                  $0.00                                   $36.00


           DR11MJA4IPSK 4" DR11
           IPS OD 160 PSI                                                                   $0.00                                   $76.44


           DR11T6DIPS 6" X 6"
           DR11 DIPS OD 160                                                                 $0.00                                 $110.00


           DR11MJA6IPS 6" DR11
           IPS HDPE MJ ADA                                                                  $0.00                                 $160.00


           WTLF25AUBZ3-075 3/4"
           25AUB WATER PR                                                                   $0.00                                 $184.23


           WTFBV-3C-200NL 2"
           FULL PORT 1/4 TUR                                                                $0.00                                   $27.12


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 761
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           WTLF007-M1QT-200 2"
           DOUBLE CHECK BA                                                                  $0.00                                 $269.83


           WTLF7R10-U2-075 1" X
           3/4" DUAL CHEC                                                                   $0.00                                 $358.24


           WTLF710-U2-100NL
           1-1/4" X 1" DUAL C                                                               $0.00                                 $220.05


           CL350TY8 8" CL350
           TYTON JOINT DUCTI                                                                $0.00                               $3,535.40


           CL350TY8USP 8"
           CLASS 350 TYTON DUC                                                              $0.00                                $-321.40


           CL350TY10USP 10"
           CLASS 350 TYTON D                                                                $0.00                                 $372.06


           CVC-4 4" WAFER
           CHECK VALVE MATCO-
           N                                                                                $0.00                                 $398.25


           G300075NL G-300 GATE
           VALVE 3/4" THR                                                                   $0.00                                   $39.92


           CLO2545HYDEXT420
           CLOW MEDALLION HYD                                                               $0.00                                   $32.00


           H15008N-075 3/4" CC X
           COMP CORPORAT                                                                    $0.00                                 $218.24


           H15008N-100 1" CC X
           COMPRESSION COR                                                                  $0.00                                   $82.56


           MCD74758-44-200 2" 3
           PIECE UNION PV                                                                   $0.00                                 $146.25


           H13443-075 10"X 3/4"
           CC MUELLER BRO                                                                   $0.00                               $1,283.58


           B25146RN-100
           MUELLER 1" LOW LEAD
           CO                                                                               $0.00                                 $397.48


           FB1000-6NL FORD
           1-1/2" LOW LEAD COR                                                              $0.00                                 $112.58




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 762
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           F1000-3NL 3/4" CC X
           COMP CORP, LOW                                                                   $0.00                                 $903.91


           C84-33NL 3/4" MIP X
           COMP ADAPTER, P                                                                  $0.00                                 $142.04


           C84-77NL 2" MIP X
           COMP ADAPTER, FOR                                                                $0.00                                   $55.96


           C14-44NL FORD 1" LOW
           LEAD FIP X COM                                                                   $0.00                                 $185.85


           800-0288-A3 2-1/2" X
           3/4" HINGED SA                                                                   $0.00                                   $30.78


           MCD3805-6-075
           MCDONALD 6" BRONZE
           SA                                                                               $0.00                                 $186.25


           MCD4700-22-100 1"
           MAC-PAK COMPRESSI                                                                $0.00                                 $442.41


           MCD4700Q-100 1" AY
           "Q" NUT COMPRESS                                                                 $0.00                                 $174.16


           MCD74620-075X050NL
           3/4" MN 1/2" MIP                                                                 $0.00                                 $125.05


           MCD74620-075X250 3/4"
           x 2.5" STRAIG                                                                    $0.00                                  $-96.66


           MCD74701B-22 1" BALL
           CORP, MCDONALD                                                                   $0.00                                 $258.84


           MCD74753-22-075NL
           3/4" CTS COMPRESS                                                                $0.00                                 $228.23


           MCD74753-22-100 1"
           CTS COMP X MIP A                                                                 $0.00                                 $161.93


           MCD74754-22-075NL
           3/4" CTS X FIP AD                                                                $0.00                                 $270.15


           MCD74754-22-100 1"
           McDONALD NO LEAD                                                                 $0.00                                   $86.68


           MCD74758-22-075NL
           3/4" UNION, CTS X                                                                $0.00                                  $-18.50


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 763
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           MCD74758-22-100 1"
           COMP UNION, CTS                                                                  $0.00                                   $21.16


           MCD76101MWR-075 3/4"
           REDUCED PORT M                                                                   $0.00                                 $381.92


           MCD76101MWR-100 1"
           REDUCED PORT BAL                                                                 $0.00                                 $478.70


           MCD76101W-200 2"
           BALL STYLE CURB ST                                                               $0.00                                 $490.09


           MCD76101WR-100X075
           1X3/4 BALL STYLE                                                                 $0.00                                     $0.00


           MCD76102WR-22-075
           3/4" CURB STOP CT                                                                $0.00                                 $408.02


           MCD76102WR-22-100 1"
           CURB STOP CTS                                                                    $0.00                                 $513.36


           MCSAD6.75 6" X 3/4"
           BRASS SADDLE F/                                                                  $0.00                                 $139.69


           H15071N-075 3/4"
           ADAPTER CST X COMP                                                               $0.00                                   $25.90


           H15343N-075 X 100 3/4"
           X 1" WYE TWO                                                                     $0.00                                 $109.19


           800-0350-A3 3" X 3/4"CC
           BRASS HINGE                                                                      $0.00                                   $46.33


           800-0450-A3
           CAMBRIDGE BRASS 4"
           X 3/                                                                             $0.00                                   $54.52


           800-0450-A4 4" X 1"CC
           BRASS HINGED                                                                     $0.00                                 $245.32


           800-0450-A6 4" X 1
           1/2"CC BRASS HIN                                                                 $0.00                                   $58.67


           800-0450-F7 4.50 OD
           HINGED SADDLE W                                                                  $0.00                                   $58.67




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 764
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           800-0480-A7
           CAMBRIDGE BRASS 4"
           X 2"                                                                             $0.00                                 $297.78


           800-0663-A3 6" X 3/4"CC
           HINGED SADD                                                                      $0.00                                 $284.56


           800-0663-A4
           CAMBRIDGE BRASS 6"
           X 1"                                                                             $0.00                                 $243.91


           800-0663-A7
           CAMBRIDGE BRASS 6"
           X 2"                                                                             $0.00                                   $76.70


           800-0690-A3 6" X 3/4"CC
           SADDLE, BRA                                                                      $0.00                                   $40.65


           800-0690-A7 6" X 2"CC
           SADDLE BRASS                                                                     $0.00                                 $153.40


           800-0863-A3 8" X 3/4"CC
           SADDLE BRAS                                                                      $0.00                                 $111.71


           800-0863-A4
           CAMBRIDGE BRASS 8"
           X 1"                                                                             $0.00                                 $781.97


           800-0863-A6
           CAMBRIDGE BRASS 8"
           X1                                                                               $0.00                                   $79.10


           800-0863-A7
           CAMBRIDGE BRASS 8"
           X 2"                                                                             $0.00                                 $237.29


           800-0905-A6
           CAMBRIDGE BRASS 8"
           X1                                                                               $0.00                                   $87.57


           800-1075-A4
           CAMBRIDGE BRASS 10"
           X1                                                                               $0.00                                 $223.85


           800-1110-A3
           CAMBRIDGE BRASS 10"
           X3                                                                               $0.00                                 $319.36




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           800-1110-A6
           CAMBRIDGE BRASS 10"
           X1                                                                               $0.00                                 $159.68


           800-1275-A4
           CAMBRIDGE BRASS 12"
           X1                                                                               $0.00                                 $148.92


           800-1275-A6
           CAMBRIDGE BRASS 12"
           X1                                                                               $0.00                                 $172.02


           81-B4 CAMBRIDGE
           BRASS 1" CAMPAK NUT                                                              $0.00                                 $305.13


           81-B7 CAMBRIDGE
           BRASS 2" CAMPAK NUT                                                              $0.00                                   $23.82


           81-C7 CAMBRIDGE
           BRASS 2" FLARE NUT                                                               $0.00                                   $56.46


           81-H4 CAMBRIDGE
           BRASS 1" COMP NUT A                                                              $0.00                                     $7.34


           81-PV3 CAMBRIDGE
           BRASS 3/4" PVC CO                                                                $0.00                                     $9.44


           81-PV4 CAMBRIDGE
           BRASS PVC COMPRESS                                                               $0.00                                 $124.09


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                     $8.54


           SSINSERT200 2"
           STAINLESS STEEL INSE                                                             $0.00                                   $14.14


           CL1-2.63 X 7-1/2 REPAIR
           CLAMP CL1 C                                                                      $0.00                                   $16.31


           CL1-3.00 X 15 SS CLI
           REPAIR CLAMP (                                                                   $0.00                                   $71.24


           CL1-7.00 X 7-1/2 REPAIR
           CLAMP,CL1 S                                                                      $0.00                                   $40.73


           CL1-7.00 X 12-1/2
           REPAIR CLAMP,CL1                                                                 $0.00                                 $195.42




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           CL1-9.40 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                 $203.94


           CL1-2.63 X 15 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                   $33.05


           CL1-3.00 X 7-1/2 SS CL1
           REPAIR CLAM                                                                      $0.00                               $2,264.32


           CL1-7.24 X 7-1/2 REPAIR
           CLAMP STAIN                                                                      $0.00                                   $50.46


           CL1-9.40 X 7-1/2 REPAIR
           CLAMP CL1 (                                                                      $0.00                                 $148.05


           CL1-9.00 X 12 X 1CC
           ROMAC SS CL1                                                                     $0.00                                   $67.98


           CL1-11.44 X 12 ROMAC
           STAINLESS STE                                                                    $0.00                                 $120.94


           CL1-11.10 X 12 CL1
           REPAIR CLAMP (10                                                                 $0.00                                 $122.64


           CL1-13.55 X 12 SS CL1
           REPAIR CLAMP                                                                     $0.00                                 $214.75


           CL1-2.63 X 12 CL1
           REPAIR CLAMP STAI                                                                $0.00                                 $148.08


           CL1-7.24 X 15" CL1
           REPAIR CLAMP (6.                                                                 $0.00                                 $244.78


           CL1-3.70X12 3" X 12"
           REPAIR CLAMP C                                                                   $0.00                                   $96.79


           CL1-3.70X7-1/2" 3" X
           7-1/2" REPAIR                                                                    $0.00                                 $116.13


           CL1-11.44 X 7 10" X 7.5"
           REPAIR CLA                                                                       $0.00                                 $118.74


           CL1-11.10X7 10" X 7.5"
           CL1 REPAIR C                                                                     $0.00                                 $118.74


           CL1-5.14-12 4" X 12-1/2"
           ROMAC CL1                                                                        $0.00                                 $219.77



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           CL1-5.14-15 4" X 15"
           ROMAC CL1 FULL                                                                   $0.00                                 $128.84


           CL1-13.10 X 12 12" X 12"
           CL1 STAINL                                                                       $0.00                                 $214.75


           CL1-13.10X15 12" X 15"
           CL1 REPAIR                                                                       $0.00                                 $267.80


           CL1-3.70 X 15 3" X 15"
           REPAIR CLAMP                                                                     $0.00                                 $240.01


           CL1-3.00-12 2.5" X 12"
           REPAIR CLAMP                                                                     $0.00                                   $92.85


           CL1-9.40 X 15 8" X 15"
           FULL CIRCLE                                                                      $0.00                                 $175.52


           CL1-13.55 X 15 ROMAC
           12" x 15" CL1                                                                    $0.00                                 $267.80


           CL1-11.44 X 15 10" X 15"
           REPAIR CLA                                                                       $0.00                                 $464.82


           CL1-13.10 X 7-1/2 12" X
           7-1/2" ROMA                                                                      $0.00                                 $133.89


           F53818 8" CLOW
           SPRING & LEVER
           CHECK                                                                            $0.00                               $4,699.20


           HRPIB84BHYDEXT12
           12" HYDRANT EXTENS                                                               $0.00                                 $294.93


           MHBFK5 M&H MODEL
           129 5-1/4" HYDRANT                                                               $0.00                                 $658.60


           MH4HYDEXT6 6"
           HYDRANT EXTENSION
           FOR                                                                              $0.00                                 $260.85


           MH4HYDEXT12 M&H 12"
           HYDRANT EXTENSI                                                                  $0.00                                 $380.88


           HRPIMH5HYDEXT18 18"
           HYDRANT EXTENSI                                                                  $0.00                                 $273.18




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                Name

           HRPIMH5EXT24 24"
           HYDRANT EXTENSION                                                                $0.00                                 $302.76


           KEN-106LW-7AB-8 8"
           7AB HINGE WITH K                                                                 $0.00                                $-198.24


           MH7571-01-6L 6" MJ
           GATE VALVE,OPEN                                                                  $0.00                                $-398.13


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $0.40


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $14.00


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $0.68


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $18.75


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $40.72


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $65.22


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $95.90


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $44.10


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $68.18


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $21.00


           EBA1103 3" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $92.08


           EBA1104 4" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $32.70


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $38.49



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 769
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                Name

           EBA1108 8" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                 $176.23


           EBA1108SD EBAA 8"
           SERIES 1100SD SPL                                                                $0.00                                   $61.09


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $379.48


           NACIPGRIP4DI 4" MJ
           WEDGE ACTION RES                                                                 $0.00                                   $56.40


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                     $4.00


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                   $17.18


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $65.40


           WMC8 8" WATERMAIN
           CLAMPS 580B-8 450                                                                $0.00                                   $39.46


           WMC10 10"
           WATERMAIN CLAMPS
           450B-008                                                                         $0.00                                   $41.60


           DOGS 3/4" WATERMAIN
           CLAMP WASHER #5                                                                  $0.00                                   $12.00


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $11.55


           BRNIP-200X1800 2" X
           18" BRASS NIPPL                                                                  $0.00                                   $55.09


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $17.57


           BRCPLG-200NL 2"
           COUPLING, THREADED                                                               $0.00                                   $24.00


           GA945-1 1" KINETIC
           COMBINATION AIR                                                                  $0.00                                 $228.00


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                   $12.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 770
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                Name



           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $10.96


           MET880B METROTECH
           880B FERROMAGNETI                                                                $0.00                                 $804.00


           T2203021 CLOW M-10
           SAFETY STEM CPLG                                                                 $0.00                                   $22.32


           75-351888 2" SERVICE
           TEE COMP X COM                                                                   $0.00                                 $214.44


           75-31784 2" X 1"
           COMPRESSION COUPL                                                                $0.00                                   $96.76


           PHIL75-31888 2"
           COMPRESSION 90 DEG                                                               $0.00                                 $102.38


           75-33033 PHILMAC IPS
           COMPRESSION X                                                                    $0.00                                   $21.32


           75-30966 1-1/2" REPAIR
           COUPLING IPS                                                                     $0.00                                   $51.38


           2000-0768-260 6"
           HYMAX WIDE RANGE C                                                               $0.00                                 $170.35


           6000-2375-150 2"
           COMPRESSION COUPLI                                                               $0.00                                   $18.77


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                 $117.60


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $54.25


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $513.44


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                               $1,255.80


           SDR35SW4 4" SDR35
           SOLVENT WELD SOLI                                                                $0.00                                 $168.30


           SDR35SW4P 4" SDR35
           SOLVENT WELD PER                                                                 $0.00                                 $130.05


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 771
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                Name



           SDR35SW6 6" PVC
           SDR35 BE 10' PIPE S                                                              $0.00                                 $165.70


           32686 6" SCH40 HUB x
           SDR35 SPIGOT A                                                                   $0.00                                   $13.24


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                   $30.20


           SDR3545BXB8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $28.17


           SDR3545BXP4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $44.61


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $35.67


           SDR3545BXP8 8" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $53.82


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $57.39


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                   $24.15


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                   $93.63


           SDR35TY88 8" X 8" PVC
           SDR35 TEE WYE                                                                    $0.00                                   $74.05


           SDR35Y64 6" X 4" PVC
           SDR35 WYE G306                                                                   $0.00                                 $121.37


           SDR35Y86 8" X 6" PVC
           SDR35 WYE G308                                                                   $0.00                                 $154.25


           SDR35Y88 8" X 8" PVC
           SDR35 WYE G308                                                                   $0.00                                   $53.79


           4" PVC DRAIN GRATE
           SEWER AND DRAIN,                                                                 $0.00                                     $9.85




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 772
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                Name

           P1948 4x6x6
           DOWNSPOUT ADAPTER
           CORRU                                                                            $0.00                                   $27.75


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $23.80


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                   $11.24


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $14.43


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                     $7.26


           V-104 4" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                   $10.77


           V-1043 4" X 3" PVC
           REDUCER SEWER AN                                                                 $0.00                                   $54.17


           V-106 6" PVC
           COUPLING SEWER AND
           DRA                                                                              $0.00                                     $8.73


           V-1064 6" X 4" PVC
           REDUCER SEWER AN                                                                 $0.00                                     $5.81


           V-1104 4" PVC TEE WYE
           SEWER AND DRA                                                                    $0.00                                     $7.64


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                     $1.05


           V-1406 6" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                   $15.31


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                     $2.28


           V-306 6" PVC 90 BEND
           SEWER AND DRAI                                                                   $0.00                                   $54.13




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 773
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                Name

           V-3304 4" PVC 90 BEND
           SEWER AND DRA                                                                    $0.00                                     $6.31


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                   $30.79


           V-604 4" NOR 45 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $14.68


           V-704 4" PVC 22 BEND
           SEWER AND DRAI                                                                   $0.00                                   $17.86


           V-706 6" 22 DEGREE
           BEND SEWER AND D                                                                 $0.00                                   $17.39


           V-716 6" PVC 22 BELL X
           SPIGOT SEWER                                                                     $0.00                                   $10.14


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                     $7.85


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $10.40


           V-906 6" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $14.01


           V-606 6" 45 B X S
           BEND,72760 NOR456                                                                $0.00                                   $36.44


           HWY6S 6" X 100' SOLID
           CORRUGATED HD                                                                    $0.00                                 $212.00


           HDLT001220S0R 12"
           SOLID LOKTITE HDP                                                                $0.00                                 $463.00


           HDLT000620S0R 6"
           SOLID LOKTITE HDPE                                                               $0.00                                 $372.00


           HDLT000820S0R 8"
           SOLID HDPE LOKTITE                                                               $0.00                                 $864.00


           LANERED64 LANE 6" x
           4" REDUCER HDPE                                                                  $0.00                                   $12.60


           LANECPLG12 12" HDPE
           SPLIT COUPLING                                                                   $0.00                                   $12.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 774
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $15.65


           02-64 6" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $17.21


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $87.06


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $20.60


           02-1010 10" X 10"
           CLAY/CI,PLAS COUP                                                                $0.00                                   $15.47


           02-1212 12" X 12"
           CLAY/CI, PLAS COU                                                                $0.00                                   $36.10


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $24.36


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $31.30


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $23.58


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $80.36


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $92.73


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           1002-66RC 6" STRONG
           BACK COUPLING                                                                    $0.00                                   $84.93


           EBV-P401AP 4" PVC
           EXTENDABLE BACKWA                                                                $0.00                                 $203.32


           EBV-P601 6" CLEAN
           CHECK VALVE, 9692                                                                $0.00                                 $525.33


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 775
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           MH914S 24" x 4" FRAME
           AND COVER MAR                                                                    $0.00                                 $550.00


           MSFG24488-4 24" x 48"
           x 8" 4 FLANGE                                                                    $0.00                               $1,440.00


           317-00143209-000 12" X
           1"CC SADDLE                                                                      $0.00                                   $87.46


           BLADEDIDIA14EPB 14"
           X 20MM/1" DI DI                                                                  $0.00                                 $162.50


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                   $10.40


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $24.00


           VBRIS12 12" VALVE
           BOX RISER LESS CO                                                                $0.00                                   $14.50


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                     $8.00


           FLPE46 4" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $648.00


           FLO-110-12 1-1/4" IPS
           PVC COMPRESSI                                                                    $0.00                                   $19.53


           CT075K100 3/4" X 100' K
           COPPER TUBI                                                                      $0.00                                 $272.50


           CT100K100 1" X 100' K
           COPPER TUBING                                                                    $0.00                                 $354.20


           B5664SBS36 36" SLIDE
           VALVE BOX BOTT                                                                   $0.00                                 $160.31


           B5160 5-1/4" COVER
           (WATER) V8780 BI                                                                 $0.00                                   $45.73


           V747 5-1/4" X 26" SLIDE
           TYPE TOP SE                                                                      $0.00                                 $429.75


           V210 40" SLIP TYPE 94E
           BOTTOM SECTI                                                                     $0.00                                   $52.42


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 776
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           2006CI 6" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $30.03


           DMB4512 12" MJ C153
           45 DEGREE BEND                                                                   $0.00                                 $259.12


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $81.37


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $50.17


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $26.47


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $238.58


           DMB904DOM 4" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $63.02


           PVC40410BE 4" PVC
           SCH40 PIPE BELLED                                                                $0.00                                 $467.10


           75-30888 2" PHILMAC
           3G IPS OD COMPR                                                                  $0.00                                   $18.39


           PHIL75-608DD HARCO
           PHILMAC UNIVERSA                                                                 $0.00                                   $46.48


           PHIL75-608FF 1-1/2"
           UNIVERSAL TRANS                                                                  $0.00                                 $129.96


           PHIL75-608GG 2"
           UNIVERSAL TRANSITIO                                                              $0.00                                   $40.33


           PHIL75-33066 1-1/2"
           PHILMAC 3G IPS                                                                   $0.00                                   $14.89


           PHIL75-33088 2"
           PHILMAC 3G IPS OD C                                                              $0.00                                   $10.56


           75-617CB TRANSITION
           REDUCER COUPLIN                                                                  $0.00                                   $36.34




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 777
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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           PHIL75-13033 3/4" MIP X
           3/4" COMPRE                                                                      $0.00                                   $63.40


           PHIL75-13288 2" CTS
           COMPRESSION FEM                                                                  $0.00                                   $94.42


           CL52TY4 4" CL52
           TYTON DUCTILE IRON                                                               $0.00                               $1,293.32


           HRPIA301 5-1/4 SAFETY
           FLANGE REPAIR                                                                    $0.00                                   $85.68


           2010MM-140R 4" RW MJ
           X MJ GATE VALV                                                                   $0.00                                 $257.94


           B25008N-100 1" BALL
           CORPORATION CC                                                                   $0.00                                   $51.85


           B2996N-100 MUELLER
           1" LOW LEAD 300                                                                  $0.00                                   $51.33


           MCD74753-Q-075 3/4" Q
           COMP X MIP AD                                                                    $0.00                                   $30.38


           MCD74753-Q-100 1" Q
           COMP X MIP ADAP                                                                  $0.00                                   $35.98


           H15428N-100 1"
           COMPRESSION X MIP
           AD                                                                               $0.00                                   $13.43


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $166.92


           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                     $6.46


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                   $30.69


           CL1-3.00 X 7-1/2 SS CL1
           REPAIR CLAM                                                                      $0.00                                   $35.38


           CL1-3.70X12 3" X 12"
           REPAIR CLAMP C                                                                   $0.00                                 $193.57


           K81HYDEXT6 6" K81
           5-1/4 HYDRANT EXT                                                                $0.00                                 $330.54


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 778
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           K81HYDEXT12 12"
           HYDRANT EXTENSION F                                                              $0.00                                 $385.98


           K81HYDEXT18 18" K81
           HYDRANT 5-1/4"                                                                   $0.00                                 $876.12


           MH4067-01-8R 8" MJ RW
           GATE VALVE OP                                                                    $0.00                                 $982.80


           FLGGSKT8FF3 3" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $3.66


           FLGGSKT8FF4 4" X 1/8"
           FULL FACED, R                                                                    $0.00                                     $9.96


           FLGGSKT8FF6 6" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $29.80


           FLGGSKT8FF8 8" X 1/8"
           FULL FACED, R                                                                    $0.00                                   $24.50


           FLGGSKT8FF16 16" FLG
           1/8" RED FF RU                                                                   $0.00                                   $18.76


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $5.10


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $4.06


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                   $29.82


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $10.03


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $18.75


           HXBLT075350SS 3/4" X
           3-1/2" STAINLE                                                                   $0.00                                     $2.88


           HXNUT050P 1/2"
           PLATED HEX NUT                                                                   $0.00                                   $15.84


           MJGSKT2 2" MJ
           GASKET                                                                           $0.00                                   $26.04


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 779
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $32.55


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                   $34.88


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJGSKT10 10" MJ
           GASKET                                                                           $0.00                                   $22.32


           MJGSKT16 16" MJ
           GASKET                                                                           $0.00                                   $25.11


           MJGSKT18 18" MJ
           GASKET                                                                           $0.00                                   $39.06


           MJGSKT20 20" MJ
           GASKET                                                                           $0.00                                   $21.39


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                   $23.18


           MJTRGSKT8 8" MJ
           TRANSITION GASKET                                                                $0.00                                   $15.45


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                   $28.84


           TBLT075600 3/4" X 6"
           T-BOLT & NUT                                                                     $0.00                                   $18.54


           8" MJ VITON GASKET                                                               $0.00                                 $100.00


           MJGLD3 3" MJ GLAND                                                               $0.00                                   $41.85


           MJGLD4 4" MJ GLAND                                                               $0.00                                     $5.12


           MJGLD6 6" MJ GLAND                                                               $0.00                                 $151.13


           MJGLD8 8" MJ GLAND                                                               $0.00                                   $74.40


           TBLT058300 5/8" X 3"
           T-BOLT & NUT                                                                     $0.00                                   $14.00



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                Name

           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $95.25


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $97.02


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                   $10.27


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $152.70


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $608.72


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $301.40


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $595.35


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $77.92


           MGP4T 4" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                  $-10.04


           MGP6T 6" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $336.00


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $250.85


           MGP10T 10" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                 $230.00


           MGP12T 12" MJ
           TRANSITION GASKET
           AND                                                                              $0.00                                 $102.80


           MGP3T 3" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                   $16.60




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 781
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                Name

           MGP14 14" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                  $-94.25


           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $21.00


           MGP14HDPE 14" MJ
           GASKET AND BOLT PA                                                               $0.00                                   $19.50


           MJP3 3" STANDARD MJ
           ACC KIT INCLUDE                                                                  $0.00                                     $8.24


           MJP2T 2" TRANSITION
           MJ ACC KIT INCL                                                                  $0.00                                   $48.93


           MJP6T 6" TRANSITION
           MJ ACC KIT INCL                                                                  $0.00                                   $79.83


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $624.88


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $777.24


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $117.80


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                 $389.16


           FLG3 3" FIELD-LOK
           GASKET                                                                           $0.00                                 $154.02


           MCSSG6 6" SURE STOP
           GASKET ATR06SSX                                                                  $0.00                                   $66.79


           EBA1106 6" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $76.98


           EBA1112 12" DUCTILE
           IRON MEGALUG EB                                                                  $0.00                                 $126.49


           EBA2106 6" MEGA
           FLANGE ADAPTER FOR                                                               $0.00                                   $90.00


           PVP-C12 RESTRAINER
           FOR PVC PIPE DI                                                                  $0.00                                 $315.18



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 782
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                Name

           SLC10 10" ONE-LOK
           RESTRAINT FOR PVC                                                                $0.00                                 $306.78


           202S-4.05X3/4CC
           ROMAC 3" X 3/4" CC                                                               $0.00                                   $40.22


           MACROHP-5.60 4"
           MACRO COUPLING HP
           T                                                                                $0.00                                 $315.54


           EZD08 8" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $438.38


           EZD10 10" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $32.49


           EZD04 4" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $24.80


           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $306.24


           EZD12 12" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $189.33


           EZPVC03 3" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                  $-35.46


           EZPVC08 8" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $26.99


           EZPVC06 6" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $419.82


           EZPVC12 12" EZ GRIP
           MJ RESTRAINT FO                                                                  $0.00                                 $537.08


           EZPVC10 10" EZ GRIP
           MJ RESTRAINT FO                                                                  $0.00                                 $714.03


           EZD03 3" MJ
           RESTRAINT FOR
           DUCTILE I                                                                        $0.00                                 $117.02


           EZD08 8" MJ
           RESTRAINT FOR
           DUCTILE I                                                                        $0.00                                 $142.19




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 783
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                Name

           DUCLUGS DUC LUGS                                                                 $0.00                                     $9.70


           IBLT058 5/8" EYE BOLT                                                            $0.00                                   $60.55


           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                   $57.00


           RODCPLG058 5/8 ROD
           COUPLING                                                                         $0.00                                     $0.91


           ALTHRD5810 5/8" x 10'
           THREADED ROD                                                                     $0.00                                   $11.76


           CSS14DIPS-20-CR 14"
           DIPS X 20" STA                                                                   $0.00                               $1,690.00


           BHA369 2-1/2" FNST X
           3/4" MIP BRASS                                                                   $0.00                                     $9.15


           HB075 3/4 HOSE BIB
           FIGURE M71                                                                       $0.00                                     $8.95


           BRA363 2-1/2" FNST X
           2" MIP SWIVEL                                                                    $0.00                                   $36.00


           CC8 BATCH ROLL 0.31"
           CONCRETE CLOTH                                                                   $0.00                               $1,161.54


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $33.00


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-43.56


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $11.88


           FAP10FF 10" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $14.09


           FAP12FF 12" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                   $49.90


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-22.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 784
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           GAUGE600 LIQUID
           FILLED GAUGE, 0-600                                                              $0.00                                   $14.63


           SCP10.250 10" .250
           WALL STEEL CASIN                                                                 $0.00                                 $800.00


           GALVNIP-200X600 2" X
           6" NIPPLE GALV                                                                   $0.00                                     $4.93


           GALVNIP-200X1200 2" X
           12" NIPPLE GA                                                                    $0.00                                   $10.80


           GALVNIP-50X500 1/2" X
           5" GALVANIZE                                                                     $0.00                                     $0.68


           GALVCPLG-075 3/4"
           GALVANIZED COUPLI                                                                $0.00                                   $59.09


           GALVCPLG-300 3"
           GALVAINZED
           COUPLING                                                                         $0.00                                   $75.75


           GALV90-300 3"
           GALVANIZED 90
           DEGREE                                                                           $0.00                                 $144.75


           GALVNIP-400XCLS 4" X
           CLOSE NIPPLE T                                                                   $0.00                                   $23.25


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                     $1.83


           BRNIP-075X600 3/4" X 6"
           BRASS NIPPL                                                                      $0.00                                   $41.51


           BRNIP-100X200 1" X 2"
           BRASS NIPPLE                                                                     $0.00                                     $5.20


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                   $15.80


           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                   $13.65


           BRNIP-100XCLS 1" X
           CLS BRASS NIPPLE                                                                 $0.00                                   $20.98




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 785
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                Name

           BRNIP-125X400 1-1/4" X
           4" BRASS NIP                                                                     $0.00                                   $19.21


           BRNIP-125XCLS 1-1/4" X
           CLOSE BRASS                                                                      $0.00                                   $60.44


           BRNIP-150X400 1-1/2" X
           4" BRASS NIP                                                                     $0.00                                   $14.44


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                 $117.34


           BRNIP-150XCLS 1-1/2" X
           CLS BRASS NI                                                                     $0.00                                 $128.22


           BRNIP-200X1200 2" X
           12" BRASS NIPPL                                                                  $0.00                                   $54.05


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $34.65


           BRNIP-200X1800 2" X
           18" BRASS NIPPL                                                                  $0.00                                   $55.09


           BRNIP-150x1200 1-1/2" x
           12" BRASS N                                                                      $0.00                                   $46.28


           BRNIP-200X1200DOM 2"
           X 12" BRASS NI                                                                   $0.00                                   $55.47


           BR90-100S 1" BRASS
           STREET 90 BEND T                                                                 $0.00                                     $8.80


           BRBSH-200X075 2" X
           3/4" BRASS BUSHI                                                                 $0.00                                   $62.46


           BRCPLG-075 3/4"
           BRASS COUPLING
           THRE                                                                             $0.00                                     $4.02


           BRCPLG-100 1" BRASS
           COUPLING THREAD                                                                  $0.00                                     $6.11


           BRCPLG-150 1 1/2"
           BRASS COUPLING TH                                                                $0.00                                     $6.48


           BRT-100 1" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                   $32.53


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 786
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           BRT-100X075 1" X 3/4"
           BRASS TEE THR                                                                    $0.00                                     $6.67


           BR90-150NL 1-1/2" 90
           BEND THREADED                                                                    $0.00                                   $34.22


           BRBSH-125X100NL
           1-1/4" X 1" REDUCER                                                              $0.00                                   $15.41


           BRBSH-150X075NL
           1-1/2" X 3/4" REDUC                                                              $0.00                                   $12.04


           BRBSH-150X125NL
           1-1/2" X 1-1/4" RED                                                              $0.00                                     $4.92


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                   $87.83


           BRBSH-200X100NL 2" X
           1" REDUCER BUS                                                                   $0.00                                   $87.83


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                   $34.34


           BRCPLG-150NL 1-1/2"
           COUPLING THREAD                                                                  $0.00                                     $8.32


           BRPLG-125NL 1-1/4"
           PLUG THREADED B7                                                                 $0.00                                   $32.07


           BRT-075NL 3/4" TEE
           THREADED, LOW LE                                                                 $0.00                                   $68.68


           BRT-125NL 1-1/4" TEE
           THREADED B7408                                                                   $0.00                                   $58.60


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                 $105.92


           BRT-200NL 2" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $38.57


           BRBSH-100X075NL 1" X
           3/4" HEX BUSHI                                                                   $0.00                                     $5.16




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 787
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                Name

           BLKCAP-400 4" BLACK
           CAP MALLEABLE                                                                    $0.00                                   $20.17


           402-1225X-13 JCM402
           (11.10-12.25) X                                                                  $0.00                                 $113.19


           DST2 2" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                 $144.00


           DWT2 2" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $96.00


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $74.00


           FLORTAPE 1" X 150'
           FLUORESCENT ORAN                                                                 $0.00                                     $0.68


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                     $2.30


           TERSILTFENCE
           SILTFENCE 3' X 100' WI                                                           $0.00                                 $120.00


           ALDOTSF ALABAMA
           DOT SILT FENCE 5' X                                                              $0.00                                $-561.00


           TERRATEXNO4-5 5' X
           330' FILTER FAB                                                                  $0.00                                 $208.74


           WIRE ALDOT 939 39" X
           330' 81538                                                                       $0.00                                 $260.00


           BF4X100 4' X 100'
           ORANGE BARRIER FE                                                                $0.00                                   $48.00


           XLSV EXTRA LARGE
           SAFETY VESTS 20800                                                               $0.00                                   $85.05


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                   $53.10


           MARKING FLAG 2-1/2" X
           3-1/2" BLUE (                                                                    $0.00                                   $59.00




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           DOPEPT PIPE
           DOPE,THREAD
           SEALANT, PI                                                                      $0.00                                     $4.76


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $26.60


           FOXTCYE
           INVERT-A-CAP YELLOW
           SPRAY P                                                                          $0.00                                   $39.96


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                 $135.98


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $82.20


           PVCCEMENT050PT PVC
           CEMENT 1/2 PINT                                                                  $0.00                                     $8.79


           PVCCEMENTPT PVC
           CEMENT PINT MEDIUM                                                               $0.00                                     $5.75


           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                 $174.42


           PLG-50S HYDRAULIC
           CEMENT STANDARD M                                                                $0.00                                 $252.00


           PVCCEMENTQTROS
           RAIN OR SHINE
           MEDIUM                                                                           $0.00                                 $160.03


           LUBEQTBLUE QUART
           OF BLUE LUBE GLP32                                                               $0.00                                   $20.40


           S03631 KRYLON APWA
           SOLVENT BASED UT                                                                 $0.00                                 $213.00


           S03621 KRYLON APWA
           SOLVENT BASED UT                                                                 $0.00                                 $159.94


           SEYMOUR #20-652
           WHITE INVERTED LEAD                                                              $0.00                                   $23.88




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                Name

           KRYLON APWA
           SOLVENT BASED
           UTILITY M                                                                        $0.00                                     $0.00


           S406-12AWP-EX 12" X
           8" MANHOLE BOOT                                                                  $0.00                                  $-51.50


           MASK RESPIRATORY
           MASK                                                                             $0.00                                     $0.63


           GLASSES-STING RAY
           BLACK FRAME CLEAR                                                                $0.00                                     $4.70


           401-530 6" X 3" PVC40
           REDUCING TEE                                                                     $0.00                                   $26.72


           GALVC3 3"
           GALVANIZED
           THREADED CAP                                                                     $0.00                                   $33.92


           REEMW075 1/8"- 3/4"
           ONE HAND WRENCH                                                                  $0.00                                   $57.91


           V.B.CLEANER
           BLADES(KIT)                                                                      $0.00                                   $32.73


           DR1814 14" PVC DR18
           235PSI WP20LEN                                                                   $0.00                               $5,356.00


           HWYSOCK8 SOCK
           WRAP FOR 8"
           HIGHWAY P                                                                        $0.00                                   $32.00


           DIG8-HDPE 8" DROP IN
           GRATE, CAST IR                                                                   $0.00                                   $21.40


           F1100-4 1" FORD IP X
           COMPRESSION C                                                                    $0.00                                   $35.10


           491253 M&H WEATHER
           SHIELD                                                                           $0.00                                   $87.00


           DR11904IPS 4" 90
           DEGREE BEND DR11 I                                                               $0.00                                   $30.50


           MAT750T08LF 2"
           BRASS THREADED
           BALL                                                                             $0.00                                   $57.12



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           DR11T3IPS 3" X 3" DR11
           IPS HDPE TEE                                                                     $0.00                                   $13.51


           KORNSEAL BOOT FOR
           8"SDR35 (12" CORE                                                                $0.00                                   $80.00


           KORNSEAL BOOT FOR
           6"SDR35 (12" CORE                                                                $0.00                                 $266.00


           MH4500-02-12L 12"
           FLANGED BUTTERFLY                                                                $0.00                                 $550.00


           RUBBER METER
           WASHERS 3/4" X 1/8"                                                              $0.00                                   $16.50


           METER 1" X 1/16"
           RUBBER WASHER                                                                    $0.00                                   $20.00


           MJTRANSGSKT14 14"
           MJ TRANSITION GAS                                                                $0.00                                   $49.00


           MH455760 MH HOLD
           DOWN NUT FOR MH129                                                               $0.00                                 $252.28


           HXBLT075500 3/4" X 5"
           HEX HEAD BOLT                                                                    $0.00                                   $94.00


           M&H 129 5-1/4" #557511
           TOP PLATE UP                                                                     $0.00                                 $190.61


           C90912 12" C909 ULTRA
           BLUE PVC PIPE                                                                    $0.00                               $4,474.68


           2" GA INDUSTRIES 925
           SEWAGE AIR REL                                                                   $0.00                                 $300.80


           4" GALV THREADED
           CAP                                                                              $0.00                                   $14.85


           448-007 SPEARS 3/4"
           FIPT CAP PVC 40                                                                  $0.00                                     $3.69


           448-010 FIPT CAP PVC
           40                                                                               $0.00                                     $6.30


           449-007 3/4" PVC 40
           SLIP PLUG                                                                        $0.00                                     $4.90



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           449-010 1" PVC40 SLIP
           PLUG                                                                             $0.00                                     $4.64


           450-010 1" PVC40 THD
           PLUG SPEARS                                                                      $0.00                                     $3.70


           6" SCH40 STEEL
           CASING PIPE .250 WAL                                                             $0.00                                 $380.00


           8" 150# SLIP ON
           FLANGE                                                                           $0.00                                   $75.00


           837-335 SPEARS 3 x 1
           PVC SCH 80 BUS                                                                   $0.00                                   $17.16


           ANCHOR ASSEMBLIES,
           CONTAINS (1) STA                                                                 $0.00                                     $5.56


           CHE267-088 CHERNE
           8"-12" FRONT LEAK                                                                $0.00                                 $384.30


           DMFA6DI 6" MJ X
           FLANGE ADAPTER
           DUCT                                                                             $0.00                                 $216.82


           DWV403 PVC40 DWV 3"
           PIPE                                                                             $0.00                                     $0.00


           DWVCOA3 DWV CLEAN
           OUT ADPT. 3"                                                                     $0.00                                     $9.30


           DWVMA4 4" DWV MALE
           ADAPTER                                                                          $0.00                                   $14.31


           GALVNIP336 3" X 3'
           PIECE GALVANIZED                                                                 $0.00                                 $122.36


           GALVNIP3X1 3" X 1'
           GALVANIZED NIPPL                                                                 $0.00                                 $100.00


           GALVT050 1/2"
           GALVANIZED TEE                                                                   $0.00                                     $0.68


           H13442-100 8" X 1"
           MUELLER H13442 B                                                                 $0.00                                 $325.20


           H13443-100 10" X 1"
           MUELLER H13443                                                                   $0.00                                 $195.48


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                Name



           NDS1222 NDS 12" X 12"
           ADAPTER W/8"                                                                     $0.00                                   $37.70


           RCP303 30" CLASS III
           REINFORCED CON                                                                   $0.00                               $1,708.80


           REEARW14 14"
           ALUMINUM PIPE
           WRENCH #                                                                         $0.00                                   $37.39


           REEMW125 1-1/4" ONE
           HAND WRENCH 1"-                                                                  $0.00                                   $67.87


           VB4650W SIGMA
           VALVE BOX LOCKING LI                                                             $0.00                                     $5.25


           TBLT075700 3/4" x 7"
           T-BOLT AND NUT                                                                   $0.00                                     $4.08


           S106-16BWP 16"X10"
           MANHOLE BOOT KOR                                                                 $0.00                                   $48.20


           MH446753 MH15-50
           OPERATING NUT FOR                                                                $0.00                                 $181.32


           DFMT2 2" X 1000'
           DETECTABLE FORCE M                                                               $0.00                                   $60.00


           V-657 4" DWV
           COUPLING HUB X
           SEWER H                                                                          $0.00                                     $5.30


           POST HOLE
           DIGGER,FIBERGLASS
           HANDLE                                                                           $0.00                                   $86.64


           PVC40S100 1" PVC
           SCH40 CONDUIT SWEE                                                               $0.00                                     $8.25


           TBLT058500 5/8 X 5"
           TBOLT AND NUT                                                                    $0.00                                   $26.60


           D1200-DLOCTRAMR-LID
           DFW D1200 LOCK                                                                   $0.00                                 $603.40


           WATTS 1" 25AUB-Z3
           THREADED PRESSURE                                                                $0.00                                   $77.36



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 793
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                Name

           D1200-DISGSWR BLACK
           BODY WITH SOLID                                                                  $0.00                               $1,258.56


           POP ITS PLASTIC
           PLUGS FOR CONCRET                                                                $0.00                                   $18.75


           MR032 48" DIA. X 32"H
           SANITARY SEWE                                                                    $0.00                                 $393.00


           MV03 72" DIA.
           VERTICAL FOOT ADDITI                                                             $0.00                                 $160.00


           DR2A0854-CC-075 8" X
           3/4" MUELLER                                                                     $0.00                                   $53.14


           DR2A0356CC075 3" X
           3/4" CC DOUBLE S                                                                 $0.00                                 $682.70


           DR11MJA10IPS 10"
           DR11 IPS HDPE MJ A                                                               $0.00                                 $570.00


           DR184G 4" DR18
           GREEN PIPE                                                                       $0.00                                   $37.00


           RCP12MITEREDEND
           MITERED END 12"                                                                  $0.00                                 $388.80


           RCP15MITEREDEND 15"
           MITERED END                                                                      $0.00                                 $648.00


           CSS8-1408-DICR 14" x
           8" STAINLESS S                                                                   $0.00                                 $320.00


           PINKTAPE PINK
           FLAGGING TAPE                                                                    $0.00                                   $13.20


           800-0905-F7 8"X 2" FIP
           BRASS HINGED                                                                     $0.00                                 $122.30


           165-04800000-000
           SMITH-BLAIR 4" BEL                                                               $0.00                                 $164.52


           165-09050000-000
           SMITH-BLAIR 8" BEL                                                               $0.00                                 $829.00


           G02 60" SUPER SEAL
           MANHOLE GASKET                                                                   $0.00                                   $36.00



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           ARI MODEL D-020 AIR
           RELEASE VALVE                                                                    $0.00                                     $1.00


           HYDROCPLG075 3/4"
           CTS HYDROSERT CO                                                                 $0.00                                 $354.00


           HYDROSERT100 1" CTS
           HYDROSERT COUP                                                                   $0.00                               $1,348.50


           CAR1220-1047 JUMBO
           GREEN METER BOX                                                                  $0.00                                 $796.32


           HYDROSERT075L 3/4"
           LONG CTS HYDROS                                                                  $0.00                               $1,575.00


           GULFSHORE HYD
           WRENCH GULF
           SHORES HY                                                                        $0.00                                 $232.98


           FDC2215-10 4" X 2.5" X
           2.5" FDC,SI                                                                      $0.00                                 $217.32


           HYDRODE-075
           HYDROSERT 3/4" CTS
           DEAD                                                                             $0.00                                 $575.05


           MH582012 M&H 129
           NST PUMPER NOZZLE                                                                $0.00                                 $333.90


           VB762 CLEAN OUT
           FRAME AND COVER                                                                  $0.00                                 $279.50


           SDR13.5SW050 1/2" CL
           315 PVC PIPE,                                                                    $0.00                               $1,119.80


           HOGRING BOX OF 2500
           HOG RINGS                                                                        $0.00                                   $80.00


           CAM4DP 4" MALE CAM
           LOCK DUST PLUG                                                                   $0.00                                   $35.00


           RJBS4075G JOHN
           BUCHARD & SONS 4075                                                              $0.00                                 $205.00


           CSS18DIPS-30-C 18"
           CARRIER X 30" CA                                                                 $0.00                                 $261.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 795
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                Name

           MJFGLD14 14" C110
           FULL BODY GLAND                                                                  $0.00                                   $83.84


           TEEPOSTTIE TEE POST
           TIES, 100-PK. P                                                                  $0.00                                   $15.00


           HOGRING HOG
           RINGS,2-LB BOX,PN
           85771                                                                            $0.00                                   $18.00


           B7ALTHRDSTUD 1'
           STUD WITH 1" DIA AL                                                              $0.00                                   $57.80


           CSS08IPS-14-C 8" IPS
           CARRIER X 14"                                                                    $0.00                                 $387.00


           ESW0814 END SEAL 8 X
           14 WRAP AROUND                                                                   $0.00                                   $47.10


           CSS10IPS-16-C 10" IPS
           CARRIER X 16"                                                                    $0.00                                 $385.60


           CSS12IPS-18-C 12" IPS
           CARRIER X 18"                                                                    $0.00                               $1,250.00


           DR1114DIPSGS 14"
           DR11 DIPS HDPE W/                                                                $0.00                               $5,969.60


           HYDRREP HYDRANT
           RING REPLACEMENT
           TO                                                                               $0.00                                 $119.20


           HYDROTESTER, AJ
           VEL, ITEM # 0025-00                                                              $0.00                               $1,995.00


           TW14G2500 TRACER
           WIRE 14 GA (GREEN)                                                               $0.00                               $2,090.00


           LUBEGALBLUE BLUE
           LUBE GALLON SIZE I                                                               $0.00                                   $42.09


           986-02 HTECH 2"
           EPOXY COATED AIR VA                                                              $0.00                               $1,500.00


           TW14P500 14 GUAGE
           PURPLE TRACER WIR                                                                $0.00                                   $69.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 796
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                Name

           A-412 MUELLER
           STANDARD FLUSH
           HYDRAN                                                                           $0.00                               $1,114.69


           8 OZ (1/2 PINT) PVC
           CLEANER #30782                                                                   $0.00                                 $114.24


           HIGHFIELD #6 BARREL
           LOCK "GOLD" WIT                                                                  $0.00                                   $39.60


           METERWRNCH METER
           WRENCH WITH JAWS T                                                               $0.00                                   $36.00


           TRU367-4293 CURB KEY
           3' FIT ON T-HE                                                                   $0.00                                   $16.01


           HIGHFIELD DUST CAP
           FOR #6 LOCK #931                                                                 $0.00                                     $0.92


           FDC222-01 4" X 2.5"
           (2-WAY) 90 DEGR                                                                  $0.00                                 $357.00


           DR1110IPSGS 10" DR11
           IPS HDPE BLACK                                                                   $0.00                               $6,000.00


           WOOD STAKE 36"-
           1-1/4" x 1-1/4"                                                                  $0.00                                   $24.12


           TRU367-4286 24"
           TRUMBULL MAN HOLE
           H                                                                                $0.00                                   $55.50


           DR11RED32IPS 3" X 2"
           DR11 IPS REDUC                                                                   $0.00                                   $11.12


           DRE0065-0095-0063 2"
           GALV COMPRESSI                                                                   $0.00                                   $71.06


           313-00045012-000 4" x
           1-1/2" NPT SA                                                                    $0.00                                   $26.63


           83-M7A6 2"NPT X
           1-1/2"CC BUSHING                                                                 $0.00                                 $107.68


           SDR26/35T66 6" x 6"
           HEAVY WALL SEWE                                                                  $0.00                                 $161.41




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 797
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                Name

           CV125 1-1/4" SWING
           CHECK VALVE                                                                      $0.00                                   $44.85


           117NL-H4F4 1" COMP X
           FIP ADAPTER LO                                                                   $0.00                                   $48.09


           MB-16L-AMR 10"X15"
           RHINO MTR BOX W/                                                                 $0.00                                 $750.00


           CAR1220-1150 JUMBO
           METER BOX BOLTED                                                                 $0.00                                 $964.62


           622-03500300-203 3.50"
           OD X 3" OUTL                                                                     $0.00                                 $256.07


           SDR26352WCOT6 6" X
           6" SDR26 HEAVY W                                                                 $0.00                                   $90.27


           T-POST 5' METAL
           T-POST 79704                                                                     $0.00                                  $-24.50


           117-PJ7M7 CAMBRIDGE
           BRASS 2" PVC CA                                                                  $0.00                                   $94.42


           313-00156512-000 SMITH
           BLAIR 14" X                                                                      $0.00                                 $146.96


           SDR35Y84DWV 8" X 4"
           SDR35 GASKET WY                                                                  $0.00                                 $143.30


           DR188G 8" PVC DR18
           GREEN 235 PSI WA                                                                 $0.00                                 $131.20


           CAR09101179 10"
           ROUND IRRIGATION BO                                                              $0.00                                 $172.34


           WT0899236 957
           RUBBER PARTS KIT,
           089                                                                              $0.00                                 $112.80


           CAR012-12-PCIRLO
           CARSON INDUSTRIES                                                                $0.00                                 $682.64


           CARSON 1324 GREEN
           METER BOX LID                                                                    $0.00                                 $311.50


           PVBCAPW 5-1/4"
           PLASTIC VALVE BOX LI                                                             $0.00                                   $63.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 798
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           117NL-H3F3 3/4" FIP X
           CTS COMPRESSI                                                                    $0.00                                   $23.63


           CO-344CI CLEAN OUT,
           CAST IRON                                                                        $0.00                                   $21.75


           ERW-1300-208 100WP,
           PULSER WITH INT                                                                  $0.00                                   $85.50


           LOCKING VALVE BOX
           KEY VB7901                                                                       $0.00                                     $6.22


           ERW-1300-202 100WP,
           ENCODER WITH IN                                                                  $0.00                                   $85.50


           B20200N-075 MUELLER
           3/4" LOW LEAD S                                                                  $0.00                                $-123.42


           B20200RN-075
           MUELLER 3/4" LOW
           LEAD                                                                             $0.00                                 $155.65


           212NL-H4T4 1" COMP X
           METER TAIL NUT                                                                   $0.00                                 $534.77


           117NL-PJ7M7 2" PVC
           CAMPAK x 2" MIP                                                                  $0.00                                 $132.72


           24" FILTER SOCK FOR
           HDPE PIPE                                                                        $0.00                                 $904.40


           MAT514T08 2" THREAD
           GATE VALVE, BRA                                                                  $0.00                                 $123.96


           DR11FA10IPS 10" IPS
           DR11 FLANGE ADA                                                                  $0.00                                   $40.37


           USF8010265 PA PLAIN
           LID ONLY, US FO                                                                  $0.00                                 $107.86


           770S08N 2" PVC BALL
           VALVE SW                                                                         $0.00                                   $24.66


           WILKENS 3"-375L RPZ
           BACKFLOW                                                                         $0.00                                 $776.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 799
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                Name

           EJ1566 EAST JORDAN
           "SEWER C.O." FRA                                                                 $0.00                                 $199.76


           770S07N 1-1/2" PVC
           BALL VALVE SW                                                                    $0.00                                     $3.30


           CMPCPLG18 18" GALV
           CMP COUPLING                                                                     $0.00                                     $0.00


           DR11FAO6DIPS 6" DIPS
           FLANGE ADAPTER                                                                   $0.00                                   $48.00


           DR11FAO4DIPS 4" DIPS
           HDPE FLANGE AD                                                                   $0.00                                   $16.00


           H15029N-100 MUELLER
           1" MIP X IPS CO                                                                  $0.00                                 $152.14


           B43-344WQ-NL 1"
           REDUCED PORT CURB
           S                                                                                $0.00                                 $220.21


           T&S B-1142-04 FAUCET                                                             $0.00                                 $126.00


           MILLIKEN4 4" FLANGE
           WEIGHT AND LEVE                                                                  $0.00                               $1,320.00


           JD-6000 6" HDPE BOX
           WITH GREEN LID                                                                   $0.00                                   $14.80


           JRSP-16 5560 WALL
           HYDRANT, JR SMITH                                                                $0.00                                 $274.32


           REED02640 REED DEEP
           WELL SOCKET SET                                                                  $0.00                                 $289.80


           10152026-12 STANDARD
           METER BOX BODY                                                                   $0.00                                 $494.34


           MP80245 6"x 6"x 6"
           SDR35 MALE DOWNS                                                                 $0.00                                 $312.60


           MILLIKEN 6" FLANGED
           PLUG VALVE WITH                                                                  $0.00                                 $500.00


           SIP5218WTR VALVE
           BOX COVER AND LID                                                                $0.00                                 $225.00



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                Name

           200M14W8L 8" MJ RW
           GATE VALVE OPEN                                                                  $0.00                                 $410.07


           CAMLOCK 4" PART F
           MIPT X MALE                                                                      $0.00                                   $14.50


           MAT514T06 1-1/4"
           BRASS THREAD GATE                                                                $0.00                                     $0.00


           770S05N 1" PVC BALL
           VALVE SW                                                                         $0.00                                     $0.00


           E033200 2" TYPE LB
           PVC CONDUIT ACCE                                                                 $0.00                                     $0.00


           0-60 PSI GLYCERINE
           FILLED SS 1/4" R                                                                 $0.00                                 $190.70


           DR1810G 10" DR18 C900
           235PSI PVC PI                                                                    $0.00                                 $388.00


           301NL-M4H4 1" MIP X
           COMPRESSION BAL                                                                  $0.00                                 $238.43


           210NL-B6MF6 1-1/2"
           ANGLE BALL METER                                                                 $0.00                                 $393.92


           G06INDOMEGRATE 6"
           DROP IN DOMED GRA                                                                $0.00                                   $58.94


           WWT29006 3/8" x 75'
           PULLING CABLE                                                                    $0.00                                   $70.80


           200TVD10 3" TAPPING
           VALVE DUCTILE                                                                    $0.00                                 $393.44


           2" WATERMAN AV-150
           AIR RELEASE                                                                      $0.00                                   $29.00


           FLORIDA TYPE IV FDOT
           WIRE BACK SILT                                                                   $0.00                                 $200.00


           4NLF-3S5-4B DUAL
           CHECK PREVENTER 1"                                                               $0.00                                 $394.05


           372-111015 10" X 2" CC
           ALL STAINLES                                                                     $0.00                                     $0.00



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           200M16W12L 12" MJ RW
           GATE VALVE OPE                                                                   $0.00                               $2,047.46


           FLFL410-1158 4" X
           10'11-5/8" FLANGE                                                                $0.00                                 $528.36


           119NL-U7U7 2"
           GRIPPING COUPLING
           (1.                                                                              $0.00                               $1,139.20


           MH170S RING AND
           COVER MARKED
           SEWER                                                                            $0.00                                     $0.00


           SIMMONS #502SB 3/4"
           INLINE SPRING C                                                                  $0.00                                   $28.34


           USF119BM US
           FOUNDRY 119 RING
           AND BM                                                                           $0.00                                 $468.60


           3417DI-8B2CC
           8"(8.54-10.10) X 2"CC                                                            $0.00                                 $268.61


           6100-2375-150 2"
           GALVANIZED MALE AD                                                               $0.00                                   $35.61


           421-06560760-031 6"
           COUPLING, WIDE                                                                   $0.00                                 $653.52


           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                   $15.15


           REERW12 12" PIPE
           WRENCH,HEAVY DUTY,                                                               $0.00                                   $41.10


           REERW18 18" PIPE
           WRENCH, HEAVY DUTY                                                               $0.00                                   $33.26


           REETC2Q 1/4" - 2-5/8"
           CUTTER QUICK                                                                     $0.00                                   $58.02


           REED02624 7/8"
           EXTENDED SOCKET 6"
           L                                                                                $0.00                                   $26.89


           REED02630 1-1/4"
           EXTENDED SOCKET 6"                                                               $0.00                                  $-33.56


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           LV2017 REED DUAL
           SOCKET RATCHET WRE                                                               $0.00                                 $164.04


           ALTHRD07512 3/4" X 12'
           ALL THREADED                                                                     $0.00                                   $77.28


           SDR26/354 4" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                   $87.11


           SDR26/358 8" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $278.95


           SDR26/3510 10"
           SDR26/35 HEAVY WALL                                                              $0.00                                   $87.50


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                $-141.05


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                 $466.76


           SDR358 8" PVC SDR35
           GRAVITY SEWER P                                                                  $0.00                                   $41.86


           SDR3515 15" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $140.21


           PVCRECCOP6 6" PVC
           RECESSED CLEANOUT                                                                $0.00                                 $103.03


           SDR26/35454BXB 4" 45
           DEGREE BEND HE                                                                   $0.00                                   $38.10


           SDR26/35456BXB 6" 45
           DEGREE BEND HE                                                                   $0.00                                   $36.57


           SDR26/35456P 6"
           SDR26/35 45 BEND BE                                                              $0.00                                   $12.92


           SDR26/35906BXB 6"
           SDR26/35 90 DEGRE                                                                $0.00                                   $18.82


           SDR26/35T44 4"
           SDR26/35 TEE HEAVY W                                                             $0.00                                 $247.65




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 803
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           SDR26/35TY66 6"
           SDR26/35 TEE WYE HE                                                              $0.00                                 $241.54


           SDR26/35Y44 4" X 4"
           SDR26/35 WYE HE                                                                  $0.00                                   $23.08


           SDR26/35Y66 6" X 6"
           SDR26/35 WYE HE                                                                  $0.00                                   $70.09


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                   $44.57


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $78.05


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                 $117.78


           SDR3522BXP6 6" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                     $9.26


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                   $40.26


           SDR3545BXP6 6" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $26.75


           SDR354XSCH40DWV4
           4" PVC SDR35 SPIGO                                                               $0.00                                   $29.02


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $43.69


           SDR3590BXP6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $12.13


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                     $9.61


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $12.00


           SDR35COA8 8"
           CLEAN-OUT ADAPTER,
           SDR                                                                              $0.00                                 $149.64


           PVCCOP8 8" RAISED
           CLEAN-OUT PLUG, S                                                                $0.00                                 $132.18


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           SDR35CPLG4 4" PVC
           SDR 35 COUPLING G                                                                $0.00                                     $6.13


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                   $55.55


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                   $51.86


           SDR35PLG8 8" PVC
           SDR35 PLUG, G1168                                                                $0.00                                   $13.14


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                   $65.54


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $61.18


           SDR35T64 6" X 4" PVC
           SDR35 TEE G106                                                                   $0.00                                   $33.67


           SDR35T88 8" X 8" PVC
           SDR35 TEE G108                                                                   $0.00                                   $38.19


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                     $9.54


           SDR35TY66 6" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                 $192.68


           SDR35TY86 8" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $65.09


           SDR35Y154 15" X 4"
           PVCSDR35 WYE L30                                                                 $0.00                                 $170.91


           SDR35Y44 4" X 4" PVC
           SDR35 WYE,G304                                                                   $0.00                                   $42.74


           SDR35Y86 8" X 6" PVC
           SDR35 WYE G308                                                                   $0.00                                   $30.85


           P658 6x4 SDR35 HUB X
           4"DWV HUB RED                                                                    $0.00                                    $-2.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 805
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $28.56


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                 $202.32


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                     $4.33


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                 $246.91


           V-1404 4" PVC CAP
           SEWER AND DRAIN P                                                                $0.00                                     $1.05


           V-1706 4" x 6" x 6"
           DOWNSPOUT ADAPT                                                                  $0.00                                   $21.36


           V-3044 4" X 4" DWV
           SPIGOT X 4" SDR                                                                  $0.00                                 $113.95


           V-504 4" PVC 45 BEND,
           SEWER AND DRA                                                                    $0.00                                   $12.68


           V-506 6" 45 BEND, PVC
           SEWER AND DRA                                                                    $0.00                                   $42.69


           V-804 4" PVC TEE
           SEWER AND DRAIN P1                                                               $0.00                                     $5.24


           V-904 4" PVC WYE
           SEWER AND DRAIN P3                                                               $0.00                                   $13.86


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                   $78.00


           DWV453 3" PVC DWV 45
           BEND, P/N 7063                                                                   $0.00                                     $1.51


           DWV456 6" PVC DWV 45
           DEGREE BEND, 7                                                                   $0.00                                   $51.36


           DWV904 4" DWV 90
           BEND BELL X BELL,                                                                $0.00                                   $46.49


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 806
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           DWV906 6" PVC DWV 90
           BEND, BELL X B                                                                   $0.00                                   $44.90


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                   $11.03


           DWVCOP3 3"
           CLEANOUT PLUG P/N
           71830                                                                            $0.00                                     $3.69


           DWVCPLG3 3" PVC
           DWV COUPLINGS P/N 7                                                              $0.00                                     $2.45


           DWVCPLG4 4" PVC
           DWV COUPLINGS, D604                                                              $0.00                                   $15.25


           DWVCPLG6 6" PVC
           DWV SCH40 COUPLING                                                               $0.00                                     $8.75


           DWVFA4 4" PVC DWV
           SCH40 FEMALE ADAP                                                                $0.00                                  $-19.12


           DWVFA6 6" PVC DWV
           ADAPTER FEMALE X                                                                 $0.00                                     $6.17


           DWVT44 4" PVC DWV
           TEE,P/N 71140 D10                                                                $0.00                                   $77.55


           DWVT66 6" X 6" PVC
           DWV TEE,P/N D106                                                                 $0.00                                   $46.60


           DWVTY22 2" PVC DWV
           TEE-WYE, P/N 725                                                                 $0.00                                     $1.87


           DWVTY44 4" PVC DWV
           TEE-WYE SCH40 D1                                                                 $0.00                                   $67.68


           G313-0126 12"X 6" DWV
           GASKETED TEE-                                                                    $0.00                               $2,065.65


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                   $66.03


           HWY6PS 6" X 100' PERF
           WITH SOCK COR                                                                    $0.00                                 $135.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 807
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           HWY4S100 4" X 100'
           SOLID CORRUGATED                                                                 $0.00                                 $624.00


           SEC8S 8" HDPE SOLID
           PIPE, SOUTHEAST                                                                  $0.00                                 $198.00


           SEC10S 10" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $344.00


           SEC12S 12" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                   $86.20


           SEC15S 15" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $2,921.40


           SEC18S 18" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $4,086.00


           SEC24S 24" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                               $4,740.00


           SEC30S 30" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $338.00


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $17.88


           HWYCAP4 4" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $4.36


           HWYT4 4" HWY TEE
           HDPE MOLDED SINGLE                                                               $0.00                                 $101.21


           HWY904 4" HDPE
           MOLDED SINGLE WALL
           H                                                                                $0.00                                   $78.12


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $6.99


           SECCPLG8 8" HDPE
           SPLIT COUPLING SOU                                                               $0.00                                     $3.00


           SECCPLG12 12" HDPE
           SPLIT COUPLING S                                                                 $0.00                                     $5.00


           SECCPLG15 15" HDPE
           SPLIT COUPLING S                                                                 $0.00                                   $40.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 808
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SECT66 6" X 6" TEE
           DUAL WALL HDPE S                                                                 $0.00                                   $30.00


           SEC456 6" HDPE 45
           BEND, SOUTHEAST C                                                                $0.00                                     $0.00


           SEC906 6" 90 DEGREE
           BEND, DUAL WALL                                                                  $0.00                                   $36.00


           DR11MJA8IPSK 8" DR11
           IPS HDPE MJ AD                                                                   $0.00                                 $199.08


           CMSPCPLG15 15"
           CORRUGATED SPIRAL
           CO                                                                               $0.00                                   $12.00


           CMSPCPLG18 18"
           CORRUGATED SPIRAL
           CO                                                                               $0.00                                   $14.50


           RCP123 12" CLASS III
           REINFORCED CON                                                                   $0.00                                 $740.16


           RCP153 15" CLASS III
           REINFORCED CON                                                                   $0.00                                 $915.79


           RCP243 24" CLASS III
           REINFORCED CON                                                                   $0.00                                 $739.54


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $21.91


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $20.09


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $27.23


           02-88 8" X 8"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $61.80


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $22.21




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 809
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                     $7.94


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $36.54


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $2.75


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $14.77


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $18.78


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $15.72


           56-65 6X5
           CI,PLAS/CI,PLAS
           COUPLING                                                                         $0.00                                   $18.22


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $66.97


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $54.60


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                 $103.03


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $36.10


           WNTP3 3" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                     $5.38


           WNTP2 2" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                     $4.14


           CHE262-110 10"
           MUNI-BALL WITH BP CH                                                             $0.00                                 $183.40




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 810
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           CHE270-229 CHERNE 2"
           INSIDE GRIPPER                                                                   $0.00                                   $27.60


           8SS35 8" DROP
           BRACKET FOR
           8"SDR-35                                                                         $0.00                                 $116.50


           CHE028-598 1
           1/2"NPT(M)PLUG
           CONVERS                                                                          $0.00                                   $69.65


           CHE262-010 2" CHERNE
           MUNI-BALL PLUG                                                                   $0.00                                 $260.40


           CHE043-338 22FT AIR
           HOSE FOR CHERNE                                                                  $0.00                                 $144.20


           012-12 PLASTIC METER
           BOX WITH PLAST                                                                   $0.00                               $1,085.70


           NDS1200 12" BASIN
           (PLASTIC 2 OPENIN                                                                $0.00                                   $48.90


           NDS1221 12" x 12" NDS
           1221 Adapter                                                                     $0.00                                   $89.73


           NDSD1500-DICIR NDS
           JUMBO METER BOX                                                                  $0.00                                 $555.26


           8LN4P35 INSERTA TEE
           8" HDPE DUAL WA                                                                  $0.00                                   $53.56


           DFW-4TC 4" FLEXIBLE
           SADDLE TEE WITH                                                                  $0.00                                   $25.90


           DFW-6YC 6" FLEXIBLE
           SADDLE WYE TSW-                                                                  $0.00                                   $47.76


           MR024 48" DIA X 24"H
           SANITARY SEWE                                                                    $0.00                                 $128.00


           USF363-80DS 24" X 7
           1/2" GULF SHORE                                                                  $0.00                                 $362.36


           EJ6221 24" DROP IN
           GRATE 00622130,                                                                  $0.00                                 $203.51




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 811
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MR048 48" DIA. X 48"H
           SANITARY SEWE                                                                    $0.00                                 $196.00


           MR016 48" DIA. X 16"H
           SANITARY SEWE                                                                    $0.00                                   $76.00


           RBLHF LONGHANDLE
           FLAT SHOVEL UNI 44                                                               $0.00                                   $15.56


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $31.12


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $15.56


           UNI1160200 60" WEDGE
           POINT CROW BAR                                                                   $0.00                                   $30.14


           226-00045015-000 4" X
           15" REPAIR CL                                                                    $0.00                                 $106.41


           226-00066307-000 6" X
           7-1/2" REPAIR                                                                    $0.00                                 $129.21


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $113.97


           226-00090512-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $117.46


           226-00090515-000 8" X
           15" REPAIR CL                                                                    $0.00                                 $839.82


           226-00111012-000 10" X
           12-1/2" REPA                                                                     $0.00                                 $138.68


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $324.12


           244-00010506-000 3/4" X
           6" 1.05 OD                                                                       $0.00                                   $78.94


           244-00019006-000 1-1/2"
           X 6" REPAIR                                                                      $0.00                                 $164.12


           245-00008403-000 1/2" X
           3" 0.84 OD                                                                       $0.00                                   $31.98



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 812
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           245-00010503-000 3/4" X
           3" 1.05 OD                                                                       $0.00                                   $16.29


           245-00010506-000 SMITH
           BLAIR 3/4" X                                                                     $0.00                                   $10.13


           245-00013203-000 SMITH
           BLAIR 1" X 3                                                                     $0.00                                 $462.93


           245-00023806-000 2" X
           6" REDI-CLAMP                                                                    $0.00                                   $25.94


           245-00028806-000
           2-1/2"x6" Smith-Bl                                                               $0.00                                 $214.86


           261-00066307-000
           6"x7-1/2" Smith-Bl                                                               $0.00                                   $56.51


           274-00000690-000
           274-1049 6" CLAMP                                                                $0.00                                 $242.48


           274-00000905-000 8"
           BELL JOINT LEAK                                                                  $0.00                                 $167.53


           313-00025607-000 2" X
           3/4"CC SADDLE                                                                    $0.00                                   $34.02


           313-00025612-000 2" X
           1-1/2" SADDLE                                                                    $0.00                                   $17.87


           313-00035407-000
           3"X3/4"CC 2.97-3.5                                                               $0.00                                 $121.49


           313-00066307-000 6" x
           3/4"CC SADDLE                                                                    $0.00                                   $50.06


           313-00101007-000 SMITH
           BLAIR 8" X 3                                                                     $0.00                                   $32.12


           313-00101009-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $32.12


           313-00101015-000 8" X
           2"CC SADDLE (                                                                    $0.00                                  $-40.06


           317-00090509-000 8" X
           1"CC SADDLE (                                                                    $0.00                                   $62.22



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 813
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           525-000105-003 3/4"
           COMPRESSION COU                                                                  $0.00                                   $45.20


           525-00013200-003 1"
           COMPRESSION COU                                                                  $0.00                                   $51.98


           525-00016600-003 1-1/4"
           COMPRESSION                                                                      $0.00                                   $16.91


           525-00019000-003 1-1/2"
           COMPRESSION                                                                      $0.00                                   $19.12


           525-00023800-003 2"
           COMPRESSION COU                                                                  $0.00                                   $23.72


           622-09050600-003 8 X 6"
           EPOXY COATE                                                                      $0.00                                 $324.93


           662-09050800-200 8" X
           8" TAPPING SL                                                                    $0.00                                 $414.20


           244-00008803-000 3/4" x
           3" REPAIR C                                                                      $0.00                                   $55.50


           313-00090507-000 8" X
           3/4"CC SADDLE                                                                    $0.00                                 $272.35


           226-00023815-000 2" X
           15" REPAIR CL                                                                    $0.00                                 $169.13


           226-00035015-000 3" X
           15" REPAIR CL                                                                    $0.00                                 $775.52


           226-00127515-000 12" X
           15" REPAIR C                                                                     $0.00                                 $195.69


           313-00069009-000 6" X
           1"CC SADDLE (                                                                    $0.00                                 $100.13


           622-06630600-203 6" X
           6" TAPPING SL                                                                    $0.00                                 $298.97


           226-00111010-000 10" X
           10" (11.04-1                                                                     $0.00                                 $129.91


           313-00029107-000 2" X
           3/4"CC (2.44-                                                                    $0.00                                 $112.06



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 814
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           313-00045007-000 4" X
           3/4"CC (4.40-                                                                    $0.00                                 $110.67


           313-00048008-000 SMITH
           BLAIR 4" X 1                                                                     $0.00                                   $91.90


           313-00048009-000 4" X
           1"CC SADDLE (                                                                    $0.00                                 $137.84


           313-00069012-000 6" X
           1-1/2" SADDLE                                                                    $0.00                                   $62.29


           313-00069013-000 6" X
           1-1/2"CC (5.9                                                                    $0.00                                   $64.06


           313-00069014-000 6" X
           2" SADDLE NPT                                                                    $0.00                                   $61.00


           317-00048008-000 SMITH
           BLAIR 4" X 1                                                                     $0.00                                   $46.58


           317-00132007-000 12" X
           3/4" CC (12.                                                                     $0.00                                 $183.67


           665-174008MJ-000 16" X
           8" TAPPING S                                                                     $0.00                               $1,011.01


           111-09050001-900 8"
           CAM-LOCK SMITH-                                                                  $0.00                                   $76.62


           245-00019006-000 1-1/2"
           X 6" (1.90)                                                                      $0.00                                   $24.69


           372-00090509-000 8" X
           1"CC SADDLE (                                                                    $0.00                                 $367.87


           421-04460560-031 4"
           COUPLING, TOP B                                                                  $0.00                                 $494.96


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $41.76


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                               $1,750.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 815
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           CE-4 4' CURB END
           T-HANDLE WRENCH                                                                  $0.00                                   $21.13


           HIGHFIELD 93480136 #6
           LOCK KEY                                                                         $0.00                                  $-43.00


           MHHOOKS 24"
           MANHOLE HOOKS 90
           DEGREE                                                                           $0.00                                   $27.65


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                   $30.00


           MUE502900 MUELLER
           SHELL CUTTER HOLD                                                                $0.00                                   $77.53


           BECKSON HAND PUMP
           PVC MODEL 136PF-6                                                                $0.00                                 $151.20


           BLADEDI1420 14" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                     $8.50


           BLADECONC1420 - 14"
           X 1/8" X 20MM C                                                                  $0.00                                 $136.00


           BLADEASPDIA14 US
           SAWS 14" X 20MM/1"                                                               $0.00                                 $150.00


           PXX14125 PREMIUM
           DOS SEGGIE DIAMOND                                                               $0.00                                 $906.50


           MHPIPLATE4 4" POST
           INDICATOR PLATE                                                                  $0.00                                     $0.00


           VBRIS150 1-1/2" VALVE
           BOX RISERS                                                                       $0.00                                   $41.60


           VBRIS1 1" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $23.40


           VBRIS2 2" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $60.00


           VBRIS3 3" VALVE BOX
           RISER LESS COVE                                                                  $0.00                                   $46.25


           VBCAPW VALVE BOX
           CAP, MARKED WATER                                                                $0.00                                $-104.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 816
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           VB262 VALVE BOX
           24-36 SCREW TYPE WI                                                              $0.00                               $1,131.50


           VBP24R CONCRETE
           VALVE BOX PAD 24" R                                                              $0.00                               $2,254.00


           VB261 2PC SCREW
           TYPE VALVE BOX 18-2                                                              $0.00                               $1,262.25


           CAM2DC 2" DUST CAP
           ALUM.                                                                            $0.00                                     $0.00


           BF4CI 4" BLIND
           FLANGE, CAST IRON                                                                $0.00                                   $61.38


           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                   $46.97


           BFT3X2DI 3" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $31.62


           BFT6X2CI 6" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                  $-60.92


           BFT8X2DI 8" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                   $93.00


           FL904DI 4" FLANGED 90
           BEND, DUCTILE                                                                    $0.00                                 $200.88


           FL906DI 6" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $311.09


           FL908DI 8" FLANGED 90
           DEGREE BEND D                                                                    $0.00                                 $340.38


           FLT4DI 4" x 4"
           FLANGED TEE,
           DUCTILE                                                                          $0.00                                 $366.89


           FLT6DI 6" FLANGED
           TEE, DUCTILE IRON                                                                $0.00                                 $152.52


           TCFS4 4" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $27.81




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           TCFS6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $74.16


           TCFS64 6" x 4"
           REDUCING COMPANION                                                               $0.00                                   $30.90


           FLPE46 4" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $162.00


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $200.40


           FLPE163 16" X 3' FL X
           PE DIP                                                                           $0.00                                 $943.20


           FLPE142 14" X 2'
           FLANGE X PLAIN END                                                               $0.00                                 $329.20


           FLPE141 14" X 1'
           FLANGE X PLAIN END                                                               $0.00                                 $774.00


           INSERT075CTSPLASTIC
           3/4" POLY STIFF                                                                  $0.00                                     $7.84


           INSERT1CTSPLASTIC 1"
           PLASTIC INSERT                                                                   $0.00                                   $31.20


           PECTS1.5X100 1-1/2" X
           100' CTS 200                                                                     $0.00                                   $60.00


           PECTS1X100 1" X 100'
           CTS 200 PSI PO                                                                   $0.00                                   $57.00


           PECTS2X500 2" X 500'
           CTS 200 PSI PO                                                                   $0.00                               $3,372.60


           PEIPS1X100 1" X 100'
           IPS 160 PSI PO                                                                   $0.00                                 $169.00


           SSINSERT2DR11IPS 2"
           STAINLESS STEEL                                                                  $0.00                                   $18.50


           TW12G500CD 12GA
           COPPER CLAD TRACER                                                               $0.00                                 $163.50


           PEXCTS1X100 1"
           MUNICIPEX CTS
           TUBING                                                                           $0.00                                   $93.40


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 818
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           TW14B500CD 14GA
           COPPER CLAD BLUE
           TR                                                                               $0.00                                 $156.78


           CT075K60 3/4" X 60' K
           COPPER TUBING                                                                    $0.00                                 $327.00


           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                               $1,700.16


           CT100K100 1" X 100' K
           COPPER TUBING                                                                    $0.00                                 $354.20


           NEPBRZFLG1.5 1-1/2"
           BRONZE OVAL ME                                                                   $0.00                                   $70.59


           NEPBRZFLG2 2"
           BRONZE FLANGE                                                                    $0.00                                   $21.00


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                     $0.85


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                     $0.80


           TW12B500CD 12GA
           COPPER CLAD TRACER                                                               $0.00                                 $728.00


           RUBBER METER
           WASHER 3/4" X 1/16"                                                              $0.00                                     $0.00


           MFP200NL 2" BRONZE
           OVAL METER FLANG                                                                 $0.00                                   $57.44


           CAR1015-12-BFLCIR
           PLASTIC METER BOX                                                                $0.00                               $1,881.00


           20012CI 12" CAST IRON
           SIZE NAP200 U                                                                    $0.00                                   $87.35


           DMAP612 6" X 12" DM
           ANCHOR PIPE                                                                      $0.00                                 $798.00


           DMB114 4" MJ C153
           11-1/4 DEGREE BEN                                                                $0.00                                   $22.91




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           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                   $77.42


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                 $157.61


           DMB2210 10" MJ C153
           22-1/2 DEGREE B                                                                  $0.00                                   $86.11


           DMB224 4" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $48.19


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $75.05


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $232.26


           DMB4510 10" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $346.02


           DMB453 3" MJ C153 45
           DEGREE BEND, D                                                                   $0.00                                   $75.84


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $40.69


           DMB458 8" 45 DEGREE
           BEND, MJ, C153,                                                                  $0.00                                 $177.75


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $232.26


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $100.33


           DMB908P 8" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                   $86.51


           DMC4 4" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $22.12


           DMC6 6" CAP, MJ, C153
           DUCTILE IRON                                                                     $0.00                                   $19.75


           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $66.36



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 820
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           DMCR4 4" X 4" DUCTILE
           MECHANICAL JO                                                                    $0.00                                   $86.51


           DMHT126 12" X 6" MJ
           C153 HYDRANT TE                                                                  $0.00                                 $151.29


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $167.48


           DMHT86 8" X 6" MJ
           HYDRANT TEE, C153                                                                $0.00                                 $315.21


           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $48.59


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $52.93


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $39.90


           DMR106 10" X 6" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $54.91


           DMR108 10" X 8" MJ
           C153 REDUCER, DU                                                                 $0.00                                   $60.04


           DMR1210 12" X 10" MJ
           C153 REDUCER D                                                                   $0.00                                   $82.16


           DMR43 4" X 3" MJ C153
           REDUCER DUCTI                                                                    $0.00                                  $-25.68


           DMR43SEB 4" X 3" MJ
           C153 REDUCER SM                                                                  $0.00                                  $-24.10


           DMR64 6" X 4" MJ C153
           REDUCER DUCTI                                                                    $0.00                                   $60.04


           DMR86 8" X 6"
           REDUCER, MJ, C153
           DUC                                                                              $0.00                                   $84.53




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 821
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           DMR86LEB 8" X 6" MJ
           C153 LARGE END                                                                   $0.00                                   $41.87


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $796.32


           DMS12LP 12" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                 $238.58


           DMS3LP 3" MJ C153
           LONG SLEEVE DUCTI                                                                $0.00                                   $47.40


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $107.44


           DMS6LP 6" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                 $135.09


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                 $297.04


           DMT1212 12" X 12" MJ
           C153 TEE, DUCT                                                                   $0.00                                 $217.65


           DMT128 12" X 8" MJ
           C153 TEE DUCTILE                                                                 $0.00                                 $170.25


           DMT22 2" X 2" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $33.18


           DMT33 3" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $37.92


           DMT43 4" X 3" MJ C153
           TEE DUCTILE I                                                                    $0.00                                   $91.64


           DMT44 4" X 4" MJ C153
           TEE, DUCTILE                                                                     $0.00                                  $-40.29


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $72.68


           DMT84 8" X 4" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $78.21




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 822
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           DMT86 8" X 6" MJ TEE,
           C153 DUCTILE                                                                     $0.00                                   $90.46


           DMT88 8" X 8" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                 $109.02


           DMTC32 3" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $46.61


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                   $32.39


           DMTP102 10" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                   $82.16


           DMTP32 3" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                 $140.23


           DMTP62 6" X 2" TAPPED
           PLUG,MJ,C153                                                                     $0.00                                 $154.84


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $203.03


           DMY43 4" X 3" DUCTILE
           MECHANICAL JO                                                                    $0.00                                   $58.07


           DMY64 6" X 4" MJ WYE,
           C153 DUCTILE                                                                     $0.00                                   $67.94


           DMT63 6" X 3" MJ C153
           TEE, DUCTILE                                                                     $0.00                                 $111.39


           EZADAPT4 4" MJ
           ADAPTER                                                                          $0.00                                 $279.75


           EZADAPT6 6" MJ
           ADAPTER                                                                          $0.00                                 $287.80


           EZADAPT3 3" MJ
           ADAPTER                                                                          $0.00                                 $103.90


           EZADAPT8 8" MJ
           ADAPTER                                                                          $0.00                                 $215.90


           DMFR83 8" X 3"
           DUCTILE MECHANICAL
           J                                                                                $0.00                                 $538.47


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 823
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           PVC401 1" SCH40 PVC
           PIPE                                                                             $0.00                                 $197.20


           PVC401.25 1-1/4" SCH40
           PVC PIPE                                                                         $0.00                                     $8.40


           PVC404BESW 4" PVC
           SCH40, BELL END,                                                                 $0.00                                 $588.20


           PVC402BE 2" SCH40
           PVC PIPE WITH BEL                                                                $0.00                                 $669.60


           PVC40075 3/4" SCH 40
           PVC PIPE                                                                         $0.00                                   $33.60


           401-010 1" PVC SCH40
           TEE                                                                              $0.00                                     $0.78


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                   $23.56


           401-030 3" PVC SCH40
           TEE                                                                              $0.00                                   $19.50


           401-532 6X4 PVC SCH40
           REDUCING TEE                                                                     $0.00                                   $26.72


           406-007 SPEARS 3/4"
           PVC SCH40 90 BE                                                                  $0.00                                     $3.39


           406-010 1" PVC SCH40
           90 BEND                                                                          $0.00                                     $0.83


           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                     $5.76


           406-020 2" PVC SCH40
           90 DEGREE BEND                                                                   $0.00                                     $9.84


           406-025 SPEARS 2-1/2
           PVC SCH40 90 B                                                                   $0.00                                     $2.50


           417-010 SPEARS 1" PVC
           SCH40 45 BEND                                                                    $0.00                                   $16.00


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $2.21


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           429-007 3/4" SCH40 PVC
           COUPLING                                                                         $0.00                                     $0.12


           429-010 1" SCH40
           COUPLING                                                                         $0.00                                     $8.68


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $0.64


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                   $16.59


           435-007 3/4" PVC SCH40
           FEMALE ADAPT                                                                     $0.00                                     $1.96


           435-010 SPEARS 1" PVC
           SCH40 FEM ADA                                                                    $0.00                                     $0.68


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $0.80


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $8.62


           436-010 1" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                     $3.71


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $3.21


           436-020 2" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                   $13.18


           437-210 1-1/2" X 3/4"
           SCH40 BUSHING                                                                    $0.00                                     $6.31


           437-211 1-1/2" X 1"
           SCH40 BUSHING S                                                                  $0.00                                     $0.37


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $7.34


           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $5.51


           438-131 1" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $0.37


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           447-015 1-1/2" PVC
           SCH40 CAP (SLIP)                                                                 $0.00                                     $1.05


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $1.68


           447-030 3" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $2.94


           447-040 4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $3.34


           447-060 6" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $80.09


           447-080 8" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                   $20.12


           449-020 2" PVC SCH40
           PLUG (SPIG)                                                                      $0.00                                     $7.98


           450-020 2" THREADED
           PLUG PVC SCH 40                                                                  $0.00                                     $1.89


           450-007 3/4" PVC 40
           MIPT PLUG                                                                        $0.00                                     $2.39


           438-101 3/4" X 1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $0.68


           801-040 4" PVC SCH80
           TEE                                                                              $0.00                                   $22.26


           801-210 1-1/2" X 3/4"
           REDUCER TEE,                                                                     $0.00                                     $3.77


           801-420 4" X 2" PVC
           SCH80 TEE                                                                        $0.00                                   $42.50


           806-015 1-1/2" PVC
           SCH80 90 DEGREE                                                                  $0.00                                     $1.64


           806-020 2" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $21.85


           806-080 8" PVC SCH80
           90 DEGREE BEND                                                                   $0.00                                   $62.29


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           829-007 3/4" PVC SCH
           80 SOCKET COUP                                                                   $0.00                                     $4.09


           829-010 1" PVC SCH80
           COUPLING SOCKE                                                                   $0.00                                     $2.80


           829-020 2" PVC SCH80
           COUPLING S X S                                                                   $0.00                                   $17.29


           835-020 2" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                     $7.16


           836-010 1" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                     $6.74


           836-012 1-1/4" PVC80
           MIP ADAPTER                                                                      $0.00                                   $18.39


           836-015 1-1/2" SCH80
           MALE ADAPTER                                                                     $0.00                                     $7.55


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                   $10.92


           836-030 3" PVC SCH80
           MALE ADAPTER                                                                     $0.00                                     $6.89


           837-251 2" X 1-1/2" PVC
           SCH80 R BUS                                                                      $0.00                                   $14.15


           DR1812 12" DR18 C-900
           DI OD PVC GAS                                                                    $0.00                               $3,033.80


           DR1818 18" DR18 C-905
           DI OD PVC GAS                                                                    $0.00                               $1,772.80


           DR184 4" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                               $3,079.62


           DR188 8" DR18 C900 DI
           OD PVC GASKET                                                                    $0.00                                 $130.40


           DR254 4" DR25 C-900 DI
           OD PVC GASKE                                                                     $0.00                                 $139.00


           SDR212 2" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $542.10


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           SDR214 4" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $138.60


           SDR218 8" SDR21 IPS
           OD PVC GASKETED                                                                  $0.00                                 $398.40


           SDR268 8" SDR26 IPS
           OD PVC GASKETED                                                                  $0.00                                 $328.00


           DR1816 16" DR18 C-905
           DI OD PVC GAS                                                                    $0.00                               $1,779.60


           SDR218GREEN 8"
           SDR21 IPS OD PVC GAS                                                             $0.00                                   $99.60


           SDR216GREEN 6"
           SDR21 IPS OD PVC GAS                                                             $0.00                               $1,940.40


           SDR212GREEN 2"
           SDR21 IPS OD PVC GAS                                                             $0.00                               $2,260.14


           SDR216BLUE 6" SDR21
           IPS OD PVC GASK                                                                  $0.00                               $1,646.40


           SDR21FIPA2 2" SDR21
           IPS OD PVC GASK                                                                  $0.00                                 $118.14


           DR1110DIPSBS 10"
           DR11 DIPS OD 160 P                                                               $0.00                                 $234.00


           DR118IPSNS 8" DR11
           IPS OD HDPE WITH                                                                 $0.00                                 $969.60


           DR116IPSNS 6" DR11
           IPS OD HDPE PIPE                                                                 $0.00                               $1,933.20


           DR1110IPSNS 10" DR11
           IPS OD HDPE PI                                                                   $0.00                              $-4,230.00


           DR11MJA6IPSK 6" DR11
           MJ ADAPTER IPS                                                                   $0.00                                   $87.44


           ELECTROCPLG4IPS 4"
           IPS OD HDPE ELEC                                                                 $0.00                                 $179.70


           DR11MJA6DIPSK 6"
           DR11 DIPS OD HDPE                                                                $0.00                                   $87.44


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                Name



           DR9T3IPS 3" DR 9 IPS
           OD 200 PSI PRE                                                                   $0.00                                   $30.44


           DR11MJA3IPSK 3"
           HDPE MJ ADAPTER DR1                                                              $0.00                                 $113.60


           DR11MJA18DIPS 18" DR
           11 DIPS OD 160                                                                   $0.00                                     $0.00


           DR11T2IPS 2" X 2" TEE
           DR11 IPS OD 1                                                                    $0.00                                   $50.00


           DR11MJA20DIPS 20" DR
           11 DIPS OD 160                                                                   $0.00                                 $374.76


           ELECTROCPLG3IPS 3"
           IPS OD HDPE ELE                                                                  $0.00                                   $64.40


           DR11FA6IPS 6" DR11
           IPS OD 160 PSI P                                                                 $0.00                                   $86.07


           DR11FA4IPS 4" DR11
           IPS OD 160 PSI P                                                                 $0.00                                 $233.80


           ELECTROCPLG10IPS
           10" IPS OD HDPE EL                                                               $0.00                                 $742.29


           DR11902IPS 2" DR11
           IPS OD 160 PSI P                                                                 $0.00                                   $10.60


           DR11MJA6IPS 6" DR11
           IPS HDPE MJ ADA                                                                  $0.00                                   $80.00


           WTFBV-3C-075NL 3/4"
           FULL PORT 1/4 T                                                                  $0.00                                   $10.04


           WT909AGF AIR GAP
           FOR 1-1/4"-3" 009/                                                               $0.00                                   $42.94


           WTLF710-U2-100NL
           1-1/4" X 1" DUAL C                                                               $0.00                                   $73.35


           CL350TY8 8" CL350
           TYTON JOINT DUCTI                                                                $0.00                                 $112.49




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 829
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           CL350TY10 10"
           PRESSURE CLASS 350
           TY                                                                               $0.00                                $-413.40


           CL350TY8USP 8"
           CLASS 350 TYTON DUC                                                              $0.00                                 $321.40


           CL350TY6USP CLASS
           350 6" TYTON DUC                                                                 $0.00                               $1,229.10


           MUEA285 5-1/4"
           CENTURION HYDRANT
           A2                                                                               $0.00                                   $62.57


           MUEA5110.5 HYDRANT
           OIL 10-1/2 OZ BO                                                                 $0.00                                   $45.65


           MUE190349 5-1/4"
           SAFETY FLANGE O-RI                                                               $0.00                                   $20.11


           HRPIA320-010 5-1/4" X
           12" HYDRANT E                                                                    $0.00                                 $227.76


           200M11W-4L 4" MJ RW
           GATE VALVE, OPE                                                                  $0.00                                 $397.91


           M300075 AMERICAN
           M-300 GATE VALVE 3                                                               $0.00                                   $12.54


           M100150 AMERICAN
           1-1/2" M100 FULL P                                                               $0.00                                 $141.64


           H13442-075 8X3/4CC
           MUELLER BRONZE C                                                                 $0.00                               $1,187.12


           B25008N-150 1-1/2"
           BALL CORP VALVE                                                                  $0.00                                 $234.02


           H15028N-100 1" IP X
           COMPRESSION COR                                                                  $0.00                                   $41.28


           B24350N-100x075
           MUELLER 1" LOW LEAD                                                              $0.00                                 $314.12


           H15428N-075 3/4"
           COMPRESSION X MIP                                                                $0.00                                   $11.37




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 830
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           H15451N-075 3/4"
           COMPRESSION X FIP                                                                $0.00                                   $36.55


           119NL-H4H3 1" X 3/4"
           COUPLING, COMP                                                                   $0.00                                   $56.29


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $166.92


           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                   $56.27


           800-0450-A4 4" X 1"CC
           BRASS HINGED                                                                     $0.00                                 $163.55


           800-0663-A3 6" X 3/4"CC
           HINGED SADD                                                                      $0.00                                   $81.30


           800-0863-A3 8" X 3/4"CC
           SADDLE BRAS                                                                      $0.00                                   $55.86


           800-1075-A3
           CAMBRIDGE BRASS 10"
           X3                                                                               $0.00                                 $223.85


           81-B3 CAMBRIDGE
           BRASS 3/4" CAMPAK N                                                              $0.00                                   $15.53


           81-B4 CAMBRIDGE
           BRASS 1" CAMPAK NUT                                                              $0.00                                 $358.98


           81-B6 CAMBRIDGE
           BRASS 1-1/2" CAMPAK                                                              $0.00                                 $131.62


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                   $47.95


           SSINSERT150 1-1/2"
           STAINLESS STEEL                                                                  $0.00                                 $435.74


           SSINSERT200 2"
           STAINLESS STEEL INSE                                                             $0.00                                  $-18.86


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                 $177.63


           202NL-H3H3 3/4" BALL
           CURB STOP, LOW                                                                   $0.00                                 $175.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 831
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                Name



           224NL-H3F3 STRAIGHT
           METER VALVE RED                                                                  $0.00                                 $705.88


           224NL-H3T3 3/4" COMP
           X METER TAIL N                                                                   $0.00                                  $-79.72


           301NL-M7H7 2" CORP
           MIP X COMP LOW L                                                                 $0.00                                 $208.61


           212NL-H6H6 1-1/2"
           STRAIGHT METER VA                                                                $0.00                                $-212.77


           117NL-H7F7 2" FIP X
           COMP ADAPTER LO                                                                  $0.00                                   $55.53


           117NL-H4M4 1"
           COMPRESSION X 1" MIP                                                             $0.00                                   $39.93


           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                   $89.92


           302NL-A4H4 1"
           CORPORATION CC X
           CTS                                                                              $0.00                                 $259.56


           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                   $36.26


           301NL-A6B6 1-1/2"
           BALL CORPORATION,                                                                $0.00                                 $213.77


           302NL-A3H3 3/4"
           CORPORATION CC X CT                                                              $0.00                                   $98.06


           117NL-PE4M4 1" IDR7 X
           1" MIP ADAPTE                                                                    $0.00                                     $0.00


           CL1-7.00 X 12 X 1CC
           ROMAC SS CL1 T                                                                   $0.00                                 $243.56


           B84BHYDEXT12 12"
           HYDRANT EXTENSION                                                                $0.00                                 $294.93


           200W11WMATFGV4 4"
           FLANGED GATE VALV                                                                $0.00                                 $418.88




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 832
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           200M15W10L 10" MJ RW
           GATE VALVE OPE                                                                   $0.00                               $2,774.36


           200M13W6L 6" MJ RW
           GATE VALVE OPEN                                                                  $0.00                               $1,338.18


           HRPIMH557999 MAIN
           VALVE REPAIR KIT                                                                 $0.00                                   $64.08


           KV8068A4L 4" OS&Y
           FLANGED RW GATE V                                                                $0.00                                 $588.13


           MH4067-01-2L 2" MJ RW
           GATE VALVE OP                                                                    $0.00                                 $325.65


           FLTWSH058 5/8" USS
           FLAT WASHER                                                                      $0.00                                     $0.20


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                   $14.00


           HXBLT058300 5/8" X 3"
           HEX BOLT, GRA                                                                    $0.00                                     $7.14


           HXBLT075325 3/4" X
           3-1/4" HEX BOLT,                                                                 $0.00                                   $11.59


           HXNUT058 5/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $6.12


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                   $39.50


           HXNUT078 7/8" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $7.70


           MJGSKT2 2" MJ
           GASKET                                                                           $0.00                                     $1.86


           MJGSKT3 3" MJ
           GASKET                                                                           $0.00                                   $34.88


           MJGSKT6 6" MJ
           GASKET                                                                           $0.00                                   $23.25


           MJGSKT8 8" MJ
           GASKET                                                                           $0.00                                   $55.80



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 833
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                Name

           MJGSKT14 14" MJ
           GASKET                                                                           $0.00                                     $8.37


           MJGSKT16 16" MJ
           GASKET                                                                           $0.00                                   $33.48


           MJSDRTG4 4" MJ X
           SDR35 TRANSITION G                                                               $0.00                                   $15.45


           MJSDRTG10 10" MJ X
           SDR35 TRANSITION                                                                 $0.00                                 $100.94


           MJSDRTG12 12" MJ X
           SDR35 TRANSITION                                                                 $0.00                                   $92.70


           MJTRGSKT3 3" MJ
           TRANSITION GASKET                                                                $0.00                                     $2.58


           MJTRGSKT4 4" MJ
           TRANSITION GASKET                                                                $0.00                                     $6.18


           MJTRGSKT6 6" MJ
           TRANSITION GASKET                                                                $0.00                                   $36.05


           MJTRGSKT10 10" MJ
           TRANSITION GASKET                                                                $0.00                                   $12.36


           MJTRGSKT12 12" MJ
           TRANSITION GASKET                                                                $0.00                                   $43.26


           MJTRGSKT2 2" MJ
           TRANSITION GASKET                                                                $0.00                                     $2.06


           MJGLD3 3" MJ GLAND                                                               $0.00                                   $25.11


           MJGLD4 4" MJ GLAND                                                               $0.00                                   $51.15


           MJGLD6 6" MJ GLAND                                                               $0.00                                 $163.22


           MJGLD8 8" MJ GLAND                                                               $0.00                                 $141.36


           MJGLD10 10" MJ
           GLAND DG10                                                                       $0.00                                   $69.75


           MJGLD12 12" MJ
           GLAND                                                                            $0.00                                 $157.17



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 834
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MJSG8 8" MJ SPLIT
           GLAND                                                                            $0.00                                   $78.80


           MJGLD4DOM 4" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $246.60


           MJGLD6DOM 6" MJ
           GLAND, DOMESTIC                                                                  $0.00                                   $17.81


           MJGLD12DOM 12" MJ
           GLAND, DOMESTIC                                                                  $0.00                                 $142.48


           MJGLD3D 3" DOMESTIC
           MJ GLAND                                                                         $0.00                                   $10.30


           TBLT075350 3/4" X
           3-1/2" T-BOLT & N                                                                $0.00                                   $42.75


           TBLT075400 3/4" X 4"
           T-BOLT & NUT                                                                     $0.00                                   $97.02


           TBLT075450 3/4" X
           4-1/2" T-BOLT & N                                                                $0.00                                   $35.55


           MGP10 10" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $173.06


           MGP12 12" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $413.06


           MGP6 6" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $534.30


           MGP8 8" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                 $610.05


           MGP4 4" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                   $87.66


           MGP8T 8" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                 $147.05


           MGP3T 3" MJ
           TRANSITION GASKET
           AND B                                                                            $0.00                                     $4.15




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 835
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           MGP3 3" MJ GASKET
           AND BOLT PACK                                                                    $0.00                                     $3.50


           MGP36 36" MJ GASKET
           AND BOLT PACK 1                                                                  $0.00                                 $960.00


           TYGSKT6 6" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $115.56


           TYGSKT8 8" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $416.16


           TYGSKT16 16" TYTON
           GASKETS, PLAIN (                                                                 $0.00                                   $24.88


           TYGSKT3 3" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                   $96.40


           TYGSKT4 4" TYTON
           GASKET, PLAIN (SBR                                                               $0.00                                 $528.20


           TYGSKT10 10" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $59.22


           TYGSKT12 12" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $42.64


           TYGSKT14 14" TYTON
           GASKET, PLAIN (S                                                                 $0.00                                   $25.80


           4FA-BC 4" FOSTER
           ADAPTOR WITH MJ AC                                                               $0.00                                   $63.95


           EBA1103 3" DUCTILE
           IRON MEGALUG EBA                                                                 $0.00                                   $30.69


           RG-D16 16" DUCTILE
           IRON ROMAGRIP RE                                                                 $0.00                                 $231.61


           RG-D6 6" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                   $71.67


           RG-D8 8" DUCTILE IRON
           RESTRAINT ROM                                                                    $0.00                                  $-54.41


           RG-PV8 8" PVC
           RESTRAINT,
           ROMAGRIP,                                                                        $0.00                                   $34.09


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 836
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SGD6 6" STARGRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                   $35.09


           SGD8DOM 8" STARGRIP
           MJ RESTRAINT FO                                                                  $0.00                                 $284.76


           SGD6DOM 6" STARGRIP
           MJ RESTRAINT FO                                                                  $0.00                                 $214.58


           DSLDE8DOM 8" ONE
           LOK FOR DUCTILE IR                                                               $0.00                                 $559.22


           DSLDE16DOM 16" ONE
           LOK FOR DUCTILE                                                                  $0.00                                 $219.55


           202U-6.90X3/4CC
           TAPPING SADDLE (6.6                                                              $0.00                                   $40.14


           EZD08 8" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $131.51


           EZD10 10" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $844.66


           EZD04 4" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $148.80


           EZD06 6" EZ GRIP MJ
           RESTRAINT FOR D                                                                  $0.00                                 $102.08


           EZD12 12" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $283.99


           EZPVC03 3" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $35.46


           EZPVC08 8" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                 $242.88


           EZPVC06 6" EZ GRIP MJ
           RESTRAINT FOR                                                                    $0.00                                   $18.25


           ROM516-9.30 8" BELL
           JOINT LEAK CLAM                                                                  $0.00                                 $203.22


           DUCLUGS DUC LUGS                                                                 $0.00                                     $5.82



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 837
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           IBLT075 3/4" X 4" EYE
           BOLT                                                                             $0.00                                 $194.00


           RODCPLG058 5/8 ROD
           COUPLING                                                                         $0.00                                   $13.68


           RODCPLG075 3/4" ROD
           COUPLING 100PG-                                                                  $0.00                                   $19.33


           ALTHRD5810 5/8" x 10'
           THREADED ROD                                                                     $0.00                                   $58.80


           CSS06DIPS-16-CR 6"
           DIPS X 16" STAIN                                                                 $0.00                               $1,278.00


           CSS10IPS-16-CR 10" IPS
           CARRIER X 16                                                                     $0.00                                 $559.20


           PS-100-U ADJUSTABLE
           PIPE SUPPORT W                                                                   $0.00                                 $248.00


           WMC6 6" WATERMAIN
           CLAMPS 580B-6 SOC                                                                $0.00                                   $81.75


           WMC8 MODEL #590 8"
           WATER MAIN SOCKE                                                                 $0.00                                 $198.48


           FAP4FF 4" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-11.00


           FAP6FF 6" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                 $250.47


           FAP8FF 8" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                  $-11.88


           FAP10FF 10" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $169.08


           FAP12FF 12" FLANGE
           ACCESSORY PACK W                                                                 $0.00                                 $149.70


           FAP3FF 3" FLANGE
           ACCESSORY PACK WIT                                                               $0.00                                   $18.00


           VIC341FA12 12" 341
           AWWA FLANGE ADAP                                                                 $0.00                                 $378.40



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 838
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           GALVNIP-150X300 1-1/2"
           X 3" GALVANI                                                                     $0.00                                   $17.45


           GALVNIP-125X300 1-1/4"
           X 3" NIPPLE                                                                      $0.00                                   $24.45


           GALVNIP-50X500 1/2" X
           5" GALVANIZE                                                                     $0.00                                     $9.55


           GALVNIP-125X600 1-1/4"
           X 6" NIPPLE                                                                      $0.00                                   $25.08


           GALVT-200 2" TEE,
           GALVANIZED                                                                       $0.00                                     $5.54


           GALVCPLG-200 2"
           COUPLING
           GALVANIZED                                                                       $0.00                                   $10.05


           GALVCPLG-075 3/4"
           GALVANIZED COUPLI                                                                $0.00                                     $1.23


           GALV90-125 1 1/4"
           GALVANIZED 90 DEG                                                                $0.00                                   $36.74


           GALVCPLG-300 3"
           GALVAINZED
           COUPLING                                                                         $0.00                                 $284.07


           GALVUNION-100 1"
           GALVANIZED UNION                                                                 $0.00                                     $7.41


           BRNIP-075XCLS 3/4" X
           CLOSE BRASS NI                                                                   $0.00                                     $5.17


           BRNIP-100X200 1" X 2"
           BRASS NIPPLE                                                                     $0.00                                     $2.60


           BRNIP-100X300 1" X 3"
           BRASS NIPPLE                                                                     $0.00                                     $6.32


           BRNIP-100X400 1" X 4"
           BRASS NIPPLE                                                                     $0.00                                   $18.20


           BRNIP-100XCLS 1" X
           CLS BRASS NIPPLE                                                                 $0.00                                     $1.91




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 839
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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           BRNIP-150X300 1-1/2" X
           3" BRASS NIP                                                                     $0.00                                     $5.54


           BRNIP-150X600 1-1/2" X
           6" BRASS NIP                                                                     $0.00                                   $32.00


           BRNIP-150XCLS 1-1/2" X
           CLS BRASS NI                                                                     $0.00                                   $16.54


           BRNIP-200X400 2" X 4"
           BRASS NIPPLE                                                                     $0.00                                     $9.29


           BRNIP-200X600 2" X 6"
           BRASS NIPPLE                                                                     $0.00                                   $69.29


           BRNIP-100X800 1" X 8"
           BRASS NIPPLE                                                                     $0.00                                     $5.74


           BRP-075DNL 3/4" LOW
           LEAD BRASS PLUG                                                                  $0.00                                     $6.60


           BR90-075DNL 3/4" 90
           BEND, LOW LEAD                                                                   $0.00                                   $31.67


           BRNIP-100X600DOM 1"
           X 6" BRASS NIPP                                                                  $0.00                                   $13.40


           BRNIP-200X600DOM 2"
           X 6" BRASS NIPP                                                                  $0.00                                   $60.64


           BRNIP-200X1200DOM 2"
           X 12" BRASS NI                                                                   $0.00                                 $110.94


           BRNIP-200X1200D 2" X
           12" BRASS NIPP                                                                   $0.00                                 $119.48


           BR45-150 1 1/2" BRASS
           45 BEND THREA                                                                    $0.00                                   $16.80


           BRBSH-075X050 3/4" X
           1/2" BRASS BUS                                                                   $0.00                                     $1.33


           BRBSH-125X075 1-1/4"
           X 3/4" BRASS B                                                                   $0.00                                     $3.43


           BRBSH-150X125 1-1/2"
           X 1-1/4" BRASS                                                                   $0.00                                     $4.38



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 840
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           BRCAP-075 3/4" BRASS
           THREADED CAP I                                                                   $0.00                                   $14.43


           BRCAP-100 1" BRASS
           CAP THREADED IMP                                                                 $0.00                                     $2.51


           BRCAP-150 1 1/2"
           BRASS CAP THREADED                                                               $0.00                                   $15.47


           BRCPLG-125 1 1/4"
           BRASS COUPLING TH                                                                $0.00                                     $4.77


           BRCPLG-125X075 1 1/4"
           X 3/4" BRASS                                                                     $0.00                                     $6.48


           BRCPLG-150X125 1-1/2"
           X 1-1/4" BRAS                                                                    $0.00                                   $10.52


           BRPLG-125 1-1/4"
           BRASS PLUG THREADE                                                               $0.00                                     $2.67


           BRT-075 3/4" BRASS
           TEE THREADED 34T                                                                 $0.00                                     $3.05


           BRT-100 1" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                     $5.42


           BRT-125 1 1/4" BRASS
           TEE THREADED B                                                                   $0.00                                     $7.61


           BRT-150X075 1 1/2" X
           3/4" BRASS TEE                                                                   $0.00                                   $35.75


           BRT-150X100 1 1/2" X 1"
           BRASS TEE T                                                                      $0.00                                   $38.77


           BRT-200 2" BRASS TEE
           THREADED IMPOR                                                                   $0.00                                   $32.14


           BRNIP-100XCLSDOM 1"
           X CLOSE BRASS                                                                    $0.00                                     $8.43


           BRCPLG-200DNL 2"
           COUPLING, THREADED                                                               $0.00                                   $85.18


           BR90-200NL 2" 90
           BEND, THREADED B74                                                               $0.00                                   $27.85



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 841
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           BRBSH-100X050NL 1" X
           1/2" REDUCER B                                                                   $0.00                                     $7.68


           BRBSH-150X075NL
           1-1/2" X 3/4" REDUC                                                              $0.00                                     $6.02


           BRCPLG-100NL 1"
           COUPLING,THREADED
           B                                                                                $0.00                                  $-10.30


           BRPLG-100NL 1" PLUG
           THREADED, LOW L                                                                  $0.00                                     $2.46


           BRPLG-150NL 1-1/2"
           LOW LEAD BRASS P                                                                 $0.00                                     $4.67


           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                   $18.30


           BRT-150NL 1-1/2" TEE
           THREADED B7408                                                                   $0.00                                   $23.54


           BRCAP-200NL 2"
           BRASS CAP THREADED
           L                                                                                $0.00                                     $9.84


           BR90-150DNL 1-1/2"
           DOMESTIC LOW LEA                                                                 $0.00                                   $51.51


           BRT-100DNL 1"
           THREADED TEE, LOW
           LEA                                                                              $0.00                                 $178.35


           402-0963X06 JCM402
           (9.05-9.63) 3/4"                                                                 $0.00                                 $557.04


           402-1350X06 JCM402
           (12.75-13.50) X                                                                  $0.00                                 $108.24


           DST2 2" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                 $180.00


           DST3 3" X 1000'
           DETECTABLE SEWER
           TA                                                                               $0.00                                   $33.90




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 842
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DWT2 2" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $48.00


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $18.50


           DWT6 6" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $34.50


           TEFT050 1/2" X 520"
           TEFLON TAPE OAT                                                                  $0.00                                     $5.36


           SANDBAGS 14" x 26"
           POLYPROPYLENE SA                                                                 $0.00                                     $0.36


           FLU-72-WV
           GLASFORMS 6'
           FIBERGLASS V                                                                     $0.00                                   $47.44


           720-060AI-V 6'
           CARSONITE
           FIBERGLASS                                                                       $0.00                                 $253.50


           SAFETY RED FLAGS
           24" X 24" WITH 36"                                                               $0.00                                   $16.95


           MARKING FLAG 2-1/2" X
           3-1/2" GREEN                                                                     $0.00                                   $47.20


           MARKING FLAG 2-1/2" X
           3-1/2" BLUE (                                                                    $0.00                                   $59.00


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $13.30


           LUBEGAL LUBRICANT 1
           GAL CANS                                                                         $0.00                                   $52.30


           LUBEQT LUBRICANT 1
           QUART CAN                                                                        $0.00                                   $52.06


           PVCPRIMERPT PVC
           PRIMER PINT PURPLE                                                               $0.00                                   $13.96




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 843
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PVCPRIMERQT PVC
           PRIMER QUART
           PURPLE                                                                           $0.00                                   $29.07


           BASF EMACO THOROC
           PLUG HYDRAULIC CE                                                                $0.00                                   $39.00


           PRIMERCLEARQT
           CLEAR PRIMER
           CLEANER                                                                          $0.00                                    $-7.27


           PVCCEMENTQTROS
           RAIN OR SHINE
           MEDIUM                                                                           $0.00                                  $-12.31


           MSPLUGR HYDRAULIC
           CEMENT REGULAR S                                                                 $0.00                                 $984.00


           SEYMOUR #20-653
           PRECAUTION BLUE INV                                                              $0.00                                     $7.96


           SEYMOUR #20-655
           SAFETY GREEN INVERT                                                              $0.00                                   $23.88


           SEYMOUR #20-652
           WHITE INVERTED LEAD                                                              $0.00                                   $61.69


           SEYMOUR #20-678
           UTILITY YELLOW INVE                                                              $0.00                                 $167.16


           SEYMOUR #20-670
           ALERT ORANGE
           INVERT                                                                           $0.00                                   $47.76


           G01 SUPER SEAL 48"
           MANHOLE GASKET                                                                   $0.00                                 $186.00


           FOAM EARPLUGS IN
           PILLOW PACK 14380                                                                $0.00                                     $3.12


           GALVUNION075 3/4"
           GALV UNION                                                                       $0.00                                   $14.46


           6" WATTS #SS07F
           DETECTOR CHK.
           EPOXY                                                                            $0.00                                 $610.84


           MH211370 129 5-1/4"
           STANDPIPE GASKE                                                                  $0.00                                   $18.80


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 844
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                Name



           547511 M&H 4-1/2"
           UPPER VALVE PLATE                                                                $0.00                                 $161.88


           CSS06DIPS-12-CR 6"
           DIPS CARRIER X 1                                                                 $0.00                                 $294.00


           MH4068-02-6L MH 6" FL
           X FL RW VALV                                                                     $0.00                                 $718.17


           SPLICE KIT                                                                       $0.00                                   $30.00


           MH4500-02-12L 12"
           FLANGED BUTTERFLY                                                                $0.00                               $2,200.00


           RUBBER METER
           WASHERS 3/4" X 1/8"                                                              $0.00                                   $22.00


           800-0288-A4
           CAMBRIDGE BRASS 2
           1/2"                                                                             $0.00                                   $20.52


           GALVRED200X075 2 X
           3/4 GALVINIZED                                                                   $0.00                                   $11.36


           M&H 129 5-1/4" #557511
           TOP PLATE UP                                                                     $0.00                                 $381.22


           812-0480-A4 4" X 1" CC
           BRASS SADDLE                                                                     $0.00                                   $44.18


           812-0480-A6 4" X 1 1/2"
           CC BRASS SA                                                                      $0.00                                 $103.08


           812-0962-A3 8" X 3/4"
           CC BRASS SADD                                                                    $0.00                                   $64.42


           812-0962-A6 8" X 1 1/2"
           CC BRASS SA                                                                      $0.00                                 $135.64


           812-0962-A7 8" X 2" CC
           BRASS SADDLE                                                                     $0.00                                   $70.16


           812-0750-A3 6" X 3/4"
           CC BRASS SADD                                                                    $0.00                                 $208.16


           812-1212-A4 10" X 1" CC
           BRASS SADDL                                                                      $0.00                                   $79.81


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 845
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                Name



           812-1212-A6 10" X 1 1/2"
           CC BRASS S                                                                       $0.00                                 $175.30


           812-1438-A3 12" X 3/4"
           CC BRASS SAD                                                                     $0.00                                   $80.66


           812-1438-A4 12" X 1" CC
           BRASS SADDL                                                                      $0.00                                   $80.66


           812-1438-A6 12" X 1 1/2"
           CC BRASS S                                                                       $0.00                                 $200.22


           812-1438-A7 12" X 2" CC
           BRASS SADDL                                                                      $0.00                                 $203.88


           MH454095 MH MODEL
           129 2 1/2" HOSE N                                                                $0.00                                 $651.69


           6100-1315-150 1" COMP
           IP x MIP ADAP                                                                    $0.00                                   $39.08


           247-060 6" TEMPORARY
           PLUG (SPIGOT)                                                                    $0.00                                     $4.22


           135D-FG 2PC
           SAFE-T-COVER
           FIBERGLASS                                                                       $0.00                                 $121.60


           14' VALVE KEY                                                                    $0.00                                     $1.00


           144-015 1-1/2 HARCO
           PLUG                                                                             $0.00                                   $17.12


           22" X 1-1/2" THICK
           GRATE                                                                            $0.00                                 $146.22


           4" BACKWATER VALVE                                                               $0.00                                   $16.41


           409-040 4" SCH 40
           STREET 90                                                                        $0.00                                     $3.00


           448-012 1 1/4" SCH-40
           FIP CAP                                                                          $0.00                                     $1.22


           634-B DUST CAP FOR
           QUICK DISCONNECT                                                                 $0.00                                   $71.47



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 846
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                Name

           BHA363 1-1/2" FNST X
           1-1/2" MIP BRA                                                                   $0.00                                   $25.00


           BR2S0684CC075
           MUELLER BRZ DS SERV
           S                                                                                $0.00                                 $665.28


           BR2S0684CC100
           MUELLER BRZ D.S.
           SERV                                                                             $0.00                                 $285.84


           C9096 6" ULTRA BLUE
           PVC PIPE C-909                                                                   $0.00                               $2,060.00


           GALVNIP-250X300 2-1/2"
           X 3" GALVENI                                                                     $0.00                                     $6.00


           GALVNIP4X72 4" X 6'
           GALV PIPE                                                                        $0.00                                     $0.00


           GRAP-DI-4 4" ROMAC
           GRIPRING D.I. AC                                                                 $0.00                                 $179.76


           GREEN SAFETY FENCE                                                               $0.00                                   $26.00


           HXBLT058450 5/8" X
           4-1/2" HEX BOLT                                                                  $0.00                                   $21.96


           POLYWRAP16 PW16
           POLYWRAP 16"X440' 8                                                              $0.00                                   $99.00


           REEPES01CTS REED
           POLY SHUT OFF TOOL                                                               $0.00                                   $49.55


           S10ASB CRISPIN AIR
           AND VACUUM SEWER                                                                 $0.00                                 $934.40


           SDR35TY128 12" X 8"
           SDR 35 TEE WYE                                                                   $0.00                                 $184.76


           SWT902 2" SWEAT 90                                                               $0.00                                     $4.12


           reed 98418 part#8
           clamp ring for                                                                   $0.00                                     $8.85


           GALVNIP.50X2 1/2" X 2"
           GALVANIZED N                                                                     $0.00                                     $6.15



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 847
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           GALVNIP.5X3 1/2" X 3"
           GALVANIZED NI                                                                    $0.00                                     $7.28


           GALVNIP.5X4 1/2" X 4"
           GALVANIZED NI                                                                    $0.00                                     $9.00


           GALVNIP.5X6 1/2" X 6"
           GALVANIZED NI                                                                    $0.00                                     $4.05


           1084S 0-300 PSI 3"
           PRESSURE GAUGE 1                                                                 $0.00                                 $124.70


           462-08540985-000 8"
           462 QUANTUM SM                                                                   $0.00                                 $153.53


           MH454056 M&H 4 1/2"
           PUMPER NOZZLE                                                                    $0.00                                 $286.68


           YS21S8-015SR 1 1/2"
           SPEARS PVC Y-S                                                                   $0.00                                 $133.30


           POP ITS PLASTIC
           PLUGS FOR CONCRET                                                                $0.00                                   $10.00


           B7W 4" MANHOLE
           BOOT FOR PVC & D.I.                                                              $0.00                                   $55.00


           JCM402-0905-09CC 8" X
           1" DOUBLE STR                                                                    $0.00                                     $0.00


           SSIM-1218-CR-1 12" X
           18" STAINLESS                                                                    $0.00                                 $232.00


           UTTS86 8" X 6"
           TAPPING SLEEVE, TYLE                                                             $0.00                               $2,808.00


           LP-1 MANHOLE
           LIFTING PIN (EACH) FO                                                            $0.00                                 $360.00


           MH574012 M&H 2 1/2"
           NST NOZZLE CAP                                                                   $0.00                                 $409.50


           LHC58700-00 POCKET
           COLORIMETER II/C                                                                 $0.00                                 $352.00


           LHC59531-00 HOLSTER
           FOR HACH POCKET                                                                  $0.00                                   $31.70



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 848
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           SCP24.250 24" .250
           WALL STEEL CASIN                                                                 $0.00                                 $640.00


           QC458 QUALITY
           CULVERT 8" 45
           DEGREE                                                                           $0.00                                     $0.00


           DMF124 TEE 12" MJ X 4"
           FLANGE DUCTI                                                                     $0.00                                 $193.44


           WTN45B-100 1" WATTS
           N45B PRESSURE                                                                    $0.00                                 $185.16


           38-0532 JAMES JONES
           SERIES J-995 BR                                                                  $0.00                                     $0.00


           HYDROSERT100 1" CTS
           HYDROSERT COUP                                                                   $0.00                                 $248.00


           CHAMFERTOOL 3/4" X
           1" CTS CHAMFERI                                                                  $0.00                                   $21.99


           HYDROSERT075L 3/4"
           LONG CTS HYDROS                                                                  $0.00                                 $542.50


           231-06083810D-DJ400-6
           X8.38 6" ROMAC                                                                   $0.00                                 $353.03


           MH451064 5" NST
           PUMPER NOZZLE FOR
           M                                                                                $0.00                               $1,146.72


           MH582012 M&H 129
           NST PUMPER NOZZLE                                                                $0.00                               $1,335.60


           PLG-50H 5 GALLON
           HOT MIX HYDRAULIC                                                                $0.00                                 $770.00


           DR1812G 12" DR18 PVC
           PIPE GREEN 235                                                                   $0.00                               $1,224.00


           1015-12LL CARSON
           PLASTIC METER BOX                                                                $0.00                                 $453.26


           S110-07 3/4" IPS PVC
           COMPRESSION CO                                                                   $0.00                                     $7.88




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 849
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                Name

           2.5" CONDUIT SDR13.5
           2000' 96" DIAM                                                                   $0.00                                     $0.00


           HIGHFIELD 93180106 #5
           LOCK W/ END C                                                                    $0.00                                   $32.70


           8PIPESTRAP 8" STEEL
           PIPE STRAP 9.05                                                                  $0.00                                 $255.00


           USF152-CAMDEN 24"
           MANHOLE SEWER COV                                                                $0.00                                 $110.00


           UTTS64 UNION/TYLER
           TAPPING SLEEVE                                                                   $0.00                                     $0.00


           QC2215 15" 22 BEND
           QUALITY CULVERT                                                                  $0.00                                     $0.00


           WANCHORBOLT058X60
           0SS 5/8" X 6" WEDG                                                               $0.00                                     $0.00


           DMS10LPD401 10" C153
           MECHANICAL JOI                                                                   $0.00                                 $136.67


           KEN0SY6-R8B R-8
           PACKING BOLTS FOR 6                                                              $0.00                                   $58.08


           KEN0SY6-R8N R-8 OSY
           PACKING NUTS 4                                                                   $0.00                                   $29.04


           413-03500288-103 2.5" X
           3" TRANSITI                                                                      $0.00                                     $0.00


           117NL-H4F4 1" COMP X
           FIP ADAPTER LO                                                                   $0.00                                   $96.18


           DMR83D 8" X 3" C153
           MECHANICAL JOIN                                                                  $0.00                                 $151.34


           QCY156 15" X 6"
           QUALITY CULVERT DUA                                                              $0.00                                   $70.00


           LANEANTISEEP8 8"
           HDPE ANTI SEEP COL                                                               $0.00                                 $253.00


           529664 SEAL PLATE
           FOR 10-12" MH 406                                                                $0.00                                 $117.36



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 850
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                Name

           CT250L20 2-1/2" TYPE L
           COPPER 20FT                                                                      $0.00                                 $114.00


           HXBLT78350 7/8" X
           3-1/2" PLATED GRA                                                                $0.00                                   $11.60


           MH596021 M&H VALVE
           6" STUFFING BOX                                                                  $0.00                                 $180.95


           KENOSY6-R11 PACKING
           FOR 6" OR 8" OS                                                                  $0.00                                 $106.48


           1730-1205 CARSON
           SUPER JUMBO METER                                                                $0.00                                $-277.82


           MIAMI DADE 7635
           CLEANOUT BOX
           FULTON                                                                           $0.00                                 $321.00


           B41-344W-NL FORD 1"
           LOW LEAD CURB P                                                                  $0.00                                 $112.34


           DMB4512D401 12"
           DUCTILE MECHANICAL                                                               $0.00                                 $424.00


           DMB2212D401 12"
           DUCTILE MECHANICAL                                                               $0.00                                 $380.00


           MB-1117L 11" X 17"
           SOLID CAST IRON                                                                  $0.00                                 $240.70


           MB-1117LR 11" X 17"
           CAST IRON METE                                                                   $0.00                                   $84.50


           212NL-F6F6 1-1/2 FIP
           METER VALVE FU                                                                   $0.00                                 $373.55


           202U-9.05X1CC ROMAC
           TAPPING SADDLE                                                                   $0.00                                 $224.87


           117NL-H3F3 3/4" FIP X
           CTS COMPRESSI                                                                    $0.00                                 $200.86


           101NS-2.13X1CC 1-1/2"
           x 1" CC 101 S                                                                    $0.00                                   $82.20


           ALPHA-A-9.10 8" ALPHA
           WIDE RANGE RE                                                                    $0.00                                 $277.95


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 851
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                Name



           3/4UFX34F-700XL 3/4" X
           3/4" CHECK V                                                                     $0.00                                   $24.09


           BRCPLG-150DNL 1-1/2"
           LOW LEAD BRASS                                                                   $0.00                                   $34.35


           224NL-C3F3 STRAIGHT
           METER VALVE WI                                                                   $0.00                                 $282.45


           224NL-H4F4 REDUCED
           PORT CURB STOP W                                                                 $0.00                                 $569.25


           MH498720 8" M&H 4067
           GATE VALVE OPE                                                                   $0.00                                   $71.50


           BRCPLG-100DNL 1"
           BRASS COUPLING, DO                                                               $0.00                                   $31.64


           301NL-M6F6 1-1/2" MIP
           X FIP BALL CO                                                                    $0.00                                 $206.84


           212NL-F7F7 2" FIP X FIP
           METER VALVE                                                                      $0.00                                 $906.50


           212NL-F4F4 1" FIP X FIP
           METER VALVE                                                                      $0.00                                 $738.48


           SDR3511BXB8 8" 11
           DEGREE BEND SDR35                                                                $0.00                                 $183.90


           GALVNIP-075X400D 3/4"
           X 4" DOMESITC                                                                    $0.00                                     $9.04


           301NL-M6H6
           CAMBRIDGE BRASS
           1-1/2" L                                                                         $0.00                                 $320.64


           GALVNIP-100XCLSDOM
           1" X CLOSE DOME                                                                  $0.00                                   $12.34


           HHCH31-344-NL FORD
           3/4" X 1" STRAIG                                                                 $0.00                                 $258.84


           81-PJ7 2" IPS PVC
           PACK JOINT NUT                                                                   $0.00                                   $76.10




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 852
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           975XL2LF 3/4" 975XL
           REDUCED PRESSUR                                                                  $0.00                                 $208.50


           BLADEDI14201
           ASPHALT/ DUCTILE
           BLADE                                                                            $0.00                                 $949.00


           301NL-A3C3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                 $351.80


           430NL-3 5/8 x 3/4
           EXPANSION CONNECT                                                                $0.00                                   $16.83


           SFGPRB 48" SITE SAFE
           UTILITY PROBE                                                                    $0.00                                   $22.00


           RP500200 RP-500-200 2"
           RPZ BACKFLOW                                                                     $0.00                                 $261.25


           DC500150 1-1/2"
           DOUBLE CHECK
           BACKFL                                                                           $0.00                                 $308.00


           DC500075 3/4" DOUBLE
           CHECK BACKFLOW                                                                   $0.00                                 $657.00


           MCD74620NL-075X1200
           3/4" METER (5/8                                                                  $0.00                               $2,799.55


           6AKC7 1-1/2" FIRE
           HOSE NOZZLE FIP I                                                                $0.00                                   $34.99


           CAR910BLK 9" BLACK
           IRRIGATION BOX P                                                                 $0.00                               $1,526.56


           SWTMA2.50 2 1/2"
           COPPER SWEAT MALE                                                                $0.00                                   $23.81


           SWTFA2.50 2 1/2"
           COPPER SWEAT FEMAL                                                               $0.00                                   $28.40


           JCM402-0690-14 6" X 2"
           IP SADDLE, D                                                                     $0.00                                   $28.05


           JCM452-3830X6 36" X 6"
           TAPPING SLEE                                                                     $0.00                               $1,584.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 853
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           JCM408-0745X14 JCM
           #408 6" X 2" IP                                                                  $0.00                                   $62.56


           JCM408-0745X07 JCM
           #408 6" X 3/4" C                                                                 $0.00                                 $103.50


           JCM432-1320X8 12" X 8"
           TAP SLEEVE W                                                                     $0.00                               $1,051.26


           PIV-ULFM VERTICAL
           UL/FM ADJUSTABLE                                                                 $0.00                                 $375.00


           ROMACSST9.60X6
           ROMAC SST TAPPING
           SL                                                                               $0.00                                 $553.29


           SWTFEM3 3" COPPER
           SWEAT FEMALE ADAP                                                                $0.00                                   $35.86


           MATCO4OSYLAWWA
           MATCO4OSYL 4"
           FLANGE                                                                           $0.00                                 $840.00


           BFP4-OS 4"
           AQUASHIELD
           STANDARD ENCL                                                                    $0.00                                     $0.00


           SSCGLOVEMD
           STANDARD SAFETY
           CUFF LEA                                                                         $0.00                                   $18.00


           SSCGLOVELG
           STANDARD SAFETY
           CUFF LEA                                                                         $0.00                                   $18.00


           CL1-7.24 X 12 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                 $130.28


           4012-0940-150-EXT 8" X
           12" EZ-MAX F                                                                     $0.00                                 $590.07


           0065-0030-003
           DRESSER 1/2" STYLE
           65                                                                               $0.00                                   $12.09


           TRU364-9982 RWDS
           DUAL SIDED SOCKET                                                                $0.00                                   $46.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 854
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           REED04510 18"
           PLASTIC PIPE SAW
           #045                                                                             $0.00                                   $30.30


           REEPPS18B
           REPLACEMENT BLADE
           FOR PVC                                                                          $0.00                                     $8.77


           REETC1Q CUTTER,
           QUICK-RELEASE, 1/8"                                                              $0.00                                   $31.55


           REETC2Q 1/4" - 2-5/8"
           CUTTER QUICK                                                                     $0.00                                   $58.02


           REEMH36 36"
           MANHOLE HOOKS,
           #02303 R                                                                         $0.00                                   $24.52


           ALTHRD07510 3/4" X 10'
           ALL THREADED                                                                     $0.00                                 $285.60


           SDR26/354 4" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $116.14


           SDR26/356 6" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $928.20


           SDR26/358 8" SDR26/35
           HEAVY WALL SE                                                                    $0.00                                 $892.64


           SDR354 4" PVC SDR35
           PVC GRAVITY SEW                                                                  $0.00                                   $97.65


           SDR356 6" SDR35 PVC
           SDR35 GRAVITY G                                                                  $0.00                                   $93.35


           SDR3510 10" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $131.32


           SDR3512 12" PVC
           SDR35 GRAVITY
           SEWER                                                                            $0.00                                 $659.54


           SDR26/35456BXB 6" 45
           DEGREE BEND HE                                                                   $0.00                                   $36.57


           SDR26/35456P 6"
           SDR26/35 45 BEND BE                                                              $0.00                                   $12.92


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 855
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SDR26/35TY44 4"
           SDR26/35 TEE WYE HE                                                              $0.00                                 $156.73


           SDR26/35TY84BXP 8" X
           4" SDR26/35 T                                                                    $0.00                                   $86.12


           SDR3522BXB10 10" PVC
           SDR35 22-1/2 B                                                                   $0.00                                 $155.59


           SDR3522BXB4 4" PVC
           22-1/2 BEND, BEL                                                                 $0.00                                   $89.14


           SDR3522BXB6 6" SDR35
           22-1/2 BEND, B                                                                   $0.00                                   $19.51


           SDR3522BXP4 4" PVC
           SDR35 22-1/2 BEN                                                                 $0.00                                   $23.56


           SDR3545BXB10 10" PVC
           SDR35 45 BEND                                                                    $0.00                                 $292.42


           SDR3545BXB4 4" PVC
           SDR35 45 BEND BE                                                                 $0.00                                   $69.41


           SDR3545BXB6 6" PVC
           SDR35 45 DEGREE                                                                  $0.00                                   $10.07


           SDR3590BXB4 4" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $24.96


           SDR3590BXB6 6" PVC
           SDR35 90 BEND BE                                                                 $0.00                                   $68.87


           SDR35CAP4 4" PVC
           SDR35 CAP G1604 35                                                               $0.00                                     $9.61


           SDR35CAP6 6" PVC
           SDR35 CAP, G1606 3                                                               $0.00                                   $12.00


           SDR35CAP8 8" PVC
           SDR35 CAP, G1608 0                                                               $0.00                                   $16.19


           SDR35PLG4 4" PVC
           SDR35 PLUG, G1164                                                                $0.00                                     $9.66


           SDR35PLG6 6" SDR35
           PLUG, G1166 35-1                                                                 $0.00                                     $3.70


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 856
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SDR35R106 10" X 6"
           PVC SDR35 REDUCE                                                                 $0.00                                 $269.52


           SDR35R64 6" X 4"
           ECCENTRIC SDR35 PV                                                               $0.00                                     $9.36


           SDR35R86 8" X 6" PVC
           SDR35 REDUCER                                                                    $0.00                                   $28.65


           SDR35REPCPLG10 10"
           SDR35 REPAIR COU                                                                 $0.00                                   $46.12


           SDR35REPCPLG6 6"
           REPAIR COUPLING, S                                                               $0.00                                   $12.24


           SDR35REPCPLG8 8"
           SDR35 REPAIR COUPL                                                               $0.00                                   $41.56


           SDR35SADY124 12" X 4"
           SADDLE WYE, P                                                                    $0.00                                   $48.94


           SDR35SADY84 8" X 4"
           SADDLE WYE PVC                                                                   $0.00                                   $17.72


           SDR35T44 4 X 4 PVC
           SDR35 TEE G104 3                                                                 $0.00                                   $24.09


           SDR35TY44 4" X 4" PVC
           SDR35 TEE WYE                                                                    $0.00                                   $76.34


           SDR35TY64 6" x 4" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $41.31


           SDR35TY66 6" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                   $24.09


           SDR35TY86 8" X 6" PVC
           SDR35 TEE-WYE                                                                    $0.00                                 $292.91


           SDR35Y1210 12" X 10"
           PVC SDR35 WYE                                                                    $0.00                                 $213.33


           SDR35Y128 12" X 8"
           PVC SDR35 WYE L3                                                                 $0.00                                 $174.53


           SDR35Y84 8" X 4" PVC
           SDR35 WYE G308                                                                   $0.00                                   $51.74


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 857
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name



           SDR35Y86 8" X 6" PVC
           SDR35 WYE G308                                                                   $0.00                                 $123.40


           SDR35YBXP84 8X4
           SDR35 WYE BXP G328-                                                              $0.00                                 $131.90


           DWVTY44P 4" x 4" DWV
           SANITARY TEE S                                                                   $0.00                                   $27.49


           PVCCOA4H 4" PVC
           CLEANOUT ADAPTER
           SE                                                                               $0.00                                   $54.74


           PVCCOA6 6" PVC
           CLEANOUT ADAPTOR
           SEW                                                                              $0.00                                 $258.52


           PVCCOP4 4" PVC
           CLEANOUT RAISED
           PLUG                                                                             $0.00                                   $17.32


           PVCCOP6 6" PVC
           CLEANOUT PLUG;
           V2006                                                                            $0.00                                   $94.41


           SVCOF4 4" SV
           CLEANOUT WITH 3-1/2"
           B                                                                                $0.00                                     $9.75


           SVCOF6 6" SV
           CLEANOUT WITH PLUG
           187                                                                              $0.00                                   $71.12


           DWV223 3" PVC DWV 22
           BEND BXB P/N 7                                                                   $0.00                                     $2.97


           DWV453 3" PVC DWV 45
           BEND, P/N 7063                                                                   $0.00                                     $1.51


           DWV902 2" PVC DWV 90
           BEND,P/N 72820                                                                   $0.00                                     $2.29


           DWVCAP4 4" PVC DWV
           CAP P/N 70154 D1                                                                 $0.00                                     $5.52


           DWVY44 4" PVC DWV
           SCH40 WYE, 71040,                                                                $0.00                                   $44.64




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 858
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DWVY66 6" SCH40 PVC
           DWV WYE 71060,                                                                   $0.00                                   $16.20


           DWV454 4" DWV 45
           BEND, BELL X BELL                                                                $0.00                                   $66.03


           SEC8S 8" HDPE SOLID
           PIPE, SOUTHEAST                                                                  $0.00                                 $330.00


           SEC10S 10" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $344.00


           SEC12S 12" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                   $86.20


           SEC15S 15" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $649.20


           SEC18S 18" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $272.40


           SEC24S 24" HDPE
           SOLID PIPE SOUTHEAS                                                              $0.00                                 $237.00


           SEC4S 4" SOLID HDPE
           PIPE, SOUTHEAST                                                                  $0.00                                 $232.00


           SEC6S 6" DUAL WALL
           CORRUGATED HDPE                                                                  $0.00                                 $151.80


           HWYSCPLG6 6" HDPE
           MOLDED SINGLE WAL                                                                $0.00                                   $50.66


           HWYCAP6 6" HDPE
           MOLDED SINGLE WALL                                                               $0.00                                     $9.32


           LANEDSA34 3" X 4" X 4"
           DOWNSPOUT AD                                                                     $0.00                                 $114.00


           Q4HCEC INFILTRATOR
           Q4 HIGH CAPACITY                                                                 $0.00                                     $0.00


           SECCPLG8 8" HDPE
           SPLIT COUPLING SOU                                                               $0.00                                     $9.00


           SECCPLG12 12" HDPE
           SPLIT COUPLING S                                                                 $0.00                                   $40.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 859
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SECCPLG10 10" SPLIT
           COUPLING HDPE S                                                                  $0.00                                   $18.00


           SECT12 12" HDPE TEE,
           SOUTHEAST CULV                                                                   $0.00                                     $0.00


           SEC458 8" 45 BEND
           DUAL WALL HDPE, S                                                                $0.00                                   $20.00


           SECY66 6" X 6" DUAL
           WALL HDPE WYE S                                                                  $0.00                                   $23.00


           SEC4512 12" 45
           DEGREE BEND,HDPE
           DUA                                                                              $0.00                                   $35.00


           HWY906 6"
           CORRUGATED 90
           BEND, C-306                                                                      $0.00                                     $5.12


           CMRRCPLG24 24"
           CORRUGATED
           REROLLED                                                                         $0.00                                   $17.55


           CMDIMCPLG12 12"
           CORRUGATED DIMPLE
           C                                                                                $0.00                                   $17.20


           CMES15 15"
           CORRUGATED END
           SECTION 1                                                                        $0.00                                 $106.00


           01-64 6 X 4 CLAY/CLAY
           COUPLING                                                                         $0.00                                   $17.21


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $12.52


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $20.09


           02-86 8" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $13.62


           06-66 6" X 6"
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                   $40.55


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 860
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                Name



           06-88 8 X 8
           CONC/CI,PLAS
           COUPLING                                                                         $0.00                                 $133.97


           51-44 4" X 4"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $66.64


           51-66 6" X 6"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $31.75


           51-88 8" X 8"
           AC,DI/CI,PLAS COUPLIN                                                            $0.00                                   $60.90


           56-33 3" X 3" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $10.98


           56-43 4" X 3"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $11.08


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                     $9.39


           56-64 6" X 4"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                     $7.86


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $46.88


           56-86 8" X 6"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $27.30


           56-88 8" X 8"
           CI,PLAS/CI,PLAS
           COUPL                                                                            $0.00                                   $72.12


           56-1010 10" X 10"
           CI,PLAS/CI PLAS C                                                                $0.00                                   $30.93


           56-1212 12" X 12"
           CI,PLAS/ CI,PLAS                                                                 $0.00                                   $18.05


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                     $7.10


           WNTP4 4" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                     $7.25



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 861
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                Name

           WNTP6 6" WING NUT
           TEST PLUG CIRCLE                                                                 $0.00                                   $21.40


           CHE270-296 4" INSIDE
           GRIPPER PLUG C                                                                   $0.00                                     $9.10


           CHE270-040 4" TEST
           BALL PLUG CHERNE                                                                 $0.00                                   $23.88


           CHE262-048 4"
           MUNI-BALL WITH
           BRASS                                                                            $0.00                                   $93.80


           NDS1245 3"-4" OFFSET,
           UNIVERSAL LOC                                                                    $0.00                                     $4.00


           NDS1266 6" UNIVERSAL
           ADAPTER NDS                                                                      $0.00                                   $13.45


           NDS2400 NDS 24 x 24 X
           2 CATCH BASI                                                                     $0.00                                 $245.85


           NDS2410 NDS
           UNIVERSAL
           ADAPTER,12" C                                                                    $0.00                                   $26.58


           NDS2411 NDS 24 X 24
           GRATE, BLACK, N                                                                  $0.00                                 $232.56


           NDSD1200-SPLO 12"
           NDS METER BOX SOL                                                                $0.00                                 $652.81


           NDSD1500-PLPR 15"
           NDS PLASTIC LID O                                                                $0.00                                 $511.11


           RUSCO RUSCO CAST
           IRON LIDS FOR NDSD                                                               $0.00                                 $346.45


           GR2 6"H CONCRETE
           GRADE RINGS                                                                      $0.00                                   $50.00


           RBSHF SHORTHANDLE
           FLAT SHOVEL UNI42                                                                $0.00                                   $31.12


           226-00045012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                   $84.75




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           226-00048012-000 4" X
           12-1/2"REPAIR                                                                    $0.00                                 $170.28


           226-00066312-000 6" X
           12-1/2" REPAI                                                                    $0.00                                   $96.66


           226-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                   $98.07


           226-00086312-000 8" X
           12-1/2" REPAI                                                                    $0.00                                 $113.98


           226-00132012-000 12" X
           12-1/2" REPA                                                                     $0.00                                 $162.06


           244-00008403-000 1/2" X
           3" 0.84 OD                                                                       $0.00                                   $36.87


           244-00016606-000 1-1/4
           X 6" REPAIR                                                                      $0.00                                   $80.51


           245-00010503-000 3/4" X
           3" 1.05 OD                                                                       $0.00                                   $70.60


           245-00013203-000 SMITH
           BLAIR 1" X 3                                                                     $0.00                                   $41.55


           245-00019003-000 SMITH
           BLAIR 1-1/2"                                                                     $0.00                                   $26.19


           274-00000380-000
           274-1023 SMITH BLA                                                               $0.00                                 $213.84


           315-00045507-000
           3"X3/4"CC (3.74-4.                                                               $0.00                                 $169.67


           317-00087209-000 6"-8"
           X 1" CC (7.6                                                                     $0.00                                   $65.33


           441-00001075-900 10"
           10.50-10.75 OD                                                                   $0.00                                 $257.99


           525-000105-003 3/4"
           COMPRESSION COU                                                                  $0.00                                   $45.20


           525-00023800-003 2"
           COMPRESSION COU                                                                  $0.00                                   $71.15



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 863
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           317-00156509-000 14" X
           1"CC 14.73 -                                                                     $0.00                                 $321.10


           226-00069012-001 6"
           REPAIR CLAMP WI                                                                  $0.00                                 $119.75


           313-00069015-000
           SMITH BLAIR 6"X2"                                                                $0.00                                   $32.03


           313-00132014-000 12" X
           2" NPT SADDL                                                                     $0.00                                 $124.35


           BF2000T 2000 LB
           BUCKET FORKS
           (PORTA                                                                           $0.00                                 $875.00


           MUE88366 TAPPING
           GREASE, MUELLER                                                                  $0.00                                   $12.83


           BECKSON HAND PUMP
           PVC MODEL 136PF-6                                                                $0.00                                   $86.40


           MIGHTY PROBE
           REPLACEMENT TIP,
           TIPS                                                                             $0.00                                     $3.73


           BLADEDI1420 14" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                   $51.00


           BLADEDI1220 12" X 1/8"
           X 20MM DUCTI                                                                     $0.00                                     $4.98


           BLADEDI121 12" X 1/8"
           X 1" DUCTILE                                                                     $0.00                                 $535.50


           MHPIB B INDICATOR
           POST EXTENDS TO 5                                                                $0.00                                $-528.00


           MHPIPLATE6 6" POST
           INDICATOR PLATE                                                                  $0.00                                     $0.00


           VB262 VALVE BOX
           24-36 SCREW TYPE WI                                                              $0.00                                 $365.00


           VBP24R CONCRETE
           VALVE BOX PAD 24" R                                                              $0.00                                 $378.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 864
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           BF6DI 6" BLIND
           FLANGE, DUCTILE IRON                                                             $0.00                                   $46.97


           BFT6X2DI 6" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                 $121.83


           BFT8X2DI 8" X 2"
           TAPPED BLIND FLANG                                                               $0.00                                  $-93.00


           TCFC2 2" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $40.17


           TCFC4DI 4" THREADED
           COMPANION FLANG                                                                  $0.00                                   $47.38


           TCFC6 6" THREADED
           COMPANION FLANGE                                                                 $0.00                                   $33.99


           FLFL62 6" X 2'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $149.20


           FLFL61 6" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $247.20


           FLFL81 8" X 1'0"
           FLANGE X FLANGE DU                                                               $0.00                                 $182.00


           FLPE33 3" X 3' FLANGE
           X PLAIN END D                                                                    $0.00                                 $157.70


           FLPE66 6" X 6' FLANGE
           X PLAIN END D                                                                    $0.00                                 $801.60


           FLFL41-.75 4" x 12 3/4"
           FL x FL DI                                                                       $0.00                                 $326.00


           FILFL4-3+ 4" X 3-1/4"
           THICK FILLER                                                                     $0.00                                 $141.13


           INSERT075CTSPLASTIC
           3/4" POLY STIFF                                                                  $0.00                                     $9.10


           INSERT1CTSPLASTIC 1"
           PLASTIC INSERT                                                                   $0.00                                 $156.00


           PECTS2X100 2" X 100'
           CTS 200 PSI PO                                                                   $0.00                                 $204.40



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 865
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           TW14G500CD 14 GA
           COPPER CLAD TRACER                                                               $0.00                                   $27.00


           TW14B500CD 14GA
           COPPER CLAD BLUE
           TR                                                                               $0.00                                   $26.13


           CT100K60 1" X 60' K
           COPPER TUBING                                                                    $0.00                                 $212.52


           TAILPC075NL 3/4" TAIL
           PIECE, LOW LE                                                                    $0.00                                 $144.65


           METGSKT2 2" OVAL
           METER GASKET WITH                                                                $0.00                                     $2.85


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                     $2.55


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                     $4.00


           RUBBER METER
           WASHER 3/4" X 1/16"                                                              $0.00                                     $0.00


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $60.28


           MFP150NL 1-1/2"
           BRONZE OVAL METER
           F                                                                                $0.00                                 $144.48


           NEPT10STDGAL5875
           NEPTUNE 5/8 X 3/4                                                                $0.00                                   $37.50


           C.H. 5/8" X 3/4" LID
           CONCRETE LID                                                                     $0.00                                   $53.50


           HIGHFIELD 93210120
           LOCKSEAL HEAD LE                                                                 $0.00                                   $13.29


           CAR1730-1230 17" X 30"
           X 18" METER                                                                      $0.00                                 $274.62


           9075S01 3/4" C900 UNIT
           W/ SPEED HAN                                                                     $0.00                                 $368.18




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 866
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           20012CI 12" CAST IRON
           SIZE NAP200 U                                                                    $0.00                                   $87.35


           2003CI 3" CAST IRON
           SIZE NAP200 UNI                                                                  $0.00                                   $20.62


           DMAP624 6" X 24" DM
           ANCHOR PIPE                                                                      $0.00                                 $272.62


           DMAP812 8" X 12"
           ANCHOR COUPLING                                                                  $0.00                                 $141.02


           DMB1112 12" MJ C153
           11-1/4 DEGREE B                                                                  $0.00                                 $106.26


           DMB116 6" 11-1/4
           DEGREE BEND, MJ, C                                                               $0.00                                 $116.13


           DMB118 8" MJ 11-1/4
           DEGREE BEND, C1                                                                  $0.00                                   $52.54


           DMB226 6" 22-1/2
           DEGREE BEND, MJ, C                                                               $0.00                                   $37.53


           DMB226P 6" MJ X PE
           22-1/2 DEGREE BE                                                                 $0.00                                   $94.80


           DMB228 8" MJ 22-1/2
           DEGREE BEND, C1                                                                  $0.00                                 $290.33


           DMB456 6" 45 DEGREE
           BEND, MJ, C153                                                                   $0.00                                   $40.69


           DMB458P 8" MJ x PE MJ
           45 DEGREE BEN                                                                    $0.00                                   $72.68


           DMB9010 10" MJ 90
           DEGREE BEND C153                                                                 $0.00                                 $232.26


           DMB9012 12" MJ C153
           90 DEGREE BEND                                                                   $0.00                                 $312.84


           DMB906 6" 90 DEGREE
           BEND, MJ, C153                                                                   $0.00                                 $100.33


           DMC2 2" MJ C153 CAP,
           DUCTILE IRON                                                                     $0.00                                   $21.33



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 867
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMC8 8" CAP, MJ, C153,
           DUCTILE IRON                                                                     $0.00                                   $33.18


           DMHT66 6" X 6" MJ
           C153 HYDRANT TEE                                                                 $0.00                                 $251.22


           DMP10 10" MJ C153
           PLUG,DUCTILE IRON                                                                $0.00                                   $69.92


           DMP3 3"
           PLUG,MJ,C153,DUCTILE
           IRON                                                                             $0.00                                   $48.59


           DMP4 4" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $13.83


           DMP6 6" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $52.93


           DMP8 8" PLUG, MJ,
           C153,DUCTILE IRON                                                                $0.00                                   $79.79


           DMR106 10" X 6" MJ
           C153 REDUCER DUC                                                                 $0.00                                   $54.91


           DMR106P 10" X 6"
           DUCTILE MECHANICAL                                                               $0.00                                 $146.15


           DMS10LP 10" MJ
           SLEEVE LONG
           PATTERN                                                                          $0.00                                   $88.48


           DMS4LP 4" MJ C153
           SLEEVE LONG PATTE                                                                $0.00                                   $26.86


           DMS8LP 8" MJ SLEEVE
           LONG PATTERN C1                                                                  $0.00                                   $74.26


           DMT1212 12" X 12" MJ
           C153 TEE, DUCT                                                                   $0.00                                 $217.65


           DMT22 2" X 2" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $33.18


           DMT66 6" X 6" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                   $72.68




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 868
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMT84 8" X 4" TEE, MJ,
           C153 DUCTILE                                                                     $0.00                                  $-78.21


           DMTC62 6" X 2"
           TAPPED CAP,MJ,C153 D                                                             $0.00                                   $32.39


           DMTC82 8" X 2" MJ
           C153 TAPPED CAP D                                                                $0.00                                   $45.03


           DMTP102 10" X 2" MJ
           C153 TAPPED PLU                                                                  $0.00                                   $82.16


           DMTP82 8" X 2" MJ C153
           TAPPED PLUG                                                                      $0.00                                   $51.75


           DMTT82 8" X 2" MJ C153
           TAPPED TEE D                                                                     $0.00                                 $406.06


           DMY66 6" X 6" MJ WYE,
           C153 DUCTILE                                                                     $0.00                                  $-99.54


           DMY88 8" X 8" MJ WYE,
           C153, DUCTILE                                                                    $0.00                                 $145.36


           DMB904DOM 4" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $63.02


           DMB906DOM 6" MJ
           C153 90 DEGREE BEND                                                              $0.00                                   $99.33


           DMB454DOM 4" 45
           DEGREE BEND,MJ,C153                                                              $0.00                                 $158.24


           DMB458DOM 8" 45
           DEGREE BEND MJ,C153                                                              $0.00                                 $116.45


           DMB4510DOM 10" 45
           DEGREE BEND, MJ C                                                                $0.00                               $1,006.95


           DMB2212DOM 12" MJ
           C153, 22-1/2 DEGR                                                                $0.00                                 $247.29


           DMB1110DOM 10" MJ
           C153 11-1/4 DEGRE                                                                $0.00                                 $169.88


           DMT64DOM 6" X 4" MJ,
           C153 TEE, DUCT                                                                   $0.00                                 $128.78



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 869
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           DMT66DOM 6" X 6" TEE
           MJ,C153 DUCTIL                                                                   $0.00                                 $143.85


           DMT1010DOM 10" X 10"
           MJ C153 TEE DU                                                                   $0.00                                 $749.39


           DMT126DOM 12" X 6"
           TEE MJ,C153 DUCT                                                                 $0.00                                 $339.08


           DMHT66DOM 6" X 6"
           MJ,C153 HYDRANT T                                                                $0.00                                 $165.77


           DMHT86DOM 8" X 6" MJ
           C153 HYDRANT T                                                                   $0.00                                 $827.48


           DMR64DOM 6" X 4" MJ,
           C153 REDUCER D                                                                   $0.00                                   $57.54


           DMR86DOM 8" X 6" MJ,
           C153 REDUCER,                                                                    $0.00                                   $95.90


           DMP4DOM 4" MJ C153
           PLUG DUCTILE IRO                                                                 $0.00                                   $37.68


           DMP10DOM 10" MJ
           C153 PLUG DUCTILE I                                                              $0.00                                 $219.20


           DMP12DOM 12" MJ,
           C153 PLUG DUCTILE                                                                $0.00                                 $130.84


           DMC6DOM 6" CAP, MJ,
           C153 DUCTILE IR                                                                  $0.00                                   $39.73


           DMTP102DOM 10" X 2"
           MJ TAPPED PLUG                                                                   $0.00                                 $115.77


           DMS4LPDOM 4" MJ
           C153 SLEEVE, LONG P                                                              $0.00                                 $174.68


           DMS6LPDOM 6" MJ
           SLEEVE LONG C153 DU                                                              $0.00                                 $173.99


           DMS12LPDOM 12" MJ
           C153 SLEEVE LONG                                                                 $0.00                                 $690.48


           DMT86DOM 8" X 6" MJ
           C153 TEE, DUCTI                                                                  $0.00                               $1,981.71



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 870
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DMB9010DOM 10" MJ
           C153 90 DEGREE BE                                                                $0.00                                 $253.45


           DMB456DOM 6" 45
           DEGREE BEND, MJ, C1                                                              $0.00                                   $82.20


           DMB226DOM 6" 22-1/2
           DEGREE BEND,MJ                                                                   $0.00                                   $74.67


           DMT108DOM 10" X 8"
           MJ,C153 TEE, DUC                                                                 $0.00                                 $330.17


           DMC10DOM 10" MJ
           C153 CAP DUCTILE IR                                                              $0.00                                   $91.11


           DMT1210DOM 12" X 10"
           MJ C153 TEE, D                                                                   $0.00                                 $451.42


           DMB9016DOM 16" MJ 90
           DEGREE BEND, C                                                                   $0.00                               $1,102.17


           DMC16DOM 16" MJ
           C153 CAP DUCTILE IR                                                              $0.00                                 $321.95


           MJGLD16DOM 16" MJ
           GLAND DOMESTIC                                                                   $0.00                                 $427.44


           MJGLD20DOM 20" MJ
           GLAND DOMESTIC                                                                   $0.00                                   $58.91


           DMB223DOM 3" MJ
           C153 22-1/2 DEGREE                                                               $0.00                                   $65.76


           DMT33DOM 3" X 3" MJ
           TEE C153 DUCTIL                                                                  $0.00                                   $80.83


           DMB113D 3" DUCTILE
           MECHANICAL JOINT                                                                 $0.00                                 $131.52


           DMB453DOM 3" MJ
           C153 45 DEGREE BEND                                                              $0.00                                 $105.49


           DMS3LPDOM 3" MJ
           C153 SLEEVE LONG PA                                                              $0.00                                   $50.69


           DMCR86DOM 8" X 6"
           MJ,C153 CROSS DUC                                                                $0.00                                 $278.11



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 871
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PVC403 3" PVC SCH40
           20'LENGTH PIPE                                                                   $0.00                                   $47.60


           401-007 SPEARS 3/4
           PVC SCH 40 TEE                                                                   $0.00                                     $2.05


           401-010 1" PVC SCH40
           TEE                                                                              $0.00                                     $1.56


           401-012 SPEARS
           1-1/4"PVC SCH 40 TEE                                                             $0.00                                     $1.21


           401-015 1-1/2" PVC
           SCH40 TEE                                                                        $0.00                                     $0.74


           401-020 2" PVC SCH40
           TEE                                                                              $0.00                                     $1.07


           406-007 SPEARS 3/4"
           PVC SCH40 90 BE                                                                  $0.00                                     $3.08


           406-010 1" PVC SCH40
           90 BEND                                                                          $0.00                                     $0.83


           406-012 SPEARS 1-1/4"
           PVC SCH40 90                                                                     $0.00                                     $0.97


           406-015 1-1/2" PVC
           SCH40 90 BEND                                                                    $0.00                                   $12.58


           417-007 SPEARS 3/4
           PVC SCH40 45                                                                     $0.00                                     $2.10


           417-012 1-1/4" 45
           DEGREE BEND, PVC                                                                 $0.00                                     $1.18


           417-015 1-1/2" PVC
           SCH40,45 BEND                                                                    $0.00                                     $2.95


           417-030 3" PVC SCH40
           45 DEGREE BEND                                                                   $0.00                                   $42.75


           429-007 3/4" SCH40 PVC
           COUPLING                                                                         $0.00                                     $1.24


           429-010 1" SCH40
           COUPLING                                                                         $0.00                                     $9.55



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 872
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           429-012 1-1/4" PVC
           SCH40 COUPLING                                                                   $0.00                                     $1.20


           429-015 1-1/2" PVC
           SCH40 COUPLING                                                                   $0.00                                     $1.93


           429-020 2" PVC SCH40
           COUPLING                                                                         $0.00                                     $0.98


           435-007 3/4" PVC SCH40
           FEMALE ADAPT                                                                     $0.00                                     $0.20


           435-010 SPEARS 1" PVC
           SCH40 FEM ADA                                                                    $0.00                                     $1.14


           435-012 1 1/4" PVC
           SCH40 FEM ADAPTE                                                                 $0.00                                     $0.70


           435-015 1-1/2" PVC
           SCH40 FEMALE ADA                                                                 $0.00                                     $1.60


           435-020 2" PVC SCH40
           FEMALE ADAPTER                                                                   $0.00                                     $2.16


           436-007 3/4" SCH40 PVC
           MALE ADAPTER                                                                     $0.00                                     $5.17


           436-010 1" PVC SCH40
           MALE ADAPTER                                                                     $0.00                                   $11.61


           436-012 1-1/4" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $0.60


           436-015 1-1/2" PVC
           SCH40 MALE ADAPT                                                                 $0.00                                     $4.01


           437-101 3/4" X 1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $0.43


           437-211 1-1/2" X 1"
           SCH40 BUSHING S                                                                  $0.00                                     $0.74


           437-248 2" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $1.22


           437-249 2" X 1" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.22



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 873
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           437-251 2" X 1-1/2"
           SCH40 BUSHING S                                                                  $0.00                                     $1.84


           437-420 4" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $3.25


           438-131 1" X 3/4" SCH40
           BUSHING SPI                                                                      $0.00                                     $0.73


           438-338 3" X 2" SCH40
           BUSHING SPIGO                                                                    $0.00                                     $1.45


           447-007 3/4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $1.15


           447-010 1 PVC SCH 40
           CAP (SLIP)                                                                       $0.00                                     $1.59


           447-015 1-1/2" PVC
           SCH40 CAP (SLIP)                                                                 $0.00                                     $1.05


           447-020 2" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $3.37


           447-030 3" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $5.87


           447-040 4" PVC SCH40
           CAP (SLIP)                                                                       $0.00                                     $6.68


           450-060 SCH 40 MALE
           PLUG 6"                                                                          $0.00                                   $13.17


           450-020 2" THREADED
           PLUG PVC SCH 40                                                                  $0.00                                   $17.03


           2621-025 SPEARS 2-1/2"
           PVC BALL VAL                                                                     $0.00                                   $44.00


           PVC802 2" PVC SCH80
           PIPE                                                                             $0.00                                 $270.40


           835-030 3" PVC SCH80
           FEMALE ADAPTER                                                                   $0.00                                   $12.72


           836-020 2" SCH80 MIP
           ADAPTER                                                                          $0.00                                     $5.46



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 874
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           SDR21150 1-1/2" SDR21
           IPS OD PVC GA                                                                    $0.00                                   $23.36


           SDR2190150 1-1/2"
           SDR21 IPS OD PVC                                                                 $0.00                                 $106.74


           SDR21CAP1.5 1 1/2"
           SDR 21 IPS OD PV                                                                 $0.00                                   $37.62


           SDR21CAP2 2" SDR 21
           IPS OD PVC GASK                                                                  $0.00                                   $72.80


           SDR21PLG3 3" SDR 21
           IPS OD PVC SPIG                                                                  $0.00                                   $40.38


           SDR21T22 2" SDR21 IPS
           OD PVC GASKET                                                                    $0.00                                   $24.02


           DR11901IPS 1" DR11 90
           DEGREE BEND I                                                                    $0.00                                     $6.00


           DR11MJA10DIPS 10" DR
           11 DIPS OD 160                                                                   $0.00                                 $628.00


           DR11T1IPS 1" DR 11 IPS
           OD 160 PSI P                                                                     $0.00                                 $190.00


           A423ATLANTA46R A423
           MUELLER 4'6" OP                                                                  $0.00                               $1,137.50


           CL350TY8 8" CL350
           TYTON JOINT DUCTI                                                                $0.00                                 $289.26


           CL350TY12 12"
           PRESSURE CLASS 350
           TY                                                                               $0.00                                 $477.36


           CL350TY4USP 4"
           CLASS 350 TYTON
           DUCT                                                                             $0.00                                 $357.20


           CL350TY8USP 8"
           CLASS 350 TYTON DUC                                                              $0.00                                $-642.80


           CL350TY6USP CLASS
           350 6" TYTON DUC                                                                 $0.00                                 $650.70




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 875
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                Name

           CL350TY12USP 12"
           CLASS 350 TYTON DU                                                               $0.00                               $5,834.40


           CL250TY16 16" TY
           CLASS 250 DUCTILE                                                                $0.00                                 $759.80


           CL50TY8 8" CL50
           TYTON DUCTILE IRON                                                               $0.00                               $1,285.53


           POLYTAPE150
           1-1/2"X100' POLYWRAP
           TA                                                                               $0.00                                   $17.25


           CVC-4 4" WAFER
           CHECK VALVE MATCO-
           N                                                                                $0.00                                $-132.75


           MUE#195826 END
           GASKET FOR 8" TAP SL                                                             $0.00                                   $40.90


           MUE194678 RUBBER
           SIDE PACKING FOR H                                                               $0.00                                   $17.65


           M200150 1 1/2" M200
           REDUCED PORT BA                                                                  $0.00                                     $0.00


           M100125 1-1/4" FULL
           PORT BALL VALVE                                                                  $0.00                                   $10.50


           3-100 1" American Valve
           Bronze Gate                                                                      $0.00                                   $49.45


           HRPI2640BFK5 5-1/4"
           BREAK FLANGE RE                                                                  $0.00                                 $324.00


           BR2S1314CC150 12" X
           1-1/2"CC BRONZE                                                                  $0.00                                 $200.64


           85-3 CAMBRIDGE
           BRASS 3/4" MULTI- PU                                                             $0.00                                 $175.46


           MCD74753-22-100 1"
           CTS COMP X MIP A                                                                 $0.00                                 $539.76


           MCD74754Q-150 1-1/2"
           FIP ADAPTER, N                                                                   $0.00                                 $189.13




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                Name

           MCD4700-T-075 3/4"
           McDonald T-Type                                                                  $0.00                                   $38.45


           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                 $184.73


           119NL-H7H7 2" CTS
           COMPRESSION COUPL                                                                $0.00                                 $166.92


           301NL-A4H4 1" CC X CB
           BALL COMP BAL                                                                    $0.00                                 $675.22


           800-0690-A3 6" X 3/4"CC
           SADDLE, BRA                                                                      $0.00                                   $81.30


           800-0863-A4
           CAMBRIDGE BRASS 8"
           X 1"                                                                             $0.00                                 $279.28


           800-1275-A3
           CAMBRIDGE BRASS 12"
           X3                                                                               $0.00                                 $446.75


           81-B3 CAMBRIDGE
           BRASS 3/4" CAMPAK N                                                              $0.00                                   $42.70


           81-B4 CAMBRIDGE
           BRASS 1" CAMPAK NUT                                                              $0.00                                   $35.90


           81-B7 CAMBRIDGE
           BRASS 2" CAMPAK NUT                                                              $0.00                                 $238.24


           81-C4 CAMBRIDGE
           BRASS 1" FLARE NUT                                                               $0.00                                   $81.42


           81-H3 CB 3/4" COMP
           NUT AND GASKET                                                                   $0.00                                 $161.54


           81-H4 CAMBRIDGE
           BRASS 1" COMP NUT A                                                              $0.00                                 $271.58


           81-H6 CAMBRIDGE
           BRASS 1-1/2" COMP N                                                              $0.00                                 $273.92


           81-PV4 CAMBRIDGE
           BRASS PVC COMPRESS                                                               $0.00                                   $82.73




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           85-4 1" CAMBRIDGE
           BRASS MULTI- PURP                                                                $0.00                                 $125.89


           119NL-H6H6 1-1/2"
           COUPLING,CB COMP                                                                 $0.00                                 $123.61


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                 $193.78


           224NL-H3F3 STRAIGHT
           METER VALVE RED                                                                  $0.00                                 $670.59


           224NL-H3T3 3/4" COMP
           X METER TAIL N                                                                   $0.00                               $1,195.80


           301NL-M7H7 2" CORP
           MIP X COMP LOW L                                                                 $0.00                                 $208.61


           152NL-H4H3 1" X 3/4"
           CB COMPRESSION                                                                   $0.00                                 $233.97


           117NL-H6M6 1-1/2"
           COMP X 1-1/2" MIP                                                                $0.00                                  $-86.06


           301NL-M7F7 2" MIP X
           FIP BALL CORP L                                                                  $0.00                                 $167.27


           224NL-H4T4 1" COMP X
           METER TAIL NUT                                                                   $0.00                                  $-62.16


           118NL-C4C4 1" CB
           FLARE X CB FLARE U                                                               $0.00                                 $265.26


           301NL-A4C4 1" CC X CB
           FLARE COMP BA                                                                    $0.00                                 $180.58


           117NL-H4M4 1"
           COMPRESSION X 1" MIP                                                             $0.00                                   $53.24


           117NL-H7M7 2"
           COMPRESSION X 2" MIP                                                             $0.00                                   $80.13


           311NL-A3H3 3/4" LEAD
           FREE CAMBRIDGE                                                                   $0.00                                   $90.70


           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                 $168.60



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 878
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                Name

           301NL-A3H3 3/4" BALL
           CORPORATION CC                                                                   $0.00                                 $942.63


           CL1-7.00 X 12-1/2
           REPAIR CLAMP,CL1                                                                 $0.00                                   $65.14


           CL1-2.63 X 15 REPAIR
           CLAMP CL1 STAI                                                                   $0.00                                   $66.10


           CL1-3.00 X 7-1/2 SS CL1
           REPAIR CLAM                                                                      $0.00                                 $106.14


           CL1-5.14-15 4" X 15"
           ROMAC CL1 FULL                                                                   $0.00                                 $257.67


           ECLIPSE #85
           BLOW-OFF 3' BURY
           WITH 3                                                                           $0.00                                 $717.75


           MHBFK4 M&H 4-1/2 6129
           BREAK FLANGE                                                                     $0.00                                 $263.44


           MHBFK5 M&H MODEL
           129 5-1/4" HYDRANT                                                               $0.00                                 $526.88


           MH5HYDEXT12 M&H 12"
           HYDRANT EXTENSI                                                                  $0.00                                 $340.03


           MH4HYDEXT6 6"
           HYDRANT EXTENSION
           FOR                                                                              $0.00                                 $260.85


           MH4HYDEXT12 M&H 12"
           HYDRANT EXTENSI                                                                  $0.00                                 $380.88


           MH4HYDEXT24 M&H 24"
           HYDRANT EXTENSI                                                                  $0.00                                 $361.12


           UTTS66 6" X 6"
           TAPPING SLEEVE, TYLE                                                             $0.00                                 $533.05


           ODTAPE SMITH BLAIR
           TAPE, PART# 0000                                                                 $0.00                                     $5.00


           BRASS COTTER PINS
           FOR CURB BOX RODS                                                                $0.00                                   $21.58




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                Name

           BTCB56 5'6" CURB BOX
           FOR 3/4" - 1"                                                                    $0.00                                  $-38.84


           T0600014 CLO2640185
           HOSE CAP WASHER                                                                  $0.00                                     $2.36


           MCD74758-22-55-075NL
           3/4" UNION, CO                                                                   $0.00                                   $20.48


           MCD74758-22-55-075X10
           0NL 3/4" X 1"                                                                    $0.00                                   $28.24


           FLTWSH075 3/4" USS
           FLAT WASHER 130P                                                                 $0.00                                     $1.68


           HXNUT075 3/4" HEAVY
           DUTY HEX NUT                                                                     $0.00                                     $3.00


           HXBLT058300SS 5/8" X
           3" STAINLESS S                                                                   $0.00                                   $75.60


           HXNUT058SS 5/8"
           STAINLESS STEEL HEA                                                              $0.00                                   $19.20


           ADF70 2-1/2" NST
           HYDRANT DIFFUSER "                                                               $0.00                                 $138.00


           BRNIP-075X300 3/4" X 3"
           BRASS NIPPL                                                                      $0.00                                     $3.66


           BRBSH-125X100 1-1/4"
           X 1" BRASS BUS                                                                   $0.00                                     $3.43


           BR90-075SNL 3/4"
           STREET 90 BEND THR                                                               $0.00                                     $4.15


           BRBSH-075X050NL 3/4"
           X 1/2" REDUCER                                                                   $0.00                                     $6.80


           BRBSH-150X075NL
           1-1/2" X 3/4" REDUC                                                              $0.00                                     $6.02


           BRBSH-200X075NL 2" X
           3/4" REDUCER B                                                                   $0.00                                     $8.78


           BRCPLG-125X100NL
           1-1/4" X 1" REDUCE                                                               $0.00                                     $8.32



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 880
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                Name

           BRT-100NL 1" TEE
           THREADED, LOW LEAD                                                               $0.00                                     $6.10


           BRBSH-100X075NL 1" X
           3/4" HEX BUSHI                                                                   $0.00                                   $10.32


           CAUTION 3" X 1000'
           YELLOW CAUTION T                                                                 $0.00                                     $5.35


           DWT3 3" X 1000'
           DETECTABLE WATER
           TA                                                                               $0.00                                   $18.50


           POWRWRAP1 1"
           POR-WRAP
           FIBERGLASS PI                                                                    $0.00                                   $23.18


           POWRWRAP3 3"
           POW-R-WRAP
           FIBERGLASS                                                                       $0.00                                   $17.38


           LEATHERGLOVEXXL
           UNLINED XXL ROUGH                                                                $0.00                                   $24.64


           WWGXL EXTRA LARGE
           WATERPROOF INSULA                                                                $0.00                                   $46.25


           4.5O HYDRA-SIGN "OUT
           OF SERVICE" OR                                                                   $0.00                                   $20.40


           HSM60RODON 60" FIG
           A HYDRAFINDER HY                                                                 $0.00                                   $29.00


           LITTLEGULP LITTLE
           GULP HYDRANT PUMP                                                                $0.00                                 $159.00


           MARKING FLAG 2-1/2" X
           3-1/2" WHITE                                                                     $0.00                                    $-5.90


           MARKING FLAG 4" X 5"
           WHITE 21" WIRE                                                                   $0.00                                   $30.00


           MARKING FLAG 4" X 5"
           BLUE [30" LGTH                                                                   $0.00                                     $6.30


           MARKING FLAG 4" X 5"
           BLUE [21" LGTH                                                                   $0.00                                   $67.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 881
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                Name

           FOXTCBK
           INVERT-A-CAP BLACK
           SPRAY PA                                                                         $0.00                                   $32.04


           FOXTCBL
           INVERT-A-CAP BLUE
           SPRAY PAI                                                                        $0.00                                   $71.82


           FOXTCGR
           INVERT-A-CAP GREEN
           SPRAY PA                                                                         $0.00                                   $31.92


           FOXTCOR
           INVERT-A-CAP ORANGE
           SPRAY P                                                                          $0.00                                   $31.92


           MAGNETOMATIC
           MAGNETOM ANTENNA
           STYLE                                                                            $0.00                                   $24.76


           LEADWOOL LEAD
           WOOL (5 POUND BOX)                                                               $0.00                                   $19.65


           KEN442764P KENNEDY
           10" R-14 COVER O                                                                 $0.00                                   $62.15


           MUE506336 MUELLER
           INSTATITE REMOVAL                                                                $0.00                                     $3.69


           TRUM 367-5297 6'
           TRUMBULL COMBINATI                                                               $0.00                                   $23.92


           90281-002 5/8" X 8"
           STAINLESS STEEL                                                                  $0.00                                   $56.59


           KEN442762P 8" COVER
           O-RING NRS,RW G                                                                  $0.00                                   $66.00


           REEARW14 14"
           ALUMINUM PIPE
           WRENCH #                                                                         $0.00                                   $74.78


           REED TW516 TORQUE
           WRENCH                                                                           $0.00                                   $27.49


           T2401253 6" F6100
           BONNET O-RING, CL                                                                $0.00                                     $9.50




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 882
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                Name

           KEN442610P COVER
           O-RING FOR 4" NRS,                                                               $0.00                                   $81.00


           T2401266 COVER
           O-RING FOR 8" GATE V                                                             $0.00                                   $11.00


           TRU367-4298
           PENTAGON HAND KEY,
           TRUM                                                                             $0.00                                     $3.50


           442766P R-14 BONNET
           O-RING KENNEDY                                                                   $0.00                                 $104.94


           FB1000-4NL 1" CORP
           CC X COMP, LOW L                                                                 $0.00                                 $150.62


           HMP60 HAMMER
           PROBE 60", 1/2" SHAFT                                                            $0.00                                   $93.80


           117NL-H3F3 3/4" FIP X
           CTS COMPRESSI                                                                    $0.00                                   $11.82


           BUSH0120375 US SAWS
           BUSHING FOR DIA                                                                  $0.00                                     $4.00


           IBLTG075 3/4" X 4"
           GALVANIZED EYE B                                                                 $0.00                                   $42.00


           MCD4700QA 4700QA
           3/4" COMPRESSION N                                                               $0.00                                   $23.76


           MCD719-2 5/8" X 3/4"
           VERTICAL METER                                                                   $0.00                                 $159.33


           H15406N-075 MUELLER
           3/4" LOW LEAD C                                                                  $0.00                                   $70.53


           PW-3 63189 3' T
           HANDLE CURB
           WRENCH                                                                           $0.00                                   $44.24


           2105-025 PHELPS 2105
           1/4" SQUARE PU                                                                   $0.00                                   $22.50


           3/4" BRASS BALL
           VALVE WITH TEE HAND                                                              $0.00                                   $41.44




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 883
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                Name

           RECTORSEALAS
           ANTI-SEIZE LUBRICANT
           F                                                                                $0.00                                   $56.65


           QCRD120742001EX-HD
           W 6" X 12" WIDE R                                                                $0.00                                   $99.89


           367-4392 4' LIGHTED
           CURB KEY, TRUMB                                                                  $0.00                                   $71.60


           HWW12 12"
           HARDWOOD WEDGE
           BUNDLE OF                                                                        $0.00                                   $36.00


           TRU367-5120 6'
           LIGHTED MAIN VALVE K                                                             $0.00                                 $102.00


           QCRD120984001EX-HD
           W 8" X 12" REPAIR                                                                $0.00                                 $204.38


           MCD74754Q-125X100
           1-1/4" Q CTS X 1"                                                                $0.00                                   $92.97


           NOT IN SERVICE BAG
           FOR HYDRANT, ORA                                                                 $0.00                                 $375.00


           HXBLT058-11X3SS316
           5/8"-11 X 3" BOL                                                                 $0.00                                     $0.00


           PHIL75-31743 1" X 3/4"
           IPS OD PHILM                                                                     $0.00                                   $15.69


           .275 O-RING CORD
           PRICED PER FOOT                                                                  $0.00                                   $10.50


           QCRS-12-0536-001EX
           TPS 4"X12" QUICK                                                                 $0.00                                 $115.93


           3121-8CX12 8" x 12"
           REPAIR CLAMP, (                                                                  $0.00                                 $147.06


           2000-0563-260 4"
           HYMAX COUPLING RAN                                                               $0.00                                 $257.26


           2000-0768-260 6"
           HYMAX WIDE RANGE C                                                               $0.00                                 $681.40




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                Name

           2000-0984-260 8"
           HYMAX COUPLING RAN                                                               $0.00                                 $384.66


           6000-0840-150 1/2"
           COMPRESSION COUP                                                                 $0.00                                   $19.05


           6000-1315-150 1" LONG
           BODY GALVANIZ                                                                    $0.00                                   $28.41


           REEDT75 DRILL TAP,
           3/4"CC THREAD, #                                                                 $0.00                                 $113.71


           TRU364-9982 RWDS
           DUAL SIDED SOCKET                                                                $0.00                                   $46.00


           MKF2 REED METER
           KEY #02364                                                                       $0.00                                   $12.53


           REEMH26 26"
           MANHOLE HOOKS,
           02301 RE                                                                         $0.00                                   $19.14


           REEMH36 36"
           MANHOLE HOOKS,
           #02303 R                                                                         $0.00                                   $24.52


           REED02626 1-1/16"
           EXTENDED SOCKET 6                                                                $0.00                                   $32.96


           REED02630 1-1/4"
           EXTENDED SOCKET 6"                                                               $0.00                                   $33.56


           02-44 4" X 4"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $12.52


           02-66 6" X 6"
           CLAY/CI,PLAS
           COUPLING                                                                         $0.00                                   $13.39


           56-44 4" X 4" CI,PLAS/
           CI,PLAS COUP                                                                     $0.00                                   $12.52


           56-66 6" X 6"
           CI,PLAS/CI, PLAS COUP                                                            $0.00                                   $13.39


           QC6 6" RUBBER SEAL
           CAP (QUIK CAPS)                                                                  $0.00                                     $7.10



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                Name

           QS4 4" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                 $151.74


           QS6 6" QWIKSEAL
           DRAIN PIPE CONNECTO                                                              $0.00                                   $58.67


           DFW-4TC 4" FLEXIBLE
           SADDLE TEE WITH                                                                  $0.00                                   $25.90


           GF36701 2-1/2" INSIDE
           REPAIR LID                                                                       $0.00                                   $30.00


           RBSHP SHORTHANDLE
           POINTED SHOVEL UN                                                                $0.00                                   $31.12


           226-00069015-000 6" X
           15" REPAIR CL                                                                    $0.00                                 $113.97


           244-00008806-000 3/4" X
           6" REPAIR C                                                                      $0.00                                   $39.36


           245-00008406-000 1/2" X
           6" (0.84)OD                                                                      $0.00                                   $19.66


           245-00013206-000 1" X
           6" 1.32 OD RE                                                                    $0.00                                   $21.58


           261-00069012-000 6" X
           12-1/2"REPAIR                                                                    $0.00                                 $110.44


           100025-202 5/8" HEX
           NUT STAINLESS S                                                                  $0.00                                   $23.12


           ADJHYDWRENCH
           ADJUSTABLE
           HYDRANT WRE                                                                      $0.00                                   $41.76


           COVER CLAW ONE
           HAND VALVE BOX
           COVER                                                                            $0.00                                   $53.00


           COVER CLAW WITH 30"
           LONG HANDLE ONE                                                                  $0.00                                 $122.00


           LOW21-8E4D1-000
           1-1/4" X 1-1/16" HE                                                              $0.00                                 $447.00




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                Name

           LOW23-09904-9900
           EXTENDED REACH SOC                                                               $0.00                                   $53.00


           PICK MATTOCK WITH
           FIBERGLASS HANDLE                                                                $0.00                                   $17.23


           TRU364-9980 RATCHET
           BOX WRENCH DOUB                                                                  $0.00                                   $60.00


           TRU364-9984 DOUBLE
           SHOT WRENCH WITH                                                                 $0.00                                   $92.00


           TRU364-9986
           CONBINATION WRENCH
           KIT                                                                              $0.00                                 $120.00


           TRU367-9182
           TRUMBULL JAW
           REPLACEMEN                                                                       $0.00                                 $126.00


           WHE980 15/16" HEAVY
           DUTY DEEP SOCKE                                                                  $0.00                                   $26.89


           WWT10007 2-HOLE END
           WRENCH, 3' T-HA                                                                  $0.00                                   $45.62


           WWT10008
           WATERWORKS TOOL 4'
           2-HOLE                                                                           $0.00                                   $24.90


           LOW21-8C4Q1-0000 4 IN
           1 HEAVY DUTY                                                                     $0.00                                 $228.00


           H10820 MUELLER LID
           WRENCH                                                                           $0.00                                   $18.30


           TELEKEY610 6'-10'
           ADJUSTABLE VALVE                                                                 $0.00                                   $93.75


           H10321-6 6' SHUT OFF
           ROD BUFFALO MU                                                                   $0.00                                   $66.81


           MPA48 48" MIGHTY
           PROBE SOIL PROBE I                                                               $0.00                                   $57.85


           QWP63198 KS-T4 ROD X
           2-HOLE 4FT ADJ                                                                   $0.00                                   $53.46




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                Name

           QWP63192 SLIDE CURB
           WRENCH 4' PENT                                                                   $0.00                                 $106.72


           MIGHTY PROBE
           REPLACEMENT TIP,
           TIPS                                                                             $0.00                                   $11.19


           BLADECONCDIA14 14 X
           20MM/1" DIAMOND                                                                  $0.00                                 $121.50


           BLADEASPDIA14 US
           SAWS 14" X 20MM/1"                                                               $0.00                                 $150.00


           BLADEDIDIA14EPB 14"
           X 20MM/1" DI DI                                                                  $0.00                                 $162.50


           BLADEAPBDIA14 14" x
           20MM/1" TIGER T                                                                  $0.00                                 $344.00


           US30178 US SAWS
           BREAK 'N TAKE THRE                                                               $0.00                                 $337.50


           VBRIS2PE 2" HIGH
           POLYETHYLENE VALVE                                                               $0.00                                   $66.00


           QWP-SBTR
           TELESCOPING TOP
           RISER FOR                                                                        $0.00                                   $32.59


           CBCOV1 1"-2 HOLE
           CURB BOX COVER MAR                                                               $0.00                                   $21.51


           CBCOV1S 1" TWO HOLE
           CURB BOX COVER                                                                   $0.00                                   $33.20


           CBEXT10012 1" X 12"
           CURB BOX EXTENS                                                                  $0.00                                 $142.68


           CBEXT1006 1" X 6"
           CURB BOX EXTENSIO                                                                $0.00                                   $89.19


           CBPCOV1 1" CURB BOX
           COVER WITH PLUG                                                                  $0.00                                   $74.70


           CBPCOV125S 1-1/4"
           CURB BOX COVER WI                                                                $0.00                                   $62.08




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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           CBROD35 35" CURB
           BOX ROD 9/16" GENE                                                               $0.00                                   $57.27


           CBROD39 39" CURB
           BOX ROD 9/16" MUE8                                                               $0.00                                   $28.66


           TRU367-4282 2-1/2"
           OUTSIDE REPAIR L                                                                 $0.00                                   $90.06


           CBPCOV1-P-CAN PLUG
           ONLY FOR 1" PLUG                                                                 $0.00                                   $15.19


           BTCB56 5'6" CURB BOX
           FOR 3/4" - 1"                                                                    $0.00                                   $77.69


           GFH10314-5-20 1" X 5'
           CURB BOX WITH                                                                    $0.00                                 $132.80


           PEXCTS.75X100 3/4"
           MUNICIPEX CTS TU                                                                 $0.00                                   $62.50


           TAILPC075NL 3/4" TAIL
           PIECE, LOW LE                                                                    $0.00                                   $51.33


           DROPINGSKT2 2" DROP
           IN METER GASKET                                                                  $0.00                                     $1.70


           NEPRG058 5/8"
           RUBBER METER
           GASKET P                                                                         $0.00                                     $5.00


           DROPINGSKT1.5 1-1/2"
           DROP IN METER                                                                    $0.00                                     $1.60


           NEPRG075 3/4"
           RUBBER GASKETS FOR
           ME                                                                               $0.00                                   $30.00


           NEPTAILPC58NL 5/8"
           LOW LEAD TAIL PI                                                                 $0.00                                  $-12.15


           NEPTAILPC1NL 1" TAIL
           PIECE, LOW LEA                                                                   $0.00                                   $54.80


           GF42066-5.5 5-1/2' BURY
           ERIE BOX WI                                                                      $0.00                                   $49.50


           5/8 3/4 WALL UNIT                                                                $0.00                                   $63.08

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           PHIL75-608CC
           TRANSITION COUPLING
           1"                                                                               $0.00                                   $18.43


           75-617CB TRANSITION
           REDUCER COUPLIN                                                                  $0.00                                   $18.17


           WTFBV-3C-075NL 3/4"
           FULL PORT 1/4 T                                                                  $0.00                                   $40.16


           LF5BM3-Z6 3/4"
           PRESSURE REDUCING
           VA                                                                               $0.00                                 $673.50


           MUEA51GAL A51
           HYDRANT OIL GALLON,
           1                                                                                $0.00                                   $38.65


           HRPIA301 5-1/4 SAFETY
           FLANGE REPAIR                                                                    $0.00                                   $85.68


           HRPI190354 5-1/4"
           REVERSIBLE MAIN V                                                                $0.00                                   $44.20


           CLO2640BFK4 4-1/4"
           BREAK FLANGE REP                                                                 $0.00                                 $144.18


           H15053-075 3/4"
           COPPER GASKET,
           FLAR                                                                             $0.00                                     $2.26


           H15403N-075 3/4"
           COMPRESSION UNION                                                                $0.00                                   $15.23


           H10283N-075 3/4" FIP
           CURB STOP MUEL                                                                   $0.00                                   $43.31


           B25209N-075 3/4" COMP
           CURB STOP, BA                                                                    $0.00                                   $50.85


           H15451N-075X100
           MUELLER 3/4" X 1" L                                                              $0.00                                   $30.95


           MUE78906 ARBOR                                                                   $0.00                                   $78.68


           B25028N-100 1" IP X
           COMPRESSION BAL                                                                  $0.00                                   $51.85



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           B20283N-075 3/4"
           STRAIGHT BALL CURB                                                               $0.00                                   $43.34


           B2520901N-075
           MUELLER 3/4" LOW
           LEAD                                                                             $0.00                                 $659.34


           H15457N-075 MUELLER
           3/4" LOW LEAD F                                                                  $0.00                                   $13.62


           B24350N-100x075
           MUELLER 1" LOW LEAD                                                              $0.00                                   $62.82


           MUE92656 1" 92656
           COMPRESSION NUT W                                                                $0.00                                   $25.91


           MUE92655 3/4"
           COMPRESSION THAW
           NUT                                                                              $0.00                                   $16.35


           B2520901N-100
           MUELLER 1" LOW LEAD
           O                                                                                $0.00                                     $0.00


           B44-333GNL 3/4"
           COMPRESSION CURB
           ST                                                                               $0.00                                   $77.21


           MCD74701BQ-075 3/4"
           CORP AWWA X Q C                                                                  $0.00                                 $245.03


           MCD74701BQ-100 1"
           4710BQ CORP STOP                                                                 $0.00                                 $193.35


           MCD74753-Q-100 1" Q
           COMP X MIP ADAP                                                                  $0.00                                   $17.99


           MCD74754-Q-075 3/4"
           FIP X COMP ADAP                                                                  $0.00                                   $31.94


           MCD74754-Q-100 1"
           COMP X FIP ADAPTE                                                                $0.00                                   $43.34


           MCD74758-22-075NL
           3/4" UNION, CTS X                                                                $0.00                                   $18.50


           MCD74758-22-55-075
           3/4" COMPRESSION                                                                 $0.00                                   $40.96



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 891
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           MCD74758-Q-075X100 1"
           X 3/4" COUPLI                                                                    $0.00                                   $42.98


           MCD74758Q-075 3/4"
           3PC UNION TUBE C                                                                 $0.00                                   $55.49


           MCD74758T-22-075X050
           3/4" X 1/2" CO                                                                   $0.00                                   $37.91


           MCD76100Q-100 1"
           76100Q CURB STOP B                                                               $0.00                                 $100.86


           MCD76101 3/4" BALL
           STYLE CURB STOP                                                                  $0.00                                   $50.47


           MCD76101MWR-075 3/4"
           REDUCED PORT M                                                                   $0.00                                 $152.77


           H15509-075 Mueller 3/4"
           XS Lead Fla                                                                      $0.00                                   $12.97


           H15403N-100 1"
           COMPRESSION UNION
           LO                                                                               $0.00                                   $15.14


           H15451N-075 3/4"
           COMPRESSION X FIP                                                                $0.00                                   $36.55


           H15451N-100 1"
           COMPRESSION X FIP
           AD                                                                               $0.00                                   $17.42


           H15071N-075 3/4"
           ADAPTER CST X COMP                                                               $0.00                                   $90.64


           H15428N-125 1-1/4"
           COMPRESSION X MI                                                                 $0.00                                   $25.94


           H15071N-100 1" COMP X
           FLARE ADAPTER                                                                    $0.00                                   $57.06


           119NL-H4H4 1" CB
           COMP X CB COMP UNI                                                               $0.00                                   $73.89


           202NL-H4H4 1" CB
           COMP X CB COMP BRA                                                               $0.00                                   $88.12




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 892
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           SSINSERT075 3/4"
           STAINLESS STEEL IN                                                               $0.00                                      $28.42


           SSINSERT100 1"
           INSERT FOR CTS PE TU                                                             $0.00                                    $172.62


           119NL-H3H3 3/4"
           COMPRESSION X 3/4"                                                               $0.00                                    $145.33


           202NL-H3H3 3/4" BALL
           CURB STOP, LOW                                                                   $0.00                                    $351.59


           311NL-A3H3 3/4" LEAD
           FREE CAMBRIDGE                                                                   $0.00                                      $90.70


           117NL-H3M3 3/4" MALE
           IRON PIPE X CT                                                                   $0.00                                    $123.64


           KEN445904P 5-1/4"
           MAIN VALVE RUBBER                                                                $0.00                                    $105.61


           KEN442761P COVER
           O-RING 6" RW C-509                                                               $0.00                                      $68.53



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                $3,241,436.21
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                    Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 893
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
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           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           3 Hole Paper Punch                                                               $0.00                                              $0.00


           L - Shape Desk                                                                   $0.00                                              $0.00


           Desktop Computer                                                                 $0.00                                              $0.00


           Monitor                                                                          $0.00                                              $0.00


           Calculator                                                                       $0.00                                              $0.00


           4 Drawer File Cabinet                                                            $0.00                                              $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                              $0.00


           2 Drawer File Cabinet                                                            $0.00                                              $0.00


           High Back Office Chair                                                           $0.00                                              $0.00


           Office Chair                                                                     $0.00                                              $0.00


           Monitor                                                                          $0.00                                              $0.00


           Desktop Computer                                                                 $0.00                                              $0.00


           DVD Player                                                                       $0.00                                              $0.00


           Paper Shredder                                                                   $0.00                                              $0.00


           Calculator                                                                       $0.00                                              $0.00


           Electric Pencil Sharper                                                          $0.00                                              $0.00


           Printer Stand                                                                    $0.00                                              $0.00


           Printer Stand                                                                    $0.00                                              $0.00


           Laser Jet Printer                                                                $0.00                                              $0.00


           dot Matix Printer-Counter                                                        $0.00                                              $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 894
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           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


           Battery Backup                                                                   $0.00                                     $0.00


           EZ Watch Security Camera                                                         $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           L - Shape Desk                                                                   $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           High Back Office Chair                                                           $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00



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 Debtor         The Vellano Corporation                                                      Case number (If known)
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           Air Compressor                                                                   $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           3 Drawer File Cabinet                                                            $0.00                                     $0.00


           Warehouse Chair                                                                  $0.00                                     $0.00


           8 Drawer Tool Chest                                                              $0.00                                     $0.00


           8' Ladder                                                                        $0.00                                     $0.00


           24' Ext Ladder                                                                   $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           Battery Charger                                                                  $0.00                                     $0.00


           Circular Saw                                                                     $0.00                                     $0.00


           Grinder                                                                          $0.00                                     $0.00


           Floor Jack 2 1/4 ton                                                             $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Air Conditioner - Window                                                         $0.00                                     $0.00


           Gas Can - 2 gal                                                                  $0.00                                     $0.00


           Gas Can - 2.5 gal                                                                $0.00                                     $0.00


           Propane Torch                                                                    $0.00                                     $0.00


           Weed Eater                                                                       $0.00                                     $0.00




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           Air Conditioner - Window                                                         $0.00                                     $0.00


           Scale - shipping                                                                 $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Battery Operated Stapler                                                         $0.00                                     $0.00


           Kodak i30 Scanner                                                                $0.00                                     $0.00


           Black River Staff PC                                                             $0.00                                     $0.00


           Lenovo M700 Tiny Desktop                                                         $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           5' Wooden Desk                                                                   $0.00                                     $0.00


           4' Black Metal Desk                                                              $0.00                                     $0.00


           Wooden Book Shelves                                                              $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00




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           Fax Machine                                                                      $0.00                                     $0.00


           Electric Pencil Sharpener                                                        $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           Rock Salt Spreader                                                               $0.00                                     $0.00


           Cork Board - 36" x 24"                                                           $0.00                                     $0.00


           Cork Board - 36" x 24"                                                           $0.00                                     $0.00


           Electric Pencil Sharpener                                                        $0.00                                     $0.00


           5' Black Metal Desk                                                              $0.00                                     $0.00


           6 Drawer File Cabinets                                                           $0.00                                     $0.00


           6 Drawer File Cabinets                                                           $0.00                                     $0.00


           TV/VCR Comb                                                                      $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Cork Board - 36" x 24"                                                           $0.00                                     $0.00


           Postal Scale                                                                     $0.00                                     $0.00


           Metal File Cabinet with Door                                                     $0.00                                     $0.00


           4' Folding Table                                                                 $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00




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           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Desk Top Computer                                                                $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           27" Monitor                                                                      $0.00                                     $0.00


           42" LCD Monitor/TV                                                               $0.00                                     $0.00


           6' Drawing Table                                                                 $0.00                                     $0.00


           Metal Desk                                                                       $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           Metal Printer Stand                                                              $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00




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           Toaster                                                                          $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           3 Shelf Book Shelves - Plastic                                                   $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           DVR & Security Camera System                                                     $0.00                                     $0.00


           Netgear Hub                                                                      $0.00                                     $0.00


           Battery Charging Station                                                         $0.00                                     $0.00


           Bar Code Labeler                                                                 $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Metal Rolling Rack                                                               $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           Metal Shelf                                                                      $0.00                                     $0.00


           Salomander                                                                       $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           6' Fiberglass Ladder                                                             $0.00                                     $0.00


           4 Metal Warehouse Racking                                                        $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00




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           275 Gal Fuel Tank                                                                $0.00                                     $0.00


           15 Gal Gas Can                                                                   $0.00                                     $0.00


           15 Gal Gas Can                                                                   $0.00                                     $0.00


           Oil Pump                                                                         $0.00                                     $0.00


           Printer Stand                                                                    $0.00                                     $0.00


           Tool Cart                                                                        $0.00                                     $0.00


           Small Table                                                                      $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           20 Ton Jack                                                                      $0.00                                     $0.00


           2 Ton Bottle Jack                                                                $0.00                                     $0.00


           20 Ton Bottle Jack                                                               $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           Brown Metal Chair - Stacking                                                     $0.00                                     $0.00


           26 gal Compressor                                                                $0.00                                     $0.00


           Battery Charger                                                                  $0.00                                     $0.00


           Weed Trimmer                                                                     $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00




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           Alum Step Ladder                                                                 $0.00                                     $0.00


           1 Gal Plastic Gas Can                                                            $0.00                                     $0.00


           1.5 Gal Plastic Gas Can                                                          $0.00                                     $0.00


           2 Draw File Cabinet                                                              $0.00                                     $0.00


           UPS Scale                                                                        $0.00                                     $0.00


           5 Shelf Warehouse Racking                                                        $0.00                                     $0.00


           4Shelf Warehouse Racking                                                         $0.00                                     $0.00


           6 Shelf Warehouse Racking                                                        $0.00                                     $0.00


           Seed/Salt Spreader                                                               $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desk Top Computer                                                                $0.00                                     $0.00


           Trash Can                                                                        $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Tape Gun                                                                         $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           4 Drawer Fire Proof File Cabinet                                                 $0.00                                     $0.00


           Desk Lamp                                                                        $0.00                                     $0.00


           Drafting/Blueprint Table                                                         $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           2 Door Supply Cabinet                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 902
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           2 Shelf Book Shelves                                                             $0.00                                     $0.00


           4Shelf Book Shelves                                                              $0.00                                     $0.00


           3 Shelf Book Shelves                                                             $0.00                                     $0.00


           8" Plastic Folding Table                                                         $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Padlock Key Organizer                                                            $0.00                                     $0.00


           Waste Paper Baskets                                                              $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           Price Book Rack                                                                  $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           17" Monitor                                                                      $0.00                                     $0.00


           Desk Top Computer                                                                $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Desk                                                                             $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 903
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           2 Draw File Cabinet                                                              $0.00                                     $0.00


           2 Draw File Cabinet                                                              $0.00                                     $0.00


           Chair Banquet                                                                    $0.00                                     $0.00


           Chair Banquet                                                                    $0.00                                     $0.00


           A/C Unit                                                                         $0.00                                     $0.00


           A/C Unit                                                                         $0.00                                     $0.00


           A/C Unit                                                                         $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Cork Board - 36" x 24"                                                           $0.00                                     $0.00


           Table Lamp                                                                       $0.00                                     $0.00


           Scissor Jack                                                                     $0.00                                     $0.00


           Packing Tape Gun - Warehouse                                                     $0.00                                     $0.00


           Packing Tape Gun - Counter                                                       $0.00                                     $0.00


           Packing Tape Gun - upstairs                                                      $0.00                                     $0.00


           Pallet Jack - green                                                              $0.00                                     $0.00


           Pallet Puller                                                                    $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00


           Weed Eater                                                                       $0.00                                     $0.00


           Kerosene Heater                                                                  $0.00                                     $0.00


           Craftsman Tool Box (Fire Hydrant Tools)                                          $0.00                                     $0.00


           12 Drawer Rolling Tool Box                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 904
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 2 gal                                                                  $0.00                                     $0.00


           Gas Can - 1 gal                                                                  $0.00                                     $0.00


           50' Extension Cord                                                               $0.00                                     $0.00


           Scale - shipping                                                                 $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Oil Pump                                                                         $0.00                                     $0.00


           Impacted Wrench                                                                  $0.00                                     $0.00


           Duo-Fast Stapler                                                                 $0.00                                     $0.00


           Fire Extinguisher - #5                                                           $0.00                                     $0.00


           Fire Extinguisher - #7                                                           $0.00                                     $0.00


           Fire Extinguisher - #40                                                          $0.00                                     $0.00


           Fire Extinguisher - #Front Office                                                $0.00                                     $0.00


           Fire Extinguisher - Kitchen                                                      $0.00                                     $0.00


           Fire Extinguisher - Warehouse                                                    $0.00                                     $0.00


           12" Wooded Step Ladder                                                           $0.00                                     $0.00


           12" Fiberglass Step Ladder                                                       $0.00                                     $0.00


           6' Wooded Step Ladder                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 905
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           6" Fiberglass Step Ladder                                                        $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Calculator - Mark                                                                $0.00                                     $0.00


           18" x 24" Dry Erase Board - Mark                                                 $0.00                                     $0.00


           3'x2' Cork Bulletin Board - Mark                                                 $0.00                                     $0.00


           4' x 8' Dry Erase Board - Sales Office                                           $0.00                                     $0.00


           4' x 8' Dry Erase Board - Conf Room                                              $0.00                                     $0.00


           2'x3' Dry Erase Boards - Sales Office                                            $0.00                                     $0.00


           2'x3' Dry Erase Boards - Sales Office                                            $0.00                                     $0.00


           3'x2' Cork Bulletin Board - Brian                                                $0.00                                     $0.00


           3'x2' Cork Bulletin Board - Sales Desk                                           $0.00                                     $0.00


           3'x2' Cork Bulletin Board - Ron                                                  $0.00                                     $0.00


           3'x4' Cork Bulletin Board - Sales Office                                         $0.00                                     $0.00


           18" x 23" Cork Bulletin Board - Laurie                                           $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           RF Gun Battery Station                                                           $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 906
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           Bar Code Label Machine                                                           $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           Refrigerator - Kitchen                                                           $0.00                                     $0.00


           Mirowave                                                                         $0.00                                     $0.00


           Refrigerator - Warehouse                                                         $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00


           TV/DVD/VHS Comb                                                                  $0.00                                     $0.00


           8" Personal Fan                                                                  $0.00                                     $0.00


           8" Personal Fan                                                                  $0.00                                     $0.00


           Utility Heater                                                                   $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer File Cabinet - Front Office                                             $0.00                                     $0.00


           4 Drawer File Cabinet - Front Office                                             $0.00                                     $0.00


           4 Drawer File Cabinet - Front Office                                             $0.00                                     $0.00


           2 Drawer File Cabinet - Front Office                                             $0.00                                     $0.00


           4 Drawer File Cabinet - Sales Office                                             $0.00                                     $0.00


           4 Drawer File Cabinet - Sales Office                                             $0.00                                     $0.00


           2 Drawer File Cabinet - Sales Office                                             $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 907
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           2 Drawer File Cabinet - Sales Office                                             $0.00                                     $0.00


           2 Drawer Lateral Wooded File Cabinet - Front
           Office                                                                           $0.00                                     $0.00


           7 Drawer Wooded Desk - Sales Desk                                                $0.00                                     $0.00


           7 Drawer Wooded Desk - Greg                                                      $0.00                                     $0.00


           6 Drawer Wooded Desk - Ron                                                       $0.00                                     $0.00


           5 Drawer Wooded Desk - Brian                                                     $0.00                                     $0.00


           Wood Credenz with Storage - Brian                                                $0.00                                     $0.00


           6 Drawer Metal Desk - Warehouse                                                  $0.00                                     $0.00


           7 Drawer Wooded Desk - Warehouse                                                 $0.00                                     $0.00


           4 Drawer Metal Desk - Mark                                                       $0.00                                     $0.00


           2 Drawer Metal Desk - Sales Office                                               $0.00                                     $0.00


           1 Door Metal Typing Table - Warehouse                                            $0.00                                     $0.00


           Wooded "U" Shaped Workstation - Front
           Office                                                                           $0.00                                     $0.00


           Blue Rolling Office Chair - Front Office                                         $0.00                                     $0.00


           Blue Rolling Office Chair - Mark                                                 $0.00                                     $0.00


           Gray -Rolling Desk Chair - Mark                                                  $0.00                                     $0.00


           Blue Rolling Office Chair - Ron                                                  $0.00                                     $0.00


           Blue Rolling Office Chair - Greg                                                 $0.00                                     $0.00


           Blue Rolling Office Chair - Brian                                                $0.00                                     $0.00


           Blue Rolling Office Chair - Sales Desk                                           $0.00                                     $0.00


           Gray -Rolling Desk Chair - Sales Office                                          $0.00                                     $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 908
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           Gray -Rolling Desk Chair - Sales Office                                          $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair                                                        $0.00                                     $0.00


           Round Back Stacking Chair - Front Office                                         $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Swivel Adjustable Task Stool                                                     $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           Oval Wood Conference Table                                                       $0.00                                     $0.00


           Kitchen Table                                                                    $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 909
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Drafting Table                                                                   $0.00                                     $0.00


           Entertaiment Unit - Front Office                                                 $0.00                                     $0.00


           Wooded DVD/VHS Shelf Unit - Confr Room                                           $0.00                                     $0.00


           Wooded TV Cart -Greg                                                             $0.00                                     $0.00


           Small Metal Rolling Cabinet - Sales Office                                       $0.00                                     $0.00


           18x36x84 Metal Cabinet - Upstairs                                                $0.00                                     $0.00


           2 Shelf Metal Bookcase - Front Office                                            $0.00                                     $0.00


           2 Shelf Metal Bookcase - Sales Office                                            $0.00                                     $0.00


           2 Shelf Wooded Bookcase - Brian                                                  $0.00                                     $0.00


           2 Shelf Wooded Bookcase - Mark                                                   $0.00                                     $0.00


           8 Shelf Wooded Bookcase - Sales Office                                           $0.00                                     $0.00


           8 Shelf Wooded Bookcase - Sales Office                                           $0.00                                     $0.00


           5 Shelf Wooded Bookcase - Mark                                                   $0.00                                     $0.00


           Electric Pencial Sharper                                                         $0.00                                     $0.00


           Paper cutter                                                                     $0.00                                     $0.00


           Price Books-Brian                                                                $0.00                                     $0.00


           Price Books-Greg                                                                 $0.00                                     $0.00


           Price Books-Ron                                                                  $0.00                                     $0.00


           Price Books-Upstairs                                                             $0.00                                     $0.00


           Coat Rack                                                                        $0.00                                     $0.00


           Hanging Pockets for Partitions - Brian                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 910
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Hanging Pockets for Partitions - Brian                                           $0.00                                     $0.00


           Hanging Pockets for Partitions - Brian                                           $0.00                                     $0.00


           Hanging Pockets for Partitions - Ron                                             $0.00                                     $0.00


           Hanging Pockets for Partitions - Front Office                                    $0.00                                     $0.00


           Over the Door Coat Hanger - Front Office                                         $0.00                                     $0.00


           11 Pocket Literature Rack w/Base -Counter                                        $0.00                                     $0.00


           11 Pocket Literature Racks w/Base - Counter                                      $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Heavy Duty Stapler - Front Office                                                $0.00                                     $0.00


           Desk Stapler - Front Office                                                      $0.00                                     $0.00


           Desk Stapler - Front Office                                                      $0.00                                     $0.00


           Desk Stapler - Front Office                                                      $0.00                                     $0.00


           Desk Stapler - Greg                                                              $0.00                                     $0.00


           Desk Stapler - Ron                                                               $0.00                                     $0.00


           Desk Stapler - Sales Desk                                                        $0.00                                     $0.00


           Desk Stapler - Sales Desk                                                        $0.00                                     $0.00


           Desk Stapler - Counter                                                           $0.00                                     $0.00


           Desk Tape Dispenser - Front Office                                               $0.00                                     $0.00


           Desk Tape Dispenser - Counter                                                    $0.00                                     $0.00


           Desk Tape Dispenser - Brian                                                      $0.00                                     $0.00


           Desk Tape Dispenser - Ron                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 911
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Tall Waste Basket - Kitchen                                                      $0.00                                     $0.00


           Tall Waste Basket - Front Office                                                 $0.00                                     $0.00


           Waste Basket - Front Office                                                      $0.00                                     $0.00


           Waste Basket - Front Office                                                      $0.00                                     $0.00


           Waste Basket - Ladies Room                                                       $0.00                                     $0.00


           Waste Basket - Sales Desk                                                        $0.00                                     $0.00


           Waste Basket - Brian                                                             $0.00                                     $0.00


           Waste Basket - Greg                                                              $0.00                                     $0.00


           Waste Basket - Ron                                                               $0.00                                     $0.00


           Waste Basket - Kitchen                                                           $0.00                                     $0.00


           Waste Basket - Mark                                                              $0.00                                     $0.00


           Waste Basket - Mens Room                                                         $0.00                                     $0.00


           Waste Basket - Warehouse                                                         $0.00                                     $0.00


           Waste Basket - Warehouse                                                         $0.00                                     $0.00


           Waste Basket - Warehouse                                                         $0.00                                     $0.00


           Waste Basket - Warehouse                                                         $0.00                                     $0.00


           RF - Single Radio with P/S                                                       $0.00                                     $0.00


           RF Gun Antenna                                                                   $0.00                                     $0.00


           RF Gun Antenna                                                                   $0.00                                     $0.00


           Calculator - Greg                                                                $0.00                                     $0.00


           Desktop Computer - Greg                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 912
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Greg PC Monitor                                                                  $0.00                                     $0.00


           Calculator - Ron                                                                 $0.00                                     $0.00


           8" Personal Fan                                                                  $0.00                                     $0.00


           Fan Heater - Ron                                                                 $0.00                                     $0.00


           Canon Copier                                                                     $0.00                                     $0.00


           RF - Single Radio with P/S                                                       $0.00                                     $0.00


           Calculator- Laurie                                                               $0.00                                     $0.00


           Calculator - Counter                                                             $0.00                                     $0.00


           Typewriter                                                                       $0.00                                     $0.00


           Cell Phone Signal Booster                                                        $0.00                                     $0.00


           Counter PC Monitor                                                               $0.00                                     $0.00


           Desktop Computer - Counter                                                       $0.00                                     $0.00


           Desktop Computer - Laurie                                                        $0.00                                     $0.00


           17" PC Monitor - Laurie                                                          $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           19" Monitor - Sales Desk                                                         $0.00                                     $0.00


           30" Monitor - Sales Desk                                                         $0.00                                     $0.00


           Desktop Computer - Sales Desk                                                    $0.00                                     $0.00


           Conf Rooom - PC Monitor                                                          $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Packing Tape Gun - Counter                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 913
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Intellifax                                                                       $0.00                                     $0.00


           I Pad                                                                            $0.00                                     $0.00


           T410 Laptop                                                                      $0.00                                     $0.00


           Desktop Computer - Brian                                                         $0.00                                     $0.00


           23" Monitor - Brian                                                              $0.00                                     $0.00


           23" Monitor - Brian                                                              $0.00                                     $0.00


           Calculator - Brian                                                               $0.00                                     $0.00


           Calculator - Sale Desk                                                           $0.00                                     $0.00


           UN100 Network Agent                                                              $0.00                                     $0.00


           UPS Backup Battery                                                               $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Standalone Switch                                                                $0.00                                     $0.00


           MP3 Digtal On Hold System                                                        $0.00                                     $0.00


           Lenovo m92p Micro Desktop                                                        $0.00                                     $0.00


           Lenovo M700 i5 Micro Desktop PC                                                  $0.00                                     $0.00


           Lenovo M700 Desktop PC                                                           $0.00                                     $0.00


           Epson DS520 Document Scanner                                                     $0.00                                     $0.00


           19" Montior                                                                      $0.00                                     $0.00


           Coat Rack                                                                        $0.00                                     $0.00


           Fire King 4 Drawer Fire File Cabinet                                             $0.00                                     $0.00


           Fire King 4 Drawer Fire File Cabinet                                             $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 914
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                Name

           Fire King 4 Drawer Fire File Cabinet                                             $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Fire King 4 Drawer Fire File Cabinet                                             $0.00                                     $0.00


           Fire King 4 Drawer Fire File Cabinet                                             $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Wooden 7 Drawer Double Pedestal Desk                                             $0.00                                     $0.00


           Wooden 2 Drawer Filing Cabinet                                                   $0.00                                     $0.00


           Wooden 7 Drawer Double Pedestal Desk                                             $0.00                                     $0.00


           Wooden 2 Drawer Filing Cabinet                                                   $0.00                                     $0.00


           LP15 HP P3015 Laser Printer                                                      $0.00                                     $0.00


           Lenovo Desktop                                                                   $0.00                                     $0.00


           TS-230-65 Check Scanner                                                          $0.00                                     $0.00


           Electric Stapler                                                                 $0.00                                     $0.00


           Kodak i30 Scanner                                                                $0.00                                     $0.00


           Electric Stapler                                                                 $0.00                                     $0.00


           Sharp Calculator                                                                 $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 915
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Canon Calculator                                                                 $0.00                                     $0.00


           Roper Refrigerator                                                               $0.00                                     $0.00


           Toaster                                                                          $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Tall Kitchen Waste Basket                                                        $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer Fire File Cabinet                                                       $0.00                                     $0.00


           4 Drawer Fire File Cabinet                                                       $0.00                                     $0.00


           Ricoh SF1000sf MultiFunction
           Printer/Scanner/Copier                                                           $0.00                                     $0.00


           Ideal Shredder                                                                   $0.00                                     $0.00


           Cell Phone Bi-Directional Amplifier                                              $0.00                                     $0.00


           Martin Yale Folder                                                               $0.00                                     $0.00


           Brother Fax 2820                                                                 $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 916
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Asus 23" Monitor                                                                 $0.00                                     $0.00


           Acer 19" Monitor                                                                 $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Lori Lake W8 Desktop PC                                                          $0.00                                     $0.00


           Epson GT-S80 Document Scanner                                                    $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Flat Screen TV                                                                   $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Trash Can                                                                        $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           4 Drawer Metal Desk                                                              $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           8'x4' Wooden Conference Table                                                    $0.00                                     $0.00


           Metal Office Chair                                                               $0.00                                     $0.00


           Metal Office Chair                                                               $0.00                                     $0.00


           Metal Office Chair                                                               $0.00                                     $0.00


           Metal Office Chair                                                               $0.00                                     $0.00


           Metal Office Chair                                                               $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           2 Shelf Bookcase                                                                 $0.00                                     $0.00


           2 Shelf Bookcase                                                                 $0.00                                     $0.00


           30x24 Video Cart                                                                 $0.00                                     $0.00


           29x32 Cabinet                                                                    $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           VHS Deck                                                                         $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           IBM 36U Computer Equipment Rack (Rack 1)                                         $0.00                                     $0.00


           Dell PowerVault RD1000 Enclosure with 1 Tb
           Disk Drive                                                                       $0.00                                     $0.00


           Multitech USB Modem                                                              $0.00                                     $0.00


           Multitech USB Modem                                                              $0.00                                     $0.00



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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Multitech USB Modem                                                              $0.00                                     $0.00


           Lenovo RS110 Server (Wiki)                                                       $0.00                                     $0.00


           Lenovo RS110 Server (Anti-Virus)                                                 $0.00                                     $0.00


           Dell PowerEdge R710 Server (Eclipse)                                             $0.00                                     $0.00


           Lenovo RD240 Server (PV745N)                                                     $0.00                                     $0.00


           APC Environmental Monitoring System                                              $0.00                                     $0.00


           IBM P570 Unix Server                                                             $0.00                                     $0.00


           Belkin Rack Mount LCD / KVM 8 Port                                               $0.00                                     $0.00


           Imation USB RDX Dock w/ 500Gb Drive                                              $0.00                                     $0.00


           Imation USB RDX Dock w/ 500Gb Drive                                              $0.00                                     $0.00


           Imation USB RDX Dock w/ 500Gb Drive                                              $0.00                                     $0.00


           APC SmartUPS 2200 XL                                                             $0.00                                     $0.00


           APC SmartUPS 2200 XL                                                             $0.00                                     $0.00


           Belkin 7 Port USB Hub                                                            $0.00                                     $0.00


           IBM InfoView 3153 ASCI Terminal                                                  $0.00                                     $0.00


           HP DAT72 External USB Tape Drive                                                 $0.00                                     $0.00


           Tandberg Data External USB Dock w/ 500Gb
           Disk                                                                             $0.00                                     $0.00


           Imation USB RDX Dock w/ 500Gb Drive                                              $0.00                                     $0.00


           Tandberg Data External USB Dock w/ 500Gb
           Disk                                                                             $0.00                                     $0.00


           Tandberg Data External USB Dock w/ 500Gb
           Disk                                                                             $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Tandberg Data External USB Dock w/ 500Gb
           Disk                                                                             $0.00                                     $0.00


           Tandberg Data External USB Dock w/ 500Gb
           Disk                                                                             $0.00                                     $0.00


           Dell 24u Rack Cabinet                                                            $0.00                                     $0.00


           Dell 1U Rack Mount LCD Monitor and
           Keyboard                                                                         $0.00                                     $0.00


           Dell PowerEdge 1950 Server (Igate)                                               $0.00                                     $0.00


           Lenovo RD230 Server (HR Office)                                                  $0.00                                     $0.00


           Dell PowerEdge 1650 Server                                                       $0.00                                     $0.00


           Dell PowerEdge SC1425                                                            $0.00                                     $0.00


           Dell PowerEdge 1850 (Training)                                                   $0.00                                     $0.00


           Dell PowerEdge R510 Server (Sage)                                                $0.00                                     $0.00


           Lenovo ThinkCenter PC (E-Filecabinet)                                            $0.00                                     $0.00


           APC SU1400NET UPS                                                                $0.00                                     $0.00


           Dell Optiplex 170L SCO Unix Server- SBC                                          $0.00                                     $0.00


           IBM 6400 Line Printer                                                            $0.00                                     $0.00


           Shaw Walker Fire Proof Lateral File Cabinet                                      $0.00                                     $0.00


           APC 2200XL UPS w/ External Batteries                                             $0.00                                     $0.00


           40u Communications Equipment Rack                                                $0.00                                     $0.00


           Cisco Network Agent                                                              $0.00                                     $0.00


           Cisco 851 Support Router                                                         $0.00                                     $0.00


           Cisco 1921 Router (TW Connection)                                                $0.00                                     $0.00




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                Name

           Cisco 2811 Router (Fios)                                                         $0.00                                     $0.00


           Dell SonicWall SRA4200 Remote Access
           Server                                                                           $0.00                                     $0.00


           Cisco SFE2010P 48 Port Managed Switch with
           PoE                                                                              $0.00                                     $0.00


           Cisco SFE2010 48 Port Managed Switch                                             $0.00                                     $0.00


           Cisco SFE2010P 48 Port Managed Switch with
           PoE                                                                              $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           ComfortAire DeHumidifier                                                         $0.00                                     $0.00


           Viewsonic DLP Projector                                                          $0.00                                     $0.00


           Acer V223W Monitor                                                               $0.00                                     $0.00


           Computer Room Main UPS 1                                                         $0.00                                     $0.00


           Computer Room Main UPS 2                                                         $0.00                                     $0.00


           APC SM3000RM UPS                                                                 $0.00                                     $0.00


           Lenovo G500 Notebook PC                                                          $0.00                                     $0.00


           Netgear ProSafe 8 Port Gigabit Switch                                            $0.00                                     $0.00


           Cisco SF300-48P 48 Port PoE Switch                                               $0.00                                     $0.00


           Edge Network 4550 8x8 QoS Router                                                 $0.00                                     $0.00


           Cisco ASA 5512-X                                                                 $0.00                                     $0.00


           Lenovo RD340 Server                                                              $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00




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                Name

           2 Drawer Metal Filing Cabinet                                                    $0.00                                     $0.00


           3 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           60"x30" Single Pedestal Wooden Desk                                              $0.00                                     $0.00


           Typewriter / Printer Table                                                       $0.00                                     $0.00


           IBM Selectric II Typewriter                                                      $0.00                                     $0.00


           Electric Stapler                                                                 $0.00                                     $0.00


           Swingline Heavy Duty Stapler                                                     $0.00                                     $0.00


           Acer 17" Monitor                                                                 $0.00                                     $0.00


           Dell Optiplex GX280                                                              $0.00                                     $0.00


           Swingline Heavy Duty Hole Punch                                                  $0.00                                     $0.00


           Swingline Light Duty Hole Punch                                                  $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           4 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           60x30 HON Desk w/Return                                                          $0.00                                     $0.00


           Lenovo M0809-C6U Desktop PC                                                      $0.00                                     $0.00


           Casio Desktop Calculator                                                         $0.00                                     $0.00


           Swingline 8735X Stapler                                                          $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Canon MP25DV Calculator                                                          $0.00                                     $0.00


           Acer 23" Monitor                                                                 $0.00                                     $0.00


           Computer Desk / Hutch                                                            $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           5 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           4 Drawer Fire File Cabinet                                                       $0.00                                     $0.00


           4 Drawer Fire File Cabinet                                                       $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           5 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Fellows PowerShred C-320C                                                        $0.00                                     $0.00


           Okidata PaceMark 3410                                                            $0.00                                     $0.00


           Typewriter / Printer Table                                                       $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Shaw Walker 4 Drawer Fire File Cabinet                                           $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           24x30 Table                                                                      $0.00                                     $0.00


           Boston 2612 Paper Cutter                                                         $0.00                                     $0.00


           Executone Model 32 Phone                                                         $0.00                                     $0.00


           Typewriter table / drop leaf style                                               $0.00                                     $0.00


           3 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           Task Chair                                                                       $0.00                                     $0.00


           Sharp 15" Monitor                                                                $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Electric Stapler                                                                 $0.00                                     $0.00


           Sharp EL-1197p Calculator                                                        $0.00                                     $0.00


           Acer 19" Monitor                                                                 $0.00                                     $0.00


           Sharp Calculator                                                                 $0.00                                     $0.00


           Wooden Desk w/ 48" Return                                                        $0.00                                     $0.00


           Wooden 2 Drawer Filing Cabinet                                                   $0.00                                     $0.00


           2 Drawer Metal Filing Cabinet                                                    $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           30x24 Work Table                                                                 $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Canon Scanfront 220                                                              $0.00                                     $0.00


           Electric Pencil Sharpener                                                        $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           20x20 End Table                                                                  $0.00                                     $0.00


           20x20 Tea Table                                                                  $0.00                                     $0.00


           5 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           Lenovo ThinkCentre M82 Small Form Factor
           Desktop                                                                          $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Desk Top Computer Warehouse Fedex
           Terminal                                                                         $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Dot Matix Printer                                                                $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Laptop Computer                                                                  $0.00                                     $0.00


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                Name



           8x8 IP phone                                                                     $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Desk Top Computer                                                                $0.00                                     $0.00


           Network Router                                                                   $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Desktop Computer - Ron                                                           $0.00                                     $0.00


           Laser Jet Printer - Laurie                                                       $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Warehouse - Phone                                                                $0.00                                     $0.00


           Counter - Phone                                                                  $0.00                                     $0.00


           Mark's - Phone                                                                   $0.00                                     $0.00


           Rons - Phone                                                                     $0.00                                     $0.00


           Greg's-Phone                                                                     $0.00                                     $0.00


           Brian's Phone                                                                    $0.00                                     $0.00


           Sale Desk - Phone                                                                $0.00                                     $0.00


           Conf Room - Phone                                                                $0.00                                     $0.00


           Laurie's Phone                                                                   $0.00                                     $0.00


           Compact ICS                                                                      $0.00                                     $0.00


           Call Pilot                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00



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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Standalone Switch                                                                $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Small Laptop                                                                     $0.00                                     $0.00


           Lenovo R61- Bryan Brown                                                          $0.00                                     $0.00


           Dot Matix Printer                                                                $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           4 Drawer Filing Cabinet                                                          $0.00                                     $0.00


           2 Door Supply Cabinet                                                            $0.00                                     $0.00


           2 Drawer Lateral File- Wood                                                      $0.00                                     $0.00


           LP9 HP P3015 Laser Printer                                                       $0.00                                     $0.00


           Acer 17" LCD Monitor                                                             $0.00                                     $0.00


           Asus EeePC EB1012P PC                                                            $0.00                                     $0.00


           HON 11584L Wooden Desk w/ 48" Return                                             $0.00                                     $0.00


           2 Drawer File Cabinet- Wooden                                                    $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Seiko Label Printer                                                              $0.00                                     $0.00


           Sharp Calculator                                                                 $0.00                                     $0.00


           Lenovo Desktop PC                                                                $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           APC BR1500 UPS                                                                   $0.00                                     $0.00


           Asus 23" LCD Monitor                                                             $0.00                                     $0.00


           Asus 23" LCD Monitor                                                             $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           HP Scanjet 5000                                                                  $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Cisco Wireless Access Point                                                      $0.00                                     $0.00


           APC BR1500 UPS                                                                   $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           Lenovo IdeaCentre K300                                                           $0.00                                     $0.00


           O'Sullivan Frosted Glass Two Door Cabinet                                        $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           3 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           3 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           30"x18" Table                                                                    $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Office Chair                                                                     $0.00                                     $0.00


           Bow Front 72" Wooden Desk                                                        $0.00                                     $0.00


           HP LaserJet Color CP1518NI                                                       $0.00                                     $0.00


           Lenovo Desktop                                                                   $0.00                                     $0.00


           Dell 17" Monitor                                                                 $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           2 Drawer Lateral File- Wood                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Casio Desktop Calculator                                                         $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           72x36 Double Pedestal HON desk                                                   $0.00                                     $0.00


           Ergonomic Office Chair                                                           $0.00                                     $0.00


           Hutch top for Credenza                                                           $0.00                                     $0.00


           Credenza w/ Knee Space                                                           $0.00                                     $0.00


           5 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           5 Shelf Wooden Bookshelf                                                         $0.00                                     $0.00


           2 Drawer Metal Lateral File                                                      $0.00                                     $0.00


           4 Drawer Lateral File Cabinet                                                    $0.00                                     $0.00


           Sharp Portable Calculator                                                        $0.00                                     $0.00


           Lenovo Desktop PC                                                                $0.00                                     $0.00




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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Acer 19" Monitor                                                                 $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Rolling File Cart                                                                $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Lenovo M7522 Desktop                                                             $0.00                                     $0.00


           Lenovo 19" Monitor                                                               $0.00                                     $0.00


           60"x30" Double Pedestal Metal Desk                                               $0.00                                     $0.00


           60"x30" Double Pedestal Metal Desk                                               $0.00                                     $0.00


           60"x30" Double Pedestal Metal Desk                                               $0.00                                     $0.00


           48"x30" Single Pedestal Metal Desk                                               $0.00                                     $0.00


           Dell Optiplex GX520                                                              $0.00                                     $0.00


           HannsG 19" Monitor                                                               $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Canon F189505 Fax Machine                                                        $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 930
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Electric Pencil Sharpener                                                        $0.00                                     $0.00


           Dell 17" Monitor                                                                 $0.00                                     $0.00


           Dell 17" Monitor                                                                 $0.00                                     $0.00


           Dell Optiplex GX280                                                              $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           LP12 Ricoh SP4510DN LED Printer                                                  $0.00                                     $0.00


           5 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4'x8' Wooden Conference Table                                                    $0.00                                     $0.00


           Fire Proof 4 Drawer File Cabinet                                                 $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Swingline Stapler                                                                $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 931
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Acer 24" Monitor                                                                 $0.00                                     $0.00


           Lenovo M82 Desktop                                                               $0.00                                     $0.00


           Latham Fedex Terminal M73                                                        $0.00                                     $0.00


           Lenovo B50                                                                       $0.00                                     $0.00


           Lenovo M73 Desktop PC                                                            $0.00                                     $0.00


           Dell Optiplex 3040 Micro PC                                                      $0.00                                     $0.00


           24" Asus Monitor- Tom O'Hare's Desk                                              $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           15" Montior                                                                      $0.00                                     $0.00


           21" Montior                                                                      $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Cash Register                                                                    $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 932
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           6 Drawer Metal Desk                                                              $0.00                                     $0.00


           3 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           6x3 Conference Table                                                             $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Printer                                                                          $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           3 x 7 Bookcase                                                                   $0.00                                     $0.00


           3 x 7 Bookcase                                                                   $0.00                                     $0.00


           3 x 7 Bookcase                                                                   $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Mircowave Oven                                                                   $0.00                                     $0.00


           Desk Stapler - Heavy Duty                                                        $0.00                                     $0.00


           2 Door Wooden Cabinet                                                            $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 933
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Calculator                                                                       $0.00                                     $0.00


           6 Drawer Metal Desk                                                              $0.00                                     $0.00


           36 x 42 Wooden Bookcase                                                          $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Literature Rack                                                                  $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           36 x 42 Wooden Bookcase                                                          $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           67"x48" L Shape Wooden Desk                                                      $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler - Heavy Duty                                                        $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 934
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           40x37 Wooden Mail Slots Case                                                     $0.00                                     $0.00


           Wooden Table                                                                     $0.00                                     $0.00


           Double Office Chair - Resp Office                                                $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00


           19" Montior                                                                      $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           2 Draw L Shape Desk                                                              $0.00                                     $0.00


           19" Montior                                                                      $0.00                                     $0.00


           36 x 42 Wooden Bookcase                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Plastic Supply Cabinet                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 935
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Metal Table                                                                      $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Candy Vending Machine                                                            $0.00                                     $0.00


           Water Cooler                                                                     $0.00                                     $0.00


           Fed Ex Scale                                                                     $0.00                                     $0.00


           Montior                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           22" Monitor                                                                      $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           6 Drawer Metal Desk                                                              $0.00                                     $0.00


           6 Drawer L Shape Wooded Desk                                                     $0.00                                     $0.00


           2 Drawer Wooden File Cabinet                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 936
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Stapler                                                                     $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           5 shelf Bookcase                                                                 $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           6 Drawer Metal Desk                                                              $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Stapler                                                                          $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           2 shelf Bookcase                                                                 $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Conference Table                                                                 $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 937
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Storage Cabinet                                                                  $0.00                                     $0.00


           4 Drawer Wooden Desk                                                             $0.00                                     $0.00


           4 x 3 Cork Board                                                                 $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           4 shelf Bookcase                                                                 $0.00                                     $0.00


           5 shelf Bookcase                                                                 $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           6 Drawer Metal Desk                                                              $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 938
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Calculator                                                                       $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           3 shelf Bookcase                                                                 $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           2 Drawer Metal Filing Cabinet                                                    $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Acer 19" Monitor                                                                 $0.00                                     $0.00


           Lenovo M7099-C2U PC                                                              $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           72x36 Wooden Desk                                                                $0.00                                     $0.00


           Credenza                                                                         $0.00                                     $0.00


           Sharp Calculator                                                                 $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           17" Flat Screen Monitor                                                          $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           PolyCom VVX-500 VoIP Phone                                                       $0.00                                     $0.00


           Lenovo IdealPad S400 Touch                                                       $0.00                                     $0.00


           Lenovo M73 Desktop                                                               $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 939
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor -20"                                                                     $0.00                                     $0.00


           Monitor - 12"                                                                    $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor - 12"                                                                    $0.00                                     $0.00


           Monitor - 12"                                                                    $0.00                                     $0.00


           Metal Office Desk - "L" Shaped                                                   $0.00                                     $0.00


           Metal Office Desk - "L" Shaped                                                   $0.00                                     $0.00


           Metal Office Desk - "L" Shaped                                                   $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           Wooden Office Desk - "L" Shaped                                                  $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Wooden Office Desk -                                                             $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Conference Room Chairs - Wooded                                                  $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Waiting Area Double Chair - Metal                                                $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 940
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Wooden                                                   $0.00                                     $0.00


           Conference Room Chairs- Wooden                                                   $0.00                                     $0.00


           Conference Room Chairs- Wooden                                                   $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           Conference Room Chairs- Metal                                                    $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           5 DRAWER FILE CABINET                                                            $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           30" Wood Shelf (2shelf)                                                          $0.00                                     $0.00


           30" Wood Shelf (2shelf)                                                          $0.00                                     $0.00


           72" Wood Shelf ( 7 shelf)                                                        $0.00                                     $0.00


           48" Wooden Shelf                                                                 $0.00                                     $0.00


           27" RCA TV                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 941
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           DVD/VCR Combo                                                                    $0.00                                     $0.00


           Window A/C Unit                                                                  $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Cordless Phone - IP                                                              $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           60 Galllon Ari compressor                                                        $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           2 Hole Paper Punch                                                               $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 942
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Calculator                                                                       $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Desk Fan                                                                         $0.00                                     $0.00


           Check Scanner                                                                    $0.00                                     $0.00


           Portable Heater                                                                  $0.00                                     $0.00


           Portable Heater                                                                  $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Netgear Ethernet Switch - 16 port                                                $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


           Cell Phone Signal Booster                                                        $0.00                                     $0.00


           IP Single Line                                                                   $0.00                                     $0.00


           Digital Projector                                                                $0.00                                     $0.00


           Wooden Rolling Cart - 2 shelf                                                    $0.00                                     $0.00


           Portable Griddle                                                                 $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           Wooden End Table                                                                 $0.00                                     $0.00


           3' x 4' Cork Board                                                               $0.00                                     $0.00


           Weather Alert Radio                                                              $0.00                                     $0.00


           Wooden Step Ladder                                                               $0.00                                     $0.00


           Heavy Duty Stapler                                                               $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 943
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Printer Stand - Wooden                                                           $0.00                                     $0.00


           Bar Stools                                                                       $0.00                                     $0.00


           Bar Stools                                                                       $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Metal Folding Ladder                                                             $0.00                                     $0.00


           Rolling Warehouse Step Ladder                                                    $0.00                                     $0.00


           Wood Conference Table                                                            $0.00                                     $0.00


           24" x 48" Plastic Folding Table                                                  $0.00                                     $0.00


           Rolling Media Cart - 3 shelf                                                     $0.00                                     $0.00


           4'x4' Dry Erase Board                                                            $0.00                                     $0.00


           3' x 4' Cork Board                                                               $0.00                                     $0.00


           Scale - Mail                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           3' x 3' Dry Erase Board                                                          $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 944
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           OSHA Red Fire Safety Cabinet                                                     $0.00                                     $0.00


           50 Gal Fuel Barrel                                                               $0.00                                     $0.00


           Pressure Washer                                                                  $0.00                                     $0.00


           MP Digital ON Hold Audio                                                         $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Drill Set                                                                        $0.00                                     $0.00


           Grinder                                                                          $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           D-Link Box                                                                       $0.00                                     $0.00


           8-Port Ethernet Switch                                                           $0.00                                     $0.00


           Literature Rack                                                                  $0.00                                     $0.00


           Circle Saw                                                                       $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           50 gal Trash Cans                                                                $0.00                                     $0.00


           3' x 4' Cork Board                                                               $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 945
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
                                                           Document     Page 955 of 1123
 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Literature Rack                                                                  $0.00                                     $0.00


           Literature Rack                                                                  $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           6' Plastic Folding Table                                                         $0.00                                     $0.00


           Lenovo M73 Desktop inside Sales                                                  $0.00                                     $0.00


           Dell Latitude 3470 Michael Teer Notebook                                         $0.00                                     $0.00


           Laptop -T410 SN-R8-7C71C                                                         $0.00                                     $0.00


           Laptop - Lenovo T410 SN R8735AH                                                  $0.00                                     $0.00


           Wood Conference Table                                                            $0.00                                     $0.00


           Folding Table - Plastic                                                          $0.00                                     $0.00


           Wooden Stool                                                                     $0.00                                     $0.00


           Wooden Stool                                                                     $0.00                                     $0.00


           Wooden Stools                                                                    $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 946
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stool                                                                   $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Chair                                                                      $0.00                                     $0.00


           High Back Office Chair - Blue                                                    $0.00                                     $0.00


           High Back Office Chair - Blue                                                    $0.00                                     $0.00


           High Back Office Chair -black                                                    $0.00                                     $0.00


           Mid Back Office Chair -black                                                     $0.00                                     $0.00


           Mid Back Office Chair -black                                                     $0.00                                     $0.00


           Mid Back Office Chair -black                                                     $0.00                                     $0.00


           Mid Back Office Chair -black                                                     $0.00                                     $0.00


           Mid Back Office Chair -black                                                     $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Wooden Office Desk                                                               $0.00                                     $0.00


           Wooden Office Desk                                                               $0.00                                     $0.00


           16 x 20 Dry erase Board                                                          $0.00                                     $0.00


           36 x 24 Dry erase Board                                                          $0.00                                     $0.00


           48 x 36 Dry Erase Board                                                          $0.00                                     $0.00


           Packing Tape Gun                                                                 $0.00                                     $0.00


           Packing Tape Gun                                                                 $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 947
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Coffee Maker                                                                     $0.00                                     $0.00


           UPS Scale                                                                        $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           2 Door Tall Metal Supply Cabinet                                                 $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Staple Gun                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Fax/Scanner/Printer                                                              $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           D Link Ethernet Box                                                              $0.00                                     $0.00


           Stereo                                                                           $0.00                                     $0.00


           Filing Cart                                                                      $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 948
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            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           6 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           4 Drawer Plastic Rolling Part Bin                                                $0.00                                     $0.00


           4 Drawer Plastic Rolling Part Bin                                                $0.00                                     $0.00


           4 Drawer Plastic Rolling Part Bin                                                $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Label Maker                                                                      $0.00                                     $0.00


           Wooden Microwave Stand                                                           $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           Weed Eater                                                                       $0.00                                     $0.00


           36" Warehouse Fan                                                                $0.00                                     $0.00


           1 Gal Gas Can                                                                    $0.00                                     $0.00


           Gas Can - 5 gal                                                                  $0.00                                     $0.00


           Skrink Wrap Roller                                                               $0.00                                     $0.00


           Pallet Puller                                                                    $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Rolling Warehouse Step Ladder                                                    $0.00                                     $0.00


           Router - Wireless                                                                $0.00                                     $0.00


           Security System                                                                  $0.00                                     $0.00


           Docking Station                                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 949
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           D-Link Box                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Metal 5 shelf shelving Unit                                                      $0.00                                     $0.00


           Metal 5 shelf shelving Unit                                                      $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           5 Shelf Plastic Shelving Unit                                                    $0.00                                     $0.00


           Drill Set                                                                        $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           Grinder                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 950
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           12 volt Drill                                                                    $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00


           Electric Drill                                                                   $0.00                                     $0.00


           2 Shelf Metal display                                                            $0.00                                     $0.00


           3 Shelf Metal Display                                                            $0.00                                     $0.00


           Wooden Microwave Stand                                                           $0.00                                     $0.00


           4 Step Ladder                                                                    $0.00                                     $0.00


           16 x 20 Cork Board                                                               $0.00                                     $0.00


           16 x 20 Cork Board                                                               $0.00                                     $0.00


           16 x 20 Cork Board                                                               $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Waste Basket -Wire                                                               $0.00                                     $0.00


           Waste Basket -Wire                                                               $0.00                                     $0.00


           Waste Basket -Wire                                                               $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - Plastic                                                           $0.00                                     $0.00


           Waste Basket - 30 Gal                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 951
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Waste Basket - 30 Gal                                                            $0.00                                     $0.00


           Waste Basket - 30 Gal                                                            $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Erik Hogan M73 Desktop PC                                                        $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Sylvania Monitor                                                                 $0.00                                     $0.00


           TV/VCR Combo                                                                     $0.00                                     $0.00


           Casio Calculator                                                                 $0.00                                     $0.00


           Polaroid Camera                                                                  $0.00                                     $0.00


           Fan                                                                              $0.00                                     $0.00


           Fan                                                                              $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00


           2 Drawer Wooden File Cabinet                                                     $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 952
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Paper Shredder                                                                   $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00


           AC Wall Unit                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           Cell Phone                                                                       $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Network Extender                                                                 $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           AC Wall Unit                                                                     $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           2 Shelf Metal Bookcase 3x4                                                       $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Printer Stand - Wooden                                                           $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 953
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           8x8 IP Phone                                                                     $0.00                                     $0.00


           Price Books                                                                      $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           APL Backup Battery                                                               $0.00                                     $0.00


           Netgear Ethernet Switch - 16 port                                                $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Networks Phone System                                                            $0.00                                     $0.00


           42" LCD Monitor                                                                  $0.00                                     $0.00


           Drafting Stool                                                                   $0.00                                     $0.00


           Door Electric Chime                                                              $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Step Ladder - 6'                                                                 $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           MP Digital ON Hold Audio                                                         $0.00                                     $0.00


           Mirowave                                                                         $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 954
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           Extention Ladder 12'                                                             $0.00                                     $0.00


           net Gear                                                                         $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           Drill Set                                                                        $0.00                                     $0.00


           Snow Blower                                                                      $0.00                                     $0.00


           Raymond Lenovo T430u Notebook                                                    $0.00                                     $0.00


           Verizon MiFi 5510L                                                               $0.00                                     $0.00


           Lenovo m92p Micro Desktop                                                        $0.00                                     $0.00


           Barry Stevens Lenovo M92p PC                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 955
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            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           6 Drawer Wooded Desk                                                             $0.00                                     $0.00


           6 Drawer Wooded Desk                                                             $0.00                                     $0.00


           6 Drawer Wooded Desk                                                             $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           3 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Shelf Metal Bookcase                                                           $0.00                                     $0.00


           4 Shelf Metal Bookcase                                                           $0.00                                     $0.00


           4 Shelf Metal Bookcase                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 956
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           3' x 2' Dry Erase White Board                                                    $0.00                                     $0.00


           4' x 8' Dry Erase Board                                                          $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Check Scanner                                                                    $0.00                                     $0.00


           Adjustable Table                                                                 $0.00                                     $0.00


           2 Door Short Metal Supply Cabinet                                                $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           2 Door Tall Metal Supply Cabinet                                                 $0.00                                     $0.00


           2 Door Tall Metal Supply Cabinet                                                 $0.00                                     $0.00


           Netgear Ethernet Switch                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 957
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Blackarmor                                                                       $0.00                                     $0.00


           Wood Cabinet                                                                     $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Water Cooler                                                                     $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           6 Drawer Wooded Desk                                                             $0.00                                     $0.00


           Wood Cabinet                                                                     $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           2 Door Tall Metal Supply Cabinet                                                 $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 958
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            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Computer Table                                                                   $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00


           14 Step Rolling Ladder                                                           $0.00                                     $0.00


           Weed Eater                                                                       $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00


           Battery Charger                                                                  $0.00                                     $0.00


           Air Compressor                                                                   $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 959
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           5 Drawer Lateral Fire Cabinet                                                    $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00


           Cell Phone - Billy                                                               $0.00                                     $0.00


           Cell Phone - Bill P                                                              $0.00                                     $0.00


           Cell Phone - Ken                                                                 $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           8' x 4' Cork board                                                               $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Cell Phone - Gene                                                                $0.00                                     $0.00


           Lenovo M83p Tiny Desktop PC                                                      $0.00                                     $0.00


           MP Digital ON Hold Audio                                                         $0.00                                     $0.00


           3 Shelf Bookcase                                                                 $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 960
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Meduim Back Chairs                                                               $0.00                                     $0.00


           Meduim Back Chairs                                                               $0.00                                     $0.00


           Meduim Back Chairs                                                               $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Check Scanner                                                                    $0.00                                     $0.00


           Airvana Sprint Voicemail                                                         $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           dot Matix Printer                                                                $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           47" LCD HD Flat Screen TV                                                        $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 961
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Cordless Phone                                                                   $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Cisco Router                                                                     $0.00                                     $0.00


           Wireless Router                                                                  $0.00                                     $0.00


           D-Link Box                                                                       $0.00                                     $0.00


           EZ Watch Security Camera                                                         $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 962
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           My Book Drive Service                                                            $0.00                                     $0.00


           Comdail -Phone System                                                            $0.00                                     $0.00


           Cisco Router                                                                     $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Cell Phone Signal Booster                                                        $0.00                                     $0.00


           24" x 18" Cork Board                                                             $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           23.5" x 17.5" Dry Earse Board                                                    $0.00                                     $0.00


           3' x 2' Dry Earse Board                                                          $0.00                                     $0.00


           4' x 6' Dry Earse Board                                                          $0.00                                     $0.00


           2 Door Short Metal Supply Cabinet                                                $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Metal Cabiner - 1 Door                                                           $0.00                                     $0.00


           2 Drawer Wooden File Cabinet                                                     $0.00                                     $0.00


           2 Drawer Plan Cabinet - Lateral                                                  $0.00                                     $0.00


           2 Drawer Plan Cabinet - Lateral                                                  $0.00                                     $0.00


           3 Shelf Wooded Bookcase                                                          $0.00                                     $0.00


           2 Drawer Stoage Cabinet                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 963
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Printer/Fax Cabinet                                                              $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Desk -Wooden                                                                     $0.00                                     $0.00


           Swivel Adjustable Task Stool -Leather Top                                        $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Conference Room Chairs                                                           $0.00                                     $0.00


           Wood Conference Table                                                            $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Meduim Back Chairs                                                               $0.00                                     $0.00


           Meduim Back Chairs                                                               $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 964
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Toaster                                                                          $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           Fire Extinguisher                                                                $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 965
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Swingline Heavy Duty Stapler                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           UPS Scale                                                                        $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           14 Step Rolling Ladder                                                           $0.00                                     $0.00


           20 ' Extension Ladder                                                            $0.00                                     $0.00


           Hand Cart - Red                                                                  $0.00                                     $0.00


           Hand Cart - Blue                                                                 $0.00                                     $0.00


           Gas Can - 5gal                                                                   $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Electric Pencil Sharper                                                          $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           HP Laser Printer                                                                 $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Cordless Phone - IP                                                              $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 966
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                                                           Document     Page 976 of 1123
 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           RF Gun                                                                           $0.00                                     $0.00


           Lenovo M73 PC                                                                    $0.00                                     $0.00


           Desktop Computer-Marge                                                           $0.00                                     $0.00


           DeskTop Computer - Counter                                                       $0.00                                     $0.00


           DeskTop Computer - Rick                                                          $0.00                                     $0.00


           Monitor - Counter                                                                $0.00                                     $0.00


           Monitor - Mark                                                                   $0.00                                     $0.00


           Monitor - Rich                                                                   $0.00                                     $0.00


           Monitor - Marge                                                                  $0.00                                     $0.00


           Laser Printer                                                                    $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           42" Flat Screen TV                                                               $0.00                                     $0.00


           Postage Machine                                                                  $0.00                                     $0.00


           Postage Scale                                                                    $0.00                                     $0.00


           Net Gear 16 Port Box                                                             $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Clarity                                                                          $0.00                                     $0.00


           Desk Phone - Mark                                                                $0.00                                     $0.00


           Desk Phone - Marge                                                               $0.00                                     $0.00


           Desk Phone - Counter                                                             $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 967
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Phone - Nathan                                                              $0.00                                     $0.00


           Desk Phone - Rich                                                                $0.00                                     $0.00


           Cell Phone - Marge                                                               $0.00                                     $0.00


           Cell Phone - Rich                                                                $0.00                                     $0.00


           Cell Phone - Nate                                                                $0.00                                     $0.00


           Calculator - Marge                                                               $0.00                                     $0.00


           Calculator - Nate                                                                $0.00                                     $0.00


           Calculator - Rich                                                                $0.00                                     $0.00


           Calculator - Counter                                                             $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Mircowave                                                                        $0.00                                     $0.00


           Toaster                                                                          $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00


           4 Drawer File Cabinet - Fireproof                                                $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Desk - Metal - Marge                                                             $0.00                                     $0.00


           Desk - Metal - Rich                                                              $0.00                                     $0.00


           Desk - Metal - Counter                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 968
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk - Metal - Back Room                                                         $0.00                                     $0.00


           Desk - Wooden - Mark                                                             $0.00                                     $0.00


           Desk - Wooden - Nate                                                             $0.00                                     $0.00


           2 Shelf Wooden Bookcase -Marge                                                   $0.00                                     $0.00


           2 Shelf Wooden Bookcase -Marge                                                   $0.00                                     $0.00


           2 Shelf Wooden Bookcase - Rich                                                   $0.00                                     $0.00


           2 Shelf Wooden Bookcase - Rich                                                   $0.00                                     $0.00


           2 Shelf Wooden Bookcase - Mark                                                   $0.00                                     $0.00


           Wood Conference Table                                                            $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Supply Cabinet - Metal                                                           $0.00                                     $0.00


           Supply Cabinet - Metal                                                           $0.00                                     $0.00


           Typing Table                                                                     $0.00                                     $0.00


           Rolling Metal Cabinet - Nate office                                              $0.00                                     $0.00


           Metal Printer Stand - Counter                                                    $0.00                                     $0.00


           Rolling Office Chair                                                             $0.00                                     $0.00


           Rolling Office Chair                                                             $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 969
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Time Clock                                                                       $0.00                                     $0.00


           Cork Board - 24" x 18"                                                           $0.00                                     $0.00


           Bar Stool                                                                        $0.00                                     $0.00


           Bar Stool                                                                        $0.00                                     $0.00


           Electric Pencil Sharpener                                                        $0.00                                     $0.00


           Cork Board - 24" x 36"                                                           $0.00                                     $0.00


           Typewriter                                                                       $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Stacking Conference Chair                                                        $0.00                                     $0.00


           Dry Erase Board                                                                  $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Price Book                                                                       $0.00                                     $0.00


           Price Book                                                                       $0.00                                     $0.00


           Price Book                                                                       $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 970
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Tape Gun                                                                         $0.00                                     $0.00


           Tape Gun                                                                         $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Wastepaper Basket                                                                $0.00                                     $0.00


           Tall Wastepaper Basket                                                           $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 971
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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                                                           Document     Page 981 of 1123
 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Air Compressor                                                                   $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           UPS Scale                                                                        $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00


           6 Drawer Metal Parts Cabinet                                                     $0.00                                     $0.00


           6 Drawer Metal Parts Cabinet                                                     $0.00                                     $0.00


           4 Step Rolling Ladder                                                            $0.00                                     $0.00


           14 Step Rolling Ladder                                                           $0.00                                     $0.00


           9 Step Rolling Ladder                                                            $0.00                                     $0.00


           12 Gal Shop Vac                                                                  $0.00                                     $0.00


           Salamander Heater                                                                $0.00                                     $0.00


           Tape Gun                                                                         $0.00                                     $0.00


           Heavy Duty Staple Gun                                                            $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00


           2 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           3 Shelf Plastic Bookcase                                                         $0.00                                     $0.00


           Frie Extinguisher                                                                $0.00                                     $0.00


           14' Ext Ladder-Aluminum                                                          $0.00                                     $0.00


           5' Wooden Table                                                                  $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 972
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Lenovo 15" ThinkPad Notebook Master meter
           Program                                                                          $0.00                                     $0.00


           Nathan Annello Lenovo M92p PC                                                    $0.00                                     $0.00


           Lenovo IdeaCenter Q Series Windows 8 PC                                          $0.00                                     $0.00


           Lenovo ThinkPad E450 - Vellano Shoring- Leo
           Shaw                                                                             $0.00                                     $0.00


           Flat Scree Monitor                                                               $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Flat Screen Monitor                                                              $0.00                                     $0.00


           Flat Screen Monitor                                                              $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 973
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name



           Digital Video Recorder                                                           $0.00                                     $0.00


           Flat Screen Monitor                                                              $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Water Cooler                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Office Chair                                                                     $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Leather Sofa                                                                     $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Credit Card Machine                                                              $0.00                                     $0.00


           Cordless Phone                                                                   $0.00                                     $0.00


           IT Phone Adapter                                                                 $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 974
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desktop Computer                                                                 $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           TV/VCR Combo                                                                     $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Cordless Phone                                                                   $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Heavy Duty Stapler                                                               $0.00                                     $0.00


           Garbage Can - 33 gal                                                             $0.00                                     $0.00


           Garbage Can - 33 gal                                                             $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           Rolling Warehouse Step Ladder                                                    $0.00                                     $0.00


           Wooded Chair                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 975
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Wooden Stool                                                                     $0.00                                     $0.00


           Hand Saw                                                                         $0.00                                     $0.00


           Hand Saw                                                                         $0.00                                     $0.00


           Rolling Warehouse Step Ladder                                                    $0.00                                     $0.00


           Wooden Table                                                                     $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Air Conditioner - Window                                                         $0.00                                     $0.00


           Coffee Table                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Air Compressor                                                                   $0.00                                     $0.00


           Air Compressor                                                                   $0.00                                     $0.00


           Grease Gun                                                                       $0.00                                     $0.00


           Angle Grinder                                                                    $0.00                                     $0.00


           Gas Can - 2 gal                                                                  $0.00                                     $0.00


           Gas Can - 2 gal                                                                  $0.00                                     $0.00


           Gas Can - 2 gal                                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 976
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Banding Machine                                                                  $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Power Washer                                                                     $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           MP Digital ON Hold Audio                                                         $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Price Book                                                                       $0.00                                     $0.00


           Price Book                                                                       $0.00                                     $0.00


           5 Drawer Metal Desk                                                              $0.00                                     $0.00


           Shipping Scale w/LED Display                                                     $0.00                                     $0.00


           5 Drawer Metal Desk                                                              $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           Hand Cart                                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 977
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Hand Cart                                                                        $0.00                                     $0.00


           5 Step Rolling Ladder                                                            $0.00                                     $0.00


           Leaf Blower                                                                      $0.00                                     $0.00


           Weed Whacker                                                                     $0.00                                     $0.00


           Weed Whacker                                                                     $0.00                                     $0.00


           Push Lawn Mower                                                                  $0.00                                     $0.00


           Air Compressor                                                                   $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Snow Blower                                                                      $0.00                                     $0.00


           Electric Drill                                                                   $0.00                                     $0.00


           Circular Saw                                                                     $0.00                                     $0.00


           Reciprocating Saw                                                                $0.00                                     $0.00


           Cutting Wheel                                                                    $0.00                                     $0.00


           Belt Sander                                                                      $0.00                                     $0.00


           Chain Saw                                                                        $0.00                                     $0.00


           Cut off Saw                                                                      $0.00                                     $0.00


           3' x 4' Cork Board                                                               $0.00                                     $0.00


           2' x 7' Cork Board                                                               $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           15" Flat Screen Monitor                                                          $0.00                                     $0.00


           EEE Box Wireless Workstation                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 978
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           2' x 3' Cork Board                                                               $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Mini Refrigerator                                                                $0.00                                     $0.00


           Trash Can - 40 gal                                                               $0.00                                     $0.00


           3'x6' Table                                                                      $0.00                                     $0.00


           Fixed Chair                                                                      $0.00                                     $0.00


           Fixed Chair                                                                      $0.00                                     $0.00


           Fixed Chair                                                                      $0.00                                     $0.00


           Fixed Chair                                                                      $0.00                                     $0.00


           4' x 3.5' Cork Board                                                             $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           4'x6' Wooden Table                                                               $0.00                                     $0.00


           5 Drawer Wooden Desk                                                             $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Black Leather Office Chair                                                       $0.00                                     $0.00


           Brown Leather Office Chair                                                       $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 979
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Fire Proof 4 Drawer File Cabinet                                                 $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Rolling Postage Table                                                            $0.00                                     $0.00


           Rolling Table                                                                    $0.00                                     $0.00


           Rolling Table                                                                    $0.00                                     $0.00


           Copier/Printer                                                                   $0.00                                     $0.00


           3' x 4' Dry Erase Board                                                          $0.00                                     $0.00


           TV/VCR/ DVD Combo                                                                $0.00                                     $0.00


           Armed Conference Chair                                                           $0.00                                     $0.00


           Armed Conference Chair                                                           $0.00                                     $0.00


           Armed Conference Chair                                                           $0.00                                     $0.00


           Black Leather Office Chair                                                       $0.00                                     $0.00


           Trash Can - plastic                                                              $0.00                                     $0.00


           Wooden Drafting Table                                                            $0.00                                     $0.00


           Monitor - TV Flatscreen                                                          $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Modem                                                                            $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 980
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Router                                                                           $0.00                                     $0.00


           Netgear 24 port Switch                                                           $0.00                                     $0.00


           Wireless Acess Point                                                             $0.00                                     $0.00


           Wireless Adapter                                                                 $0.00                                     $0.00


           Wireless Adapter                                                                 $0.00                                     $0.00


           Wireless Adapter                                                                 $0.00                                     $0.00


           Wireless Adapter                                                                 $0.00                                     $0.00


           24 Port Ethernet Switch                                                          $0.00                                     $0.00


           Cicso Router                                                                     $0.00                                     $0.00


           Land Line Phone                                                                  $0.00                                     $0.00


           5 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Wooden Drafting Table                                                            $0.00                                     $0.00


           4' x 4' wooden Bookcase                                                          $0.00                                     $0.00


           Wooden Desk w/wing                                                               $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Laptop Computer                                                                  $0.00                                     $0.00


           3' x 4' Cork Board                                                               $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 981
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Black Leather Office Chair                                                       $0.00                                     $0.00


           Steno Chair                                                                      $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           2' x3' Cork Board                                                                $0.00                                     $0.00


           2' x3' Cork Board                                                                $0.00                                     $0.00


           2' x3' Cork Board                                                                $0.00                                     $0.00


           7 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           7 Shelf Wooden Bookcase                                                          $0.00                                     $0.00


           3' x 5' Steel Table                                                              $0.00                                     $0.00


           5 Drawer Wooden Desk                                                             $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Laptop Computer                                                                  $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           3'x4' Cork Bulletin Board                                                        $0.00                                     $0.00


           Black Leather Office Chair                                                       $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 982
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Trash Can - steel                                                                $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           5 Drawer Wooden Desk                                                             $0.00                                     $0.00


           4 Drawer Wooden Desk                                                             $0.00                                     $0.00


           4 Drawer Wooden Desk                                                             $0.00                                     $0.00


           2' x 5' Rolling Table                                                            $0.00                                     $0.00


           8x8 IP phone                                                                     $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           Black Leather Office Chair                                                       $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Black Leather Office Chair                                                       $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           Trash Can - steel                                                                $0.00                                     $0.00


           3'x5' Dry Erase Board                                                            $0.00                                     $0.00


           Trash Can - plastic                                                              $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 983
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Tape Dispenser                                                              $0.00                                     $0.00


           Camera                                                                           $0.00                                     $0.00


           5 gal gas can                                                                    $0.00                                     $0.00


           2 gal Gas Can                                                                    $0.00                                     $0.00


           Steno Office Chair                                                               $0.00                                     $0.00


           2 gal Gas Can                                                                    $0.00                                     $0.00


           3 Ton Floor jack                                                                 $0.00                                     $0.00


           6" Wooden Folding Table                                                          $0.00                                     $0.00


           Banding Machine                                                                  $0.00                                     $0.00


           2 Shelf Wooded Bookcase                                                          $0.00                                     $0.00


           3 Shelf Bookcase - Metal                                                         $0.00                                     $0.00


           2 Shelf Metal Bookcase                                                           $0.00                                     $0.00


           3 Shelf Bookcase - Metal                                                         $0.00                                     $0.00


           3 Shelf Bookcase - Metal                                                         $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00


           3'x2' Cork Bulletin Board                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 984
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           3' x 3' Dry Erase Board                                                          $0.00                                     $0.00


           2'x3' Dry Erase Boards                                                           $0.00                                     $0.00


           2'x3' Dry Erase Boards                                                           $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Guest Chair                                                                      $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 985
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Check Scanner                                                                    $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor - 17"                                                                    $0.00                                     $0.00


           Monitor - 17"                                                                    $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor - 20"                                                                    $0.00                                     $0.00


           Monitor - 20"                                                                    $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor - 32"                                                                    $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Cell Phone -Jermy                                                                $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 986
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 987
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Waste Basket                                                                     $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           Oval Wood Conference Table                                                       $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00


           Folding Table                                                                    $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 988
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           5 Drawer Metal Desk                                                              $0.00                                     $0.00


           5 Drawer Metal Desk                                                              $0.00                                     $0.00


           3 Drawer Metal Desk                                                              $0.00                                     $0.00


           5 Drawer Metal Desk                                                              $0.00                                     $0.00


           3 Drawer Metal Desk                                                              $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Bar Stools                                                                       $0.00                                     $0.00


           Bar Stools                                                                       $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           APC Backup Battery                                                               $0.00                                     $0.00


           Network Agent                                                                    $0.00                                     $0.00


           Lynksis Wireless Router                                                          $0.00                                     $0.00


           Starnest Hard Drive                                                              $0.00                                     $0.00


           My Book Drive Service                                                            $0.00                                     $0.00


           Vacuum Cleaner                                                                   $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00


           Generator                                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 989
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Weed Eater                                                                       $0.00                                     $0.00


           Snow Blower                                                                      $0.00                                     $0.00


           Fiberglass Ladder                                                                $0.00                                     $0.00


           Rolling Warehouse Step Ladder                                                    $0.00                                     $0.00


           A/C Unit                                                                         $0.00                                     $0.00


           Tool Box                                                                         $0.00                                     $0.00


           Laptop - Pete                                                                    $0.00                                     $0.00


           Cell Phone - Maggie                                                              $0.00                                     $0.00


           Cell Phone -CT                                                                   $0.00                                     $0.00


           Propane Snow Melter                                                              $0.00                                     $0.00


           40' Stotage Container                                                            $0.00                                     $0.00


           UPS Scale                                                                        $0.00                                     $0.00


           HP P3015n lp16                                                                   $0.00                                     $0.00


           Lenovo IdealPad S400 Touch                                                       $0.00                                     $0.00


           3 Drawer pedestal Desk                                                           $0.00                                     $0.00


           Desk Shell                                                                       $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           Lateral File Cabinet - Wooden                                                    $0.00                                     $0.00


           Lateral File Cabinet - Wooden                                                    $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 990
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           5 Shelf Wooded Bookcase                                                          $0.00                                     $0.00


           6' x 4' Dry Erase Board                                                          $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Desk Shell                                                                       $0.00                                     $0.00


           Desk Return                                                                      $0.00                                     $0.00


           3 Drawer pedestal Desk                                                           $0.00                                     $0.00


           2 Drawer pedestal Desk                                                           $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Desk Shell                                                                       $0.00                                     $0.00


           Desk Return                                                                      $0.00                                     $0.00


           2 Drawer pedestal Desk                                                           $0.00                                     $0.00


           3 Drawer pedestal Desk                                                           $0.00                                     $0.00


           2 Drawer pedestal Desk                                                           $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           check Scanner                                                                    $0.00                                     $0.00


           Desk Shell                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 991
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Desk Return                                                                      $0.00                                     $0.00


           3 Drawer pedestal Desk                                                           $0.00                                     $0.00


           2 Drawer pedestal Desk                                                           $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           3 Hole Paper Punch                                                               $0.00                                     $0.00


           Laptop computer                                                                  $0.00                                     $0.00


           Paper Shredder                                                                   $0.00                                     $0.00


           4 Drawer Fireproof File Cabinet                                                  $0.00                                     $0.00


           Hoover Vacuum                                                                    $0.00                                     $0.00


           Step Stool                                                                       $0.00                                     $0.00


           5 DRAWER FILE CABINET                                                            $0.00                                     $0.00


           Router                                                                           $0.00                                     $0.00


           Drafting Table                                                                   $0.00                                     $0.00


           Drafting Chair                                                                   $0.00                                     $0.00


           CASUAL CHAIR                                                                     $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 992
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           2 Door Tall Metal Supply Cabinet                                                 $0.00                                     $0.00


           dot Matix Printer-Counter                                                        $0.00                                     $0.00


           Printer Stand-Metal/Wooden                                                       $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Bar Code Label Machine                                                           $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           RF Gun Battery Station                                                           $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Desktop Computer                                                                 $0.00                                     $0.00


           Toaster Oven                                                                     $0.00                                     $0.00


           Radio                                                                            $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           Refrigerator - Kitchen                                                           $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           4'x4' Book Shelf -Wooden                                                         $0.00                                     $0.00


           Microwave                                                                        $0.00                                     $0.00


           Wooden Microwave Stand                                                           $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 993
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           CASUAL CHAIR                                                                     $0.00                                     $0.00


           13" TV/VCR Combo                                                                 $0.00                                     $0.00


           ECHO Blower                                                                      $0.00                                     $0.00


           4 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Drawer File Cabinet                                                            $0.00                                     $0.00


           2 Shelf Metal Bookcase                                                           $0.00                                     $0.00


           Refrigerator                                                                     $0.00                                     $0.00


           Wooden Microwave Stand                                                           $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           RF Gun Battery                                                                   $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           CASUAL CHAIR                                                                     $0.00                                     $0.00


           CASUAL CHAIR                                                                     $0.00                                     $0.00


           CASUAL CHAIR                                                                     $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 994
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           Ebba Bar Stools                                                                  $0.00                                     $0.00


           RF Gun                                                                           $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Waste Basket                                                                     $0.00                                     $0.00


           Lenovo m92p Micro Desktop                                                        $0.00                                     $0.00


           Lenovo 15" ThinkPad Notebook Gabe Joao                                           $0.00                                     $0.00


           24 Port Pe Ethernet Switch                                                       $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           APA Analog Adapter                                                               $0.00                                     $0.00


           Cordless Phone with Base Unit                                                    $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Fax Machine                                                                      $0.00                                     $0.00


           Laser Printer                                                                    $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 995
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Big foot Hand Truck                                                              $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           24 Port POE Switch                                                               $0.00                                     $0.00


           Desktop Computer -Ron                                                            $0.00                                     $0.00


           19" Montior - Ron                                                                $0.00                                     $0.00


           HP Laser Printer                                                                 $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Desk Stapler - Counter                                                           $0.00                                     $0.00


           Desk Stapler - Mark                                                              $0.00                                     $0.00


           19" Montior - Laurie                                                             $0.00                                     $0.00


           10# Fire Extinguisher                                                            $0.00                                     $0.00


           HP Laser Jet P3015 Printer                                                       $0.00                                     $0.00


           BATTERY CHARGER                                                                  $0.00                                     $0.00


           8X8 Phone                                                                        $0.00                                     $0.00


           8 x 8 IP Phone                                                                   $0.00                                     $0.00


           Mircowave                                                                        $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 996
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Coffee Maker                                                                     $0.00                                     $0.00


           Dot Matix Printer                                                                $0.00                                     $0.00


           Lenovo ThinkVision LT2252p Wide Screen                                           $0.00                                     $0.00


           19" Montior - Laurie                                                             $0.00                                     $0.00


           Lenovo 15" ThinkPad Notebook                                                     $0.00                                     $0.00


           Jeff Folino Win8 Desktop                                                         $0.00                                     $0.00


           Cisco 1921 K/9 Router                                                            $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           Latham Sales Counter Monitor PC                                                  $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           Leather Office Chair                                                             $0.00                                     $0.00


           HP P3015N Laser Printer                                                          $0.00                                     $0.00


           Office Chair - Rolling                                                           $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 997
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 998
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Metal Folding Chair                                                              $0.00                                     $0.00


           Color Laser Printer                                                              $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 999
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Shop Vacuum                                                                      $0.00                                     $0.00


           Shipping Scale                                                                   $0.00                                     $0.00


           A/C Battery Backup                                                               $0.00                                     $0.00


           Portable Heater                                                                  $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Acer 28" Monitor                                                                 $0.00                                     $0.00


           Lenovo M73 Lincoln Takeoff PC                                                    $0.00                                     $0.00


           Desktop PC                                                                       $0.00                                     $0.00


           Wire Shelf                                                                       $0.00                                     $0.00


           Wire Shelf                                                                       $0.00                                     $0.00


           Wire Shelf                                                                       $0.00                                     $0.00


           HP P3015N Laser Printer                                                          $0.00                                     $0.00


           Canon Color Copier                                                               $0.00                                     $0.00


           Stapler                                                                          $0.00                                     $0.00


           HP Scanjet Pro 3000S2                                                            $0.00                                     $0.00


           HP P3015N Laser Printer                                                          $0.00                                     $0.00


           Laser Jet Printer                                                                $0.00                                     $0.00


           Power Washer                                                                     $0.00                                     $0.00


           ARC Welder 225s                                                                  $0.00                                     $0.00


           Porter Cable Grinder                                                             $0.00                                     $0.00


           Small Grinder                                                                    $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1000
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Lincoln Outback                                                                  $0.00                                     $0.00


           LP72 Rochester HP P3015DN Laser Printer                                          $0.00                                     $0.00


           Motorola Verizon Cell Phone                                                      $0.00                                     $0.00


           Rolling Office Chair                                                             $0.00                                     $0.00


           Rolling Office Chair                                                             $0.00                                     $0.00


           Copier                                                                           $0.00                                     $0.00


           Cordless Phone                                                                   $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Desk Stapler                                                                     $0.00                                     $0.00


           Rodann Bell Chime                                                                $0.00                                     $0.00


           Calculator                                                                       $0.00                                     $0.00


           APC BAttery Backup                                                               $0.00                                     $0.00


           Heavy Duty Stapler                                                               $0.00                                     $0.00


           Stapler                                                                          $0.00                                     $0.00


           Coffee Maker                                                                     $0.00                                     $0.00


           Desk Stalper                                                                     $0.00                                     $0.00


           Shop Vac                                                                         $0.00                                     $0.00


           Display Stand                                                                    $0.00                                     $0.00


           LG Portable DVD Writer                                                           $0.00                                     $0.00


           Monitor                                                                          $0.00                                     $0.00


           Pallet Jack                                                                      $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1001
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           8x8 IP Phone                                                                     $0.00                                     $0.00


           24 Port Pe Ethernet Switch                                                       $0.00                                     $0.00


           6' Folding Table                                                                 $0.00                                     $0.00


           Ric Bordeaux Desktop                                                             $0.00                                     $0.00


           HP P3015N Laser Printer                                                          $0.00                                     $0.00


           HP Laserjet Printer                                                              $0.00                                     $0.00


           West Bridgewater Counter/Yard PC                                                 $0.00                                     $0.00


           Scanner                                                                          $0.00                                     $0.00


           23" Monitor- Back Office                                                         $0.00                                     $0.00


           Desktop - Back Office                                                            $0.00                                     $0.00


           Cell Phone - Pete                                                                $0.00                                     $0.00


           Territory Map                                                                    $0.00                                     $0.00


           Pipe Saw                                                                         $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1002
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            Case 17-11348-1-rel                        Doc 1 Filed 07/21/17 Entered 07/21/17 12:04:14                 Desc Main
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Cloth & Metal Chair                                                              $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00


           Cloth & Metal Chair                                                              $0.00                                     $0.00


           13 Gal Trash Barrel                                                              $0.00                                     $0.00


           Metal Office Desk                                                                $0.00                                     $0.00


           HP P3015N Laser Printer                                                          $0.00                                     $0.00


           19" Montior                                                                      $0.00                                     $0.00


           D-Link Box                                                                       $0.00                                     $0.00


           IBM FasTt600 Disk Array w 14ea- 18.2 Gb
           Drives                                                                           $0.00                                     $0.00


           Dell PowerEdge 6400 Server (Xeon)                                                $0.00                                     $0.00


           InterTel Access System Dual Cabinet                                              $0.00                                     $0.00


           IP SLA                                                                           $0.00                                     $0.00


           IP SLA Single Line Adapter                                                       $0.00                                     $0.00


           InterTel 8560 Phone                                                              $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1003
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           Executone Phone                                                                  $0.00                                     $0.00


           InterTel Phone                                                                   $0.00                                     $0.00


           Executone Phone                                                                  $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Dell Optiplex 755                                                                $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Intertel Phone                                                                   $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00


           Desk Phone                                                                       $0.00                                     $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1004
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 Debtor         The Vellano Corporation                                                       Case number (If known)
                Name

           Desk Phone                                                                       $0.00                                              $0.00


           Router                                                                           $0.00                                              $0.00


           WiFi                                                                             $0.00                                              $0.00


           Cell Phone - Pete                                                                $0.00                                              $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1981 Clark Model 70                                                    $0.00                                      $10,000.00


           47.2.     1998 Fontaine Trailer                                                  $0.00                                        $5,000.00


           47.3.     1999 Freightliner Tractor                                              $0.00                                      $10,000.00


           47.4.     1999 GMC C7H042 Flat Bed                                               $0.00                                        $2,000.00


           47.5.     2000 Carma Trailer                                                     $0.00                                        $4,500.00


           47.6.     2003 GMC C5500 Rack Truck                                              $0.00                                        $8,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 1005
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           47.7.     2005 Bobcat                                                            $0.00                             $22,000.00


           47.8.     2006 GMC W4500 Rack                                                    $0.00                             $10,500.00


           47.9.     2006 TCM FHG30T7                                                       $0.00                             $14,000.00


           47.10
           .     2007 Freightliner Rack                                                     $0.00                             $12,500.00


           47.11
           .     2007 GMC Flat Bed                                                          $0.00                             $12,000.00


           47.12
           .     2007 GMC C7500 Flat Bed                                                    $0.00                             $12,000.00


           47.13
           .     2007 International Rack                                                    $0.00                             $12,500.00


           47.14
           .     2008 International 4300 Flat Bed                                           $0.00                             $14,500.00


           47.15
           .     2011 Chevrolet Malibu                                                      $0.00                             $13,500.00


           47.16
           .     2011 Chevrolet Malibu                                                      $0.00                               $8,500.00


           47.17
           .     2014 GMC Sierra                                                            $0.00                             $28,000.00


           47.18
           .     JCB                                                                        $0.00                               $8,000.00


           47.19
           .     2005 GMC Flat Bed                                                          $0.00                             $12,500.00


           47.20
           .     2006 GMC Rack                                                              $0.00                             $12,500.00


           47.21
           .     Caterpillar GPL-40                                                         $0.00                               $5,000.00


           47.22
           .     2007 International Rack                                                    $0.00                             $10,000.00


           47.23
           .     Caterpillar P6000-LP                                                       $0.00                             $10,000.00


           47.24
           .     Harlo P6500                                                                $0.00                             $18,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1006
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           47.25
           .     2008 International 4300 Flat Bed                                           $0.00                             $17,500.00


           47.26
           .     TCM FG-25                                                                  $0.00                               $2,000.00


           47.27
           .     2004 Caterpillar P6000                                                     $0.00                             $12,000.00


           47.28
           .     2005 GMC Rack                                                              $0.00                               $3,000.00


           47.29
           .     2007 GMC Sierra                                                            $0.00                               $9,000.00


           47.30
           .     2007 GMC Flat Bed                                                          $0.00                             $12,000.00


           47.31
           .     2007 GMC Flat Bed                                                          $0.00                             $10,000.00


           47.32
           .     2008 Byer Trailer                                                          $0.00                               $1,000.00


           47.33
           .     2004 GMC Pickup                                                            $0.00                               $1,000.00


           47.34
           .     2007 Caterpillar P6000-LP                                                  $0.00                             $14,000.00


           47.35
           .     2007 International 4300 Flat Bed                                           $0.00                               $8,000.00


           47.36
           .     2006 Caterpillar GP40K-LP                                                  $0.00                             $13,000.00


           47.37
           .     2006 Genie GTH5519                                                         $0.00                             $28,000.00


           47.38
           .     2009 GMC Sierra                                                            $0.00                               $8,500.00


           47.39
           .     2014 Chevy Express Van                                                     $0.00                             $21,500.00


           47.40
           .     TCM FG30NST                                                                $0.00                               $4,000.00


           47.41
           .     2005 GMC Plow Pickup                                                       $0.00                               $3,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1007
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           47.42
           .     2007 GMC Pickup                                                            $0.00                             $17,500.00


           47.43
           .     2008 Freightliner M2 106 Rack Truck                                        $0.00                             $19,600.00


           47.44
           .     2012 Ford F550 Rack Truck                                                  $0.00                             $15,000.00


           47.45
           .     2001 GMC C7500 Flat Bed                                                    $0.00                               $5,000.00


           47.46
           .     2003 GMC C7500 Flat Bed                                                    $0.00                               $5,500.00


           47.47
           .     2003 GMC W3500 Rack                                                        $0.00                               $8,000.00


           47.48
           .     2006 Terex Genie GTH5519 Tele-Handler                                      $0.00                             $28,000.00


           47.49
           .     2012 GMC Savana                                                            $0.00                             $11,500.00


           47.50
           .     2006 Genie GTH5519                                                         $0.00                             $28,000.00


           47.51
           .     2012 Ford Rack                                                             $0.00                             $15,000.00


           47.52
           .     2004 GMC Envoy XUV                                                         $0.00                               $4,500.00


           47.53
           .     2007 Caterpillar P6000                                                     $0.00                             $14,000.00


           47.54
           .     Nissan KPH02-A25V Enduro 257H                                              $0.00                               $4,000.00


           47.55
           .     1971 Caterpillar 920                                                       $0.00                             $10,000.00


           47.56
           .     2007 GMC Flat Bed                                                          $0.00                             $12,000.00


           47.57
           .     2008 International 4300 Flat Bed                                           $0.00                             $23,500.00


           47.58
           .     2015 Ford Transit                                                          $0.00                             $27,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1008
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

           47.59
           .     Caterpillar GP25K                                                          $0.00                               $8,000.00


           47.60
           .     2001 GMC Flat Bed                                                          $0.00                               $4,000.00


           47.61
           .     2008 Chevrolet Pickup                                                      $0.00                               $9,000.00


           47.62
           .     2012 Ford F550 Rack Truck                                                  $0.00                             $15,000.00


           47.63
           .     MasterCraft Scrambler S-6-P                                                $0.00                             $15,000.00


           47.64
           .     1999 Freightliner Tractor                                                  $0.00                             $10,000.00


           47.65
           .     2000 MANAC Trailer                                                         $0.00                               $4,000.00


           47.66
           .     2003 GMC Flat Bed                                                          $0.00                               $6,000.00


           47.67
           .     2007 GMC Flat Bed                                                          $0.00                             $14,500.00


           47.68
           .     2008 Hino 258 Rack Truck                                                   $0.00                             $18,900.00


           47.69
           .     Mitsubishi FG30N                                                           $0.00                             $20,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                               $815,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 1009
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor         The Vellano Corporation                                                       Case number (If known)
                Name



        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            4 internet domain names and websites                                            $0.00                                        Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            customer list                                                                   $0.00                                        Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            goodwill                                                                        $0.00                                        Unknown



 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 1010
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 Debtor         The Vellano Corporation                                                      Case number (If known)
                Name

                                                                          1,000,000.00 -                          500,000.00 =
           Joseph Vellano                                             Total face amount    doubtful or uncollectible amount             $500,000.00



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           7 key man policies; death benefit only                                                                                                $0.00



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $500,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 1011
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 Debtor          The Vellano Corporation                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $25,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,235,584.53

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $3,241,436.21

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $815,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $500,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $5,818,020.74            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,818,020.74




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 1012
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally                                           Describe debtor's property that is subject to a lien                     $4,174.38                     $0.00
       Creditor's Name                                2012 Ford F550
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ally                                           Describe debtor's property that is subject to a lien                   $15,921.54                      $0.00
       Creditor's Name                                2104 Chevy Van
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 7
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 Debtor       The Vellano Corporation                                                                  Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Ally                                           Describe debtor's property that is subject to a lien                     $10,474.54              $0.00
       Creditor's Name                                2007 GMC Sierra Pickup
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2726
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Ally                                           Describe debtor's property that is subject to a lien                      $2,714.02              $0.00
       Creditor's Name                                2012 GMC Van
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Ally                                           Describe debtor's property that is subject to a lien                     $18,415.20              $0.00
       Creditor's Name                                2015 Ford Municipal Van
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 7
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 Debtor       The Vellano Corporation                                                                  Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Ally                                           Describe debtor's property that is subject to a lien                     $4,670.14              $0.00
       Creditor's Name                                2008 International Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4371
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Ally                                           Describe debtor's property that is subject to a lien                     $4,147.69              $0.00
       Creditor's Name                                2012 Ford F550
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Ally                                           Describe debtor's property that is subject to a lien                     $4,147.69              $0.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 7
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 Debtor       The Vellano Corporation                                                                  Case number (if know)
              Name

       Creditor's Name                                2012 Ford F550
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Ally                                           Describe debtor's property that is subject to a lien                     $21,481.70              $0.00
       Creditor's Name                                2014 GMC Siera Pickup (Nino)
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Ally                                           Describe debtor's property that is subject to a lien                     $10,074.18              $0.00
       Creditor's Name                                2008 Hino Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       XE11
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 7
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 Debtor       The Vellano Corporation                                                                  Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     Ally                                           Describe debtor's property that is subject to a lien                     $10,473.63              $0.00
       Creditor's Name                                2008 International Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7844
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     Ally                                           Describe debtor's property that is subject to a lien                      $1,080.89              $0.00
       Creditor's Name                                2007 International Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9454
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Ally                                           Describe debtor's property that is subject to a lien                     $13,620.20              $0.00
       Creditor's Name                                2008 Freightliner Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 7
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              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2779
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     Ally                                           Describe debtor's property that is subject to a lien                     $15,651.61              $0.00
       Creditor's Name                                2008 Internatoinal Flatbed
       P.O. Box 9001951
       Louisville, KY 40290-1951
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4705
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 5     M&T Bank                                       Describe debtor's property that is subject to a lien               $10,500,000.00       $6,000,000.00
       Creditor's Name                                All property not separtely liened
       Acct.No.XXX-1000
       PO Box 900
       Millsboro, DE 19966
       Creditor's mailing address                     Describe the lien
                                                      Blanket Lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.


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              Name




                                                                                                                         $10,637,047.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   41

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,652.79
           ACO POLYMER PRODUCTS                                                 Contingent
           P.O. BOX 72145                                                       Unliquidated
           CLEVELAND, OH 44192                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $226.26
           ACTION FIRE & SAFTEY EQUI                                            Contingent
           2336 RT. 11                                                          Unliquidated
           KIRKWOOD, NY 13795                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $232.00
           ADAPTOR, INC.                                                        Contingent
           2151 SOUTH 54TH STREET                                               Unliquidated
           WEST ALLIS, WI 53219                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $67,698.00
           ADIRONDACK TRUST INSURANC                                            Contingent
           P.O. BOX 13326                                                       Unliquidated
           ALBANY, NY 12212-3326                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 48
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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,892.15
          ADVANCED DRAINAGE SYSTEMS                                             Contingent
          P.O. BOX 414044                                                       Unliquidated
          BOSTON, MA 02241-4044                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,385.00
          AGAVE WIRE                                                            Contingent
          PO BOX 38409                                                          Unliquidated
          DALLAS, TX 75238-0409                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $776.02
          AGRI DRAIN CORP.                                                      Contingent
          P. O. BOX 458                                                         Unliquidated
          ADAIR, IA 50002                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $72,995.00
          AIS, LLC                                                              Contingent
          P.O. BOX 161                                                          Unliquidated
          BON AIR, AL 35032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $76,021.05
          AJ VEL LTD D/B/A                                                      Contingent
          VELLANO TECHNOLOGIES                                                  Unliquidated
          7 HEMLOCK STREET                                                      Disputed
          LATHAM, NY 12110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $212.37
          ALABAMA PROPANE EXCHANGE                                              Contingent
          P.O. BOX 638                                                          Unliquidated
          ORANGE BEACH, AL 36561                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $72.00
          ALL SEASONS TEXTILE SERVI                                             Contingent
          P.O. BOX 222                                                          Unliquidated
          CLINTON, NY 13323                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,807.79
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,215.15
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5782
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $546.83
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1614
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $842.73
          ALLY                                                                  Contingent
          P.O. BOX 91001948                                                     Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8363
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $872.34
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8059
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,672.42
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5349
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,672.42
          ALLY                                                                  Contingent
          P.O. BOX 9001948                                                      Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1423
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,219.51
          ALLY                                                                  Contingent
          PYMNT PROCESSING CNTR                                                 Unliquidated
          P.O. BOX 9001948                                                      Disputed
          LOUISVILLE, KY 40290-1948
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9260                         Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,043.36
          ALLY                                                                  Contingent
          P.O.BOX 9001948                                                       Unliquidated
          LOUISVILLE, KY 40290-1948                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5594
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,669.64
          AMERICAN EXPRESS                                                      Contingent
          P.O. BOX 2855                                                         Unliquidated
          NEW YORK, NY 10116-2855                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $114,276.80
          AMERICAN EXPRESS 9-31004                                              Contingent
          P.O. BOX 1270                                                         Unliquidated
          NEWARK, NJ 07101-1270                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $41.78
          AMERICAN FIREHOSE                                                     Contingent
          222 BEMIS ROAD                                                        Unliquidated
          FITCHBURG, MA 01420                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,325.21
          AMERICAN FLEET MAINTENANC                                             Contingent
          275 INTERNATIONAL BLVD.                                               Unliquidated
          ROCHESTER, NY 14624                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,508.47
          AMERICAN PIPE & SUPPLY                                                Contingent
          P.O. BOX 745149                                                       Unliquidated
          ATLANTA, GA 30374-5149                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       The Vellano Corporation                                                                 Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $140.49
          AMERICAN VALVE MFG CORP                                               Contingent
          P.O. BOX 35229                                                        Unliquidated
          GREENSBORO, NC 27425-5229                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,350.72
          AMTEK TOTAL SOLUTIONS,LLC                                             Contingent
          PO BOX 525                                                            Unliquidated
          OLEAN, NY 14760                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $106.00
          ANNISTON WINDUSTRIAL CO.,                                             Contingent
          1715 HILLYER-ROBINSON PARKWAY                                         Unliquidated
          ANNISTON, AL 36207                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $101.96
          ANTHEM PROPANE EXCHANGE                                               Contingent
          P.O.BOX 1078                                                          Unliquidated
          HIGHLAND PARK, IL 60035                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0826
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $692.00
          AQUALINE SALES, INC.                                                  Contingent
          3812 GOLDEN AUTUMN ROAD                                               Unliquidated
          BUFORD, GA 30519                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,581.00
          AQUASHIELD PROTECTIVE ENC                                             Contingent
          2020 W 38TH STREET                                                    Unliquidated
          NORTH LITTLE ROCK, AR 72118                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,613.80
          ASSOCIATED FUEL SYSTEMS I                                             Contingent
          PROBILING & FUNDING SERVICE                                           Unliquidated
          P.O. BOX 2222                                                         Disputed
          DECATUR, AL 35609-2222
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $743.75
          ASSURED FLOW SALES, INC.                                              Contingent
          P.O. BOX 49633                                                        Unliquidated
          SARASOTA, FL 34230-9633                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $245.00
          BALDWIN EMC                                                           Contingent
          P.O. BOX 220                                                          Unliquidated
          SUMMERDALE, AL 36580                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       X002
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $91,220.98
          BAUGHMAN TILE CO.                                                     Contingent
          8516 TOWNSHIP ROAD 137                                                Unliquidated
          PAULDING, OH 45879                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $122.79
          BERKSHIRE MTN. SPRING WAT                                             Contingent
          P.O. BOX 279                                                          Unliquidated
          SOUTHFIELD, MA 01259                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $311.71
          BERT ADAMS DISPOSAL, INC.                                             Contingent
          P O BOX 549                                                           Unliquidated
          CHENANGO BRIDGE, NY 13745                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,150.00
          BERTARELLI BROS.                                                      Contingent
          P.O. BOX 328                                                          Unliquidated
          SO EASTON, MA 02375                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,434.33
          BIBBY-STE. CROIX                                                      Contingent
          55 WATER STREET                                                       Unliquidated
          ROOM 826                                                              Disputed
          NIAGARA FALLS, NY 14304-0178
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,160.39
          BINGHAM & TAYLOR                                                      Contingent
          P.O. BOX 361                                                          Unliquidated
          BRATTLEBORO, VT 05302-0361                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,987.32
          BIRMINGHAM FASTENERS                                                  Contingent
          DEPT #5564                                                            Unliquidated
          P.O. BOX 11407                                                        Disputed
          BIRMINGHAM, AL 35246-5564
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $243.60
          BLACK SWAN MFG CO                                                     Contingent
          4540 WEST THOMAS                                                      Unliquidated
          CHICAGO, IL 60651                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,444.72
          BMI CANADA                                                            Contingent
          3437 BOULEVARD GRANDE-ALLEE                                           Unliquidated
          BOISBRIAND, QC J7H1H5                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.10
          BUFFALO ELECTRIC COMPANY                                              Contingent
          P.O. BOX 2005                                                         Unliquidated
          BIRMINGHAM, AL 35201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,521.38
          BURR TRUCK & TRAILER SALE                                             Contingent
          2901 VESTAL ROAD                                                      Unliquidated
          SOUTH VESTAL, NY 13850                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,856.21
          BUY WHOLESALE COMPANY                                                 Contingent
          2055 OLD RIVER ROAD                                                   Unliquidated
          MONTGOMERY, TX 77356                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,142.00
          C & B PIPING, INC.                                                    Contingent
          P.O. BOX 942                                                          Unliquidated
          LEEDS, AL 35094                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,675.28
          CAMBRIDGE BRASS                                                       Contingent
          P.O. BOX 249                                                          Unliquidated
          140 ORION PLACE                                                       Disputed
          ON CANADA N1R5V1
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $640.48
          CAMBRIDGE LEE IND. INC.                                               Contingent
          P.O. BOX 62782                                                        Unliquidated
          BALTIMORE, MD 21264-2782                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,789.98
          CANON FINANCIAL SERVICES,                                             Contingent
          14904 COLLECTIONS CENTER DRIVE                                        Unliquidated
          CHICAGO, IL 60693-0149                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.38
          CANON SOLUTIONS AMERICA,                                              Contingent
          One Canon Park                                                        Unliquidated
          Melville, NY 11747                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $744.60
          CARPENTER & PATERSON INC.                                             Contingent
          P.O. BOX 347831                                                       Unliquidated
          PITTSBURGH, PA 15251-4876                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,918.40
          CARTHAGE MILLS                                                        Contingent
          PO BOX 181327                                                         Unliquidated
          FAIRFIELD, OH 45018-1327                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $453.67
          Cash- Vestal                                                          Contingent
          405 Commerce Road                                                     Unliquidated
          VESTAL, NY 13851                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,668.15
          CCI PIPELINE SYSTEMS                                                  Contingent
          1058 O'NEAL DRIVE                                                     Unliquidated
          BREAUX BRIDGE, LA 70517                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,014.18
          CENTRAL PIPE & SUPPLY                                                 Contingent
          P.O. BOX 117158                                                       Unliquidated
          ATLANTA, GA 30368-7158                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $287.50
          CENTURYLINK                                                           Contingent
          P.O. BOX 4300                                                         Unliquidated
          CAROL STREAM, IL 60197-4300                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6706
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $148.24
          CENTURYLINK                                                           Contingent
          P.O. BOX 4300                                                         Unliquidated
          CAROL STREAM, IL 60197-4300                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8528
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,257.47
          CHARTER PLASTICS                                                      Contingent
          221 S. PERRY ST                                                       Unliquidated
          P.O. BOX 770                                                          Disputed
          TITUSVILLE, PA 16354
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $239.95
          CINTAS                                                                Contingent
          P.O. BOX 630910                                                       Unliquidated
          CINCINNATI, OH 45263-0910                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7112
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $310.53
          CIRCLE MANUFACTURING CO.                                              Contingent
          995 GRIFFIN POND ROAD                                                 Unliquidated
          CLARKS SUMMIT, PA 18411                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.09
          CITY OF LINCOLN                                                       Contingent
          P.O. BOX 172                                                          Unliquidated
          LINCOLN, AL 35096                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       X800
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $83.54
          CITY OF WESTFIELD                                                     Contingent
          59 COURT ST                                                           Unliquidated
          WESTFIELD, MA 01085                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $55.69
          CKR PRODUCTS                                                          Contingent
          625 WATAB COURT                                                       Unliquidated
          SARTELL, MN 56377                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,331.83
          CLEAR WATER MANUFACTURING                                             Contingent
          900 WELLS ROAD                                                        Unliquidated
          WETHERSFIELD, CT 06109                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $34,570.17
          CLOW VALVE COMPANY                                                    Contingent
          P.O. BOX 848360                                                       Unliquidated
          DALLAS, TX 75284-8360                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $265.89
          COMCAST                                                               Contingent
          P.O. BOX 1577                                                         Unliquidated
          NEWARK, NJ 07101-1577                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,944.00
          COMMAND CREDIT CORP                                                   Contingent
          117 WATER STREET                                                      Unliquidated
          SUITE 204                                                             Disputed
          MILFORD, MA 01757
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $45.10
          COMMERCIAL PIPE & SUPPLY                                              Contingent
          1920 ELMWOOD AVE.                                                     Unliquidated
          BUFFALO, NY 14207                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,131.31
          CONBRACO INDUSTRIES, INC.                                             Contingent
          p.o. box 602903                                                       Unliquidated
          CHARLOTTE, NC 28260-2903                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,033.64
          CONTECH ENGINEERED SOULUT                                             Contingent
          P.O. BOX 936362                                                       Unliquidated
          ATLANTA, GA 31193-6217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $288.41
          CONTINENTAL INDUSTRIES IN                                             Contingent
          P.O. BOX 732096                                                       Unliquidated
          DALLAS, TX 75373-2093                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.98
          CONWAY VOLVO TRUCK AND BU                                             Contingent
          2654 WEST HENIRIETTA RD                                               Unliquidated
          ROCHESTER, NY 14623                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $509.43
          CORRPRO COMPANIES INCORPO                                             Contingent
          1380 ENTERPRISE DRIVE                                                 Unliquidated
          SUITE 100                                                             Disputed
          WEST CHESTER, PA 19380
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,569.26
          CRUMPLER PLASTIC PIPE INC                                             Contingent
          PO BOX 2068                                                           Unliquidated
          ROSEBORO, NC 28382                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,605.00
          CSI PIPE, LLC.                                                        Contingent
          P.O. BOX 307                                                          Unliquidated
          174 ALL HALLOWS ROAD                                                  Disputed
          WAUREGAN, CT 06387
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $18.26
          CULLIGAN                                                              Contingent
          P.O. BOX 90                                                           Unliquidated
          ENDICOTT, NY 13761-0090                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $486.76
          D&H DISTRIBUTING                                                      Contingent
          P.O. BOX 406942                                                       Unliquidated
          ATLANTA, GA 30384-6942                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $166.97
          DANFOSS FLOMATIC CORPORAT                                             Contingent
          15 PRUYN'S ISLAND DRIVE                                               Unliquidated
          GLENS FALLS, NY 12801                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $219.90
          DARRELL FRANK DESIGN                                                  Contingent
          717 SOUTH FEDERAL HWY                                                 Unliquidated
          LAKE WORTH, FL 33460                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $98.28
          DAUGHTRIDGE SALES CO., IN                                             Contingent
          PO BOX 4364                                                           Unliquidated
          ROCKY MOUNT, NC 27803-0364                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,892.22
          DAVID GOODING INC                                                     Contingent
          173 SPARK STREET                                                      Unliquidated
          BROCTON, MA 02302-1620                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $35.23
          DE LAGE LANDEN                                                        Contingent
          ACCT# 26221                                                           Unliquidated
          P.O. BOX 41602                                                        Disputed
          PHILADELPHIA, PA 19101-1602
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $556.80
          DIVAL SAFETY EQUIPMENT, I                                             Contingent
          1721 NIAGARA STREET                                                   Unliquidated
          BUFFALO, NY 14207                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $524.23
          DORITEX CORP                                                          Contingent
          11980 WALDEN AVENUE                                                   Unliquidated
          ALDEN, NY 14004-9709                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.87
          E.A. MORSE & CO., INC.                                                Contingent
          1210 RTE 9                                                            Unliquidated
          CASTLETON, NY 12033                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $103.56
          EARTHLINK BUSINESS                                                    Contingent
          ACCT#3887478                                                          Unliquidated
          P.O. BOX 88104                                                        Disputed
          CHICAGO, IL 60680-1104
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,670.14
          EBAA IRON INC.                                                        Contingent
          BOX 857                                                               Unliquidated
          EASTLAND, TX 76448                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,770.04
          EJ USA, INC.                                                          Contingent
          P.O. BOX 644873                                                       Unliquidated
          PITTSBURGH, PA 15264-4873                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $161.72
          ELSTER AMCO WATER, LLC 28                                             Contingent
          JPMORGAN CHASE                                                        Unliquidated
          131 S. DEARBORN, 6TH FLOOR                                            Disputed
          CHICAGO, IL 60603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $23.10
          ENDOT INDUSTRIES INC.                                                 Contingent
          60 Green Pond Rd                                                      Unliquidated
          ROCKAWAY, NJ 07866                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,747.47
          EPICOR                                                                Contingent
          P.O. BOX 671069                                                       Unliquidated
          DALLAS, TX 75267-1069                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $162.72
          ETCO SPECIALTY PRODUCTS,                                              Contingent
          P.O. BOX 346                                                          Unliquidated
          GIRARD, KS 66743                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $549.43
          F. W. WEBB                                                            Contingent
          160 MIDDLESEX TURNPIKE                                                Unliquidated
          BEDFORD, MA 01730                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $110,564.91
          FARRELLY COMPANY; JACK                                                Contingent
          97 OLD POQUONOCK ROAD                                                 Unliquidated
          BLOOMFIELD, CT 06002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $66.00
          FASTENAL COMPANY                                                      Contingent
          P.O. BOX 1286                                                         Unliquidated
          WINONA, MN 55987-1286                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,333.75
          FASTENERS DIRECT                                                      Contingent
          545 BASKET ROAD                                                       Unliquidated
          WEBSTER, NY 14580                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $144.99
          FEDERAL EXPRESS CORP.                                                 Contingent
          P.O. BOX 371599                                                       Unliquidated
          PITTSBURGH, PA 15250-7599                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $684.03
          FEDEX FREIGHT                                                         Contingent
          PO BOX 223125                                                         Unliquidated
          PITTSBURGH, PA 15250-2125                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,996.41
          FERNCO, INC.                                                          Contingent
          DEPT# 77099                                                           Unliquidated
          P.O. BOX 77000                                                        Disputed
          DETROIT, MI 48277-0099
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $302.40
          FERRELLGAS                                                            Contingent
          P.O. BOX 173940                                                       Unliquidated
          DENVER, CO 80217-3940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1629
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $190.48
          FERRELLGAS                                                            Contingent
          P.O. BOX 173940                                                       Unliquidated
          DENVER, CO 80217-3940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0542
                                                                             Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $80.21
          FERRELLGAS                                                            Contingent
          P.O. BOX 173940                                                       Unliquidated
          DENVER, CO 80217-3940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0087
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,531.93
          FISHER RESEARCH LABORATOR                                             Contingent
          c/o WELLS FARGO BANK                                                  Unliquidated
          P.O. BOX 201995                                                       Disputed
          DALLAS, TX 75320-1995
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,010.22
          FJ TURNER COMPANY                                                     Contingent
          P.O. BOX 20741                                                        Unliquidated
          RALEIGH, NC 27619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,612.74
          FOLEY PRODUCTS                                                        Contingent
          P.O. BOX 2447                                                         Unliquidated
          COLUMBUS, GA 31902                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,010.25
          FRANCOTYP-POSTALIA, INC                                               Contingent
          P.O. BOX 157                                                          Unliquidated
          BEDFORD PARK, IL 60499-0157                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,347.97
          FREIGHTQUOTE.COM                                                      Contingent
          P.O BOX 9121                                                          Unliquidated
          MINNEAPOLIS, MN 55480-9121                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $925.78
          GAVIN WOODWORKING INC.                                                Contingent
          16119 CHICAGO RD                                                      Unliquidated
          SANDWICH, IL 60548                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $210,847.36
          GENERAL FOUNDRIES INC.                                                Contingent
          1 PROGRESS ROAD                                                       Unliquidated
          NORTH BRUNSWICK, NJ 08902                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $241.66
          GENERAL INSULATION CO., I                                             Contingent
          P.O. BOX 636959                                                       Unliquidated
          CINCINNATI, OH 45263-6959                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $439.58
          GENERAL PIPE CLEANERS CO.                                             Contingent
          1101 THOMPSON AVENUE                                                  Unliquidated
          MCKEES ROCKS, PA 15136                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,692.19
          GEORG FISCHER CENTRAL PLA                                             Contingent
          P.O. BOX 849792                                                       Unliquidated
          DALLAS, TX 75284-9792                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,009.51
          GLASFORMS, INC.                                                       Contingent
          1226 LINCOLN AVENUE                                                   Unliquidated
          SAN JOSE, CA 95125-1399                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,339.60
          GLASMASTERS                                                           Contingent
          8873 WESTERN WAY                                                      Unliquidated
          JACKSONVILLE, FL 32256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.27
          GRIFFIN PIPE CO.                                                      Contingent
          92 Church St                                                          Unliquidated
          Northborough, MA 01532                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $604.08
          GRIPPER GASKET, LLC                                                   Contingent
          P.O. BOX 1839                                                         Unliquidated
          CORONA, CA 92878                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,110.00
          GROUND WATER RESCUE INC.                                              Contingent
          24 RYDEN STREET                                                       Unliquidated
          QUINCY, MA 02169                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,484.30
          GULF COAST PUMP & EQUIPME                                             Contingent
          PO BOX 8529                                                           Unliquidated
          MOBILE (OUTSIDE CITY, AL 36689                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,194.00
          GUNNERS METERS AND PARTS                                              Contingent
          454 N. CASS AVE                                                       Unliquidated
          PONTIAC, MI 48342                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $84.81
          HANCOR, INC.                                                          Contingent
          12370 Jacksontown Rd # 172                                            Unliquidated
          Findlay, OH 45840                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,222.00
          HANES GEO COMPONENTS                                                  Contingent
          L&P FINANCIAL SERVICES CO.                                            Unliquidated
          P.O. BPX 60984                                                        Disputed
          CHARLOTTE, NC 28260
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,029.60
          HARRINGTON CORPORATION                                                Contingent
          P.O. BOX 10335                                                        Unliquidated
          LYNCHBURG, VA 24506                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $153.75
          HAVEN STAKES, INC.                                                    Contingent
          dba ASTRO WOOD PRODUCTS                                               Unliquidated
          182 HAVEN LANE                                                        Disputed
          SCHOHARIE, NY 12157
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,214.74
          HAWK PLASTICS, LLC                                                    Contingent
          14447 PLANT ROAD                                                      Unliquidated
          ALPINE, AL 35014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.56
          HD SUPPLY WATERWORKS, LTD                                             Contingent
          P.O. BOX 4853                                                         Unliquidated
          ORLANDO, FL 32802-4853                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,218.11
          HEADLEE COMPANY                                                       Contingent
          3649 CALIFORNIA ROAD                                                  Unliquidated
          ORCHARD PARK, NY 14127                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,837.42
          HERITAGE PLASTICS                                                     Contingent
          DEPT CH 10415                                                         Unliquidated
          PALATINE, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,128.93
          HIGGINS ENGINEERING, INC.                                             Contingent
          390 LEXINGTON TURNPIKE                                                Unliquidated
          AMHERST, VA 24521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $278.12
          HOWLAND PUMP & SUPPLY CO.                                             Contingent
          7611 STATE HIGHWAY 68                                                 Unliquidated
          P.O. BOX 295                                                          Disputed
          OGDENSBURG, NY 13669-0295
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,088.82
          HUBBELL LENOIR CITY, INC.                                             Contingent
          DEPT. 1221                                                            Unliquidated
          P.O. BOX 121221                                                       Disputed
          DALLAS, TX 75312-1221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,608.75
          HURCO TECHNOLOGIES, INC.                                              Contingent
          409 ENTERPRISE STREET                                                 Unliquidated
          HARRISBURG, SD 57032                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,141.92
          HYDRA-STOP LLC                                                        Contingent
          144 TOWER DRIVEK, SUITE A                                             Unliquidated
          BURR RIDGE, IL 60527                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,726.98
          HYDRANT REPAIR PARTS, INC                                             Contingent
          P.O.BOX 100                                                           Unliquidated
          DEPT. NO. 1504                                                        Disputed
          BIXBY, OK 74008-0100
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,280.00
          HYDRO INTERNATIONAL                                                   Contingent
          94 HUTCHINS DRIVE                                                     Unliquidated
          PORTLAND, ME 04102-1930                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $982.48
          IDEAL CLAMP PRODUCTS, INC                                             Contingent
          P.O. BOX 102976                                                       Unliquidated
          ATLANTA, GA 30368-2976                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,834.30
          INDIAN VALLEY INDUSTRIES,                                             Contingent
          5 PINE CAMP DRIVE                                                     Unliquidated
          BINGHAMTON, NY 13904                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.05
          INDIANA SEAL COMPANY                                                  Contingent
          9329 Castlegate Dr                                                    Unliquidated
          Indianapolis, IN 46256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $429.51
          INSERTA FITTINGS, CO.                                                 Contingent
          P.O. BOX 714                                                          Unliquidated
          CORNELIUS, OR 97113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,744.76
          INSULATED PIPING SYSTEMS,                                             Contingent
          350 LINCOLN STREET                                                    Unliquidated
          SUITE 2400                                                            Disputed
          HINGHAM, MA 02043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,393.42
          INTEGRITY FUSION PRODUCTS                                             Contingent
          P.O. BOX 142607                                                       Unliquidated
          FAYETTEVILLE, GA 30214                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,854.52
          IPEX USA,LLC-233406                                                   Contingent
          3406 MOMENTUM PLACE                                                   Unliquidated
          CHICAGO, IL 60689-5334                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.89
          ISCO INDUSTRIES                                                       Contingent
          100 WITHERSPOON STREET                                                Unliquidated
          2 WEST                                                                Disputed
          LOUISVILLE, KY 40202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,184.00
          J-M MANUFACTURING CO., IN                                             Contingent
          9 Peach Tree Hill Rd                                                  Unliquidated
          LIVINGSTON, NJ 07039                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,051.40
          JACK FARRELLY CO.                                                     Contingent
          149 SOUTHWEST CUTOFF                                                  Unliquidated
          WORCESTER, MA 01604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,828.03
          JCM INDUSTRIES, INC.                                                  Contingent
          DEPTARTMENT 128                                                       Unliquidated
          P.O. BOX 4869                                                         Disputed
          HOUSTON, TX 77210-4869
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $304.00
          JOHN BOUCHARD & SONS                                                  Contingent
          MSC 30305                                                             Unliquidated
          P.O. BOX 415000                                                       Disputed
          NASHVILLE, TN 37241-5000
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $193.85
          JONES STEPHENS CORP.                                                  Contingent
          P.O. BOX 931067                                                       Unliquidated
          ATLANTA, GA 31193-1067                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,160.99
          JOSAM COMPANY                                                         Contingent
          PO BOX 572057                                                         Unliquidated
          PHILADELPHIA, PA 19111-7205                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $497.64
          JTM PRODUCTS                                                          Contingent
          PO BOX 951360                                                         Unliquidated
          CLEVELAND, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,051.23
          JUMBO MANUFACTURING CO IN                                             Contingent
          P.O. BOX 762                                                          Unliquidated
          CLARKS SUMMIT, PA 18411                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $173,828.90
          KENNEDY VALVE                                                         Contingent
          12527 COLLECTIONS CENTER DRIVE                                        Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $763.55
          KESSLER SALES & DISTRIBUT                                             Contingent
          500 GREEN STREET                                                      Unliquidated
          Woodbridge, NJ 07095                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $474.26
          KRAUSZ USA                                                            Contingent
          331 SW 57TH AVENUE                                                    Unliquidated
          OCALA, FL 34474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $388.92
          KRIS-TECH WIRE CO                                                     Contingent
          PO BOX 4377                                                           Unliquidated
          80 OTIS STREET                                                        Disputed
          ROME, NY 13442
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,960.00
          KSM ENTERPRISES, INC.                                                 Contingent
          P.O. BOX 111                                                          Unliquidated
          3161 HIGH STREET                                                      Disputed
          BONDSVILLE, MA 01009
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,139.10
          L & M SUPPLY CO., INC.                                                Contingent
          P.O. BOX 22787                                                        Unliquidated
          TAMPA, FL 33622                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $473,444.56
          LANE ENTERPRISES, INC.                                                Contingent
          3905 HARTZDALE DR.,SUITE 514                                          Unliquidated
          CAMP HILL, PA 17011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $219.75
          LEAF                                                                  Contingent
          P.O. BOX 644006                                                       Unliquidated
          CINCINNATI, OH 45264-4006                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $103.84
          LEE SUPPLY CO., INC.                                                  Contingent
          P.O. BOX 640335                                                       Unliquidated
          PITTSBURGH, PA 15264-0335                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,210.88
          LESSO AMERICAN INC.                                                   Contingent
          1010 RAILROAD STREET                                                  Unliquidated
          CORONA, CA 92882                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $117.50
          LINDENHURST CUTTING TOOL,                                             Contingent
          135 MICHAEL DRIVE                                                     Unliquidated
          SYOSSET, NY 11791                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,546.07
          LINDSTROM & ASSOCIATES                                                Contingent
          4747 GRANITE DRIVE                                                    Unliquidated
          TUCKER, GA 30084                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          LORICA, LLC                                                           Contingent
          ATTN: GLEN VALENCIA                                                   Unliquidated
          603 GRAYSTONE CT.                                                     Disputed
          PEACHTREE CITY, GA 30269
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $182,546.60
          M & H VALVE COMPANY                                                   Contingent
          P.O. BOX 848363                                                       Unliquidated
          DALLAS, TX 75284-8363                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,077.20
          M.J. PIPE & SUPPLY CORP.                                              Contingent
          609 BUFFALO ROAD                                                      Unliquidated
          ROCHESTER, NY 14611                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,279.11
          MACON PLASTIC & PIPE, INC                                             Contingent
          P.O. BOX 95                                                           Unliquidated
          MACON, GA 31202-0095                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,470.94
          MAR MAC MANUFACTURING CO.                                             Contingent
          P.O. BOX 447                                                          Unliquidated
          US HWY #1 NORTH                                                       Disputed
          MCBEE, SC 29101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $9.78
          MARINEMIDLAND                                                         Contingent
          One Seneca Tower                                                      Unliquidated
          1 HSBC Center                                                         Disputed
          Buffalo, NY 14203
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,257.50
          MASONRY SUPPLY, INC.                                                  Contingent
          P.O. BOX 943                                                          Unliquidated
          SELMA, NC 27576                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          MASSACHUSETTS WATER WORKS                                             Contingent
          P.O. BOX 1064                                                         Unliquidated
          ACTON, MA 01720                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,814.70
          MASTER METER, INC                                                     Contingent
          C/O SOUTHWEST BANK                                                    Unliquidated
          P.O. BOX 16549                                                        Disputed
          FORT WORTH, TX 76162
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $32,170.68
          MATCO-NORCA                                                           Contingent
          P.O. BOX 823434                                                       Unliquidated
          PHILADELPHIA, PA 19182-3434                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,546.87
          MCDONALD MFG. CO.; A.Y.                                               Contingent
          P.O. BOX 655178                                                       Unliquidated
          DALLAS, TX 75265-5178                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $365,417.55
          McWANE DUCTILE                                                        Contingent
          CHICAGO Lbx# 12524-0032-7838-5119                                     Unliquidated
          12524 COLLECTIONS CENTER DRIVE                                        Disputed
          CHICAGO, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,336.02
          McWANE DUCTILE                                                        Contingent
          12524 COLLECTIONS CENTER DRIVE                                        Unliquidated
          CHICAGO, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $496.50
          MERRILL MANUFACTURING                                                 Contingent
          P O BOX 392                                                           Unliquidated
          STORM LAKE, IA 50588                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,187.92
          METRON-FARNIER                                                        Contingent
          5665 AIRORT BLVD.                                                     Unliquidated
          BOULDER, CO 80301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          MICHELLE BRANON                                                       Contingent
          802 DURAND ROAD                                                       Unliquidated
          PLATTSBURGH, NY 12901                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $493.64
          MIDLAND MANUFACTURING CO                                              Contingent
          4800 ESCO DRIVE                                                       Unliquidated
          FORT WORTH, TX 76140                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $265.08
          MISSION RUBBER COMPANY, I                                             Contingent
          FILE 55414                                                            Unliquidated
          LOS ANGELES, CA 90074-5414                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.36
          MOON AMERICAN                                                         Contingent
          167-B SOUTHWEST CUTOFF                                                Unliquidated
          WORCESTER, MA 01604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $543.24
          MOORE FIRE EXTINGUISHER                                               Contingent
          P.O. BOX 1511                                                         Unliquidated
          GUILDERLAND, NY 12084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $321,081.76
          MUELLER COMPANY                                                       Contingent
          23418 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $595.00
          MUNICIPAL PUBLISHING                                                  Contingent
          P.O. BOX 489                                                          Unliquidated
          RIESEL, TX 76682                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $474.73
          MWP ASSOCIATES                                                        Contingent
          P.O. BOX 1462                                                         Unliquidated
          CICERO, NY 13039                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,223.91
          NAPAC, INC.                                                           Contingent
          229 SOUTHBRIDGE STREET                                                Unliquidated
          WORCESTER, MA 01608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.05
          NATIONAL DIVERSIFIED SALE                                             Contingent
          SDS-12-1701                                                           Unliquidated
          6228 RELIABLE PARKWAY                                                 Disputed
          CHICAGO, IL 60686
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,271.77
          NATIONAL DIVERSIFIED SALE                                             Contingent
          SDS-12-1701                                                           Unliquidated
          6228 RELIABLE PARKWAY                                                 Disputed
          CHICAGO, IL 60686
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $2.50
          NATIONAL PIPE CO.                                                     Contingent
          P.O. BOX 62232                                                        Unliquidated
          BALTIMORE, MD 21264                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $308,089.99
          NATIONAL PIPE CO.                                                     Contingent
          P.O. BOX 62232                                                        Unliquidated
          BALTIMORE, MD 21264                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,701.00
          NEENAH FOUNDRY CO.                                                    Contingent
          BOX 729                                                               Unliquidated
          NEENAH, WI 54956                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,195.50
          NEWMAN ASSOCIATES, LLC.                                               Contingent
          80 HUDSON ROAD                                                        Unliquidated
          SUITE 200                                                             Disputed
          CANTON, MA 02021
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,050.71
          NORMANDY PRODUCTS COMPANY                                             Contingent
          P.O. BOX 14310                                                        Unliquidated
          PITTSBURGH, PA 15239-0310                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,301.10
          NORTH AMERICAN CI PROD IN                                             Contingent
          MERCHANT FINANCIAL CORPORATION                                        Unliquidated
          P.O. BOX 716, MIDTOWN STATION                                         Disputed
          NEW YORK, NY 10018-0716
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $166.98
          NORTHERN NY BUILDERS EXCH                                             Contingent
          22074 FABCO ROAD                                                      Unliquidated
          WATERTOWN, NY 13601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,135.20
          OATEY SUPPLY CHAIN SERVIC                                             Contingent
          P.O. BOX 92138                                                        Unliquidated
          MAIN OFFICE                                                           Disputed
          CLEVELAND, OH 44191
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,458.42
          OLDCASTLE PRECAST INC                                                 Contingent
          P.O. BOX 742387                                                       Unliquidated
          LOS ANGELES, CA 90074-2387                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,189.33
          OLDCASTLE PRECAST INC.                                                Contingent
          P.O. BOX 842649                                                       Unliquidated
          DALLAS, TX 75284-2649                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,436.43
          OMEGA MARKING CO.                                                     Contingent
          P.O. BOX 655                                                          Unliquidated
          BEAVER DAM, WI 53916                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $37.59
          ONONDAGA COUNTY WATER AUT                                             Contingent
          P.O. BOX 4949                                                         Unliquidated
          SYRACUSE, NY 13221-4949                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3051
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $422.32
          OPTIMUM                                                               Contingent
          P.O. BOX 9256                                                         Unliquidated
          CHELSEA, MA 02150-9256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       X104
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $362.00
          PA RURAL WATER ASSOCIATIO                                             Contingent
          138 WEST BISHOP STREET                                                Unliquidated
          BELLEFONTE, PA 16823                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,833.82
          PEACHTREE VALVES & EQUIPM                                             Contingent
          310 BURNHIL AVE                                                       Unliquidated
          EVANS, GA 30809                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,347.72
          PENN-TROY MANUFACTURING C                                             Contingent
          P.O. BOX 187                                                          Unliquidated
          TROY, PA 16947                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,503.28
          PENSKE TRUCK LEASING CO.,                                             Contingent
          P.O. BOX 532658                                                       Unliquidated
          ATLANTA, GA 30353-2658                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $449.17
          PERSHING LLC                                                          Contingent
          1 Pershing Plz                                                        Unliquidated
          JERSEY CITY, NJ 07399                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.96
          PHELPS INDUSTRIAL PRODUCT                                             Contingent
          6300 WASHINGTON BOULEVARD                                             Unliquidated
          ELKRIDGE, MD 21075-5397                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $615.60
          PHOCAS INC.                                                           Contingent
          P.O. BOX 782434                                                       Unliquidated
          ORLANDO, FL 32878                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,508.02
          PIPE CONX                                                             Contingent
          P.O. BOX 18007                                                        Unliquidated
          EVANSVILLE, IN 47719-1007                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,712.00
          PIPE PRO, INC                                                         Contingent
          P. O. BOX 366                                                         Unliquidated
          HOPE VALLEY, RI 02832                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,431.58
          PIPELINE PRODUCTS                                                     Contingent
          1650 LINDA VISTA DRIVE                                                Unliquidated
          SAN MARCOS, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $447.09
          PLASTIC TRENDS                                                        Contingent
          21319 NETWORK PLACE                                                   Unliquidated
          CHICAGO, IL 60673-1213                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $342.01
          POLLARDWATER                                                          Contingent
          P.O. BOX 417592                                                       Unliquidated
          BOSTON, MA 02241-7592                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,035.91
          POLSINELLO FUELS,INC                                                  Contingent
          DRAWER 211                                                            Unliquidated
          411 RIVERSIDE AVE                                                     Disputed
          RENSSELAER, NY 12144
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,126.29
          POLY-CAM INC                                                          Contingent
          1101 McKINLEY STREET                                                  Unliquidated
          ANOKA, MN 55303                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,568.22
          POLYLOK, INC                                                          Contingent
          3 FAIRFIELD BLVD                                                      Unliquidated
          WALLINGFORD, CT 06492                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $253.44
          POLYONE CORPORATION                                                   Contingent
          FOR GLASFORMS INC.                                                    Unliquidated
          BOX 223554                                                            Disputed
          PITTSBURGH, PA 15251-2554
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,026.48
          POND DAM PIPING,LTD.,INC.                                             Contingent
          398 EIGHT STREE                                                       Unliquidated
          MACON, GA 31201                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $178.11
          POTTER ELECTRIC                                                       Contingent
          P.O. BOX 1000                                                         Unliquidated
          DEPT.979                                                              Disputed
          MEMPHIS, TN 38148
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.80
          POTTER-ROEMER, INC.                                                   Contingent
          P.O. BOX 51713                                                        Unliquidated
          LOS ANGELES, CA 90051-0040                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,208.08
          POWER SEAL                                                            Contingent
          P.O. BOX 2014                                                         Unliquidated
          WICHITA FALLS, TX 76307-2014                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,595.00
          PRECISION PIPE & PRODUCTS                                             Contingent
          P.O. BOX 102046                                                       Unliquidated
          BIRMINGHAM, AL 35210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $393.66
          PREDCO                                                                Contingent
          13260 18 MILE ROAD                                                    Unliquidated
          RODNEY, MI 49342                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,979.70
          PRESCOTT INC.; E. J.                                                  Contingent
          P.O. BOX 350002                                                       Unliquidated
          BOSTON, MA 02241-0502                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $123.46
          PROTECTION 1                                                          Contingent
          ACCT#23897598                                                         Unliquidated
          P.O. BOX 219044                                                       Disputed
          KANSAS CITY, MO 64121-9044
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $487.42
          PURCHASE POWER                                                        Contingent
          ACCT#8000-9090-0269-0761                                              Unliquidated
          P.O. BOX 371874                                                       Disputed
          PITTSBURGH, PA 15250-7874
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $555.05
          PYLAM PRODUCTS COMPANY IN                                             Contingent
          2175 EAST CEDAR STREET                                                Unliquidated
          TEMPE, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,735.64
          QUALITY PIPE PRODUCTS INC                                             Contingent
          PO BOX 667                                                            Unliquidated
          17275 HURON DRIVE                                                     Disputed
          NEW BOSTON, MI 48164
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,300.00
          R D PROPERTIES                                                        Contingent
          19 LILY STREET                                                        Unliquidated
          PROVIDENCE, RI 02909                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $16.58
          RADIO GROVE HARDWARE                                                  Contingent
          ROUTE 27                                                              Unliquidated
          RAYMOND, NH 03077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,607.84
          RECTORSEAL CORPORATION; T                                             Contingent
          PO BOX 973957                                                         Unliquidated
          DALLAS, TX 75397-3957                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $354.52
          RED ROOF INNS, INC.                                                   Contingent
          P.O. BOX 849800                                                       Unliquidated
          DALLAS, TX 75284-9800                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,939.83
          REED MANUFACTURING CO.                                                Contingent
          P.O. BOX 1321                                                         Unliquidated
          ERIE, PA 16512                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $677.97
          Reliance Worldwide Corp.                                              Contingent
          dba Cash Acme                                                         Unliquidated
          P.O. BOX 934489                                                       Disputed
          ATLANTA, GA 31193-4489
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,306.15
          RELINER DURAN INC.                                                    Contingent
          53 MT. ARCHER ROAD                                                    Unliquidated
          LYME, CT 06371                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $827.76
          REXNORD INDUSTRIES, LLC                                               Contingent
          BOX 93944                                                             Unliquidated
          CHICAGO, IL 60673-3944                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $33.00
          RIVERFRONT MEDICAL, PC.                                               Contingent
          P.O. BOX 214                                                          Unliquidated
          LIVERPOOL, NY 13088-0214                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          ROBERT E. LAKE                                                        Contingent
          24428 U.S. ROUTE 11                                                   Unliquidated
          CALCIUM, NY 13616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $428.90
          ROCHESTER GAS & ELECTRIC                                              Contingent
          ACCT 20014304909                                                      Unliquidated
          P.O. BOX 11747                                                        Disputed
          NEWARK, NJ 07101-4747
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,638.10
          RODON CORPORATION                                                     Contingent
          761 N.17TH ST.UNIT#3                                                  Unliquidated
          SAINT CHARLES, IL 60174                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,294.31
          ROMAC INDUSTRIES, INC.                                                Contingent
          21919 20TH AVENUE SE                                                  Unliquidated
          SUITE 100                                                             Disputed
          BOTHELL, WA 98021-4404
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,541.11
          ROTH GLOBAL PLASTICS                                                  Contingent
          KEY BANK (LOCKBOX DEPT.)                                              Unliquidated
          P.O. BOX 1043                                                         Disputed
          ALBANY, NY 12211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $108.12
          ROYAL CARTING SERVICE CO.                                             Contingent
          ACCT#96023.0                                                          Unliquidated
          P.O. BOX 1209                                                         Disputed
          HOPEWELL JUNCTION, NY 12533
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,205.53
          RYDER TRANSPORTATION SERV                                             Contingent
          P.O. BOX 402366                                                       Unliquidated
          ATLANTA, GA 30384-2366                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $42.00
          SALLY K FLOWERS                                                       Contingent
          Talladega County Revenue Commissioner                                 Unliquidated
          PO Box 1119                                                           Disputed
          Talladega, AL 35161
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,891.85
          SANDERSON PIPE CORP                                                   Contingent
          P.O. BOX 700                                                          Unliquidated
          SANDERSON, FL 32087-0700                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $247.00
          SCHONSTEDT INSTRUMENT CO.                                             Contingent
          100 EDMOND ROAD                                                       Unliquidated
          KEARNEYSVILLE, WV 25430                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,654.00
          SIEWERT EQUIPMENT COMPANY                                             Contingent
          P.O. BOX 824438                                                       Unliquidated
          c/o J L MOORE                                                         Disputed
          PHILADELPHIA, PA 19182-4438
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $36.17
          SIGMA CORPORATION                                                     Contingent
          1805 SOLUTIONS CENTER                                                 Unliquidated
          CHICAGO, IL 60677-1008                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $256,711.66
          SIGMA CORPORATION                                                     Contingent
          1805 SOLUTIONS CENTER                                                 Unliquidated
          CHICAGO, IL 60677-1008                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.00
          SIMMONS MANUFACTURING CO.                                             Contingent
          P.O. BOX 100250                                                       Unliquidated
          ATLANTA, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,834.13
          SIP INDUSTRIES                                                        Contingent
          2900 PATIO DRIVE                                                      Unliquidated
          HOUSTON, TX 77017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $39,500.78
          SMITH BLAIR, INC.                                                     Contingent
          30 GLOBE AVENUE                                                       Unliquidated
          TEXARKANA, AR 71854                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $121,022.59
          SOUTHEAST CULVERT, INC                                                Contingent
          PO BOX 999                                                            Unliquidated
          AUBURN, GA 30011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $112.87
          SOUTHEASTERN FREIGHT LINE                                             Contingent
          PO BOX 1691                                                           Unliquidated
          COLUMBIA, SC 29202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,667.00
          SOUTHERN DRILL SUPPLY, IN                                             Contingent
          1822 BLACKBIRD LANE                                                   Unliquidated
          PENSACOLA, FL 32534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,009.44
          SOUTHERN METER BOX                                                    Contingent
          P.O. BOX 5385                                                         Unliquidated
          ALEXANDRIA, LA 71307                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,671.70
          SOUTHLAND PIPE AND SUPPLY                                             Contingent
          P.O.BOX 1844                                                          Unliquidated
          DEPT-S-30                                                             Disputed
          MEMPHIS, TN 38101-1844
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $2.11
          SPEARS MFG. CO.                                                       Contingent
          P.O. BOX 54988                                                        Unliquidated
          LOS ANGELES, CA 90054-0988                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,719.62
          SPEARS MFG. CO.                                                       Contingent
          P.O. BOX 54988                                                        Unliquidated
          LOS ANGELES, CA 90054-0988                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $175.50
          SPECIFICATION RUBBER                                                  Contingent
          P.O. BOX 568                                                          Unliquidated
          ALABASTER, AL 35007                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,925.65
          SPECIFIED FITTINGS, LLC.                                              Contingent
          BIN #213100                                                           Unliquidated
          P.O. BOX 790051                                                       Disputed
          SAINT LOUIS, MO 63179-0051
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $120.09
          STANDON PIPE SUPPORTS, IN                                             Contingent
          P.O. BOX 247                                                          Unliquidated
          FOREST GROVE, OR 97116                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $55,386.75
          STAR PIPE PRODUCTS, LTD.                                              Contingent
          4018 WEST HOLLOW PARKWAY                                              Unliquidated
          HOUSTON, TX 77082                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,028.57
          STILES COMPANY INC                                                    Contingent
          922 PLEASANT STREET                                                   Unliquidated
          NORWOOD, MA 02062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $189.00
          SUBURBAN PROPANE                                                      Contingent
          P.O. BOX 300                                                          Unliquidated
          WHIPPANY, NJ 07981-0300                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4389
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $19.80
          SUPERIOR CALHOUN GAS, INC                                             Contingent
          P.O. BOX 248                                                          Unliquidated
          ANNISTON, AL 36202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $577.86
          SUPERIOR PLUS CONST. PROD                                             Contingent
          dba WINROC - SPI                                                      Unliquidated
          29722 NETWORK PLACE                                                   Disputed
          CHICAGO, IL 60673-1297
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $330.85
          SYRACUSE HAULERS WASTE RE                                             Contingent
          6223 THOMOPSON RD,SUITE 1000                                          Unliquidated
          SYRACUSE, NY 13206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       X001
                                                                             Is the claim subject to offset?     No       Yes




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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $418.07
          T & T TOOLS, INC                                                      Contingent
          P.O. BOX 531                                                          Unliquidated
          SPRING LAKE, MI 49456                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $131.90
          T CHRISTY ENTERPRISES INC                                             Contingent
          P.O. BOX 25168                                                        Unliquidated
          ANAHEIM, CA 92825                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,315.00
          TAYLOR MADE PLASTICS, INC                                             Contingent
          1561 GLOBAL COURT                                                     Unliquidated
          UNIT A                                                                Disputed
          SARASOTA, FL 34240
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,900.00
          TEAL BECKER & CHIARAMONTE                                             Contingent
          7 WASHINGTON SQUARE                                                   Unliquidated
          ALBANY, NY 12205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $73.78
          TEAL'S EXPRESS INC.                                                   Contingent
          P.O. BOX 6010                                                         Unliquidated
          WATERTOWN, NY 13601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $960.00
          TEK-SALES, INC                                                        Contingent
          5 MARWAY CIRCLE                                                       Unliquidated
          SUITE 14                                                              Disputed
          ROCHESTER, NY 14624
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $79.92
          TERMINIX INTERNATIONAL                                                Contingent
          P.O. BOX 742592                                                       Unliquidated
          CINCINNATI, OH 45274-2592                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7435
                                                                             Is the claim subject to offset?     No       Yes




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 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $772.00
          THE BWM COMPANY                                                       Contingent
          P.O. BOX 414                                                          Unliquidated
          FOREST CITY, NC 28043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,108.69
          TIGRE USA INC                                                         Contingent
          2315 BELOIT AVENUE                                                    Unliquidated
          JANESVILLE, WI 53546                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $210.00
          TIM MORALES & ASSOCIATES                                              Contingent
          PO BOX 91421                                                          Unliquidated
          MOBILE (OUTSIDE CITY, AL 36691-1421                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $182.98
          TIME WARNER                                                           Contingent
          P.O. BOX 70872                                                        Unliquidated
          CHARLOTTE, NC 28272-0872                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7303
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,132.00
          TIME WARNER CABLE                                                     Contingent
          P.O. BOX 70872                                                        Unliquidated
          CHARLOTTE, NC 28272-0872                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9302
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $101.19
          TIME WARNER SECURITY                                                  Contingent
          P.O. BOX 70872                                                        Unliquidated
          CHARLOTTE, NC 28272-0872                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3401
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $485.23
          TIRE TECH, INC.                                                       Contingent
          PO BOX 170434                                                         Unliquidated
          BIRMINGHAM, AL 35217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,939.08
          TOTAL PIPING SOLUTIONS                                                Contingent
          P.O. BOX 525                                                          Unliquidated
          OLEAN, NY 14760                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $266.73
          TRACER ELECTRONICS LLC                                                Contingent
          6981 EASTGATE BLVD.                                                   Unliquidated
          LEBANON, TN 37090                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $674.72
          TRELLEBORG ENGINEERED SYS                                             Contingent
          P.O. BOX 301                                                          Unliquidated
          MILFORD, NH 03055                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.42
          TRIPLE CITIES WINDUSTRIAL                                             Contingent
          10 VALLEY ST                                                          Unliquidated
          ENDICOTT, NY 13760-3692                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $248.39
          TROY VALVE                                                            Contingent
          P.O. BOX 187                                                          Unliquidated
          TROY, PA 16947                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $76.41
          TRUMBULL RECREATION SUPPL                                             Contingent
          PO BOX 109                                                            Unliquidated
          148 RIVER ROAD                                                        Disputed
          WILLINGTON, CT 06279
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $85.00
          TUF-TITE                                                              Contingent
          1200 FLEX COURT                                                       Unliquidated
          LAKE ZURICH, IL 60047-6713                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,329.03
          TYLER UNION                                                           Contingent
          P.O. BOX 403228                                                       Unliquidated
          ATLANTA, GA 30384-3228                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,434.87
          U.S. FOUNDRY & MANUFACTU                                              Contingent
          PO BOX 668257                                                         Unliquidated
          MIAMI, FL 33166                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $112,144.27
          U.S. PIPE & FOUNDRY CO.,                                              Contingent
          P.O. BOX 935445                                                       Unliquidated
          ATLANTA, GA 31193-5445                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,212.81
          U.S. PIPE FABRICATION                                                 Contingent
          P.O. BOX 934507                                                       Unliquidated
          ATLANTA, GA 31193-4507                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,375.84
          U.S. SAWS & BLADES                                                    Contingent
          P.O. BOX 89992                                                        Unliquidated
          TAMPA, FL 33689                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $693.82
          ULINE SHIPPING SUPPLIES                                               Contingent
          ATTN: ACCOUNTS RECEIVABLE                                             Unliquidated
          P.O.BOX 88741                                                         Disputed
          CHICAGO, IL 60680-1741
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,639.00
          UNDERGROUND TESTING & SER                                             Contingent
          809 BACK MOUNTAIN ROAD                                                Unliquidated
          GOFFSTOWN, NH 03045                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 43 of 48
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 Debtor       The Vellano Corporation                                                                 Case number (if known)
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $578.65
          UNIFIRST CORPORATION L                                                Contingent
          157 TROY-SCHENECTADY ROAD                                             Unliquidated
          WATERVLIET, NY 12189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $145.44
          UNIFIRST CORPORATION                      S                           Contingent
          103 LUTHER AVE                                                        Unliquidated
          LIVERPOOL, NY 13088                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $897.42
          UTILITRONICS                                                          Contingent
          P.O. BOX 1616                                                         Unliquidated
          PLAINVILLE, MA 02762                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,807.00
          VALIANT STEEL & EQUIPMENT                                             Contingent
          6455 OLD PEACHTREE ROAD                                               Unliquidated
          P.O. BOX 1027                                                         Disputed
          NORCROSS, GA 30091
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,706.02
          VALVE-TECH NORTHEAST,LLC                                              Contingent
          PO BOX 269                                                            Unliquidated
          NAZARETH, PA 18064                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,563.68
          VANDEWATER INTERNATIONAL,                                             Contingent
          8551 W. SUNRISE BLVD                                                  Unliquidated
          SUITE 204                                                             Disputed
          PLANTATION, FL 33322
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,349.04
          VARICORE TECHNOLOGIES, IN                                             Contingent
          15 6TH STREET                                                         Unliquidated
          P.O. BOX 131                                                          Disputed
          PRINSBURG, MN 56281-0131
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       The Vellano Corporation                                                                 Case number (if known)
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $675.00
          VEGAS LANDSCAPING & DESIG                                             Contingent
          43 CROSSMAN STREET                                                    Unliquidated
          CENTRAL FALLS, RI 02863                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $74,601.45
          VEL., LTD.; A.J.                                                      Contingent
          8 NORTHWAY LANE NORTH                                                 Unliquidated
          LATHAM, NY 12110                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,923.20
          VERIZON 5124                                                          Contingent
          P.O. BOX 15124                                                        Unliquidated
          ALBANY, NY 12212-5124                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,676.38
          VERIZON WIRELESS                                                      Contingent
          P.O. BOX 408                                                          Unliquidated
          NEWARK, NJ 07101-0408                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0002
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $840.00
          VICTORY STEEL PRODUCTS                                                Contingent
          P.O. BOX 4370                                                         Unliquidated
          SAINT LOUIS, MO 63123                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,197.28
          VOLVO CAR FINANCIAL                                                   Contingent
          P.O. BOX 71102                                                        Unliquidated
          CHARLOTTE, NC 28272-1102                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $658.43
          W.B. MASON COMPANY, INC.                                              Contingent
          P.O. BOX 981101                                                       Unliquidated
          BOSTON, MA 02298-1101                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 45 of 48
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              Name

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.23
          WARREN CONSOLIDATED IND,                                              Contingent
          180 WASHINGTON ST NW                                                  Unliquidated
          WARREN, OH 44483                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $160.66
          WASTE MANAGEMENT                                                      Contingent
          P.O. BOX 9001054                                                      Unliquidated
          LOUISVILLE, KY 40290-1054                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3009
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $310.89
          WASTE MANAGEMENT NH-ROCHE                                             Contingent
          P.O. BOX 13648                                                        Unliquidated
          PHILADELPHIA, PA 19101-3648                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2004
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $152.32
          WASTE MANAGEMENT OF NY-RO                                             Contingent
          P.O. BOX 13648                                                        Unliquidated
          PHILADELPHIA, PA 19101-3648                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2005
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,327.98
          WATER SPECIALTIES COMPANY                                             Contingent
          DIV. OF WATER SERVICE CONSULTANTS                                     Unliquidated
          8 INDUSTRIAL PARK DR UNIT 18                                          Disputed
          HOOKSETT, NH 03106
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,255.26
          WATERMAN INDUSTRIES                                                   Contingent
          P.O.BOX 8381                                                          Unliquidated
          PASADENA, CA 91109-8381                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,324.17
          WATERWORKS TOOL COMPANY                                               Contingent
          224 ROOT ROAD                                                         Unliquidated
          BARRE, MA 01005                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 46 of 48
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              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,652.40
          WATTS REGULATOR CO.                                                   Contingent
          P.O. BOX 60601                                                        Unliquidated
          CHARLOTTE, NC 28260-0601                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,921.00
          WELLS FARGO FINANCIAL LEA                                             Contingent
          P.O. BOX 7777                                                         Unliquidated
          SAN FRANCISCO, CA 94120-7777                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $330.19
          WEX BANK                                                              Contingent
          PO BOX 4337                                                           Unliquidated
          CAROL STREAM, IL 60197-4337                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,307.04
          WILLACOOCHEE INDUSTRIAL F                                             Contingent
          BOX 599                                                               Unliquidated
          WILLACOOCHEE, GA 31650                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.81
          WOODFORD MANUFACTURING CO                                             Contingent
          P.O. BOX 172368                                                       Unliquidated
          DENVER, CO 80217-2368                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,832.96
          WOODWARD CO                                                           Contingent
          9 BURDICK DRIVE                                                       Unliquidated
          ALBANY, NY 12205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,030.59
          WPR, INC                                                              Contingent
          4175 BRIARGLEN ROAD                                                   Unliquidated
          MILTON, FL 32583                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       The Vellano Corporation                                                                 Case number (if known)
              Name

 3.327     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $70.05
           ZEP SALES & SERVICE                                                  Contingent
           PO BOX 3338                                                          Unliquidated
           BOSTON, MA 02241-3338                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.328     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $10,534.98
           ZURN INDUSTRIES,LLC                                                  Contingent
           DEPT CH 14262                                                        Unliquidated
           PALATINE, IL 60055                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     5,015,117.59

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        5,015,117.59




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 48 of 48
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Sale of Assets of the
             lease is for and the nature of               Debtor
             the debtor's interest

                  State the term remaining                100%
                                                                                      F.W. Webb Company
             List the contract number of any                                          160 Middlesex Turnpike
                   government contract                                                Bedford, MA 01730


 2.2.        State what the contract or                   leases
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Wells Fargo Bank
             List the contract number of any                                          PO Box 14517
                   government contract                                                Des Moines, IA 50306




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         The Vellano Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $3,560,205.00
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $25,681,625.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Sanderson Pipe Corp                                         4/6/2017                         $24,738.12           Secured debt
               P.O. BOX 700                                                                                                      Unsecured loan repayments
               Sanderson, FL 32087-0700
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       The Vellano Corporation                                                                   Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Total Piping Solutions                                      4/7/2017                           $7,805.98          Secured debt
               P.O. BOX 525                                                                                                      Unsecured loan repayments
               Olean, NY 14760
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Watts Regulator Co                                          4/7/2017                         $24,147.21           Secured debt
               P.O. BOX 60601                                                                                                    Unsecured loan repayments
               Charlotte, NC 28260-0601
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               BTL Liners                                                  4/10/2017                        $10,293.00           Secured debt
               3451 Empire Dr                                                                                                    Unsecured loan repayments
               Prineville, OR 97754
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Bartow Precast, Inc                                         4/10/2017                        $10,120.00           Secured debt
               1504 Sugar Valley Rd SW                                                                                           Unsecured loan repayments
               Cartersville, GA 30120
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Cambridge Brass                                             4/17/2017                        $18,818.30           Secured debt
               P.O. BOX 249                                                                                                      Unsecured loan repayments
               140 ORION PLACE
                                                                                                                                 Suppliers or vendors
               Cambridge, Ontario, CANADA N1T 1R9
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Farrelly Company; Jack                                      4/24/2017                        $11,486.41           Secured debt
               97 OLD POQUONOCK ROAD                                                                                             Unsecured loan repayments
               Bloomfield, CT 06002
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Bartow Precast, Inc                                         4/28/2017                          $8,588.00          Secured debt
               1504 Sugar Valley Rd SW                                                                                           Unsecured loan repayments
               Cartersville, GA 30120
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.9.
               Trumbull Industries                                         4/29/2017                          $6,835.44          Secured debt
               400 Dietz Road NE                                                                                                 Unsecured loan repayments
               Warren, OH 44482
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.10
       .
            Fonda Holding Group Inc                                        5/1/2017                           $6,958.90               Secured debt
               7 HEMLOCK STREET                                                                                                       Unsecured loan repayments
               Latham, NY 12110
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.11
       .
            J-M Manufacturing Co, Inc                                      4/14/2017                        $21,985.60                Secured debt
               284 Railroad St                                                                                                        Unsecured loan repayments
               Fort Recovery, OH 45846
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.12
       .
            J-M Manufacturing Co, Inc                                      5/31/2017                        $35,184.00                Secured debt
               284 Railroad St                                                                                                        Unsecured loan repayments
               Fort Recovery, OH 45846
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address

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               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.1.    SIGMA Corp v. The Vellano                                                      US District Court NJ                        Pending
               Corp                                                                           210 Lake Drive Suite 200                    On appeal
               3:17-CV-03340-Mas-Dea                                                          Cherry Hill, NJ 08002
                                                                                                                                          Concluded

       7.2.    General Foundries, Inc. v The                                                  Albany Supreme Court                        Pending
               Vellano Corp et al                                                             8 Thurlow Terrace                           On appeal
               904007-17                                                                      Albany, NY 12203
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Richard H Weiskopf
                670 Franklin Street Suite 100
                Schenectady, NY 12305                                                                                          6/17                         $15,000.00

                Email or website address


                Who made the payment, if not debtor?




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12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    M&T Bank                                         XXXX-1537                   Checking                                                Unknown
                Acct. No.XXX-1537                                                            Savings
                7095 Manlius Center Road                                                     Money Market
                East Syracuse, NY 13057                                                      Brokerage
                                                                                             Other

       18.2.    M&T Bank                                         XXXX-1403                   Checking                                                Unknown
                Acct. No. XXX-1403                                                           Savings
                1568 Imperial Plaza                                                          Money Market
                Imperial Plaza                                                               Brokerage
                Wappingers Falls, NY 12590
                                                                                             Other

       18.3.    Community Bank                                   XXXX-4513                   Checking                                                Unknown
                Acct. No. 4513                                                               Savings
                23 Riverside Drive                                                           Money Market
                Johnson City, NY 13790                                                       Brokerage
                                                                                             Other

       18.4.    Alden State Bank                                 XXXX-                       Checking                                                Unknown
                Acct. No. N/A-XXXX                                                           Savings
                13216 Broadway                                                               Money Market
                Alden, NY 14004                                                              Brokerage
                                                                                             Other

       18.5.    Alden State Bank                                 XXXX-                       Checking                                                  $462.87
                Acct. No. N/A-XXXX                                                           Savings
                5802 Broadway                                                                Money Market
                Lancaster, NY 14086                                                          Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.1.       Vellano Corporation                                                                                                 2015-date
                    7 Hemlock Drive
                    Latham, NY 12110
       26a.2.       Teal, Becker & Chiarmonte, CPAs                                                                                     2015-date
                    7 Washington Square
                    Albany, NY 12205

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       NYS Sales tax                                                                                                       Annually


       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Worker's Compensation                                                                                               Annually


       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.3.       Tiel, Becker, CPA's                                                                                                 Annually



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Vellano Corporation
                    7 Hemlock Drive
                    Latham, NY 12110
       26c.2.       Teal, Becker & Chiarmonte, CPAs
                    7 Washington Square
                    Albany, NY 12205

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       M&T Bank



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.
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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 The Vellano Corporation
       .                                                                                    12/31/16

               Name and address of the person who has possession of
               inventory records
               Vellano Corporation
               7 Hemlock Drive
               Latham, NY 12110


       27.2 The Vellano Corporation
       .                                                                                    12/31/15

               Name and address of the person who has possession of
               inventory records
               Vellano Corporation
               7 Hemlock Drive
               Latham, NY 12110


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Paul Vellano                                   7 Hemlock Drive                                     President                             23
                                                      Latham, NY 12110

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John Vellano                                   7 Hemlock Drive                                     Vice President                        32
                                                      Latham, NY 12110

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Joe Vellano                                    7 Hemlock Drive                                     Vice President                        23
                                                      Latham, NY 12110

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Anthony Vellano                                7 Hemlock Drive                                     Vice President                        23
                                                      Latham, NY 12110



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Steven Niedbalec                                                                                   Treasurer                         through May 2017




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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Robert McCarthy                                                                                    Secretary                        through 8/16/16



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Anthony Vellano
       .    7 Hemlock Drive                                                                                              July 2016 -       salary,
               Latham, NY 12110                                  140961.70                                               July 2017         compensation

               Relationship to debtor



       30.2 Joseph Vellano
       .    7 Hemlock Drive                                                                                              July 2016 -       salary,
               Latham, NY 12110                                  131079.28                                               July 2017         compensation

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 18, 2017

 /s/ Paul Vellano                                                       Paul Vellano
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of New York
 In re       The Vellano Corporation                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,800.00
             Prior to the filing of this statement I have received                                        $                 10,800.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 18, 2017                                                               /s/ Richard H. Weiskopf, Esq.
     Date                                                                        Richard H. Weiskopf, Esq. 102805
                                                                                 Signature of Attorney
                                                                                 The DeLorenzo Law Firm, LLP.
                                                                                 670 Franklin St., Suite 100
                                                                                 Schenectady, NY 12305
                                                                                 (518) 374-8450 Fax: (518) 374-5906
                                                                                 Rweiskopf@delolaw.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of New York
 In re      The Vellano Corporation                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Anthony Vellano                                                                      23%



 John Vellano                                                                         32%



 Joseph Vellano                                                                       23%



 Paul Vellano                                                                         23%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date July 18, 2017                                                          Signature /s/ Paul Vellano
                                                                                            Paul Vellano

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF NEW YORK


 In re        The Vellano Corporation                                                          ,


                                                               Debtor                          Case No.
                                                                      Chapter                               11
 Social Security No(s). and all Employer's Tax Identification No(s). [if any]
 XX-XXXXXXX


                                                     CERTIFICATION OF MAILING MATRIX



             I,(we),      Richard H. Weiskopf, Esq. 102805              , the attorney for the debtor/petitioner (or, if appropriate, the

debtor(s) or petitioner(s)) hereby certify under the penalties of perjury that the above/attached mailing matrix

has been compared to and contains the names, addresses and zip codes of all persons and entities, as they appear

on the schedules of liabilities/list of creditors/list of equity security holders, or any amendment thereto filed

herewith.



 Dated:          July 18, 2017
                                                                                 /s/ Richard H. Weiskopf, Esq.
                                                                                 Richard H. Weiskopf, Esq. 102805
                                                                                 Attorney for Debtor/Petitioner
                                                                                 (Debtor(s)/Petitioner(s))




F:LR1007 (10/19/99)


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                          ACO POLYMER PRODUCTS
                          P.O. BOX 72145
                          CLEVELAND, OH 44192


                          ACTION FIRE & SAFTEY EQUI
                          2336 RT. 11
                          KIRKWOOD, NY 13795


                          ADAPTOR, INC.
                          2151 SOUTH 54TH STREET
                          WEST ALLIS, WI 53219


                          ADIRONDACK TRUST INSURANC
                          P.O. BOX 13326
                          ALBANY, NY 12212-3326


                          ADVANCED DRAINAGE SYSTEMS
                          P.O. BOX 414044
                          BOSTON, MA 02241-4044


                          AGAVE WIRE
                          PO BOX 38409
                          DALLAS, TX 75238-0409


                          AGRI DRAIN CORP.
                          P. O. BOX 458
                          ADAIR, IA 50002


                          AIS, LLC
                          P.O. BOX 161
                          BON AIR, AL 35032


                          AJ VEL LTD D/B/A
                          VELLANO TECHNOLOGIES
                          7 HEMLOCK STREET
                          LATHAM, NY 12110


                          ALABAMA PROPANE EXCHANGE
                          P.O. BOX 638
                          ORANGE BEACH, AL 36561


                          ALL SEASONS TEXTILE SERVI
                          P.O. BOX 222
                          CLINTON, NY 13323
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                      ALLY
                      P.O.BOX 9001948
                      LOUISVILLE, KY 40290-1948


                      Ally
                      P.O. Box 9001951
                      Louisville, KY 40290-1951


                      AMERICAN EXPRESS
                      P.O. BOX 2855
                      NEW YORK, NY 10116-2855


                      AMERICAN EXPRESS 9-31004
                      P.O. BOX 1270
                      NEWARK, NJ 07101-1270


                      AMERICAN FIREHOSE
                      222 BEMIS ROAD
                      FITCHBURG, MA 01420


                      AMERICAN FLEET MAINTENANC
                      275 INTERNATIONAL BLVD.
                      ROCHESTER, NY 14624


                      AMERICAN PIPE & SUPPLY
                      P.O. BOX 745149
                      ATLANTA, GA 30374-5149


                      AMERICAN VALVE MFG CORP
                      P.O. BOX 35229
                      GREENSBORO, NC 27425-5229


                      AMTEK TOTAL SOLUTIONS,LLC
                      PO BOX 525
                      OLEAN, NY 14760


                      ANNISTON WINDUSTRIAL CO.,
                      1715 HILLYER-ROBINSON PARKWAY
                      ANNISTON, AL 36207


                      ANTHEM PROPANE EXCHANGE
                      P.O.BOX 1078
                      HIGHLAND PARK, IL 60035
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                      AQUALINE SALES, INC.
                      3812 GOLDEN AUTUMN ROAD
                      BUFORD, GA 30519


                      AQUASHIELD PROTECTIVE ENC
                      2020 W 38TH STREET
                      NORTH LITTLE ROCK, AR 72118


                      ASSOCIATED FUEL SYSTEMS I
                      PROBILING & FUNDING SERVICE
                      P.O. BOX 2222
                      DECATUR, AL 35609-2222


                      ASSURED FLOW SALES, INC.
                      P.O. BOX 49633
                      SARASOTA, FL 34230-9633


                      BALDWIN EMC
                      P.O. BOX 220
                      SUMMERDALE, AL 36580


                      BAUGHMAN TILE CO.
                      8516 TOWNSHIP ROAD 137
                      PAULDING, OH 45879


                      BERKSHIRE MTN. SPRING WAT
                      P.O. BOX 279
                      SOUTHFIELD, MA 01259


                      BERT ADAMS DISPOSAL, INC.
                      P O BOX 549
                      CHENANGO BRIDGE, NY 13745


                      BERTARELLI BROS.
                      P.O. BOX 328
                      SO EASTON, MA 02375


                      BIBBY-STE. CROIX
                      55 WATER STREET
                      ROOM 826
                      NIAGARA FALLS, NY 14304-0178


                      BINGHAM & TAYLOR
                      P.O. BOX 361
                      BRATTLEBORO, VT 05302-0361
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                      BIRMINGHAM FASTENERS
                      DEPT #5564
                      P.O. BOX 11407
                      BIRMINGHAM, AL 35246-5564


                      BLACK SWAN MFG CO
                      4540 WEST THOMAS
                      CHICAGO, IL 60651


                      BMI CANADA
                      3437 BOULEVARD GRANDE-ALLEE
                      BOISBRIAND, QC J7H1H5


                      BUFFALO ELECTRIC COMPANY
                      P.O. BOX 2005
                      BIRMINGHAM, AL 35201


                      BURR TRUCK & TRAILER SALE
                      2901 VESTAL ROAD
                      SOUTH VESTAL, NY 13850


                      BUY WHOLESALE COMPANY
                      2055 OLD RIVER ROAD
                      MONTGOMERY, TX 77356


                      C & B PIPING, INC.
                      P.O. BOX 942
                      LEEDS, AL 35094


                      CAMBRIDGE BRASS
                      P.O. BOX 249
                      140 ORION PLACE
                      ON CANADA N1R5V1


                      CAMBRIDGE LEE IND. INC.
                      P.O. BOX 62782
                      BALTIMORE, MD 21264-2782


                      CANON FINANCIAL SERVICES,
                      14904 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693-0149


                      CANON SOLUTIONS AMERICA,
                      One Canon Park
                      Melville, NY 11747
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                      CARPENTER & PATERSON INC.
                      P.O. BOX 347831
                      PITTSBURGH, PA 15251-4876


                      CARTHAGE MILLS
                      PO BOX 181327
                      FAIRFIELD, OH 45018-1327


                      Cash- Vestal
                      405 Commerce Road
                      VESTAL, NY 13851


                      CCI PIPELINE SYSTEMS
                      1058 O'NEAL DRIVE
                      BREAUX BRIDGE, LA 70517


                      CENTRAL PIPE & SUPPLY
                      P.O. BOX 117158
                      ATLANTA, GA 30368-7158


                      CENTURYLINK
                      P.O. BOX 4300
                      CAROL STREAM, IL 60197-4300


                      CHARTER PLASTICS
                      221 S. PERRY ST
                      P.O. BOX 770
                      TITUSVILLE, PA 16354


                      CINTAS
                      P.O. BOX 630910
                      CINCINNATI, OH 45263-0910


                      CIRCLE MANUFACTURING CO.
                      995 GRIFFIN POND ROAD
                      CLARKS SUMMIT, PA 18411


                      CITY OF LINCOLN
                      P.O. BOX 172
                      LINCOLN, AL 35096


                      CITY OF WESTFIELD
                      59 COURT ST
                      WESTFIELD, MA 01085
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                      CKR PRODUCTS
                      625 WATAB COURT
                      SARTELL, MN 56377


                      CLEAR WATER MANUFACTURING
                      900 WELLS ROAD
                      WETHERSFIELD, CT 06109


                      CLOW VALVE COMPANY
                      P.O. BOX 848360
                      DALLAS, TX 75284-8360


                      COMCAST
                      P.O. BOX 1577
                      NEWARK, NJ 07101-1577


                      COMMAND CREDIT CORP
                      117 WATER STREET
                      SUITE 204
                      MILFORD, MA 01757


                      COMMERCIAL PIPE & SUPPLY
                      1920 ELMWOOD AVE.
                      BUFFALO, NY 14207


                      CONBRACO INDUSTRIES, INC.
                      p.o. box 602903
                      CHARLOTTE, NC 28260-2903


                      CONTECH ENGINEERED SOULUT
                      P.O. BOX 936362
                      ATLANTA, GA 31193-6217


                      CONTINENTAL INDUSTRIES IN
                      P.O. BOX 732096
                      DALLAS, TX 75373-2093


                      CONWAY VOLVO TRUCK AND BU
                      2654 WEST HENIRIETTA RD
                      ROCHESTER, NY 14623


                      CORRPRO COMPANIES INCORPO
                      1380 ENTERPRISE DRIVE
                      SUITE 100
                      WEST CHESTER, PA 19380
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                      CRUMPLER PLASTIC PIPE INC
                      PO BOX 2068
                      ROSEBORO, NC 28382


                      CSI PIPE, LLC.
                      P.O. BOX 307
                      174 ALL HALLOWS ROAD
                      WAUREGAN, CT 06387


                      CULLIGAN
                      P.O. BOX 90
                      ENDICOTT, NY 13761-0090


                      D&H DISTRIBUTING
                      P.O. BOX 406942
                      ATLANTA, GA 30384-6942


                      DANFOSS FLOMATIC CORPORAT
                      15 PRUYN'S ISLAND DRIVE
                      GLENS FALLS, NY 12801


                      DARRELL FRANK DESIGN
                      717 SOUTH FEDERAL HWY
                      LAKE WORTH, FL 33460


                      DAUGHTRIDGE SALES CO., IN
                      PO BOX 4364
                      ROCKY MOUNT, NC 27803-0364


                      DAVID GOODING INC
                      173 SPARK STREET
                      BROCTON, MA 02302-1620


                      DE LAGE LANDEN
                      ACCT# 26221
                      P.O. BOX 41602
                      PHILADELPHIA, PA 19101-1602


                      DIVAL SAFETY EQUIPMENT, I
                      1721 NIAGARA STREET
                      BUFFALO, NY 14207


                      DORITEX CORP
                      11980 WALDEN AVENUE
                      ALDEN, NY 14004-9709
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                      E.A. MORSE & CO., INC.
                      1210 RTE 9
                      CASTLETON, NY 12033


                      EARTHLINK BUSINESS
                      ACCT#3887478
                      P.O. BOX 88104
                      CHICAGO, IL 60680-1104


                      EBAA IRON INC.
                      BOX 857
                      EASTLAND, TX 76448


                      EJ USA, INC.
                      P.O. BOX 644873
                      PITTSBURGH, PA 15264-4873


                      ELSTER AMCO WATER, LLC 28
                      JPMORGAN CHASE
                      131 S. DEARBORN, 6TH FLOOR
                      CHICAGO, IL 60603


                      ENDOT INDUSTRIES INC.
                      60 Green Pond Rd
                      ROCKAWAY, NJ 07866


                      EPICOR
                      P.O. BOX 671069
                      DALLAS, TX 75267-1069


                      ETCO SPECIALTY PRODUCTS,
                      P.O. BOX 346
                      GIRARD, KS 66743


                      F. W. WEBB
                      160 MIDDLESEX TURNPIKE
                      BEDFORD, MA 01730


                      F.W. Webb Company
                      160 Middlesex Turnpike
                      Bedford, MA 01730


                      FARRELLY COMPANY; JACK
                      97 OLD POQUONOCK ROAD
                      BLOOMFIELD, CT 06002
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                      FASTENAL COMPANY
                      P.O. BOX 1286
                      WINONA, MN 55987-1286


                      FASTENERS DIRECT
                      545 BASKET ROAD
                      WEBSTER, NY 14580


                      FEDERAL EXPRESS CORP.
                      P.O. BOX 371599
                      PITTSBURGH, PA 15250-7599


                      FEDEX FREIGHT
                      PO BOX 223125
                      PITTSBURGH, PA 15250-2125


                      FERNCO, INC.
                      DEPT# 77099
                      P.O. BOX 77000
                      DETROIT, MI 48277-0099


                      FERRELLGAS
                      P.O. BOX 173940
                      DENVER, CO 80217-3940


                      FISHER RESEARCH LABORATOR
                      c/o WELLS FARGO BANK
                      P.O. BOX 201995
                      DALLAS, TX 75320-1995


                      FJ TURNER COMPANY
                      P.O. BOX 20741
                      RALEIGH, NC 27619


                      FOLEY PRODUCTS
                      P.O. BOX 2447
                      COLUMBUS, GA 31902


                      FRANCOTYP-POSTALIA, INC
                      P.O. BOX 157
                      BEDFORD PARK, IL 60499-0157


                      FREIGHTQUOTE.COM
                      P.O BOX 9121
                      MINNEAPOLIS, MN 55480-9121
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                      GAVIN WOODWORKING INC.
                      16119 CHICAGO RD
                      SANDWICH, IL 60548


                      GENERAL FOUNDRIES INC.
                      1 PROGRESS ROAD
                      NORTH BRUNSWICK, NJ 08902


                      GENERAL INSULATION CO., I
                      P.O. BOX 636959
                      CINCINNATI, OH 45263-6959


                      GENERAL PIPE CLEANERS CO.
                      1101 THOMPSON AVENUE
                      MCKEES ROCKS, PA 15136


                      GEORG FISCHER CENTRAL PLA
                      P.O. BOX 849792
                      DALLAS, TX 75284-9792


                      GLASFORMS, INC.
                      1226 LINCOLN AVENUE
                      SAN JOSE, CA 95125-1399


                      GLASMASTERS
                      8873 WESTERN WAY
                      JACKSONVILLE, FL 32256


                      GRIFFIN PIPE CO.
                      92 Church St
                      Northborough, MA 01532


                      GRIPPER GASKET, LLC
                      P.O. BOX 1839
                      CORONA, CA 92878


                      GROUND WATER RESCUE INC.
                      24 RYDEN STREET
                      QUINCY, MA 02169


                      GULF COAST PUMP & EQUIPME
                      PO BOX 8529
                      MOBILE (OUTSIDE CITY, AL 36689
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                      GUNNERS METERS AND PARTS
                      454 N. CASS AVE
                      PONTIAC, MI 48342


                      HANCOR, INC.
                      12370 Jacksontown Rd # 172
                      Findlay, OH 45840


                      HANES GEO COMPONENTS
                      L&P FINANCIAL SERVICES CO.
                      P.O. BPX 60984
                      CHARLOTTE, NC 28260


                      HARRINGTON CORPORATION
                      P.O. BOX 10335
                      LYNCHBURG, VA 24506


                      HAVEN STAKES, INC.
                      dba ASTRO WOOD PRODUCTS
                      182 HAVEN LANE
                      SCHOHARIE, NY 12157


                      HAWK PLASTICS, LLC
                      14447 PLANT ROAD
                      ALPINE, AL 35014


                      HD SUPPLY WATERWORKS, LTD
                      P.O. BOX 4853
                      ORLANDO, FL 32802-4853


                      HEADLEE COMPANY
                      3649 CALIFORNIA ROAD
                      ORCHARD PARK, NY 14127


                      HERITAGE PLASTICS
                      DEPT CH 10415
                      PALATINE, IL 60055


                      HIGGINS ENGINEERING, INC.
                      390 LEXINGTON TURNPIKE
                      AMHERST, VA 24521
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                      HOWLAND PUMP & SUPPLY CO.
                      7611 STATE HIGHWAY 68
                      P.O. BOX 295
                      OGDENSBURG, NY 13669-0295


                      HUBBELL LENOIR CITY, INC.
                      DEPT. 1221
                      P.O. BOX 121221
                      DALLAS, TX 75312-1221


                      HURCO TECHNOLOGIES, INC.
                      409 ENTERPRISE STREET
                      HARRISBURG, SD 57032


                      HYDRA-STOP LLC
                      144 TOWER DRIVEK, SUITE A
                      BURR RIDGE, IL 60527


                      HYDRANT REPAIR PARTS, INC
                      P.O.BOX 100
                      DEPT. NO. 1504
                      BIXBY, OK 74008-0100


                      HYDRO INTERNATIONAL
                      94 HUTCHINS DRIVE
                      PORTLAND, ME 04102-1930


                      IDEAL CLAMP PRODUCTS, INC
                      P.O. BOX 102976
                      ATLANTA, GA 30368-2976


                      INDIAN VALLEY INDUSTRIES,
                      5 PINE CAMP DRIVE
                      BINGHAMTON, NY 13904


                      INDIANA SEAL COMPANY
                      9329 Castlegate Dr
                      Indianapolis, IN 46256


                      INSERTA FITTINGS, CO.
                      P.O. BOX 714
                      CORNELIUS, OR 97113
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                      INSULATED PIPING SYSTEMS,
                      350 LINCOLN STREET
                      SUITE 2400
                      HINGHAM, MA 02043


                      INTEGRITY FUSION PRODUCTS
                      P.O. BOX 142607
                      FAYETTEVILLE, GA 30214


                      IPEX USA,LLC-233406
                      3406 MOMENTUM PLACE
                      CHICAGO, IL 60689-5334


                      ISCO INDUSTRIES
                      100 WITHERSPOON STREET
                      2 WEST
                      LOUISVILLE, KY 40202


                      J-M MANUFACTURING CO., IN
                      9 Peach Tree Hill Rd
                      LIVINGSTON, NJ 07039


                      JACK FARRELLY CO.
                      149 SOUTHWEST CUTOFF
                      WORCESTER, MA 01604


                      JCM INDUSTRIES, INC.
                      DEPTARTMENT 128
                      P.O. BOX 4869
                      HOUSTON, TX 77210-4869


                      JOHN BOUCHARD & SONS
                      MSC 30305
                      P.O. BOX 415000
                      NASHVILLE, TN 37241-5000


                      JONES STEPHENS CORP.
                      P.O. BOX 931067
                      ATLANTA, GA 31193-1067


                      JOSAM COMPANY
                      PO BOX 572057
                      PHILADELPHIA, PA 19111-7205
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                      JTM PRODUCTS
                      PO BOX 951360
                      CLEVELAND, OH 44193


                      JUMBO MANUFACTURING CO IN
                      P.O. BOX 762
                      CLARKS SUMMIT, PA 18411


                      KENNEDY VALVE
                      12527 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      KESSLER SALES & DISTRIBUT
                      500 GREEN STREET
                      Woodbridge, NJ 07095


                      KRAUSZ USA
                      331 SW 57TH AVENUE
                      OCALA, FL 34474


                      KRIS-TECH WIRE CO
                      PO BOX 4377
                      80 OTIS STREET
                      ROME, NY 13442


                      KSM ENTERPRISES, INC.
                      P.O. BOX 111
                      3161 HIGH STREET
                      BONDSVILLE, MA 01009


                      L & M SUPPLY CO., INC.
                      P.O. BOX 22787
                      TAMPA, FL 33622


                      LANE ENTERPRISES, INC.
                      3905 HARTZDALE DR.,SUITE 514
                      CAMP HILL, PA 17011


                      LEAF
                      P.O. BOX 644006
                      CINCINNATI, OH 45264-4006


                      LEE SUPPLY CO., INC.
                      P.O. BOX 640335
                      PITTSBURGH, PA 15264-0335
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                      LESSO AMERICAN INC.
                      1010 RAILROAD STREET
                      CORONA, CA 92882


                      LINDENHURST CUTTING TOOL,
                      135 MICHAEL DRIVE
                      SYOSSET, NY 11791


                      LINDSTROM & ASSOCIATES
                      4747 GRANITE DRIVE
                      TUCKER, GA 30084


                      LORICA, LLC
                      ATTN: GLEN VALENCIA
                      603 GRAYSTONE CT.
                      PEACHTREE CITY, GA 30269


                      M & H VALVE COMPANY
                      P.O. BOX 848363
                      DALLAS, TX 75284-8363


                      M&T Bank
                      Acct.No.XXX-1000
                      PO Box 900
                      Millsboro, DE 19966


                      M.J. PIPE & SUPPLY CORP.
                      609 BUFFALO ROAD
                      ROCHESTER, NY 14611


                      MACON PLASTIC & PIPE, INC
                      P.O. BOX 95
                      MACON, GA 31202-0095


                      MAR MAC MANUFACTURING CO.
                      P.O. BOX 447
                      US HWY #1 NORTH
                      MCBEE, SC 29101


                      MARINEMIDLAND
                      One Seneca Tower
                      1 HSBC Center
                      Buffalo, NY 14203
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                      MASONRY SUPPLY, INC.
                      P.O. BOX 943
                      SELMA, NC 27576


                      MASSACHUSETTS WATER WORKS
                      P.O. BOX 1064
                      ACTON, MA 01720


                      MASTER METER, INC
                      C/O SOUTHWEST BANK
                      P.O. BOX 16549
                      FORT WORTH, TX 76162


                      MATCO-NORCA
                      P.O. BOX 823434
                      PHILADELPHIA, PA 19182-3434


                      MCDONALD MFG. CO.; A.Y.
                      P.O. BOX 655178
                      DALLAS, TX 75265-5178


                      McWANE DUCTILE
                      12524 COLLECTIONS CENTER DRIVE
                      CHICAGO, IL 60693


                      MERRILL MANUFACTURING
                      P O BOX 392
                      STORM LAKE, IA 50588


                      METRON-FARNIER
                      5665 AIRORT BLVD.
                      BOULDER, CO 80301


                      MICHELLE BRANON
                      802 DURAND ROAD
                      PLATTSBURGH, NY 12901


                      MIDLAND MANUFACTURING CO
                      4800 ESCO DRIVE
                      FORT WORTH, TX 76140


                      MISSION RUBBER COMPANY, I
                      FILE 55414
                      LOS ANGELES, CA 90074-5414
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                      MOON AMERICAN
                      167-B SOUTHWEST CUTOFF
                      WORCESTER, MA 01604


                      MOORE FIRE EXTINGUISHER
                      P.O. BOX 1511
                      GUILDERLAND, NY 12084


                      MUELLER COMPANY
                      23418 NETWORK PLACE
                      CHICAGO, IL 60673-1234


                      MUNICIPAL PUBLISHING
                      P.O. BOX 489
                      RIESEL, TX 76682


                      MWP ASSOCIATES
                      P.O. BOX 1462
                      CICERO, NY 13039


                      NAPAC, INC.
                      229 SOUTHBRIDGE STREET
                      WORCESTER, MA 01608


                      NATIONAL DIVERSIFIED SALE
                      SDS-12-1701
                      6228 RELIABLE PARKWAY
                      CHICAGO, IL 60686


                      NATIONAL PIPE CO.
                      P.O. BOX 62232
                      BALTIMORE, MD 21264


                      NEENAH FOUNDRY CO.
                      BOX 729
                      NEENAH, WI 54956


                      NEWMAN ASSOCIATES, LLC.
                      80 HUDSON ROAD
                      SUITE 200
                      CANTON, MA 02021


                      NORMANDY PRODUCTS COMPANY
                      P.O. BOX 14310
                      PITTSBURGH, PA 15239-0310
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                      NORTH AMERICAN CI PROD IN
                      MERCHANT FINANCIAL CORPORATION
                      P.O. BOX 716, MIDTOWN STATION
                      NEW YORK, NY 10018-0716


                      NORTHERN NY BUILDERS EXCH
                      22074 FABCO ROAD
                      WATERTOWN, NY 13601


                      OATEY SUPPLY CHAIN SERVIC
                      P.O. BOX 92138
                      MAIN OFFICE
                      CLEVELAND, OH 44191


                      OLDCASTLE PRECAST INC
                      P.O. BOX 742387
                      LOS ANGELES, CA 90074-2387


                      OLDCASTLE PRECAST INC.
                      P.O. BOX 842649
                      DALLAS, TX 75284-2649


                      OMEGA MARKING CO.
                      P.O. BOX 655
                      BEAVER DAM, WI 53916


                      ONONDAGA COUNTY WATER AUT
                      P.O. BOX 4949
                      SYRACUSE, NY 13221-4949


                      OPTIMUM
                      P.O. BOX 9256
                      CHELSEA, MA 02150-9256


                      PA RURAL WATER ASSOCIATIO
                      138 WEST BISHOP STREET
                      BELLEFONTE, PA 16823


                      PEACHTREE VALVES & EQUIPM
                      310 BURNHIL AVE
                      EVANS, GA 30809


                      PENN-TROY MANUFACTURING C
                      P.O. BOX 187
                      TROY, PA 16947
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                      PENSKE TRUCK LEASING CO.,
                      P.O. BOX 532658
                      ATLANTA, GA 30353-2658


                      PERSHING LLC
                      1 Pershing Plz
                      JERSEY CITY, NJ 07399


                      PHELPS INDUSTRIAL PRODUCT
                      6300 WASHINGTON BOULEVARD
                      ELKRIDGE, MD 21075-5397


                      PHOCAS INC.
                      P.O. BOX 782434
                      ORLANDO, FL 32878


                      PIPE CONX
                      P.O. BOX 18007
                      EVANSVILLE, IN 47719-1007


                      PIPE PRO, INC
                      P. O. BOX 366
                      HOPE VALLEY, RI 02832


                      PIPELINE PRODUCTS
                      1650 LINDA VISTA DRIVE
                      SAN MARCOS, CA 92078


                      PLASTIC TRENDS
                      21319 NETWORK PLACE
                      CHICAGO, IL 60673-1213


                      POLLARDWATER
                      P.O. BOX 417592
                      BOSTON, MA 02241-7592


                      POLSINELLO FUELS,INC
                      DRAWER 211
                      411 RIVERSIDE AVE
                      RENSSELAER, NY 12144


                      POLY-CAM INC
                      1101 McKINLEY STREET
                      ANOKA, MN 55303
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                      POLYLOK, INC
                      3 FAIRFIELD BLVD
                      WALLINGFORD, CT 06492


                      POLYONE CORPORATION
                      FOR GLASFORMS INC.
                      BOX 223554
                      PITTSBURGH, PA 15251-2554


                      POND DAM PIPING,LTD.,INC.
                      398 EIGHT STREE
                      MACON, GA 31201


                      POTTER ELECTRIC
                      P.O. BOX 1000
                      DEPT.979
                      MEMPHIS, TN 38148


                      POTTER-ROEMER, INC.
                      P.O. BOX 51713
                      LOS ANGELES, CA 90051-0040


                      POWER SEAL
                      P.O. BOX 2014
                      WICHITA FALLS, TX 76307-2014


                      PRECISION PIPE & PRODUCTS
                      P.O. BOX 102046
                      BIRMINGHAM, AL 35210


                      PREDCO
                      13260 18 MILE ROAD
                      RODNEY, MI 49342


                      PRESCOTT INC.; E. J.
                      P.O. BOX 350002
                      BOSTON, MA 02241-0502


                      PROTECTION 1
                      ACCT#23897598
                      P.O. BOX 219044
                      KANSAS CITY, MO 64121-9044
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                      PURCHASE POWER
                      ACCT#8000-9090-0269-0761
                      P.O. BOX 371874
                      PITTSBURGH, PA 15250-7874


                      PYLAM PRODUCTS COMPANY IN
                      2175 EAST CEDAR STREET
                      TEMPE, AZ 85281


                      QUALITY PIPE PRODUCTS INC
                      PO BOX 667
                      17275 HURON DRIVE
                      NEW BOSTON, MI 48164


                      R D PROPERTIES
                      19 LILY STREET
                      PROVIDENCE, RI 02909


                      RADIO GROVE HARDWARE
                      ROUTE 27
                      RAYMOND, NH 03077


                      RECTORSEAL CORPORATION; T
                      PO BOX 973957
                      DALLAS, TX 75397-3957


                      RED ROOF INNS, INC.
                      P.O. BOX 849800
                      DALLAS, TX 75284-9800


                      REED MANUFACTURING CO.
                      P.O. BOX 1321
                      ERIE, PA 16512


                      Reliance Worldwide Corp.
                      dba Cash Acme
                      P.O. BOX 934489
                      ATLANTA, GA 31193-4489


                      RELINER DURAN INC.
                      53 MT. ARCHER ROAD
                      LYME, CT 06371
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                      REXNORD INDUSTRIES, LLC
                      BOX 93944
                      CHICAGO, IL 60673-3944


                      RIVERFRONT MEDICAL, PC.
                      P.O. BOX 214
                      LIVERPOOL, NY 13088-0214


                      ROBERT E. LAKE
                      24428 U.S. ROUTE 11
                      CALCIUM, NY 13616


                      ROCHESTER GAS & ELECTRIC
                      ACCT 20014304909
                      P.O. BOX 11747
                      NEWARK, NJ 07101-4747


                      RODON CORPORATION
                      761 N.17TH ST.UNIT#3
                      SAINT CHARLES, IL 60174


                      ROMAC INDUSTRIES, INC.
                      21919 20TH AVENUE SE
                      SUITE 100
                      BOTHELL, WA 98021-4404


                      ROTH GLOBAL PLASTICS
                      KEY BANK (LOCKBOX DEPT.)
                      P.O. BOX 1043
                      ALBANY, NY 12211


                      ROYAL CARTING SERVICE CO.
                      ACCT#96023.0
                      P.O. BOX 1209
                      HOPEWELL JUNCTION, NY 12533


                      RYDER TRANSPORTATION SERV
                      P.O. BOX 402366
                      ATLANTA, GA 30384-2366


                      SALLY K FLOWERS
                      Talladega County Revenue Commissioner
                      PO Box 1119
                      Talladega, AL 35161
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                      SANDERSON PIPE CORP
                      P.O. BOX 700
                      SANDERSON, FL 32087-0700


                      SCHONSTEDT INSTRUMENT CO.
                      100 EDMOND ROAD
                      KEARNEYSVILLE, WV 25430


                      SIEWERT EQUIPMENT COMPANY
                      P.O. BOX 824438
                      c/o J L MOORE
                      PHILADELPHIA, PA 19182-4438


                      SIGMA CORPORATION
                      1805 SOLUTIONS CENTER
                      CHICAGO, IL 60677-1008


                      SIMMONS MANUFACTURING CO.
                      P.O. BOX 100250
                      ATLANTA, GA 30384


                      SIP INDUSTRIES
                      2900 PATIO DRIVE
                      HOUSTON, TX 77017


                      SMITH BLAIR, INC.
                      30 GLOBE AVENUE
                      TEXARKANA, AR 71854


                      SOUTHEAST CULVERT, INC
                      PO BOX 999
                      AUBURN, GA 30011


                      SOUTHEASTERN FREIGHT LINE
                      PO BOX 1691
                      COLUMBIA, SC 29202


                      SOUTHERN DRILL SUPPLY, IN
                      1822 BLACKBIRD LANE
                      PENSACOLA, FL 32534


                      SOUTHERN METER BOX
                      P.O. BOX 5385
                      ALEXANDRIA, LA 71307
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                      SOUTHLAND PIPE AND SUPPLY
                      P.O.BOX 1844
                      DEPT-S-30
                      MEMPHIS, TN 38101-1844


                      SPEARS MFG. CO.
                      P.O. BOX 54988
                      LOS ANGELES, CA 90054-0988


                      SPECIFICATION RUBBER
                      P.O. BOX 568
                      ALABASTER, AL 35007


                      SPECIFIED FITTINGS, LLC.
                      BIN #213100
                      P.O. BOX 790051
                      SAINT LOUIS, MO 63179-0051


                      STANDON PIPE SUPPORTS, IN
                      P.O. BOX 247
                      FOREST GROVE, OR 97116


                      STAR PIPE PRODUCTS, LTD.
                      4018 WEST HOLLOW PARKWAY
                      HOUSTON, TX 77082


                      STILES COMPANY INC
                      922 PLEASANT STREET
                      NORWOOD, MA 02062


                      SUBURBAN PROPANE
                      P.O. BOX 300
                      WHIPPANY, NJ 07981-0300


                      SUPERIOR CALHOUN GAS, INC
                      P.O. BOX 248
                      ANNISTON, AL 36202


                      SUPERIOR PLUS CONST. PROD
                      dba WINROC - SPI
                      29722 NETWORK PLACE
                      CHICAGO, IL 60673-1297
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                      SYRACUSE HAULERS WASTE RE
                      6223 THOMOPSON RD,SUITE 1000
                      SYRACUSE, NY 13206


                      T & T TOOLS, INC
                      P.O. BOX 531
                      SPRING LAKE, MI 49456


                      T CHRISTY ENTERPRISES INC
                      P.O. BOX 25168
                      ANAHEIM, CA 92825


                      TAYLOR MADE PLASTICS, INC
                      1561 GLOBAL COURT
                      UNIT A
                      SARASOTA, FL 34240


                      TEAL BECKER & CHIARAMONTE
                      7 WASHINGTON SQUARE
                      ALBANY, NY 12205


                      TEAL'S EXPRESS INC.
                      P.O. BOX 6010
                      WATERTOWN, NY 13601


                      TEK-SALES, INC
                      5 MARWAY CIRCLE
                      SUITE 14
                      ROCHESTER, NY 14624


                      TERMINIX INTERNATIONAL
                      P.O. BOX 742592
                      CINCINNATI, OH 45274-2592


                      THE BWM COMPANY
                      P.O. BOX 414
                      FOREST CITY, NC 28043


                      TIGRE USA INC
                      2315 BELOIT AVENUE
                      JANESVILLE, WI 53546


                      TIM MORALES & ASSOCIATES
                      PO BOX 91421
                      MOBILE (OUTSIDE CITY, AL 36691-1421
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                      TIME WARNER
                      P.O. BOX 70872
                      CHARLOTTE, NC 28272-0872


                      TIME WARNER CABLE
                      P.O. BOX 70872
                      CHARLOTTE, NC 28272-0872


                      TIME WARNER SECURITY
                      P.O. BOX 70872
                      CHARLOTTE, NC 28272-0872


                      TIRE TECH, INC.
                      PO BOX 170434
                      BIRMINGHAM, AL 35217


                      TOTAL PIPING SOLUTIONS
                      P.O. BOX 525
                      OLEAN, NY 14760


                      TRACER ELECTRONICS LLC
                      6981 EASTGATE BLVD.
                      LEBANON, TN 37090


                      TRELLEBORG ENGINEERED SYS
                      P.O. BOX 301
                      MILFORD, NH 03055


                      TRIPLE CITIES WINDUSTRIAL
                      10 VALLEY ST
                      ENDICOTT, NY 13760-3692


                      TROY VALVE
                      P.O. BOX 187
                      TROY, PA 16947


                      TRUMBULL RECREATION SUPPL
                      PO BOX 109
                      148 RIVER ROAD
                      WILLINGTON, CT 06279


                      TUF-TITE
                      1200 FLEX COURT
                      LAKE ZURICH, IL 60047-6713
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                      TYLER UNION
                      P.O. BOX 403228
                      ATLANTA, GA 30384-3228


                      U.S. FOUNDRY & MANUFACTU
                      PO BOX 668257
                      MIAMI, FL 33166


                      U.S. PIPE & FOUNDRY CO.,
                      P.O. BOX 935445
                      ATLANTA, GA 31193-5445


                      U.S. PIPE FABRICATION
                      P.O. BOX 934507
                      ATLANTA, GA 31193-4507


                      U.S. SAWS & BLADES
                      P.O. BOX 89992
                      TAMPA, FL 33689


                      ULINE SHIPPING SUPPLIES
                      ATTN: ACCOUNTS RECEIVABLE
                      P.O.BOX 88741
                      CHICAGO, IL 60680-1741


                      UNDERGROUND TESTING & SER
                      809 BACK MOUNTAIN ROAD
                      GOFFSTOWN, NH 03045


                      UNIFIRST CORPORATION    L
                      157 TROY-SCHENECTADY ROAD
                      WATERVLIET, NY 12189


                      UNIFIRST CORPORATION        S
                      103 LUTHER AVE
                      LIVERPOOL, NY 13088


                      UTILITRONICS
                      P.O. BOX 1616
                      PLAINVILLE, MA 02762


                      VALIANT STEEL & EQUIPMENT
                      6455 OLD PEACHTREE ROAD
                      P.O. BOX 1027
                      NORCROSS, GA 30091
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                      VALVE-TECH NORTHEAST,LLC
                      PO BOX 269
                      NAZARETH, PA 18064


                      VANDEWATER INTERNATIONAL,
                      8551 W. SUNRISE BLVD
                      SUITE 204
                      PLANTATION, FL 33322


                      VARICORE TECHNOLOGIES, IN
                      15 6TH STREET
                      P.O. BOX 131
                      PRINSBURG, MN 56281-0131


                      VEGAS LANDSCAPING & DESIG
                      43 CROSSMAN STREET
                      CENTRAL FALLS, RI 02863


                      VEL., LTD.; A.J.
                      8 NORTHWAY LANE NORTH
                      LATHAM, NY 12110


                      VERIZON 5124
                      P.O. BOX 15124
                      ALBANY, NY 12212-5124


                      VERIZON WIRELESS
                      P.O. BOX 408
                      NEWARK, NJ 07101-0408


                      VICTORY STEEL PRODUCTS
                      P.O. BOX 4370
                      SAINT LOUIS, MO 63123


                      VOLVO CAR FINANCIAL
                      P.O. BOX 71102
                      CHARLOTTE, NC 28272-1102


                      W.B. MASON COMPANY, INC.
                      P.O. BOX 981101
                      BOSTON, MA 02298-1101


                      WARREN CONSOLIDATED IND,
                      180 WASHINGTON ST NW
                      WARREN, OH 44483
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                      WASTE MANAGEMENT
                      P.O. BOX 9001054
                      LOUISVILLE, KY 40290-1054


                      WASTE MANAGEMENT NH-ROCHE
                      P.O. BOX 13648
                      PHILADELPHIA, PA 19101-3648


                      WASTE MANAGEMENT OF NY-RO
                      P.O. BOX 13648
                      PHILADELPHIA, PA 19101-3648


                      WATER SPECIALTIES COMPANY
                      DIV. OF WATER SERVICE CONSULTANTS
                      8 INDUSTRIAL PARK DR UNIT 18
                      HOOKSETT, NH 03106


                      WATERMAN INDUSTRIES
                      P.O.BOX 8381
                      PASADENA, CA 91109-8381


                      WATERWORKS TOOL COMPANY
                      224 ROOT ROAD
                      BARRE, MA 01005


                      WATTS REGULATOR CO.
                      P.O. BOX 60601
                      CHARLOTTE, NC 28260-0601


                      Wells Fargo Bank
                      PO Box 14517
                      Des Moines, IA 50306


                      WELLS FARGO FINANCIAL LEA
                      P.O. BOX 7777
                      SAN FRANCISCO, CA 94120-7777


                      WEX BANK
                      PO BOX 4337
                      CAROL STREAM, IL 60197-4337


                      WILLACOOCHEE INDUSTRIAL F
                      BOX 599
                      WILLACOOCHEE, GA 31650
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                      WOODFORD MANUFACTURING CO
                      P.O. BOX 172368
                      DENVER, CO 80217-2368


                      WOODWARD CO
                      9 BURDICK DRIVE
                      ALBANY, NY 12205


                      WPR, INC
                      4175 BRIARGLEN ROAD
                      MILTON, FL 32583


                      ZEP SALES & SERVICE
                      PO BOX 3338
                      BOSTON, MA 02241-3338


                      ZURN INDUSTRIES,LLC
                      DEPT CH 14262
                      PALATINE, IL 60055
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                                                               United States Bankruptcy Court
                                                                     Northern District of New York
 In re      The Vellano Corporation                                                                        Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The Vellano Corporation in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 18, 2017                                                         /s/ Richard H. Weiskopf, Esq.
 Date                                                                  Richard H. Weiskopf, Esq. 102805
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for The Vellano Corporation
                                                                       The DeLorenzo Law Firm, LLP.
                                                                       670 Franklin St., Suite 100
                                                                       Schenectady, NY 12305
                                                                       (518) 374-8450 Fax:(518) 374-5906
                                                                       Rweiskopf@delolaw.com




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